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                 IN THE UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                              )
COALITION FOR RENEWABLE                       )
NATURAL GAS,                                  )
                                              )
                   Petitioner,                )
                                              )
            v.                                )      Case No. 23-1248
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY,                            )
                                              )
                   Respondent.                )
                                              )


                           PETITION FOR REVIEW


      Pursuant to Rule 15 of the Federal Rules of Appellate Procedure and

Section 307(b) of the Clean Air Act, 42 U.S.C. §7607(b), Coalition for Renewable

Natural Gas (“RNG Coalition”) hereby petitions the Court for review of final

agency action by the U.S. Environmental Protection Agency (“EPA”) entitled

“Renewable Fuel Standard (RFS) Program: Standards for 2023-2025 and Other

Changes,” published at 88 Fed. Reg. 44,468 (July 12, 2023). Such challenge is

timely under 42 U.S.C. §7607(b) and properly before the D.C. Circuit.

      A copy of the final agency action is attached to this petition.
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                                 Respectfully submitted,


                                 /s/ Sandra P. Franco
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                                 Natural Gas

Of Counsel:

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1017 L Street, #513
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Dated: September 11, 2023




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                    IN THE UNITED STATES COURT OF APPEALS
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                              )
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                                              )
                      Petitioner,             )
                                              )
               v.                             )      Case No. 23-1248
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY,                            )
                                              )
                      Respondent.             )
                                              )

              RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, Coalition for Renewable Natural Gas (“RNG Coalition”) makes the

following disclosure:

      RNG Coalition has no parent companies, and no publicly held company has

a 10% or greater ownership interest. It has not issued shares or debt securities to

the public.

      RNG Coalition is a non-profit association of companies and organizations

dedicated to the advancement of renewable natural gas as a clean, green,

alternative, and domestic energy and fuel resource. It advocates on behalf of its

members and provides education for the public in support of the sustainable
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development, deployment, and utilization of renewable natural gas, including

participating in regulatory proceedings and litigation involving implementation of

the Renewable Fuel Standard program by EPA, as well as other regulatory actions

that may impact the renewable natural gas industry. RNG Coalition’s membership

includes companies throughout the value chain of waste feedstock conversion to

transportation fuel under the Renewable Fuel Standard program. It is a “trade

association” as defined in Circuit Rule 26.1(b).

                                       Respectfully submitted,

                                       /s/ Sandra P. Franco
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Dated: September 11, 2023




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                 IN THE UNITED STATES COURT OF APPEALS
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                                             )
            v.                               )     Case No. 23-1248
                                             )
UNITED STATES ENVIRONMENTAL                  )
PROTECTION AGENCY,                           )
                                             )
                   Respondent.               )
                                             )

                         CERTIFICATE OF SERVICE

      Pursuant to Rule 25(d) of the Federal Rules of Appellate Procedure, I hereby

certify that I caused the foregoing Petition for Review and Rule 26.1 Statement to

have been served by United States first-class mail this 11th day of September,

2023 upon each of the following:



 HON. MICHAEL S. REGAN,                   Correspondence Control Unit
 Administrator                            Office of General Counsel
 U.S. Environmental Protection Agency     U.S. Environmental Protection Agency
 1200 Pennsylvania Avenue, N.W.           1200 Pennsylvania Avenue, NW
 Mail Code 1101A                          Mail Code: 2310A
 Washington, D.C. 20460                   Washington, D.C. 20460
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 HON. MERRICK B. GARLAND
 Attorney General
 TODD SUNHWAE KIM
 Assistant Attorney General
 U.S. Department of Justice
 950 Pennsylvania Avenue, NW
 Washington, DC 20530


And to have an electronic copy (including a copy of the Federal Register notice) be

provided via electronic mail to: John H. Martin (john.h.marting@usdoj.gov) and

Kimere J. Kimball (kimere.kimball@usdoj.gov).

                                                   /s/ Sandra P. Franco
                                                   Sandra P. Franco




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                                            ENVIRONMENTAL PROTECTION                                    including changes related to the                       No. EPA–HQ–OAR–2021–0427. All
                                            AGENCY                                                      treatment of biogas and other                          documents in the docket are listed on
                                                                                                        modifications to improve the program’s                 the https://www.regulations.gov
                                            40 CFR Parts 80 and 1090                                    implementation. At this time EPA is not                website. Although listed in the index,
                                            [EPA–HQ–OAR–2021–0427; FRL–8514–02–
                                                                                                        finalizing proposed provisions related to              some information is not publicly
                                            OAR]                                                        the generation of RINs from qualifying                 available, e.g., confidential business
                                                                                                        renewable electricity.                                 information (CBI) or other information
                                            RIN 2060–AV14                                               DATES: This rule is effective on                       whose disclosure is restricted by statute.
                                                                                                        September 11, 2023, except for                         Certain other material is not available
                                            Renewable Fuel Standard (RFS)
                                                                                                        amendatory instruction 30, which is                    on the internet and will be publicly
                                            Program: Standards for 2023–2025 and
                                                                                                        effective on February 1, 2024, and                     available only in hard copy form.
                                            Other Changes
                                                                                                        amendatory instructions 41 and 42,                     Publicly available docket materials are
                                            AGENCY: Environmental Protection                            which are effective on April 1, 2024.                  available electronically through https://
                                            Agency (EPA).                                               The incorporation by reference of                      www.regulations.gov.
                                            ACTION: Final rule.                                         certain publications listed in this
                                                                                                                                                               FOR FURTHER INFORMATION CONTACT:
                                                                                                        regulation is approved by the Director of
                                                                                                        the Federal Register as of July 12, 2023.              Dallas Burkholder, Office of
                                            SUMMARY: Under the Clean Air Act, the
                                                                                                        The incorporation by reference of ASTM                 Transportation and Air Quality,
                                            Environmental Protection Agency (EPA)
                                                                                                        D1250, ASTM D4442, ASTM D4444,                         Assessment and Standards Division,
                                            is required to determine the applicable
                                                                                                        ASTM D6866, and ASTM E870 was                          Environmental Protection Agency, 2000
                                            volume requirements for the Renewable
                                                                                                        approved by the Director of the Federal                Traverwood Drive, Ann Arbor, MI
                                            Fuel Standard (RFS) for years after those
                                                                                                        Register as of July 1, 2022. The                       48105; telephone number: 734–214–
                                            specified in the statute. This action
                                                                                                        incorporation by reference of ASTM                     4766; email address: RFS-Rulemakings@
                                            establishes the applicable volumes and
                                                                                                        D4057, ASTM D4177, ASTM D5842,                         epa.gov.
                                            percentage standards for 2023 through
                                            2025 for cellulosic biofuel, biomass-                       and ASTM D5854 was approved by the                     SUPPLEMENTARY INFORMATION: Entities
                                            based diesel, advanced biofuel, and total                   Director of the Federal Register as of                 potentially affected by this final rule are
                                            renewable fuel. This action also                            April 28, 2014. The incorporation by                   those involved with the production,
                                            establishes the second supplemental                         reference of ASTM E711 was approved                    distribution, and sale of transportation
                                            standard addressing the judicial remand                     by the Director of the Federal Register                fuels (e.g., gasoline and diesel fuel),
                                            of the 2016 standard-setting rulemaking.                    as of July 1, 2010.                                    renewable fuels (e.g., ethanol, biodiesel,
                                            Finally, this action makes several                          ADDRESSES: EPA has established a                       renewable diesel, and biogas).
                                            regulatory changes to the RFS program,                      docket for this action under Docket ID                 Potentially affected categories include:

                                                  Category              NAICS a codes                                               Examples of potentially affected entities

                                            Industry ................          112111      Cattle farming or ranching.
                                            Industry ................          112210      Swine, hog, and pig farming.
                                            Industry ................          221210      Manufactured gas production and distribution, and distribution of renewable natural gas (RNG).
                                            Industry ................          324110      Petroleum refineries.
                                            Industry ................          325120      Biogases, industrial (i.e., compressed, liquefied, solid), manufacturing.
                                            Industry ................          325193      Ethyl alcohol manufacturing.
                                            Industry ................          325199      Other basic organic chemical manufacturing.
                                            Industry ................          424690      Chemical and allied products merchant wholesalers.
                                            Industry ................          424710      Petroleum bulk stations and terminals.
                                            Industry ................          424720      Petroleum and petroleum products merchant wholesalers.
                                            Industry ................          454319      Other fuel dealers.
                                            Industry ................          562212      Landfills.
                                               a North American Industry Classification System (NAICS).




                                               This table is not intended to be                         Table of Contents                                        A. Scope of Analysis
                                            exhaustive, but rather provides a guide                                                                              B. Production and Import of Renewable
                                                                                                        I. Executive Summary                                        Fuel
                                            for readers regarding entities potentially                     A. Summary of the Key Provisions of This              C. Candidate Volumes for 2023–2025
                                            affected by this final action. This table                         Regulatory Action                                  D. Baselines
                                            lists the types of entities that EPA is                        B. Environmental Justice                              E. Volume Changes Analyzed
                                            now aware could potentially be affected                        C. Impacts of This Rule                             IV. Analysis of Candidate Volumes
                                                                                                           D. Policy Considerations                              A. Climate Change
                                            by this final action. Other types of
                                                                                                           E. Endangered Species Act                             B. Energy Security
                                            entities not listed in the table could also                 II. Statutory Requirements and Conditions                C. Costs
                                            be affected. To determine whether your                         A. Requirement To Set Volumes for Years               D. Comparison of Impacts
                                            entity would be affected by this final                            After 2022                                         E. Assessment of Environmental Justice
                                            action, you should carefully examine                           B. Factors That Must Be Analyzed                    V. Response To Remand of 2016 Rulemaking
                                            the applicability criteria in 40 CFR part                      C. Statutory Conditions on Volume                     A. Supplemental 2023 Standard
                                            80. If you have any questions regarding                           Requirements                                       B. Authority and Consideration of the
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                                                                                                           D. Authority To Establish Volumes and                    Benefits and Burdens
                                            the applicability of this final action to                         Percentage Standards for Multiple Future         VI. Volume Requirements for 2023–2025
                                            a particular entity, consult the person                           Years                                              A. Cellulosic Biofuel
                                            listed in the FOR FURTHER INFORMATION                          E. Considerations for Late Rulemaking                 B. Non-Cellulosic Advanced Biofuel
                                            CONTACT section.                                               F. Impact on Other Waiver Authorities                 C. Biomass-Based Diesel
                                                                                                           G. Severability                                       D. Conventional Renewable Fuel
                                                                                                        III. Candidate Volumes and Baselines                     E. Summary of Final Volume Requirements



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                                            VII. Percentage Standards for 2023–2025                    I. National Technology Transfer and                        products other than renewable fuel, and
                                              A. Calculation of Percentage Standards                      Advancement Act (NTTAA) and 1 CFR                       the sufficiency of infrastructure to
                                              B. Treatment of Small Refinery Volumes                      Part 51                                                 deliver and use renewable fuel; 4
                                              C. Percentage Standards                                  J. Executive Orders 12898 (Federal Actions                    • The impact of the use of renewable
                                            VIII. Administrative Actions                                  To Address Environmental Justice in
                                              A. Assessment of the Domestic Aggregate
                                                                                                                                                                  fuels on the cost to consumers of
                                                                                                          Minority Populations, and Low-Income
                                                 Compliance Approach                                      Populations) and 14096 (Revitalizing                    transportation fuel and on the cost to
                                              B. Assessment of the Canadian Aggregate                     Our Nation’s Commitment to                              transport goods; 5 and
                                                 Compliance Approach                                      Environmental Justice for All)                             • The impact of the use of renewable
                                            IX. Biogas Regulatory Reform                               K. Congressional Review Act (CRA)                          fuels on other factors, including job
                                              A. Background                                          XII. Statutory Authority                                     creation, the price and supply of
                                              B. Biogas Under a Closed Distribution                                                                               agricultural commodities, rural
                                                 System                                                A red-line version of the regulatory
                                                                                                     language that incorporates the changes                       economic development, and food
                                              C. RNG Producer as the RIN Generator
                                                                                                     in this action is available in the docket                    prices.6
                                              D. Assignment, Separation, Retirement,
                                                                                                                                                                     While this statutory requirement does
                                                 and Expiration of RNG RINs                          for this action.
                                              E. Structure of the Regulations                                                                                     not apply to cellulosic biofuel,
                                              F. Implementation Date                                 I. Executive Summary                                         advanced biofuel, and total renewable
                                              G. Definitions                                           The Renewable Fuel Standard (RFS)                          fuel until compliance year 2023, it
                                              H. Registration, Reporting, Product                    program began in 2006 pursuant to the                        applied to biomass-based diesel (BBD)
                                                 Transfer Documents, and Recordkeeping                                                                            beginning in compliance year 2013.
                                                                                                     requirements of the Energy Policy Act of
                                              I. Testing and Measurement Requirements                                                                             Thus, EPA established applicable
                                              J. RFS QAP Under Biogas Regulatory                     2005 (EPAct), which were codified in
                                                                                                     Clean Air Act (CAA) section 211(o). The                      volume requirements for BBD volumes
                                                 Reform
                                                                                                     statutory requirements were                                  for 2013–2022 in prior rulemakings.7
                                              K. Compliance and Enforcement Provisions
                                                 and Attest Engagements                              subsequently amended by the Energy                           This action establishes the volume
                                              L. RNG Used as a Feedstock                             Independence and Security Act of 2007                        targets and applicable percentage
                                              M. RNG Imports and Exports                             (EISA). The statute sets forth annual,                       standards for cellulosic biofuel, BBD,
                                              N. Biogas/RNG Storage Prior to                         nationally applicable volume targets for                     advanced biofuel, and total renewable
                                                 Registration                                        each of the four categories of renewable                     fuel for 2023–2025. We are also
                                              O. Single Use for Biogas Production                                                                                 promulgating a number of regulatory
                                                                                                     fuel for the years shown below.
                                                 Facilities                                                                                                       changes intended to improve the
                                              P. Requirements for Parties That Own and                                                                            operation of the RFS program. This
                                                 Transact RNG RINs                                    TABLE I–1—YEARS FOR WHICH THE
                                                                                                     STATUTE PROVIDES VOLUME TARGETS                              action describes our rationale for the
                                            X. Other Changes to Regulations
                                              A. RFS Third-Party Oversight                                                                                        final volume targets and regulatory
                                                 Enhancement                                                          Category                         Years      changes. Responses to comments
                                              B. Deadline for Third-Party Engineering                                                                             received from stakeholders on the
                                                 Reviews for Three-Year Updates                      Cellulosic biofuel .........................    2010–2022    proposed rule can be found in the
                                              C. RIN Apportionment in Anaerobic                      Biomass-based diesel ................           2009–2012    associated Response to Comments (RTC)
                                                 Digesters                                           Advanced biofuel ........................       2009–2022    document.
                                              D. BBD Conversion Factor for Percentage                Renewable fuel ...........................      2006–2022       Low-carbon fuels are an important
                                                 Standard                                                                                                         part of reducing greenhouse gas (GHG)
                                              E. Flexibility for RIN Generation                         For calendar years after those for                        emissions in the transportation sector,
                                              F. Changes to Tables in 40 CFR 80.1426                 which the statute provides volume
                                              G. Prohibition on RIN Generation for Fuels
                                                                                                                                                                  and the RFS program is a key federal
                                                                                                     targets, the statute directs EPA to                          policy that supports the development,
                                                 Not Used in the Covered Location                    determine the applicable volume targets
                                              H. Separated Food Waste Recordkeeping                                                                               production, and use of low-carbon,
                                                 Requirements
                                                                                                     in coordination with the Secretary of                        domestically produced renewable fuels.
                                              I. Definition of Ocean-Going Vessels                   Energy and the Secretary of Agriculture,                     This ‘‘Set rule’’ marks a new phase for
                                              J. Bond Requirement for Foreign RIN-                   based on a review of the                                     the program, one which takes place
                                                 Generating Renewable Fuel Producers                 implementation of the program for prior                      following the period for which the
                                                 and Foreign RIN Owners                              years and an analysis of specified                           Clean Air Act enumerates specific
                                              K. Definition of Produced from Renewable               factors:                                                     volume targets. We recognize the
                                                 Biomass                                                • The impact of the production and                        important role that the RFS program can
                                              L. Technical Amendments                                use of renewable fuels on the
                                            XI. Statutory and Executive Order Reviews                                                                             play in providing ongoing support for
                                                                                                     environment, including on air quality,                       increasing production and use of
                                              A. Executive Order 12866: Regulatory
                                                 Planning and Review and Executive
                                                                                                     climate change, conversion of wetlands,                      renewable fuels, particularly advanced
                                                 Order 13563: Improving Regulation and               ecosystems, wildlife habitat, water                          and cellulosic biofuels. For a number of
                                                 Regulatory Review                                   quality, and water supply; 1                                 years, RFS stakeholders have provided
                                              B. Paperwork Reduction Act (PRA)                          • The impact of renewable fuels on                        input on what policy direction this
                                              C. Regulatory Flexibility Act (RFA)                    the energy security of the U.S.; 2                           action should take, and the Agency
                                              D. Unfunded Mandates Reform Act                           • The expected annual rate of future                      greatly appreciates the sustained and
                                                 (UMRA)                                              commercial production of renewable
                                              E. Executive Order 13132: Federalism
                                                                                                                                                                  constructive input we have received
                                                                                                     fuels, including advanced biofuels in                        from stakeholders. We appreciate the
                                              F. Executive Order 13175: Consultation                 each category (cellulosic biofuel and
                                                 and Coordination With Indian Tribal                                                                              many comments we received, not only
                                                                                                     biomass-based diesel); 3                                     on the volumes that we proposed on
                                                 Governments
                                                                                                        • The impact of renewable fuels on
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                                              G. Executive Order 13045: Protection of                                                                             December 30, 2022, but also on the
                                                 Children From Environmental Health                  the infrastructure of the U.S., including
                                                 Risks and Safety Risks                              deliverability of materials, goods, and                        4 CAA section 211(o)(2)(B)(ii)(IV).

                                              H. Executive Order 13211: Actions                                                                                     5 CAA section 211(o)(2)(B)(ii)(V).

                                                 Concerning Regulations That                              1 CAA section 211(o)(2)(B)(ii)(I).                        6 CAA section 211(o)(2)(B)(ii)(VI).

                                                 Significantly Affect Energy Supply,                      2 CAA section 211(o)(2)(B)(ii)(II).                       7 See, e.g., 87 FR 39600 (July 1, 2022),

                                                 Distribution, or Use                                     3 CAA section 211(o)(2)(B)(ii)(III).                    establishing the 2022 BBD volume requirement.



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                                            analyses we conducted and the                                             years, 2023 to 2025, as shown below.                                  addition to the volume targets for 2023–
                                            proposed regulatory changes. EPA looks                                    We proposed setting standards for three                               2025, we are also completing our
                                            forward to continued engagement with                                      years to strike an appropriate balance                                response to the D.C. Circuit Court of
                                            stakeholders on the RFS program.                                          between improving the program by                                      Appeals’ remand of the 2016 RFS
                                            A. Summary of the Key Provisions of                                       providing increased certainty over a                                  annual rule in Americans for Clean
                                            This Regulatory Action                                                    multiple number of years and                                          Energy v. EPA, 864 F.3d 691 (2017)
                                                                                                                      recognizing the inherent uncertainty in                               (‘‘ACE’’) by establishing a supplemental
                                            1. Volume Requirements for 2023–2025                                      longer-term projections. After reviewing                              volume requirement of 250 million
                                               Based on our analysis of the factors                                   stakeholder comments and considering                                  gallons of renewable fuel for 2023. This
                                            required in the statute, and in                                           the statutory deadlines for establishing                              ‘‘supplemental standard’’ follows the
                                            coordination with the Departments of                                      RFS volume obligations we have                                        implementation of a 250-million-gallon
                                            Agriculture and Energy, we are                                            determined that this three-year                                       supplement for 2022 in a previous
                                            establishing the volume targets for three                                 timeframe remains appropriate. In                                     action.8

                                                                                                                    TABLE I.A.1–1—FINAL VOLUME TARGETS
                                                                                                                                              [Billion RINs] a

                                                                                                                                                                                              2023                2024               2025

                                            Cellulosic biofuel ..........................................................................................................................           0.84                1.09               1.38
                                            Biomass-based diesel b ...............................................................................................................                  2.82                3.04               3.35
                                            Advanced biofuel .........................................................................................................................              5.94                6.54               7.33
                                            Renewable fuel ............................................................................................................................            20.94               21.54              22.33
                                            Supplemental standard ................................................................................................................                  0.25                 n/a                n/a
                                               a One RIN is equivalent to one ethanol-equivalent gallon of renewable fuel. Throughout this preamble, RINs are generally used to describe
                                            total volumes in each of the four categories shown above, while gallons are generally used to describe volumes for individual types of biofuel
                                            such as ethanol, biodiesel, renewable diesel, etc. Exceptions include BBD (which is always given in physical volumes) and biogas (which are al-
                                            ways given in RINs).
                                               b The BBD volumes are in physical gallons (rather than RINs).




                                               As discussed above, the statute                                        conducted and all of the comments we                                  statutory level from 2015 through 2022,
                                            requires that we analyze a specified set                                  received from stakeholders at the public                              rather than increasing this volume to
                                            of factors in making our determination                                    hearing on January 10 and 11, 2023,                                   15.25 billion gallons in 2024 and 2025
                                            of the appropriate volume requirements.                                   written comments, letters, and other                                  as we originally proposed.
                                            Many of those factors, particularly those                                 meetings and input provided to us.                                      The volume targets that we are
                                            related to economic and environmental                                        The cellulosic biofuel volumes we are                              establishing in this action have similar
                                            impacts, are difficult to analyze in the                                  finalizing in this rule for 2024 and 2025                             status as those in the statute for the
                                            abstract. As a result, we needed to                                       are lower than the proposed volumes as                                years shown in Table I–1. Specifically,
                                            identify a set of renewable fuel volumes                                  they do not include cellulosic biofuel                                they are the basis for the calculation of
                                            to analyze prior to determining the                                       from eRINs (all eRIN volumes projected                                percentage standards applicable to
                                            volume requirements that would be                                         in the proposal have been zeroed out in                               producers and importers of gasoline and
                                            appropriate to establish under the                                        this final rule). The decreases in the                                diesel unless they are waived in a future
                                            statute. To this end, we began by using                                   cellulosic biofuel volumes for 2024 and                               action using one or more of the available
                                            a subset of the statutory factors that are                                2025 are partially offset by increases in                             waiver authorities in CAA section
                                            most closely related to production and                                    the projected volumes of non-eRIN                                     211(o)(7).
                                            consumption of renewable fuel, and                                        cellulosic biofuel (i.e., CNG/LNG
                                            other relevant factors, to identify                                       derived from biogas and ethanol from                                  2. Applicable Percentage Standards for
                                            ‘‘candidate volumes.’’ We then analyzed                                   corn kernel fiber) for all three years. The                           2023–2025
                                            the impacts of the candidate volumes on                                   advanced and total biofuel volumes                                      For years after 2022,9 the CAA gives
                                            the other economic and environmental                                      reflect both these changes in cellulosic                              EPA authority to establish percentage
                                            factors that the statute lists. The                                       biofuel, and our new, higher projections                              standards for several years
                                            derivation of these candidate volumes is                                  of the availability of BBD relative to the                            simultaneously and at the same time
                                            discussed in Section III. Section IV                                      proposed rule. The final volumes also                                 that it establishes the volume targets for
                                            discusses the analysis of those                                           reflect our decision to maintain a 15.0                               those years. Consistent with the
                                            candidate volumes for the other                                           billion gallon implied conventional                                   proposed rule, we are finalizing the
                                            economic and environmental factors.                                       biofuel requirement for all three years                               percentage standards for 2023, 2024,
                                            Finally, Section VI discusses our                                         (plus an additional 250 million gallon                                and 2025. The percentage standards
                                            conclusions regarding the appropriate                                     supplemental volume requirement for                                   corresponding to the volume
                                            volume requirements to establish in                                       2023 to complete EPA’s response to the                                requirements from Table I.A.1–1 are
                                            light of all of the analyses that we                                      ACE remand), consistent with the                                      shown below.
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                                              8 See 87 FR 39600, 39628–29 (July 1, 2022)                                9 Although the statute requires EPA to establish                    Section II, this requirement does not apply to years
                                            (discussing approaches for responding to the ACE                          applicable percentage standards annually by                           after 2022. CAA section 211(o)(3).
                                            remand).                                                                  November 30 of the previous year, as discussed in



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                                                                                                                   TABLE I.A.2–1—PERCENTAGE STANDARDS
                                                                                                                                                                                              2023               2024               2025
                                                                                                                                                                                               (%)                (%)                (%)

                                            Cellulosic biofuel ..........................................................................................................................           0.48               0.63               0.81
                                            Biomass-based diesel ..................................................................................................................                 2.58               2.82               3.15
                                            Advanced biofuel .........................................................................................................................              3.39               3.79               4.31
                                            Renewable fuel ............................................................................................................................            11.96              12.50              13.13
                                            Supplemental standard ................................................................................................................                  0.14                n/a                n/a



                                              The formulas used to calculate the                                      volumes of obligated fuel in 2020 and                                 approach, and the complexity of many
                                            percentage standards in 40 CFR                                            2021 meant that the number of RINs that                               of the topics raised in those comments,
                                            80.1405(c) require that EPA specify the                                   must be retired for these compliance                                  and the consent decree deadline on
                                            projected volume of exempt gasoline                                       years was higher than EPA anticipated.                                other portions of the rule, we are not
                                            and diesel associated with exemptions                                     As discussed in greater detail in Section                             finalizing the proposed revisions to the
                                            for small refineries granted because of                                   III.C.4 and RIA Chapter 1.10,                                         eRIN program at this time. We have
                                            disproportionate economic hardship                                        compliance with these obligations has                                 adjusted the final volume requirements
                                            resulting from compliance with their                                      required the use of significant quantities                            for this rulemaking to reflect this
                                            obligations under the program under                                       of carryover RINs, resulting in                                       decision.
                                            CAA section 211(o)(9). For this                                           effectively no available carryover RINs
                                                                                                                                                                                               The large number of comments EPA
                                            rulemaking, we have projected that                                        for several renewable fuel categories
                                                                                                                      going into the 2022 compliance year. In                               received on our proposed eRIN
                                            there are not likely to be small refinery
                                            exemptions (SREs) for 2023–2025 based                                     an effort to better project the volume of                             language, representing a range of
                                            on the information available at the                                       obligated fuel in future years, we are                                perspectives, is a clear signal that
                                            present time. This issue is discussed                                     adjusting how we project the obligated                                stakeholders care a great deal about a
                                            further in Section VII along with the                                     volume of gasoline and diesel in 2023–                                potential eRIN program. As discussed in
                                            total nationwide projected gasoline and                                   2025. These changes are discussed                                     the proposed rule, EPA’s policy goal in
                                            diesel consumption volumes used in the                                    further in Section VII.A and RIA                                      developing an eRIN program would be
                                            calculation of the percentage standards.                                  Chapter 1.11.                                                         to support one of the objectives of the
                                              As in previous annual standard-                                                                                                               RFS program, which is to increase the
                                                                                                                      4. Regulatory Provisions for eRINs                                    use of renewable transportation fuels, in
                                            setting rulemakings, the applicable
                                            percentage standards for 2023–2025 are                                       The 2023–2025 proposed rule                                        particular cellulosic biofuels, over time,
                                            added to the regulations at 40 CFR                                        included a comprehensive program                                      consistent with the statute’s focus on
                                            80.1405(a).                                                               governing the generation of RINs from                                 growth in this category. Moreover, an
                                                                                                                      renewable electricity produced from                                   eRIN program would support Congress’
                                            3. Carryover RINs and Gasoline and                                        biogas that is used in electric vehicles.                             goals of reducing GHGs and increasing
                                            Diesel Projections                                                        The proposed ‘‘eRIN’’ regulations laid                                energy security,10 both of which can be
                                              EPA assesses the availability of                                        out a comprehensive approach to eRIN                                  affected by the design of that program.
                                            carryover RINs in determining the                                         generation and program                                                We anticipate that an eRIN program may
                                            volumes under our set authority.                                          implementation, and included details                                  also have the ancillary effect of
                                            Carryover RINs provide important                                          on multiple design elements, including                                incentivizing increased electrification of
                                            benefits to the RFS program, including                                    the entities that would be eligible to                                the vehicle fleet.
                                            compliance flexibility to individual                                      generate eRINs, approaches to ensure                                     Given strong stakeholder interest in
                                            obligated parties, liquidity to the RIN                                   the prevention of double-counting of
                                                                                                                                                                                            the proposed eRIN program and the
                                            market, and mitigation against market                                     such RINs, and data requirements for
                                                                                                                                                                                            range of potential benefits that the
                                            impacts that could occur if RIN                                           valid eRIN generation. In addition to the
                                                                                                                                                                                            program could provide, EPA will
                                            generation in any year exceeds or falls                                   proposed eRIN program, the December
                                                                                                                                                                                            continue to work on potential paths
                                            short of the required volume of                                           2022 proposal also described several
                                            renewable fuel.                                                                                                                                 forward for the eRIN program. To that
                                                                                                                      alternative approaches to how such a
                                              In establishing RFS volume                                              program could be established and                                      end, EPA will continue to assess the
                                            requirements for 2020 and 2021 that                                       implemented.                                                          comments received on the proposal.
                                            were equal to the number of RINs                                             In response to the proposal, we                                    EPA will also seek additional input
                                            generated in those years, EPA intended                                    received a wide variety of comments on                                from stakeholders to inform potential
                                            that compliance with the renewable                                        all aspects of the proposed eRIN                                      next steps.
                                            volume obligations would not impact                                       program. Stakeholder positions on the
                                                                                                                                                                                               10 Congress stated that the purposes of EISA, in
                                            the total number of available carryover                                   proposed eRIN provisions varied
                                                                                                                                                                                            which the RFS2 program was enacted, included
                                            RINs. Since that time, obligated parties                                  greatly, with some stakeholders strongly                              ‘‘[t]o move the United States toward greater energy
                                            have submitted compliance reports for                                     supportive of EPA finalizing the                                      independence and security, to increase the
                                            the 2020 and 2021 compliance years.                                       proposed provisions, some who sought                                  production of clean renewable fuels, to protect
                                            These reports revealed that there exist                                   significant modifications to the program                              consumers, to increase the efficiency of products,
                                                                                                                                                                                            building, and vehicles, to promote research on and
                                            significant differences between the                                       while remaining broadly supportive of
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                                                                                                                                                                                            deploy greenhouse gas capture and storage options,
                                            volume of obligated fuel reported by                                      eRINs conceptually, and others who                                    and to improve the energy performance of the
                                            obligated parties, on the one hand, and                                   opposed, for a variety of reasons, EPA                                Federal Government, and for other purposes.’’
                                            the volumes of gasoline and diesel from                                   moving forward to finalize a new eRIN                                 Public Law 110–140 (2007). See also, CAA 211(o)(1)
                                                                                                                                                                                            (definitions of qualifying biofuel include
                                            EIA that EPA used to calculate the                                        framework. In light of the significant                                requirement that they reduce greenhouse gas
                                            percentage standards for 2020 and 2021                                    number of comments provided by                                        emissions by specified amounts relative to a
                                            on the other. Higher-than-expected                                        stakeholders on EPA’s proposed eRIN                                   petroleum baseline).



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                                            5. Other Regulatory Changes                              B. Environmental Justice                                 engage with stakeholders on impacts of
                                               We also proposed regulatory changes                     In considering environmental justice                   the RFS program related to biogas use
                                            in several areas to strengthen EPA’s                     in this action, we have sought to                        and expansion. Our assessment of
                                            implementation of the RFS program.                       identify and address, as appropriate,                    potential economic impacts on
                                            Stakeholders provided valuable                           disproportionately high and adverse                      communities with environmental justice
                                            comment on these proposed                                human health or environmental effects                    concerns is provided in Section IV.E.3.
                                            modifications, and EPA is finalizing                     of their programs, policies, and                         C. Impacts of This Rule
                                            many of the proposed changes with                        activities on communities with
                                            modifications based on that stakeholder                  environmental justice concerns in the                       CAA section 211(o)(2)(B)(ii) requires
                                            input. The regulatory changes we are                     United States.                                           EPA to assess a number of factors when
                                            finalizing in this rulemaking include:                     This rule is projected to reduce GHG                   determining volume targets for calendar
                                               • Modification of the regulatory                      emissions, which would benefit                           years after those shown in Table I–1.
                                            provisions for biogas-derived renewable                  communities with environmental justice                   These factors are described in the
                                            fuels to ensure that biogas is produced                  concerns who are disproportionately                      introduction to this Executive
                                            from renewable biomass and used as a                     impacted by climate change due to a                      Summary, and each factor is discussed
                                            transportation fuel and to allow for the                 greater reliance on climate sensitive                    in detail in the Regulatory Impact
                                            use of biogas as a biointermediate.                      resources such as localized food and
                                                                                                                                                              Analysis (RIA) accompanying this rule.
                                               • Enhancements to the third-party                     water supplies which may be adversely
                                                                                                                                                              Congress provided EPA flexibility by
                                            oversight provisions including                           impacted by climate change, as well as
                                                                                                                                                              enumerating factors to consider without
                                            engineering reviews, the RFS quality                     having less access to information
                                                                                                     resources that would enable them to                      rigidly mandating the specific steps of
                                            assurance program, and annual attest                                                                              analysis that EPA should take or how
                                            engagements.                                             adjust to such impacts.12 13 The manner
                                                                                                                                                              EPA should weigh the various factors.
                                               • Establishing a deadline for third-                  in which the market responds to the
                                                                                                     provisions in this rule could also have                  For two of these statutory factors—costs
                                            party engineering reviews for three-year
                                                                                                     non-GHG impacts. For instance,                           and energy security—we provide
                                            registration updates.
                                               • Updating procedures for the                         replacing petroleum fuels with                           monetized impacts for the purpose of
                                            apportionment of RINs when feedstocks                    renewable fuels will also have potential                 comparing costs and benefits. For the
                                            qualifying for multiple D-codes (e.g., D3                impacts on water and air exposure for                    other statutory factors, we are either
                                            and D5) are converted to biogas                          communities living near biofuel and                      unable to quantify impacts, or we
                                            simultaneously in an anaerobic digester.                 petroleum facilities given the potential                 provide quantitative estimated impacts
                                               • Revising the conversion factor in                   for biofuel facilities to have increased                 that nevertheless cannot be easily
                                            the formula for calculating the                          emissions of certain criteria pollutants                 monetized. Thus, we are unable to
                                            percentage standard for BBD to reflect                   in local communities, resulting in a                     quantitatively compare all of the
                                            increasing production volumes of                         potential corresponding decrease in                      evaluated impacts of this rulemaking.
                                            renewable diesel.                                        exposure for local communities                           Regardless of whether we monetized a
                                               • Flexibility for RIN generation.                     surrounding petroleum facilities with                    factor or not, however, EPA did
                                               • Reiterating the prohibition on                      less petroleum production. Replacing                     consider all statutory factors in this
                                            generating RINs for fuels not used in the                petroleum fuels with renewable fuels is                  rulemaking, and we find that the final
                                            covered location.                                        also projected to increase food and fuel                 volumes are appropriate under the set
                                               • Flexibilities for the generation and                prices, the effects of which will be                     authority when we balance all the
                                            maintenance of records for waste                         disproportionately borne by the lowest                   relevant factors. Table ES–1 in the RIA
                                            feedstocks.                                              income individuals. We received                          provides a list of all of the impacts that
                                               • Clarifying the definition of fuel                   extensive comment, primarily on the                      we assessed, both quantitative and
                                            used in ocean-going vessels.                             proposed eRIN provisions, from                           qualitative. Our assessments of each
                                               • Modifications to the bonding                        community-based and environmental                        factor, including the impacts on costs,
                                            requirements for foreign parties that                    justice stakeholders expressing concern                  energy security, climate, and other
                                            participate in the RFS program.                          over the use of biogas, particularly from                environmental and economic factors,
                                               • Other minor changes and technical                   landfills and concentrated animal                        are summarized in Section IV of this
                                            corrections.                                             feeding operations, in the RFS. While                    document. Additional detail for each of
                                               Each of these regulatory changes is                   EPA is not finalizing eRIN provisions as                 the assessed factors is provided in RIA
                                            discussed in greater detail in Section X.                part of this rule, we will continue to                   Chapters 4 through 10.
                                               We proposed but are not finalizing at
                                            this time the following regulatory                         12 USGCRP, 2018: Impacts, Risks, and Adaptation           Monetized impacts on cost and energy
                                            changes:                                                 in the United States: Fourth National Climate            security are summarized in Table I.C–1
                                                                                                     Assessment, Volume II [Reidmiller, D.R., C.W.
                                               • A definition of produced from                       Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,
                                                                                                                                                              below using two discount rates (3
                                            renewable biomass (discussed more in                     T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global      percent and 7 percent) following federal
                                            Section X.K).                                            Change Research Program, Washington, DC, USA,            guidance on regulatory impact
                                               • The proposed changes to the                         1515 pp. doi: 10.7930/NCA4.2018.                         analyses.14 Summarized impacts are
                                                                                                       13 USGCRP, 2016: The Impacts of Climate Change
                                            requirements for the separation of                                                                                calculated in comparison to a No RFS
                                                                                                     on Human Health in the United States: A Scientific
                                            RINs.11                                                  Assessment. Crimmins, A., J. Balbus, J.L. Gamble,        baseline as discussed in Section III.D
                                               We need more time to consider the                     C.B. Beard, J.E. Bell, D. Dodgen, R.J. Eisen, N. Fann,   and are summed across all three years
                                            public comments received on these                        M.D. Hawkins, S.C. Herring, L. Jantarasami, D.M.         of standards.
                                                                                                     Mills, S. Saha, M.C. Sarofim, J. Trtanj, and L. Ziska,
                                            proposed changes.
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                                                                                                     Eds. U.S. Global Change Research Program,                  14 Office of Management and Budget (OMB)
                                                                                                     Washington, DC, 312 pp. http://dx.doi.org/10.7930/
                                              11 See 87 FR 80707 (December 30, 2022).                J0R49NQX.                                                Circular A–4. Sept. 17, 2003.




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                                            TABLE I.C–1—CUMULATIVE MONETIZED FUEL COSTS AND ENERGY SECURITY BENEFITS OF 2023–2025 STANDARDS WITH
                                                                               RESPECT TO THE NO RFS BASELINE
                                                                                                                                             [2022$, millions]

                                                                                                                                                                                                                         Discount rate

                                                                                                                                                                                                                       3%                7%

                                            Excluding Supplemental Standard:
                                                 Fuel Costs ........................................................................................................................................................    $23,218          $22,366
                                                 Energy Security Benefits ..................................................................................................................................                524              505
                                            Including 2023 Supplemental Standard:
                                                 Fuel Costs ........................................................................................................................................................     23,846           22,994
                                                 Energy Security Benefits ..................................................................................................................................                536              517



                                            D. Policy Considerations                                                  maintaining stable fuel supplies and                                       responses on the topic of whether and
                                               This rule comes at a time when                                         refining assets will continue to be                                        how EPA should consider incorporating
                                            substantial policy developments and                                       important to achieving our nation’s                                        some measure of carbon intensity into
                                            global events are affecting the                                           energy and economic goals as well as                                       the RFS program. Many of the
                                            transportation energy and                                                 providing consistent investments in a                                      commenters who weighed in on this
                                            environmental landscape in                                                skilled and growing workforce.                                             topic pointed to various non-federal
                                            unprecedented ways. The Inflation                                            It is against this backdrop that EPA is                                 ‘‘clean fuel programs’’ that are being
                                            Reduction Act (IRA) makes historic                                        establishing RFS volume requirements                                       implemented in different states and
                                            investments in a range of areas,                                          for the next three years in this action.                                   jurisdictions and urged EPA to consider
                                            including in clean vehicle and                                            The volumes that EPA is finalizing                                         changes that would make the RFS
                                            alternative fuel technologies, that will                                  continue to support ongoing growth in                                      program more closely resemble those
                                            help decarbonize the transportation                                       renewable fuels, recognizing their                                         programs. Other commenters suggested
                                            sector and bolster a variety of clean                                     benefits, and based on EPA’s                                               that the RFS program does not lend
                                            technologies. Provisions in the IRA will                                  consideration of the multiple factors                                      itself well to such changes and that an
                                            accelerate many of the pollution-                                         identified in the statute. Beyond                                          entirely new framework would be
                                            reducing shifts that are already                                          providing continued support for fuels                                      preferable if EPA were to pursue such
                                            occurring as part of a broad energy                                       like ethanol and biodiesel, this action                                    carbon intensity-related changes. Many
                                            transition in the transportation, power                                   provides a strong market signal for the                                    different stakeholders provided
                                            generation, and industrial sectors. Major                                 continued growth of low carbon                                             suggestions and perspectives on
                                            new incentives in legislation for cleaner                                 advanced biofuels, including ‘‘drop-in’’                                   lifecycle analysis tools and approaches,
                                            vehicles, carbon capture and                                              renewable diesel, and cellulosic                                           and these comments helped inform the
                                            sequestration, biofuels infrastructure,                                   biofuels. Renewable fuels are a key                                        discussion and analysis in this
                                            clean hydrogen production, and other                                      policy tool identified by Congress for                                     rulemaking package related to the
                                            areas have effectively shifted the policy                                 decarbonizing the transportation sector,                                   assessment of environmental impacts of
                                            ground—and it is on this new ground                                       and this rulemaking sets the stage for                                     renewable fuels.
                                            that EPA must develop forward-looking                                     further growth and development of low-                                        Multiple commenters also provided
                                            policies and implement existing                                           carbon biofuels in the coming years.                                       input on what RFS-related policies EPA
                                            regulatory programs, including the RFS                                       In the proposed rule EPA requested                                      could pursue to incorporate new
                                            program.                                                                  comment on multiple volume scenarios,                                      pathways and technologies into the
                                               Even as the IRA bolsters future                                        including limiting the implied volume                                      program. For example, some
                                            investments in clean transportation                                       of conventional renewable fuel to 15.0                                     commenters urged EPA to take steps to
                                            technologies, EPA recognizes that                                         billion gallons in 2024 and 2025, and                                      integrate carbon capture and storage
                                            maintaining and strengthening energy                                      establishing RFS volumes with an                                           (CCS) opportunities related to the
                                            security in the near term remains an                                      implied volume of conventional                                             production of biofuels into the RFS
                                            important policy consideration. The war                                   renewable fuel at or below the E10                                         program, while other commenters cited
                                            in Ukraine has significantly destabilized                                 blendwall. The volumes we are                                              various reasons why EPA should refrain
                                            multiple global commodity markets,                                        finalizing in this rule reflect the                                        from taking such steps. Similarly, EPA
                                            including petroleum markets, and                                          scenario on which we requested                                             received comment from different
                                            continues to have impacts in these                                        comment wherein we are limiting the                                        stakeholders that took various positions
                                            areas. In addition, global reductions in                                  implied volume of conventional                                             on whether and how hydrogen should
                                            refining capacity, which accelerated                                      renewable fuel to 15.0 billion gallons in                                  be integrated into the RFS program.
                                            during the pandemic, have further                                         2024 and 2025. We have also included                                       Many stakeholders also shared their
                                            tightened the market for transportation                                   an analysis of the projected impact of                                     perspectives on how the RFS program
                                            fuels like gasoline and diesel. Programs                                  the other alternative scenarios in RIA                                     can and should be used to further
                                            like the RFS program help boost energy                                    Chapter 10.6.                                                              support the development of sustainable
                                            security by supporting domestic                                              In the proposal EPA also sought                                         aviation fuels (SAF).
                                            production of fuels and diversifying the                                  public comment on not only the                                                EPA appreciates commenters’ input
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                                            fuel supply, and it has played an                                         elements of the proposed rule, but also                                    on these other policy topics raised in
                                            important role in incentivizing the                                       asked for responses to questions on                                        the proposal. We will continue to
                                            production of low-carbon alternatives.                                    various topics that intersect with the                                     engage stakeholders on the topics we
                                            At the same time, EPA recognizes that                                     larger energy transition and energy                                        raised in the December 2022 proposal
                                            the transition to such alternatives will                                  security issues discussed above. For                                       and welcome continued input on RFS
                                            take time, and that during this transition                                example, several commenters provided                                       policy options and opportunities. These


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                                            comments will be used to inform future                      • The potential for RIN deficits and               agricultural commodities, rural
                                            rulemaking decisions.                                    noncompliance by obligated parties;                   economic development, and food prices.
                                               EPA also recognizes the concerns that                    • Signs of market manipulation in                  As EPA has stated in previous actions,
                                            diverse stakeholders have shared about                   RIN markets;                                          we generally do not think it is
                                            the potential impacts from                                  • RIN prices, generally, as an                     appropriate to reconsider and revise
                                            implementation of the RFS program.                       indicator of how the RFS program is                   previously finalized RFS standards.
                                            Stakeholders have also shared concerns                   functioning, including significant                    Revising standards has the potential to
                                            about RIN market dynamics, including                     increases in RIN prices;                              decrease market certainty and create
                                            RIN price volatility. EPA understands                       • Various other impacts of the RFS                 unnecessary market disruption (which
                                            that maintaining and strengthening                       standards, as appropriate.                            could in turn exacerbate some of the
                                            energy security in the near term remains                    In addition to these indicators, EPA               indicators listed above). At the same
                                            a policy imperative. The war in Ukraine                  will also monitor the volatility in D6                time, given the new phase of the
                                            continues to affect multiple global                      (‘‘conventional’’) RIN prices.                        program, we want to reiterate our
                                            commodity markets and reductions in                      Specifically, as part of our oversight of             commitment to monitoring various
                                            global refining capacity, which                          program implementation, EPA intends                   measures to ensure successful program
                                            accelerated during the pandemic, have                    to consider whether the following                     implementation and consider adjusting
                                            further tightened the market for                         volatility measure is met:                            course if appropriate.
                                            transportation fuels like gasoline and                      • A 50% deviation in the monthly                     Apart from EPA’s authority to
                                            diesel. Programs like the RFS program                    average D6 RIN price, relative to the 6-              reconsider our RFS standards, CAA
                                            help boost energy security by                            month rolling average D6 RIN price,                   section 211(o)(7)(A) provides the
                                            supporting domestic production of fuels                  evaluated at the end of the calendar                  Administrator the discretion to waive
                                            and diversifying the fuel supply, and                    month and based on EPA data or third-                 the national quantity of renewable fuel
                                            the RFS has played an important role in                  party data, as EPA determines                         required under the RFS program, upon
                                            incentivizing the production of low-                     appropriate. EPA would also consider                  petition by one or more States, or by any
                                            carbon alternatives. At the same time,                   whether changes in RFS standards,                     party subject to the requirements of the
                                            EPA recognizes that maintaining stable                   other related EPA actions, or court                   RFS program. The Administrator may
                                            fuel supplies and refining assets                        decisions have occurred which affect                  also waive the volume requirements on
                                            continues to be important to achieving                   the relevance of this measure at a                    his own motion. The Administrator may
                                            our nation’s energy and economic goals                   particular time.                                      do so only after consultation with the
                                            and retaining a skilled and necessary                       Based on EPA’s assessment of these                 Secretary of Agriculture and the
                                            workforce.                                               indicators, the Administrator may then                Secretary of Energy and after public
                                               Given these factors, and because we                   consider using the statutory authorities              notice and opportunity for comment.16
                                            are starting a new phase of the RFS                      available under the Clean Air Act to                  A waiver may be issued if the
                                                                                                     adjust the volume standards or make                   Administrator determines that
                                            program where Congress has not
                                                                                                     other programmatic changes. For                       implementation of the RFS volume
                                            prescribed volumes and with
                                                                                                     example, EPA has authority to                         requirements would severely harm the
                                            prospective standards covering three
                                                                                                     reconsider its volumes and standards,                 economy or environment of a State,
                                            years, careful administration of the RFS
                                                                                                     and has shown its willingness to do so                region, or the United States, or that
                                            program and monitoring of its impacts
                                                                                                     when extreme and unforeseen events                    there is an inadequate domestic supply.
                                            is critical. EPA intends to use all
                                                                                                     require it, such as revising the 2020 and             EPA has previously interpreted this
                                            available data and tools to monitor the
                                                                                                     2021 volumes to account for changes                   waiver authority in prior responses to
                                            implementation of the RFS program and
                                                                                                     due to the COVID–19 pandemic. For                     requests for a waiver of the RFS volume
                                            its impacts. EPA is committed to
                                                                                                     years after 2022, CAA section                         requirements 17 and in annual
                                            successful implementation of the
                                                                                                     211(o)(2)(B)(ii) establishes the                      rulemakings.18 EPA will monitor as
                                            program, and the Clean Air Act provides
                                                                                                     processes, criteria, and standards for                appropriate the criteria we have laid out
                                            EPA the tools to adjust course if
                                                                                                     setting the applicable annual renewable               previously in order to determine
                                            appropriate. EPA will monitor a set of
                                                                                                     fuel volumes. That provision provides                 whether we should adjust volume
                                            indicators that will help us assess the
                                                                                                     that the Administrator shall, in                      requirements using existing waiver
                                            impact from implementation of the final
                                                                                                     coordination with the Secretary of                    authority under the statute. These
                                            Set rule volumes to determine whether
                                                                                                     Energy and the Secretary of Agriculture               criteria, for example, include whether,
                                            EPA should consider adjusting those
                                                                                                     and after public notice and opportunity               under the severe economic harm waiver
                                            volumes or taking other action. These
                                                                                                     for comment, determine the applicable                 authority, the harm is occurring with a
                                            indicators could include, but are not
                                                                                                     volumes of each biofuel category                      high degree of certainty, the harm is
                                            limited to, the following:
                                                                                                     specified based on a review of                        severe, and whether the harm is to an
                                               • The prices of biofuels relative to the                                                                    entire state, region, or the United States.
                                            petroleum-based fuels they displace;                     implementation of the program during
                                                                                                     the calendar years specified in the tables              In addition to monitoring the
                                               • The cost to consumers of                                                                                  program’s implementation for the
                                                                                                     in CAA section 211(o)(2)(B)(i) and an
                                            transportation fuel;
                                                                                                     analysis of the multiple factors, as
                                               • The prices of biofuel feedstocks and                                                                         16 EPA may consider using an expedited process
                                                                                                     described in Section II.B of this action.15
                                            their impacts on food prices to                                                                                if EPA determines such process is appropriate and
                                                                                                     Those factors include, for example, the
                                            consumers;                                                                                                     consistent with the statutory waiver authority.
                                                                                                     impact of the use of renewable fuels on
                                               • Changes in domestic energy supply                                                                            17 See 73 FR 47168 (August 13, 2008) and 77 FR

                                                                                                     the cost to consumers of transportation,              70752 (November 27, 2012).
                                            that affect domestic energy security;
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                                                                                                     and the impact of the use of renewable                   18 See, e.g., Renewable Fuel Standard Program—
                                               • Changes in domestic energy                                                                                Standards for 2020 and Biomass-Based Diesel
                                                                                                     fuel on other factors, including job
                                            demand that negatively impact the                                                                              Volume for 2021 and Other Changes: Response to
                                                                                                     creation, the price and supply of                     Comments, EPA–420–R–19–018; see also American
                                            energy security of a State, region, or the
                                                                                                                                                           Fuel & Petrochemical Manufacturers v. EPA, 937
                                            U.S.;                                                       15 EPA may consider using an expedited process     F.3d 559, 580 (D.C. Cir. 2019) (upholding EPA’s
                                               • The stability of fuel supplies and                  if EPA determines such process is appropriate and     interpretation of the severe economic harm waiver
                                            domestic refining assets;                                consistent with statutory authority.                  authority in the 2018 RFS rulemaking).



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                                            potential need to adjust the standards,                  website.23 We believe that publishing as                continued existence of any endangered
                                            EPA will also strengthen existing efforts,               much data and information on the RIN                    or threatened species or result in the
                                            and work to develop new tools, to help                   market as possible, while still protecting              destruction or adverse modification of
                                            us monitor and oversee the RIN market.                   confidential business information,                      designated critical habitat for such
                                            EPA welcomes ideas from stakeholders                     improves market transparency and                        species. Under ESA implementing
                                            impacted by the RFS program on how                       helps obligated parties and other market                regulations, the action agency is
                                            to improve market oversight                              participants make informed decisions.                   required to formally consult with the
                                            capabilities, including ideas on how                     Since the June 2019 rule, we have not                   Services for actions that ‘‘may affect’’
                                            EPA’s compliance regulations could be                    seen data-based evidence of RIN market                  listed species or designated critical
                                            enhanced.                                                manipulation. The potential for such                    habitat, unless the Services concur in
                                               EPA closely monitors the RIN market,                  behavior, however, remains a concern.                   writing that the action is not likely to
                                            and we take seriously claims of RIN                         We have recently further expanded                    adversely affect ESA-listed species or
                                                                                                     our oversight and enforcement                           critical habitat. 50 CFR 402.14.
                                            market manipulation. In March 2016,
                                                                                                     capabilities by entering into an MOU
                                            EPA entered into a Memorandum of                                                                                 Consultation is not required where the
                                                                                                     with California Air Resources Board
                                            Understanding (MOU) with the                                                                                     action has no effect on such species or
                                                                                                     (CARB).24 This MOU expands our
                                            Commodity Futures Trading                                                                                        habitat. For several prior RFS annual
                                                                                                     oversight capabilities and supports our
                                            Commission (CFTC).19 This MOU                                                                                    standard-setting rules, EPA did not
                                                                                                     enforcement activities by leveraging
                                            allows EPA to share RIN transaction                                                                              consult with the Services under ESA
                                                                                                     information collected under California’s
                                            data with CFTC to advise EPA on the                                                                              section 7(a)(2).
                                                                                                     Low Carbon Fuel Standard to help
                                            techniques used to minimize market                                                                                  Consistent with ESA section 7(a)(2)
                                                                                                     identify non-compliance and potential
                                            manipulation, to increase CFTC’s                                                                                 and relevant ESA implementing
                                                                                                     market manipulation in the renewable
                                            understanding of the RIN market, and to                  fuels and RIN markets. EPA and CARB                     regulations at 50 CFR part 402, for
                                            conduct oversight for this market. Under                 compliance staff meet regularly to                      approximately two years, EPA engaged
                                            the MOU, EPA has met with CFTC to                        analyze market forces and participant                   in technical assistance and informal
                                            discuss RIN market data and to evaluate                  behavior to ensure that our program                     consultation discussions with the
                                            strategies to identify and reduce the                    meets the CAA requirements.                             Services regarding this rule. On January
                                            potential for manipulation in the RFS                       As we begin to implement the Set                     30, 2023, EPA submitted its initial
                                            program.                                                 Rule volumes, EPA will work with                        biological evaluation to the Services,
                                               In June 2019, EPA modified certain                    partners in federal and state                           and following continued informal
                                            elements of the RFS compliance system,                   governments to assess what new                          consultation—including regular
                                            in order to improve functioning of the                   improvements and modifications could                    meetings and telephone and email
                                            RIN market and prevent any potential                     reasonably be made that would further                   communications between EPA and the
                                            manipulation in the RFS compliance                       strengthen market oversight and                         Services—on May 20, 2023, EPA
                                            market.20 The 2019 rulemaking requires                   program implementation. Furthermore,                    submitted to the Services its May 19,
                                            reporting of RIN holdings above a                        within 45 days of publication of the                    2023 biological evaluation. On May 31,
                                            threshold to help ensure no single party                 final 2023–2025 rule, EPA will meet                     2023, EPA provided an addendum to
                                            can manipulate the price of RINs                         with CFTC to review our MOU with                        the May 19, 2023 biological evaluation
                                            through the sheer size of their                          CFTC and the sufficiency of the existing                in response to a request from NMFS.25
                                            holdings.21 Underpinning that reform                     RIN data collection to address potential                EPA has determined that this action is
                                            was the observation that increased                       market manipulation. EPA will also                      not likely to adversely affect listed
                                            transparency would help deter market                     discuss with CFTC whether the existing                  species and critical habitat. The
                                            participants from amassing an excess of                  MOU should be revised to allow for the                  Services have confirmed that EPA’s
                                            separated RINs, which due to the                         monitoring of daily trades and whether                  biological evaluation with the May 31,
                                            concentration in ownership could result                  the existing MOU should be revised to
                                                                                                                                                             2023 addendum is sufficient and
                                            in undue influence or market power.                      include additional market oversight
                                                                                                                                                             USFWS and NMFS intend to proceed
                                            Since EPA implemented these                              experts, such as the Federal Trade
                                                                                                                                                             with informal consultation. EPA has
                                            provisions, no company has had RIN                       Commission.
                                                                                                                                                             prepared an ESA section 7(d)
                                            holdings which have exceeded the                         E. Endangered Species Act                               determination memorandum that
                                            thresholds set in the rule.                                                                                      discusses our decision to finalize this
                                                                                                       Section 7(a)(2) of the Endangered
                                               The 2019 rulemaking also required                     Species Act (ESA), 16 U.S.C. 1536(a)(2),                action before the informal consultation
                                            reporting of RIN transaction prices to                   requires that federal agencies such as                  process is complete, which is also
                                            EPA.22 EPA has utilized the new                          EPA, in consultation with the U.S. Fish                 available in the docket for this action.
                                            reported price data to supplement third-                 and Wildlife Service (USFWS) and/or
                                            party RIN price assessment data. EPA                                                                             II. Statutory Requirements and
                                                                                                     the National Marine Fisheries Service                   Conditions
                                            has also increased transparency by                       (NMFS) (collectively ‘‘the Services’’),
                                            aggregating the reporting price data and                 ensure that any action authorized,                      A. Requirement to Set Volumes for
                                            making it publicly available on our                      funded, or carried out by the action                    Years After 2022
                                                                                                     agency is not likely to jeopardize the
                                               19 See ‘‘Memorandum of Understanding Between                                                                    The CAA provides EPA with the
                                            the Environmental Protection Agency and the                   23 See ‘‘RIN Trades and Price Information,’’       authority to establish the applicable
                                            Commodity Futures Trading Commission on the
                                            Sharing of Information Available to EPA Related to
                                                                                                     available at https://www.epa.gov/fuels-registration-    renewable fuel volume targets for
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                                                                                                     reporting-and-compliance-help/rin-trades-and-           calendar years after those specified in
                                            the Functioning of Renewable Fuel and Related            price-information.
                                            Markets’’ (2016), available at https://www.epa.gov/        24 See ‘‘Confidentiality Agreement Between the
                                            sites/production/files/2016-03/documents/epa-cftc-       United States Environmental Protection Agency              25 ‘‘Biological Evaluation of the Renewable Fuel
                                            mou-2016-03-16.pdf.                                      Offices of Transportation and Air Quality and Civil     Standard (RFS) Set Rule,’’ May 19, 2023, and email
                                               20 See 84 FR 27013–27019.
                                                                                                     Enforcement and the California Air Resources            from T. Phillips, EPA, to D. Baldwin, NOAA (May
                                               21 See 40 CFR 80.1435.
                                                                                                     Board for the Sharing of Information.’’ August 17,      31, 2023) are both available in the docket for this
                                               22 See 40 CFR 80.1451(c)(2).                          2021 (on file with EPA).                                action.



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                                            the Act in Section 211(o)(2).26 For total                rigidly mandating the specific steps of                   • Soil quality (RIA Chapter 3.4).42
                                            renewable fuel, cellulosic biofuel, and                  analysis that EPA should take or how                      • Environmental justice (Section IV.E
                                            total advanced biofuel, the CAA                          EPA should weigh the various factors.                   and RIA Chapter 8).43
                                            provides volume targets through 2022,                    Additionally, we are not aware of                         • A comparison of costs and benefits
                                            after which EPA must establish or ‘‘set’’                anything in the legislative history of                  (Section IV.D).44
                                            the volume targets via rulemaking. For                   EISA that is authoritative on these
                                            BBD, the CAA only provides volume                        issues. Thus, as the Clean Air Act ‘‘does               C. Statutory Conditions on Volume
                                            targets through 2012; EPA has been                       not state what weight should be                         Requirements
                                            setting the biomass-based diesel volume                  accorded to the relevant factors,’’ it                    As indicated above, the CAA affords
                                            requirements in annual rulemakings                       ‘‘give[s] EPA considerable discretion to                EPA flexibility to consider each of the
                                            since 2013.                                              weigh and balance the various factors                   enumerated factors and the weight to
                                               This section discusses EPA’s statutory                required by statute.’’ 34 These factors                 give those factors. However, the CAA
                                            authority and additional factors we have                 were analyzed in the context of the                     does contain three conditions that affect
                                            considered due to the lateness of this                   2020–2022 standard-setting rule that                    our determination of the applicable
                                            rulemaking, as well as the severability                  modified volumes under CAA section                      volume requirements:
                                            of the various portions of this rule.                    211(o)(7)(F),35 which requires EPA to                     • A constraint in setting the
                                                                                                     comply with the processes, criteria, and                applicable volume of total renewable
                                            B. Factors That Must Be Analyzed                         standards in CAA section                                fuel as compared to advanced biofuel,
                                               CAA section 211(o)(2)(B)(ii)                          211(o)(2)(B)(ii). Consistent with our past              with implications for the implied
                                            establishes the processes, criteria, and                 practice in evaluating the factors,36 we                volume requirement for conventional
                                            standards for setting the applicable                     have again determined that a holistic                   renewable fuel.
                                            annual renewable fuel volumes. That                      balancing of the factors is appropriate.37
                                                                                                                                                               • Direction in setting the cellulosic
                                            provision provides that the                                 In addition to those factors listed in
                                                                                                                                                             biofuel applicable volume regarding
                                            Administrator shall, in coordination                     the statute, the statute also directs EPA
                                                                                                                                                             potential future waivers.
                                            with the Secretary of Energy and the                     to consider ‘‘the impact of the use of
                                                                                                     renewable fuels on other factors.’’ 38                    • A floor on the applicable volume of
                                            Secretary of Agriculture,27 determine
                                                                                                     Moreover, many other factors affect the                 BBD.
                                            the applicable volumes of each biofuel
                                            category specified based on a review of                  statutory factors themselves.                           1. Advanced Biofuel as a Percentage of
                                            implementation of the program during                     Accordingly, consistent with the statute,               Total Renewable Fuel
                                            the calendar years specified in the tables               we have considered several other
                                                                                                     factors, including:                                       While the statute provides broad
                                            in CAA section 211(o)(2)(B)(i) and an
                                                                                                        • The interaction between volume                     discretion in setting the applicable
                                            analysis of the following factors:
                                                                                                                                                             volume requirements for advanced
                                               • The impact of the production and                    requirements for years 2023–2025,
                                                                                                     including the nested nature of those                    biofuel and total renewable fuel, it also
                                            use of renewable fuels on the
                                                                                                     volume requirements and the                             establishes a constraint on the
                                            environment; 28
                                               • The impact of renewable fuels on                    availability of carryover RINs.39                       relationship between these two volume
                                            the energy security of the U.S.; 29                         • The ability of the market to respond               requirements, and this constraint has
                                               • The expected annual rate of future                  given the timing of this rulemaking.40                  implications for the implied volume
                                            commercial production of renewable                          • Our obligation to respond to the                   requirement for conventional renewable
                                            fuels; 30                                                ACE remand (Section V).                                 fuel. The CAA provides that the
                                               • The impact of renewable fuels on                       • The supply of qualifying renewable                 applicable advanced biofuel
                                            the infrastructure of the U.S.; 31                       fuels to U.S. consumers (Section                        requirement must ‘‘be at least the same
                                               • The impact of the use of renewable                  III.A.5).41                                             percentage of the applicable volume of
                                            fuels on the cost to consumers of                                                                                renewable fuel as in calendar year
                                            transportation fuel and on the cost to
                                                                                                        34 See Nat’l Wildlife Fed’n v. EPA, 286 F.3d 554,    2022,’’ 45 meaning that EPA must, at a
                                                                                                     570 (D.C. Cir. 2002) (analyzing factors within the      minimum, maintain the ratio of
                                            transport goods; 32 and                                  Clean Water Act); accord Riverkeeper, Inc. v. U.S.
                                               • The impact of the use of renewable                  EPA, 358 F.3d 174, 195 (2d Cir. 2004) (same); BP
                                                                                                                                                             advanced biofuel to total renewable fuel
                                            fuel on other factors, including job                     Exploration & Oil, Inc. v. EPA, 66 F.3d 784, 802 (6th   that was established for 2022 for the
                                            creation, the price and supply of                        Cir. 1995) (same); see also Brown v. Watt, 668 F.3d     years in which EPA sets the applicable
                                                                                                     1290, 1317 (D.C. Cir. 1981) (‘‘A balancing of factors   volume requirements. In effect, this
                                            agricultural commodities, rural                          is not the same as treating all factors equally. The
                                            economic development, and food                           obligation instead is to look at all factors and then
                                                                                                                                                             limits the implied volume of
                                            prices.33                                                balance the results. The Act does not mandate any       conventional renewable fuel within the
                                               Congress provided EPA flexibility by                  particular balance, but vests the Secretary with
                                                                                                     discretion to weigh the elements . . . .’’)             the statutory factors relating to infrastructure and
                                            enumerating factors to consider without                  (addressing factors articulated in the Out              costs.
                                                                                                     Continental Shelf Lands Act).                              42 Soil quality is closely tied to water quality and
                                               26 We refer to CAA section 211(o)(2)(B)(ii) as the       35 See 87 FR 39600 (July 1, 2022).
                                                                                                                                                             is also relevant to the impact of renewable fuels on
                                            ‘‘set authority.’’                                          36 See 87 FR 39600, 39607–08 (July 1, 2022).
                                               27 In furtherance of this requirement, we have had
                                                                                                                                                             the environment more generally, such that this
                                                                                                        37 RFS Annual Rules Response to Comments
                                                                                                                                                             analysis also informs our analysis of the statutory
                                            periodic discussions with DOE and USDA on this           Document at 10.                                         factor ‘‘the impact of the production and use of
                                            action. These have occurred with agency staff               38 CAA section 211(o)(2)(B)(ii)(VI).                 renewable fuels on the environment.’’ CAA section
                                            throughout the proposal and final rule process, as          39 This also informs our analysis of the statutory   211(o)(2)(B)(ii)(I).
                                            well as through the OMB interagency process. An
                                                                                                     factor ‘‘review of the implementation of the               43 Addressing environmental justice involves
                                            additional memorandum documenting discussions
                                                                                                     program.’’ CAA section 211(o)(2)(B)(ii).                assessing the potential for the use of renewable
                                            with the Administrator and Secretaries is also              40 This also informs our analysis of the statutory   fuels to have a disproportionate and adverse health
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                                            available in the docket for this action.
                                               28 CAA section 211(o)(2)(B)(ii)(I).                   factor ‘‘the expected annual rate of future             or environmental effect on minority populations,
                                                                                                     commercial production of renewable fuels.’’ CAA         low-income populations, tribes, and/or indigenous
                                               29 CAA section 211(o)(2)(B)(ii)(II).
                                                                                                     section 211(o)(2)(B)(ii)(III).                          peoples.
                                               30 CAA section 211(o)(2)(B)(ii)(III).                                                                            44 The comparison of costs and benefits compares
                                                                                                        41 This is based on our analysis of the statutory
                                               31 CAA section 211(o)(2)(B)(ii)(IV).
                                                                                                     factor the expected annual rate of future               our quantitative analysis of various statutory
                                               32 CAA section 211(o)(2)(B)(ii)(V).                                                                           factors, including costs and energy security.
                                                                                                     commercial production of renewable fuel as well as
                                               33 CAA section 211(o)(2)(B)(ii)(VI).                  of downstream constraints on biofuel use, including        45 CAA section 211(o)(2)(B)(iii).




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                                            total renewable fuel volume for years                    growth in the volume of these fuels that                producers, and other RIN market
                                            after 2022.                                              can be achieved in 2023–2025.                           participants. However, the uncertainty
                                               The applicable advanced biofuel                                                                               inherent in making future projections
                                                                                                     3. Biomass-Based Diesel
                                            volume requirement is 5.63 billion                                                                               increases for longer timeframes.
                                            gallons for 2022.46 The total renewable                     EPA has established the BBD                          Moreover, our experience with the RFS
                                            fuel volume requirement for 2022 is                      requirement under CAA section                           program since its inception is that
                                            20.63 billion gallons, resulting in an                   211(o)(2)(B)(ii) since 2013 because the                 unforeseen market circumstances
                                            implied conventional volume                              statute only provided BBD volume                        involving not only renewable fuel
                                            requirement of 15 billion gallons. For                   targets through 2012. The statute also                  supply but also relevant economics
                                            2022, then, advanced biofuel would                       requires that the BBD volume                            mean that fuels markets are continually
                                            represent 27.3 percent of total                          requirement be set at or greater than the               evolving and changing in ways that
                                            renewable fuel. The volume                               1.0 billion gallon volume requirement                   cannot be predicted. These facts affect
                                            requirements we are finalizing in this                   for 2012 in the statute, but does not                   all supply-related elements of biofuel:
                                            action for 2023–2025, shown in Table                     provide any other numerical criteria                    projections of production capacity,
                                                                                                     that EPA is to consider.50 EPA is setting               availability of imports, rates of
                                            I.A.1–1, all exceed this 27.3 percent
                                                                                                     the BBD volume requirement for 2023,                    consumption, availability of qualifying
                                            minimum, and thus the applicable
                                                                                                     2024, and 2025 at 2.82, 3.04, and 3.35                  feedstocks, and the gasoline and diesel
                                            volume requirements that we are
                                                                                                     billion gallons respectively. These                     demand projections that provide the
                                            finalizing satisfy this statutory criterion.
                                                                                                     volumes are significantly greater than                  basis for the calculation of percentage
                                            2. Cellulosic Biofuel                                    1.0 billion gallon minimum requirement                  standards. Greater uncertainty in future
                                                                                                     for these years.                                        projections means a higher likelihood
                                               The statute requires that EPA set the
                                            applicable cellulosic biofuel                            D. Authority To Establish Volumes and                   that those future projections could turn
                                            requirement ‘‘based on the assumption                    Percentage Standards for Multiple                       out to be inaccurate, leading to the
                                            that the Administrator will not need to                  Future Years                                            potential need to revise them after they
                                            issue a waiver . . . under [CAA section                                                                          are established through, for instance,
                                                                                                        EPA is finalizing volume and                         one of the statutory waiver provisions.
                                            211(o)](7)(D)’’ for the years in which                   percentage standards for 2023, 2024,                    Such actions to revise applicable
                                            EPA sets the applicable volume                           and 2025 in this single action. In the                  standards after they have been set could
                                            requirement.47 We interpret this                         proposed rule, we sought comment on                     be expected to increase market
                                            requirement to mean that we must                         volume requirements for 2026, and                       uncertainty.
                                            establish the cellulosic volume                          proposed volumes for 2023, 2024, and                       Promulgating standards for three
                                            requirement at a level that is achievable                2025. We also proposed corresponding                    years in a single action also increases
                                            and not expected to require us in the                    percentage standards for 2023, 2024,                    the likelihood that we can meet the
                                            future to lower the applicable cellulosic                and 2025.                                               statutory deadline to promulgate
                                            volume requirement using the cellulosic                     In the proposal, we discussed how the                applicable volumes by 14 months prior
                                            waiver authority under CAA section                       number of years for which we might                      to the beginning of the calendar year. In
                                            211(o)(7)(D).48 CAA section 211(o)(7)(D)                 establish standards, and thus the                       this action, we are promulgating the
                                            provides that if ‘‘the projected volume                  numbers of years for which we must                      2025 volumes ahead of the statutory
                                            of cellulosic biofuel production is less                 analyze the impacts of those standards,                 deadline of October 2023. Given the
                                            than the minimum applicable volume                       represented a tension between                           extensive analysis required to support
                                            established under paragraph (2)(B),’’                    providing certainty for stakeholders of                 the volumes, and the associated length
                                            EPA ‘‘shall reduce the applicable                        future demand and being able to project                 of time necessary for CAA rulemaking
                                            volume of cellulosic biofuel required                    renewable fuel supply with reasonable                   actions, promulgating standards for
                                            under paragraph (2)(B) to the projected                  certainty. We discussed how we focused                  multiple years facilitates compliance
                                            volume available during that calendar                    our assessment of renewable fuel supply                 with the statutory requirements.
                                            year.’’ Therefore, we are setting the                    on the three years immediately                             Many of the comments we received
                                            volume requirements such that the                        following the end of the statutory                      from stakeholders supported our
                                            mandatory waiver of the cellulosic                       volume targets (i.e., 2023–2025) as an                  proposal to establish standards for three
                                            volume is not anticipated to be triggered                attempt to find a balance between these                 years. While some stakeholders
                                            in those future years. Operating within                  opposing concerns. Additionally, we                     requested that standards be set for fewer
                                            this limitation, and in light of our                     have considered the statutory deadlines                 than three years, others requested that
                                            consideration of the statutory factors                   from promulgating applicable volumes,                   we set standards for more than three
                                            explained in Section VI, we are setting                  two of which have already passed                        years. Based on our desire to strengthen
                                            the cellulosic volumes for 2023, 2024,                   (October 31, 2021, for 2023 applicable                  market certainty by establishing
                                            and 2025 at the projected volume                         volumes, and October 31, 2022, for 2024                 applicable standards for as many years
                                            available in each year, respectively,                    applicable volumes). The statutory                      as is practical, tempered by the
                                            consistent with our past actions in                      deadline for promulgating the 2025                      knowledge that longer time periods
                                            determining the cellulosic biofuel                       applicable volumes is later this year on                increase uncertainty in projected
                                            volume.49 These projections, discussed                   October 31, 2023. Establishing volume                   volumes, increasing the potential that
                                            further in Sections III.B.1 and VI.A,                    requirements for three years strikes an                 applicable standards might need to be
                                            represent our best efforts to project the                appropriate balance between these                       waived at a later date, we continue to
                                                                                                     opposing concerns.                                      believe that three years represents an
                                              46 87 FR 39601.                                           We acknowledge that establishing                     appropriate balance at this time. We are
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                                              47 CAA section 211(o)(2)(B)(iv).
                                                                                                     volume targets and the associated                       not making a determination in this
                                              48 The cellulosic biofuel waiver applies when the
                                                                                                     percentage standards for a greater                      action that three years is the appropriate
                                            projected volume of cellulosic biofuel production is                                                             number of years to establish standards
                                            less than the minimum applicable volume. CAA
                                                                                                     number of years would increase market
                                            section 211(o)(7)(D).                                    certainty for obligated parties, biofuel                under all circumstances and in all
                                              49 See, e.g., 2020–2022 Rule, 87 FR 39600 (July 1,                                                             future actions. Indeed, it may be
                                            2022).                                                        50 CAA Section 211(o)(2)(B)(iv).                   appropriate in future standard-setting


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                                            actions to establish standards for more                    a given compliance year until after the                 this authority reasonably.56 In doing so,
                                            or less than three years at a time.                        percentage standards for the following                  EPA must balance the burden on
                                               The CAA requires EPA to promulgate                      year are established. Thus, establishing                obligated parties of a delayed
                                            regulations that, regardless of the date of                the percentage standards through this                   rulemaking with the broader goal of the
                                            promulgation, contain compliance                           rulemaking process provides certainty                   RFS program to increase renewable fuel
                                            provisions applicable to refineries,                       as to the date of the compliance                        use.57 In upholding EPA’s late and
                                            blenders, distributors and importers that                  deadlines for 2022–2024. This action                    retroactive standards in ACE, the court
                                            ensure that the volumes in CAA section                     properly balances creating certainty for                considered several specific factors,
                                            211(o)(2)(B), which includes set                           obligated parties, renewable fuel                       including the availability of RINs for
                                            volumes, are met.51 As to setting                          producers, and RIN market participants                  compliance, the amount of lead time
                                            percentage standards, for years after                      in establishing percentage standards and                and adequate notice for obligated
                                            2022, the CAA does not expressly direct                    limiting the scope of uncertainty in                    parties, and the availability of
                                            EPA to continue to implement volume                        projections of future gasoline and diesel               compliance flexibilities. In addressing
                                            requirements through percentage                            consumption by setting percentage                       rulemakings that were late (i.e., those
                                            standards established through annual                       standards only for the next three                       issued after the statutory deadline) but
                                            rulemakings. Furthermore, in                               compliance years.54                                     not retroactive, the court emphasized
                                            establishing volumes for years after                         Several commenters supported EPA’s                    the amount of lead time and adequate
                                            2022, EPA is directed to review ‘‘the                      proposal to establish volumes and                       notice for obligated parties.58 Most
                                            implementation of the program’’ in                         associated percentage standards for                     relevant here is EPA’s action in 2015
                                            years during which Congress provided                       2023–2025. Other commenters                             that established the BBD volume
                                            statutory volumes.52 Thus, Congress                        suggested that EPA should only                          requirements for 2014–2017.59 There,
                                            provided EPA discretion as to how to                       promulgate percentage standards for                     EPA missed the statutory deadline, that
                                            implement the volume requirements of                       2023 and 2024 because EPA could                         EPA establish an applicable volume
                                            the RFS program in years 2023 and                          instead finalize the percentage                         target for BBD no later than 14 months
                                            beyond.                                                    standards for 2025 along with the 2026                  before the first year to which that
                                               CAA section 211(o)(3)(B)(i) provides                                                                            volume requirement will apply, for all
                                                                                                       volumes and percentage standards given
                                            that by ‘‘November 30 of each of                                                                                   four years.60 The court found that EPA
                                                                                                       the statutory deadline of October 31,
                                            calendar years 2005 through 2021, based                                                                            properly balanced the relevant
                                                                                                       2024. We discuss responses to these
                                            on the estimate provided [by EIA], the                                                                             considerations and had provided
                                                                                                       comments in the RTC document.
                                            Administrator . . . shall determine and                                                                            sufficient notice to parties in
                                            publish in the Federal Register, with                        In this action, we are finalizing
                                                                                                                                                               establishing the applicable volume
                                            respect to the following calendar year,                    applicable volume requirements and the
                                                                                                                                                               requirements for 2014–2017.61 A
                                            the renewable fuel obligation that                         associated percentage standards for
                                                                                                                                                               commenter suggested that EPA is
                                            ensures that the requirements of                           2023–2025, as described further in
                                                                                                                                                               further limited on our promulgation of
                                            paragraph (2) are met.’’ 53 The next                       Sections VI and VII. We believe that
                                                                                                                                                               the 2023 and 2024 standards at no
                                            clause (ii) provides further requirements                  establishing both the volume
                                                                                                                                                               greater than the 2022 standards. We
                                            for the obligation described in clause (i).                requirements and percentage standards                   disagree for the reasons articulated in
                                            On its face, this language does not apply                  for the next three years strikes an                     the RTC document.
                                            to rulemakings establishing obligations                    appropriate balance between improving                      In this rulemaking, we are exercising
                                            for years subsequent to 2022. Therefore,                   the program by providing increased                      our authority to set the applicable
                                            EPA is not bound by this language for                      certainty over a multiple number of                     renewable fuel volume requirements for
                                            those years.                                               years and recognizing the inherent                      2023 and 2024 after the statutory
                                               EPA could choose to continue to                         uncertainty in longer-term projections.                 deadline to promulgate volumes no later
                                            utilize the same procedures articulated                    E. Considerations for Late Rulemaking                   than 14 months before the first year to
                                            in CAA section 211(o)(3)(B)(i) for                                                                                 which those volume requirements
                                            establishing percentage standards for                        In this rulemaking, we are finalizing                 apply.62 This final rule will also be
                                            years beyond 2022. In that case, EPA                       applicable volume targets for the 2023                  partly retroactive, as the 2023 standards
                                            would establish standards for 2023 in                      and 2024 compliance years that miss the                 are being finalized in the middle of the
                                            this rulemaking, and separately set                        statutory deadlines.55 EPA has in the                   2023 calendar year. Nevertheless, we
                                            standards for 2024 and 2025 in later                       past also missed statutory deadlines for                believe that the 2023 standards being
                                            actions. However, EPA has chosen to set                    promulgating RFS standards, including                   finalized in this action can be met and
                                            percentage standards at one time for                       the BBD Standards in 2014–2016, which                   that the available RIN generation data
                                            several future years (i.e., for 2023, 2024,                were established under CAA section                      from the first quarter of 2023 suggests
                                            and 2025). Doing so increases certainty                    211(o)(2)(B)(ii), the same provision                    the market is on track to supply the
                                            for obligated parties, renewable fuel                      under which we are establishing the                     volumes we are finalizing for 2023 (see
                                            producers, and RIN market participants,                    2023 and 2024 standards. The U.S.                       Section VI and RIA Chapter 6). We are
                                            as both the applicable volume                              Court of Appeals for the D.C. Circuit                   finalizing the 2024 standards prior to
                                            requirements and the associated                            found that EPA retains authority to
                                            percentage standards can be established                    promulgate volumes and annual                             56 Americans for Clean Energy v. EPA, 864 F.3d

                                                                                                       standards beyond the statutory                          691 (D.C. Cir. 2017) (ACE) (EPA may issue late
                                            in advance of the year in which they                                                                               applicable volumes under CAA section
                                            apply. This also provides certainty for                    deadlines, even those that apply                        211(o)(2)(B)(ii)); Monroe Energy, LLC v. EPA, 750
                                            obligated parties in determining                           retroactively, so long as EPA exercises                 F.3d 909 (D.C. Cir. 2014); NPRA v. EPA, 630 F.3d
                                            compliance deadlines. The regulations                                                                              145, 154–58 (D.C. Cir. 2010).
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                                                                                                                                                                 57 NPRA v. EPA, 630 F.3d 145, 164–65.
                                                                                                          54 See Growth Energy v. Env’t Prot. Agency, 5
                                            at 40 CFR 80.1451(f)(1)(i)(A) provide                                                                                58 ACE, 864 F.3d at 721–22.
                                                                                                       F.4th 1, 15 (D.C. Cir. 2021) (acknowledging
                                            that compliance will not be required for                   deference to agency’s predictive judgments).              59 80 FR 77420, 77427–28, 77430–31 (Dec. 14,

                                                                                                          55 See CAA Section 211(o)(2)(B)(ii), requiring EPA   2015).
                                              51 CAA section 211(o)(A)(i), (iii).                                                                                60 CAA section 211(o)(2)(B)(ii).
                                                                                                       promulgate applicable volume requirements no
                                              52 CAA Section 211(o)(2)(B)(ii).                                                                                   61 ACE, 864 F.3d at 721–23.
                                                                                                       later than 14 months prior to the first year in which
                                              53 CAA Section 211(o)(3)(b)(i).                          they will apply.                                          62 CAA section 211(o)(2)(B)(ii).




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                                            the beginning of the 2024 calendar year                  of the waiver authorities to modify the                 absence of exercising our cellulosic
                                            and do not expect those standards to                     statutory volumes in past annual                        waiver authority to provide a price cap
                                            apply retroactively. Additionally, we                    standard-setting rulemakings, EPA has                   on cellulosic volume, or to provide
                                            have provided obligated parties notice                   the authority to modify the applicable                  additional flexibility for obligated
                                            as of December 1, 2022 of the proposed                   volumes for 2023 and beyond in future                   parties. As we do not find authority to
                                            2023 and 2024 standards, a month                         actions through the use of our waiver                   issue cellulosic waiver credits without
                                            ahead of when the 2023 standards                         authorities to modify the applicable                    use of the cellulosic waiver authority,
                                            would apply, and over a year in advance                  volumes we are setting in this action.                  we will not be issuing CWCs absent a
                                            of when the 2024 standards would                           We note that, as described above,                     future waiver of the cellulosic standard.
                                            apply. Additionally, obligated parties                   CAA section 211(o)(2)(B)(iv) requires                   Despite the absence of CWCs, we expect
                                            will have at least nine months from the                  that EPA set the cellulosic biofuel                     that obligated parties will be able to
                                            time of promulgation of this final rule                  volume requirements for 2023 and                        satisfy their cellulosic biofuel
                                            before they are required to submit                       beyond based on the assumption that                     obligations for these years because we
                                            associated compliance reports for                        the Administrator will not need to                      are proposing to establish the cellulosic
                                            2023.63 There will additionally be                       waive those volume requirements under                   biofuel volume requirement based on
                                            approximately 22 months between the                      the cellulosic waiver authority. Because                the quantity of cellulosic biofuel we
                                            promulgation of this rule and the                        we are, in this action, establishing the                project will be produced and imported
                                            compliance deadline for the 2024                         applicable volume targets for 2023–2025                 in the U.S. each year.
                                            standards.64 Additionally, all obligated                 under the set authority, we do not
                                                                                                     believe we could also waive those                       G. Severability
                                            parties will continue to have available
                                            compliance flexibilities such as carry                   requirements using the cellulosic waiver                   As stated in the proposal, we intend
                                            forward deficits, and carryover RINs to                  authority in this same action in a                      for the volume requirements and
                                            comply with the 2023 and 2024                            manner that would be consistent with                    percentage standards for each single
                                            standards.                                               CAA section 211(o)(2)(B)(iv), since that                year covered by this rule (i.e., 2023,
                                              In addition, in completing its                         waiver authority is only triggered when                 2024, and 2025) to be severable from the
                                            response to the ACE remand of the 2016                   the projected production of cellulosic                  volume requirements and percentage
                                            annual rule, we are establishing a                       biofuel is less than the ‘‘applicable                   standards for the other years. Each
                                            supplemental standard for 2023.65 This                   volume established under                                year’s volume requirements and
                                            supplemental standard is being                           [211(o)(2)(B)].’’ In other words, it does               percentage standards are supported by
                                            promulgated after the statutory deadline                 not appear that EPA could use both the                  analyses for that year. Similarly, we
                                            for the 2016 standards (November 30,                     set authority and the cellulosic waiver                 intend for the 2023 supplemental
                                            2015). However, the supplemental                         authority to establish volumes at the                   standard and percentage standard to be
                                            standard would prospectively apply to                    same time in this action.                               severable from the annual volume
                                            gasoline and diesel produced or                            Establishing the volume requirements                  requirements and percentage standards.
                                            imported in 2023, therefore is only                      for 2023–2025 using our set authority                      We also intend for the other
                                            partly retroactive. We further discuss                   apart from the cellulosic waiver                        regulatory amendments to be severable
                                            our response to the ACE remand in                        authority has important implications for                from the volume requirements and
                                            Section V.                                               the availability of cellulosic waiver                   percentage standard. The regulatory
                                                                                                     credits (CWCs) in these years. When                     amendments are intended to improve
                                            F. Impact on Other Waiver Authorities                    EPA reduces cellulosic volumes under                    the RFS program in general and are not
                                              While we are establishing applicable                   the cellulosic waiver authority, EPA is                 part of EPA’s analysis for the volume
                                            volume requirements in this action for                   also required to make CWCs available                    requirements and percentage standards
                                            future years that are achievable and                     under CAA section 211(o)(7)(D)(ii). In                  for any specific year. Further, each of
                                            appropriate based on our consideration                   this rule we are, for the first time,                   the regulatory amendments in Sections
                                            of the statutory factors, we retain our                  establishing a cellulosic biofuel                       IX and X is severable from the other
                                            legal authority to waive volumes in the                  standard without utilizing the cellulosic               regulatory amendments because they all
                                            future under the waiver authorities                      waiver authority. We interpret CAA                      function independently of one another.
                                            should circumstances so warrant.66 For                   section 211(o)(7)(D)(ii) such that CWCs                    If any of the portions of the rule
                                            example, the general waiver authority                    are only made available in years in                     identified in the preceding paragraph
                                            under CAA section 211(o)(7)(A)                           which EPA uses the cellulosic waiver                    (i.e., volume requirements and
                                            provides that EPA may waive the                          authority to reduce the cellulosic                      percentage standards for a single year,
                                            volume targets in ‘‘paragraph (2),’’                     biofuel volume. Because of this,                        the 2023 supplemental standard, the
                                            which provides both the statutory                        cellulosic waiver credits would not be                  individual regulatory amendments) is
                                            applicable volume tables and EPA’s set                   available as a compliance mechanism                     invalidated by a reviewing court, we
                                            authority (the authority to set applicable               for obligated parties in these years                    intend the remainder of this action to
                                            volumes for years not specified in the                   absent a future action to exercise the                  remain effective as described in the
                                            table). Therefore, similar to our exercise               cellulosic waiver authority. We                         preceding paragraph. To further
                                                                                                     recognized this likelihood in the recent                illustrate, if a reviewing court were to
                                               63 EPA expects the 2023 compliance deadline to        rule establishing volume requirements                   invalidate the volume requirements and
                                            be March 31, 2024. See 40 CFR 80.1451(f)(1)(A).          for 2020–2022, where we stated that                     percentage standards and supplemental
                                               64 The 2024 compliance deadline is March 31,
                                                                                                     CWCs were unlikely to be available in                   standard, we intend the other regulatory
                                            2025. 40 CFR 80.1451(f)(1)(A).
                                               65 We also established a supplemental standard
                                                                                                     2023 as part of our rationale for not                   amendments to remain effective. Or, as
                                            for 2022 in a prior action. See, e.g., 87 FR 39600       requiring the use of cellulosic carryover               another example, if a reviewing court
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                                            (July 1, 2022).                                          RINs in setting the cellulosic volume                   invalidates the BBD conversion factor
                                               66 See J.E.M. Ag Supply, Inc. v. Pioneer Hi-Bred
                                                                                                     requirements for 2020–2022. 67 Some                     provisions, we intend the volume
                                            Intern., Inc., 534 U.S. 124, 143–44 (2001) (holding      commenters suggested that we should                     requirements and percentage standards
                                            that when two statutes are capable of coexistence
                                            and there is not clearly expressed legislative intent    make CWCs available even in the                         as well as the supplemental standard
                                            to the contrary, each should be regarded as                                                                      and other regulatory amendments to
                                            effective).                                                   67 87 FR 39616 (July 1, 2022).                     remain effective.


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                                            III. Candidate Volumes and Baselines                     a consideration of supply-related                        analyze under the statute. The candidate
                                               The statute requires that we analyze a                factors, with a consideration of other                   volumes represent those volumes that
                                            specified set of factors in making our                   relevant factors as noted in the                         might be reasonable to require based on
                                            determination of the appropriate                         following sections. This approach is                     the supply-related factors, but which
                                            volume requirements to establish for                     generally consistent with the approach                   have not yet been evaluated in terms of
                                            years after 2022, and further requires                   we took for developing the candidate                     the other economic and environmental
                                            that we review implementation of the                     cellulosic biofuel volumes in the 2020–                  factors. Basing the candidate volumes
                                            program in prior years. The statutory                    2022 rule, as the statutory cellulosic                   primarily on supply-related
                                            factors are listed in Section II.B. Because              biofuel volumes were far beyond the                      considerations is a reasonable first step
                                                                                                     quantity of these fuels that could be                    because doing so narrows the scope for
                                            many of those factors, particularly those
                                                                                                     supplied.                                                the multifactor analysis in a
                                            related to economic and environmental
                                                                                                        For the first step in this process, we                commonsense way. This step better
                                            impacts, are difficult to analyze in the                 analyzed a subset of the statutory factors               enables our analysis of the remaining
                                            abstract, we have therefore opted to                     that are most closely related to supply                  statutory factors. The candidate volumes
                                            analyze those factors based on specific                  of and demand for renewable fuel.                        we have identified in this final rule are
                                            ‘‘candidate volumes’’ for each category                  These supply-and-demand-related                          similar to, but slightly higher than the
                                            of renewable fuel. To accomplish this,                   factors (hereinafter ‘‘supply-related                    candidate volumes in the proposed rule.
                                            we first derived a set of renewable fuel                 factors’’) 68 include the production and                 Specifically, the candidate cellulosic
                                            volumes from the statutory factors most                  use of renewable fuels (as a necessary                   biofuel volumes are higher for all three
                                            closely related to renewable fuel supply                 prerequisite to analyzing their impacts                  years (after accounting for the fact that
                                            and other relevant factors. The                          under CAA section 211(o)(2)(B)(ii)(I),                   we are not finalizing the proposed eRIN
                                            development of these candidate                           (II), (V), and (VI))), the expected annual               provisions in this rule). The candidate
                                            volumes helps further our consideration                  rate of future commercial production of                  volumes for non-cellulosic advanced
                                            of the statutory factor to analyze the                   renewable fuels (CAA section                             biofuels in this final rule are higher than
                                            expected annual rate of future                           211(o)(2)(B)(ii)(III)), and the sufficiency              the candidate volumes from the
                                            commercial production of renewable                       of infrastructure to deliver and use                     proposed rule for 2023–2025. Finally,
                                            fuels and provide us with renewable                      renewable fuel (CAA section                              the candidate volumes for conventional
                                            fuel volumes with which to perform the                   211(o)(2)(B)(ii)(IV)). Consideration of                  biofuel in this final rule are lower than
                                            remaining analyses required by the                       these supply-related statutory factors                   the candidate volumes in the proposed
                                            statute. We used these candidate                         necessarily included a consideration of                  rule for all three years, due to lower
                                            volumes to conduct analyses of the                       imports and exports of renewable fuel,                   projected gasoline consumption. Section
                                            other environmental and economic                         consumer demand for renewable fuel,                      VI provides our rationale for the final
                                            factors. Finally, we determined, based                   the availability of qualifying feedstocks,               volume requirements in light of all the
                                            on the results of all of the analyses                    and other relevant factors as discussed                  analyses that we conducted.
                                            (those that went into developing the                     in the following sections. Since the                        In this final rule we updated the
                                            candidate volumes, described in this                     statute also requires us to review the                   candidate volumes after considering the
                                            section, and the subsequent analyses                     implementation of the program in prior                   comments we received on our proposed
                                            performed using these candidate                          years, an analysis of renewable fuel                     rule as well as additional data not
                                            volumes, described in Sections IV and                    supply includes not just projections for                 available at the time the analyses for the
                                            VI), the volume requirements that                        the future but also an assessment of the                 proposed rule were completed. We
                                            would be appropriate to establish. Our                   historical supply of renewable fuel.                     received many comments on the supply-
                                            approach can be summarized as a three-                   While we focused on supply-related                       related factors that informed the
                                            step process:                                            factors, as discussed further in the                     candidate volumes, including comments
                                               1. Development of candidate volumes                   following sections we also considered                    related to renewable fuel production
                                            (described in this section).                             other information such as trends in                      capacity, the availability of feedstocks to
                                               2. Multifactor analysis based on those                                                                         produce renewable fuel, the quantity of
                                                                                                     statutory volumes, GHG reduction
                                            candidate volumes (described in Section                                                                           renewable fuel that can be consumed in
                                                                                                     implications, and market expectations
                                            IV).                                                                                                              the transportation sector, and the ability
                                                                                                     resulting from our proposed rule.
                                               3. Determination of applicable volume                    This section describes the derivation                 for the incentives provided by the RFS
                                            requirements based on a consideration                    of ‘‘candidate volumes’’ based on a                      program to incentivize increased
                                            of all factors analyzed (described in                    consideration of supply-related factors                  renewable fuel production and use.
                                            Section VI).                                             as the first step in our consideration of                These comments, along with more
                                               We acknowledge that we are taking a                                                                            recent data, led us to increase the
                                                                                                     all factors that we are required to
                                            different approach to developing                                                                                  candidate volumes for CNG/LNG
                                            candidate volumes in this rule than we                      68 We use this shorthand (‘‘supply-related            derived from biogas, ethanol produced
                                            did under the reset authority in the                     factors’’) only for ease of explanation in the context   from corn kernel fiber, biomass-based
                                            2020–2022 rule. The primary difference                   of identifying candidate volumes for analysis under      diesel, and other advanced biofuels
                                            is that in the 2020–2022 rule the                        CAA section 211(o)(2)(B)(ii). We recognize that this
                                                                                                     shorthand (‘‘supply-related factors’’) utilizes the
                                                                                                                                                              projected to be produced or imported in
                                            candidate volumes for non-cellulosic                     term ‘‘supply’’ in a manner that is incongruent with     2023–2025, and corresponding increases
                                            advanced biofuel and conventional                        the D.C. Circuit’s interpretation of the scope of the    to the candidate volumes for these fuel
                                            renewable fuel were generally in the                     term ‘‘supply’’ in the general waiver authority          types relative to the proposal. Our
                                            implied statutory volumes for these fuel                 provision in CAA section 211(o)(7)(A). ACE, 864          consideration of comments on the
                                                                                                     F.3d at 710. (holding that the term ‘‘inadequate
                                            types in comparison to the statutory                                                                              proposed rule and additional data also
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                                                                                                     domestic supply’’ under the general waiver
                                            volumes. In this rule we are establishing                authority excludes ‘‘demand-side factors’’).             resulted in slight decreases to the
                                            volumes for 2023–2025, a time period                     References to ‘‘supply-related factors’’ in the          candidate volumes of conventional
                                            for which there are no statutory targets.                context of our discussion of the candidate volumes       renewable fuel for 2023–2025.
                                                                                                     for analysis under CAA section 211(o)(2)(B)(ii) have
                                            We therefore developed the candidate                     no bearing on our interpretation of the term
                                                                                                                                                                 Our updated projections of projected
                                            volumes for non-cellulosic biofuel and                   ‘‘inadequate domestic supply’’ under the general         renewable fuel production and imports,
                                            conventional biofuel based primarily on                  waiver authority under CAA section 211(o)(7)(A).         including a brief discussion of the


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                                            relevant comments and new data that                      multiple years in a single rule. As                     that are at least 60 percent less than the
                                            informed these projections, can be                       discussed in that section, in this final                baseline lifecycle greenhouse gas
                                            found in Section III.B. Section III.C                    rule we are establishing volumes and                    emissions.69 In the past several years,
                                            summarizes the candidate volumes we                      percentage standards for three years,                   production of cellulosic biofuel has
                                            analyzed. Finally, Sections III.D and                    2023–2025. Consistent with this                         continued to increase. Cellulosic biofuel
                                            III.E describe, respectively, the No RFS                 decision, Sections III.B and III.C discuss              production reached record levels in
                                            baseline that we believe would be the                    our determination of the candidate                      2022, driven by compressed natural gas
                                            most appropriate point of reference for                  volumes for each year covered by this                   (CNG) and liquified natural gas (LNG)
                                            the analysis of the other statutory                      rule.                                                   derived from biogas. This section
                                            factors, and the volume changes                          B. Production and Import of Renewable                   describes our assessment of the rate of
                                            calculated in comparison to that                         Fuel                                                    production of qualifying cellulosic
                                            baseline.                                                                                                        biofuel from 2023 to 2025, and some of
                                                                                                     1. Cellulosic Biofuel                                   the uncertainties associated with these
                                            A. Scope of Analysis
                                                                                                        Cellulosic biofuel is defined as                     volumes. Further detail on our
                                              In Section II.D we discuss our                         renewable fuel derived from any                         projections of the rate of cellulosic
                                            statutory authority to establish RFS                     cellulose, hemi-cellulose, or lignin that               biofuel production and import can be
                                            volumes and percentage standards for                     has lifecycle greenhouse gas emissions                  found in RIA Chapter 6.1.




                                            a. CNG/LNG Derived From Biogas                           interchangeably and transported                         previous 24 months. While some
                                               To be eligible to generate RINs for                   through the same pipelines. While                       commenters argued that EPA should
                                            CNG/LNG derived from biogas, biogas                      treated biogas is typically used to fuel                project future production of CNG/LNG
                                            from qualifying sources first must be                    CNG/LNG vehicles at the site where it                   from RNG based on a facility-by-facility
                                            collected and upgraded to enable its use                 is produced, RNG is injected into the                   assessment, many supported the
                                            in CNG/LNG vehicles. This upgrading                      natural gas commercial pipeline system.                 proposed methodology of using an
                                            process involves removing undesirable                    Once injected into the natural gas                      industry-wide rate of growth to project
                                            components and contaminants from                         commercial pipeline system, RNG can                     production in future years. Many of the
                                            biogas. Biogas that has been upgraded                    be used in a variety of applications,                   commenters who generally supported
                                            and distributed via a closed, private                    including to fuel CNG/LNG vehicles, for                 the rate of growth approach, however,
                                            distribution system is called ‘‘treated                  generating electricity, for residential                 requested that EPA use a higher rate of
                                            biogas’’ while biogas that has been                      heating, and for other industrial or                    growth that considered data beyond just
                                            upgraded and distributed via the natural                 commercial purposes.                                    the most recent 24 months. These
                                            gas commercial pipeline system is                           In the proposed rule we projected the                comments are discussed briefly at the
                                            referred to as renewable natural gas                     use of CNG/LNG produced from RNG 70                     end of this section, and in greater detail
                                            (RNG). RNG is essentially                                in 2023–2025 using an industry-wide                     in the RTC document. In this final rule
                                            indistinguishable from fossil-based                      projection of the rate of growth                        we are using an industry-wide rate of
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                                            natural gas and can be used                              calculated from RIN generation over the                 growth based on RIN generation data
                                              69 40 CFR 80.1401.                                     natural gas commercial pipeline system. We also         distributed via a closed, private distribution
                                              70 We note that as described in the biogas             define the term ‘‘treated biogas’’ to refer to biogas   system). For purposes of this section of the
                                            regulatory reform provisions in Section IX, we           that has undergone treatment for use as                 preamble, we use the term RNG to refer collectively
                                            define RNG to mean biogas that has been upgraded         transportation fuel but that is not placed onto the     to treated biogas and RNG.
                                                                                                                                                                                                                   ER12JY23.000</GPH>




                                            to commercial pipeline quality and placed onto the       natural gas commercial pipeline system (i.e., it is



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                                            from 2015–2022 to project the                                                the quantity of CNG/LNG used in                                              than a projection based on an
                                            production and use of RNG as CNG/                                            vehicles. Our projection of the quantity                                     assessment of each potential RNG
                                            LNG. As discussed later in this section,                                     of RNG used as CNG/LNG that will be                                          producer.
                                            we believe the growth rate calculated                                        produced and used in 2023–2025 is                                              To project the production of
                                            using data from 2015–2022 better                                             described briefly in this section, and in
                                                                                                                                                                                                      qualifying RNG we calculated a year-
                                            reflects the potential production and use                                    greater detail in RIA Chapter 6.1.3.
                                                                                                                            To project qualifying RNG production                                      over-year growth rate and applied this
                                            of RNG as CNG/LNG through 2025. This
                                            results in a significantly higher rate of                                    for this final rule we used an industry                                      growth rate to the total production of
                                            grow in the final rule (25.0%) relative to                                   wide projection approach that is similar,                                    RNG used as CNG/LNG in 2022 (the
                                            the proposed rule (13.1%), and higher                                        though not identical, to the approach                                        most recent year for which complete
                                            projected volumes of RNG use as CNG/                                         used to project the production of RNG                                        data are available). To calculate the
                                            LNG for each year from 2023–2025.                                            used as CNG/LNG in previous RFS rules                                        year-over-year growth rate we
                                               In projecting the production and use                                      as well as in the proposed rule. While                                       considered RIN generation data for RNG
                                            of RNG used as CNG/LNG in 2023–2025                                          the approach we are using to project the                                     used as CNG/LNG from 2015–2022
                                            we primarily considered two potential                                        production of CNG/LNG is similar to the                                      instead of just the most recent 24
                                            limiting factors. The first factor                                           approach used in previous years and the                                      months for the proposal. We believe a
                                            considered was the quantity of RNG we                                        proposal, we are now using a broader                                         rate of growth based on this larger set of
                                            project will be produced from qualifying                                     range of data to calculate the growth rate                                   data better reflects the potential for RNG
                                            biogas in 2023–2025. Because biogas                                          used to project future projection. This                                      production in 2023–2025. We also note
                                            must be upgraded to enable its use in                                        reflects our consideration of an                                             that this rate of growth is within the
                                            CNG/LNG vehicles, the quantity of RNG                                        appropriate growth rate following                                            range of the growth rates suggested by
                                            that we project will be produced sets a                                      engagement with stakeholders and                                             RNG producers in the public comment
                                            maximum for the quantity of biogas that                                      review of both new data and commenter                                        period (generally 20–30%) and closer to,
                                            can be used in vehicles as CNG/LNG.                                          submissions on the proposal. More
                                                                                                                                                                                                      though still less than, estimated RNG
                                            The second major factor we consider is                                       detail on our consideration of the
                                                                                                                                                                                                      production from the Coalition for
                                            the quantity of RNG that is capable of                                       appropriate rate of growth is provided
                                            being used as transportation fuel in                                         later in this section. We have                                               Renewable Natural Gas based on their
                                            CNG/LNG vehicles. As discussed above,                                        successfully used an industry wide                                           analysis of new RNG facilities under
                                            RNG can be used in many different                                            projection methodology in previous                                           construction and in development.71 The
                                            applications and a variety of factors,                                       years and continue to believe it better                                      data used to calculate the projected rate
                                            including limitations related to the                                         reflects the projected growth of the                                         of growth for RNG and the resulting
                                            demand for CNG/LNG from vehicles,                                            industry in light of potential limiting                                      projections of RNG production in 2023–
                                            fueling infrastructure, and demand for                                       factors (which are more likely to be                                         2025 are shown in Table III.B.1.a–1 and
                                            RNG from other sectors can all impact                                        market based than technology based)                                          Table III.B.1.a–2.

                                                                    TABLE III.B.1.a–1—GENERATION OF CELLULOSIC BIOFUEL RINS FOR RNG USED AS CNG/LNG
                                                                                                                                        [Ethanol-equivalent gallons]

                                                                                                                                                                                                                      2022 RIN           Year-over-year
                                                                                                            2015 RIN generation                                                                                      generation            increase
                                                                                                               (million RINs)                                                                                       (million RINs)            (%)

                                            139.9 ............................................................................................................................................................            666.1              25.0


                                                                                               TABLE III.B.1.a–2—PROJECTED GENERATION OF QUALIFYING RNG
                                                                                                                                        [Ethanol-equivalent gallons]

                                                                                                                                                                                                                      Growth rate           Volume
                                                                   Year                                                                              Date type                                                           (%)             (million RINs)

                                            2022 ...............................................      Actual ....................................................................................................                 N/A                 665
                                            2023 ...............................................      Projection ..............................................................................................                   25.0                831
                                            2024 ...............................................      Projection ..............................................................................................                   25.0              1,039
                                            2025 ...............................................      Projection ..............................................................................................                   25.0              1,299



                                              We next considered how much of the                                         being used as transportation fuel in                                         generate RINs under the RFS program.
                                            qualifying RNG produced in 2023–2025                                         2023–2025 in CNG/LNG vehicles in the                                         We therefore used the volumes in Table
                                            could be used as transportation fuel in                                      fleet, these 2023–2025 volumes are still                                     III.B.1.a–2 as the candidate volumes for
                                            the form of CNG/LNG. While the                                               below the total quantity of CNG/LNG                                          RNG use as CNG/LNG in 2023–2025.
                                            volumes of RNG use as CNG/LNG in                                             projected to be used as transportation                                          We received many comments on our
                                            Table III.B.1.a–2. appear to be                                              fuel in 2023–2025.72 Thus, the entire                                        projected volume for RNG used as CNG/
                                            approaching the upper limit (estimated                                       quantity of qualifying RNG produced in                                       LNG in our proposed rule. While some
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                                            to be 1.4–1.75 billion ethanol-equivalent                                    2023–2025 could still be used as                                             commenters supported the proposed
                                            gallons) of all CNG/LNG capable of                                           transportation fuel and be able to                                           volumes, many stakeholders involved in
                                              71 Further discussion of the growth rate used to                           the most recent 24 months, can be found in RTC                                 72 See RIA Chapter 6.1.3 for a further discussion

                                            project the production of CNG/LNG derived from                               Section 3.2.2.                                                               of our estimate of CNG/LNG used as transportation
                                            biogas, and our reasons for considering data beyond                                                                                                       fuel in 2023–2025.



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                                            the production, distribution, and use of                    In the proposed rule we noted the                  technology providers have indicated
                                            RNG as CNG/LNG stated that the                           potential for the production of cellulosic            that using analytical methods consistent
                                            projected volumes were too low. In                       ethanol from CKF in 2023–2025. We did                 with those in the guidance document
                                            particular, they stated that the growth in               not, however, project any production of               they can demonstrate that
                                            RNG use as CNG/LNG in recent years                       ethanol from CKF in 2023–2025 beyond                  approximately 1.5% of the ethanol
                                            was significantly impacted by the                        the few facilities that were currently                produced from existing corn ethanol
                                            COVID pandemic and did not reflect                       registered as cellulosic biofuel                      facilities is produced from cellulosic
                                            projected growth in this industry                        producers. At the time of the proposal                biomass.
                                            through 2025. Some commenters also                       no facilities had yet requested to register             Based on the information from the
                                            noted significant investment in                          as cellulosic biofuel producers using                 technology providers, we believe that
                                            expanding RNG production which they                      analytical methods consistent with                    1.5% of cellulosic ethanol can generally
                                            claimed supported a much higher                          recently published guidance.75 Since                  be produced from corn kernel fiber at
                                            growth rate in the projected volume of                   the proposal, however, a number of                    existing ethanol facilities with few, if
                                            biogas used in CNG/LNG vehicles.73                       facilities have approached EPA with                   any, additional processing units or
                                               In this final rule we used a growth                   registration requests. In this final rule             process changes. We are aware that
                                            rate based on a longer time-period                       we are now projecting that the                        many ethanol facilities are working with
                                            (2015–2022) than in both our proposed                    production of ethanol from CKF will                   the technology providers in order to
                                            rule and previous RFS rules. We believe                  increase from 7 million gallons in 2023               register their facilities to produce
                                            the higher growth rate that results from                 to 77 million gallons in 2025. These                  cellulosic ethanol. We are therefore
                                            using additional data better reflects the                projections, which are described further              projecting volumes of ethanol from corn
                                            likely production of RNG use as CNG/                     in the remainder of this section and in               kernel fiber through 2025 that include
                                            LNG in 2023–2025 than using a growth                     greater detail in RIA Chapter 6.1 are                 production from facilities that have not
                                            rate based on the last 24 months of data.                based on projections of the number of                 yet registered as cellulosic biofuel
                                            Using data from 2015–2022 strikes a                      facilities we expect will register as                 producers, but are expected to do so
                                            balance between using the most recent                    cellulosic biofuel producers and the                  during this time period. The projected
                                            data available and not focusing                          expected rate of cellulosic biofuel                   production of cellulosic ethanol from
                                            exclusively on data from the last 24                     production at each facility.                          CKF, shown in Table III.B.1.b-1, are
                                            months, during which the industry may                       To be eligible to generate cellulosic              based on projections of when facilities
                                            still have been recovering from the                      RINs, facilities that are co-processing               will register as cellulosic biofuel
                                            impacts of the COVID pandemic. As                        starch and cellulosic components of the               producers under the RFS program and
                                            noted earlier, the growth rate that                      corn kernel must be able to determine
                                                                                                                                                           begin producing fuel. The projection
                                            results from using this additional data is               the amount of ethanol that is produced
                                                                                                                                                           methodology for cellulosic ethanol
                                            supported by the public comments                         from the cellulosic portion of the corn
                                                                                                                                                           production from CKF used in this final
                                            (which generally requested that EPA use                  kernel. This requires the ability to
                                                                                                                                                           rule is discussed further in RIA Chapter
                                            growth rates that ranged from 20 to 30                   accurately and reliably calculate the
                                                                                                                                                           6.1.2.
                                            percent), as well as the data received                   amount of ethanol produced from the
                                            during the public comment period on                      cellulosic portion as opposed to the
                                            the large number of RNG production                       starch portion of the corn kernel; EPA
                                                                                                                                                              TABLE III.B.1.b–1—PROJECTED
                                            facilities that are currently under                      has to date had significant concerns                   PRODUCTION OF ETHANOL FROM CKF
                                            construction or in the project                           with facilities’ abilities to accurately                           [Ethanol-equivalent gallons]
                                            development phase. Finally, we note                      perform this calculation. In September
                                            that the limited data available from                     2022 EPA published a document                                                                    Volume
                                                                                                                                                                          Year                     (million RINs)
                                            early 2023 suggest that 25% growth is                    providing updated guidance on
                                            achievable in 2023.74                                    analytical methods that could be used to              2023 ................................                     7
                                                                                                     quantify the amount of ethanol                        2024 ................................                    51
                                            b. Ethanol From Corn Kernel Fiber
                                                                                                     produced when co-processing corn                      2025 ................................                    77
                                               While there are several different                     kernel fiber and corn starch. 76 This
                                            technologies currently being developed                   guidance highlighted several                          c. Other
                                            to produce liquid fuels from cellulosic                  outstanding critical technical issues that
                                            biomass, these technologies are by and                   need to be addressed.                                   For the 2023–2025 timeframe, we
                                            large highly unlikely to produce                            Since issuing the proposed rule EPA                expect that commercial scale production
                                            significant quantities of cellulosic                     has continued to have substantive                     of cellulosic biofuel in the U.S. beyond
                                            biofuel by 2025. One exception is the                    discussions with technology providers                 CNG/LNG derived from biogas and
                                            production of ethanol from corn kernel                   intending to use analytical methods                   ethanol produced from CKF will be very
                                            fiber (CKF), for which several different                 consistent with the guidance document                 limited. There are several cellulosic
                                            companies have developed processes.                      and owners of facilities intending to                 biofuel production facilities in various
                                            Many of these processes involve co-                      register as cellulosic biofuel producers              stages of development, construction,
                                            processing of both the starch and                        using these analytical methods. The                   and commissioning that may be capable
                                            cellulosic components of the corn                                                                              of producing commercial scale volumes
                                            kernel making it difficult to quantify                     75 Guidance on Qualifying an Analytical Method      of cellulosic biofuel by 2025. These
                                            what portion of the ethanol they                         for Determining the Cellulosic Converted Fraction     facilities generally are focusing on
                                                                                                     of Corn Kernel Fiber Co-Processed with Starch.        producing cellulosic hydrocarbons that
                                            produce is from cellulosic biomass.                      Compliance Division, Office of Transportation and
                                                                                                     Air Quality, U.S. EPA. September 2022 (EPA–420–       could be blended into gasoline, diesel,
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                                              73 See RTC Section 3.2.2 for a summary of these        B–22–041).                                            and jet fuel from feedstocks such as
                                            comments and a more detailed response.                     76 Guidance on Qualifying an Analytical Method      separated municipal solid waste (MSW)
                                              74 Further discussion of the growth rate used to       for Determining the Cellulosic Converted Fraction     and slash, precommercial thinnings,
                                            project the production of CNG/LNG derived from           of Corn Kernel Fiber Co-Processed with Starch.
                                            biogas, and our reasons for considering data beyond      Compliance Division, Office of Transportation and
                                                                                                                                                           and tree residue. In light of the fact that
                                            the most recent 24 months, can be found in RTC           Air Quality, U.S. EPA. September 2022 (EPA–420–       no parties have achieved consistent
                                            Section 3.2.2.                                           B–22–041).                                            production of liquid cellulosic biofuel


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                                            in the U.S. or consistently exported                     Because we no longer included                              The vast majority of fuel that qualifies
                                            liquid cellulosic biofuel to the U.S.,                   projected volumes of eRINs, our                         as BBD is biodiesel and renewable
                                            production and import of liquid                          projections of the production and                       diesel. Both these fuels are produced
                                            cellulosic biofuel in 2023–2025 is                       imports of total cellulosic biofuel for                 from animal fat and vegetable oils and
                                            highly uncertain and likely to be                        2024 and 2025 in this final rule are                    are replacements for diesel fuel,
                                            relatively small (see RIA Chapter 6.1.4                  lower than the proposed rule, despite                   however they differ in their production
                                            for more detail on the potential                         the higher projections for RNG used in                  processes and chemical composition.
                                            production of liquid cellulosic biofuel                  vehicles as a renewable form of CNG/                    Biodiesel is an oxygenated fuel that is
                                            through 2025). For the candidate                         LNG and ethanol produced from CKF in                    generally produced using a
                                            volumes we have projected no                             this final rule.                                        transesterification process. Renewable
                                            production of these fuels in 2023–2025.                                                                          diesel is a hydrocarbon fuel that closely
                                                                                                     2. Biomass-Based Diesel                                 resembles petroleum diesel that is
                                            d. eRINs
                                                                                                                                                             generally produced by hydrotreating
                                               As noted in the Executive Summary,                      Since 2010, when the BBD volume                       renewable feedstocks. From 2010
                                            we are not finalizing the proposed                       requirement was added to the RFS                        through 2015 the vast majority of BBD
                                            revisions to the eRIN program in this                    program, production of BBD has                          supplied to the U.S. was biodiesel.
                                            rulemaking. We are therefore not                         generally increased year-on-year. The                   While biodiesel is still the largest source
                                            including any volume from renewable                      volume of BBD supplied in any given                     of BBD supplied to the U.S., the supply
                                            electricty in our projections of the                     year is influenced by a number of                       of renewable diesel in 2022 was nearly
                                            production and import of cellulosic                      factors, including: production capacity,                as large as the supply of biodiesel, and
                                            biofuel. eRINs were projected to be a                    feedstock availability and cost, available              the supply of renewable diesel is
                                            significant source of cellulosic biofuel                 incentives including the RFS program,                   projected to exceed the supply of
                                            in the proposed rule in 2024 and 2025                    the availability of imported BBD, the                   biodiesel in future years as renewable
                                            (representing 600 million and 1.2 billion                demand for BBD in foreign markets, and                  diesel production and imports continue
                                            RINs in 2024 and 2025 respectively).                     several other economic factors.                         to grow.




                                              There are also very small volumes of                   sustainable aviation fuel or SAF).77 Jet                at least a 50 percent reduction in GHGs
                                            renewable jet fuel and heating oil that                  fuel has qualified as a RIN-generating                  in comparison to petroleum-based fuels.
                                            qualify as BBD, and there are currently                  advanced biofuel under the RFS                          The technology and feedstocks that can
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                                            significant efforts underway to                          program since 2010, and must achieve                    be used to produce SAF today are often
                                            incentivize growth in renewable jet fuel                                                                         the same as those currently used to
                                            in particular (often referred to as
                                                                                                       77 According to EMTS data renewable jet fuel
                                                                                                                                                             produce renewable diesel. For example,
                                                                                                     supply has ranged from 0–15 million gallons per         the same process that produces
                                                                                                     year from 2014–2022. Jet fuel is eligible to generate
                                                                                                     RINs per 40 CFR 80.1426(a)(1)(iv), provided all         renewable diesel from waste fats, oils,
                                                                                                                                                             and greases or plant oils generally
                                                                                                                                                                                                           ER12JY23.001</GPH>




                                                                                                     other regulatory requirements are met.



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                                            produces hydrocarbons in the                             data not available at the time of the                   2018.84 EIA reports that domestic
                                            distillation range of jet fuel that can be               proposed rule. Our projections of the                   biodiesel production capacity was
                                            separated and sold as SAF instead of                     likely future production of biodiesel and               approximately 2.5 billion gallons as
                                            being sold as renewable diesel. While                    renewable diesel in this final rule are                 recently as October 2021.85 This facility
                                            relatively little SAF has been produced                  higher than in the proposed rule,                       capacity data is collected by EIA in
                                            since 2010—less than 15 million gallons                  particularly in 2025 due to higher                      monthly surveys, which suggests that
                                            per year—opportunities for increasing                    projections of feedstock availability.                  this capacity represents the production
                                            this category of advanced biofuel exist.                 Further details on these volume                         at facilities that are currently producing
                                            A new tax credit for SAF, which was                      projections can be found in RIA Chapter                 some volume of biodiesel and likely
                                            included in the Inflation Reduction Act,                 6.2.                                                    does not include inactive facilities that
                                            may result in increasing volumes of SAF                                                                          are far less likely to complete a monthly
                                            produced from existing renewable                         a. Biodiesel                                            survey. EPA separately collects facility
                                            diesel production facilities. SAF                                                                                capacity information through the facility
                                                                                                        Historically, the largest volumes of
                                            production from existing renewable                                                                               registration process. This data includes
                                                                                                     biomass-based diesel and advanced
                                            diesel facilities would increase the                                                                             both facilities that are currently
                                            amount of renewable fuel available for                   biofuel supplied in the RFS program                     producing biodiesel and those that are
                                            a transportation sector that may be                      have been biodiesel. Domestic biodiesel                 inactive. EPA’s data shows a total
                                            otherwise particularly difficult to                      production increased from                               domestic biodiesel production capacity
                                            reduce carbon intensity; however, it                     approximately 1.3 billion gallons in                    of 3.1 billion gallons per year in April
                                            would likely result in a decrease in                     2014 to approximately 1.8 billion                       2022, of which 2.8 billion gallons per
                                            renewable diesel production, with little                 gallons in 2018. Since 2018 domestic                    year was at biodiesel facilities that
                                            or no net change in their overall                        biodiesel production decreased slightly,                generated RINs in 2021. These estimates
                                            production of RIN-generating fuels.78 In                 to approximately 1.6 billion gallons in                 of domestic production capacity
                                            this rule we have not separately                         2022. The U.S. has also imported                        strongly suggest that domestic biodiesel
                                            projected growth in SAF production,                      significant volumes of biodiesel in                     production capacity is unlikely to limit
                                            but we recognize that some of the                        previous years and has been a net                       domestic biodiesel production through
                                            projected growth in renewable diesel                     importer of biodiesel since 2013.                       2025.
                                            production may instead be SAF from                       Biodiesel imports reached a peak in
                                                                                                     2016 and 2017, with the majority of the                 b. Renewable Diesel and SAF
                                            the same production facilities. Other
                                            SAF production technologies and                          imported biodiesel coming from                             Renewable diesel and SAF are
                                            production facilities also being                         Argentina.79 In August 2017, the U.S.                   currently produced using the same
                                            developed could enable the future                        announced tariffs on biodiesel imported                 feedstocks and very similar production
                                            production of SAF from new facilities                    from Argentina and Indonesia.80 These                   technologies, and in most cases are
                                            and feedstocks that are not expected to                  tariffs were subsequently confirmed in                  produced at the same production
                                            impact renewable diesel production.                      April 2018.81 Since that time no                        facilities. Historically, greater incentives
                                               In addition, in April 2022 the Biden                  biodiesel has been imported from                        have been available for renewable diesel
                                            Administration announced a new                           Argentina or Indonesia, and net                         production, which has caused many of
                                            Sustainable Aviation Fuel Grand                          biodiesel imports have been relatively                  these production facilities to maximize
                                            Challenge to inspire the dramatic                        small.                                                  renewable diesel production. In the near
                                            increase in the production of                                                                                    term, we expect that any increase in
                                                                                                        Available data suggests that there is
                                            sustainable aviation fuels to at least 3                                                                         SAF production will result in a
                                                                                                     significant unused biodiesel production
                                            billion gallons per year by 2030. This                                                                           corresponding decrease in renewable
                                                                                                     capacity in the U.S., and thus domestic
                                            effort is accompanied by new and                                                                                 diesel production.86 In this section we
                                                                                                     biodiesel production could grow
                                            ongoing funding opportunities to                                                                                 have focused on renewable diesel
                                                                                                     without the need to invest in additional
                                            support sustainable aviation fuel                                                                                production, but we acknowledge that an
                                                                                                     production capacity. Consistent with
                                            projects and fuel producers totaling up                                                                          increasing portion of this fuel may be
                                                                                                     comments we received on the rule, we
                                            to $4.3 billion.                                                                                                 used as SAF in future years.
                                                                                                     have updated our assessment of                             Renewable diesel has historically
                                               The remainder of this section
                                                                                                     domestic biodiesel production capacity                  been produced and imported in smaller
                                            provides historical data on biodiesel
                                                                                                     using the latest information available                  quantities than biodiesel as shown in
                                            and renewable diesel production and
                                                                                                     from EIA. Data reported by EIA shows                    Figure III.B.2–1. In recent years,
                                            production capacity, briefly discusses
                                                                                                     that biodiesel production capacity in                   however, domestic production of
                                            potential feedstock limitations for
                                            biodiesel and renewable diesel                           January 2023 was approximately 2.05                     renewable diesel has increased
                                            production in future years, and                          billion gallons per year.82 According to                significantly. Renewable diesel
                                            summarizes our assessment of the rate                    EIA data biodiesel production capacity                  production facilities generally have
                                            of production and use of qualifying BBD                  grew slowly from about 2.1 billion                      higher capital costs and production
                                            from 2023 to 2025, and some of the                       gallons in 2012 83 to a peak of                         costs relative to biodiesel, which likely
                                            uncertainties associated with those                      approximately 2.5 billion gallons in                    accounts for the much higher volumes
                                            volumes. Our assessments of production
                                                                                                       79 EIA U.S. Imports by Country of Origin,https://
                                            capacity, available feedstocks, and                                                                                84 EIA Monthly Biodiesel Production Report.
                                                                                                     www.eia.gov/dnav/pet/pet_move_impcus_a2_nus_            February 2019.
                                            likely future production of biodiesel and                EPOORDB_im0_mbbl_a.htm. According to EIA                  85 EIA Monthly Biofuels Feedstock and Capacity
                                            renewable diesel in this final rule reflect              data, 67 percent of all biodiesel imports in 2016 and   Update. January 31, 2023 (https://www.eia.gov/
                                            our consideration of the comments we                     2017 were from Argentina.                               biofuels/update).
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                                            received on this rule as well as updated                   80 82 FR 40748 (Aug. 28, 2017).
                                                                                                                                                               86 We recognize that new technologies are being
                                                                                                       81 83 FR 18278 (April 26, 2018).
                                                                                                                                                             developed to produce SAF from a wider variety of
                                                                                                       82 EIA Monthly Biofuels Feedstock and Capacity
                                              78 The equivalence values for renewable diesel                                                                 feedstocks. Production of SAF using these
                                            and jet fuel are similar, with renewable diesel          Update, https://www.eia.gov/biofuels/update. Mar.       technologies would not negatively impact
                                            generating 1.6–1.7 RINs per gallon depending on          31, 2023 ().                                            renewable diesel production. Through 2025,
                                            the energy content of the fuel and Jet fuel generally      83 EIA Monthly Biodiesel Production Report.           however, we expect that only relatively modest
                                            generating 1.6 RINs per gallon.                          February 2013.                                          volumes of these fuels might be produced.



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                                            of biodiesel production relative to                      2025, and many of these comments                      the level of incentives varying
                                            renewable diesel production to date.                     cited data and projections from EIA. In               depending on the feedstocks used to
                                            The higher cost of renewable diesel                      this final rule we have updated our                   produce the renewable diesel varying as
                                            production can largely be offset through                 projection of renewable diesel                        well as by country), and logistical
                                            the benefits of economies of scale, since                production capacity through 2025 based                considerations (renewable diesel may be
                                            renewable diesel facilities tend to be                   on updated information from EIA,                      imported and exported from different
                                            much larger than biodiesel production                    consistent with these comments. As in                 parts of the country). We are projecting
                                            facilities. More importantly, because                    the proposed rule, however, we expect                 that net renewable diesel imports will
                                            renewable diesel more closely resembles                  that renewable diesel production                      continue through 2025 at approximately
                                            petroleum-based diesel than biodiesel                    through 2025 will be limited to a level               the levels observed in recent years, as
                                            fuel (both renewable diesel and                          below production capacity primarily                   domestic producers export volumes to
                                            petroleum-based diesel are                               due to limited feedstock availability,                take advantage of both the U.S. tax
                                            hydrocarbons while biodiesel is a                        which is further discussed later in                   incentives and other incentives abroad.
                                            methyl-ester) renewable diesel can be                    Section III.B.2.c.                                    However, we also recognize that
                                            blended at much higher levels than                          EIA currently projects that renewable              increasing net imports of renewable
                                            biodiesel. This allows renewable diesel                  diesel production capacity could reach                diesel could be a significant source of
                                            producers to benefit to a greater extent                 nearly 6 billion gallons by 2025,89                   additional renewable fuel supply in
                                            from the LCFS credits in California and                  though it is possible that not all these              future years.
                                            other states in addition to the RFS                      announced projects will be completed,
                                                                                                     and not all of those that are completed               c. BBD Feedstocks
                                            incentives and the federal tax credit.
                                            The greater ability for renewable diesel                 will necessarily produce renewable                       As was highlighted in the proposal,
                                            to generate credits under California’s                   diesel in the 2023–2025 timeframe                     when considering the likely production
                                            LCFS program provides a significant                      addressed by this rule.90 In previous                 and import of biodiesel and renewable
                                            advantage over biodiesel. Biodiesel                      years, domestic renewable diesel                      diesel in future years, the availability of
                                            blends in California containing 6 to 20                  production has increased in concert                   feedstock is a key consideration. We
                                            percent biodiesel require the use of an                  with increases in domestic production                 received many comments on our
                                            additive to comply with California’s                     capacity, with renewable diesel                       assessment of the availability of BBD
                                            Alternative Diesel Fuels Regulations,                    facilities generally operating at high                feedstocks in the proposed rule. Many
                                            making the use of higher level biodiesel                 utilization rates. In future years we                 of these commenters stated that the data
                                                                                                     expect that feedstock limitations will                from USDA 92 that EPA used to project
                                            blends more challenging in California.87
                                                                                                     result in renewable diesel and biodiesel              domestic soybean oil production
                                            We expect that an increasing number of
                                                                                                     facilities operating below their                      through 2025 was not appropriate for
                                            states will adopt clean fuels programs,
                                                                                                     production capacity. Competition for                  this use. For this final rule we have
                                            and that these programs could provide
                                                                                                     qualifying feedstocks could also result               updated our projections of soybean oil
                                            an advantage to renewable diesel
                                                                                                     in reductions in biodiesel production if              production in the U.S. and canola oil
                                            production relative to biodiesel
                                                                                                     larger renewable diesel facilities are able           production in Canada through 2025.
                                            production in the U.S. See RIA Chapter
                                                                                                     to out-compete smaller biodiesel                      Our current projections of the
                                            6.2 for further discussion.
                                                                                                     producers for feedstock.                              production of these feedstocks are
                                               Total domestic renewable diesel
                                                                                                        In addition to domestic production of              significantly higher than our projections
                                            production capacity has increased                                                                              in the proposed rule (which did not
                                                                                                     renewable diesel, the U.S. has also
                                            significantly in recent years from                                                                             consider increased availability of canola
                                                                                                     imported renewable diesel, with nearly
                                            approximately 280 million gallons in                                                                           oil from Canada 93) and are generally in
                                                                                                     all of it produced from FOG and
                                            2017 to approximately 2.9 billion                        imported from Singapore.91 In more                    alignment with the projections provided
                                            gallons in January 2023.88 Additionally,                 recent years, the U.S. has also exported              by the commenters and discussions
                                            a number of parties have announced                       increasing volumes of renewable diesel.               with market experts. As in our proposed
                                            plans to build new renewable diesel                      Net imports of renewable diesel were                  rule, however, we continue to believe
                                            production capacity with the potential                   approximately 120 million gallons in                  that the availability of qualifying
                                            to begin production by the end of 2025.                  2021 and 130 million gallons in 2022.                 feedstocks will serve to limit the
                                            This new capacity includes new                           This situation, wherein significant                   production of biodiesel and renewable
                                            renewable diesel production facilities,                  volumes of renewable diesel are both                  diesel through 2025. We also continue
                                            expansions of existing renewable diesel                  imported and exported, is likely the                  to believe that when evaluating the
                                            production facilities, and the conversion                result of a number of factors, including              various statutory factors, the greatest
                                            of units at petroleum refineries to                      the design of the biodiesel tax credit                benefits and fewest negative impacts of
                                            produce renewable diesel.                                (which is available to renewable diesel               these fuels occur when increased
                                               We received numerous comments on                      that is either produced or used in the                production of these fuels is consistent
                                            the proposed rule related to renewable                   U.S. and thus eligible for exported                   with increased production of qualifying
                                            diesel production capacity. These                        volumes as well), the varying structures              feedstocks produced in North America.
                                            comments generally cited projections                     of incentives for renewable diesel (with              Our assessment of available feedstocks
                                            that renewable diesel production                                                                               (including our consideration of
                                            capacity will grow significantly through                    89 Domestic renewable diesel capacity could more

                                                                                                     than double through 2025. EIA Today in Energy.          92 USDA Agricultural Projections to 2031.
                                              87 CARB Alternative Diesel Fuels Regulations           Feb. 2, 2023.                                            93 Since the analyses for the proposed rule were
                                            Frequently Asked Questions. In 2021 nearly all              90 Reuters. CVR Pauses Renewable Diesel Plans as
                                                                                                                                                           conducted, EPA approved a pathway for renewable
                                            renewable diesel consumed in the U.S. was                Feedstock Prices Surge. August 3, 2021. Available
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                                                                                                                                                           diesel produced from canola oil. In addition,
                                            consumed in California. Together renewable diesel        at: https://www.reuters.com/business/energy/cvr-      Canadian feedstocks are covered by an aggregate
                                            and biodiesel represented approximately 26 percent       pauses-renewable-diesel-plans-feedstock-prices-       compliance approach and are likely to be sourced
                                            of all diesel fuel consumed in California in 2021.       surge-2021-08-03.                                     from increased production of canola oil rather than
                                              88 2017 renewable diesel capacity based on                91 EIA Monthly Renewable Diesel Imports by         diverted from existing uses. For a further discussion
                                            facilities registered in EMTS; January 2023              Country, available at https://www.eia.gov/dnav/pet/   of the inclusion of canola oil from Canada in our
                                            renewable capacity based on EIA March 2023               pet_move_impcus_a2_nus_EPOORDO_im0_mbbl_              projection of available feedstocks for biodiesel and
                                            Monthly Biofuels Feedstock and Capacity Update.          m.htm.                                                renewable diesel production, see RTC Section 4.2.



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                                            comments on the proposed rule and                          Currently, biodiesel and renewable                  As domestic production of biodiesel has
                                            data not available at the time of the                    diesel in the U.S. are produced from a                increased since 2014, an increasing
                                            proposed rule) is discussed briefly in                   number of different feedstocks,                       percentage of total biodiesel production
                                            this section, and in greater detail in RIA               including fats, oils and greases (FOG),               has been produced from soybean oil,
                                            Chapter 6.2 and the RTC document.                        distillers corn oil, and virgin vegetable             with smaller increases in the use of
                                                                                                     oils such as soybean oil and canola oil.              FOG, distillers corn oil, and canola oil.




                                              Use of soybean oil to produce                          August 2022 (the most recent date for                 consistent with the observed trend in
                                            biodiesel increased from approximately                   which data are available).                            recent years. Similarly, distillers corn
                                            10 percent of all domestic soybean oil                      Through 2020, most of the renewable                oil is a byproduct of ethanol production.
                                            production in the 2009/2010                              diesel produced in the U.S. was made                  Since we do not anticipate significant
                                            agricultural marketing year to 42                        from FOG and distillers corn oil, with                growth in ethanol production in future
                                            percent in the 2021/2022 agricultural                    smaller volumes produced from soybean                 years, we do not project significant
                                            marketing year.94 In the intervening                     oil. While many biodiesel production                  increases in the production of distillers
                                            years, the total increase in domestic                    facilities are unable to use FOG and                  corn oil for biofuel production, as most
                                            soybean oil production and the increase                  distillers corn oil, renewable diesel                 ethanol production facilities currently
                                            in the quantity of soybean oil used to                   production facilities are generally able              produce distillers corn oil. Therefore, if
                                            produce biodiesel and renewable diesel                   to use them. Additionally, nearly all the             renewable diesel production in future
                                            were very similar, indicating that the                   renewable diesel consumed in the U.S.                 years increases rapidly as suggested by
                                            increase in oil production was likely                    is used in California due to the                      the large production capacity
                                            driven by the increasing demand for                      combined value of RFS and LCFS                        announcements, it will likely require
                                            biofuel. However, as the production of                   incentives (together with the blenders’               increased use of vegetable oils such as
                                            renewable diesel has increased in recent                 tax credit). Under California’s LCFS                  soybean oil and canola oil, increased
                                            years it appears that demand for                         program renewable diesel produced
                                                                                                                                                           use of imported feedstocks, or the use of
                                            soybean oil is growing faster than                       from FOG and distillers corn oil receive
                                                                                                                                                           feedstocks diverted from other markets.
                                            demand for soybean meal. Notably, the                    more credits than renewable diesel
                                            percentage of the soybean value that                     produced from soybean oil.                              Greater volumes of soybean oil are
                                            came from the soybean oil (rather than                      Available volumes of FOG and                       projected to be produced from new or
                                            the meal and hulls) had been relatively                  distillers corn oil from domestic sources             expanded soybean crushing facilities.
                                            stable and averaged approximately 33                     are expected to continue to increase in               Several parties have announced plans to
                                            percent from 2016–2020. The                              future years, but these increases are                 expand existing soybean crushing
                                            percentage of the soybean value that                     expected to be limited. FOG are the                   capacity and/or build new soybean
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                                            came from the soybean oil increased                      byproducts of other activities (rendering             crushing facilities.95 This new crushing
                                            significantly starting in 2021, reaching a               operations, for example), and
                                            high of 53 percent in October 2021,                      production of FOG is not responsive to                  95 For example, see Demaree-Saddler, Holly,

                                            before declining slightly to 43 percent in                                                                     Cargill plans US soy processing operations
                                                                                                     increasing demand for biofuel                         expansion, World Grain, March 4, 2021; Sanicola,
                                                                                                     production. We therefore expect the                   Laura, Chevron to invest in Bunge soybean crushers
                                                                                                     availability of FOG to increase slowly,
                                                                                                                                                                                                                ER12JY23.002</GPH>




                                              94 USDA Oil Crops Yearbook. March 2023.                                                                                                               Continued




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                                            capacity is expected to come online in                   biodiesel used in the U.S. as new                     BBD.96 However, these biofuels have
                                            the 2023–2025 timeframe. Increased                       renewable diesel producers are able to                been consumed in much smaller
                                            crushing of soybeans in the U.S. will                    out-compete some existing biodiesel                   quantities than biodiesel and renewable
                                            increase domestic soybean oil                            producers for limited feedstocks. One                 diesel in the past, and/or have been
                                            production. In this final rule we have                   significant factor that is likely to                  highly variable.
                                            updated our projections of domestic                      negatively impact biodiesel production                   We did not receive a significant
                                            soybean oil production through 2025 to                   relative to renewable diesel production               number of comments suggesting
                                            better reflect recent investments in                     is that opportunities for renewable                   alternative projections of other
                                            domestic soybean crushing facilities                     diesel expansion in California are not                advanced biofuel volumes. The
                                            that are expected to begin operating by                  constrained by blending limits.                       comments we did receive generally
                                            2025.                                                    Renewable diesel can therefore continue               suggested higher volumes might be
                                              If domestic crushing of soybeans                       to benefit from both LCFS credits and                 appropriate due to expectations of
                                            increases at the expense of soybean                      the RFS RIN incentives. In contrast,                  increased production of SAF 97 (which
                                            exports, domestic vegetable oil                          continued biodiesel expansion in                      is covered in Section III.B.2) and CNG/
                                            production could be increased without                    California is expected to be more                     LNG produced from food waste or other
                                            the need for additional soybean                          limited due to requirements for the use               non-cellulosic feedstocks. For this final
                                            production. Alternatively, increased                                                                           rule we used the same general
                                                                                                     of additives in higher level biodiesel
                                            demand for soybeans from new or                                                                                projection methodology as in the
                                                                                                     blends. Consequently, for biodiesel to
                                            expanded crushing facilities could                                                                             proposed rule, but we included data
                                                                                                     continue to expand, it must do so
                                            result in increased soybean production                                                                         from 2022 that was not available at the
                                                                                                     primarily outside of California and
                                            in the U.S or increasing volumes of                                                                            time of the proposed rule. The inclusion
                                                                                                     without the added financial incentive of
                                            qualifying feedstocks such as soybean                                                                          of this additional data resulted in
                                                                                                     the LCFS credits. This provides a                     slightly higher volumes of other
                                            oil and canola oil may be diverted from
                                            existing markets to produce renewable                    significant advantage to renewable                    advanced biofuels relative to the
                                            diesel, with non-qualifying feedstocks                   diesel in the competition for access to               proposed rule.
                                            such as palm oil used in place of                        new feedstocks, particularly feedstocks                  In order to estimate the volumes of
                                            soybean and canola oil in food and                       with low carbon intensity (CI) scores in              these other advanced biofuels that may
                                            oleochemical markets.                                    California’s LCFS program and Oregon                  be available in 2023–2025, we used the
                                              We also expect that production of                      and Washington’s Clean Fuels                          same general methodology as in the
                                            canola oil will increase in future years                 programs. While we project most of the                proposed rule. This methodology was
                                            due to expanding canola crushing                         biodiesel and renewable diesel supplied               originally presented in the annual
                                            capacity in Canada. Similar to the                       to the U.S. will be produced                          rulemaking establishing the applicable
                                            investments in soybean crushing in the                   domestically, we project that imports of              standards for 2020–2022.98 This
                                            U.S., a number of companies have                         both biodiesel and renewable diesel will              methodology addresses the historical
                                            announced investment in additional                       continue to contribute to the supply of               variability in these categories of
                                            canola crushing capacity, and some of                    these fuels through 2025. We note that                advanced biofuel while recognizing that
                                            these projects are already under                         in the first quarter of 2023 imports of               consumption in more recent years is
                                            construction. Increasing canola oil                      biodiesel and renewable diesel, and the               likely to provide a better basis for
                                            production in Canada could provide an                    feedstocks used to produce these fuels                making future projections than
                                            opportunity for domestic renewable                       in the U.S., increased substantially on a             consumption in earlier years.
                                            diesel producers to import canola oil for                year-over-year basis, seemingly in                    Specifically, we applied a weighting
                                            biofuel production, however we expect                    response to the proposed volume                       scheme to historical volumes wherein
                                            that these parties will face competition                 requirements for 2023–2025. See RIA                   the weighting was higher for more
                                            for this feedstock from Canadian biofuel                 Chapter 6.2 for more information on the               recent years and lower for earlier years.
                                            producers as well as food and other                      projected supply of biodiesel and                     The result of this approach is shown in
                                            non-biofuel markets. The assessment of                   renewable diesel to the U.S. in 2023–                 the table below. Details of the derivation
                                            feedstock availability for this final rule               2025. We take this data into                          of these estimates can be found in RIA
                                            (discussed in greater detail in RIA                      consideration both in our assessment of               Chapter 5.4.
                                            Chapter 6.2.3) includes volumes of                       the candidate volumes of non-cellulosic
                                            imported canola oil we project could be                  advanced biofuel (discussed in Section                   TABLE III.B.3–1—ESTIMATE OF FU-
                                            available to domestic BBD producers.                     III.C.2) and the final volumes of                        TURE CONSUMPTION OF OTHER AD-
                                                                                                     advanced and total renewable fuel                        VANCED BIOFUEL
                                            d. Projected BBD Production and                          (discussed in Section VI).
                                            Imports
                                                                                                                                                                                                          Volume
                                              We project that the supply of BBD to                   3. Other Advanced Biofuel                                              Fuel                       (million RINs)
                                            the U.S. will increase through 2025.                       In addition to BBD, other renewable
                                            Consistent with our updated projections                                                                        Imported sugarcane ethanol                              95
                                                                                                     fuels that qualify as advanced biofuel                Domestic ethanol ..................                     27
                                            of feedstock availability discussed in the               have been consumed in the U.S. in the                 CNG/LNG .............................                    6
                                            preceding section, our projections of                    past and would be expected to                         Heating oil .............................                3
                                            BBD production and imports are higher
                                                                                                     contribute to compliance with
                                            in this final rule than in the proposed
                                                                                                     applicable volume requirements in the                   96 Renewable diesel produced through
                                            rule, particularly in 2025. We project                                                                         coprocessing vegetable oils or animal fats with
                                                                                                     years after 2022. These other advanced
                                            that the largest increases will come from                                                                      petroleum cannot be categorized as BBD but
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                                                                                                     biofuels include imported sugarcane                   remains advanced biofuel. See 40 CFR 80.1426(f)(1).
                                            domestic renewable diesel as new
                                                                                                     ethanol, domestically produced                          97 While the existing pathways for SAF qualify as
                                            production facilities come online. We
                                                                                                     advanced ethanol, biogas that is purified             BBD, rather than advanced biofuel, some
                                            project slight decreases in the volume of                                                                      commenters stated that increasing production of
                                                                                                     and compressed to be used in CNG or
                                                                                                                                                           SAF would result in additional volumes of other
                                            to secure renewable feedstock, Reuters, Sept. 2,
                                                                                                     LNG vehicles, heating oil, naphtha, and               advanced biofuel.
                                            2021.                                                    renewable diesel that does not qualify as               98 87 FR 39600 (July 1, 2022).




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                                               TABLE III.B.3–1—ESTIMATE OF FU- a. Corn Ethanol                                                               2023–2025 for meeting the candidate
                                               TURE CONSUMPTION OF OTHER AD-      Ethanol made from corn starch has                                          volumes.
                                               VANCED BIOFUEL—Continued        dominated the renewable fuels market                                          b. Biodiesel and Renewable Diesel
                                                                                                      on a volume basis in the past and is
                                                                                          Volume      expected to continue to do so for the                     Other than corn ethanol, the only
                                                           Fuel                                                                                              other conventional renewable fuels that
                                                                                       (million RINs) time period addressed by this
                                                                                                      rulemaking.100 Corn starch ethanol is                  have been used at significant levels in
                                            Naphtha ................................               55                                                        the U.S. have been biodiesel and
                                            Renewable diesel .................                    104 prohibited by statute from being an                    renewable diesel. The vast majority of
                                                                                                      advanced biofuel regardless of its GHG
                                                                                                                                                             those volumes were imported, and all of
                                                 Total ...............................            290 performance in comparison to
                                                                                                      gasoline.101                                           it was grandfathered under 40 CFR
                                                                                                         Total domestic corn ethanol                         80.1403 and thus was not required to
                                               As the available data does not permit                                                                         meet the 20 percent GHG reduction
                                            us to identify an upward or downward                      production capacity increased
                                                                                                      dramatically between 2005 and 2010                     requirement. While conventional
                                            trend in the historical consumption of                                                                           biodiesel and renewable diesel could be
                                            these other advanced biofuels, we have                    and increased at a slower rate thereafter.
                                                                                                      In 2022, production capacity had                       used in 2023–2025, as in the proposed
                                            used the volumes in Table III.B.3–1 for                                                                          rule we are not projecting any volumes
                                            all years covered in this final rule (i.e.,               reached 17.7 billion gallons.102 103
                                                                                                      Available     production capacity was                  of these fuels will be used in these
                                            2023–2025).                                                                                                      years.105
                                                                                                      significantly underused in 2020 and to
                                            4. Conventional Renewable Fuel                            some degree in 2021 because the                           Actual global production of palm oil
                                                                                                                                                             biodiesel and renewable diesel was
                                               Conventional renewable fuel includes COVID–19 pandemic depressed gasoline                                     about 4.5 billion gallons in 2021.106 The
                                            any renewable fuel that is made from                      demand in comparison to previous
                                                                                                                                                             U.S. could be an attractive market for
                                            renewable biomass as defined in 40 CFR years and thus ethanol demand in the                                      this foreign-produced conventional
                                                                                                      form of E10 (gasoline containing 10%
                                            80.1401, does not qualify as advanced                                                                            biodiesel and renewable diesel if
                                                                                                      denatured ethanol). Actual production
                                            biofuel, and meets one of the following                                                                          domestic demand for conventional
                                                                                                      of ethanol in the U.S. reached 15.4
                                            criteria:                                                                                                        renewable fuel exceeded domestic
                                                                                                      billion gallons in 2022, compared to
                                               • Is demonstrated to achieve a                         16.1 billion gallons in 2018.104                       supply, i.e., the amount of ethanol that
                                            minimum 20 percent reduction in GHGs                         The expected annual rate of future                  could be consumed combined with
                                            in comparison to the gasoline or diesel                   commercial production of corn ethanol                  domestic production of conventional
                                            which it displaces; or                                    will continue to be driven primarily by                biodiesel and renewable diesel. While
                                               • Is exempt (‘‘grandfathered’’) from                   gasoline demand in the 2023–2025                       there is no RIN-generating pathway for
                                            the 20 percent minimum GHG reduction timeframe as most gasoline is expected                                      biodiesel or renewable diesel produced
                                            requirement due to having been                            to continue to contain 10 percent                      from palm oil in the RFS program, fuels
                                            produced in a facility or facility                        ethanol. Commercial production of corn                 produced at grandfathered facilities
                                            expansion that commenced construction ethanol is also a function of exports of                                   from any feedstock meeting the
                                            on or before December 19, 2007, as                        ethanol and the demand for E0, E15,                    definition of ‘‘renewable biomass’’ may
                                            described in 40 CFR 80.1403.99                            and E85. We have incorporated                          be eligible to generate conventional
                                               Under the statute, there is no volume                  projected growth in opportunities for                  renewable fuel RINs. Total foreign
                                            requirement for conventional renewable sales of E15 and E85 into our                                             production capacity at grandfathered
                                            fuel. Instead, conventional renewable                     assessment. There is an excess of                      biodiesel and renewable diesel
                                            fuel is that portion of the total                         production capacity of ethanol and corn                production facilities is approximately 1
                                            renewable fuel volume requirement that feedstock in comparison to the ethanol                                    billion gallons, suggesting that
                                            is not required to be advanced biofuel.                   volumes that we estimate will be                       significant volumes of grandfathered
                                            In some cases, it is referred to as an                    consumed in the near future given                      biodiesel and renewable diesel could be
                                            ‘‘implied’’ volume requirement.                           constraints on consumption as                          imported under favorable market
                                            However, obligated parties are not                        described in Section III.B.5. Thus,                    conditions.
                                            required to comply with it per se since                   consistent with the proposed rule, it                     Historical U.S. imports of
                                            any portion of it can be met with                         does not appear that production                        conventional biodiesel and renewable
                                            advanced biofuel volumes in excess of                     capacity will be a limiting factor in                  diesel have been only a small fraction of
                                            that needed to meet the advanced                                                                                 global production in the past.
                                            biofuel volume requirement.                                 100 Conventional ethanol from feedstocks other
                                                                                                                                                             Conventional biodiesel imports rose
                                                                                                      than corn starch have been produced in the past,       between 2012 and 2016, reaching a high
                                               To estimate candidate volumes of                       but at significantly lower volumes. Production of
                                            conventional renewable fuel for 2023–                     ethanol from grain sorghum reached an historical       of 113 million gallons.107 After 2016,
                                            2025, we focused primarily on                             high of 125 million gallons in 2019, representing
                                            projecting volumes of corn ethanol                        just less than 1 percent of all conventional ethanol      105 Data from EMTS shows some generation of D6
                                                                                                      in that year; grain sorghum ethanol in 2022 was        RINs for biodiesel and renewable diesel in recent
                                            consumption, which in turn is driven by only 77 million gallons. Waste industrial ethanol
                                                                                                                                                             years, however these RINs were retired using the
                                            total ethanol consumption. For this final and ethanol made from non-cellulosic portions of                       retirement code ‘‘renewable fuel used or designated
                                            rule we have updated our projections of separated food waste have been produced more                             to be used in any application that is not
                                            total ethanol consumption and corn                        sporadically and at even lower volumes. These          transportation fuel, heating oil, or jet fuel.’’ These
                                                                                                      other sources do not materially affect our             RINs therefore do not represent qualifying fuel
                                            ethanol consumption based on the                          assessment of volumes of conventional ethanol that     under the RFS program.
                                            comments we received and additional                       can be produced.                                          106 Total worldwide production of biodiesel and
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                                            data that was not available for the                         101 CAA section 211(o)(1)(B)(i).
                                                                                                                                                             renewable diesel was 55 billion liters in 2021, of
                                            proposed rule. We also investigated                         102 ‘‘2022 Ethanol Industry Outlook—RFA,’’
                                                                                                                                                             which 31 percent was from palm oil. See OECD–
                                            potential volumes of non-advanced                         available in the docket.                               FAO Agricultural Outlook 2022–2031, p.236,
                                                                                                        103 ‘‘Ethanol production capacity—EIA August         available at https://www.oecd.org/development/
                                            biodiesel and renewable diesel.                           2022,’’ available in the docket.                       oecd-fao-agricultural-outlook-19991142.htm.
                                                                                                       104 ‘‘EIA Monthly Energy Review, April 2023,’’           107 ‘‘RIN supply as of 3–7–23,’’ available in the
                                              99 CAA section 211(o)(2)(A)(i).                        available in the docket.                                docket.



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                                            however, there have been no imports of                   2017.108 The highest imported volume                   consumed, including that produced
                                            conventional biodiesel. Small refinery                   of total conventional biodiesel and                    from corn, cellulosic biomass, the non-
                                            exemptions granted from 2016–2018                        renewable diesel occurred in 2016 with                 cellulosic portions of separated food
                                            decreased demand for renewable fuel in                   160 million gallons (258 million RINs).                waste, and sugarcane, is a function of
                                            the U.S. and likely had an impact on                                                                            these three ethanol blends and demand
                                                                                                     5. Ethanol Consumption
                                            conventional biodiesel and renewable                                                                            for E0. The use of these different
                                            diesel imports. Imports of conventional                    Ethanol consumption in the U.S. is                   gasoline blends is reflected in the
                                            renewable diesel have been similarly                     dominated by E10, with higher ethanol                  poolwide ethanol concentration which
                                            low, reaching a high of 87 million                       blends such as E15 and E85 being used                  increased dramatically from 2003
                                            gallons in 2015 with no conventional                     in much smaller quantities. The total                  through 2010 and thereafter increased at
                                            renewable diesel imported since                          volume of ethanol that can be                          a considerably slower rate.109




                                              As the average ethanol concentration                   This methodology is different than the                 average ethanol concentration, and thus
                                            approached and then exceeded 10                          methodology used in previous RFS                       of total ethanol volumes consumed. In
                                            percent, the gasoline pool became                        rules, which generally looked to EIA                   this final rule we updated both the
                                            saturated with E10, with a small, likely                 projections of ethanol concentration in                correlations between E15 and E85
                                            stable volume of E0 and small but                        the gasoline pool. We have used this                   stations and poolwide ethanol
                                            increasing volumes of E15 and E85. The                   new methodology to better account for                  consumption and our projections of the
                                            average ethanol concentration can                        the projected increase in retail stations              number of E15 and E85 stations for
                                            exceed 10 percent only insofar as the                    selling higher level blends such as E15                2023–2025. The results are shown in
                                            ethanol in E15 and E85 exceeds the                       and E85.110                                            Table III.B.5–1. While the projected
                                            ethanol content of E10 and more than                       In order to project total ethanol                    ethanol concentration in 2023–2025 are
                                            offsets the volume of E0.                                consumption for 2023–2025, we                          similar to the projected concentrations
                                              We used the same general                               correlated the poolwide average ethanol                from the proposed rule, projected
                                            methodology to project total ethanol                     concentration shown in the figure above                ethanol consumption for 2023–2025 is
                                            consumption in this final rule as in the                 with the number of retail service                      significantly lower due to lower
                                            proposed rule, but we updated the                        stations offering E15 and E85.                         projected gasoline demand in these
                                            projections of poolwide ethanol                          Projections of the number of stations                  years in EIA’s most recent AEO. Details
                                            concentration and total gasoline                         offering these blends in the future then               of these calculations can be found in the
                                            consumption using more recent data.                      provided a basis for a projection of the               RIA.
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                                              108 ‘‘RIN supply as of 3–7–23,’’ available in the      than the gasoline+diesel volumes used by obligated     to be higher than actual values due to some
                                            docket.                                                  parties to determine their Renewable Volume            underestimates of total gasoline demand.
                                              109 As discussed in Section VII.B, the                 Obligations (RVO). Relatedly, the historical ethanol     110 See RIA Chapter 6.5.1 for more information on

                                            gasoline+diesel estimates used to calculate the          concentration values shown in Figure III are likely    our projections of ethanol concentration in the
                                                                                                                                                                                                                  ER12JY23.003</GPH>




                                            percentage standards have historically been lower                                                               gasoline pool.



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                                                                                                          TABLE III.B.5–1—PROJECTED ETHANOL CONSUMPTION
                                                                                                                                                                                                                                              Projected
                                                                                                                                                                                                                               Projected       ethanol
                                                                                                                                                                                                                                ethanol
                                                                                                                               Year                                                                                                          consumption
                                                                                                                                                                                                                             concentration     (million
                                                                                                                                                                                                                                  (%)          gallons)

                                            2023 .........................................................................................................................................................................           10.41         13,974
                                            2024 .........................................................................................................................................................................           10.46         14,128
                                            2025 .........................................................................................................................................................................           10.51         13,978



                                            C. Candidate Volumes for 2023–2025                                           categories (e.g., assessing ‘‘the difference                                 emissions (cellulosic biofuels are
                                               Based on our analysis of supply-                                          between volumes of advanced biofuel                                          required to reduce GHG emissions by 60
                                            related factors as described in Section                                      and total renewable fuel’’ instead of                                        percent relative to the gasoline or diesel
                                                                                                                         assessing ‘‘the volume of conventional                                       fuel they displace), that cellulosic
                                            III.B above, we developed candidate
                                                                                                                         renewable fuel’’), adding unnecessary                                        biofuel feedstocks could be produced or
                                            volumes for 2023–2025 which we then
                                                                                                                         complexity and length to our analysis.                                       collected with relatively few negative
                                            analyzed under the other economic and
                                                                                                                         In any event, were we to frame our                                           environmental impacts, that the
                                            environmental factors required by the
                                                                                                                         analysis in terms of the statutory                                           feedstocks would be comparable or
                                            statute. This section describes the
                                                                                                                         categories, we believe that our                                              cheaper in cost relative to other fuel
                                            candidate volumes, while Section IV
                                                                                                                         substantive approach and conclusions                                         feedstocks, allowing for lower cost
                                            summarizes the results of the additional
                                                                                                                         would remain materially the same.                                            biofuels to be produced than those
                                            analyses we performed. Relative to the
                                            candidate volumes in the proposed rule,                                      1. Cellulosic Biofuel                                                        produced from feedstocks without other
                                            the candidate volumes for cellulosic                                                                                                                      primary uses such as food, and that the
                                                                                                                            In determining the candidate volumes                                      technological breakthroughs needed to
                                            biofuel, BBD, and other advanced                                             for cellulosic biofuel, we started by
                                            biofuels in this final rule are all higher                                                                                                                convert cellulosic feedstocks into
                                                                                                                         considering the statutory volume targets                                     biofuel were likely imminent.
                                            for all three years (after accounting for                                    for 2010–2022. The statutory volumes
                                            the fact that we are not finalizing the                                      for cellulosic biofuel increased rapidly,                                       The candidate volumes discussed in
                                            proposed eRIN provisions in this rule).                                      from 100 million gallons in 2010 to 16                                       this section represent the volume of
                                            The candidate volumes for conventional                                       billion gallons in 2022 with the largest                                     qualifying cellulosic biofuel we project
                                            biofuel in this final rule are lower than                                    increases in the later years. While                                          will be produced or imported into the
                                            the volumes from the proposed rule.                                          notable on its own, it is even more                                          U.S. in 2023–2025, after taking into
                                               We have largely framed our                                                notable in comparison to the implied                                         consideration the incentives provided
                                            assessment of volumes in terms of the                                        statutory volumes for the other                                              by the RFS program and other available
                                            component categories (cellulosic                                             renewable fuel volumes. Statutory BBD                                        state and federal incentives. The
                                            biofuel, non-cellulosic advanced                                             volumes did not increase after 2012,                                         candidate volumes for 2023–2025 are
                                            biofuel, and conventional renewable                                          implied conventional renewable fuel                                          shown in Table III.C.1–1. Because the
                                            fuel) rather than in terms of the                                            volumes did not increase after 2015, and                                     technical, economic, and regulatory
                                            statutory categories (cellulosic biofuel,                                    non-cellulosic advanced biofuel volume                                       challenges related to cellulosic biofuel
                                            advanced biofuel, total renewable fuel).                                     increases tapered off in recent years                                        production vary significantly between
                                            The statutory categories are those                                           with a final increment in 2022. Thus,                                        the various types of cellulosic biofuel,
                                            addressed in CAA section                                                     the clear focus of the statute by 2022                                       we have shown the candidate volumes
                                            211(o)(2)(B)(i)–(iii), and cellulosic and                                    was on growth in cellulosic biofuel                                          for liquid cellulosic biofuel and CNG/
                                            advanced biofuel are nested within the                                       volumes, which have the greatest                                             LNG derived from biogas separately.
                                            overall total renewable fuel category.                                       greenhouse gas reduction threshold                                           Relative to the proposed rule the
                                            The component categories are the                                             requirement in the statute.111 The                                           candidate volumes of CNG/LNG derived
                                            categories of renewable fuels which                                          statutory cellulosic waiver provision,112                                    from biogas are higher in all three years
                                            make up the statutory categories but                                         while acknowledging that the statutory                                       due to the use of a higher growth rate
                                            which are not nested within one                                              cellulosic biofuel volumes may not be                                        to project these volumes. Similarly,
                                            another. They possess distinct                                               met, nevertheless effectively expresses                                      volumes of ethanol from CKF are higher
                                            economic, environmental,                                                     support for the cellulosic biofuel                                           in all three years as we are now
                                            technological, and other characteristics                                     industry in directing EPA to establish                                       projecting additional facilities will
                                            relevant to the factors we must analyze                                      the cellulosic biofuel volume at the                                         register as cellulosic biofuel producers
                                            under the statute, making our focus on                                       projected volume available in years                                          using this pathway. Despite the increase
                                            them rather than the nested categories                                       when the projected volume of cellulosic                                      in RNG use as CNG/LNG and the
                                            in the statute technically sound. Finally,                                   biofuel production was less than the                                         addition of ethanol from CKF, total
                                            an analysis of the component categories                                      statutory volume. This increasing                                            cellulosic biofuel volumes for 2024 and
                                            is equivalent to analyzing the statutory                                     emphasis in the statute on cellulosic                                        2025 are significantly lower in this final
                                            categories, since doing so would                                             biofuel over time is likely due to                                           rule relative to the proposal because we
                                            effectively require us to evaluate the                                       expectations that cellulosic biofuel has                                     are not finalizing the eRIN provisions in
                                            difference between various statutory                                         significant potential to reduce GHG                                          this rule.
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                                               111 CAA section 211(o)(1)(E). Cf. CAA section                                112 CAA section 211(o)(7)(D).

                                            211(o)(1)(B)(i), (D), (2)(A)(i). See also definition of
                                            ‘‘cellulosic biofuel’’ at 40 CFR part 80, section 1401.



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                                                                                                TABLE III.C.1–1—CELLULOSIC BIOFUEL CANDIDATE VOLUMES
                                                                                                                                            [Million RINs]

                                                                                                                                                                                         2023            2024            2025

                                            RNG use as CNG/LNG ...............................................................................................................                  831          1,039           1,299
                                            Ethanol from CKF ........................................................................................................................             7             51              77

                                                  Total Cellulosic Biofuel .........................................................................................................            838          1,090           1,376



                                            2. Non-Cellulosic Advanced Biofuel                                      discussion of the availability of                                   proposed RFS volume requirements for
                                               Although there are no volume targets                                 biodiesel and renewable feedstocks in                               2023 by drawing upon imports and
                                            in the statute for years after 2022, the                                RIA Chapter 6.2.3). Similar investments                             other sources of feedstock.
                                            statutory volume targets for prior years                                have also been made to increase the                                    The candidate volumes for non-
                                            represent a useful point of reference in                                production of canola oil in Canada,                                 cellulosic advanced biofuel for 2023–
                                            the consideration of volumes that may                                   much of which could be supplied to                                  2025 attempt to balance the longer-term
                                            be appropriate for 2023–2025. For non-                                  U.S. markets for biofuel production.                                desire to maximize the benefits (and
                                            cellulosic advanced biofuel, the implied                                While advanced biofuels have the                                    minimize the potential negative
                                            statutory requirement increased in every                                potential for significant GHG                                       impacts) of non-cellulosic advanced
                                            year between 2009 and 2019.113 It                                       reductions, if pushing volume                                       biofuel production by aligning growth
                                            remained at 4.5 billion gallons for three                               requirements beyond the supply of low-                              in these fuels with the projected growth
                                            years before finally rising to 5.0 billion                              GHG feedstocks results in an increased                              in feedstock production in North
                                            gallons in 2022. The candidate volumes                                  use of higher-GHG feedstocks in non-                                America and the observed data on the
                                            for non-cellulosic advanced biofuel in                                  biofuel markets as low-GHG feedstocks                               quantities of these fuels that have been
                                            the final rule are higher than the                                      are increasingly used for biofuel                                   supplied to the U.S. in the first quarter
                                            candidate volumes from the proposed                                     production, then it would prove                                     of 2023 (see Section VI for further
                                            rule for 2023–2025. The increases are                                   counterproductive.                                                  discussion of this topic). The candidate
                                            primarily the result of higher                                            Based on these considerations, we                                 volume for 2023 is equal to the quantity
                                            projections of feedstock availability                                   believe that increases in the volume of                             of non-cellulosic advanced biofuels to
                                            allowing for greater renewable diesel                                   non-cellulosic advanced biofuel in the                              meet the proposed RFS volumes for
                                            production relative to the proposed rule.                               2023–2025 timeframe should primarily                                2023 (including the projected shortfall
                                               For years after 2022, we anticipate                                  be based on projected increases in the                              in conventional renewable fuel),
                                            that a key factor in the growth in the                                  availability of feedstocks from the U.S.                            consistent with the recent market data
                                            production of advanced biodiesel and                                    and Canada. One potential methodology                               that indicates that the market is on track
                                            renewable diesel (the two non-cellulosic                                for projecting the available supply of                              to supply this quantity of non-cellulosic
                                            advanced biofuels projected to be                                       BBD in 2023–2025 is to base the                                     advanced biofuel. The candidate
                                            available in the greatest quantities                                    projected supply for these years solely                             volume for 2024 was determined in the
                                            through 2025) will be the availability of                               on the quantity of these fuels supplied                             same way, but we note that we project
                                            feedstocks as discussed in III.B.2.c.                                   in 2022 and the projected increases in                              that a greater proportion of the increase
                                            above. We expect small increases in the                                 feedstock availability in the U.S. and                              over the quantity of these fuels supplied
                                            supply of FOG and distillers corn oil,                                  Canada (see RIA Chapter 6.2 for                                     in 2022 is project to be supplied with
                                            but we project that the largest increases                               additional detail on our projections of                             feedstocks from North America (rather
                                            in feedstock availability in the U.S. will                              biodiesel and renewable diesel supply                               than other foreign countries) as soybean
                                            come from increased production of                                       for 2023–2025). However, RIN                                        and canola crush capacity increases.
                                            soybean oil. This expectation is largely                                generation data from the first three                                Finally, the candidate volume for 2025
                                            in line with data and input provided by                                 months of 2023 indicates that the                                   is primarily based on the projected
                                            commenters on the December 2022                                         market is supplying greater volumes of                              increase in feedstocks from North
                                            proposed rule. Significant investments                                  non-cellulosic advanced biofuel than we                             America projected to be available to
                                            have been made in recent years that                                     would project based only on the                                     biofuel producers. These candidate
                                            would result in higher domestic                                         quantity of these fuels used in 2022 plus                           volumes are shown in Table III.C.2–1,
                                            soybean crushing capacity and thus                                      the projected growth in feedstock                                   and the basis for these volumes are
                                            soybean oil production, particularly in                                 production in the U.S. and Canada. The                              discussed in more detail in RIA Chapter
                                            2024 and 2025 (see additional                                           market appears to be responding to the                              6.

                                                                            TABLE III.C.2–1—TOTAL NON-CELLULOSIC ADVANCED BIOFUEL CANDIDATE VOLUMES
                                                                                                                                            [Million RINs]

                                                                                                                                                                                         2023            2024            2025

                                            Advanced biodiesel ......................................................................................................................        2,565           2,500           2,436
                                            Advanced renewable diesel a ......................................................................................................               3,650           3,705           4,445
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                                            Other advanced biofuel ...............................................................................................................             290             290             290




                                              113 See CAA section 211(o)(2)(B).




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                                                                 TABLE III.C.2–1—TOTAL NON-CELLULOSIC ADVANCED BIOFUEL CANDIDATE VOLUMES—Continued
                                                                                                                                                  [Million RINs]

                                                                                                                                                                                                   2023               2024               2025

                                                  Total ......................................................................................................................................          6,505              6,495              7,171
                                               a Represents only renewable diesel and jet fuel with a D code of 4. Advanced renewable diesel with a D code of 5 is included in ‘‘Other ad-
                                            vanced biofuel.’’ See also Table III.B.3–1.


                                            3. Conventional Renewable Fuel                                              observations of the market, in which the                                 other forms of ethanol as discussed
                                                                                                                        total supply of conventional renewable                                   earlier in this section. Relative to the
                                              Consistent with the statute, EPA                                          reached a maximum of approximately                                       proposed rule both total ethanol
                                            increased the implied conventional                                          14.5 billion gallons in 2016–2018. The                                   consumption and corn ethanol
                                            renewable fuel volumes every year                                           candidate volume for conventional                                        consumption are significantly lower in
                                            between 2009 and 2015, after which it                                       renewable in this final rule are based                                   all years, primarily due to lower
                                            remained at 15 billion gallons through                                      primarily on supply related factors                                      projections of gasoline consumption in
                                            2022.114 115 However, since 2017 these                                      rather than the implied volume                                           EIA’s most recent AEO. We do not
                                            standards were set with the expectation                                     requirements for conventional                                            currently project that non-ethanol
                                            that corn ethanol and other                                                 renewable fuel in previous RFS rules.                                    conventional renewable fuels will be
                                            conventional biofuel volumes would not                                        The amount of conventional ethanol                                     supplied to the U.S. in 2023–2025.
                                            be sufficient to meet the standards, and                                    that could be consumed between 2023                                      Therefore, our candidate volumes for
                                            instead advanced biofuel volumes                                            and 2025 can be estimated from the total                                 conventional renewable fuel are equal to
                                            would be required to make up for the                                        ethanol consumption projections from                                     our projections of conventional ethanol
                                            shortfall. This is consistent with our                                      Table III.B.5–1 and our projections for                                  consumption for 2023–2025.

                                                                                                    TABLE III.C.3–1—PROJECTIONS OF ETHANOL CONSUMPTION
                                                                                                                                                 [Million gallons]

                                                                                                                                                                                                   2023               2024               2025

                                            Ethanol in all blends ....................................................................................................................                13,974             14,128             13,978
                                            Cellulosic ethanol .........................................................................................................................                   7                 51                 77
                                            Imported sugarcane ethanol ........................................................................................................                           95                 95                 95
                                            Domestic advanced ethanol ........................................................................................................                            27                 27                 27
                                            Conventional ethanol ...................................................................................................................                  13,845             13,955             13,779



                                              Since conventional ethanol                                                what degree carryover RINs should be                                     year in which they are generated or the
                                            consumption would be about 13.8–14.0                                        considered in the context of                                             subsequent compliance year. Obligated
                                            billion gallons, there would need to be                                     determining appropriate levels for the                                   parties can obtain more RINs than they
                                            about 1.0–1.2 billion ethanol-equivalent                                    candidate volumes and ultimately the                                     need in a given compliance year,
                                            gallons of non-ethanol renewable fuel in                                    final volume requirements (discussed in                                  allowing them to ‘‘carry over’’ these
                                            order for the implied conventional                                          Section VI).                                                             excess RINs for use in the subsequent
                                            renewable fuel volumes of 15.0 billion                                                                                                               compliance year, although the RFS
                                                                                                                           CAA section 211(o)(5) requires that
                                            gallons to be met.                                                                                                                                   regulations limit the use of these
                                                                                                                        EPA establish a credit program as part
                                            4. Treatment of Carryover RINs                                              of its RFS regulations, and that the                                     carryover RINs to 20 percent of the
                                               In our assessment of supply-related                                      credits be valid for obligated parties to                                obligated party’s renewable volume
                                            factors, we focused on those factors that                                   show compliance for 12 months as of                                      obligation (RVO).116 For the collective
                                            could directly or indirectly impact the                                     the date of generation. EPA                                              supply of carryover RINs to be
                                            consumption of renewable fuel in the                                        implemented this requirement through                                     preserved from one year to the next,
                                            U.S. and thereby determine the number                                       the use of RINs, which are generated for                                 individual carryover RINs are used for
                                            of RINs generated in each year that                                         the production of qualifying renewable                                   compliance before they expire and are
                                            could be available for compliance with                                      fuels. Obligated parties can comply by                                   essentially replaced with newer vintage
                                            the applicable standards in those same                                      blending renewable fuels themselves, or                                  RINs that are then held for use in the
                                            years. However, carryover RINs                                              by purchasing the RINs that represent                                    next year. For example, vintage 2022
                                            represent another source of RINs that                                       the renewable fuels from other parties                                   carryover RINs must be used for
                                            can be used for compliance. We                                              that perform the blending. RINs can be                                   compliance with 2023 compliance year
                                            therefore investigated whether and to                                       used to demonstrate compliance for the                                   obligations, or they will expire.
                                              114 See CAA section 211(o)(2)(B).                                         we set the implied volume requirement for                                ‘‘supplemental standard’’ follows the
                                              115 While the 2020 implied volume requirement                             conventional renewable fuel at the level actually                        implementation of a 250-million-gallon supplement
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                                            was originally set at 15 billion gallons (85 FR 7016,                       consumed. In 2016 EPA reduced the implied                                for 2022 in a previous action. These two
                                            February 6, 2020), we reduced it to the volume                              conventional renewable fuel volume to 14.5 billion                       supplemental actions effectuates the
                                            actually consumed due to the significant impacts of                         gallons under our general waiver authority; this                         Congressionally determined renewable fuel volume
                                            the COVID–19 pandemic on demand for renewable                               action was subsequently invalidated by the D.C.
                                                                                                                                                                                                 for 2016, modified only by the proper exercise of
                                            fuel and our change to the treatment of exemptions                          Circuit Court of Appeals in ACE. In this rule we are
                                            for small refineries (87 FR 39600, July 1, 2022). For                       completing our response to the ACE remand by                             EPA’s waiver authorities, as upheld by the court in
                                            2021, as EPA did not establish applicable standards                         establishing a supplemental volume requirement of                        ACE, as discussed in Section V.
                                                                                                                                                                                                    116 40 CFR 80.1427(a)(5).
                                            with sufficient time to influence market behavior,                          250 million gallons of renewable fuel for 2023. This



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                                            However, vintage 2023 RINs can then be                                  inventories and reserve money                                             For all of these reasons, carryover RINs
                                            saved for use toward 2024 compliance.                                   accounts, we believe that the RFS                                         provide a necessary programmatic
                                               As noted in past RFS annual rules,                                   program is able to function when                                          buffer that helps facilitate compliance
                                            carryover RINs are a foundational                                       sufficient carryover RINs are held in                                     by individual obligated parties, provides
                                            element of the design and                                               reserve for potential use by the RIN                                      for smooth overall functioning of the
                                            implementation of the RFS program.117                                   holders themselves, or for possible sale                                  program to the benefit of all market
                                            Carryover RINs are important in                                         to others that may not have established                                   participants, and is consistent with the
                                            providing a liquid and well-functioning                                 their own carryover RIN reserves. Were                                    statutory provision requiring the
                                            RIN market upon which success of the                                    there to be too few RINs in reserve, then                                 generation and use of credits.
                                            entire program depends, and in                                          even minor disruptions causing                                               Carryover RINs have also provided
                                            providing obligated parties compliance                                  shortfalls in renewable fuel production                                   flexibility when EPA considered the
                                            flexibility in the face of substantial                                  or distribution, or higher than expected                                  need to use its waiver authorities to
                                            uncertainties in the transportation fuel                                transportation fuel demand (requiring                                     lower previously established volumes.
                                            marketplace.118 Carryover RINs enable                                   greater volumes of renewable fuel to                                      For example, in the context of the 2013
                                            parties ‘‘long’’ on RINs to trade them to                               comply with the percentage standards                                      RFS rulemaking we noted that an
                                            those ‘‘short’’ on RINs, instead of forcing                             that apply to all volumes of                                              abundance of carryover RINs available
                                            all obligated parties to comply through                                 transportation fuel, including the                                        in that year, together with possible
                                            physical blending. Carryover RINs also                                  unexpected volumes) could result in                                       increases in renewable fuel production
                                            provide flexibility and reduce spikes in                                deficits and/or noncompliance by                                          and import, justified maintaining the
                                            compliance costs in the face of a variety                               parties without RIN reserves. Moreover,                                   advanced and total renewable fuel
                                            of unforeseeable circumstances—                                         because carryover RINs are individually                                   volume requirements for that year at the
                                            including weather-related damage to                                     and unequally held by market                                              levels specified in the statute.119
                                            renewable fuel feedstocks and other                                     participants, a non-zero but nevertheless
                                            circumstances potentially affecting the                                 small number of available carryover                                       a. Projected Number of Available
                                            production and distribution of                                          RINs may negatively impact the RIN                                        Carryover RINs
                                            renewable fuel—that could limit the                                     market, even when the market overall                                        The projected number of available
                                            availability of RINs.                                                   could satisfy the standards. In such a                                    carryover RINs after compliance with
                                               Just as the economy as a whole is able                               case, market disruptions could force the                                  the 2021 standards (i.e., the number of
                                            to function efficiently when individuals                                need for a retroactive waiver of the                                      carryover RINs available for compliance
                                            and businesses prudently plan for                                       standards, undermining the market                                         with the 2022 standards) are
                                            unforeseen events by maintaining                                        certainty so critical to the RFS program.                                 summarized in Table III.C.4.a–1.120

                                                                                                    TABLE III.C.4.a–1—PROJECTED 2021 CARRYOVER RINS
                                                                                                                                            [Million RINs]

                                                                                                                                                                                                                    Absolute 2021   Effective 2021
                                                                                      RFS standard                                                                            RIN type                                carryover        carryover
                                                                                                                                                                                                                       RINs a           RINs b

                                            Cellulosic Biofuel .......................................................................................    D3+D7 .............................................                  25                0
                                            Non-Cellulosic Advanced Biofuel c ............................................................                D4+D5 .............................................                  61                0
                                            Conventional Renewable Fuel d ................................................................                D6 ....................................................           1,047              494
                                               a Represents the absolute number of 2021 carryover RINs that are available for compliance with the 2022 standards and does not account for
                                            deficits carried forward from 2021 into 2022.
                                               b Represents the effective number of 2021 carryover RINs that are available for compliance with the 2022 standards after accounting for defi-
                                            cits carried forward from 2021 into 2022. Standards for which deficits exceed the number of available carryover RINs are represented as zero.
                                               c Non-cellulosic advanced biofuel is not an RFS standard category but is calculated by subtracting the number of cellulosic RINs from the num-
                                            ber of advanced RINs.
                                               d Conventional renewable fuel is not an RFS standard category but is calculated by subtracting the number of advanced RINs from the number
                                            of total renewable fuel RINs.


                                               Assuming that the market exactly                                     volumes would represent increases for                                     with the 2023, 2024, and 2025 standards
                                            meets the 2022, 2023, and 2024                                          2023–2025. While we project that the                                      (including the 2023 supplemental
                                            standards with new RIN generation,                                      volume requirements in 2022 and the                                       standard). In particular, as discussed in
                                            these are also the number of carryover                                  candidate volumes for 2023–2025 could                                     RIA Chapter 1.11, the percentage
                                            RINs that would be available for 2023,                                  be achieved without the use of carryover                                  standards established for 2020 and 2021
                                            2024, and 2025 (including the 2023                                      RINs, there is nevertheless some                                          were more stringent than EPA
                                            supplemental standard). However, the                                    uncertainty about how the market                                          anticipated (i.e., the volume of gasoline
                                            standards we established for 2022                                       would choose to meet the applicable                                       and diesel reported by obligated parties
                                            (including the 2022 supplemental                                        standards.121 The result is that there                                    for these compliance years was higher
                                            standard) were significantly higher than                                remains some uncertainty surrounding                                      than volume used by EPA to set the
                                            the volume of renewable fuel used in                                    the ultimate number of carryover RINs                                     standards), resulting in an unexpected
                                            previous years, and the candidate                                       that will be available for compliance                                     drawdown of the number of available
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                                              117 See, e.g., 72 FR 23904 (May 1, 2007).                                119 79 FR 49793–95 (August 15, 2013).                                     121 Per 40 CFR 80.1451(f)(1)(i)(B)(4), the
                                              118 See 80 FR 77482–87 (December 14, 2015), 81                           120 The calculations performed to project the                          compliance deadline for the 2022 standards will be
                                            FR 89754–55 (December 12, 2016), 82 FR 58493–                           number of available carryover RINs can be found in                        the first quarterly reporting deadline after the
                                            95 (December 12, 2017), 83 FR 63708–10 (December                        RIA Chapter 1.10.                                                         effective date of this action. We expect this deadline
                                            11, 2018), 85 FR 7016 (February 6, 2020), 87 FR                                                                                                   is likely to be December 1, 2023.
                                            39600 (July 1, 2022).



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                                            carryover RINs as a result of compliance                 requests by several small refineries,                  parties and the fuels market more
                                            with the 2020 and 2021 standards. In                     granted by three different U.S. Circuit                broadly. As previously described,
                                            addition, a number of small refineries                   Courts of Appeals, to stay their RFS                   carryover RINs provide important and
                                            have elected to defer compliance with                    compliance obligations as part of the                  necessary programmatic functions—
                                            their 2020 obligations by opting-in to                   pending litigation challenging the EPA’s               including as a cost spike buffer—that
                                            the alternative RIN retirement schedule                  April 2022 124 and June 2022 125 SRE                   will both facilitate individual
                                            for small refineries.122 This flexibility                Denial Actions.126 We will continue to                 compliance and provide for smooth
                                            allows small refineries to use any valid                 monitor RIN prices and the market, and                 overall functioning of the program. We
                                            RIN (including 2023 and 2024) to                         retain our ability to modify future                    believe that a balanced consideration of
                                            comply with their 2020 RVOs as part of                   volumes through the use of our waiver                  the possible role of carryover RINs in
                                            a quarterly RIN retirement schedule and                  authorities as discussed in Section II.F.              achieving the volume requirements,
                                            effectively reduces the number of 2021–                    Even though carryover RIN levels are                 versus maintaining an adequate number
                                            2024 carryover RINs available to comply                  low, we believe that the standards we                  of carryover RINs for important
                                            with the 2022–2025 standards.                            are finalizing in this action, including               programmatic functions, is appropriate
                                            Furthermore, we note that there have                     the supplemental standard, can be met                  when EPA exercises its discretion under
                                            been enforcement actions in past years                   through additional production of                       its statutory authorities.
                                            that have resulted in the retirement of                  renewable fuel in the market.                             Furthermore, as discussed in the
                                            carryover RINs to make up for the                        Additionally, should the market fall                   previous section and in RIA Chapter
                                            generation and use of invalid RINs and/                  short of the volumes we are finalizing,                1.10, the number of available carryover
                                            or the failure to retire RINs for exported               obligated parties will continue to be                  RINs has been significantly and
                                            renewable fuel. To the extent that there                 able to carry forward a RIN deficit from               unexpectedly drawn down as a result of
                                            are enforcement actions in the future,                   one year into the next, although they                  2020 and 2021 compliance, including
                                            they could have similar results and                      may not carry forward a deficit for                    effectively depleting the number of
                                            require that obligated parties or                        consecutive years. Conversely, should                  available cellulosic and non-cellulosic
                                            renewable fuel exporters settle past                     the market over-comply with the                        advanced carryover RINs. Moreover, as
                                            enforcement-related obligations in                       standards we are finalizing, the number                noted earlier, the advanced biofuel and
                                            addition to complying with the annual                    of available carryover RINs could again                total renewable fuel standards
                                            standards. In light of these                             grow.                                                  established for 2022 are significantly
                                            uncertainties, the number of available                                                                          higher than the volume of renewable
                                                                                                     b. Treatment of Carryover RINs for
                                            carryover RINs could be larger or                                                                               fuel used in previous years. As we
                                                                                                     2023–2025
                                            smaller than the number projected in                                                                            explained in the 2020–2022 final rule,
                                            Table III.C.4.a–1.                                          We evaluated the volume of carryover                while we believed that the market could
                                               We acknowledge that the effective                     RINs projected to be available and                     make sufficient renewable fuel available
                                            number of cellulosic and non-cellulosic                  considered whether we should include                   to meet the 2022 standards, there may
                                            advanced biofuel carryover RINs is zero,                 any portion of them in the                             be some challenges.127 In addition, in
                                            and that the effective number of                         determination of the candidate volumes                 this action we are for the first time
                                            conventional renewable fuel carryover                    that we analyzed or the volume                         prospectively establishing volume
                                            RINs is significantly lower than it has                  requirements that we finalized for 2023–               requirements for multiple years. This
                                            been in recent years. We have recently                   2025 (including the 2023 supplemental                  inherently adds uncertainty and makes
                                            taken actions to preserve the number of                  volume). Doing so would be equivalent                  it more challenging to project with
                                            carryover RINs, and to ensure the                        to intentionally drawing down the                      accuracy the number of carryover RINs
                                            continued functioning of the RIN                         number of available carryover RINs in                  that will actually be available for each
                                            market, and continue to believe that                     setting those volume requirements. We                  of these years. Given these factors, and
                                            carryover RINs serve a vital                             do not believe that this would be                      the uneven holding of carryover RINs
                                            programmatic function.123 We have                        appropriate. In reaching this                          among obligated parties, we believe that
                                            monitored RIN prices as a proxy for RIN                  determination, we considered the                       further increasing the volume
                                            market functioning, and given current                    functions of carryover RINs, the                       requirements after 2022 with the intent
                                            RIN prices, we continue to believe the                   projected number available, the                        to draw down the number of available
                                            RIN market is liquid and fungible.                       uncertainties associated with this                     carryover RINs could lead to significant
                                            Moreover, we note that the demand for                    projection, the potential impact of                    deficit carryforwards and
                                            RINs has been somewhat reduced and                       carryover RINs on the production and                   noncompliance by some obligated
                                            dispersed across a broad range of RIN                    use of renewable fuel, the ability and                 parties that own relatively few or no
                                            vintages as a result of several actions                  need for obligated parties to draw on                  carryover RINs. We do not believe this
                                            related to small refineries: (1) The use                 carryover RINs to comply with their                    would be an appropriate outcome.
                                            of the alternative RIN retirement                        obligations (both on an individual basis               Therefore, consistent with the approach
                                            schedule in 40 CFR 80.1444, which                        and on a market-wide basis), and the                   we have taken in recent annual rules,
                                            gives small refineries additional time                   impacts of drawing down the number of                  we are not including carryover RINs in
                                            and opens a broader range of RIN                         available carryover RINs on obligated                  the candidate volumes, nor setting the
                                            vintages to acquire and retire the RINs                                                                         2023, 2024, and 2025 volume
                                                                                                       124 ‘‘April 2022 Denial of Petitions for RFS Small
                                            needed to demonstrate compliance for                                                                            requirements (including the 2023
                                                                                                     Refinery Exemption,’’ EPA–420–R–22–005, April          supplemental standard) at levels that
                                            the 2020 compliance year; and (2) The                    2022 (‘‘April 2022 SRE Denial Action’’).
                                                                                                       125 ‘‘June 2022 Denial of Petitions for RFS Small    would intentionally draw down the
                                              122 40 CFR 80.1444.                                    Refinery Exemption,’’ EPA–420–R–22–011, June           number of available carryover RINs.
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                                               123 See 87 FR 39600 (July 1, 2022), See also,         2022 (‘‘June 2022 SRE Denial Action’’).                   We are not determining that the
                                            ‘‘April 2022 Alternative RFS Compliance                    126 See, e.g., Hunt Refining Co. v. EPA, No. 22–
                                                                                                                                                            number of carryover RINs projected in
                                            Demonstration Approach for Certain Small                 12535–A, Document 33 (11th Cir.), Calumet              Table III.C.4.a–1 is a bright-line
                                            Refineries,’’ EPA–420–R–22–006, April 2022; and          Shreveport Refining, et al. v. EPA, No. 22–60266,
                                            ‘‘June 2022 Alternative RFS Compliance                   Documents 209–1, 304–1 (5th Cir.), Sinclair            threshold for the number of carryover
                                            Demonstration Approach for Certain Small                 Wyoming, et. al. v. EPA, No. 22–1073, Document
                                            Refineries,’’ EPA–420–R–22–012, June 2022.               1992426 (D.C. Cir.).                                    127 87 FR 39600 (July 1, 2022).




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                                            RINs that provides sufficient market                                  the number of carryover RINs by                                   5. Summary
                                            liquidity and allows carryover RINs to                                establishing higher volumes than what
                                            play their important programmatic                                     we anticipate the market is capable of                              Based on our analysis of supply-
                                            functions. As in past years, we are                                   achieving in 2023–2025. Conversely,                               related factors, we identified a set of
                                            instead evaluating, on a case-by-case                                 while a larger number of available                                candidate volumes for each of the
                                            basis, the number of available carryover                              carryover RINs may provide greater                                component categories that we believe
                                            RINs in the context of the RFS standards                              assurance of market liquidity, we do not                          represent achievable levels of supply
                                            and the broader transportation fuel                                   believe it would be appropriate to set                            related factors and other relevant
                                            market at this time. Based upon this                                  the standards at levels specifically                              considerations. These volumes are
                                            holistic, case-by-case evaluation, we are                             designed to increase the number of                                summarized in Table III.C.5–1.
                                            concluding that it would be                                           carryover RINs available to obligated
                                            inappropriate to intentionally reduce                                 parties.

                                                                 TABLE III.C.5–1—CANDIDATE VOLUME COMPONENTS DERIVED FROM SUPPLY-RELATED FACTORS
                                                                                                                                         [Million RINs] a

                                                                                                                                                                                     2023            2024            2025

                                            Cellulosic biofuel (D3 & D7) ........................................................................................................           838          1,090           1,376
                                            Biomass-based diesel (D4) .........................................................................................................           6,215          6,205           6,881
                                            Other advanced biofuel (D5) .......................................................................................................             290            290             290
                                            Conventional renewable fuel (D6) ...............................................................................................             13,845         13,955          13,779
                                              a The D codes given for each component category are defined in 40 CFR 80.1425(g). D codes are used to identify the statutory categories
                                            which can be fulfilled with each component category according to 40 CFR 80.1427(a)(2).


                                               These are the candidate volumes that                               and the total renewable fuel volume                               sector beyond what would occur in the
                                            we further analyzed according to the                                  requirement, including that portion of                            absence of the program. It is
                                            other economic and environmental                                      the implied volume for conventional                               appropriate, therefore, to use a scenario
                                            factors required under the statute in                                 renewable fuel that cannot be met with                            representing what would occur if the
                                            CAA 211(o)(2)(B)(ii). Those additional                                ethanol.                                                          RFS program did not exist as the
                                            analyses are described in Section IV.                                                                                                   baseline for estimating the costs and
                                                                                                                  D. Baselines
                                            Details of the individual biofuel types                                                                                                 impacts of the candidate volumes. Such
                                            and feedstocks that make up these                                       In order to estimate the impacts of the                         a ‘‘No RFS’’ baseline is consistent with
                                            candidate volumes are provided in the                                 candidate volumes, we must identify an                            the Office of Management and Budget’s
                                            RIA Chapter 3. These candidate                                        appropriate baseline. The baseline                                Circular A–4, which says that the
                                            volumes represent our assessment of the                               reflects the alternative collection of                            appropriate baseline would normally
                                            volume of renewable fuels we project                                  biofuel volumes by feedstock,                                     ‘‘be a ‘no action’ baseline: what the
                                            could be used in the U.S. based on the                                production process (where appropriate),                           world will be like if the proposed rule
                                            expected annual rate of future                                        biofuel type, and use which would be                              is not adopted.’’
                                            commercial production of renewable                                    anticipated to occur in the absence of
                                            fuels (one of the statutory factors),                                 applicable standards, and acts as the                                Importantly, a ‘‘No RFS’’ baseline
                                            potential constraints on the domestic                                 point of reference for assessing the                              would not be equivalent to a market
                                            consumption of renewable fuels, and                                   impacts. To this end, we have                                     scenario wherein no biofuels were used
                                            other relevant factors. We considered                                 developed a ‘‘No RFS’’ scenario that we                           at all. Prior to the RFS program, both
                                            these candidate volumes when                                          used as the baseline for analytical                               biodiesel and ethanol were used in the
                                            conducting the analyses of the                                        purposes. Many of the same supply-                                transportation sector, whether due to
                                            additional statutory factors, which are                               related factors that we used to develop                           state or local incentives, tax credits, or
                                            summarized in Section IV and                                          the candidate volumes were also                                   a price advantage over conventional
                                            discussed in greater detail in the RIA. In                            relevant in developing the No RFS                                 petroleum-based gasoline and diesel.
                                            Section VI, we discuss the final                                      baseline.                                                         This same situation would exist in
                                            applicable volume targets based on a                                    We also considered other possible                               2023–2025 in the absence of the RFS
                                            consideration of all of the factors that                              baselines that, as described in the                               program. Federal, state, and local tax
                                            we analyzed—both the supply-related                                   proposal, we did not use to assess the                            credits, incentives, and support
                                            factors that were considered in                                       impacts of the candidate volumes. We                              payments will continue to be in place
                                            developing the candidate volumes                                      discuss the alternative baselines here in                         for these fuels, as well as state programs
                                            (discussed in this section) and the                                   an effort to describe our reasoning for                           such as blending mandates and Low
                                            additional statutory factors discussed in                             the public and interested stakeholders,                           Carbon Fuel Standard (LCFS) programs.
                                            Section IV.                                                           and because we understand there are                               Furthermore, now that capital
                                               Note that the volumes shown in Table                               differing, informative baselines that                             investments in renewable fuels have
                                            III.C.5–1 represent the total candidate                               could be used in this type of analysis.                           been made and markets have been
                                            volumes for each component category of                                Ultimately, we concluded that the No                              oriented towards their use, there are
                                            renewable fuel, not the volume                                        RFS scenario is the most appropriate to                           strong incentives in place for continuing
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                                            requirements. The volumes of non-                                     use.                                                              their use even if the RFS program were
                                            cellulosic advanced biofuel having a D                                                                                                  to disappear. As a result, it would be
                                            code of 4 or 5, for instance, represent                               1. No RFS Program                                                 improper and inaccurate to attribute all
                                            volumes that could be used to satisfy                                   Broadly speaking, the RFS program is                            use of renewable fuel in 2023–2025 to
                                            the BBD volume requirement, the                                       designed to increase the use of                                   the applicable standards under the RFS
                                            advanced biofuel volume requirement,                                  renewable fuels in the transportation                             program.


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                                               To inform our assessment of the                       into fossil fuel, not all the way to the                credits for E85, of which the largest is
                                            volume of biofuels that would be used                    point of use that is necessary for                      in New York. We are not aware of any
                                            in the absence of the RFS program for                    estimating the fuel economy cost.                       state tax credits or subsidies for E15.129
                                            the years 2023 through 2025, we began                       • While we generally do not account                  To account for the various state
                                            by analyzing the trends in the                           for the fuel economy disadvantage of                    assumptions, it was necessary to model
                                            economics for biofuel blending in prior                  most biofuels for the No RFS economic                   the cost of using these biofuels on a
                                            years. Assessing these trends is                         analysis, the exception is E85 where the                state-by-state basis.
                                            important because the economics for                      lower fuel economy of using E85 is so                      For most biofuels, the economic
                                            blending biofuels changes from year to                   obvious to vehicle owners that they                     analysis provided consistent results,
                                            year based on biofuel feedstock and                      demand a lower price to make up for                     indicating that they are either
                                            petroleum product prices and other                       this loss of fuel economy. As a result,                 economical in all years or are not
                                            factors which affect the relative                        retailers must price E85 lower than the                 economical in any year. However, this
                                            economics for blending biofuels into                     primary alternative E10 to account for                  was not true for biodiesel and renewable
                                            petroleum-based transportation fuels. A                  this bias and they must consider this in                diesel, where the results varied from
                                            biofuel plant investor and the financiers                their decisions to blend and sell E85. A                year to year. Such swings in the
                                            who fund their projects will review the                  similar situation exists with E15,                      economic attractiveness of biodiesel and
                                            historical (e.g., did they lose money in                 although it is not clear what the factors               renewable diesel confound efforts on
                                            a previous year), current, and perceived                 are for E15 and this is discussed in more               the part of investors to project future
                                            future economics of the biofuel market                   detail in the No RFS Baseline discussion                returns on their investments to
                                            when deciding whether to continue to                     in RIA Chapter 2.                                       determine whether to continue to
                                            operate their biofuel plants, and our                       We added these various cost                          operate their plants, or shutdown. Thus,
                                            analysis attempted to account for these                  components (i.e., production cost,                      to smooth out the swings in the
                                            factors.                                                 distribution cost, any blending cost,                   economics for using biodiesel and
                                               The No RFS Baseline analysis for                      retail cost, applicable tax subsidies)                  renewable diesel and look at it the way
                                            2023–2025 compares the biofuel cost                      together to reflect the cost of each                    plant operators and their investors
                                            with the fossil fuel it displaces, at the                biofuel.                                                would have in the absence of the RFS
                                            point that the biofuel is blended with                      We conducted a similar cost estimate                 program, we made two different key
                                            the fossil fuel, to assess whether the                   for the fossil fuels being displaced since              assumptions. First, the economics for
                                            biofuel provides an economic advantage                   their relative cost to biofuels is used to              biodiesel and renewable diesel were
                                            to blenders. If the biofuel is lower cost                estimate the net cost of using biofuels.                modeled starting in 2009 and the trend
                                            than the fossil fuel it displaces, it is                 Unlike for biofuels, we did not calculate               in its use was made dependent on the
                                            assumed that the biofuel would be used                   production costs for the fossil fuels.                  relative economics in comparison to
                                            absent the RFS standards (within the                     Instead, we projected their production                  petroleum diesel over distinct four-year
                                            constraints described below). The                        costs based solely on wholesale price                   periods. As a result, the first 4-year
                                            economic analysis that we conducted to                   projections by the Energy Information                   modeled period was actually 2012.
                                            assess the volume of biofuel that would                  Administration in its Annual Energy                     Second, the estimated biodiesel and
                                            likely be produced and consumed in the                   Outlook (AEO).                                          renewable diesel volumes were limited
                                            absence of the RFS program mirrors the                      We also considered any applicable                    in the analysis to no greater volume
                                            cost analysis described in Section IV.C,                 federal or state programs, incentives, or               than what occurred under the RFS
                                            but there is one primary difference and                  subsidies that could reduce the apparent                program in any year, since the existence
                                            a number of other differences. The                       blending cost of the biofuel at the                     of the RFS program would be expected
                                            primary difference is that the economic                  terminal. An important subsidy is the $1                to create a much greater incentive for
                                            analysis relative to the No RFS baseline                 federal tax incentives for blending                     using these biofuels than if no RFS
                                            assesses whether the fuels industry                      biodiesel and other biofuels into diesel                program were in place.
                                            would find it economically                               fuel which was extended in the IRA.128                     An economic analysis was also
                                            advantageous to blend the biofuel into                   In the case of higher ethanol blends, the               conducted for cellulosic biofuels,
                                            the petroleum fuel in the absence of the                 retail cost associated with the                         including cellulosic ethanol, corn kernel
                                            RFS program, whereas the social cost                     equipment and/or use of compatible                      fiber ethanol, and biogas. Since the
                                            analysis reflects the overall impacts on                 materials needed to enable the sale of                  volumes of these biofuels were much
                                            society at large (see Section IV.C and                   these newer fuels is assumed to be                      smaller, a more generalized approach
                                            RIA Chapter 10 for descriptions of the                   reduced by 50 percent due to the                        was used in lieu of the detailed state-by-
                                            social cost analysis). The primary                       Federal Higher Blends Infrastructure                    state analysis conducted for corn
                                            example of a social cost not considered                  Incentive Program (HBIIP) program                       ethanol, biodiesel, and renewable diesel
                                            for the No RFS economic analysis is the                  administered by the United States                       fuel.
                                            fuel economy effect due to the lower                     Department of Agriculture.                                 The No RFS baseline for 2023–2025 is
                                            energy density of the biofuel, as this                      In addition, there are a number of                   summarized in Table III.D.1–1. A more
                                            cost is generally borne by consumers,                    state programs that create subsidies for                complete description of the No RFS
                                            not the fuels industry. Other ways that                  biodiesel and renewable diesel fuel, the                baseline and its derivation is provided
                                            the No RFS economic analysis is                          largest being offered by California and                 in RIA Chapter 2. The projected
                                            different from the social cost analysis                  Oregon through their LCFS programs.                     consumption of cellulosic biofuel and
                                            include:                                                 We accounted for state and local
                                               • In the context of assessing                         biodiesel mandates by including their                     129 In light of the fluid situation with respect to
                                            production costs, we amortized the                       mandated volume regardless of the
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                                                                                                                                                             a 1-psi RVP waiver for E15 or actions to remove the
                                            capital costs at a higher rate of return                 economics. Several states offer tax                     1 psi wavier for E10 in eight midwestern states, our
                                            more typical for industry investment                     credits for blending ethanol at 10                      analysis did not specifically assume either of these
                                            instead of the rate of return used for                                                                           potential changes. These assumptions can affect the
                                                                                                     volume percent. Other states offer tax                  relative cost of E15, however, adopting these
                                            social costs.                                                                                                    assumptions would not have impacted the overall
                                               • We assessed biofuel distribution                         128 H.R. 5376—The Inflation Reduction Act of       conclusions with respect to blending E15 in the
                                            costs to the point where it is blended                   2022                                                    absence of the RFS program.



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                                            other advanced biofuel in this final rule                             significantly higher crude oil prices                             Finally, the conventional renewable fuel
                                            is similar to the volumes for these fuel                              from the most recent AEO make BBD                                 volumes for the No RFS baseline are
                                            types projected in the proposed rule,                                 more cost competitive with petroleum                              significantly lower in all years, relative
                                            with slight variations based on updated                               diesel, after accounting for the available                        to the volumes in the proposed rule,
                                            data. The projected BBD volumes for the                               non-RFS incentives such as the federal                            primarily due to lower projected
                                            No RFS baseline are significantly higher                              tax credit for BBD and the incentives                             gasoline consumption in 2023–2025
                                            in all years, primarily because the                                   offered by California’s LCFS program.                             from EIA.

                                                                          TABLE III.D.1–1—BIOFUEL CONSUMPTION IN 2023–2025 UNDER a NO RFS BASELINE
                                                                                                                                          [Million RINs]

                                                                                                                                                                                      2023                   2024                2025

                                            Cellulosic biofuel (D3 & D7) ........................................................................................................            343                    402                444
                                            Biomass-based diesel (D4) .........................................................................................................            2,796                  3,139              3,496
                                            Other advanced biofuel (D5) .......................................................................................................              226                    226                226
                                            Conventional renewable fuel (D6) ...............................................................................................              13,185                 13,224             12,992



                                               Our analysis shows that corn ethanol                               action applies, including changes in                              program do not roll over automatically
                                            is economical to use in 10 percent                                    state requirements, tax subsidies, tariffs,                       to the next, nor do the volume
                                            blends (E10) without the presence of the                              international supply, total fuel demand,                          requirements that apply in one year
                                            RFS program. Conversely, higher                                       crude oil prices, feedstock prices, and                           become the default volume
                                            ethanol blends would generally not be                                 fuel economy standards. All of these                              requirements for the following year in
                                            economic without the RFS program,                                     have influenced the economical use of                             the event that no volume requirements
                                            except for some small volume of E85 in                                renewable fuel during the intervening                             are set for that following year.
                                            the state of New York which offers a                                  period, and it is infeasible to model all                         Nevertheless, the volume requirements
                                            large E85 blending subsidy. Higher-level                              these interactions. As a result, using                            established for the previous year
                                            ethanol blends are not as economical as                               2005 as the baseline would lead to a                              represent the most recent set of volume
                                            ethanol blended as E10 because the                                    highly speculative assessment of costs                            requirements that the market was
                                            octane value of ethanol is generally not                              and impacts that neglect important                                required to meet, and the fuels industry
                                            realized in these blends, and the                                     market and regulatory realities.                                  as a whole can be expected to have
                                            infrastructure cost for dispensing these                              Therefore, we do not believe that a 2005                          adjusted its operations accordingly.
                                            fuels are high (see RIA Chapter 10).                                  baseline would be appropriate for this                            Since the previous year’s volume
                                            Some volume of biodiesel is estimated                                 rulemaking.                                                       requirements represent the starting
                                            to be blended based on state mandates                                    In the 2010 RFS2 rulemaking that                               point for any adjustments that the
                                            in the absence of the RFS program, and                                created the RFS2 regulatory program                               market may need to make to meet the
                                            some additional volume of both                                        that was required by EISA, one of the                             next year’s volume requirements, they
                                            biodiesel and renewable diesel is                                     baselines that we used was the 2007                               represent another informational baseline
                                            estimated to be economical to use                                     version of EIA’s AEO which provided                               for comparison, and we have used
                                            without the RFS program, primarily in                                 projections of transportation fuel use,                           previous year standards as a baseline in
                                            California due to the LCFS incentives.                                including the use of renewable fuel, out                          previous annual standard-setting
                                            The volume of CNG from biogas and                                     to 2030.130 This is the most recent                               rulemakings.
                                            imported ethanol from sugarcane are                                   version of the AEO that projected fuel                               The 2022 volume requirements were
                                            projected to be consumed in California                                use in the absence of the statutory                               finalized on July 1, 2022, and are shown
                                            due to the economic support provided                                  volume targets specified in the Energy                            in Table III.D.3–1.131
                                            by their LCFS.                                                        Independence and Security Act of 2007;
                                            2. Alternative Approaches to the No                                   all subsequent versions of the AEO have                           TABLE III.D.3–1—FINAL 2022 VOLUME
                                            RFS Baseline                                                          included the current RFS program in                                           REQUIREMENTS
                                                                                                                  their projections. While the 2007
                                               We also considered several other                                   version of the AEO includes projections                                                                       Volume
                                            ways to identify a No RFS baseline.                                                                                                                  Category
                                                                                                                  for the timeframe of interest in this                                                                      (billion RINs)
                                            However, we do not believe they would                                 action, 2023–2025, it suffers from the
                                            be appropriate as they would be                                       same drawbacks as using fuel use in                               Cellulosic biofuel ...................              0.63
                                            unlikely to represent the world in 2023–                                                                                                Biomass based diesel a ........                     2.76
                                                                                                                  2005 as the baseline. Namely, a                                   Advanced biofuel ..................                 5.63
                                            2025 as it would likely be in the absence                             significant number of other changes
                                            of the RFS program. For instance, the                                 have occurred between 2007 when the                               Total renewable fuel .............                20.63
                                            RFS program went into effect in 2006                                  projections were made and the 2023–                                 a The  BBD volumes are in physical gallons
                                            with a default percentage standard                                    2025 period to which this action
                                            specified in the statute. As 2005                                                                                                       (rather than RINs).
                                                                                                                  applies. For the same reasons, then, we
                                            represents the most recent year for                                   do not believe that the projections in                              In the final rule that established these
                                            which the RFS requirements did not                                    AEO 2007 would be an appropriate                                  2022 volume requirements, we
                                            apply, it could be used as the baseline                               baseline.                                                         discussed the fact that the preferable
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                                            in assessing costs and impacts of the                                                                                                   baseline would have been a No RFS
                                            candidate volumes. However, a                                         3. Previous Year Volumes                                          baseline, but that it could not be
                                            significant number of changes to other                                   The applicable volume requirements                             developed in the time available.
                                            factors that significantly affect the fuels                           established for one year under the RFS                            Therefore, we used actual data on 2020
                                            sector have occurred between 2005 and
                                            the 2023–2025 period to which this                                      130 75 FR 14670 (March 26, 2010).                                 131 87 FR 39600 (July 1, 2022).




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                                            biofuels consumption as the primary                                   requirements for 2014, 2015, and                           the candidate volumes derived and
                                            baseline in that rule.                                                2016.133 In that rule, the impacts of the                  discussed above was based on the
                                              In the Set rule proposal, we used the                               volume requirements for 2015 were                          differences between our assessment of
                                            2022 volume requirements as an                                        compared to the actual volumes                             how the market would respond to those
                                            informational case in addition to the No                              consumed in 2014, and the impacts of                       candidate volumes (summarized in
                                            RFS baseline, but we did so only for                                  the volume requirements for 2016 were                      Table III.C.5–1) and the No RFS baseline
                                            costs to allow for a comparison to the                                compared to the actual volumes                             (summarized in Table III.D.1–1). Those
                                            analysis and results presented in recent                              consumed in 2015.134                                       differences are shown below. Details of
                                            annual rules. We continue to believe                                    The volumes of biofuel consumption
                                                                                                                                                                             this assessment, including a more
                                            that this is appropriate in this final rule.                          for 2022 are shown below. More details
                                                                                                                                                                             precise breakout of those differences,
                                            However, we now have data on how the                                  on 2022 biofuel consumption can be
                                                                                                                  found in RIA Chapter 2.                                    can be found in RIA Chapter 2. Note
                                            market responded to the applicable                                                                                               that this approach is squarely focused
                                            2022 standards, and we believe that this                                                                                         on the differences in volumes between
                                            data on actual market performance is a                                    TABLE III.D.3–2—2022 BIOFUEL
                                                                                                                                    CONSUMPTION                              the No RFS baseline and the candidate
                                            better point of reference than the 2022                                                                                          volumes; our analysis does not, in other
                                            volume requirements established in the                                                                                           words, assess impacts from total biofuel
                                                                                                                                                                Volume
                                            July 1, 2022 final rule. Therefore, we                                                                           (million RINs) use in the United States. As noted
                                            have used actual 2022 biofuel                                                                                                    above, we also consider the impacts of
                                            consumption as a baseline in the                                      Cellulosic biofuel (D3 & D7)                           667
                                                                                                                                                                             this rule relative to a 2022 baseline for
                                            estimation of costs for this final rule, in                           Biomass-based diesel (D4) ..                         4,956
                                            addition to the No RFS baseline. This                                 Other advanced biofuel (D5)                            318 some of our analyses, such as the cost
                                            approach is consistent with the                                       Conventional renewable fuel                                of the rule. The changes in biofuel
                                            approach we took in the rulemaking                                      (D6) ...................................          14,034 consumption in the transportation
                                            which established the volume                                                                                                     sector relative to the 2022 baseline are
                                            requirements for 2020, 2021, and                                      E. Volume Changes Analyzed                                 shown in in Table III.E–2.
                                            2022,132 as well as the rulemaking                                      In general, our analysis of the
                                            which established the volume                                          economic and environmental impacts of

                                             TABLE III.E–1—CHANGES IN BIOFUEL CONSUMPTION IN THE TRANSPORTATION SECTOR IN COMPARISON TO THE NO RFS
                                                                                             BASELINE
                                                                                                                                          [Million RINs]

                                                                                                                                                                                      2023            2024            2025

                                            Cellulosic biofuel (D3 & D7) ........................................................................................................           495             688             932
                                            Biomass-Based Diesel (D4) ........................................................................................................            3,169           3,066           3,385
                                            Other Advanced Biofuel (D5) ......................................................................................................               64              64              64
                                            Conventional Renewable Fuel (D6) ............................................................................................                   660             731             787


                                               TABLE III.E–2—CHANGES IN BIOFUEL CONSUMPTION IN THE TRANSPORTATION SECTOR IN COMPARISON TO THE 2022
                                                                                             BASELINE
                                                                                                                                          [Million RINs]

                                                                                                                                                                                      2023            2024            2025

                                            Cellulosic biofuel (D3 & D7) ........................................................................................................          172              424            710
                                            Biomass-Based Diesel (D4) ........................................................................................................           1,271            1,511          2,187
                                            Other Advanced Biofuel (D5) ......................................................................................................            ¥28              ¥28            ¥28
                                            Conventional Renewable Fuel (D6) ............................................................................................                ¥189              ¥79           ¥255



                                              The volumes shown in Table III.D.1–                                 gallons (250 million RINs) of renewable                           volume requirements to establish for
                                            1 and the volume changes shown in                                     diesel produced from soybean oil. Our                             years after 2022 (and for BBD, years
                                            Tables III.E–1 and 2 include the volume                               analyses of the statutory factors                                 after 2012). A full description of the
                                            of renewable fuel projected to be                                     described in Section IV generally do not                          analysis for all factors is provided in the
                                            supplied to meet the supplemental                                     include the impacts of the supplemental                           RIA. In this section, we provide a
                                            volume requirements in 2023. For                                      volume requirement, except where                                  summary of the analysis of a selection
                                            purposes of analyzing the                                             noted.                                                            of factors for the candidate volumes
                                            environmental and economic impacts                                                                                                      derived from supply-related factors as
                                                                                                                  IV. Analysis of Candidate Volumes
                                            (discussed in Section IV), we treat the                                                                                                 described in the previous section (see
                                            2023 supplemental volume requirement                                    As described in Section II.B, the                               Table III.C.5–1 for the candidate
                                            separately as discussed in RIA Chapter                                                                                                  volume, and Table III.E–1 for the
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                                                                                                                  statute specifies a number of factors that
                                            3.3. We project that the supplemental                                 EPA must analyze in making a                                      corresponding volume changes in
                                            volume will be met with 147 million                                   determination of the appropriate                                  comparison to the No RFS baseline),

                                              132 87 FR 39600 (July 1, 2022).                                       134 The 2015 volumes were based on actual
                                              133 80 FR 77420 (Dec. 14, 2015).                                    consumption data for January–September and a
                                                                                                                  projection for October–December.


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                                            along with some implications of those                    required that biofuels used to meet the                   fuels they are used to replace or reduce.
                                            analyses. In Section VI we provide a                     RFS obligations achieve certain GHG                       Based on our review, we compiled the
                                            summary of our consideration of all                      reductions based on a lifecycle analysis                  LCA estimates in the literature for each
                                            factors in determining the volume                        (LCA). To qualify as a renewable fuel                     pathway. We include estimates from
                                            requirements that we have determined                     under the RFS program, a fuel must be                     peer-reviewed journal articles,
                                            are appropriate for 2023–2025.                           produced from approved feedstocks and                     authoritative governmental reports, and
                                                                                                     have lifecycle GHG emissions that are at                  other credible publications, such as
                                            A. Climate Change
                                                                                                     least 20 percent less than the baseline                   studies by non-governmental
                                              This section begins with a description                 petroleum-based gasoline and diesel                       organizations. Given that all LCA
                                            of our analysis of the climate change                    fuels. The CAA defines lifecycle                          studies and models have particular
                                            impacts of the candidate volumes.                        emissions in section 211(o)(1)(H) to                      strengths and weaknesses, as well as
                                            Following this, in Section IV.A.2, is a                  include the aggregate quantity of                         uncertainties and limitations, our goal
                                            description of a model comparison                        significant direct and indirect emissions                 for this compilation of literatures
                                            exercise that was not conducted for the                  associated with all stages of fuel                        estimates is to consider the ranges of
                                            purpose of evaluating the candidate                      production and use. Advanced biofuels                     published estimates, not to adjudicate
                                            volumes, nor does it inform the volumes                  and biomass-based diesel are required to                  which particular studies, estimates or
                                            in this final rule.                                      have lifecycle GHG emissions that are at                  assumptions are most appropriate.
                                            1. Climate Change Analysis Supporting                    least 50 percent less than the baseline                   Reflecting the many approaches to LCA
                                            Rule                                                     fuels,138 while cellulosic biofuel is                     and associated assumptions and
                                                                                                     required to have lifecycle emissions at                   uncertainties, our review is
                                               CAA section 211(o)(2)(B)(ii) states                   least 60 percent less than the baseline                   intentionally broad and inclusive of a
                                            that the basis for setting applicable                    fuels.139 Congress also allowed for                       wide range of estimates based on a
                                            renewable fuel volumes after 2022 must                   facilities that existed or were under                     variety of study types and assumptions.
                                            include, among other things, ‘‘an                        construction when the EISA was                            We focused on LCA estimates for the
                                            analysis of . . . the impact of the                      enacted to be grandfathered into the                      average type of each fuel produced in
                                            production and use of renewable fuels                    RFS program and exempt from the                           the United States.142 For example, for
                                            on the environment, including on . . .                   lifecycle GHG emission reduction                          corn ethanol, we focused on estimates
                                            climate change.’’ While the statute                      requirements.140                                          for average corn ethanol production
                                            requires that EPA base its                                  In the proposed rule, we presented                     from natural gas-fired dry mill facilities,
                                            determinations, in part, on an analysis                  biofuel LCA estimates from a range of                     as that is the predominant mode of corn
                                            of the climate change impact of                          published values from the scientific/                     ethanol production in the United
                                            renewable fuels, it does not require a                   technical literature. We are using the                    States.143
                                            specific type of analysis. The CAA                       same approach as the proposed rule,                          We made minor changes to the LCA
                                            requires evaluation of lifecycle                         whereby we multiply the lifecycle                         ranges used in the proposed rule. We
                                            greenhouse gas (GHG) emissions as part                   emissions value for each individual fuel                  reviewed the public comments and
                                            of the RFS program,135 and GHG                           by the change in the volume of that fuel                  searched the literature to identify new
                                            emissions contribute to climate                          to quantify the GHG impacts. We repeat                    or additional studies to add to our
                                            change.136 Thus, in the proposed rule                    this process for each fuel (e.g., corn                    review. However, public commenters
                                            we used lifecycle GHG emissions                          ethanol, soybean biodiesel, landfill                      did not identify any additional LCA
                                            estimates as a proxy for climate change                  biogas CNG) to estimate the overall GHG                   estimates that we had not already
                                            impacts.137 We continue to believe this                  impacts of the candidate volumes. We                      considered. Likewise, our updated
                                            approach is reasonable and appropriate                   provide a high and low estimate of the                    search of the literature did not identify
                                            for the final rule.                                      potential GHG impacts of each pathway
                                               To support the GHG emission                                                                                     any additional estimates. The one
                                                                                                     (combination of biofuel type, feedstock,                  update we made was replacing
                                            reduction goals of EISA, Congress                        and production process) based on the                      estimates from the 2021 version of the
                                               135 See CAA section 211(o)(1)(H) (empowering the
                                                                                                     range of published LCA estimates from                     Greenhouse gases, Regulated Emissions,
                                            Administrator to determine lifecycle greenhouse gas
                                                                                                     the scientific literature. We then use this               and Energy use in Technologies
                                            emissions) and CAA section 211(o)(2)(A)(i)               range of values for considering the GHG                   (GREET) Model with estimates from the
                                            (requiring the Administrator to ‘‘ensure that            impacts of the renewable fuel volumes
                                            transportation fuel sold or introduced into              that change relative to the No RFS                          142 We note that lifecycle GHG emissions are also
                                            commerce in the United States . . . contains . . .
                                            renewable fuel . . . [that] achieves at least a 20       baseline described in Section III.                        influenced by the use of advanced technologies and
                                            percent reduction in lifecycle greenhouse gas            Specifically, we use the LCA ranges to                    improved production practices. For example, corn
                                            emissions compared to baseline lifecycle                 develop an illustrative scenario of the                   ethanol produced with the adoption of advanced
                                            greenhouse gas emissions.,’’ where the 20 percent                                                                  technologies or climate smart agricultural practices
                                                                                                     GHG impacts, which is described and                       can lower LCA emissions. Corn ethanol facilities
                                            reduction threshold applies to renewable fuel
                                            ‘‘produced from new facilities that commence             presented in RIA Chapter 4.2.3.141                        produce a highly concentrated stream of CO2 that
                                            construction after December 19, 2007.’’)                    To develop the range of LCA values,                    lends itself to carbon capture and sequestration
                                               136 Extensive additional information on climate       we conducted a high-level review of                       (CCS). CCS is being deployed at ethanol plants and
                                            change is available in other EPA documents, as well                                                                has the potential to reduce emissions for corn-
                                                                                                     relevant literature for the biofuel                       starch ethanol, especially if mills with CCS use
                                            as in the technical and scientific information
                                            supporting them. See 74 FR 66496 (December 15,           pathways that would be most likely to                     renewable sources of electricity and other advanced
                                            2009) (finding under CAA section 202(a) that             satisfy the candidate renewable fuel                      technologies to lower their need for thermal energy.
                                            elevated concentrations of six key well-mixed GHGs       volumes, as well as the petroleum-based                   Climate smart farming practices are being gradually
                                            may reasonably be anticipated to endanger the                                                                      adopted at the feedstock production stage and can
                                            public health and welfare of current and future                                                                    lower the GHG intensity of biofuels. For example,
                                                                                                          138 CAA Sections 211(o)(1)(B)(i) and 211(o)(1)(D).
                                                                                                                                                               reducing tillage, planting cover crops between
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                                            generations); 81 FR 54421 (August 15, 2016)
                                                                                                          139 CAA Section 211(o)(1)(E).
                                            (making a similar finding under CAA section                                                                        rotations, and improving nutrient use efficiency can
                                                                                                          140 CAA Section 211(o)(2)(A)(i).                     build soil organic carbon stocks and reduce nitrous
                                            231(a)(2)(A)).
                                               137 This is consistent with EPA’s analysis of the       141 To be more precise, for the crop-based biofuel      oxide emissions.
                                            same statutory factor in the 2020–2022 Rule. See         pathways we use the range of LCA estimates that             143 Lee, U., et al. (2021). ‘‘Retrospective analysis

                                            ‘‘Renewable Fuel Standard (RFS) Program: RFS             include an annual stream of emissions, which are          of the US corn ethanol industry for 2005–2019:
                                            Annual Rules—Regulatory Impact Analysis,’’ EPA–          based on the modeling for the March 2010 RFS2             implications for greenhouse gas emission
                                            420–R–22–008, June 2022, pp 65–96.                       rule.                                                     reductions.’’ Biofuels, Bioproducts and Biorefining.



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                                            2022 version. Some of the public                            a wide range of estimated GHG impacts,                   Following the proposed rule, the
                                            comments recommended removing                               and areas for further research. Work to               National Academies of Sciences,
                                            some of the studies considered in the                       refine models to inform future                        Engineering, and Medicine (NASEM)
                                            proposed rule. We considered these                          rulemakings is ongoing. We want to                    published a report titled ‘‘Current
                                            comments carefully but decided not to                       engage with stakeholders and receive                  Methods for Life Cycle Analyses of Low-
                                            remove any of the studies considered in                     feedback on the MCE before deciding                   Carbon Transportation Fuels in the
                                            the proposed rule as they meet the                          how to use any results in a rulemaking                United States.’’ The conclusions and
                                            broad criteria for our compilation of                       context. While we did not ultimately                  recommendations from the NASEM
                                            published estimates. We discuss these                       rely on the model comparison exercise                 report support our motivations for
                                            comments and our reasoning in the                           to evaluate the candidate volumes or to               conducting the model comparison. In
                                            summary and analysis of comments                            inform the volumes in this final rule, we             particular, recommendation 4–2 from
                                            document that is part of this rulemaking                    describe it here solely for informational             the report states, ‘‘Current and future
                                            package.                                                    purposes, as readers of Section IV.A                  LCFS [low carbon fuel standard]
                                              The ranges of values in our                               may be interested in the technical                    policies should strive to reduce model
                                            compilation vary considerably for                           information provided through this                     uncertainties and compare results across
                                            different types of renewable fuels,                         separate exercise.                                    multiple economic modeling
                                            particularly for crop-based biofuels. The                      In the March 2010 RFS2 rule (75 FR                 approaches and transparently
                                            ranges of estimates for non-crop based                      14670) and in subsequent agency                       communicate uncertainties.’’ Consistent
                                            biofuel pathways tend to be narrower                        actions, EPA estimated the lifecycle                  with this and other recommendations in
                                            relative to the crop-based pathways (See                    GHG emissions from different biofuel                  the NASEM report, our model
                                            Table IV.A–1).                                              production pathways; that is, the                     comparison exercise compares results
                                                                                                        emissions associated with the                         from multiple models, and we strive to
                                                TABLE IV.A–1—LIFECYCLE GHG                              production and use of a biofuel,                      transparently consider parameter,
                                               EMISSIONS RANGES BASED ON LIT-                           including indirect emissions, on a per-               scenario and model uncertainties.
                                               ERATURE REVIEW                                           unit energy basis. Since the existing                    LCA plays several diverse roles in the
                                                                                                        LCA methodology was developed for                     context of the RFS program. Under
                                                                 [gCO2e/MJ]
                                                                                                        the March 2010 RFS2 rule, there has                   Section 211(o)(2)(B)(ii)(I) of the CAA,
                                                         Pathway                       LCA range        been more research on the lifecycle                   EPA is required to analyze the climate
                                                                                                        GHG emissions associated with                         change impacts of this rule and other
                                            Petroleum Gasoline ...............       84 to 98           transportation fuels. While our existing              RFS rules that establish the renewable
                                            Petroleum Diesel ....................    84 to 94           LCA estimates for the RFS program                     fuel standards subject to the
                                            Natural Gas CNG ...................      73 to 81           remain within the range of more recent                requirements of CAA section
                                            Corn Starch Ethanol ..............       38 to 116          estimates, we acknowledge that the                    211(o)(2)(B)(ii). This work is related to,
                                            Soybean Oil Biodiesel ............       14 to 73           biofuel GHG modeling framework EPA                    but distinct from, EPA’s responsibility
                                            Soybean Oil Renewable Die-               26 to 87
                                              sel.
                                                                                                        has previously relied upon is old, and                to determine which biofuel pathways
                                            Used Cooking Oil Biodiesel ...           12 to 32           that a better understanding of these                  satisfy the lifecycle GHG reduction
                                            Used Cooking Oil Renewable               12 to 37           newer models and data is needed. In the               thresholds corresponding with the four
                                              Diesel.                                                   proposed rule, we did not propose to                  categories of renewable fuel. The model
                                            Tallow Biodiesel .....................   16 to 58           reopen the related aspects of the 2010                comparison exercise does not support
                                            Tallow Renewable Diesel ......           14 to 81           RFS2 rule or any prior EPA lifecycle                  these analytical needs at this time, but
                                            Distillers Corn Oil Biodiesel ...        14 to 37           greenhouse gas analyses, methodologies,               the insights on modeling and science
                                            Distillers Corn Oil Renewable            12 to 46           or actions, as that is beyond the scope               from this exercise may inform future
                                              Diesel.
                                                                                                        of this rulemaking. While updating our                analytical efforts on both of these topics.
                                            Landfill Gas CNG ...................     6 to 70
                                            Manure Biogas CNG ..............         ¥533 to 52         LCA methodology is beyond the scope                   Our work related to biofuel GHG
                                                                                                        of this rulemaking, to make this                      modeling and lifecycle analysis will
                                            2. Description of Separate Model                            information available to the public we                continue after this rulemaking.
                                                                                                        are including the outcome of a model                     For the model comparison exercise
                                            Comparison Exercise
                                                                                                        comparison exercise by placing it in the              we selected five models, listed below in
                                               This section describes a model                           docket for this rulemaking in the                     alphabetical order, that provide
                                            comparison exercise that we conducted                       document titled, ‘‘Model Comparison                   different insights into the climate
                                            for the purpose of advancing our                            Exercise Technical Document.’’                        change impacts of crop-based biofuel
                                            understanding of available models and                          The model comparison exercise has                  production. First, the Applied Dynamic
                                            science related to the GHG impacts of                       three main goals: (1) Advance the                     Analysis of the Global Economy
                                            biofuel consumption. We requested                           science in the area of analyzing the                  (ADAGE) model, is an economic model
                                            comment on a number of issues related                       lifecycle greenhouse gas emissions                    that includes all sectors of the economy,
                                            to the model comparison exercise,                           impacts from increasing use of biofuel;               including agriculture, bioenergy, and
                                            including the approach for conducting                       (2) Identify and understand differences               transportation. Second, the Global
                                            the model comparison. At the time of                        in scope, coverage, and key assumptions               Change Analysis Model (GCAM),
                                            proposal, we were contemplating using                       in each model, and to the extent                      simulates the world’s energy, water,
                                            the model comparison exercise to                            possible the impact that those                        agriculture, land, climate and economic
                                            inform the final rule.144 However, we                       differences have on the appropriateness               systems. Third, the Global Biosphere
                                            did not ultimately rely on the model                        of using a given model to evaluate the                Management Model (GLOBIOM) is an
                                            comparison exercise to evaluate the                         GHG impacts of biofuels; and (3)                      economic model of the agricultural,
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                                            candidate volumes or to inform the                          Understand how differences between                    forest and bioenergy sectors. Fourth, the
                                            volumes in this final rule. The model                       models and data sources lead to varying               Greenhouse gases, Regulated Emissions,
                                            comparison exercise highlighted areas                       results. As we designed and conducted                 and Energy use in Technologies
                                            of uncertainty across the models used,                      the model comparison exercise, we                     (GREET) Model is a lifecycle analysis
                                                                                                        consulted with our colleagues within                  model that estimates the well-to-wheels
                                              144 See 87 FR 80582, 80611 (December 30, 2022).           the USDA and DOE.                                     impacts of transportation technologies.


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                                            Finally, the Global Trade Analysis                       reduction from fossil fuel consumption.               U.S. economy to energy imports and
                                            Project (GTAP) model is a general                        Model trade structure and assumed                     foreign energy markets.147 Most
                                            equilibrium model of all sectors of the                  flexibility influence the modeled                     discussions of U.S. energy security
                                            economy. We selected these models                        emissions results. The degree to which                revolve around the topic of the
                                            based on our many years of experience                    other vegetable oils replace soybean oil              economic costs of U.S. dependence on
                                            with biofuel GHG modeling and based                      diverted to fuel production from other                oil imports.
                                            on stakeholder input, including the                      markets can impact GHG emissions                        The U.S.’ oil consumption had been
                                            proceedings and public comments                          associated with soybean oil biodiesel.                gradually increasing in recent years
                                            associated with the biofuel GHG                          The ability to endogenously consider                  (2015–2019) before dropping
                                            modeling workshop that we hosted on                      tradeoffs between intensification and                 dramatically as a result of the COVID–
                                            February 28–March 1, 2022 (86 FR                         extensification is an important                       19 pandemic in 2020.148 Domestic oil
                                            73756).145                                               capability for estimating the emissions               consumption in 2022 rebounded to pre-
                                               In order to facilitate a comparison of                associated with an increase in biofuel                COVID–19 levels and is expected to
                                            the five models, we ran common                           consumption. Models included in the                   modestly decline during the timeframe
                                            scenarios through each of them. We                       model comparison exercise produced a                  of this final rule, 2023–2025.149 The
                                            defined a purely hypothetical reference                  wider range of LCA GHG estimates for                  U.S. has increased its production of oil,
                                            case, for modeling purposes only, with                   soybean oil biodiesel than corn ethanol.              particularly ‘‘tight’’ (i.e., shale) oil, over
                                            U.S. biofuel consumption volumes from                    The models show much greater                          the last decade.150 Mainly as a result of
                                            2020–2050 set at their average level                     diversity in feedstock sourcing strategies            this increase, the U.S. became a net
                                            from 2016–2019 (e.g., approximately                      for soybean oil biodiesel than they do                exporter of crude oil and petroleum-
                                            14.8 billion gallons of corn ethanol and                 for corn ethanol, and this wider range of             based products in 2020 and is now
                                            1.2 billion gallons of soybean oil                       options contributes to greater variability            projected to be a net exporter of crude
                                            biodiesel). We then simulated a corn                     in the GHG results. Sensitivity analysis,             oil and petroleum-based products
                                            ethanol shock scenario in which the                      which considers uncertainty within a                  during the time frame of this final rule,
                                            U.S. consumes an additional one billion                  given model, can help identify which                  2023–2025.151 152 This is a significant
                                            gallons of corn ethanol in 2030 and in                   parameters influence model results.                   reversal of the U.S.’ net export position
                                            each year after that through 2050, with                  However, pinpointing the direct causes                since the U.S. had been a substantial net
                                            all other U.S. biofuel volumes set at the                of why one estimate differs from another              importer of crude oil and petroleum-
                                            reference scenarios levels. We also                      would require additional research.                    based products starting in the early
                                            simulated a similar soy biodiesel shock                                                                        1950s.153
                                            scenario where the U.S. consumes an                      B. Energy Security                                      In the beginning of 2022, world oil
                                            additional one billion gallons of                           Another factor that we are required                prices rose fairly rapidly. For example,
                                            soybean oil biodiesel in the same time                   under the statute to analyze is energy                as of January 3rd, 2022, the West Texas
                                            frame. For the dynamic models (i.e.,                     security. Changes in the required                     Intermediate (WTI) crude oil price was
                                            ADAGE, GCAM, GLOBIOM), we                                volumes of renewable fuel can affect the              roughly $76 per barrel.154 The WTI oil
                                            simulated the shocks as increasing                       financial and strategic risks associated              price increased to roughly $124 per
                                            linearly from 2020 to 2030, and then                     with U.S. imports of petroleum, which                 barrel on March 8th, 2022, a 63 percent
                                            held the shocks constant at their 2030                   in turn would have a direct impact on                 increase.155 High and volatile oil prices
                                            levels through 2050.                                     the U.S.’ national energy security.                   in the first half of 2022 were a result of
                                               While the details of the model                           The candidate volumes for the years                oil supply concerns with Russia’s
                                            comparison results are discussed in the                  2023–2025 would represent increases in                invasion of Ukraine on February 24th,
                                            Model Comparison Exercise Technical                      comparison to previous years and, also,               2022 contributing to crude oil price
                                            Document, we conclude this section by                    increases in comparison to a No RFS                   increases.156 Russia’s invasion of
                                            summarizing some of our broad                            baseline. Increasing the use of                       Ukraine came during eight consecutive
                                            conclusions from this exercise. Supply                   renewable fuels in the U.S. displaces
                                                                                                                                                              147 Greene, D. 2010. Measuring energy security:
                                            chain LCA models, such as GREET,                         domestic consumption of petroleum-                    Can the United States achieve oil independence?
                                            produce a fundamentally different                        based fuels, which results in a reduction             Energy Policy 38. pp. 164–1621.
                                            analysis than economic models. Supply                    in U.S. imports of petroleum and                         148 U.S. Energy Information Administration. 2023.

                                            chain LCA models evaluate the GHG                        petroleum-based fuels. A reduction of                 Total Energy. Monthly Energy Review. Table 3.1.
                                                                                                                                                           Petroleum Overview. March.
                                            emissions emanating from a particular                    U.S. petroleum imports reduces both                      149 U.S. Energy Information Administration. 2023.
                                            supply chain, whereas economic models                    financial and strategic risks caused by               Annual Energy Outlook 2023. Reference Case. Table
                                            evaluate the GHG impacts of a change                     potential sudden disruptions in the                   A11. Petroleum and Other Liquids Supply and
                                            in biofuel consumption. Estimates of                     supply of imported petroleum to the                   Disposition.
                                                                                                                                                              150 https://www.eia.gov/energyexplained/oil-and-
                                            land use change vary significantly                       U.S., thus increasing U.S. energy
                                                                                                                                                           petroleum-products/images/u.s.tight_oil_
                                            among the models used in this study.                     security.                                             production.jpg.
                                            Drivers of variation in these estimates                     Energy security and energy                            151 https://www.eia.gov/energyexplained/oil-and-

                                            include differences in assumptions                       independence are distinct but related                 petroleum-products/imports-and-exports.php.
                                            related to trade, the substitutability of                concepts. U.S. energy security is                        152 U.S. Energy Information Administration. 2023.

                                                                                                     commonly defined as the continued                     Annual Energy Outlook 2023. Reference Case. Table
                                            food and feed products, and land                                                                               A11. Petroleum and Other Liquids Supply and
                                            conversion, as well as structural                        availability of energy sources at an                  Disposition.
                                            differences in how models represent                      acceptable price.146 The goal of U.S.                    153 EIA https://www.eia.gov/energyexplained/oil-

                                            land categories. Economic modeling of                    energy independence is the elimination                and-petroleum-products/imports-and-exports.php.
                                                                                                                                                              154 U.S. Energy Information Administration. 2022.
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                                            the energy sector may be required to                     of all U.S. imports of petroleum and
                                                                                                                                                           Petroleum and Other Liquids: Spot Prices. https://
                                            avoid overestimating the emissions                       other foreign sources of energy, or more              www.eia.gov/dnav/pet/pet_pri_spt_s1_d.htm.
                                                                                                     broadly, reducing the sensitivity of the                 155 Id.
                                              145 Because the biofuel GHG modeling workshop                                                                   156 U.S. Energy Information Administration.

                                            was not used in any way to inform this rulemaking,         146 IEA. Energy Security: Reliable, affordable      Today in Energy. Crude oil prices increased in the
                                            we have not included any of the documents from           access to all fuels and energy sources. 2019.         first half of 2022 and declined in the second half
                                            that event as part of the record for this rulemaking.    December.                                             of 2022. January.



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                                            quarters (from the third quarter of 2020                                     supply disruptions. Also, oil exporters                                         payment, and thus exclude it from the
                                            to the second quarter of 2022) of global                                     with a large share of global production                                         estimated quantified benefits of the
                                            crude oil inventory decreases.157 The                                        have the ability to raise or lower the                                          candidate volumes.163 Thus, we only
                                            lower inventory of crude oil stocks were                                     price of oil by exerting their market                                           consider the macroeconomic
                                            the result of rising economic activity                                       power through the Organization of                                               disruption/adjustment cost component
                                            after COVID–19 pandemic restrictions                                         Petroleum Exporting Countries (OPEC)                                            of oil import premiums (i.e., labeled
                                            were eased. Oil prices drifted                                               to alter oil supply relative to demand.                                         macroeconomic oil security premiums
                                            downwards throughout the second half                                         These factors contribute to the                                                 below), estimated using ORNL’s
                                            of 2022 and early 2023. As of March                                          vulnerability of the U.S. economy to                                            methodology.
                                            13th, 2023, the WTI crude oil price was                                      episodic oil supply shocks and price
                                                                                                                                                                                                            For this final rule, EPA and ORNL
                                            roughly $75/barrel.158                                                       spikes, even when the U.S. is projected
                                               Geopolitical disruptions that occurred                                                                                                                    have worked together to revise the oil
                                                                                                                         to be an overall net exporter of crude oil
                                            in 2022 are likely to continue to affect                                                                                                                     import premiums based upon recent
                                                                                                                         and petroleum-based products.
                                            global trade of crude oil and petroleum                                         In order to understand the energy                                            energy security literature and the most
                                            products in 2023 and beyond. In                                              security implications of reducing U.S.                                          recently available oil price projections
                                            response to Russia’s invasion of Ukraine                                     oil imports, EPA has worked with Oak                                            and energy market and economic trends
                                            in late February 2022, the U.S. and                                          Ridge National Laboratory (ORNL),                                               from EIA’s 2023 Annual Energy
                                            many of its allies, particularly in                                          which has developed approaches for                                              Outlook.164 We do not consider military
                                            Europe, announced various sanctions                                          evaluating the social costs/impacts and                                         cost impacts from reduced oil use from
                                            against Russia’s petroleum industry.159                                      energy security implications of oil use,                                        the candidate volumes due to
                                            For the European Union (EU),                                                 labeled the oil import or oil security                                          methodological issues in quantifying
                                            petroleum from Russia had accounted                                          premium. ORNL’s methodology                                                     these impacts. A discussion of the
                                            for a large share of all energy imports,                                     estimates two distinct costs/impacts of                                         difficulties in quantifying military cost
                                            but the EU banned imports of crude oil                                       importing petroleum into the U.S., in                                           impacts is in RIA Chapter 5.
                                            from Russia starting in December 2022                                        addition to the purchase price of                                                  To calculate the energy security
                                            and imports of petroleum products                                            petroleum itself: first, the risk of                                            benefits of the candidate volumes, we
                                            starting in February 2023.160 Given                                          reductions in U.S. economic output and                                          are using the ORNL macroeconomic oil
                                            recent oil market trends, the U.S. set a                                     disruption to the U.S. economy caused                                           security premiums combined with
                                            new record for petroleum product                                             by sudden disruptions in the supply of                                          estimates of annual reductions in
                                            exports in 2022, up 7% from 2021.161 It                                      imported oil to the U.S. (i.e., the                                             aggregate net U.S. crude oil imports/
                                            is not clear to what extent the current                                      macroeconomic disruption/adjustment                                             petroleum product imports as a result of
                                            oil price volatility will continue,                                          costs); and secondly, the impacts that                                          the candidate volumes. A discussion of
                                            increase, or be transitory in the 2023–                                      changes in U.S. oil imports have on                                             the methodology used to estimate
                                            2025 time period addressed by this rule.                                     overall U.S. oil demand and subsequent                                          changes in U.S. annual net crude oil
                                               Although the U.S. is projected to be                                      changes in the world oil price (i.e., the                                       imports/petroleum product imports
                                            a net exporter of crude oil and                                              ‘‘demand’’ or ‘‘monopsony’’ impacts).162                                        from the candidate volumes is provided
                                            petroleum-based products over the                                               For this final rule, as has been the                                         in RIA Chapter 5. Table IV.B–1 below
                                            2023–2025 timeframe, energy security                                         case for past EPA rulemakings under the                                         presents the macroeconomic oil security
                                            remains a concern. U.S. refineries still                                     RFS program, we consider the                                                    premiums and the total energy security
                                            rely on significant imports of heavy                                         monopsony component estimated by the                                            benefits for the candidate volumes for
                                            crude oil which could be subject to                                          ORNL methodology to be a transfer                                               2023–2025.

                                             TABLE IV.B–1—MACROECONOMIC OIL SECURITY PREMIUMS AND TOTAL ENERGY SECURITY BENEFITS FOR 2023–2025 a
                                                                                                                                                                                                            Macroeconomic oil        Total energy security
                                                                                                                     Year                                                                                   security premiums               benefits
                                                                                                                                                                                                              (2022$/barrel of         (millions 2022$)
                                                                                                                                                                                                             reduced imports)

                                            2023 (Including the supplemental standard) .......................................................................................                                             $3.75                      $192
                                                                                                                                                                                                                   ($0.86–$6.81)                ($44–$349)
                                            2023 (Excluding the supplemental standard) ......................................................................................                                              $3.75                      $180
                                                                                                                                                                                                                   ($0.86–$6.81)                ($41–$326)
                                            2024 .....................................................................................................................................................                     $3.70                      $173
                                                                                                                                                                                                                   ($0.69–$6.87)                ($32–$321)
                                            2025 .....................................................................................................................................................                     $3.67                      $187
                                                                                                                                                                                                                   ($0.65–$6.87)                ($33–$350)
                                               a Top values in each cell are the mean values, while the values in parentheses define 90 percent confidence intervals.




                                              157 Id.                                                                       161 Id.                                                                      e.g., Section 3.2.5, Oil Security Premiums Used for
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                                              158 EIA. Petroleum and Other Liquids Spot Prices.                             162 Monopsony impacts stem from changes in the                               this Rule, RIA, Revised 2023 and Later Model Year
                                            https://www.eia.gov/dnav/pet/pet_pri_spt_s1_                                 demand for imported oil, which changes the price                                Light-Duty Vehicle GHG Emissions Standards,
                                            d.htm.                                                                       of all imported oil.                                                            December 2021, EPA–420–F–21–077.
                                              159 U.S. Energy Information Administration. 2023.                            163 See the RIA for more discussion of EPA’s                                    164 See RIA Chapter 5.4.2 for how the

                                            Today in Energy. U.S. Petroleum product exports                              assessment of monopsony impacts of this final rule.                             macroeconomic oil security premiums have been
                                            set a record high in 2022. March.                                            Also, see the previous EPA GHG vehicle rule for a                               updated based upon a review of recent energy
                                              160 Id.                                                                    discussion of monopsony oil security premiums,                                  security literature on this topic.



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                                            C. Costs                                                                      • Blending value: In the case of                             on changes in the use of renewable fuels
                                                                                                                        ethanol blended as E10, there is a                             which displace fossil fuel use. The
                                               We assessed the cost impacts for the                                     blending value that mostly incorporates                        renewable fuel costs presented here do
                                            renewable fuels expected to be used for                                     ethanol’s octane value realized by lower                       not reflect any tax subsidies for
                                            the candidate volumes relative to a No                                      gasoline production costs, but also a
                                            RFS baseline, described in Section                                                                                                         renewable fuels which might be in
                                                                                                                        volatility cost that accounts for ethanol’s                    effect, since such subsidies are transfer
                                            III.D.1. Table III.E–1 provides a                                           blending volatility in RVP controlled
                                            summary of the volume changes that we                                                                                                      payments which are not relevant under
                                                                                                                        gasoline.                                                      a societal cost analysis.165 A detailed
                                            project would occur if the candidate                                          • Retail infrastructure cost: In the
                                            volumes were to be established as                                                                                                          discussion of the renewable fuel costs
                                                                                                                        case of higher ethanol blends, there is a
                                            applicable volume requirements for                                                                                                         relative to the fossil fuel costs is
                                                                                                                        retail cost since retail stations usually
                                            2023–2025, and it is these volume                                           need to add equipment or use                                   contained in RIA Chapter 10.
                                            changes relative to the No RFS baseline                                     compatible materials to enable the sale                           For each year for which we are
                                            which we analyzed for costs.                                                of these newer fuels.                                          finalizing volumes, Table IV.C.2–1
                                            1. Methodology                                                                • Fuel economy cost: different fuels                         provides the total annual cost of the
                                                                                                                        have different energy content leading to                       candidate volumes while Table IV.C.2–
                                              This section provides a brief                                             different fuel economy which impacts                           2 provides the per-unit cost (per gallon
                                            discussion of the methodology used to                                       the relative fossil fuel volume being                          or per thousand cubic feet) of the
                                            estimate the costs of the candidate                                         displaced and the cost to the consumer.                        biofuel. For the year 2023 costs, the
                                            volume changes over the years of 2023–                                        We added these various cost                                  estimated costs are shown both without
                                            2025. A more detailed discussion of                                         components together to reflect the cost
                                                                                                                                                                                       and with the costs associated with the
                                            how we estimated the renewable fuel                                         of each biofuel.
                                                                                                                          We conducted a similar cost estimate                         Supplemental Standard renewable fuel
                                            costs, as well as the fossil fuel costs                                                                                                    volume. For both the total and per-unit
                                            being displaced, is contained in RIA                                        for the fossil fuels being displaced since
                                                                                                                        their relative cost to the biofuels is used                    cost, the cost of the total change in
                                            Chapter 10.
                                                                                                                        to estimate the net cost of the increased                      renewable fuel volume is expressed over
                                              The cost analysis compares the cost of                                                                                                   the gallons of the respective fossil fuel
                                            an increase in biofuel to the cost of the                                   use of biofuels. Unlike for biofuels,
                                                                                                                        however, we did not calculate                                  in which it is blended. For example, the
                                            fossil fuel it displaces. There are various                                                                                                costs associated with corn ethanol
                                            components to the cost of each biofuel:                                     production costs for the fossil fuels
                                                                                                                        since their production costs are inherent                      relative to that of gasoline are reflected
                                              • Production cost: biofuel feedstock                                      in the wholesale price projections                             as a cost over the entire gasoline pool,
                                            cost is usually the prominent factor.                                       provided by the Energy Information                             and biodiesel and renewable diesel
                                              • Distribution cost: Because the                                          Administration in its Annual Energy                            costs are reflected as a cost over the
                                            biofuel often has a different energy                                        Outlook 2023.                                                  diesel fuel pool. Biogas displaces
                                            density, the distribution costs are                                                                                                        natural gas use as CNG in trucks, so it
                                            estimated all the way to the point of use                                   2. Estimated Cost Impacts
                                                                                                                                                                                       is reported relative to natural gas
                                            to capture the full fuel economy effect                                        In this section, we summarize the                           supply.
                                            of using these fuels.                                                       overall results of our cost analysis based

                                                                                                                       TABLE IV.C.2–1—TOTAL SOCIAL COSTS
                                                                                                                                           [Million 2022 dollars] a

                                                                                                                                                                                       2023 with
                                                                                                                                                                         2023        supplemental          2024               2025
                                                                                                                                                                                       standard

                                            Gasoline ...........................................................................................................               445               445              423                458
                                            Diesel ...............................................................................................................           7,610             8,238            6,775              7,769
                                            Natural Gas ......................................................................................................                  55                55              137                228

                                                  Total ..........................................................................................................           8,110             8,738            7,352              8,455
                                               a Total cost of the renewable fuel expressed over the fossil fuel it is blended into.



                                                                                          TABLE IV.C.2–2—PER-GALLON OR PER-THOUSAND CUBIC FEET COSTS
                                                                                                                                                  [2022 dollars]

                                                                                                                                                                                       2023 with
                                                                                                                                 Units                                   2023        supplemental          2024               2025
                                                                                                                                                                                       standard

                                            Gasoline ............................................        ¢/gal ..................................................             0.33              0.33             0.31               0.34
                                            Diesel ................................................      ¢/gal ..................................................            13.56             14.68            12.70              14.69
                                            Natural Gas .......................................          ¢/thousand ft 3 ..................................                  0.175             0.175            0.455              0.765
                                            Gasoline and Diesel ..........................               ¢/gal ..................................................             4.26              4.59             3.90               4.55
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                                              a Per-gallon or per thousand cubic feet cost of the renewable fuel expressed over the fossil fuel it is blended into; the last row expresses the
                                            cost over the obligated pool of gasoline and diesel fuel.

                                             165 Note that in developing the No RFS baseline                            those provided by the RFS program in determining               the volume of renewable fuels that would be used
                                            we did consider available subsidies other than                                                                                             in the absence of the RFS program.



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                                              The biofuel costs are higher than the                                    so the candidate volumes present a                                     factors. The per-unit costs from Table
                                            costs of the gasoline, diesel, and natural                                 smaller increase in renewable fuels                                    IV.C.2–2 are adjusted with estimated
                                            gas that they displace as evidenced by                                     volume relative to the No RFS baseline.                                RIN prices that account for the biofuel
                                            the increases in fuel costs shown in the                                   As described more fully in RIA Chapter                                 subsidies and other market factors, and
                                            above table associated with the                                            10, our assessment of costs did not yield                              the resulting values can be thought of as
                                            candidate volumes. The estimated costs                                     a specific threshold value below which                                 retail costs. Consistent with our
                                            estimated for this final rulemaking are                                    the incremental costs of biofuels are                                  assessment of the fuels markets, we
                                            much lower than that estimated for the                                     reasonable and above which they are                                    have assumed that obligated parties pass
                                            proposed rulemaking due to two                                             not. In Section VI we consider these                                   through their RIN costs to consumers
                                            primary factors. The first is that crude                                   directional inferences along with those                                and that fuel blenders reflect the RIN
                                                                                                                       for the other factors that we analyzed in
                                            oil prices from Annual Energy Outlook                                                                                                             value of the renewable fuels in the price
                                                                                                                       the context of our discussion of the
                                            2023, which we used to estimate costs                                                                                                             of the blended fuels they sell. More
                                                                                                                       volumes for 2023–2025.
                                            for the FRM, are much higher than that                                                                                                            detailed information on our estimates of
                                            of the proposal which was based on the                                     3. Cost To Transport Goods                                             the fuel price impacts of this rule can be
                                            previous version of the AEO. Higher                                           We also estimated the impact of the                                 found in RIA Chapter 10.5. Table
                                            crude oil prices reduce the relative cost                                  candidate volumes on the cost to                                       IV.C.3–1 summarizes the estimated
                                            of renewable fuels. The second reason is                                   transport goods. However, it is not                                    impacts of the candidate volumes on
                                            because of the higher crude oil prices,                                    appropriate to use the social cost for this                            gasoline and diesel fuel prices at retail
                                            greater volume of biodiesel and                                            analysis because the social costs are                                  when the costs of each biofuel is
                                            renewable diesel is found to be                                            effectively reduced by the cellulosic and                              amortized over the fossil fuel it
                                            economic for the No RFS baseline, and                                      biodiesel subsidies and other market                                   displaces.

                                                                                     TABLE IV.C.3–1—ESTIMATED EFFECT OF BIOFUELS ON RETAIL FUEL PRICES
                                                                                                                                                      [¢/gal]

                                                                                                                                                                                                2023               2024                2025

                                            Relative to No RFS Baseline:
                                                Gasoline ................................................................................................................................               2.4                3.2                   4.3
                                                Diesel ....................................................................................................................................            10.1               10.1                  11.1
                                            Relative to 2022 Baseline:
                                                Gasoline ................................................................................................................................               0.0               0.0                0.0
                                                Diesel ....................................................................................................................................             0.0              ¥0.4               ¥0.1



                                              For estimating the cost to transport                                     impacts are averaged over the combined                                 be quantitative or qualitative. For two of
                                            goods, we focus on the impact on diesel                                    gasoline and diesel fuel pool, the impact                              the statutory factors (fuel costs and
                                            fuel prices since trucks which transport                                   on produce prices would be                                             energy security benefits) we were able to
                                            goods are normally fueled by diesel fuel.                                  proportionally lower based on the lower                                quantify and monetize the expected
                                            Reviewing the data in Table IV.C.3–1,                                      per-gallon cost.                                                       impacts of the candidate volumes.168
                                            the largest projected price increase is                                                                                                           Information and specifics on how fuel
                                                                                                                       D. Comparison of Impacts
                                            11.1¢ per gallon for diesel fuel in 2025                                                                                                          costs are calculated are presented in RIA
                                            for the No RFS baseline.                                                     As explained in Section III of this
                                                                                                                                                                                              Chapter 10, while energy security
                                              The impact of fuel price increases on                                    rule, for those factors for which we
                                                                                                                                                                                              benefits are discussed in RIA Chapter 5.
                                            the price of goods can be estimated                                        quantified the impacts of the candidate
                                                                                                                                                                                              Summaries of the fuel costs and energy
                                            based upon a study conducted by the                                        volumes for 2023–2025, the impacts
                                                                                                                       were based on the difference in the                                    security benefits are shown in Tables
                                            United States Department of Agriculture
                                                                                                                       volumes of specific renewable fuel types                               IV.D–1 and 2. Impacts on other factors,
                                            (USDA) which analyzed the impact of
                                            fuel prices on the wholesale price of                                      between the candidate volumes and the                                  such as job creation and the price and
                                            produce.166 Applying the price                                             No RFS baseline. The No RFS baseline                                   supply of agricultural commodities, are
                                            correlation from the USDA study would                                      assumes the RFS program remains intact                                 quantified but have not been monetized.
                                            indicate that the 11.1¢ per gallon diesel                                  through 2022 but ceases to exist                                       Further information and the quantified
                                            fuel cost increment associated with the                                    thereafter. As explained in Section VI,                                impacts of the candidate volumes on
                                            2025 RFS volumes which increases                                           we then go on to finalize these                                        these factors can be found in the RIA.
                                            retail prices by about 2.8 percent, would                                  candidate volumes after evaluating them                                We were not able to quantify many of
                                            then increase the wholesale price of                                       against the statutory factors. Congress                                the impacts of the candidate volumes,
                                            produce by about 0.7 percent. If produce                                   provided EPA flexibility by enumerating                                including impacts on many of the
                                            being transported by a diesel truck costs                                  factors to consider without rigidly                                    statutory factors such as the
                                            $3 per pound, the increase in that                                         mandating the specific steps or manner                                 environmental impacts (water quality
                                            product’s price would be $0.02 per                                         of analysis that EPA should undertake,                                 and quantity, soil quality, etc.) and rural
                                            pound.167 If the estimated program price                                   including whether the assessment must                                  economic development.
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                                              166 Volpe, Richard; How Transportation Costs                               167 Comparing Prices on Groceries; May 4, 2021:                        168 Due to the uncertainty related to the GHG

                                            Affect Fresh Fruit and Vegetable Prices; United                            http://www.coupons.com/thegoodstuff/comparing-                         emission impacts of the volumes (discussed in
                                            States Department of Agriculture; November 2013.                           prices-on-groceries.                                                   further detail in RIA Chapter 4.2) we have not
                                                                                                                                                                                              included a quantified projection of the GHG
                                                                                                                                                                                              emission impacts of this rule.



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                                                                                                     TABLE IV.D–1—FUEL COSTS OF THE 2023–2025 VOLUMES
                                                                                                                                           [2022 dollars, millions] a

                                                                                                                                                                                                                 Discount rate
                                                                                                                 Year
                                                                                                                                                                                                   0%                 3%          7%

                                            2023:
                                                Excluding Supplemental Standard .......................................................................................                              $8,110             $8,110      $8,110
                                                Including Supplemental Standard ........................................................................................                              8,738              8,738       8,738
                                            2024 .............................................................................................................................................        7,352              7,138       6,871
                                            2025 .............................................................................................................................................        8,455              7,970       7,385
                                            Cumulative Discounted Costs:
                                                Excluding Supplemental Standard .......................................................................................                              23,917             23,218      22,366
                                                Including Supplemental Standard ........................................................................................                             24,545             23,846      22,994
                                              a These costs represent the costs of producing and using biofuels relative to the petroleum fuels they displace. They do not include other fac-
                                            tors, such as the potential impacts on soil and water quality or potential GHG reduction benefits.

                                                                                      TABLE IV.D–2—ENERGY SECURITY BENEFITS OF THE 2023–2025 VOLUMES
                                                                                                                                            [2022 dollars, millions]

                                                                                                                                                                                                                 Discount rate
                                                                                                                 Year
                                                                                                                                                                                                   0%                 3%          7%

                                            2023:
                                                Excluding Supplemental Standard .......................................................................................                                 $180               $180        $180
                                                Including Supplemental Standard ........................................................................................                                 192                192         192
                                            2024 .............................................................................................................................................           173                168         162
                                            2025 .............................................................................................................................................           187                177         164
                                            Cumulative Discounted Benefits:
                                                Excluding Supplemental Standard .......................................................................................                                  540                524         505
                                                Including Supplemental Standard ........................................................................................                                 552                536         517



                                              All of the statutory factors were taken                                   Populations) and 14096 (Revitalizing                                     Executive Order 14008 (86 FR 7619;
                                            under consideration, as is required by                                      Our Nation’s Commitment to                                               February 1, 2021) also calls on federal
                                            the statute, regardless of whether or not                                   Environmental Justice for All) establish                                 agencies to make achieving
                                            we were able to quantify or monetize                                        federal executive policy on                                              environmental justice part of their
                                            the impact of the candidate volumes on                                      environmental justice. Its main                                          missions ‘‘by developing programs,
                                            each of the statutory factors.                                              provision directs federal agencies, to the                               policies, and activities to address the
                                                                                                                        greatest extent practicable and                                          disproportionately high and adverse
                                            E. Assessment of Environmental Justice
                                                                                                                        permitted by law, to make                                                human health, environmental, climate-
                                               Although the statute identifies a                                        environmental justice part of their                                      related and other cumulative impacts on
                                            number of environmental factors that                                        mission by identifying and addressing,                                   disadvantaged communities, as well as
                                            we must analyze as described in Section                                     as appropriate, disproportionately high                                  the accompanying economic challenges
                                            I, environmental justice is not explicitly                                  and adverse human health or                                              of such impacts.’’ It also declares a
                                            included in those factors. Nonetheless                                      environmental effects of their programs,                                 policy ‘‘to secure environmental justice
                                            as explained in Section II.B, EPA has                                       policies, and activities on communities                                  and spur economic opportunity for
                                            discretion under the statute to consider                                    with environmental justice concerns in                                   disadvantaged communities that have
                                            environmental justice, and has chosen                                       the United States. EPA defines                                           been historically marginalized and
                                            to do so. Specifically, EPA views                                           environmental justice as the fair                                        overburdened by pollution and under-
                                            consideration of environmental justice                                      treatment and meaningful involvement                                     investment in housing, transportation,
                                            as an aspect of our consideration of the                                    of all people regardless of race, color,                                 water and wastewater infrastructure and
                                            statutory factors ‘‘the impact of the                                       national origin, or income with respect                                  health care.’’ EPA also released its
                                            production and use of renewable fuels                                       to the development, implementation,                                      ‘‘Technical Guidance for Assessing
                                            on the environment,’’ ‘‘the impact of the                                   and enforcement of environmental laws,                                   Environmental Justice in Regulatory
                                            use of renewable fuels on the cost to                                       regulations, and policies.169 To the                                     Analysis’’ (U.S. EPA, 2016) to provide
                                            consumers of transportation fuel and on                                     extent that environmental justice (EJ)                                   recommendations that encourage
                                            the cost to transport goods,’’ and ‘‘the                                    considerations played a role in our                                      analysts to conduct the highest quality
                                            impact of the use of renewable fuels on                                     analysis of the candidate volumes and                                    analysis feasible, recognizing that data
                                            other factors, including . . . food                                         volume requirements, we considered EJ                                    limitations, time and resource
                                            prices.’’ (CAA section 211(o)(2)(B)(ii)(I),                                 only as it affected the statutory factors                                constraints, and analytic challenges will
                                            (V), (VI)). Our consideration of                                            in CAA section 211(o)(2)(B)(ii).                                         vary by media and circumstance.
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                                            environmental justice is authorized by                                                                                                                  When assessing the potential for
                                            and supports our analysis of these                                            169 E.O. 12898, E.O. 14008, and EPA’s guidances                        disproportionately high and adverse
                                            statutory factors. However, Executive                                       do not serve as the legal basis for EPA’s                                health or environmental impacts of
                                                                                                                        consideration of environmental justice in this
                                            Orders 12898 (Federal Actions to                                            action. As explained above, the legal basis for EPA’s
                                                                                                                                                                                                 regulatory actions on communities with
                                            Address Environmental Justice in                                            consideration of environmental justice is found in                       environmental justice concerns, EPA
                                            Minority Populations, and Low-Income                                        the CAA.                                                                 strives to answer three broad questions:


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                                               • Is there evidence of potential                      people with low socioeconomic status                    been the focus of past research which
                                            environmental justice (EJ) concerns in                   (SES) represent a higher fraction of the                has found that vulnerable populations
                                            the baseline (the state of the world                     population compared with the general                    near them may experience potential
                                            absent the regulatory action)? Assessing                 population.170 171 172 173 Consistent with              disparities in pollution-related health
                                            the baseline allows EPA to determine                     this evidence, a recent study found that                risk from that source.179
                                            whether pre-existing disparities are                     most anthropogenic sources of PM2.5,                       RIA Chapter 4.1 summarizes what is
                                            associated with the pollutant(s) under                   including industrial sources, and light-                known about potential air quality
                                            consideration (e.g., if the effects of the               and heavy-duty vehicle sources,                         impacts of the candidate volumes
                                            pollutant(s) are more concentrated in                    disproportionately affect people of                     assessed for this rule. We expect that
                                            some population groups).                                 color.174 There is also substantial                     small increases in non-GHG emissions
                                               • Is there evidence of potential EJ                   evidence that people who live or attend                 from biofuel production and small
                                            concerns for the regulatory option(s)                    school near major roadways are more                     reductions in petroleum-based
                                            under consideration? Specifically, how                   likely to be of a minority race, Hispanic               emissions would lead to small changes
                                            are the pollutant(s) and its effects                     ethnicity, and/or low socioeconomic                     in exposure to these non-GHG
                                            distributed for the regulatory options                   status.175 176 177 As this rulemaking                   pollutants for people living in the
                                            under consideration?                                     would displace petroleum-based fuels                    communities near these facilities. We do
                                               • Do the regulatory option(s) under                   with biofuels, we have examined near-                   not have the information needed to
                                            consideration exacerbate or mitigate EJ                  facility demographics of biodiesel,                     understand the exact magnitude and
                                            concerns relative to the baseline?                       renewable diesel, RNG, ethanol, and                     direction of travel (i.e., how these
                                               It is not always possible to                          petroleum facilities.                                   potential pollutants drift into nearby
                                            quantitatively assess these questions,                      Emissions of non-GHG pollutants                      areas) of facility-specific emissions
                                            though it may still be possible to                       associated with the candidate volumes,                  associated with the candidate volumes,
                                            describe them qualitatively.                             including, for example, PM, NOx, CO,                    and therefore we are unable to evaluate
                                               EPA’s 2016 Technical Guidance does                    SO2, and air toxics, occur during the                   impacts on air quality in the specific
                                            not prescribe or recommend a specific                    production, storage, transport,                         communities with environmental
                                            approach or methodology for                              distribution, and combustion of                         concerns near biofuel and petroleum
                                            conducting an environmental justice                      petroleum-based fuels and biofuels.178                  facilities. However, modeled averaged
                                            analysis, though a key consideration is                  EJ communities may be located near                      facility emissions for biodiesel, ethanol,
                                            consistency with the assumptions                         petroleum and biofuel production                        gasoline, and diesel production do offer
                                            underlying other parts of the regulatory                 facilities as well as their distribution                some insight into the differences these
                                            analysis when evaluating the baseline                    systems. Given their long history and                   near-facility populations may
                                            and regulatory options. Where                            prominence, petroleum refineries have                   experience, as seen in RIA Table 4.1.1–
                                            applicable and practicable, EPA                                                                                  1.
                                            endeavors to conduct such an analysis.                      170 Mohai, P.; Pellow, D.; Roberts Timmons, J.          Both biofuel facilities and petroleum
                                            Going forward, EPA is committed to                       (2009) Environmental justice. Annual Reviews 34:        refineries could see changes to their
                                                                                                     405–430. https://doi.org/10.1146/annurev-environ-
                                            conducting environmental justice                         082508-094348.
                                                                                                                                                             production output as a result of
                                            analysis for rulemakings based on a                         171 Rowangould, G.M. (2013) A census of the          candidate volumes analyzed in this
                                            framework similar to what is outlined in                 near-roadway population: public health and              proposed rule, and as a result the air
                                            EPA’s Technical Guidance, in addition                    environmental justice considerations. Trans Res D       quality near these facilities may change.
                                                                                                     25: 59–67. http://dx.doi.org/10.1016/j.trd.2013.
                                            to investigating ways to further weave                   08.003.
                                                                                                                                                             We examined demographics based on
                                            environmental justice into the fabric of                    172 Marshall, J.D., Swor, K.R.; Nguyen, N.P (2014)   2020 American Community Survey data
                                            the rulemaking process.                                  Prioritizing environmental justice and equality:        near both registered biofuel facilities
                                               In accordance with Executive Orders                   diesel emissions in Southern California. Environ        and petroleum refineries to identify any
                                            12898 and 14008, as well as EPA’s 2016                   Sci Technol 48: 4063–4068. https://doi.org/10.1021/     disproportionate impacts these volume
                                                                                                     es405167f.
                                            Technical Guidance, we have assessed                        173 Marshall, J.D. (2000) Environmental              changes may have on nearby
                                            demographics near biofuel and                            inequality: air pollution exposures in California’s     communities with EJ concerns.180
                                            petroleum-based fuel facilities to                       South Coast Air Basin. Atmos Environ 21: 5499–          Information on these populations and
                                            identify populations that may be                         5503. https://doi.org/10.1016/j.atmosenv.               potential impacts upon them are further
                                                                                                     2008.02.005.
                                            affected by changes to fuel production                      174 C. W. Tessum, D. A. Paolella, S. E. Chambliss,
                                                                                                                                                             discussed in RIA Chapter 9. Several
                                            volumes that result in changes to air                    J. S. Apte, J. D. Hill, J. D. Marshall (2021). PM2.5    regional disparities have been identified
                                            quality. The displacement of fuels such                  polluters disproportionately and systemically affect    in near-refinery populations. For
                                            as gasoline and diesel by biofuels has                   people of color in the United States. Sci. Adv. 7,      example, people of color and other
                                                                                                     eabf4491.                                               minority groups near petroleum and
                                            positive GHG benefits which                                 175 Rowangould, G.M. (2013) A census of the U.S.
                                            disproportionately benefit EJ                            near-roadway population: public health and              renewable diesel facilities are more
                                            communities. We have also considered                     environmental justice considerations.                   likely to be disproportionately affected
                                            the effects of the RFS program on fuel                   Transportation Research Part D; 59–67.                  by production emissions from these
                                                                                                        176 Tian, N.; Xue, J.; Barzyk. T.M. (2013)
                                            and food prices, as low-income                                                                                   facilities, especially in EPA Regions 3–
                                                                                                     Evaluating socioeconomic and racial differences in
                                            populations often spend a larger                         traffic-related metrics in the United States using a
                                                                                                                                                             7 and Region 9, where a greater
                                            percentage of their earnings on these                    GIS approach. J Exposure Sci Environ Epidemiol          proportion of minorities live within a 5
                                            commodities compared to the rest of the                  23: 215–222.
                                                                                                        177 Boehmer, T.K.; Foster, S.L.; Henry, J.R.;          179 Final Petroleum Refinery Sector Risk and
                                            U.S.
                                                                                                     Woghiren-Akinnifesi, E.L.; Yip, F.Y. (2013)             Technology Review and New Source Performance
                                            1. Air Quality                                           Residential proximity to major highways—United          Standards, https://www.epa.gov/sites/default/files/
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                                                                                                     States, 2010. Morbidity and Mortality Weekly            2016-06/documents/2010-0682_factsheet_
                                               There is evidence that communities                    Report 62(3): 46–50.                                    overview.pdf.
                                            with EJ concerns are impacted by non-                       178 U. S. EPA (2023) Health and environmental          180 U.S. EPA (2014). Risk and Technology

                                            GHG emissions. Numerous studies have                     effects of pollutants discussed in chapter 4 of         Review—Analysis of Socio-Economic Factors for
                                                                                                     regulatory impact analysis (RIA) supporting RFS         Populations Living Near Petroleum Refineries.
                                            found that environmental hazards such                    standards for 2023–2025. Memorandum from                Office of Air Quality Planning and Standards,
                                            as air pollution are more prevalent in                   Margaret Zawacki to Docket No. EPA–HQ–OAR–              Research Triangle Park, North Carolina. Jan. 6,
                                            areas where racial/ethnic minorities and                 2021–0427.                                              2014.



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                                            kilometer radius of these facilities,                                   ethanol or upgrading biogas to RNG                                   the food prices we project with the No
                                            compared to the regional averages.                                      during the timeframe of this rule.                                   RFS baseline. The impacts on food
                                            Some regions are also characterized by                                                                                                       prices decline with the projected
                                                                                                                    2. Other Environmental Impacts
                                            a higher proportion of minority                                                                                                              decline in commodity prices in future
                                            populations near facilities, though none                                  As discussed in RIA Chapter 4.5, the                               years. These food price impacts are in
                                            more consistently than Regions 4, 6, 7,                                 increases in renewable fuel volumes—                                 addition to the higher costs to transport
                                            and 9, which are regions that contain                                   particularly corn ethanol and soy                                    all goods, including food, discussed in
                                            the majority of petroleum facilities and                                renewable diesel—that may result from                                Section IV.C.3. These impacts, while
                                            the majority of facilities that are near                                the candidate volumes can impact water                               generally small, are borne more heavily
                                            large population centers. Ethanol and                                   and soil quality, which could in turn                                by low-income populations, as they
                                            RNG facilities are seen as lower risk                                   have disproportionate impacts on                                     spend a disproportionate amount of
                                            compared to soy biodiesel from a                                        communities of concern. In addition,                                 their income on goods in these
                                                                                                                    biogas used that is upgraded to RNG                                  categories. For instance, those in the
                                            demographic perspective, as many
                                                                                                                    may have localized soil or water                                     bottom two quintiles of consumer
                                            ethanol and RNG facilities are in
                                                                                                                    impacts. The associated manure                                       income in the U.S. are more likely to be
                                            sparsely populated areas or have lower                                  collection and agricultural anaerobic                                black, women, and people with a high
                                            impacts on air quality. RNG facilities                                  digesters may decrease pathogen risk in                              school education or less, while also
                                            introduced to the RFS program may also                                  water, but without proper treatment,                                 spending a proportionally larger fraction
                                            reduce production emissions by                                          excess nutrient pollution can also be a                              of their income on food and fuel. The
                                            processing otherwise flared biogas in                                   concern.                                                             lowest quintile of consumer units by
                                            some cases, making the effect of facility                                                                                                    income will spend 16 percent of their
                                            production emissions on nearby                                          3. Economic Impacts
                                                                                                                                                                                         income on food as a result of the RFS
                                            populations unclear. The candidate                                        The candidate volumes could have an                                program, up from 15.8 percent
                                            volumes by and large would not result                                   impact on food and fuel prices                                       currently, while the second lowest
                                            in significantly greater production of                                  nationwide, as discussed in RIA                                      quintile of consumer units by income
                                            corn ethanol or biogas than exists                                      Chapters 8.5 and 10.5. We estimate that                              will spend 13.4 percent of their income
                                            already, and therefore we would not                                     the candidate volumes would result in                                on food as a result of the RFS program,
                                            expect appreciable adverse impacts on                                   food prices that are 0.72 percent higher                             up from 13.2 percent currently. These
                                            communities with EJ concerns near                                       in 2023, 0.63 percent higher in 2024,                                absolute values can be seen in Table
                                            facilities that are currently producing                                 and 0.55 percent higher in 2025, than                                IV.E.3–1.
                                                                                    TABLE IV.E.3–1—IMPACT ON TOTAL EXPENDITURES OF FOOD AND FUEL 181
                                                                                                                                                                                           2023                2024               2025

                                                                                                                                       All Consumer Units

                                            Food Expenditures .......................................................................................................................          $8,289             $8,289              $8,289
                                            Percent Impact on Food Expenditures ........................................................................................                       0.61%              0.50%               0.44%
                                            Projected Food Expenditure Increase .........................................................................................                      $50.56             $41.45              $36.59
                                            Fuel Expenditures ........................................................................................................................         $2,148             $2,148              $2,148
                                            Percent Impact on Fuel Expenditures .........................................................................................                      0.79%              1.23%               1.73%
                                            Projected Fuel Expenditure Increase ..........................................................................................                     $16.97             $26.42              $37.24

                                                                                                                       Lowest Quintile Income Consumer Units

                                            Food Expenditures .......................................................................................................................          $4,875             $4,875              $4,875
                                            Percent Impact on Food Expenditures ........................................................................................                       0.61%              0.50%               0.44%
                                            Projected Food Expenditure Increase .........................................................................................                      $29.74             $24.38              $21.52
                                            Fuel Expenditures ........................................................................................................................         $1,111             $1,111              $1,111
                                            Percent Impact on Fuel Expenditures .........................................................................................                      0.79%              1.23%               1.73%
                                            Projected Fuel Expenditure Increase ..........................................................................................                      $8.78             $13.67              $19.22

                                                                                                                Second-Lowest Quintile Income Consumer Units

                                            Food Expenditures .......................................................................................................................          $5,808             $5,808              $5,808
                                            Percent Impact on Food Expenditures ........................................................................................                       0.61%              0.50%               0.44%
                                            Projected Food Expenditure Increase .........................................................................................                      $35.43             $29.04              $25.63
                                            Fuel Expenditures ........................................................................................................................         $1,702             $1,702              $1,702
                                            Percent Impact on Fuel Expenditures .........................................................................................                      0.79%              1.23%               1.73%
                                            Projected Fuel Expenditure Increase ..........................................................................................                     $13.45             $20.93              $29.44



                                            V. Response to Remand of 2016                                           2014–2016 annual rule by the U.S.                                    gallons and the advanced biofuel and total
                                            Rulemaking                                                              Court of Appeals for the D.C. Circuit in                             renewable fuel requirements each by 3.64 billion
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                                                                                                                                                                                         gallons pursuant to the cellulosic waiver authority.
                                                                                                                    ACE.182 183 As discussed in the final rule                           CAA section 211(o)(7)(D). In the same rule, EPA
                                              In this action, we are completing the                                                                                                      further lowered the 2016 total renewable fuel
                                            process of addressing the remand of the                                 tables/calendar-year/aggregate-group-share/cu-                       requirement by 500 million gallons under the
                                                                                                                    income-quintiles-before-taxes-2020.pdf.                              general waiver authority for inadequate domestic
                                                                                                                      182 80 FR 77420 (December 14, 2015). In the                        supply. CAA section 211(o)(7)(A).
                                              181 Bureau of Labor and Statistics Consumer
                                                                                                                    2014–2016 rule, for year 2016 EPA lowered the                          183 In 2017, the D.C. Circuit vacated EPA’s use of

                                            Expenditure Survey, 2022. https://www.bls.gov/cex/                      cellulosic biofuel requirement by 4.02 billion                       the general waiver authority for inadequate



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                                            establishing applicable standards for                    proposed rulemaking.188 This                            deadlines for attest engagements and
                                            2020–2022,184 our approach to address                    supplemental standard has the same                      compliance demonstrations that apply
                                            the ACE remand is to impose a 500-                       practical effect as increasing the 2023                 to the 2023 standards also apply to the
                                            million-gallon supplemental volume                       total renewable fuel volume                             supplemental standard. The gasoline
                                            requirement for renewable fuel over two                  requirement by 250 million gallons, as                  and diesel volumes used by obligated
                                            years. This is equivalent to the volume                  compliance will be demonstrated using                   parties to calculate their obligation is
                                            of renewable fuel waived from the 2016                   the same RINs as used for the 2023                      their 2023 gasoline and diesel
                                            statutory volume requirement using a                     standard. The percentage standard for                   production or importation.
                                            waiver which was subsequently vacated                    the supplemental standard is calculated                 Additionally, obligated parties can use
                                            by the D.C. Circuit.185 We required the                  the same way as the 2023 percentage                     2022 RINs for up to 20 percent of their
                                            first 250-million-gallon supplement in                   standards (i.e., using the same gasoline                2023 supplemental standard.
                                            2022. We are now requiring a second                      and diesel fuel projections), such that                   Stakeholders provided comments on
                                            250-million-gallon supplement to be                      the supplemental standard is additive to                this approach, with some supporting
                                            complied with in 2023. This 2023                         the 2023 total renewable fuel percentage                EPA’s approach to the remand, and
                                            supplemental volume requirement, in                      standard. This approach provides a                      others suggesting that EPA should take
                                            combination with the 2022 supplement,                    meaningful remedy in response to the                    an alternative response. We respond to
                                            constitutes a meaningful remedy and                      court’s vacatur and remand in ACE and                   those comments in the RTC document.
                                            completes our response to the ACE                        effectuates the Congressionally                         1. Demonstrating Compliance With the
                                            vacatur and remand.                                      determined renewable fuel volume for                    2023 Supplemental Standard
                                               In the final rule establishing                        2016, modified only by the proper
                                            applicable standards for 2020–2022, we                   exercise of EPA’s waiver authorities, as                   As we did for the 2022 supplemental
                                                                                                     upheld by the court in ACE and in a                     standard, we are prescribing formats
                                            discussed the original 2016 renewable
                                                                                                     manner that can be implemented in the                   and procedures as specified in 40 CFR
                                            fuel standard, the ACE court’s ruling,
                                                                                                     near term. We are treating such a                       80.1451(j) for how obligated parties will
                                            and our responsibility on remand in
                                                                                                     supplemental standard as a supplement                   demonstrate compliance with the 2023
                                            detail.186 We also discussed our
                                                                                                     to the 2023 standards, rather than as a                 supplemental standard that simplifies
                                            consideration of alternative approaches
                                                                                                     supplement to standards for 2016,                       the process in this unique circumstance.
                                            to respond to the remand.187 We
                                                                                                     which has passed. In order to comply                    Although the proposed 2023
                                            maintain the same views on the
                                                                                                     with the supplemental standard,                         supplemental standard is a regulatory
                                            alternatives, including the alternatives
                                                                                                     obligated parties will need to retire                   requirement separate from and in
                                            identified by commenters, discussed in
                                                                                                     available RINs; it is thus logical to                   addition to the 2023 total renewable fuel
                                            that rulemaking, and since that
                                                                                                     require the retirement of available RINs                standard, obligated parties will submit a
                                            rulemaking have not identified any
                                                                                                     in the marketplace at the time of                       single annual compliance report for
                                            additional alternative approaches to
                                                                                                     compliance with this supplemental                       both the 2023 annual standards and the
                                            addressing the ACE vacatur and
                                                                                                     standard. As discussed below, it is no                  supplemental standard and will only
                                            remand. In particular, because we have
                                                                                                     longer possible for obligated parties to                report a single number for their total
                                            already begun our response by imposing
                                                                                                     comply with a 500-million-gallon 2016                   renewable fuel obligation in the 2023
                                            a 250-million-gallon supplemental
                                                                                                     obligation using 2015 and 2016 RINs as                  annual compliance report. Obligated
                                            standard in 2022, consideration of any
                                                                                                     required by our regulations. Thus,                      parties will also only need to submit a
                                            other alternatives is evaluated in light of
                                                                                                     compliance with a supplemental                          single annual attest engagement report
                                            that partial response.
                                                                                                     standard applied to 2016 would be                       for the 2023 compliance period that
                                            A. Supplemental 2023 Standard                            impossible barring EPA reopening                        covers both the 2023 annual standards
                                               We are completing the process of                      compliance for all years from 2016                      and the 2023 supplemental standard.
                                                                                                     onward. By applying the supplemental                       To assist obligated parties with this
                                            addressing the ACE remand by applying
                                                                                                     standard to 2023 instead of 2016, RINs                  special compliance situation, we will
                                            a supplemental volume requirement of
                                                                                                     generated in 2022 and 2023 can be used                  issue guidance with instructions on how
                                            250 million gallons of renewable fuel in
                                                                                                     to comply with the 2023 supplemental                    to calculate and report the values to be
                                            2023, on top of and in addition to the
                                                                                                     standard. Additionally, as provided by                  submitted in their 2023 compliance
                                            other 2023 volume requirements.
                                                                                                     our regulations, RINs generated in 2015                 reports, similar to how we intend to do
                                               Under this approach, the original
                                                                                                     and 2016 could only be used for 2015                    so for 2022.
                                            2016 standard for total renewable fuel
                                            will remain unchanged and the                            and 2016 compliance                                     2. Calculating a Supplemental
                                            compliance demonstrations that                           demonstrations,189 and obligated parties                Percentage Standard for 2023
                                            obligated parties made for it will                       had an opportunity at that time to                         The formulas in 40 CFR 80.1405(c) for
                                            likewise remain in place. A                              utilize those RINs for compliance or sell               calculating the applicable percentage
                                            supplemental standard for 2023 avoids                    them to other parties, while holding                    standards were designed explicitly to
                                            the difficulties associated with                         RINs that could be utilized for future                  associate a percentage standard for a
                                            reopening 2016 compliance, as                            compliance years.                                       particular year with the volume
                                            discussed in detail in the 2020–2022                        In applying a supplemental standard                  requirement for that same year. The
                                                                                                     to 2023, we are treating it like all other              formulas are not explicitly designed to
                                            domestic supply to reduce the 2016 total renewable       2023 standards in all respects. That is,                address the use of a 2016 volume
                                            fuels standard by 500 million gallons and remanded       producers and importers of gasoline and
                                            the 2014–2016 rule. 864 F.3d 691 (2017).                                                                         requirement to calculate a 2023
                                              184 87 FR 39600, 39627–39631 (July 1, 2022).
                                                                                                     diesel that are subject to the 2023                     percentage standard. Nonetheless, in
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                                              185 864 F.3d at 691.
                                                                                                     standards are subject to the                            light of EPA’s and obligated parties’
                                              186 87 FR 39600, 39627–39628 (July 1, 2022).           supplemental standard. The applicable                   familiarity with this approach and the
                                              187 87 FR 39600, 39628–39629 (July 1, 2022). We
                                                                                                          188 86 FR 72436, 72459–72460 (Dec. 21, 2022).
                                                                                                                                                             benefits of consistency within the
                                            also responded to alternative ideas provided by
                                            commenters. See also Renewable Fuel Standard               189 2016 RINs could also have been used for up        structure of RFS regulations, we find it
                                            (RFS) Program: RFS Annual Rules Response to              to 20 percent of an obligated party’s 2017              appropriate to apply the same general
                                            Comments, EPA–420–R–22–009 at 151–154.                   compliance demonstrations.                              approach to calculating a supplemental


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                                            percentage standard for 2023. Utilizing                  correct our prior action, and ‘‘ensure’’              obligated parties associated with a
                                            the same principles and general terms                    that the volume requirements ‘‘are met,’’             delayed rulemaking.194 When imposing
                                            allows for a formula that properly                       and we are doing so significantly after               a late or retroactive standard, we must
                                            utilizes the 250 million gallon                          November 30, 2015. Therefore, we have                 balance the burden on obligated parties
                                            supplemental volume, but the same                        considered how to balance benefits and                of a retroactive standard with the
                                            values used to calculate the 2023                        burdens and mitigate hardship by our                  broader goal of the RFS program to
                                            percentage standards, such that the                      late issuance of this standard. We                    increase renewable fuel use.195 The
                                            supplemental percentage standard is                      recognize that we used the same                       approach in this action implements a
                                            still properly additive.                                 authority to establish the 2022                       late standard, with partially retroactive
                                               The numerator in the formula in 40                    supplemental standard. As noted in that               effects, as described in these cases.
                                            CFR 80.1405(c) is the supplemental                       action, we had only provided a partial                Obligated parties made their RIN
                                            volume of 250 million gallons of total                   response to the ACE court’s remand and                acquisition decisions in 2016 based on
                                            renewable fuel. The values in the                        vacatur. This action now completes our                the standards as established in the
                                            denominator are the same as those used                   response. Additionally, as we have in                 2014–2016 standards final rule, and
                                            to calculate the 2023 percentage                         the past, we rely on our authority in                 they may have made different decisions
                                            standards, which can be found in Table                   CAA section 211(o)(2)(A)(i) to                        had we not reduced the 2016 total
                                            VII.C–1. As described in Section VII, the                promulgate late standards.191 CAA                     renewable fuel standard by 500 million
                                            resulting supplemental total renewable                   section 211(o)(2)(A)(i) requires that EPA             gallons using the general waiver
                                            fuel percentage standard for the 250-                    ‘‘ensure’’ that ‘‘at least’’ the applicable           authority. Were EPA to create a
                                            million-gallon volume requirement in                     volumes ‘‘are met.’’ 192 Because the D.C.             supplemental standard for 2016
                                            2023 is 0.14 percent.                                    Circuit vacated our waiver of 500                     designed to address the use of the
                                               The supplemental standard for 2023                    million gallons of total renewable fuel               general waiver authority in 2016, we
                                            is a requirement for obligated parties                   from the original 2016 standards, we are              would be imposing a wholly retroactive
                                            separate from and in addition to the                     now taking action to ensure that at least             standard on obligated parties, but
                                            2023 standard for total renewable fuel.                  the applicable volumes from 2016 are                  because obligated parties will comply
                                            The two percentage standards are listed                  ultimately met. We have determined                    with the supplemental standard in 2023,
                                            separately in the regulations at 40 CFR                  that the appropriate means to do so is                it would instead be a late standard
                                            80.1405(a), but in practice obligated                    through the use of two 250-million-                   applied in 2023, with partially
                                            parties will demonstrate compliance                      gallon supplemental standards, one in                 retroactive effects. Pursuant to the
                                            with both at the same time.                              2022, as finalized in a prior action, and             court’s direction, we have carefully
                                            B. Authority and Consideration of the                    one in 2023, as we are finalizing in this             considered the benefits and burdens of
                                            Benefits and Burdens                                     action.                                               our approach and considered and
                                                                                                        As noted elsewhere, we are finalizing              mitigated the burdens to obligated
                                               In establishing the 2016 total                                                                              parties caused by the lateness.196
                                            renewable fuel standard, EPA waived                      this action during the 2023 compliance
                                                                                                     year. Thus, our action is partly                         We believe that the approach we are
                                            the required volume of total renewable                                                                         finalizing provides benefits that
                                            fuel by 500 million gallons using the                    retroactive as to the compliance with
                                                                                                     the supplemental standard by obligated                outweigh potential burdens. Consistent
                                            inadequate domestic supply general                                                                             with the 2016 renewable fuel volume
                                            waiver authority. The use of that waiver                 parties. In analyzing the benefits and
                                                                                                     burdens attendant to this approach, we                requirement established by Congress,
                                            authority was vacated by the court in                                                                          the supplemental standards for 2022
                                            ACE and the rule was remanded to EPA.                    have also considered the partially
                                                                                                     retroactive nature of the rule. The                   and 2023 are together equivalent to the
                                            In order to remedy our improper use of                                                                         volume of total renewable fuel that we
                                            the inadequate domestic supply general                   issuance of the supplemental standard
                                                                                                     is thus a late standard, in that we are               inappropriately waived for the 2016
                                            waiver authority, we find that it is
                                                                                                     acting beyond the statutory deadline for              total renewable fuel standard. The use
                                            appropriate to treat our authority to
                                                                                                     a standard associated with the 2016                   of these supplemental standards phased
                                            establish a supplemental standard at
                                                                                                     volume requirements, and it is partially              across two compliance years provides a
                                            this time as the same authority used to
                                                                                                     retroactive as it is being finalized                  meaningful remedy to the D.C. Circuit’s
                                            establish the 2016 total renewable fuel
                                                                                                     partway through the compliance year                   vacatur of EPA’s use of the general
                                            volume requirement—CAA section
                                                                                                     during which it applies.                              waiver authority and remand of the
                                            211(o)(3)(B)(i)—which requires EPA to
                                                                                                        In ACE and two prior cases, the court              2016 rule in ACE. While this action
                                            establish percentage standard
                                                                                                     upheld EPA’s authority to issue late                  cannot result in additional renewable
                                            requirements by November 30 of the
                                            year prior to which the standards will                   renewable fuel standards, even those                  fuel used in 2016, it can result in
                                            apply and to ‘‘ensure’’ that the volume                  applied retroactively, so long as EPA’s               additional fuel use in 2023. We believe
                                            requirements ‘‘are met.’’ 190 EPA                        approach is reasonable.193 EPA must                   that while the additional volume in
                                            exercised this authority for the 2016                    consider and mitigate the burdens on                  2023 will put some moderate degree of
                                            standards once already. However, the                                                                           increased pressure on the market, it is
                                            effect of the ACE vacatur is that there
                                                                                                        191 In promulgating the 2009 and 2010 combined     nevertheless feasible and achievable.
                                                                                                     BBD standard, upheld by the D.C. Circuit in NPRA         We have carefully considered and
                                            remain 500 million gallons of total                      v. EPA, 630 F.3d 145 (2010), we utilized express      designed this approach to mitigate any
                                            renewable fuel from the 2016 statutory                   authority under section 211(o)(2). 75 FR 14670,
                                            volumes that were not included under                     14718.                                                burdens on obligated parties. First, we
                                            the original exercise of EPA’s authority                    192 See also CAA section 211(o)(2)(A)(iii)(I),     have considered the availability of RINs
                                            under CAA section 211(o)(3)(B)(i). We                    requiring that ‘‘regardless of the date of            to satisfy this additional requirement.
                                                                                                     promulgation,’’ EPA shall promulgate ‘‘compliance
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                                            are now utilizing the same authority to                                                                        As explained earlier, there are
                                                                                                     provisions applicable to refineries, blenders,
                                                                                                     distributors, and importers, as appropriate, to
                                                                                                                                                           insufficient 2015 and 2016 RINs
                                              190 EPA acknowledges that CAA section                  ensure that the requirements of this paragraph are
                                                                                                                                                             194 ACE, 864 F.3d at 718.
                                            211(o)(3)(B)(i) does not apply to the standards for      met.’’
                                                                                                                                                             195 NPRA, 630 F.3d at 154–58.
                                            2023–2025. EPA cites this authority for the                 193 See ACE, 864 F.3d at 718; Monroe Energy, LLC

                                            supplemental standard which is a 2016 standard           v. EPA, 750 F.3d at 920; NPRA, 630 F.3d at 154–         196 As we also did for the 2022 supplemental

                                            with compliance aligned with calendar year 2023.         58.                                                   standard. 87 FR 39629–31 (July 1, 2022).



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                                            available to satisfy the proposed 250-                   compliance demonstrations, which                        discussed in Section IV. Details of all
                                            million-gallon volume requirement.                       would be a burdensome and time-                         analyses are provided in the RIA. We
                                            Instead, we are finalizing a                             consuming process. In addition,                         have coordinated with the Secretary of
                                            supplemental volume requirement to                       obligated parties can satisfy both the                  Energy and the Secretary of Agriculture,
                                            the 2023 standards that applies                          2023 standards and the supplemental                     including through the interagency
                                            prospectively, in part. Doing so allows                  standard in a single set of compliance                  review process, and their input is
                                            2022 and 2023 RINs to be used for                        and attest engagement demonstrations.                   reflected in this final rule. We have also
                                            compliance with the 2023 supplemental                    We are also extending the same                          considered all information provided
                                            standard, in keeping with existing RFS                   compliance flexibility options already                  through comments from stakeholders
                                            regulations. We believe there will be a                  available for the 2023 standards to the                 and any other information that has
                                            sufficient number of 2023 RINs to                        2023 supplemental standard, including                   become available since release of the
                                            satisfy the 2023 supplemental standard                   allowing the use of carryover RINs and                  proposal.
                                            through a combination of domestic                        deficit carry forward subject to the                      In this section, we summarize and
                                            production and importation of                            conditions of 40 CFR 80.1427(b)(1).                     discuss the implications of all our
                                            renewable fuel, as described more fully                  With this action we are also spreading                  analyses and any other information that
                                            in Section VI. In Section VI and RIA                     out the 500-million-gallon obligation                   has become available as it applies to
                                            Chapter 6.2.6, we considered the                         over two compliance years. As                           each of the three different component
                                            feasibility and achievability of the 2023                explained in the 2020–2022 final rule,                  categories of biofuel: cellulosic biofuel,
                                            supplemental standard alongside the                      this is designed to allow obligated                     non-cellulosic advanced biofuel, and
                                            other volume standards for 2023. We                      parties and renewable fuel producers                    conventional renewable fuel. These
                                            believe that compliance through the use                  additional lead time to meet the                        three components combine to produce
                                            of carryover RINs will not be necessary,                 standard, thus providing almost a year                  the statutory categories: the volume
                                            but nevertheless remains available as an                 for the market to prepare for compliance                requirement for advanced biofuel is
                                            option for obligated parties for                         with the second 250-million-gallon                      equal to the sum of cellulosic biofuel
                                            compliance.197                                           requirement.200                                         and non-cellulosic advanced biofuel,
                                               Second, we provided significant lead-                    Lastly, we carefully considered                      while the volume requirement for total
                                            time for obligated parties by proposing                  alternatives, including retaining the                   renewable fuel is equal to the sum of
                                            this supplemental standard for 2023 no                   2016 total renewable fuel volume as                     advanced biofuel and conventional
                                            less than 12 months prior to the 2023                    described in the 2020 proposal,201                      renewable fuel.205
                                            compliance deadline.198 Moreover, we                     reopening 2016 compliance and                             We note that while we do not
                                            initially provided obligated parties                     applying a supplemental standard to the                 separately discuss each of the statutory
                                            notice of the 250-million-gallon                         2016 compliance year,202 and, as                        factors for each component category in
                                            supplemental standard for 2022 in                        suggested by commenters on the 2020–                    this section, we have analyzed all the
                                            December of 2021,199 no less than 24                     2022 rule, using our cellulosic or                      statutory factors. However, it was not
                                            months prior to the 2023 compliance                      general waiver authority to retroactively               always possible to precisely identify the
                                            deadline, and indicated our intention to                 lower 2016 volumes such that 2022 and                   implications of the analysis of a specific
                                            similarly apply a 250-million-gallon                     2023 supplemental standards would be                    factor for a specific component category
                                            supplemental standard to 2023. Given                     smaller.203                                             of renewable fuel. For instance, while
                                            this December 2021 statement of intent,                     On balance, we find that requiring an                we analyzed ethanol use in the context
                                            parties have had notice of a 250-million-                additional 250 million gallons of total                 of the review of the implementation of
                                            gallon supplemental standard in 2023                     renewable fuel to be complied with                      the program in prior years, ethanol can
                                            for longer than they had notice of the                   through a supplemental standard in                      be used in all biofuel categories except
                                            2023 standards for renewable fuel,                       2023 in addition to that already applied                BBD and our analysis therefore does not
                                            advanced biofuel, and total renewable                    in 2022 is an appropriate response to                   apply to a single standard. Air quality
                                            fuel. We are also finalizing this action                 the court’s vacatur and remand of our                   impacts are driven primarily by biofuel
                                            approximately 9 months prior to the                      use of the general waiver authority to                  type (e.g., ethanol, biodiesel, etc.) rather
                                            2023 compliance deadline.                                waive the 2016 total renewable fuel                     than by biofuel category, and energy
                                               Third, we are finalizing multiple                     standard by 500 million gallons.                        security impacts are driven solely by the
                                            mechanisms to mitigate the potential                                                                             amount of fossil fuel energy displaced.
                                                                                                     VI. Volume Requirements for 2023–
                                            compliance burden caused by a late                                                                               Moreover, with the exception of CAA
                                                                                                     2025
                                            rulemaking. One step is to designate                                                                             section 211(o)(2)(ii)(III), the statute does
                                            that the response to the ACE remand is                      As required by the statute, we have                  not require that the requisite analyses be
                                            a supplement to the 2023 standards.                      reviewed the implementation of the                      specific to each category of renewable
                                            This approach not only allows the use                    program in prior years and have                         fuel. Rather, the statute directs EPA to
                                            of 2022 and 2023 RINs for compliance                     analyzed a specified set of factors.204 As              analyze certain factors, without
                                            with the 2023 standard, as described                     described in Section III, we did this by                specifying how that analysis must be
                                            earlier, but it also avoids the need for                 first deriving a set of ‘‘candidate                     conducted. In addition, the statute
                                            obligated parties to revise their 2016                   volumes’’ based on a consideration of                   directs EPA to analyze the ‘‘program’’
                                            (and potentially 2017, 2018, 2019, etc.)                 supply-related factors and other relevant               and the impacts of ‘‘renewable fuels’’
                                                                                                     factors, and then using those candidate                 generally, further indicating that
                                               197 See Section III.C.4 for further discussion of     volumes to analyze the remaining                        Congress intended to provide to EPA the
                                            carryover RINs.                                          economic and environmental factors as                   discretion to decide how and at what
                                               198 See 40 CFR 80.1427. See also Nat’l
                                                                                                                                                             level of specificity to analyze the
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                                            Petrochemical & Refiners Ass’n v. EPA, 630 F.3d               200 87 FR 39600 (July 1, 2022).
                                            145, 166 (D.C. Cir.), acknowledging 11 months from                                                               statutory factors. This section
                                                                                                          201 84 FR 36762, 36787–36789 (July 29, 2019).
                                            issuance of standards to the compliance deadline as
                                                                                                          202 86 FR 72459–60.
                                            sufficient time, and ACE at 722–23 acknowledging                                                                   205 These combinations are set forth in the statute.
                                                                                                          203 87 FR 39600 (July 1, 2022). See also Chapter
                                            ‘‘very extensive extensions of the normal                                                                        See CAA section 211(o)(2)(B)(i)(I)–(III). In addition,
                                            compliance demonstration deadlines’’ of                  8 of the Response to Comments document for this         the determination of the appropriate volume
                                            approximately 8 months after signature.                  action.                                                 requirements for BBD is treated separately in
                                               199 86 FR 72436 (December 21, 2021).                    204 CAA section 211(o)(2)(B)(ii).                     Section VI.C.



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                                            supplements the analyses discussed in                                   envisioned by Congress in 2007, EPA                                 consideration of the specified statutory
                                            Sections III and IV by providing a                                      remains committed to supporting the                                 factors.
                                            narrative summary of the key criteria                                   development and commercialization of                                  As discussed in Section III.B.1, we
                                            that apply distinctively to each                                        cellulosic biofuels. Cellulosic biofuels,                           developed candidate volumes for
                                            component category insofar as we have                                   particularly those produced from waste                              cellulosic biofuel based on a
                                            deemed appropriate.                                                     or residue materials, have the potential                            consideration of statutory supply-
                                            A. Cellulosic Biofuel                                                   to significantly reduce GHG emissions                               related factors. This process included a
                                                                                                                    from the transportation sector. In many                             consideration not only of production
                                              In EISA, Congress established
                                            escalating targets for cellulosic biofuel,                              cases cellulosic biofuel can be produced                            and import of the different possible
                                            reaching 16 billion gallons in 2022.                                    without impacting current land use and                              forms of cellulosic biofuel, but also of
                                            After 2015, all of the growth in the                                    with little to no impact on other                                   constraints on consumption (i.e., the
                                            statutory volume of total renewable fuel                                environmental factors, such as air and                              number of CNG/LNG vehicles) and of
                                            was advanced biofuel, and of the                                        water quality. The cellulosic biofuel                               the availability of qualifying feedstocks,
                                            advanced biofuel growth, the vast                                       volumes we are finalizing are intended                              primarily but not exclusively biogas.
                                            majority was cellulosic biofuel. This                                   to provide the necessary support for the                            With an eye towards estimating
                                            indicates that Congress intended the                                    ongoing development and commercial                                  candidate volumes based on the supply-
                                            RFS program to provide a significant                                    scale deployment of cellulosic biofuels,                            related statutory factors that reflect the
                                            incentive for cellulosic biofuels and that                              and to continue to build towards the                                projected growth in cellulosic biofuel
                                            the focus for years after 2015 was to be                                Congressional target of 16 billion                                  production from 2023–2025, we
                                            on cellulosic. While cellulosic biofuel                                 gallons of cellulosic biofuel established                           estimated the following candidate
                                            production has not reached the levels                                   in EISA, and are supported by our                                   volumes:

                                                                                               TABLE VI.A–1—CANDIDATE VOLUMES OF CELLULOSIC BIOFUEL
                                                                                                                                            [Million RINs]

                                                                                                                                                                                          2023               2024                2025

                                            CNG/LNG Derived from Biogas ..................................................................................................                       831              1,039              1,299
                                            Ethanol from CKF ........................................................................................................................              7                 51                 77

                                                  Total Cellulosic Biofuel .........................................................................................................             838              1,090              1,376



                                               We then analyzed these candidate                                     produced with the intention that they be                            facilities. In the near term (through
                                            volumes according to the other statutory                                used as feedstocks for cellulosic biofuel                           2025), the production of these fuels is
                                            factors. These analyses are discussed                                   production. Moreover, many of these                                 likely to be dependent on relatively high
                                            briefly here and described in greater                                   feedstocks have limited uses in other                               cellulosic RIN prices (in addition to
                                            detail in the RIA. Our assessment of                                    markets.207 Because of this, using these                            state level programs such as California’s
                                            those factors suggests that cellulosic                                  feedstocks to produce liquid cellulosic                             LCFS) in order for them to be
                                            biofuels have multiple benefits,                                        biofuel is not expected to have                                     economically competitive with
                                            including the potential for very low                                    significant adverse impacts related to                              petroleum-based fuels.
                                            lifecycle GHG emissions that meet or                                    several of the statutory factors,
                                                                                                                                                                                           In contrast to liquid cellulosic
                                            exceed the statutorily-mandated 60                                      including the conversion of wetlands,
                                            percent GHG reduction threshold for                                     ecosystems and wildlife habitat, soil                               biofuels, cellulosic biofuels derived
                                            cellulosic biofuel.206 Many of these                                    and water quality, the price and supply                             from biogas, most notably CNG/LNG,
                                            benefits stem from the fact that nearly                                 of agricultural commodities, and food                               can be more cost-competitive with the
                                            all of the feedstocks projected to be used                              prices through 2025.                                                fuels they displace. Some biogas from
                                            to produce the candidate cellulosic                                        Despite the fact that both liquid                                qualifying sources such as landfills,
                                            biofuel volumes are either waste                                        cellulosic biofuels and CNG/LNG                                     wastewater treatment facilities, and
                                            materials (as in the case of CNG/LNG                                    derived from biogas are projected to be                             agricultural digesters are already
                                            derived from biogas) or residues (as in                                 produced from feedstocks that are                                   injected into natural gas pipelines.208 In
                                            the case of cellulosic diesel and heating                               wastes or by-products, there are also                               some situations, such as at larger
                                            oil from mill residue). The use of many                                 significant differences between liquid                              landfills, CNG/LNG derived from biogas
                                            of the feedstocks currently being used to                               cellulosic biofuels and CNG/LNG                                     may be able to be produced at a price
                                            produce cellulosic biofuel and those                                    derived from biogas. In particular, the                             comparable to fossil natural gas. In most
                                            expected to be used through 2025                                        cost of producing liquid cellulosic                                 cases, however, some financial
                                            (primarily biogas to produce CNG/LNG)                                   biofuel is generally high. These high                               incentive is needed to enable these fuels
                                            are not expected to cause significant                                   costs are generally the result of low                               to compete economically with the fuels
                                            land use changes that might lead to                                     yields (e.g., gallons of fuel per ton of                            they displace. Because of the low cost
                                            adverse environmental impacts.                                          feedstocks) and the high capital costs of                           of production relative to liquid
                                               None of the cellulosic biofuel                                       liquid cellulosic biofuel production                                cellulosic biofuels and the relatively
                                            feedstocks expected to be used to                                                                                                           mature state of this technology, CNG/
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                                            produce liquid cellulosic biofuels                                         207 One potential exception is corn kernel fiber.                LNG from biogas is expected to remain
                                            through 2025 (including agricultural                                    Corn kernel fiber is a component of distillers grains,              as the dominant type of cellulosic
                                            residues such as corn kernel fiber, mill                                which is currently sold as animal feed. Depending                   biofuel through 2025.
                                                                                                                    on the type of animal to which the distillers grain
                                            residue, and separated MSW) are                                         is fed, corn kernel fiber removed from the distillers
                                                                                                                    grain through conversion to cellulosic biofuel may                    208 See Landfill Gas Energy Project Data from
                                              206 CAA section 211(o)(1)(E).                                         need to be replaced with additional feed.                           EPA’s Landfill Methane Outreach Program.



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                                               Despite the relatively low cost of                                   benefits of higher volumes of cellulosic                            received on the proposed rule. These
                                            production for CNG/LNG derived from                                     biofuel outweigh the potential negative                             volumes represent our best efforts to
                                            biogas, the combination of the relatively                               impacts. We therefore believe that to                               project the potential for growth in the
                                            high cellulosic biofuel RIN price and the                               realize the benefits associated with                                volume of these fuels that can be
                                            significant volume potential for CNG/                                   increasing cellulosic biofuel production                            achieved in 2023–2025. We believe
                                            LNG derived from biogas used as                                         it is reasonable to establish cellulosic                            these volumes will continue to provide
                                            transportation fuel could have an                                       biofuel volume requirements through                                 substantial support for investment in
                                            impact on the price of gasoline and                                     2025 at the candidate levels that reflect                           and development of cellulosic biofuels
                                            diesel. We project that together these                                  the projected growth in cellulosic                                  and yet are consistent with statutory
                                            fuels could add about $0.01 per gallon                                  biofuel production from 2023–2025
                                                                                                                                                                                        requirements for the cellulosic biofuel
                                            to the price of gasoline and diesel in                                  based on available data. The volumes
                                                                                                                                                                                        volumes (including CAA
                                            2023, and that this price impact could                                  for 2023–2025 we are finalizing in this
                                                                                                                    rule are based on the data available at                             211(o)(2)(B)(iv)).
                                            rise to about $0.02 per gallon in 2025.209
                                               Based on our analyses of all of the                                  the time of this rule and reflect our
                                            statutory factors, we find that the                                     consideration of the public comments

                                                                                                       TABLE VI.A–2—FINAL CELLULOSIC BIOFUEL VOLUMES
                                                                                                                                            [Million RINs]

                                                                                                                                                                                          2023               2024              2025

                                            CNG/LNG Derived from Biogas ..................................................................................................                       831             1,039              1,299
                                            Ethanol from CKF ........................................................................................................................              7                51                 77

                                                  Total Cellulosic Biofuel .........................................................................................................             838             1,090              1,376



                                               We note that the final cellulosic                                    authority and the availability of                                   cellulosic biofuel volumes for 2023–
                                            biofuel volumes are higher than the                                     cellulosic waiver credits in future years                           2025 in this rule, and that the cellulosic
                                            proposed volumes, after accounting for                                  (see Section II.F for a further discussion                          biofuel volumes we are finalizing are
                                            the decision not to finalize eRIN                                       of the availability of cellulosic waiver                            reasonable based on the available data
                                            provisions in this rule. There are several                              credits). In the proposed rule we noted                             for making future projections.
                                            reasons for these higher volumes, which                                 several important changes in EPA’s                                     In the proposed rule we noted that
                                            are discussed briefly here and in more                                  statutory authority in years after 2022,                            several stakeholders had stated that
                                            detail in Section III.B and RIA Chapter                                 and we sought input from commenters                                 despite the incentive provided by the
                                            6. The addition of projected volume of                                  on how these changes can or should                                  RFS program, variability and
                                            cellulosic ethanol from CKF relative to                                 impact the required cellulosic biofuel                              uncertainty in cellulosic RIN prices and
                                            the proposed rule is largely the result of                              volumes. These comments, and our                                    future cellulosic biofuel requirements
                                            the significant progress several facilities                             responses to them, are discussed briefly                            are hindering investment in the
                                            and technology providers have made                                      here, and in greater detail in RTC                                  cellulosic biofuel industry. These
                                            towards facility registration since the                                 Sections 2.3.2 and 3.1.                                             parties generally expressed concerns
                                            release of the updated guidance of                                        Perhaps most importantly EPA                                      related to the potential impacts on the
                                            producing ethanol from corn kernel                                      proposed volumes for multiple years in                              cellulosic biofuel and cellulosic RIN
                                            fiber.210 As discussed in RIA Chapter                                   one action in an effort to provide the                              markets if EPA’s projections of
                                            6.1, since the proposed rule EPA has                                    consistent market signals that the                                  cellulosic biofuel are significantly and
                                            received registration requests from                                     cellulosic biofuel industry needs to                                consistently lower than the actual
                                            facilities intending to register to                                     develop. At the same time, we                                       production of cellulosic biofuel. While
                                            generate cellulosic biofuel RINs for                                    recognized that there is increased                                  many stakeholders acknowledged that
                                            ethanol from CKF, and have had                                          uncertainty in any cellulosic biofuel                               EPA has tools to reduce the cellulosic
                                            substantive technical discussions with                                  projections due to the multi-year nature                            biofuel volumes if necessary, they noted
                                            technology providers who intend to                                      of this rule and the potential for the                              that EPA has a limited ability to
                                            provide testing results consistent with                                 development and deployment of new                                   increase the cellulosic biofuel volume if
                                            EPA’s current guidance. The increases                                   cellulosic biofuel production pathways.                             production and imports of cellulosic
                                            in CNG/LNG derived from biogas are                                      The increasing cellulosic biofuel                                   biofuel exceed the required volumes. In
                                            due to our belief that growth from 2023–                                volumes that we are establishing in this                            such a case the stakeholders expressed
                                            2025 can be more in line with the                                       rule should also provide increased                                  concern that the price of cellulosic RINs
                                            average growth from 2015–2022 rather                                    stability in the cellulosic RIN market, as                          could fall to a level at or approaching
                                            than just the most recent 24 months.                                    they allow greater volumes of cellulosic                            the advanced biofuel RIN price, which
                                               We recognize that with this Set rule                                 RINs to be used for compliance in the                               might then negatively impact their
                                            Congress has instructed us to begin a                                   following year if excess cellulosic RINs                            investment in cellulosic biofuel
                                            new phase of the RFS program, one in                                    are generated. We believe that despite                              production.
                                            which there are no statutory volume                                     the uncertainty associated with                                        We agree with these commenters that
                                            targets. This has important implications                                cellulosic biofuel production through                               it is important to maintain proper
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                                            for the use of our cellulosic waiver                                    2025 it is appropriate to finalize                                  incentives for investment in and growth
                                              209 See RIA Chapters 1.9.2 and 10 for a further                         210 Guidance on Qualifying an Analytical Method                   B–22–041). See RIA Chapter 6.1 for a further
                                            discussion of the expected impact of RINs generated                     for Determining the Cellulosic Converted Fraction                   discussion of ethanol produced form corn kernel
                                            for CNG/LNG derived from biogas on the price of                         of Corn Kernel Fiber Co-Processed with Starch.                      fiber.
                                            gasoline and diesel and the impact of CNG/LNG                           Compliance Division, Office of Transportation and
                                            derived from biogas on the cost of this rule.                           Air Quality, U.S. EPA. September 2022 (EPA–420–



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                                            of cellulosic biofuels. Their potential for              generation plus carryover RINs                          following reasons and as discussed
                                            greater GHG emission reductions and                      exceeded the required volume for that                   more fully in RTC Section 2.3.
                                            typically limited negative                               year, these parties stated that EPA                        First, as discussed above, we believe
                                            environmental impacts make them                          should automatically increase the                       that the most effective and direct way to
                                            attractive options for displacing                        required cellulosic volume for a                        respond to the concerns the commenters
                                            petroleum fuels. Since 2015, the                         subsequent year.212 By doing so the                     raised with respect to the negative
                                            incentives provided by the RFS program                   commenters believed that cellulosic                     impacts related to a potential surplus of
                                            have supported significant growth in                     biofuel RIN values would be assured of                  cellulosic biofuel RINs is to establish
                                            cellulosic biofuel production (see Figure                remaining high, reducing their                          cellulosic biofuel volume requirements
                                            III.B.1–1). During this time, cellulosic                 investment risk. If the quantity of                     that reflect the projected growth of the
                                            biofuel production has grown at an                       cellulosic RIN generation plus carryover                cellulosic biofuel industry based on
                                            annual rate of 25% per year, greater                     RINs was less than the required volume                  available data.
                                            than any other category of cellulosic                    for that year creating a concern for                       Second, it is not yet clear how such
                                            biofuel. In response to comments                         obligated parties, then the commenters                  a mechanism could or should be
                                            received on the proposed rule and more                   suggested EPA should automatically                      implemented. For example, the public
                                            recent data we have adjusted our                         decrease the required cellulosic volume                 data many of the commenters suggested
                                            approach to projecting the potential                     for a subsequent year.                                  could be used in these calculations are
                                            production of CNG/LNG derived from                                                                               not clearly suitable for this purpose.
                                                                                                        Several commenters opposed the                       With the new biogas regulatory reform
                                            biogas (by far the largest source of                     adoption of a mechanism that would
                                            cellulosic biofuel) to better reflect the                                                                        provisions (discussed in Section IX) that
                                                                                                     automatically adjust the cellulosic                     we are finalizing in this rule, not all D3
                                            potential for the growth of these fuels                  volumes.213 These comments generally
                                            through 2025. This higher growth rate                                                                            biogas RINs generated will represent
                                                                                                     focused on the statutory requirements                   cellulosic fuel used as transportation
                                            resulted in significantly higher, yet still              that the RFS volume requirements be
                                            achievable, projections for CNG/LNG                                                                              fuel. Under the new provisions, these
                                                                                                     based on an evaluation of the statutory                 RINs may be retired if the RNG is used
                                            derived from biogas.                                     criteria (rather than a simple
                                               We believe that the most effective and                                                                        for a non-transportation use (e.g.,
                                                                                                     calculation) and that the volume                        heating or renewable electricity
                                            direct way to respond to the concerns                    requirements be set 14 months in
                                            the commenters raised with respect to                                                                            generation), thus altering the ultimate
                                                                                                     advance of the applicable year. One                     amount of cellulosic RINs available to
                                            the negative impacts related to a                        commenter additionally noted that EPA
                                            potential surplus of cellulosic biofuel                                                                          meet the RFS standards.
                                                                                                     should not use any adjustment                              Third, EPA also has an obligation to
                                            RINs is to establish cellulosic biofuel                  mechanism to reduce the available
                                            volume requirements that reflect the                                                                             provide public notice and an
                                                                                                     carryover RINs, which they claimed                      opportunity for comment prior to
                                            projected growth of the cellulosic                       were allowed by Congress. Another                       establishing the RFS volume
                                            biofuel industry based on available data,                commenter stated that any formula that                  requirements. While we sought
                                            as we have done in this final rule.                      could result in adjusting the cellulosic
                                               Nevertheless, in their comments on                                                                            comment on an adjustment mechanism
                                                                                                     volume requirements downward would                      in general, and commenters provided
                                            the proposed rule these stakeholders
                                                                                                     strip the RFS program of its market                     input on potential mechanisms at a high
                                            requested that EPA modify our
                                                                                                     forcing power and result in only                        level, there was little specificity
                                            historical standard setting process for
                                                                                                     requiring the quantity of cellulosic                    associated with how such a mechanism
                                            cellulosic biofuel to also commit to a
                                                                                                     biofuel actually used in the market.                    could or would be implemented in
                                            mechanism for increasing the cellulosic
                                                                                                        We acknowledge that in theory a                      practice. Notably we did not propose
                                            biofuel volume requirements if actual
                                                                                                     mechanism could be developed and                        regulations for public comment that
                                            production and imports exceeded the
                                                                                                     implemented in a way that might be                      would implement an adjustment
                                            volumes we are finalizing in this rule by
                                                                                                     able to reduce, and potentially even                    mechanism. While some commenters
                                            a specified amount, either by adopting
                                                                                                     eliminate, the investment risk                          acknowledged this notice and comment
                                            regulatory provisions that would
                                                                                                     associated with a potential surplus of                  obligation, these commenters did not
                                            automatically increase the volume
                                                                                                     cellulosic RINs causing RIN price                       adequately address the potential public
                                            requirement or by committing to
                                                                                                     volatility or lower RIN prices.                         notice concerns that finalizing this
                                            adjusting the cellulosic biofuel volume
                                                                                                     Nevertheless, after reviewing these                     approach may now raise. While EPA
                                            requirements in a subsequent rule. The                                                                           could in theory promulgate a
                                            most common mechanism requested by                       comments, EPA is not committing to
                                                                                                     such a mechanism at this time for the                   supplemental notice and opportunity
                                            commenters was that EPA would                                                                                    for comment on this change, doing so
                                            finalize a formula that would be used                                                                            would further and significantly delay
                                                                                                       212 Several parties noted that EPA need not
                                            annually to adjust the required volume                                                                           this rulemaking, which would be
                                                                                                     increase the required cellulosic volume for the
                                            of cellulosic biofuel for a subsequent                   subsequent year by the entire amount that cellulosic    inconsistent with the lead-time
                                            year.211 For example, many parties                       RIN generation and carryover RINs exceeded the          provisions in the statute and would
                                            suggested that EPA should calculate the                  required volume for that year, but that instead EPA
                                                                                                                                                             itself undermine the market certainty
                                            difference between (1) the total number                  could increase the required volume by a lesser
                                                                                                     amount to preserve some level of carryover RINs.        integral to success of the entire RFS
                                            of cellulosic RINs generated in each year                Further, some parties explicitly stated that any        program.
                                            plus any remaining cellulosic RINs from                  increase to the required volume of cellulosic biofuel      Fourth, as stated in the proposed rule,
                                            the previous year not used for                           should occur 2 years after the observed RIN surplus.    the carryover RIN provisions in the
                                            compliance and (2) the required                          For example, if cellulosic RIN generation plus
                                                                                                     carryover RINs was greater than the required            existing RFS regulations already
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                                            cellulosic biofuel volume for that year.                 volume for 2023, EPA should increase the required       represent a mechanism to help stabilize
                                            If the quantity of cellulosic RIN                        volume for 2025 to meet the statutory requirements      demand for cellulosic biofuel and
                                                                                                     that the volumes be set 14 months in advance of         cellulosic RINs in the event of a RIN
                                              211 For an example of this requested approach, see     the year to which they apply.
                                            comments by the Coalition for Renewable Natural            213 For example, see comments from AFPM (EPA–         surplus. In the event of a surplus of
                                            Gas (Docket Item No. EPA–HQ–OAR–2021–0427–               HQ–OAR–2021–0427–0812) and Growth Energy                RINs in a current year, the fact that
                                            0756).                                                   (EPA–HQ–OAR–2021–0427–0796).                            these RINs will still be of value in the


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                                            following year when RINs may be in                       fuels they displace.214 These potential                 energy security benefits and result in
                                            short supply helps to stabilize the value                GHG reductions suggest that non-                        increases in domestic employment in
                                            of RINs, including D3 RINs, over time.                   cellulosic advanced biofuel volumes                     the biofuels industry and increases in
                                            We further address these comments in                     that meet or exceed those established by                income for biofuel feedstock producers.
                                            the RTC document.                                        Congress for 2022 (5.0 billion RINs) may                Benefits to domestic employment are
                                              EPA will continue to closely monitor                   be appropriate.                                         only likely to occur if increasing
                                            the generation of all cellulosic RINs in                    Advanced biodiesel and renewable                     volumes of biodiesel and renewable
                                            future years and, if appropriate, will                   diesel together comprised 95 percent or                 diesel are produced domestically.
                                            consider adjusting the cellulosic biofuel                more of the total supply of non-                        Similarly, benefits to domestic feedstock
                                            volume requirements.                                     cellulosic advanced biofuel over the last               producers are significantly more likely
                                                                                                     several years, and together the two fuels               if these fuels are produced from
                                            B. Non-Cellulosic Advanced Biofuel
                                                                                                     are expected to continue to do so                       domestic feedstocks. Our assessment of
                                               The volume targets established by                     through 2025 due to the limited                         these factors therefore suggests it is
                                            Congress through 2022 anticipated                        production and import of other types of                 appropriate to focus the volume
                                            volumes of advanced biofuel beyond                       non-cellulosic advanced biofuels (see                   requirements for these fuels on volumes
                                            what would be needed to satisfy the                      RIA Chapters 6.2 through 6.4). We have                  that can be produced in the U.S. from
                                            cellulosic standard. The statutory target                therefore focused our attention on the                  North American feedstocks.216
                                            for advanced biofuel in 2022 (21 billion                 impacts of these fuels in relation to the                  Some of the statutory factors,
                                            gallons) allowed for up to five billion                  statutory factors in determining                        however, suggest that lower volumes of
                                            gallons of non-cellulosic advanced                       appropriate levels of non-cellulosic                    non-cellulosic advanced biofuel would
                                            biofuel to be used towards the advanced                  advanced biofuel for 2023–2025.215                      be appropriate. For instance, as
                                            biofuel volume target, and the                              As explained in Section III.B.2, we                  described in RIA Chapter 10, the cost of
                                            applicable standards for 2022 similarly                  identified candidate volumes for non-                   biodiesel and renewable diesel is
                                            include five billion gallons of non-                     cellulosic advanced biofuels based on                   significantly higher than petroleum-
                                            cellulosic advanced biofuel. As                          the supply-related factors and other                    based diesel fuel and is expected to
                                            discussed in Sections III.B.2 and III.B.3,               relevant factors. We also considered the                remain so over the next several years.
                                            we developed candidate volumes for                       supply of these fuels through March                     Even if biodiesel and renewable diesel
                                            non-cellulosic advanced biofuel based                    2023 (the most recent month for which                   blends are priced similarly to petroleum
                                            on a consideration of supply-related                     data were available at the time the                     diesel at retail after accounting for the
                                            factors and other relevant factors. This                 analyses for this rule were completed).                 applicable federal and state incentives
                                            process included a consideration not                     We concluded that domestic production                   (including the RIN value), the higher
                                            only of production and import of non-                    capacity and availability of imports                    relative costs of biodiesel and renewable
                                            cellulosic advanced biofuels, but also of                indicate that volumes of non-cellulosic                 diesel are still borne by society as a
                                            the availability of qualifying feedstocks,               advanced biofuel through 2025 could                     whole. Moreover, the fact that sufficient
                                            a consideration of the supply of these                   exceed the implied statutory target for                 feedstocks exist to produce increasing
                                            fuels in the first quarter of 2023, and a                2022 (5 billion ethanol-equivalent                      quantities of advanced biodiesel and
                                            desire to maximize benefits and limit                    gallons). Similarly, the feedstocks used                renewable diesel does not mean that
                                            potential negative consequences                          to make advanced biodiesel and                          those feedstocks are readily available or
                                            associated with the production of these                  renewable diesel (such as soy oil, canola               could be diverted to biofuel production
                                            fuels by focusing future growth on                       oil, and corn oil, as well as waste oils
                                            increases in feedstock production in                                                                             without adverse consequences.
                                                                                                     such as white grease, yellow grease, trap                  Further, we expect only limited
                                            North America. Based on this analysis                    grease, poultry fat, and tallow) currently              quantities of fats, oils, and greases and
                                            of these factors, the candidate volumes                  exist in sufficient quantities globally to              distillers corn oil to be available for
                                            for non-cellulosic biofuel represent                     supply increasing volumes. While there                  increased biodiesel and renewable
                                            significant growth relative to the                       is potential for increasing growth in the               diesel production in future years (see
                                            volumes of these fuels supplied in 2022                  production of some of these feedstocks,                 RIA Chapter 6.2). We expect that the
                                            (see Table III.C.2–1). We then analyzed                  these feedstocks also have many
                                            these candidate volumes according to                                                                             primary feedstock available to biodiesel
                                                                                                     existing uses and may require                           and renewable diesel producers through
                                            the other statutory factors.                             replacement with suitable substitutes if
                                               To date, the vast majority of non-                                                                            2025 (beyond those currently used to
                                                                                                     increasing quantities are used for                      produce biodiesel and renewable diesel)
                                            cellulosic advanced biofuel in the RFS                   biofuel production.
                                            program has been biodiesel and                                                                                   will be soybean oil and canola oil whose
                                                                                                        Beyond the supply-related statutory
                                            renewable diesel, with relatively small                                                                          primary markets are for food, with lesser
                                                                                                     factors considered in determining the
                                            volumes of sugarcane ethanol and other                                                                           contributions from FOG and distillers
                                                                                                     candidate volumes, our assessment of
                                            advanced biofuels. Our assessment of                                                                             corn oil. Increased demand for soybean
                                                                                                     the impact of biodiesel and renewable
                                            the impact of non-cellulosic advanced                                                                            oil and canola oil could incentivize
                                                                                                     diesel on the remaining statutory factors
                                            biofuels on each of the statutory factors                                                                        increased production of these vegetable
                                                                                                     found that some of these factors would
                                            can be found in the RIA, that assessment                                                                         oils (through increased oilseed
                                                                                                     suggest that volumes higher than the
                                            is summarized briefly in this section.                                                                           crushing), however if the use of soybean
                                                                                                     candidate volumes are appropriate. For
                                            While the impacts of non-cellulosic                                                                              and canola oil for biofuel production
                                                                                                     example, we observe also that higher
                                            advanced biofuels on the statutory                                                                               increases faster than the projected
                                                                                                     implied volume requirements for non-
                                            factors can vary depending on the fuel                   cellulosic advanced biofuel may have                      216 While biofuels produced from Canadian
                                            type, production process, where the fuel
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                                                                                                                                                             feedstocks do not increase employment in feedstock
                                            is produced, and the feedstock used to                        214 CAA section 211(o)(1)(B)(i).
                                                                                                                                                             production, these feedstocks are often converted to
                                            produce the fuel, all advanced biofuels                    215 We have also considered the potential for         biofuels in the U.S., which increases domestic
                                            have the potential to provide significant                increasing volumes of renewable jet fuel. Given its     employment in biofuel production. For a further
                                                                                                     similarity to renewable diesel, for purposes of         discussion of our decision in this final rule to
                                            GHG reductions as they are required to                   projecting appropriate volume requirements for          include canola oil imported from Canada in the
                                            achieve at least 50 percent GHG                          2023–2025, in most cases we consider renewable jet      feedstocks projected to be available to U.S. biofuel
                                            reductions relative to the petroleum                     fuel to be a component of renewable diesel.             producers see RTC Section 4.2.



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                                            increase in production we project the                              potential negative impacts associated                           VI.D, we are establishing RFS volume
                                            result to be a diversion of feedstocks                             with diverting some feedstock from                              requirements in this rule that reflect an
                                            from food and other current uses and/                              existing uses to biofuel production.                            implied conventional renewable fuel
                                            or increasing imports of soybean oil,                              These numbers also reflect our                                  requirement of 15.0 billion gallons in
                                            canola oil, or other products that can be                          assessment that non-cellulosic biofuels                         each year.217 Since we project that the
                                            used as a substitute. This would have a                            produced in the U.S. from domestic                              quantity of conventional renewable fuel
                                            number of implications warranting                                  feedstocks (or imported Canadian                                available in these years will be limited,
                                            caution on growing volumes further,                                canola oil) are likely to provide benefits                      significant volumes of non-ethanol
                                            including potentially reduced GHG                                  (domestic jobs in biofuel and feedstock                         biofuels will be needed to meet an
                                            benefits. Increased production of                                  production, support for rural economic                          implied conventional renewable fuel
                                            soybean oil and canola oil could also                              growth) and/or are less likely to have                          volume of 15.0 billion gallons. We
                                            result in increasing soybean and canola                            adverse impacts (e.g., conversion of                            project that the most likely source of
                                            production in the U.S. and abroad, and                             natural lands to crop production and                            non-ethanol biofuel will be biodiesel
                                            in turn could result in greater                                    high GHG emissions associated with                              and renewable diesel that qualifies as
                                            conversion of wetlands, adverse impacts                            land conversion) than imported fuels or                         BBD. Biodiesel and renewable diesel
                                            on ecosystems and wildlife habitat,                                fuels produced from imported                                    cannot be used to satisfy the projected
                                            adverse impacts on water quality and                               feedstocks. The volumes we are                                  shortfall in conventional renewable fuel
                                            supply, and increased prices for                                   finalizing are intended to reflect the                          if we already require the use of these
                                            agricultural commodities and food                                  projected increases in feedstock                                fuels to meet the implied non-cellulosic
                                            prices.                                                            production in the U.S and Canada,                               advanced biofuel volume requirement.
                                               Based on our analyses of all of the                             particularly in 2025, while also                                Therefore, the RFS volume requirements
                                            statutory factors, we believe that the                             providing continued support for                                 we are establishing in this rule reflect
                                            candidate volumes derived in Section                               biodiesel and renewable diesel                                  implied volumes for non-cellulosic
                                            III.C.2 and shown in in Table III.C.2–1                            producers.                                                      advanced biofuel that are equal to the
                                            would be reasonable and appropriate to                                While we have determined that it is                          candidate volumes of these fuels less
                                            require. These volumes reflect our                                 reasonable to require the use of the                            the volume projected to be needed to
                                            consideration of the potential for GHG                             candidate volumes of non-cellulosic                             meet the shortfall in the implied
                                            reductions that may result from their                              advanced biofuel for 2023–2025, we are                          conventional renewable fuel category
                                            use, balanced with the projected                                   not establishing the advanced biofuel                           (plus the 250 million gallon
                                            increases in related feedstock                                     volume requirements for 2023–2025 at a                          supplemental volume for 2023). The
                                            production through 2025, the current                               level equal to the sum of the candidate                         implied non-cellulosic advanced biofuel
                                            high prices for vegetable oils that                                volumes for cellulosic biofuel and non-                         volumes for 2023–2025 we are finalizing
                                            indicate high demand for vegetable oils                            cellulosic advanced biofuel. As                                 in this rule are summarized in Table
                                            relative to previous years, and the                                discussed in greater detail in Section                          VI.B–1.

                                                                                                   TABLE VI.C–1—NON-CELLULOSIC ADVANCED BIOFUEL
                                                                                                                                      [Million RINs]

                                                                                                                                                                                 2023               2024               2025

                                            Candidate Volume (Total supply) ................................................................................................          6,505              6,495              7,171
                                            Needed to meet the implied Conventional Volume .....................................................................                      1,155              1,045              1,221
                                            Needed to meet the Supplemental Volume Requirement ..........................................................                               250                  0                  0
                                            Available for the Advanced Standard ..........................................................................................            5,100              5,450              5,950



                                            C. Biomass-Based Diesel                                            consistent with our policy in previous                          volume requirements will be used to
                                                                                                               annual rules, where we also set the BBD                         satisfy the advanced biofuel volume
                                               As described in the preceding section,                          volume requirement in concert with the                          requirement within which the BBD
                                            we are establishing advanced biofuel                               change, if any, in the implied non-                             volume requirement is nested.
                                            volumes that represent increases of 100                            cellulosic advanced biofuel volume                              Historically, the BBD standard has not
                                            million, 350 million, and 500 million                              requirement. In reviewing the                                   independently driven the use of BBD in
                                            ethanol-equivalent gallons per year in                             implementation of the RFS program to                            the market. This is due to the nested
                                            the implied non-cellulosic advanced                                date we determined that this approach                           nature of the standards and the
                                            biofuel volume requirement from 2023                               successfully balanced a desire to                               competitiveness of BBD relative to other
                                            through 2025. In concert, we are also                              provide support for BBD producers with                          advanced biofuels. Instead, the
                                            finalizing BBD volume requirements by                              an increasing guaranteed market, while                          advanced biofuel standard has driven
                                            an energy-equivalent amount; 65                                    at the same time maintaining an                                 the use of BBD in the market. Moreover,
                                            million physical gallons (100 million                              opportunity for other advanced biofuels                         BBD can also be driven by the implied
                                            ethanol-equivalent gallons), 220 million                           to compete within the advanced biofuel                          conventional renewable fuel volume
                                            physical gallons (350 million ethanol-                             category. Our assessment of the impacts                         requirement as an alternative to using
                                            equivalent gallons), and 310 million                               of BBD on the statutory factors is                              increasing volumes of corn ethanol in
                                                                                                               discussed further in the RIA.
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                                            gallons (500 million ethanol-equivalent                                                                                            higher level ethanol blends such as E15
                                            gallons) for 2023 through 2025                                        As in recent years, we believe that                          and E85. We believe these trends will
                                            respectively. This approach is                                     excess volumes of BBD beyond the BBD                            continue through 2025.
                                              217 In 2023, the implied volume for conventional                 million gallons makes the implied conventional                  in 2023 as the effective volume requirement for
                                            renewable fuel would be 15.00 billion gallons, but                 renewable fuel volume effectively 15.25 billion                 conventional renewable fuel.
                                            the inclusion of the supplemental standard of 250                  gallons. We sometimes refer to 15.25 billion gallons



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                                              We also believe it is important to                     program and after accounting for the                  facilities and related ethanol blending
                                            maintain space for other advanced                        projected increase in the availability of             and distribution activities. The rural
                                            biofuels to participate in the RFS                       higher-level ethanol blends such as E15               economies surrounding these industries
                                            program. Although the BBD industry                       and E85. We expect these constraints to               also benefit from strong demand for
                                            has matured over the past decade, the                    continue through 2025. The difficulty in              ethanol. The consumption of ethanol,
                                            production of advanced biofuels other                    reaching 15 billion gallons with ethanol              most notably that produced
                                            than biodiesel and renewable diesel                      is compounded by the fact that gasoline               domestically, reduces our reliance on
                                            continues to be relatively low and                       demand for 2023–2025 is not projected                 foreign sources of petroleum and
                                            uncertain. Maintaining this space for                    to recover to pre-pandemic levels, and                increases the energy security status of
                                            other advanced biofuels can in the long-                 moreover is expected to be lower by                   the U.S. as discussed in Section IV.B.
                                            term facilitate increased                                2025 than it was in 2022. These                          Although most corn ethanol
                                            commercialization and use of other                       constraints are reflected in the                      production occurs in facilities that
                                            advanced biofuels, which may have                        candidate volumes for conventional                    commenced construction prior to
                                            superior environmental benefits, avoid                   renewable fuel, which ranged from                     December 19, 2007, and is
                                            concerns with food prices and supply,                    approximately 13.8 to 14.0 billion                    ‘‘grandfathered’’ under the provisions of
                                            and have lower costs relative to BBD.                    gallons from 2023–2025 (see Table                     40 CFR 80.1403, and thus is not
                                            Conversely, we do not think increasing                   III.C.3–1).                                           required to achieve a 20 percent
                                            the size of this space is necessary                         Nevertheless, we do not believe that               reduction in GHGs in comparison to
                                            through 2025 given that only small                       constraints on ethanol consumption                    gasoline,220 nevertheless, based on our
                                            quantities of these other advanced                       should be the single determining factor               current assessment of GHG impacts, on
                                            biofuels have been used in recent years                  in the appropriate level of conventional              average corn ethanol provides some
                                            relative to the space we have provided                   renewable fuel to establish for 2023–                 GHG reduction in comparison to
                                            for them in those years.                                 2025. The implied volume requirement                  gasoline. Greater volumes of ethanol
                                                                                                     for conventional renewable fuel is not a              consumed thus correspond to greater
                                            D. Conventional Renewable Fuel                           requirement for ethanol, nor even for                 GHG reductions than would be the case
                                               Although Congress had intended                        conventional renewable fuel. Instead,                 if gasoline was consumed instead of
                                            cellulosic biofuel to become the most                    conventional renewable fuel is that                   ethanol.
                                            widely used renewable fuel by 2022,                      portion of total renewable fuel which is                 The volumes we are finalizing in this
                                            instead, conventional renewable fuel                     not required to be advanced biofuel. The              rule reflect an implied conventional
                                            has remained as the majority of                          implied volume requirement for                        renewable fuel volume of 15.0 billion
                                            renewable fuel supply since the RFS                      conventional renewable fuel can also be               gallons each year from 2023–2025.221
                                            program began in 2005. The favorable                     satisfied by non-ethanol advanced                     These volumes are consistent with the
                                            economics of blending corn ethanol at                    biofuel, such as conventional biodiesel               statutory intent of the RFS program and
                                            10 percent into gasoline caused it to                    and renewable diesel or advanced                      provide ongoing incentive for the use of
                                            quickly saturate the gasoline supply                     biodiesel and renewable diesel beyond                 higher-level ethanol blends. As
                                            shortly after the RFS program began and                  what is required by the advanced                      discussed in the preceding paragraphs,
                                            it has remained in nearly every gallon                   biofuel volume requirement.                           greater use of higher-level ethanol
                                            of gasoline used for transportation in the                  Higher-level ethanol blends such as                blends is expected to result in benefits
                                            United States ever since.                                E15 and E85 are one avenue through                    to rural economic development and
                                               The implied statutory volume target                   which higher volumes of renewable                     energy security and is projected to
                                            for conventional renewable fuel rose                     fuels can be used in the transportation               reduce GHG emissions from the
                                            annually between 2009 and 2015 until                     sector to reduce GHG emissions and                    transportation sector. While we
                                            it reached 15 billion gallons where it                   improve energy security over time, and                recognize that ethanol consumption is
                                            remained through 2022. EPA has used                      the incentives created by the implied                 highly unlikely to reach 15.0 billion
                                            15 billion gallons of conventional                       conventional renewable fuel volume                    gallons in any year through 2025 there
                                            renewable fuel in calculating the                        requirement contribute to the economic                are sufficient volumes of non-ethanol
                                            applicable percentage standards for                      attractiveness of these fuels. Moreover,              renewable fuels to enable the total
                                            several recent years, most recently for                  sustained and predictable support of                  renewable fuel volume requirements to
                                            2022.218 219                                             higher-level ethanol blends through the               be met.
                                               As discussed in Section III.B.5,                      level of the implied conventional                        In our proposed rule, the RFS
                                            constraints on ethanol consumption                       renewable fuel volume requirement                     volumes reflected an implied
                                            have made reaching 15 billion gallons                    helps provide some longer-term                        conventional renewable fuel volume of
                                            with ethanol alone infeasible, even with                 incentive for the market to invest in the             15.25 billion gallons for 2024 and 2025.
                                            the incentives provided by the RFS                       necessary infrastructure. As a result, we             In comments on our proposed rule
                                                                                                     do not believe it would be appropriate                multiple stakeholders stated that any
                                              218 EPA did not use 15 billion gallons of              to reduce the implied conventional                    increase in the implied volume
                                            conventional renewable fuel for 2016, but instead        renewable fuel volume requirement                     requirement for conventional renewable
                                            used the general waiver authority to reduce that                                                               fuel above 15 billion gallons was
                                            implied volume requirement below 15 billion
                                                                                                     below 15 billion gallons at this time.
                                            gallons. The U.S. Courts of Appeals for the D.C.            Our analysis of several of the statutory           inconsistent with Congress’ intention
                                            Circuit ruled in ACE that EPA had improperly used        factors highlighted, in our view, the                 that all increases in renewable fuel
                                            the general waiver authority, and remanded that          importance of ongoing support for corn                between 2015 and 2022 be in advanced
                                            rule back to EPA for reconsideration. As discussed       ethanol generally and for an implied                  biofuel, with conventional renewable
                                            in Section V, EPA is responding to this remand
                                            through the application of a supplemental standard       conventional renewable fuel volume                    fuel static at 15 billion gallons. We
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                                            in 2023 that, combined with an identical                 requirement that helps to incentivize
                                            supplemental standard in 2022, rectifies our             the domestic consumption of corn                        220 CAA section 211(o)(2)(A)(i).

                                            inappropriate use of the general waiver authority        ethanol. These include the economic                     221 In 2023, the implied volume for conventional
                                            for 2016. The effective implied conventional biofuel                                                           renewable fuel is 15.00 billion gallons, but the
                                            volume for 2023 of 15.25 billion gallons is thus a       advantages to the agricultural sector,                inclusion of the supplemental standard of 250
                                            result of the 2023 supplemental standard.                most notably for corn farmers, as well as             million gallons makes the conventional renewable
                                              219 87 FR 39600 (July 1, 2022).                        employment at ethanol production                      fuel volume effectively 15.25 billion gallons.



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                                            continue to believe that EPA has                                           implied conventional renewable fuel                                    production and use of advanced
                                            authority to establish RFS volumes that                                    volume of 15.0 billion gallons each year                               biofuels.
                                            reflect an implied conventional                                            from 2023–2025. We believe these                                         Table VI.B–1. shows the types of
                                            renewable fuel volume that is greater                                      volumes are supported by our analysis                                  biofuel we project will be supplied to
                                            than 15.0 billion gallons if these                                         of the statutory factors, are consistent                               meet the implied conventional
                                            volumes are supported by our analysis                                      with the statutory intent of the RFS                                   renewable fuel volumes, including both
                                            of the statutory factors. However, after                                   program, and appropriately balance a                                   conventional ethanol and non-cellulosic
                                            reviewing the public comments and                                          desire to provide continued incentives                                 advanced biofuels beyond those needed
                                            available data we have decided to                                          for higher level ethanol blends and a                                  to satisfy the advanced biofuel volume
                                            finalize RFS volumes that reflect an                                       desire to incentivize increasing                                       requirements.

                                                                        TABLE VI.D–1—MEETING THE CANDIDATE VOLUME FOR CONVENTIONAL RENEWABLE FUEL
                                                                                                                                                 [Million RINs]

                                                                                                                                                                                               2023           2024           2025

                                            Conventional ethanol ...................................................................................................................               13,845        13,955        13,779
                                            Non-cellulosic advanced biofuel ..................................................................................................                      1,405         1,045         1,221
                                               Total ......................................................................................................................................      a 15,250        15,000        15,000
                                              a Includes the additional 250 million RINs needed to satisfy the supplemental volume requirement addressing the remand of the 2016
                                            standards.


                                               Based on our assessment of available                                    volumes of advanced biodiesel and                                      E. Summary of Final Volume
                                            supply, we do not believe that there                                       renewable diesel are available.                                        Requirements
                                            would be a need for conventional                                           Nevertheless, such imports remain a                                       For the reasons described above, we
                                            biodiesel or renewable diesel to be                                        potential source in the event that the                                 are establishing RFS volume
                                            imported in order to help meet an                                          market did not respond to the candidate                                requirements based the four component
                                            effective conventional renewable fuel                                      volumes in the way that we have                                        categories discussed above. The
                                            candidate volume of 15.25 billion                                          projected it would. As discussed in                                    volumes for each of the component
                                            gallons in 2023 (after accounting for the                                  Section III.B.4.b, total production                                    categories (sometimes referred to as
                                            supplemental standard) and 15.0 billion                                    capacity from grandfathered biodiesel                                  implied volume requirements) are
                                            gallons in 2024 and 2025. A review of                                      and renewable diesel facilities is                                     summarized in Table VI.E–1. Also
                                            the recent RIN generation data suggests                                    approximately 2.5 billion gallons.                                     shown is the supplemental volume
                                            that conventional biodiesel and                                                                                                                   requirement addressing the 2016
                                            renewable diesel are unlikely to be                                                                                                               remand, discussed more fully in Section
                                            supplied to the U.S. market if sufficient                                                                                                         V.

                                                                                   TABLE VI.E–1—FINAL VOLUME REQUIREMENTS FOR COMPONENT CATEGORIES
                                                                                                                                                 [Billion RINs]

                                                                                                                                                                                               2023           2024           2025

                                            Cellulosic biofuel ..........................................................................................................................           0.84           1.09           1.38
                                            Biomass-based diesel a ...............................................................................................................                  2.82           3.04           3.35
                                            Non-cellulosic advanced biofuel ..................................................................................................                      5.10           5.45           5.95
                                            Conventional renewable fuel .......................................................................................................                    15.00          15.00          15.00
                                            Supplemental volume requirement ..............................................................................................                          0.25              0              0
                                               a BBD volumes are given in billion gallons.




                                               These final volumes are similar to, but                                 rule are equal to the volumes from the                                 gallons lower for 2024 and 2025. The
                                            higher than the volumes in the proposed                                    proposed rule in 2023, and 250 million                                 volumes for each of the four component
                                            rule (after accounting for the fact that                                   and 650 million ethanol-equivalent                                     categories shown in the table above can
                                            we are not finalizing the proposed eRIN                                    gallons higher in 2024 and 2025                                        be combined to produce volume
                                            provisions in this rule). Specifically, the                                respectively. Finally, the volumes for                                 requirements for the four statutory
                                            cellulosic biofuel volumes are higher for                                  conventional biofuel in this final rule                                categories on which the applicable
                                            all three years. The volumes for non-                                      are equal to the volumes in the                                        percentage standards are based. The
                                            cellulosic advanced biofuels in this final                                 proposed rule for 2023, and 250 million                                results are shown below.

                                                                                    TABLE VI.E–2—FINAL VOLUME REQUIREMENTS FOR STATUTORY CATEGORIES
                                                                                                                                                 [Billion RINs]
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                                                                                                                                                                                               2023           2024           2025

                                            Cellulosic biofuel ..........................................................................................................................           0.84           1.09           1.38
                                            Biomass-based diesel a ...............................................................................................................                  2.82           3.04           3.35
                                            Advanced biofuel .........................................................................................................................              5.94           6.54           7.33
                                            Total renewable fuel ....................................................................................................................              20.94          21.54          22.33



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                                                                        TABLE VI.E–2—FINAL VOLUME REQUIREMENTS FOR STATUTORY CATEGORIES—Continued
                                                                                                                                               [Billion RINs]

                                                                                                                                                                                              2023              2024               2025

                                            Supplemental volume requirement ..............................................................................................                           0.25                 0                 0
                                               a BBD volumes are given in billion gallons.




                                              We believe that these volume                                            requirements by establishing percentage                               straightforward and easily
                                            requirements will preserve and continue                                   standards that apply to obligated                                     implementable alternative mechanisms,
                                            the gains made through biofuels in                                        parties, consistent with the statutory                                nor were any suggested in comments on
                                            previous years when the statute                                           requirements at CAA section                                           the proposal. Therefore, we are
                                            specified applicable volume targets. In                                   211(o)(3)(B). The statute gives EPA                                   continuing to use percentage standards
                                            particular, these volume requirements                                     discretion as to how applicable volume                                as the implementing mechanism for
                                            will help ensure that the transportation                                  requirements should be implemented                                    years after 2022.
                                            sector will realize additional reductions                                 for years after 2022. The CAA requires                                   The obligated parties to which the
                                            in GHGs and that the U.S. will                                            EPA to promulgate regulations that,                                   percentage standards apply are
                                            experience greater energy independence                                    regardless of the date of promulgation,                               producers and importers of gasoline and
                                            and energy security. The volume                                           contain compliance provisions                                         diesel, as defined by 40 CFR
                                            requirements will also promote ongoing                                    applicable to refineries, blenders,                                   80.1406(a).224 Each obligated party
                                            development within the biofuels and                                       distributors, and importers that ensure
                                            agriculture industries as well as the                                                                                                           multiplies the percentage standards by
                                                                                                                      that the volumes in CAA section                                       the sum of all non-renewable gasoline
                                            economies of the rural areas in which                                     211(o)(2)(B), which includes set
                                            biofuels production facilities and                                                                                                              and diesel they produce or import to
                                                                                                                      volumes, are met.222 Further, under the                               determine their Renewable Volume
                                            feedstock production reside.
                                              As discussed in Section II, our                                         statutory requirement that we review                                  Obligations (RVOs).225 The RVOs are
                                            volume requirements for 2023 and the                                      implementation of the program in prior                                the number of RINs that the obligated
                                            associated percentage standards will not                                  years as part of our determination of the                             party is responsible for procuring to
                                            be in place prior to the beginning of                                     appropriate volume requirements for                                   demonstrate compliance with the
                                            2023, and we are establishing the 2024                                    years after 2022,223 we considered the                                applicable standards for that year. Since
                                            applicable volumes after the statutory                                    past effectiveness of the use of                                      there are four separate standards under
                                            deadline. For the reasons described in                                    percentage standards as the                                           the RFS program, there are likewise four
                                            Section II, the standards are nonetheless                                 implementation mechanism for volume                                   separate RVOs applicable to each
                                            appropriate.                                                              requirements. We determined that this                                 obligated party for each year.226 The
                                                                                                                      mechanism continues to be effective                                   renewable fuel volumes used to
                                            VII. Percentage Standards for 2023–                                       and reasonable, and obligated parties                                 determine the 2023, 2024, and 2025
                                            2025                                                                      are, at this point, very familiar with this                           percentage standards are described in
                                              EPA has historically implemented the                                    implementation mechanism. We were                                     Section VI.E and are shown in Table
                                            nationally applicable volume                                              also unable to identify any                                           VII–1.

                                                                    TABLE VII–1—VOLUMES FOR USE IN DETERMINING THE APPLICABLE PERCENTAGE STANDARDS
                                                                                                                                               [Billion RINs]

                                                                                                                                                                                              2023              2024               2025

                                            Cellulosic biofuel ..........................................................................................................................           0.84              1.09              1.38
                                            Biomass-based diesel a ...............................................................................................................                  2.82              3.04              3.35
                                            Advanced biofuel .........................................................................................................................              5.94              6.54              7.33
                                            Renewable fuel ............................................................................................................................            20.94             21.54             22.33
                                            Supplemental standard ................................................................................................................                  0.25               n/a               n/a
                                               a The BBD volumes are in physical gallons (rather than RINs).




                                              As described in Section II.D, EPA is                                    A. Calculation of Percentage Standards                                  In addition to the required volumes of
                                            permitted to establish applicable                                           The formulas used to calculate the                                  renewable fuel, the formulas also
                                            percentage standards for multiple future                                  percentage standards applicable to                                    require estimates of the volumes of non-
                                            years after 2022 in a single action for as                                obligated parties are provided in 40 CFR                              renewable gasoline and diesel, for both
                                            many years as it establishes volume                                       80.1405(c). We are continuing to use the                              highway and nonroad uses, that are
                                            requirements.                                                             percentage standard mechanism to                                      projected to be used in the year in
                                                                                                                      implement the volume requirements for                                 which the standards will apply. In
                                                                                                                      years after 2022.                                                     previous annual standard-setting rules,
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                                              222 CAA section 211(o)(2)(A)(i) and (iii).                              Section IX.K, we further discuss the consolidation                    remand of the 2016 standards under ACE. That
                                              223 CAA section 211(o)(2)(B)(ii).                                       of all definitions in 40 CFR part 80, subpart M, into                 supplemental standard is in addition to the four
                                              224 Note that in this action, we are moving the                         the definitions section at 40 CFR 80.2. EPA is not                    standards required under the statute, though as
                                            definition of ‘‘obligated party’’ without                                 reopening the definition of obligated party.                          described in Section V, compliance demonstrations
                                                                                                                         225 40 CFR 80.1407.                                                for total renewable fuel and the supplemental
                                            modification from 40 CFR 80.1406(a) to 40 CFR
                                            80.2. This is part of an effort to consolidate all                           226 As discussed in Section V, we are finalizing                   standard will be combined in annual compliance
                                            defined terms into a single regulatory section. In                        a supplemental standard for 2023 to address the                       reports submitted under 40 CFR 80.1451.



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                                            the statute required the Energy                                          years. Therefore, we cannot use the                    and does not incur an RVO under the
                                            Information Administration (EIA) to                                      STEO as a source for projections of                    RFS program—the volumes of these
                                            provide to EPA projected volumes of                                      gasoline and diesel for this action and                fuels are subtracted out of the EIA
                                            transportation fuel to be sold or                                        are instead using EIA’s 2023 Annual                    projections of diesel. Third, the
                                            introduced into commerce in the United                                   Energy Outlook (AEO) for the purposes                  projected gasoline, diesel, and
                                            States for the following calendar year by                                of calculating the percentage standards                renewable fuel volumes in AEO 2023
                                            October 31 of each year.227 However,                                     in this action.229                                     include projections of these fuels used
                                            the last year to which this statutory                                      Before using EIA’s projections of                    in Alaska. Since Alaska is not part of the
                                            requirement applied was 2021 and                                         gasoline and diesel, however, several                  RFS covered area—and therefore fuel
                                            therefore it does not apply to                                           adjustments need to be made. First, the                used in this state is excluded from the
                                            compliance years after 2022. Moreover,                                   projected gasoline and diesel volumes                  RFS program—the volumes of gasoline,
                                            historically the transportation fuel                                     in AEO 2023 include projections of                     diesel, and renewable fuel used in
                                            projections EIA provided to EPA                                          renewable fuels used in transportation                 Alaska are subtracted out of EIA’s
                                            consisted of the gasoline and diesel                                     fuel (e.g., ethanol, biodiesel, and                    nationwide projections of these fuels.230
                                            volume projections from EIA’s Short                                      renewable diesel). Since renewable fuels               Finally, as discussed in RIA Chapter
                                            Term Energy Outlook (STEO).228 The                                       are not subject to the percentage                      1.11, EPA has determined that it is
                                            STEO only provides volume projections                                    standards, the volumes of renewable                    necessary to make an adjustment to the
                                            for one future calendar year, which was                                  fuel are subtracted out of the EIA                     projections of gasoline and diesel
                                            sufficient to inform past annual                                         projections of gasoline and diesel.                    provided by EIA in AEO 2023 to
                                            standard-setting rulemakings as they                                     Second, the projected diesel volumes in                accurately reflect the gasoline and diesel
                                            never established applicable percentage                                  AEO 2023 also include projections of                   volumes ultimately used by obligated
                                            standards for more than one future                                       diesel used in ocean-going vessels.                    parties in their RVO calculations. The
                                            calendar year. In contrast, this                                         Since fuel used in ocean-going vessels is              table below provides the precise
                                            rulemaking establishes volume                                            explicitly excluded from the definition                projections from AEO 2023 used to
                                            requirements and associated percentage                                   of transportation fuel in 40 CFR 80.2—                 calculate the percentage standards for
                                            standards for three future calendar                                      and therefore is not an obligated fuel                 2023–2025.

                                                  TABLE VII.A–1—AEO 2023 VOLUMES USED FOR THE CALCULATION OF PERCENTAGE STANDARDS FOR 2023–2025
                                                                 Fuel category                                        Table                                                    Line

                                            Gasoline ....................................................       Table 11 a ......     Product Supplied/by Fuel/Motor Gasoline.
                                            Renewables blended into gasoline ...........                        Table 2 ...........   Energy Use & Related Statistics/Ethanol (denatured) Consumed in Motor Gasoline.
                                                                                                                Table 11 .........    Biofuels/Other Biomass-derived Liquids.
                                            Diesel .........................................................    Table 11 .........    Product Supplied/by Fuel/Distillate fuel oil/of which: Diesel.
                                            Renewables blended into diesel ...............                      Table 11 .........    Biofuels/Biodiesel.
                                                                                                                                      Biofuels/Renewable Diesel.
                                            Diesel used in ocean-going vessels ..........                       Table 49 .........    International Shipping/Distillate Fuel Oil (diesel).
                                               a In
                                                  the proposal for this action, we used the gasoline demand forecasts from Table 2 of AEO 2022 to calculate the proposed percentage
                                            standards. We intended to use Table 2 of AEO 2023 to calculate the percentage standards in this action as well; however, EIA informed EPA
                                            that 2023 gasoline demand forecast in Table 2 is not benchmarked to STEO whereas it is in Table 11 and directed EPA to use the values in
                                            Table 11 instead.


                                              In order to convert projections                                        the small refinery suffered                            demonstrates that it would suffer
                                            provided by EIA in energy units into the                                 ‘‘disproportionate economic hardship.’’                disproportionate economic hardship
                                            volumes needed for the calculation of                                    CAA section 211(o)(9)(A)(ii)(II) and                   caused by compliance with the RFS
                                            percentage standards, we used the                                        (B)(i).                                                program requirements and not due, even
                                            conversion factors provided in AEO                                          The annual percentage standards                     in part, to other factors.232 In applying
                                            2023 Table 68.231                                                        herein are based on our projection that                this new statutory interpretation, we
                                            B. Treatment of Small Refinery Volumes                                   no gasoline or diesel produced by small                found that that none of the small
                                                                                                                     refineries will be exempt from RFS                     refinery petitioners suffered
                                              In CAA section 211(o)(9), Congress                                     requirements pursuant to CAA section                   disproportionate economic hardship
                                            provided for qualifying small refineries                                 211(o)(9) for 2023–2025. In April and                  caused by their compliance with the
                                            to be temporarily exempt from RFS                                        June 2022, EPA denied 105 pending                      RFS because all obligated parties,
                                            compliance through December 31, 2010.                                    SRE petitions for years spanning 2016                  including small refineries, are able to
                                            Congress also provided that small                                        through 2020, finding that, consistent                 pass through the costs of their RFS
                                            refineries could receive an extension of                                 with the holding of the U.S. Court of                  compliance (i.e., RIN costs) to their
                                            the exemption beyond 2010 based either                                   Appeals for the Tenth Circuit in                       customers in the form of higher sales
                                            on the results of a required Department                                  Renewable Fuels Association v. EPA,                    prices for gasoline and diesel.
                                            of Energy (DOE) study or in response to                                  SREs can only be granted under CAA                     Accordingly, we denied all SRE
                                            individual petitions demonstrating that                                  section 211(o)(9) if a small refinery                  petitions pending at that time.233
                                              227 CAA section 211(o)(3)(A).                                          2023. Instead, we use data from EIA’s State Energy       232 Renewable Fuels Assn v. EPA, 948 F.3d 1206,
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                                              228 See, for example, ‘‘EIA letter to EPA with 2020                    Data System (SEDS) to estimate the portion of these    1253–54 (10th Cir. 2020); see generally, April 2022
                                            volume projections 10–9–2019,’’ available in the                         fuels used in Alaska, available at https://            SRE Denial Action and June 2022 SRE Denial
                                            docket.                                                                  www.eia.gov/state/seds/seds-data-fuel.php.             Action.
                                                                                                                                                                              233 For a fuller discussion of EPA’s revised
                                              229 Available at https://www.eia.gov/outlooks/aeo.                       231 Available at https://www.eia.gov/outlooks/
                                                                                                                                                                            statutory interpretation and analysis of the costs of
                                              230 State-specific projections of gasoline, diesel,                    aeo/data/browser/#/?id=20-AEO2023&
                                                                                                                                                                            RFS compliance, see the April and June 2022
                                            and renewable fuel usage are not provided in AEO                         cases=ref2023&sourcekey=0.
                                                                                                                                                                            Denial Actions at Section IV.D.



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                                              Absent new arguments and                                                with their proportional RFS                                             standards require the specification of a
                                            supporting data to the contrary, we                                       obligations.234 Nevertheless, because the                               total of 14 variables comprising the
                                            anticipate that the CAA interpretation                                    obligations are calculated by applying                                  renewable fuel volume requirements,
                                            and analysis presented in the April and                                   the percentage standards to gasoline and                                projected gasoline and diesel demand
                                            June 2022 SRE Denial Actions will also                                    diesel production volume, the RFS                                       for all states and territories where the
                                            apply to these future-year SRE petitions.                                 volume obligations on small refineries                                  RFS program applies, renewable fuels
                                            Consequently, at this time, we                                            are proportionally smaller than on larger                               projected by EIA to be included in the
                                            anticipate that no SREs will be granted                                   obligated parties. Even were EPA to                                     gasoline and diesel demand, and
                                            for these future years, including the                                     grant an SRE in the future for 2023–                                    projected gasoline and diesel volumes
                                            2023–2025 compliance years covered by                                     2025, we do not plan to revise the                                      from exempt small refineries. The
                                            this action. Therefore, we project that                                   percentage standards to account for                                     values of all the variables used for this
                                            the exempt volumes from SREs to be                                        such an exemption.235                                                   rule are shown in Table VII.C–1 for
                                            included in the calculation specified by
                                            40 CFR 80.1405(c) for 2023, 2024, and                                     C. Percentage Standards                                                 2023, 2024, and 2025.236
                                            2025 will be zero, and all small                                            The formulas in 40 CFR 80.1405 for
                                            refineries will be required to comply                                     the calculation of the percentage
                                                                        TABLE VII.C–1—VOLUMES FOR TERMS IN CALCULATION OF THE PERCENTAGE STANDARDS
                                                                                                                                               [Billion RINs]

                                                                                                                                                                                                          2023
                                                   Term                                                              Description                                                            2023                            2024          2025
                                                                                                                                                                                                       Supplemental

                                            RFVCB ............         Required volume of cellulosic biofuel .........................................................                        0.84               0.00          1.09          1.38
                                            RFVBBD ..........          Required volume of biomass-based diesel a ..............................................                               2.82               0.00          3.04          3.35
                                            RFVAB ............         Required volume of advanced biofuel ........................................................                           5.94               0.00          6.54          7.33
                                            RFVRF ............         Required volume of renewable fuel ............................................................                        20.94               0.25         21.54         22.33
                                            G ....................     Projected volume of gasoline ......................................................................                  138.62             138.62        139.57        137.49
                                            D .....................    Projected volume of diesel ..........................................................................                 55.44              55.44         52.59         52.04
                                            RG ..................      Projected volume of renewables in gasoline ..............................................                             14.48              14.48         14.89         14.77
                                            RD ..................      Projected volume of renewables in diesel ..................................................                            4.48               4.48          4.93          4.73
                                            GS ..................      Projected volume of gasoline for opt-in areas ............................................                             0.00               0.00          0.00          0.00
                                            RGS ................       Projected volume of renewables in gasoline for opt-in areas ....................                                       0.00               0.00          0.00          0.00
                                            DS ..................      Projected volume of diesel for opt-in areas ................................................                           0.00               0.00          0.00          0.00
                                            RDS ................       Projected volume of renewables in diesel for opt-in areas ........................                                     0.00               0.00          0.00          0.00
                                            GE ..................      Projected volume of gasoline for exempt small refineries ..........................                                    0.00               0.00          0.00          0.00
                                            DE ..................      Projected volume of diesel for exempt small refineries ..............................                                  0.00               0.00          0.00          0.00
                                              a The BBD volume used in the formula represents physical gallons. The formula contains a 1.6 multiplier to convert this physical volume to eth-
                                            anol-equivalent volume, consistent with the change to the BBD conversion factor discussed in Section X.D.


                                              Using the volumes shown in Table                                        percentage standards for 2023, 2024,
                                            VII.C–1, we have calculated the                                           and 2025 as shown in Table VII.C–2.

                                                                                                                   TABLE VII.C–2—PERCENTAGE STANDARDS
                                                                                                                                                                                                2023                2024                2025
                                                                                                                                                                                                 (%)                 (%)                 (%)

                                            Cellulosic biofuel ..........................................................................................................................             0.48                0.63                0.81
                                            Biomass-based diesel ..................................................................................................................                   2.58                2.82                3.15
                                            Advanced biofuel .........................................................................................................................                3.39                3.79                4.31
                                            Renewable fuel ............................................................................................................................              11.96               12.50               13.13
                                            Supplemental standard ................................................................................................................                    0.14                 n/a                 n/a



                                              The percentage standards shown in                                       apply to producers and importers of                                     VIII. Administrative Actions
                                            Table VII.C–2 are included in the                                         gasoline and diesel.
                                                                                                                                                                                              A. Assessment of the Domestic
                                            regulations at 40 CFR 80.1405(a) and                                                                                                              Aggregate Compliance Approach
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                                              234 We are not prejudging any SRE petitions in                            235 See Renewable Fuel Standard (RFS) Program:                          236 See ‘‘Calculation of Final 2023–2025

                                            this action; however, absent a sufficient                                 RFS Annual Rules, Response to Comments, EPA–                            Percentage Standards,’’ available in the docket for
                                            demonstration that a small refinery experiences                           420–R–22–009, June 2022, at 145 for further                             this action.
                                            DEH caused by compliance with the RFS program,                            discussion on our approach to this projection in the
                                            we do not anticipate granting SREs in the future.                         event we grant a future SRE.



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                                               The RFS regulations specify an                        monitor total agricultural land annually               reform provisions will also substantially
                                            ‘‘aggregate compliance’’ approach for                    to determine if national agricultural                  help improve oversight of the program
                                            demonstrating that planted crops and                     land acreage increases above this 2007                 and mitigate against the potential for
                                            crop residue from the U.S. comply with                   national aggregate baseline, as specified              parties to double-count biogas and RNG
                                            the ‘‘renewable biomass’’ requirements                   in the RFS2 Rule.240                                   given the program’s expansion, thereby
                                            that address lands from which                                                                                   helping to ensure that only valid RINs
                                                                                                     B. Assessment of the Canadian
                                            qualifying feedstocks may be                                                                                    are generated for biogas-derived
                                                                                                     Aggregate Compliance Approach
                                            harvested.237 In the 2010 RFS2                                                                                  renewable fuels. EPA received comment
                                            rulemaking, EPA established a baseline                      The RFS regulations specify a petition              from many stakeholders on our
                                            number of acres for U.S. agricultural                    process through which EPA may                          proposed biogas regulatory reform
                                            land in 2007 (the year of EISA’s                         approve the use of an aggregate                        provisions; we summarize and respond
                                            enactment) and determined that as long                   compliance approach for planted crops                  to all comments received in RTC
                                            as this baseline number of acres is not                  and crop residue from foreign                          Section 10.
                                            exceeded, it is unlikely, based on our                   countries.241 On September 29, 2011,
                                                                                                     EPA approved such a petition from the                  A. Background
                                            assessment of historical trends and
                                            economic considerations, that new land                   Government of Canada.242 The total                     1. Statutory Authority
                                            outside of the 2007 baseline is being                    agricultural land in Canada in 2022 is
                                                                                                                                                               Congress established the RFS2
                                            devoted to crop production. The                          estimated at 116.4 million acres. This
                                                                                                                                                            program in the 2007 Energy
                                            regulations specify, therefore, that                     total agricultural land area includes 94.9
                                                                                                                                                            Independence and Security Act (EISA).
                                            renewable fuel producers using planted                   million acres of cropland and summer
                                                                                                                                                            Among other revisions to the prior RFS1
                                            crops or crop residue from the U.S. as                   fallow, 11.7 million acres of
                                                                                                                                                            program that had been established by
                                            feedstock in renewable fuel production                   pastureland, and 9.8 million acres of
                                                                                                                                                            EPAct 2005, EISA defined renewable
                                            need not undertake individual                            agricultural land under conservation
                                                                                                                                                            fuel as ‘‘fuel that is produced from
                                            recordkeeping and reporting related to                   practices. This acreage estimate is based
                                                                                                                                                            renewable biomass and that is used to
                                            documenting that their feedstocks come                   on the same methodology used to set the
                                                                                                                                                            replace or reduce the quantity of fossil
                                            from qualifying lands, unless EPA                        2007 baseline acreage for Canadian
                                                                                                                                                            fuel present in a transportation fuel.’’ 246
                                            determines through one of its annual                     agricultural land in EPA’s response to
                                                                                                                                                            This definition has two relevant key
                                            evaluations that the 2007 baseline                       Canada’s petition. This 2022 acreage
                                                                                                                                                            components, both of which are
                                            acreage of 402 million acres agricultural                does not exceed the 2007 baseline
                                                                                                                                                            necessary to generate RINs: (1) The fuel
                                            land has been exceeded. The regulations                  acreage of 122.1 million acres.243 We
                                                                                                                                                            must be produced from renewable
                                            promulgated in 2010 require EPA to                       will continue to monitor total
                                                                                                                                                            biomass, and (2) The fuel must be used
                                                                                                     agricultural land annually to determine
                                            make an annual finding concerning                                                                               to replace or reduce fossil fuel used as
                                                                                                     if Canadian agricultural land acreage
                                            whether the 2007 baseline amount of                                                                             transportation fuel. EISA also provided
                                                                                                     increases above its 2007 aggregate
                                            U.S. agricultural land has been                                                                                 a definition of ‘‘renewable biomass,’’
                                                                                                     baseline, as specified in the RFS2
                                            exceeded in a given year. If the baseline                                                                       enumerating the seven categories of
                                                                                                     Rule.244
                                            is found to have been exceeded, then                                                                            feedstocks that can be used to produce
                                            producers using U.S. planted crops and                   IX. Biogas Regulatory Reform                           qualifying renewable fuel under
                                            crop residue as feedstocks for renewable                    We are finalizing biogas regulatory                 RFS2.247 This statutory definition of
                                            fuel production would be required to                     reform provisions to allow for the use of              renewable biomass includes, among
                                            comply with individual recordkeeping                     biogas as a biointermediate and RNG as                 other things, separated yard waste,
                                            and reporting requirements to verify                     a feedstock to produce biogas-derived                  separated food waste, animal waste
                                            that their feedstocks are renewable                      renewable fuels other than renewable                   material, and crop residue, any of which
                                            biomass.                                                 CNG/LNG.245 The biogas regulatory                      are commonly used to produce biogas
                                               Based on data provided by the USDA                                                                           through anaerobic digestion.248 EISA, as
                                            Farm Service Agency (FSA) and Natural                    and Wetlands Reserve Program (WRP). Given this         reflected in CAA section 211(o)(2)(A)(i),
                                            Resources Conservation Service (NRCS),                   data, EPA estimated the total U.S. agricultural land
                                            we have estimated that U.S. agricultural                 both including and omitting the GRP and WRP            and that has undergone treatment to remove
                                            land reached approximately 384.7                         acreage. In 2021, combined land under GRP and          impurities and inert gases to a level suitable for its
                                                                                                     WRP totaled 2,993,177 acres. Subtracting the GRP       use to produce renewable CNG/LNG, but is not
                                            million acres in 2022 and thus did not                   and WRP acreage in addition to the Agriculture         injected onto the natural gas commercial pipeline
                                            exceed the 2007 baseline acreage of 402                  Conservation Easement Program acreage yields an        system as treated biogas. Generally, the primary
                                            million acres.238 239 We will continue to                estimate of 379.6 million total acres of U.S.          difference between RNG and treated biogas is that
                                                                                                     agricultural land in 2021. Just subtracting the        RNG is injected onto the natural gas commercial
                                               237 40 CFR 80.1454(g). EPA established the            Agriculture Conservation Easement Program leads        distribution system and treated biogas is distributed
                                                                                                     to an estimate of 382.6 million total acres of U.S.    via a closed, private distribution system.
                                            ‘‘aggregate compliance’’ approach in the 2010 RFS2                                                              Biomethane is the methane component of biogas,
                                                                                                     agricultural land in 2021.
                                            rule and has applied it for the U.S. in annual RFS         240 75 FR 14701.                                     treated biogas, and RNG that is derived from
                                            rulemakings since then. See 75 FR 14701–04. In this                                                             renewable biomass. Under the previous and new
                                                                                                       241 40 CFR 80.1457.
                                            final rule, we have not reexamined or reopened this                                                             regulations, RIN generation is based on the energy,
                                                                                                       242 See ‘‘EPA Decision on Canadian Aggregate
                                            policy, including the regulations at 40 CFR                                                                     in BTUs, from biomethane (exclusive of impurities,
                                            80.1454(g) and 80.1457. Similarly, as further            Compliance Approach Petition’’ (Docket Item No.        inert gases often found with biomethane in biogas)
                                            explained below, we have applied this approach for       EPA–HQ–OAR–2011–0199–0015).                            that is demonstrated to be used as transportation
                                            Canada since our approval of Canada’s petition to          243 The data used to make this calculation can be
                                                                                                                                                            fuel.
                                            use aggregate compliance in 2011. In this final rule,    found in ‘‘Assessment of Canadian Aggregate               246 CAA section 211(o)(1)(J).
                                            we have also not reexamined or reopened our              Compliance Approach 2022,’’ available in the              247 CAA section 211(o)(1)(I).
                                            decision on that petition. Any comments we               docket for this action.                                   248 Biogas was explicitly included in EPAct 2005
                                            received on these issues are beyond the scope of           244 75 FR 14701.
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                                                                                                                                                            as a renewable fuel and therefore was included in
                                            this rulemaking.                                           245 For purposes of this section of the preamble,
                                                                                                                                                            the RFS1 program that applied from 2006–2009. In
                                               238 For additional analysis and the underlying
                                                                                                     by renewable natural gas or RNG, we mean a             the 2010 rulemaking that established the RFS2
                                            USDA data, see ‘‘Assessment of Domestic Aggregate        product derived from biogas that is produced from      program based on changes to CAA section 211(o)
                                            Compliance Approach 2022,’’ available in the             renewable biomass and that meets the natural gas       enacted through EISA in 2007, we concluded that
                                            docket for this action.                                  commercial distribution pipeline specification for     biogas was a qualifying renewable fuel if it is
                                               239 USDA also provided EPA with 2021 data from        the pipeline that it is injected into. We refer to     produced from ‘‘renewable biomass.’’ See 75 FR
                                            the discontinued Grassland Reserve Program (GRP)         biogas that is produced from renewable biomass         14685–14686 (March 26, 2010).



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                                            also directs EPA to ‘‘promulgate’’ and                   requirements and applicable RFS                       only distributed via a closed, private,
                                            ‘‘revise’’ ‘‘regulations . . . to ensure that            pathway.250                                           non-commercial system, the renewable
                                            transportation fuel sold or introduce                                                                          CNG/LNG must be produced from
                                                                                                     2. Regulatory History
                                            into commerce . . . contains at least the                                                                      renewable biomass under an EPA-
                                            applicable volume of renewable fuel,                        In the 2010 RFS2 rule, EPA included                approved pathway and demonstrated to
                                            advanced biofuel, cellulosic biofuel, and                regulatory provisions for the generation              be sold and used as transportation
                                            biomass-based diesel.’’ The regulations                  of advanced biofuel (D code 5, or D5)                 fuel.252 Under this scenario, only
                                            EPA is promulgating as part of biogas                    RINs from biogas used as transportation               renewable CNG/LNG that was produced
                                            regulatory reform in this action are                     fuel. The RFS2 regulations listed biogas              and distributed as transportation fuel in
                                            necessary to ensure that biogas and RNG                  as the fuel and included provisions for               a closed, private non-commercial
                                            used to produce fuels that are in turn                   how a party demonstrated that biogas                  system could generate RINs. Typically,
                                            used to satisfy the statutory volume                     was used as transportation fuel.                      parties that generate RINs under the
                                            requirements actually qualify as                         However, biogas as the term is defined                closed scenario are directly supplying
                                            renewable fuel, i.e., are actually                       in EPA’s regulations and often used by                renewable CNG/LNG to a CNG/LNG
                                            produced from renewable biomass and                      industry is not actually a product that               fleet in close proximity to where the
                                            used as transportation fuel.                             can be used as a transportation fuel.                 biogas is produced and collected and in
                                                                                                     Biogas must undergo significant                       many cases the party that generates the
                                               Additionally, the statutory definition                treatment to be used as a fuel especially             RIN is the same party that owns/
                                            of advanced biofuel at CAA section                       in the form CNG/LNG because                           operates the CNG/LNG fleet.
                                            211(o)(1)(B)(ii)(V) explicitly identifies                impurities found in biogas could cause                   The second scenario under which
                                            biogas as a valid form of advanced                       substantial operability issues thereby                RINs could be generated for renewable
                                            biofuel. However, the statute does not                   harming CNG/LNG engines.                              CNG/LNG addresses when renewable
                                            specify how biogas that is produced                      Additionally, after promulgating the                  CNG/LNG is introduced into a
                                            from renewable biomass must be used                      pathway for D5 RINs EPA received                      commercial distribution system (e.g.,
                                            in order to qualify as renewable fuel                    several pathway petitions requesting                  natural gas commercial pipeline
                                            (i.e., in the form of CNG or LNG, or in                  that EPA allow for the generation of                  system). In addition to demonstrating
                                            some other form). Biogas can be used as                  cellulosic biofuel (D code 3, or D3) RINs             that the CNG/LNG is produced from
                                            a feedstock to create renewable CNG/                     for biogas produced from cellulosic                   renewable biomass under an EPA-
                                            LNG, through clean-up and                                feedstocks.                                           approved pathways and sold and used
                                            compression, or to produce other fuels,                     In 2014, EPA finalized the RFS                     as transportation fuel, potential RIN
                                            such as hydrogen or Fischer-Tropsch                      ‘‘Pathways II’’ rule, which among other               generators under this scenario must also
                                            fuels. In this action, we are putting in                 things added specific RIN-generating                  demonstrate that the RNG was loaded
                                            place provisions that will allow for                     pathways for renewable CNG, renewable                 onto and withdrawn from a physically-
                                            biogas to be used as a biointermediate                   LNG, and renewable electricity to rows                connected natural gas commercial
                                            feedstock to produce renewable fuels                     Q and T to Table 1 of 40 CFR 80.1426                  distribution system, that the amount of
                                            other than renewable CNG/LNG. As                         (‘‘Pathway Q’’ and ‘‘Pathway T’’,                     CNG/LNG sold as transportation fuel
                                            explained in our action establishing a                   respectively).251 Pathway Q allowed for               corresponds with the amount of RNG
                                            biointermediates program,                                D3 RIN generation for renewable CNG/                  placed onto the natural gas commercial
                                            biointermediates are simply renewable                    LNG produced from biogas from                         distribution system, and that no other
                                            biomass feedstocks that are partially                    landfills, municipal wastewater                       party relied on the RNG for the creation
                                            processed at one facility before being                   treatment facility digesters, agricultural            of RINs.253 These additional
                                            transported to a different facility to                   digesters, and separated municipal solid              requirements for CNG/LNG transmitted
                                            complete processing into renewable                       waste (MSW) digesters, as well as biogas              via a natural gas commercial
                                            fuel.249 While EPA had historically not                  from the cellulosic components of                     distribution system were designed to
                                            permitted feedstocks to be processed at                  biomass processed in other waste                      ensure that the amount of renewable
                                            multiple facilities due to                               digesters. Pathway T allowed for D5 RIN               CNG/LNG claimed to have been used as
                                            implementation and oversight concerns,                   generation for renewable CNG/LNG                      transportation fuel corresponds with the
                                            we recently expanded the program to                      from biogas from waste digesters, which               amount of RNG placed onto the natural
                                            allow processing at two different                        encompasses non-cellulosic biogas.                    gas commercial distribution system and
                                            facilities under certain circumstances.                  These two pathways were structured so                 that such CNG/LNG is not double
                                            In establishing the initial                              that biogas from approved sources                     counted for RIN generation.
                                            biointermediates program, EPA did not                    would be the feedstock and renewable
                                                                                                                                                              Since promulgation of the prior
                                            include biogas as a biointermediate                      CNG/LNG would be the finished fuel for
                                                                                                                                                           regulatory provisions in the RFS
                                            because we acknowledged that the                         RIN generation purposes.
                                                                                                        The Pathways II rule also established              Pathways II rule,254 many parties have
                                            regulations we were promulgating at                                                                            requested that EPA approve pathways to
                                            that time would not be appropriate for                   a then new set of regulatory provisions
                                                                                                     that detail the criteria necessary for                allow the use of biogas as a
                                            the more complex circumstances of                                                                              biointermediate to produce various
                                            biogas. The biogas regulatory reform                     biogas to be demonstrated to be
                                                                                                     renewable fuel and thus eligible to                   types of fuels (e.g., steam methane
                                            regulations we are promulgating in this                                                                        reforming the biogas into hydrogen or
                                            action provide the compliance and                        generate RINs. The regulations address
                                                                                                     two scenarios under which renewable                   using a Fischer-Tropsch process to turn
                                            oversight mechanisms necessary to                                                                              biogas into renewable diesel). These
                                            allow biogas to be processed into a                      CNG/LNG is produced and used for
                                                                                                                                                           parties have suggested that EPA should
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                                            biointermediate at one facility and then                 transportation. First, for renewable
                                                                                                     CNG/LNG produced from biogas that is                  encourage these biogas-derived
                                            further processed into renewable fuel at                                                                       renewable fuels to increase the
                                            a second facility while remaining                          250 The regulations similarly allow RNG that has
                                            consistent with the statutory                            been placed on a commercial pipeline be                 252 40 CFR 80.1426(f)(10)(i).

                                                                                                     withdrawn and used to produce renewable fuel.           253 40 CFR 80.1426(f)(11)(i).
                                              249 87 FR 39600, 39635–51 (July 1, 2022).                251 79 FR 42128 (July 18, 2014).                      254 See 79 FR 42128 (July 18, 2014).




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                                            production and use of advanced and                       a. Biogas and RNG                                          much smaller; sometimes even being a
                                            cellulosic renewable fuels.                                 Under the previous biogas provisions,                   single party if the same party produces
                                               In the 2020–2022 RFS Standards Rule,                  EPA broadly defined biogas as ‘‘the                        the biogas, treats and compresses/
                                            we promulgated regulatory provisions                     mixture of hydrocarbons that is a gas at                   liquifies it, and supplies an onsite fleet
                                            that allowed for the generation of RINs                  60 degrees Fahrenheit and 1 atmosphere                     of CNG/LNG vehicles.
                                            from renewable fuels produced from                       of pressure that is produced through the                   4. Need for Regulatory Change
                                            biointermediates.255 However, we did                     anaerobic digestion of organic matter.’’
                                                                                                     Biogas typically contains significant                         The previous biogas provisions lack
                                            not include the use of biogas as a
                                                                                                     amounts of impurities and inert gases                      specificity and clarity in several key
                                            biointermediate at that time. While we
                                                                                                     (e.g., carbon dioxide) and must undergo                    areas, which, as EPA has gained
                                            recognized the opportunity to increase                                                                              experience in implementing the
                                            the availability of advanced and                         pre-treatment before it can be used to
                                                                                                     produce transportation fuel (e.g., CNG/                    program, we have determined
                                            cellulosic biogas-derived renewable                                                                                 undermines EPA’s ability to implement,
                                            fuels in support of the statutory goals,                 LNG in vehicles). In order for
                                                                                                     commercial natural gas pipelines to                        oversee, and enforce the program.
                                            we also noted that allowing biogas or                                                                               Critically, we have concerns that the
                                            contracted RNG to be used as an input                    accept injections of biogas, the biogas
                                                                                                     must first be upgraded to meet pipeline                    existing regulations allow for double
                                            to produce a fuel other than renewable                                                                              counting of biogas volumes or
                                                                                                     specifications prior to injection. In this
                                            CNG/LNG entails adding further layers                                                                               generating invalid RINs from biogas or
                                                                                                     action, we call this pipeline quality
                                            of complexity to a system that is already                                                                           RNG. These perversities could be
                                                                                                     biogas RNG, and we define biogas to be
                                            challenging to implement and oversee.                                                                               exacerbated as EPA allows for multiple
                                                                                                     the precursor to RNG. The biogas
                                            In response to the significant number of                 producer is the party that produces                        uses of biogas (i.e., allows biogas to be
                                            comments requesting the inclusion of                     biogas at a biogas production facility,                    used as a biointermediate). The lack of
                                            biogas a biointermediate in the 2020–                    and the RNG producer is the party that                     specificity and clarity has also led to a
                                            2022 RFS Standards Rule, we stated that                  produces RNG at an RNG production                          high degree of program complexity,
                                            we neither developed nor proposed the                    facility.                                                  unnecessarily burdening both EPA and
                                            provisions that would be necessary to                                                                               industry and hindering effective
                                            address the unique circumstances                         b. Renewable CNG and LNG From RNG                          oversight.
                                            associated with biogas as a                                 For biogas to be used as renewable                         The previous biogas provisions do not
                                            biointermediate and that we intended to                  CNG/LNG to fuel a vehicle, the treated                     specify how or where the quantity of
                                            address the use of biogas as a                           biogas or RNG is compressed into                           CNG/LNG was to be measured, which
                                            biointermediate in a future                              compressed natural gas (renewable                          party was the RIN generator, how a RIN
                                            rulemaking.256 We believed then, and                     CNG) or liquified natural gas (renewable                   generator was to demonstrate that the
                                            still believe, that the previous biogas                  LNG) and then used in CNG/LNG                              CNG/LNG was actually used as
                                            provisions 257 must be modified to                       engines as transportation fuel. Under                      transportation fuel, or how the RIN
                                            ensure that biogas is not double counted                 our previous biogas regulations,259 we                     generator demonstrated that the CNG/
                                            in a situation where biogas may have                     required that parties demonstrate                          LNG was not double counted. The
                                            multiple uses (e.g., as renewable CNG/                   through contracts and affidavits that a                    previous biogas provisions were also
                                            LNG or as a biointermediate).                            specific volume of RNG was used as                         silent on whether and how parties could
                                                                                                     transportation fuel within the U.S., and                   store biogas prior to and after
                                            3. The Biogas and Biogas RIN                             for no other purpose. For RNG to                           registration, how parties reconcile
                                            Disposition and Generation Chain                         renewable CNG/LNG, the chain of                            stored volumes over periods of time,
                                                                                                     parties that are involved in ensuring                      and when if ever such volumes had to
                                              In this subsection, we introduce and
                                                                                                     that biogas is produced from renewable                     be used as transportation fuel for RIN
                                            briefly discuss a number of key concepts                                                                            generation.
                                                                                                     biomass and used as transportation fuel
                                            and terms that are used throughout our                   includes:
                                            discussion of biogas regulatory reform,                                                                                Due to the lack of specificity in those
                                                                                                        • The biogas producer (i.e., the                        previous biogas provisions for how
                                            including the relevant parties that                      landfill or digester that produces the                     potential RIN generators would
                                            participate in the biogas disposition/                   biogas)                                                    demonstrate that CNG/LNG was
                                            generation chain.258                                        • The party that upgrades the biogas                    produced from renewable biomass and
                                                                                                     into RNG (the RNG producer)                                used as a transportation fuel, the
                                              255 87 FR 39600 (July 1, 2022).
                                                                                                        • The parties that distribute and store                 registration requests that EPA received
                                              256 See 87 FR 39600, 39641 (July 1, 2022).
                                               257 For purposes of this preamble, the previous
                                                                                                     the RNG (e.g., pipeline operators)                         over the past several years varied
                                            biogas provisions refer to those regulatory
                                                                                                        • The parties that compress the RNG                     considerably in their approaches. The
                                            requirements that apply for the generation of RINs       into renewable CNG/LNG                                     main point of variation concerned the
                                            from qualifying biogas under 40 CFR part 80,                • The dispensers of the renewable                       party that would generate the RINs.
                                            subpart M, that are being modified by this final         CNG/LNG (e.g., refueling stations)
                                            action. These regulatory provisions will sunset and
                                                                                                                                                                Approaches in registration requests
                                            be replaced by the biogas regulatory reform
                                                                                                        • The consumers of the CNG/LNG                          have included:
                                            provisions discussed in this section, which include      (e.g., a municipal bus fleet)                                 • Parties that use renewable CNG/
                                            a modified definition of biogas. Additionally, under        • And any third parties that help                       LNG in a specified fleet (e.g., fleet
                                            the RFS program, biogas used to produce renewable        manage the information and records
                                            fuels must be produced from renewable biomass.                                                                      operators)
                                                                                                     needed to show that the biogas was
                                            See id. (definition of ‘‘renewable fuel’’), Table 1 to                                                                 • Parties that dispense renewable
                                            40 CFR 80.1426.                                          produced from renewable biomass and
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                                                                                                                                                                CNG/LNG
                                               258 For purposes of this preamble, we refer to the    used as renewable CNG/LNG.
                                            chain of parties that produce biogas, RNG and               If biogas is directly supplied to an end                   • Parties that generate RNG from
                                            biogas-derived renewable fuels, distribute such          user via a private pipeline, the biogas                    qualifying biogas
                                            products, use such biogas-derived renewable fuels
                                            as a transportation fuel, and generate and transfer      disposition/generation chain can be                           • Parties that produce the qualifying
                                            RINs for biogas-derived renewable fuels collectively                                                                biogas for renewable CNG/LNG
                                            as the biogas disposition/generation chain.                   259 40 CFR 80.1426(f)(10)(ii), (f)(11)(ii).           generation


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                                               • Marketers that organize contracts                   used as renewable CNG/LNG currently                     due to concerns with the potential
                                            between RNG producers and CNG/LNG                        representing the vast majority of                       double counting of biogas/RNG for RIN
                                            users.                                                   cellulosic biofuel. As discussed in                     generation, EPA has not registered
                                               EPA did not envision this broad range                 Section III.B.1, use of RNG has been                    parties to generate RINs for biogas used
                                            of differing approaches to RIN                           growing at a rapid rate since 2016                      for fuels other than renewable CNG/
                                            generation for renewable CNG/LNG                         through the incentives created by the                   LNG under the existing regulations, so
                                            when we designed the previous biogas                     cellulosic RIN under the RFS program,                   biogas use has instead been limited to
                                            regulations. While these regulations                     in addition to LCFS credits in California               the CNG/LNG vehicle market under the
                                            required registrants to demonstrate in                   and other states. However, the                          RFS program. Allowing the program to
                                            their requests that another party could                  opportunity for continued growth of                     incorporate biogas-derived renewable
                                            not double count the quantity of RINs                    RNG is expected to be constrained in                    fuels other than renewable CNG/LNG
                                            generated for a volume of biogas and                     the future by two factors. First, the                   would support the increase in usage of
                                            renewable CNG/LNG,260 the regulations                    economics of developing biogas                          renewable fuels which can reduce GHGs
                                            are so open-ended that multiple                          facilities becomes increasingly                         emissions and promote energy
                                            parties—the renewable CNG/LNG                            challenging for smaller facilities, and                 independence.
                                            producer, the party distributing the                     particularly for facilities located more
                                                                                                                                                             b. Preventing Double Counting and
                                            CNG/LNG, biogas producer, fleet                          remotely from natural gas pipeline
                                                                                                                                                             Fraud
                                            owners, and/or dispensing stations—                      interconnects. The first facilities
                                            could be in a position to claim a single                 brought into the program tended to be                      In order for the RFS program to
                                            volume. That is, while the regulations                   the largest and most economical, with it                function, the RIN market must maintain
                                            prohibit the double counting of RIN                      becoming increasingly costly to bring on                foundational integrity: namely, the
                                            generation for the same quantity of                      incremental volume over time. Second,                   parties that transact RINs and use RINs
                                            renewable CNG/LNG, they also                             as discussed in Section III.B.1., the rate              for compliance must have confidence
                                            inadvertently made it relatively easy for                of growth in the consumption capacity                   that those RINs are valid. While the vast
                                            double counting to occur.                                of the in-use fleet of CNG/LNG vehicles                 majority of RINs generated over the RFS
                                               The previous biogas provisions also                   is expected to slow. When the program                   program’s history have not been found
                                            allowed for a single renewable CNG/                      started in 2016, there was a sizeable                   to be invalid, a non-trivial quantity of
                                            LNG dispenser to contract with multiple                  existing fleet of CNG/LNG vehicles that                 invalid RINs have also been
                                            RNG producers and allowed a single                       were operating on fossil natural gas and                generated.264 The significant value of
                                            RNG producer to contract with multiple                   that could quickly be used to generate                  the RINs, particularly cellulosic RINs,
                                            CNG/LNG dispensers. This flexibility                     RINs through establishing contracts for                 provides incentives for fraudulent
                                            allowed for the creation of network of                   RNG. Since the use of RNG has been                      generation, and complicated renewable
                                            contracts which encompass many RNG                       saturating the existing in-use CNG/LNG                  fuel production and distribution
                                            producers, many RNG distributers and                     vehicle fleet, particularly the largest and             systems, such as the contractual
                                            marketers, and many CNG/LNG                              most economical fleets, the use of biogas               network for demonstrating that CNG/
                                            dispensers, creating a complex                           as a feedstock for renewable fuel                       LNG qualifies as renewable fuel
                                            paperwork system for EPA to track and                    production will be increasingly                         described in Section IX.A.2, provide
                                            that increased the difficulty of                         constrained by the much slower growth                   opportunities for fraudulent behavior.
                                            effectively overseeing the program.                      in CNG/LNG fleet sales. At the same                     Fraudulent RINs can be generated, for
                                               The regulatory revisions outlined in                  time, based on the number of existing                   example, by parties fabricating reports
                                            this section are necessary to promote                    landfills 261 and wastewater treatment                  or records to generate RINs for volumes
                                            expansion of renewable fuel volumes, to                  facilities and the potential for                        of biogas that have been used for a
                                            prevent invalid RINs, and to allow EPA                   significant expansion of anaerobic                      different, non-transportation fuel
                                            and industry to effectively ensure                       digesters,262 there exists significant                  purpose. Furthermore, the more
                                            compliance, as discussed in more detail                  potential to increase the productive use                complicated the regulatory requirements
                                            below.                                                   of biogas by using it as a                              and data systems, the more likely it is
                                                                                                     biointermediate to produce renewable                    that parties may inadvertently generate
                                            a. Supporting the Broad Goals of the                                                                             invalid RINs due to simple errors such
                                                                                                     fuel under the RFS program. By tapping
                                            RFS Program                                                                                                      as reliance on a faulty meter that
                                                                                                     into the greater market for that biogas
                                               The broad goals of the RFS program                    that can be economically converted to                   measured volumes incorrectly or made
                                            are to reduce GHG emissions and                          other renewable fuels, the impending                    a calculation error. That is, invalid RIN
                                            enhance energy security through                          constraints on the use of biogas as a                   generation, including double counting
                                            increases in renewable fuel use over                     feedstock for renewable fuel production                 of RINs (generating more than one RIN
                                            time. Inclusion of new types of                          can be mitigated.                                       for the same ethanol-equivalent gallon
                                            renewable fuel or expansion of existing                     The use of biogas to produce fuels                   of renewable fuel), can result from
                                            types of renewable fuel in the program                   other than renewable CNG/LNG is also                    either intentional or unintentional
                                            can help to accomplish these goals. Any                  consistent with the statute’s focus on                  actions.
                                            fuel that is produced from renewable                     growth in cellulosic biofuel over other                    In all cases of double counting, some
                                            biomass and is used as transportation                    advanced biofuels and conventional                      or all of the RINs generated would be
                                            fuel (as defined in the Clean Air Act)                   renewable fuel after 2015.263 However,                  invalid and may additionally be deemed
                                            has the potential to participate in the                                                                          fraudulent. The generation of invalid
                                            RFS program, provided in satisfies the                     261 https://www.epa.gov/lmop/landfill-gas-energy-     RINs can have a deleterious effect on
                                                                                                     project-data.
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                                            applicable statutory and regulatory
                                                                                                       262 https://www.epa.gov/agstar/livestock-             1.25 billion gallons in 2016 to 2.5 billion gallons
                                            requirements. Biogas is already a major                  anaerobic-digester-database.                            in 2022.
                                            source of renewable fuel, with RNG                         263 For years after 2015, conventional renewable        264 For more information, see EPA’s Civil

                                                                                                     fuel remains constant at 15 billion gallons, and non-   Enforcement of the Renewable Fuel Standard
                                              260 See 40 CFR 80.1426(f)(11)(ii)(H), which states     cellulosic advanced biofuel increases by no more        Program page available at: https://www.epa.gov/
                                            that ‘‘[n]o other party relied upon the volume of        than 0.5 billion gallons annually. Annual increases     enforcement/civil-enforcement-renewable-fuel-
                                            biogas/CNG/LNG for the creation of RINs.’’               in cellulosic biofuel, in contrast, accelerate from     standard-program.



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                                            RIN markets and impose a significant                     c. Enhancing Program Simplicity and                   transportation: the biogas producer, the
                                            burden on regulated parties and EPA to                   RIN Integrity                                         RNG producer, and the party that can
                                            identify and replace those invalid RINs,                    While the previous biogas provisions               demonstrate its use for transportation
                                            take enforcement action against liable                   provide flexibility, as described in                  (e.g., the renewable CNG dispenser).
                                            parties, and remedy the invalidity.                      Section IX.A.2, they have also resulted               Each party has a set of clearly defined
                                               The potential for double counting of                  in a complex program that is overly                   roles and responsibilities under the
                                            biogas, RNG, and biogas-derived                          burdensome for both EPA and industry.                 program.
                                            renewable fuels is a significant concern                 Under the previous biogas provisions,                 5. Summary of Changes
                                            since it can undermine the credit system                 parties demonstrate that biogas is used
                                            that EPA uses to implement the                           as renewable CNG/LNG for RIN                             In this rulemaking, EPA proposed to
                                            statutory volume requirements under                      generation through an extensive                       specify requirements for different
                                            CAA section 211(o). Even though the                      network of contractual relationships and              parties within the biogas disposition/
                                            existing regulations prohibit such                       documentation that shows that a                       generation chain. We also proposed to
                                            double counting,265 we have concerns                     specific volume of qualifying biogas is               expand how biogas can be used through
                                            that those regulations and the complex                   used as transportation fuel in the form               provisions allowing biogas to be used as
                                            system of contracts and documentation                    of renewable CNG/LNG. These                           a biointermediate such that renewable
                                            they entail do not enable EPA to detect                  demonstrations occur during                           fuel produced from biogas could be
                                            or protect against the double counting of                registration in the form of extensive                 produced through sequential operations
                                            RINs from biogas feedstocks because of                   paperwork, including contracts and                    at more than one facility and allowing
                                            the challenge tracking biogas through                    associated documentation; registration                RNG to be used as a feedstock to
                                            commercial pipelines.                                    packages can sometimes number over a                  produce a different renewable fuel. We
                                                                                                     thousand pages of contracts for a single              are finalizing many elements of biogas
                                               Invalid RINs can also create adverse                                                                        regulatory reform largely as proposed.
                                            market effects. In the short term, invalid               RNG production facility. These
                                                                                                     contracts can also cover multiple                     The key elements of the biogas
                                            RIN generation could oversupply the                                                                            regulatory reforms that we are now
                                            credit market and adversely impact                       facilities, creating an ever more complex
                                                                                                     network of contracts.                                 finalizing include the following:
                                            credit values. In the longer term,                                                                                • Specification of the party that
                                            remediation of invalid RINs could                           The potential expanded use of biogas
                                                                                                     as a biointermediate and RNG as a                     upgrades the biogas to RNG (the RNG
                                            invalidate the data upon which EPA                                                                             producer) as the RIN generator.
                                            bases its projections of future supply to                feedstock to produce renewable fuels
                                                                                                     would make the program under the                         • A requirement that the RNG
                                            set standards and undermine                                                                                    producer assign RINs generated for the
                                            investment in the growth of valid                        previous biogas provisions
                                                                                                     impracticable to oversee and, as                      RNG to the specific volume of RNG
                                            renewable fuels.                                                                                               when the volume is injected into a
                                                                                                     discussed above, more susceptible to
                                               Having a robust means of avoiding                     double counting and fraud. Since biogas               natural gas commercial pipeline system.
                                            double counting and fraud is                             may have multiple uses, it is crucial to                 • A requirement that the party that
                                            particularly important because once                      minimize the potential for generating                 can demonstrate that the RNG was used
                                            EPA begins accepting registration                        invalid or fraudulent RINs, including                 as transportation fuel may separate the
                                            requests for biogas to be used as a                      the double counting of RINs. As more                  RIN.
                                            biointermediate and biogas-derived                       uses of biogas are allowed under the                     • Specific regulatory requirements for
                                            renewable fuels other than renewable                     program, additional regulatory measures               key parties (i.e., biogas producer, RNG
                                            CNG/LNG, the opportunities for the                       are necessary because EPA will be                     producer, RNG RIN owners, and RNG
                                            double counting of biogas could                          tracking and overseeing increased                     RIN separators) in the RNG production,
                                            increase dramatically. For example,                      volumes of biogas, and we want to                     distribution, and use.
                                            without a robust system in place a party                 ensure a program design that enables                     • Conditions on the use of biogas and
                                            could easily generate RINs for a quantity                EPA to effectively track and oversee                  storage of RNG prior to registration.
                                            of biogas used to produce RNG for use                    larger volumes of biogas (particularly in                • Specific provisions to address when
                                            in CNG/LNG vehicles and then, through                    instances where biogas is converted into              biogas is used as a biointermediate and
                                            a complex contractual network, attempt                   RNG and placed into a natural gas                     when RNG is used as a feedstock.
                                            to allow a different party to generate a                 commercial pipeline system) going to                     These elements are applied to the
                                            RIN for production of other renewable                    multiple end uses. We also want to                    following parties:
                                            fuel generated from the same volume of                   avoid situations in which opaque                         • The party that produces the biogas
                                            RNG.                                                     contractual mechanisms could                          (the biogas producer).
                                               We believe that the biogas regulatory                 potentially allow multiple parties to                    • The party that upgrades the biogas
                                            reform provisions we are finalizing                      claim that the same volume of biogas is               to RNG, injects the RNG into the natural
                                            virtually eliminate the potential for                    used as two or more biogas-derived                    gas commercial pipeline system, and
                                            double counting and minimize                             renewable fuels.                                      generates/assigns the RIN to the RNG
                                            opportunities for fraud by specifying the                   One of the revisions EPA is finalizing             (the RNG producer).
                                            party that generates RINs, by holding all                in this rulemaking is to track the flow                  • Any party that transfers title of the
                                            directly regulated parties in the biogas                 of RNG in EMTS. Doing so will simplify                assigned RIN (RNG RIN owner).
                                            disposition/generation chain liable for                  oversight, ensure that quantities of                     • The party that demonstrates that the
                                            transmitting or using invalid RINs, by                   biogas-derived renewable fuels used as                RNG was used as transportation fuel in
                                            tracking RNG through reporting                           transportation fuel are real, and provide             the form of renewable CNG/LNG (the
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                                            requirements, and by leveraging third-                   confidence to encourage investment in                 RNG RIN separator) or used as a
                                            party oversight mechanisms (i.e., third-                 these fuels. The biogas regulatory reform             feedstock to produce a renewable fuel
                                            party engineering reviews, RFS QAP,                      program includes those parties, and                   other than renewable CNG/LNG.
                                            and annual attest engagements).                          only those parties, that are necessary                   We discuss each of these key elements
                                                                                                     and best able to demonstrate the valid                and parties in more detail in the
                                              265 See 40 CFR 80.1426(f)(11)(i)(F).                   use of renewable fuel use for                         following sections.


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                                              Regulatory requirements for each of                    produces the biogas is the same party                 case approach to RIN generation.267 We
                                            these key activities and parties are                     that converts the biogas to renewable                 noted that we would continue to
                                            necessary to ensure that the biogas is                   CNG/LNG and then uses that biogas in                  monitor RIN generation practices and
                                            produced, converted to RNG, and                          their own CNG/LNG fleets), there is                   that we might reconsider specifying the
                                            eventually used as transportation fuel                   little opportunity for the double                     RIN generator for biogas-derived
                                            consistent with CAA and regulatory                       counting of biogas through multiple                   renewable fuels at a later date. Based on
                                            requirements. Specifying the                             parties claiming the same volume across               our experience implementing the
                                            requirements applicable to each party                    the biogas distribution/generation chain.             program since then, and in light of the
                                            enables EPA to take a streamlined                           We are finalizing as proposed that                 expansion in the use of biogas as a
                                            regulatory approach to the production,                   parties that generate RINs for biogas to              biointermediate and RNG as a feedstock,
                                            distribution, and use of RNG that allows                 renewable CNG/LNG via a closed                        we now believe that it is important to
                                            for the flexible use of RNG without                      distribution system will continue to                  designate a RIN generator.
                                            imposing strict limitations on which                     operate under similar provisions to the                  We believe that RNG producers are
                                            parties can take title to and use the                    previous biogas provisions. We are also               best positioned to generate the RINs for
                                            RNG.                                                     finalizing as proposed a requirement                  two reasons. First, one of the goals of
                                              Furthermore, we are also sunsetting                    that when the biogas producer is a                    biogas regulatory reforms is to minimize
                                            regulatory provisions that will no longer                separate party from the party that                    the potential for double counting of
                                            be necessary. For example, much of the                   generates RINs for biogas to renewable                biogas or RNG since such biogas or RNG
                                            documentation of contracts between                       CNG/LNG in a closed distribution                      could potentially be used to produce
                                            each party in the biogas distribution/                   system, the biogas producer will have to              multiple types of fuels. By designating
                                            generation chain previously required to                  separately register with EPA. This                    RNG producers as the RIN generators,
                                            be submitted to EPA at registration will                 provision ensures that biogas producers               the RINs will effectively be tracked in
                                            no longer be necessary to submit.                        are treated consistently throughout the               EMTS from RNG injection through
                                              Finally, based on comments                             program and helps EPA identify how                    withdrawal via the assignment,
                                            requesting more time for parties to                      parties are related in the biogas                     separation and/or retiring of RINs, as
                                            comport with the biogas regulatory                       distribution/generation chain. We                     discussed in more detail in Section
                                            reform provisions, we are providing                      recognize that this may require some                  IX.D. This approach significantly
                                            more time for both new and existing                      parties to update their registration                  reduces double counting concerns since
                                            registrants to come into compliance, as                                                                        a specific volume of RNG will have
                                                                                                     information with EPA, but we do not
                                            discussed in Section IX.F.                                                                                     corresponding RINs assigned to it, and
                                                                                                     expect this to require new third-party
                                              We did not propose to revisit or                                                                             by specifying that the RINs can only be
                                            reopen the pathways for biogas                           engineering reviews or the resubmission
                                                                                                     of registration materials.                            separated under specific circumstances.
                                            established in the 2014 RFS Pathways II                                                                           Second, we believe RNG producers
                                            rule and are therefore not addressing                       To help ensure consistency in the
                                                                                                                                                           are also well positioned to determine
                                            any issues or comments received on the                   regulatory requirements for all biogas-
                                                                                                                                                           whether the RNG was produced from
                                            pathways themselves. We will continue                    derived renewable fuels, we are moving                qualifying biogas and to determine the
                                            to review pathway petitions under 40                     the provisions for biogas to renewable                correct amount of biomethane that will
                                            CFR 80.1416 and may take separate                        CNG/LNG via a closed distribution                     qualify for RIN generation. RNG
                                            regulatory action on additional                          system into the new 40 CFR part 80,                   producers typically add non-renewable
                                            pathways for biogas as appropriate in                    subpart E. We sought comment on                       components to biogas to make pipeline
                                            the future.                                              whether and how to streamline the                     quality RNG. They are often the only
                                                                                                     regulatory requirements for biogas to                 party aware of the non-renewable
                                            B. Biogas Under a Closed Distribution                    renewable CNG/LNG via a closed                        components, and the only party in a
                                            System                                                   distribution system. We did not receive               position to measure the biomethane
                                              Under the previous biogas provisions,                  significant comments regarding parties                content of the RNG prior to introducing
                                            there were two approaches for                            producing renewable CNG/LNG from                      non-renewable components.
                                            generating RINs from biogas to                           biogas via a closed distribution system,                 We also considered designating other
                                            renewable CNG/LNG: (1) biogas in a                       and we are finalizing that we are                     parties as the RIN generator. For
                                            closed, private, non-commercial                          moving these provisions to subpart E as               example, we considered designating the
                                            distribution system that is compressed                   proposed.                                             party that produces or uses the
                                            to renewable CNG/LNG, and (2) biogas                     C. RNG Producer as the RIN Generator                  renewable CNG/LNG as the RIN
                                            upgraded to RNG, injected into a                                                                               generator. However, if we finalized such
                                            commercial pipeline system, and then                        For biogas upgraded to RNG and                     an approach, then we will largely forgo
                                            compressed to renewable CNG/LNG.266                      placed on a natural gas commercial                    any ability to track assigned RINs to
                                            The focus of this regulatory reform deals                pipeline system, we are finalizing as                 volumes of RNG in EMTS because the
                                            with RNG injected onto the natural gas                   proposed that RNG producers will be                   RNG will have already traversed the
                                            commercial pipeline system. We are                       the sole RIN generators, and that they                entirety of the natural gas commercial
                                            therefore finalizing as proposed only                    will generate RINs for RNG they                       pipeline system before the RIN was
                                            minor modifications to the existing                      produce and inject into a commercial                  generated and assigned. This approach
                                            regulatory provisions for biogas used to                 pipeline. The previous regulations                    will not remedy the double counting
                                            produce a renewable fuel when the                        allowed any party to generate RINs from               and tracking concerns under the
                                            biogas is produced and made into a                       biogas-derived renewable fuels, even                  existing program. The RNG would still
                                            biogas-derived renewable fuel in a                       parties that were not part of the biogas              have to be tracked via a complicated
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                                            closed distribution system. Because it is                distribution/generation chain. In the                 series of contractual relationships
                                            typically only a single party                            RFS Pathways II rule, we did not specify              instead of electronically in EMTS. The
                                            participating in a closed distribution                   a RIN generator because we believed                   downstream party and EPA acting in its
                                            system (i.e., the same party that                        that the complexities of the production               oversight capacity would still have to go
                                                                                                     and distribution of biogas-derived
                                              266 See 40 CFR 80.1426(f)(10) and (11).                renewable fuels warranted a case-by-                    267 79 FR 42128, 42144 (July 18, 2014).




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                                            to great lengths to ensure that the RNG                      Based on our experience with CNG/                  separate the RINs generated for the RNG
                                            was not double counted before the RIN                     LNG, and from stakeholders’ experience                from the RNG itself., This party is
                                            was generated.                                            in California’s LCFS program, we                      defined as the RNG RIN separator. This
                                               We recognize that the approach we                      recognize that third parties will likely              party may either be the party that
                                            are finalizing will affect a number of                    serve a useful role in supporting                     withdrew the RNG from the natural gas
                                            parties that are currently registered to                  regulated parties in brokering and                    commercial pipeline system or the party
                                            generate RINs for biogas to renewable                     trading biogas, RNG, and biogas-derived               that produced or oversaw the
                                            CNG/LNG, and we specifically sought                       renewable fuel. We also believe that                  production of the renewable CNG/LNG
                                            comment on our proposal to designate                      biogas producers, RNG producers, and                  from the RNG. This is a different
                                            the RNG producer as the RIN generator                     RNG RIN separators would likely                       approach than the prior regulations.
                                            for RNG injected into a natural gas                       contract with third parties to help them              Previously, the party that generates the
                                            commercial pipeline system. We                            comply with the proposed regulatory                   RINs from a volume of biogas separates
                                            received a number of comments relating                    requirements by preparing and                         any RINs generated for that biogas
                                            to who should be the RIN generator for                    submitting registration requests and                  immediately after the party has
                                            RNG RINs. Multiple commenters                             periodic reports. Since our system for                demonstrated that the biogas was
                                            suggested that our approach should be                     registration and RIN generation allows                produced from renewable biomass
                                            broader and that we should allow third                    third parties to assist the regulated party           under an EPA-approved pathway and
                                            parties, such as marketers, to be the RIN                 in preparing to comply with the                       used as transportation fuel. Separation
                                            generator. These commenters stated that                   applicable regulatory requirements (e.g.,             does not necessarily occur at the end of
                                            smaller entities might not have the                       by helping to prepare reports, broker                 the biogas distribution/generation chain,
                                            expertise necessary and would not want                    RIN transactions, etc.), and we are not               which necessitates tracking via
                                            to take on the liability associated with                  planning on changing this allowance                   contractual relationships, as discussed
                                            RIN generation. Commenters also                           under this rule, we believe this should               above, and forgoes any ability for EMTS
                                            expressed concern regarding the need to                   provide most of the functionality the                 to track the assigned RINs as the
                                            re-negotiate contracts that had                           commenters requested.                                 volumes of RNG move through the
                                            previously let a party other than the                                                                           natural gas commercial pipeline system.
                                                                                                      D. Assignment, Separation, Retirement,                Our changes will allow for RINs
                                            RNG producer generate RINs.                               and Expiration of RNG RINs                            assigned to a given volume of RNG to
                                               Given that in this action we are
                                                                                                         EPA is finalizing revisions to the                 be tracked via EMTS as the RNG moves
                                            expanding the use of biogas as a
                                                                                                      regulations to specify how parties will               through the natural gas commercial
                                            biointermediate and RNG as a feedstock,
                                                                                                      assign, separate, and retire RINs                     pipeline system from injection to
                                            we believe it is important for parties
                                                                                                      generated for RNG. Under the previous                 withdrawal. Similarly, we are finalizing
                                            that generate RINs in the RFS program
                                                                                                      regulations, RINs were generated and                  as proposed the clarification that the
                                            to be held responsible for complying
                                                                                                      immediately separated after any party in              provisions that require obligated parties
                                            with the regulations, and in general we
                                                                                                      the biogas disposition/generation chain               to separate assigned RINs when they
                                            believe that parties that have a direct
                                                                                                      demonstrated that a specific amount of                take title to any assigned RINs do not
                                            role in the production or use of a fuel                                                                         apply to RINs assigned to RNG.
                                            are the more appropriate parties to                       RNG was used as transportation fuel.
                                                                                                      Because RINs were generated and                       Allowing obligated parties to separate
                                            generate RINs. Parties involved in the                                                                          assigned RINs for RNG would
                                            production of feedstocks or renewable                     simultaneously separated based on the
                                                                                                      same event, the previous biogas                       undermine the purpose of our proposal
                                            fuel should not be allowed to shift                                                                             to use RINs assigned to RNG in EMTS
                                            liability to third parties. While                         provisions did not provide tracking of
                                                                                                      RNG or renewable CNG/LNG in EMTS                      to track transfers of RNG.
                                            stakeholder comments provided                                                                                      In the case of RNG used to produce
                                            perspectives on market dynamics, these                    through RIN assignment and separation.
                                                                                                         We are finalizing as proposed that the             renewable CNG/LNG, the party that
                                            commenters did not explain how                                                                                  obtains the documentation needed to
                                                                                                      RNG producer must assign any and all
                                            allowing third parties to generate RINs                                                                         demonstrate that the RNG was used to
                                                                                                      RINs generated for a given volume of
                                            would directly improve compliance and                                                                           produce transportation fuel in the form
                                                                                                      RNG to the same volume of RNG at the
                                            enforcement of this expanded program.                                                                           of renewable CNG/LNG is best
                                                                                                      point of injection, and the RINs must
                                               Additionally after reviewing                           follow transfer of title of that RNG until            positioned to separate the RIN. This is
                                            stakeholder comments and engaging                         it is withdrawn from the same natural                 analogous to the provisions that require
                                            directly with companies,268 we remain                     gas commercial pipeline system.269 The                parties blending denatured fuel ethanol
                                            convinced that this step is necessary to                  purpose of this requirement is to ensure              into gasoline to separate any assigned
                                            implement the other proposed changes                      that the RIN, as tracked through EMTS,                RINs for the denatured fuel ethanol at
                                            discussed below. By making the RNG                        follows the transfer of title of the RNG              fuel terminals (i.e., the point at which it
                                            producer the RIN generator, we will                       as the RNG moves through the natural                  is reasonable to assume that the
                                            greatly improve our ability to track the                  gas commercial pipeline system.                       denatured fuel ethanol will be used as
                                            movement of the RNG via RINs assigned                        Regarding RIN separation, we are                   transportation fuel).270 Similarly, once a
                                            at the point of injection as discussed in                 finalizing with technical modifications               party has turned RNG into renewable
                                            Section IX.D. This change will also                       the proposal that only the party that                 CNG or renewable LNG, we can
                                            simplify the program while improving                      demonstrates that the RNG was used as                 reasonably assume that the renewable
                                            our ability to effectively oversee it. In                 transportation fuel will be eligible to               CNG or renewable LNG will be used as
                                            response to concerns on contract                                                                                transportation fuel. We proposed that
                                            negotiation timing, we are finalizing                                                                           the party that separates RNG RINs must
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                                                                                                        269 For purposes of this preamble, when we refer
                                            modifications to our proposed                             to the RNG producer we are collectively referring     have withdrawn the RNG from the
                                            implementation date, as discussed in                      to the party that produces and injects the RNG into   natural gas commercial pipeline system
                                            Section IX.F.                                             the natural gas commercial pipeline system or         and produced renewable CNG/LNG
                                                                                                      imports the RNG into the covered location. Unless
                                                                                                      otherwise specified, all proposed requirements as     from that RNG, among other
                                              268 See ‘‘Set Rule Log of Meetings,’’ available in      part of this proposal apply to both RNG producers
                                            the docket for this action.                               and RNG importers.                                      270 40 CFR 80.1429.




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                                            requirements. We received comments                       many cases much longer. We believe                    RINs must be separated (i.e., when the
                                            that the party that withdraws the RNG                    this to be sufficient time for parties to             RNG is demonstrated to be used as a
                                            from the natural gas commercial                          demonstrate that the RNG with the                     transportation fuel). Because the RNG
                                            pipeline system is not always the same                   assigned RINs was used as                             can only be injected into the natural gas
                                            party that converts RNG into renewable                   transportation fuel and will help                     commercial pipeline system once and
                                            CNG/LNG. We believe either the party                     encourage parties to use RNG as                       because an assigned RNG RIN can only
                                            that withdraws the RNG from the                          transportation fuel under the RFS before              be separated once, this specificity
                                            natural gas commercial pipeline system                   the RIN expires.                                      virtually eliminates a party’s ability to
                                            and produces renewable CNG/LNG from                         Separating the RIN assignment and                  double count the RNG at the point of
                                            that RNG or the party that converts RNG                  RIN separation roles provides multiple                injection or claim that a given quantity
                                            into renewable CNG/LNG could have                        benefits to both EPA and the regulated                of RNG was used for more than one
                                            sufficient information to be positioned                  community. First, this approach will                  purposes.
                                            to demonstrate that the RNG is used as                   significantly increase the ability for the
                                            transportation fuel, so we have finalized                title to RNG to be tracked and overseen,              E. Structure of the Regulations
                                            the regulations to allow either party to                 because the transfer of title to RNG will                Due to the comprehensive nature of
                                            separate RNG RINs.                                       follow the assigned RIN and will be                   the biogas regulatory reform provisions,
                                               To address the potential issue of                     reported in EMTS. EPA and third                       we are creating a stand-alone subpart
                                            double counting an RNG RIN where a                       parties will be able to track the parties             rather than embed them in the rest of
                                            party claims that the RNG is used both                   that transferred title to the RNG and                 the RFS regulatory requirements in 40
                                            as renewable CNG/LNG and as a                            follow the movement of the RNG via the                CFR part 80, subpart M. Thus, we are
                                            different biogas-derived renewable fuel,                 assigned RIN in EMTS, as opposed to                   finalizing as proposed the creation of a
                                            we are finalizing as proposed the                        having to track a complex series of                   new subpart for biogas-derived
                                            requirement that parties that use RNG to                 contractual relationships between each                renewable fuels—subpart E in 40 CFR
                                            produce a biogas-derived renewable fuel                  and every party in the RNG distribution               part 80. This new subpart includes
                                            other than renewable CNG/LNG will                        system. This approach will also greatly               provisions not only for biogas and RNG
                                            have to retire the assigned RINs for the                 simplify the auditing process for both                used to produce renewable CNG/LNG,
                                            RNG used as a feedstock and then                         EPA and for third parties, allowing for               but also for other biogas-derived
                                            generate a separate RIN using the                        increased program oversight.                          renewable fuels including biogas cases
                                            procedures for RIN generation for the                       Second, this approach allows us to                 where biogas is used as a
                                            new renewable fuel.                                      streamline the registration, reporting,               biointermediate and RNG is used as a
                                               RNG RINs will expire consistent with                  and recordkeeping requirements for                    feedstock. The provisions for these fuels
                                            the current regulatory requirements at                   RNG and RNG RINs by utilizing EMTS                    under subpart M are being copied into
                                            40 CFR 80.1428(c). Under 40 CFR                          for tracking. This creates a number of                the new subpart E, and the provisions
                                            80.1428(c), any RIN that is not used for                 efficiencies. With regard to registration,            within subpart M are being phased out
                                            compliance purposes for the year in                      it eliminates the need for parties to                 as described in Section IX.F.
                                            which it was generated, or for the                       submit contracts at registration, as                     Based on our general approach
                                            following year, is considered an expired                 discussed in Section IX.A. For                        adopted in the Fuels Regulatory
                                            RIN, and expired RINs are considered                     reporting, since the RNG and RNG RINs                 Streamlining Rule,271 we are structuring
                                            invalid RINs under 40 CFR 80.1431.                       will be tracked in EMTS, we will no                   the new subpart for biogas-derived
                                            What this means for RNG RINs is that                     longer require the reporting of affidavits            renewable fuels as follows:
                                            if no party separates an RNG RIN or                      and other documentation concerning                       • Identify general provisions (e.g.,
                                            retires the RNG RIN to produce                           the transfer of RNG that we currently                 implementation dates, scope,
                                            renewable fuel by the annual                             require to ensure that the RIN generator              applicability etc.).
                                            compliance deadline for the compliance                   has the information needed to                            • Articulate the general requirements
                                            year following the year in which that                    demonstrate that a specific volume of                 that apply to parties regulated under the
                                            RNG RIN was generated, the RNG RIN                       RNG was used as transportation fuel.                  subpart (e.g., biogas producers, RNG
                                            will expire. For example, if a RIN is                    For recordkeeping, EMTS will                          producers, and RNG RIN separators).
                                            generated for RNG injected into the                      electronically provide real-time data                    • Articulate the specific compliance
                                            natural gas commercial pipeline system                   concerning how a given volume of RNG                  and enforcement provisions for biogas-
                                            in 2024, then that RNG RIN will expire                   is transferred and ultimately used. This              derived renewable fuels (e.g.,
                                            after the 2025 annual compliance                         eliminates the need for the existing                  registration, reporting, and
                                            deadline. If no party separated the                      provisions that require RIN generators to             recordkeeping requirements).
                                            assigned RIN for the RNG because no                      obtain documents from every party in                     We believe that this subpart and
                                            party was able to demonstrate that the                   the biogas distribution/generation chain              structure will make the biogas-derived
                                            RNG was used as transportation fuel or                   in the form of additional contracts,                  renewable fuel provisions more
                                            as a feedstock, then the RNG RIN will                    affidavits, or real-time electronic data.             accessible to all stakeholders, help
                                            expire and no longer be usable for                       These registration, reporting, and                    ensure compliance by making
                                            compliance purposes. We note that this                   recordkeeping requirements                            requirements more easily identifiable,
                                            approach is consistent with existing                     significantly streamline program                      and help future participants in biogas-
                                            regulations for how RIN expiration                       implementation for EPA and reduce the                 derived biofuels better understand
                                            works under the RFS program generally.                   compliance burden on regulated parties.               regulatory requirements in the future.
                                            We also note that that this provision                       Third, this mitigates the risk of
                                            will allow for at least 15 months for any                counting a given volume of RNG more                   F. Implementation Date
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                                            assigned RNG RIN to be separated (i.e.,                  than once because we are clearly                        In response to extensive request from
                                            a RIN generated and assigned in                          specifying the point in the process when              public comment to provide more lead
                                            December of a compliance year will                       RNG RINs must be generated (i.e., at the              time for the implementation of the
                                            have at least 15 months before it expires                point where RNG is injected into the                  biogas regulatory reform provisions, we
                                            after the subsequent compliance year’s                   natural gas commercial pipeline system)
                                            annual compliance deadline), and in                      and the point in the process when RNG                   271 See 85 FR 78415–78416 (December 4, 2020).




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                                            are finalizing more time than proposed                   developed and many new projects may                   as transportation fuel, and it is
                                            for both new parties and existing                        need modification to comport with the                 important to begin the tracking in EMTS
                                            registrants to come into compliance                      new requirements. Additionally, several               via the RIN of all RNG under the RFS
                                            with the biogas regulatory reform                        commenters suggested that it would                    program as soon as practicable. A
                                            provisions. Parties that are registered to               take more than the approximately six                  January 1, 2025 deadline may encourage
                                            generate RINs for renewable CNG/LNG                      months allotted for the renegotiation of              existing registrants to comply with the
                                            prior to July 1, 2024 will have until                    contracts with parties that produce,                  biogas regulatory reform provisions
                                            January 1, 2025 to come into                             distribute, and use RNG to align with                 prior to the deadline because the RNG
                                            compliance with the biogas regulatory                    the new requirements. Parties suggested               produced under those existing
                                            reform provisions. Parties registered                    that by not providing enough lead time                registrations may have difficulty using
                                            July 1, 2024 or after will have to meet                  to comport with the measurement                       the RNG as transportation fuel for RIN
                                            the biogas regulatory reform provisions                  requirements and to allow parties to                  separation by the January 1, 2025
                                            beginning July 1, 2024. On January 1,                    renegotiate contracts, EPA would strand               deadline.
                                            2025, all parties must comply with the                   a significant volume of RNG that would                   To ensure a smooth transition, we are
                                            biogas regulatory reform provisions and                  otherwise be eligible for use as                      requiring that existing registrants submit
                                            only biogas and RNG produced under                       renewable CNG/LNG under the RFS                       registration updates comporting with
                                            the biogas regulatory reform provisions                  program. Some commenters suggested                    the biogas regulatory reform provisions
                                            are eligible for RIN generation. Below                   that EPA should provide an additional                 no later than October 1, 2024. We
                                            we discuss our proposed timeline, the                    year over what was proposed (i.e., a                  anticipate that 3 months is enough time
                                            comments we received, and how we                         January 1, 2025 start date instead of the             for EPA to process the registration
                                            adjusted the timeline based on the                       proposed January 1, 2024 date), while                 requests of the existing registrants;
                                            comments.                                                others suggested EPA push the deadline                however, we encourage existing
                                               Recognizing the need to provide a                     to January 1, 2026.                                   registrants to submit updates prior to
                                            transition period for parties that are                      In response to the requests for more               the deadline if able to ensure a smooth
                                            already generating RINs for biogas under                 time for existing registrants, we are                 transition to the biogas regulatory
                                            the prior provisions to the biogas                       finalizing a start date of January 1, 2025,           reform provisions. Existing RIN
                                            regulatory reforms, we proposed that all                 for facilities registered under the                   generators will be allowed to generate
                                            parties operating under the previous                     previous biogas provisions by July 1,                 RINs under the previous biogas
                                            biogas provisions would have to come                     2024. We believe this extension should                regulatory reform provisions for biogas
                                            into compliance with the proposed                        afford enough time for those facilities to            and RNG used as transportation fuel
                                            biogas regulatory reform provisions by                   come into compliance with the new                     prior to January 1, 2025.272 Any RINs
                                            January 1, 2024. We also proposed that                   regulatory requirements. It would in                  generated for biogas used as
                                            parties that injected RNG into the                       practice allow for almost a year and a                transportation fuel or RNG on or after
                                            natural gas commercial pipeline system                   half for parties to update their facilities           January 1, 2025 must adhere to the
                                            under the previous biogas provisions                     to comport with the new regulatory                    biogas regulatory reform provisions.
                                            prior to January 1, 2024 could use the                   requirements, update their registration                  In addition to extending some of the
                                            RNG for the generation of RINs under                     information with EPA, and renegotiate                 deadlines, to further address timing
                                            the previous biogas regulatory                           their contracts. This would also provide              concerns raised by commenters related
                                            provisions until January 1, 2025. We                     existing registrants enough time to use               to the implementation of this biogas
                                            believed at the time that this was                       any RNG stored on the natural gas                     regulatory reform, we are finalizing
                                            enough time for parties to come into                     commercial pipeline system before the                 several changes based on comments to
                                            compliance with the proposed biogas                      new RIN generation requirements for                   the proposed provisions themselves
                                            regulatory reform provisions and utilize                 RNG begin on January 1, 2025.                         which are designed to allow for a
                                            for RIN generation the RNG stored on                        In response to the requests for more               smoother transition to the reformed
                                            the natural gas commercial pipeline                      time for new registrations, we are                    biogas regulatory provisions. These
                                            system. We sought comment on whether                     finalizing a start date of July 1, 2024,              changes to what we proposed include,
                                            more time was needed for parties to                      which affords new parties enough time                 but are not limited to, streamlining the
                                            transition to the proposed biogas                        prepare to meet the new regulatory                    registration process for existing
                                            regulatory reform provisions.                            requirements for biogas regulatory                    registered biogas and RNG production
                                               In response, we received significant                  reform. Because these facilities are still            facilities by no longer requiring
                                            public comment suggesting that more                      preparing to come into the RFS                        certificates of analysis for biogas and
                                            time was needed by both parties already                  program, we believe that a full year is               RNG at initial registration, no longer
                                            registered under the previous biogas                     sufficient for them to make adjustments               requiring at registration waivers from
                                            provisions and parties looking to                        to their facilities and contractual                   pipelines for RNG that did not meet
                                            register new facilities under the biogas                 relationships prior to registration.                  applicable pipeline specifications, and
                                            regulatory reform provisions.                            Furthermore, we must balance the need                 removing the proposed emissions-
                                            Commenters suggested that the new                        to provide facilities that have planned to            related registration requirements. Also,
                                            testing and measurement requirements                     participate in the RFS under the                      as discussed in Section IX.H.2, we are
                                            for biogas and RNG could take                            previous biogas provisions with our                   intending to update our reporting
                                            considerable time for parties to install                 ability to implement and oversee the
                                            compliant meters and arrange for                         program.                                                 272 We expect that RINs generated for biogas

                                            independent third-party engineers to                        We are finalizing as proposed that any             demonstrated to be used in as transportation fuel
                                                                                                                                                           by December 31, 2024, under the previous biogas
                                            ensure that such meters were installed                   RIN generators under the previous
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                                                                                                                                                           provisions will be generated by February 2025.
                                            consistent with the new regulatory                       biogas provisions must generate RINs                  Typically, because the RIN generator must collect
                                            requirements. Commenters suggested                       for RNG stored in the natural gas                     documentation from various parties in the
                                            that the implementation timeline should                  commercial pipeline system by January                 contractual chain to ensure that the biogas or RNG
                                                                                                                                                           was used as transportation fuel prior to RIN
                                            also consider facilities that are not                    1, 2025. As stated in the proposal, we                generation, RIN generation can take around a month
                                            currently registered because it can take                 believe this is a sufficient amount of                after the biogas or RNG was used as transportation
                                            years for an RNG project to be                           time to utilize the amount of stored RNG              fuel.



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                                            systems to more readily accommodate                      pipeline-quality biogas which has many                biogas-derived renewable fuel, which
                                            the submission of reports to streamline                  of the impurities removed for                         was intended but not stated in the
                                            and modernize the submission of biogas                   distribution through a commercial                     previous definition. Gas containing
                                            and RNG-related information under                        pipeline. Some stakeholders also use the              biomethane that has undergone
                                            biogas regulatory reform.                                pipeline-quality biogas term                          treatment to remove components such
                                                                                                     interchangeably with renewable CNG or                 that it is suitable for use to produce a
                                            G. Definitions
                                                                                                     renewable LNG, which are renewable                    biointermediate or biogas-derived
                                               We are finalizing with modifications                  fuels produced from biogas. To clarify                renewable fuels is no longer biogas and
                                            the proposed definitions of various                      our intent, we are finalizing specific                is either RNG or treated biogas,
                                            regulated parties, their facilities, and the             definitions for biogas-derived renewable              depending on whether it meets pipeline
                                            products related to the production of                    fuel, biogas, treated biogas, biomethane,             specifications and is placed on a
                                            biogas-derived renewable fuels. We are                   and renewable natural gas (RNG).                      commercial pipeline.
                                            also finalizing with modifications the                      ‘‘Biogas’’ is often used to broadly                   To describe biogas-derived pipeline-
                                            proposed definitions of other terms as                   mean any renewable fuel used in the                   quality gas, we proposed to adopt a term
                                            necessary for clarity and consistency.                   transportation sector that has its origins            now in common use—renewable natural
                                            We have modified the proposed                            in biogas. However, in the context of the             gas, or RNG. Under the proposed
                                            definitions related to biogas regulatory                 RFS program, we have learned that it is               definition, in order to meet the
                                            reform based on public comments and                      necessary to distinguish between these                definition of RNG, the product would
                                            describe those changes in more detail                    products. We are therefore finalizing a               have to have met all of the following:
                                            either below or in the RTC document.                     definition of ‘‘biogas-derived renewable                 • The gas must be produced from
                                               We are also finalizing the proposal to                fuel’’ that includes renewable CNG,                   biogas,
                                            move and consolidate all defined terms                   renewable LNG, or any other renewable                    • The gas must contain at least 90
                                            for the RFS program from 40 CFR                          fuel that is produced from biogas or its              percent biomethane content,
                                            80.1401 to 80.2. We are doing this                       pipeline-quality derivative RNG now or                   • The gas must meet the commercial
                                            because we moved all of the non-RFS                      in the future.                                        distribution pipeline specification
                                            fuel quality regulations, including the                     We are defining biomethane as                      submitted and accepted by EPA as part
                                            relevant definitions, from 40 CFR part                   exclusively methane that is produced                  of registration, and
                                            80 to part 1090 as part of our Fuels                     from renewable biomass. We believe a                     • The gas must be designated for use
                                            Regulatory Streamlining Rule.273 As                      separate definition for biomethane is                 to produce a biogas-derived renewable
                                            such, it is no longer necessary to have                  important because biomethane                          fuel.
                                            separate definitions sections for 40 CFR                 (exclusive of impurities and inert gases                 We proposed that RNG must contain
                                            part 80, subpart M, as only requirements                 often found with biomethane in biogas)                at least 90 percent biomethane content
                                            related to the RFS program are housed                    is what RIN generation is based on. In                because we believed this to be
                                            in 40 CFR part 80. We are not changing                   order to ensure the appropriate                       consistent with many commercial
                                            the meaning of the terms moved from 40                   measurement of biomethane for RIN                     pipeline specifications that we have
                                            CFR 80.1401 to 80.2, but are simply                      generation for RNG, we issued guidance                seen submitted as part of existing
                                            relocating them to consolidate the                       under the existing regulations that cover             registration submissions for the biogas
                                            definitions that apply to RFS in a single                cases where non-renewable components                  to renewable CNG/LNG pathways. We
                                            location. Because we have consolidated                   are added to biogas, and we are                       received public comments stating that
                                            all definitions for the RFS program into                 codifying provisions based on that                    the proposed 90 percent biomethane
                                            40 CFR 80.2, any newly defined terms                     previously issued guidance in this                    content limit was too stringent or
                                            under this action appear in 80.2.                        action.274 Biomethane is a component of               unnecessary because of how EPA
                                               For parties regulated under the biogas                biogas, RNG, treated biogas, renewable                proposed to define a batch of RNG.
                                            regulatory reform provisions, we are                     CNG, and renewable LNG, all of which,                 Some public commenters noted that
                                            finalizing several new terms to specify                  under the definitions being finalized in              commercial pipeline specifications are
                                            which persons and parties are subject to                 this action, must be produced through                 typically specified in methane (i.e., not
                                            the revised regulatory requirements in a                 anaerobic digestion of renewable                      specific to biomethane) and that often
                                            manner that is consistent with our                       biomass.                                              non-renewable components are blended
                                            approach under our other fuel quality                       We are defining biogas as a mixture                into RNG to meet pipeline
                                            and RFS regulations. For example, a                      including biomethane that is produced                 specifications. The public commenters
                                            biogas producer is defined as any                        from anaerobic digestion and may have                 highlighted that it would be energy
                                            person who owns, leases, operates,                       undergone some processing to remove                   intensive to clean up biogas to meet a
                                            controls, or supervises a biogas                         water vapor, particles, and some trace                90 percent biomethane threshold and
                                            production facility, and a biogas                        gases, but requires additional processing             that many pipeline’s methane content
                                            production facility is any facility where                (such as removal of carbon dioxide,                   specifications are well below the
                                            biogas is produced from renewable                        oxygen, or nitrogen) to be suitable for               proposed level. Other public
                                            biomass that qualifies under the RFS                     use to produce a biogas-derived                       commenters noted that because of how
                                            program. The same framework for                          renewable fuel. This new definition of                EPA proposed to measure RNG (i.e.,
                                            applies to RNG producers.                                biogas is intended to make it explicit                direct measurement of biomethane
                                               Under the previous RFS regulations,                   that biogas includes gas collected at                 using specified meters) and to define a
                                            the term ‘‘biogas’’ is used to refer to                  landfills or through a digester before                batch of RNG (i.e., by being the volume
                                            many things and its use may differ                       that biogas is either upgraded to                     of directly measured biomethane), such
                                            depending on context. In some cases,                     produce RNG or is used to make a                      a limit was unnecessary and confusing.
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                                            we distinguish between raw biogas, i.e.,                                                                       Based on these comments, we are not
                                            biogas collected at a landfill or through                  274 See ‘‘Guidance on Biogas Quality and RIN
                                                                                                                                                           finalizing the proposed 90 percent
                                            a digester that contains impurities and                  Generation when Biogas is Injected into a             biomethane threshold in the definition
                                                                                                     Commercial Pipeline for use in Producing
                                            large portions of inert gases, and                       Renewable CNG or LNG under the Renewable Fuel         of RNG.
                                                                                                     Standard Program.’’ September 2016. EPA–420–B–           We are finalizing as proposed to
                                              273 85 FR 78417–78420 (December 4, 2020).              16–075.                                               define RNG such that it only meets the


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                                            definition if the gas is designated for use              requirements under the RFS program.                   facility of biogas or RNG to help identify
                                            to produce a biogas-derived renewable                    These compliance provisions include                   potential fraud. Like biointermediate
                                            fuel under the RFS program. We are                       registration, reporting, PTDs, and                    production and renewable fuel
                                            finalizing this element of the definition                recordkeeping requirements. Each of                   production facilities, we are requiring
                                            for consistency with the regulatory                      these compliance provisions is                        that biogas production and RNG
                                            requirement that such fuels be used                      discussed below.                                      production 276 undergo a third-party
                                            only for transportation under the RFS                                                                          engineering review as part of
                                                                                                     1. Registration
                                            consistent with the Clean Air Act. This                                                                        registration to have an independent
                                            element is important to avoid the                           Under the RFS program,                             professional engineer verify at
                                            double-counting of volumes of RNG that                   biointermediate and renewable fuel                    registration that the facility is capable of
                                            could be claimed as both a renewable                     producers are required to demonstrate at              producing biogas or RNG consistent
                                            fuel under the RFS program and as a                      registration that their facilities can                with Clean Air Act and EPA regulatory
                                            product for a non-transportation use                     produce the specified biointermediates                requirements. For RNG RIN separators,
                                            under a different federal or state                       and renewable fuels from renewable                    we are requiring they submit a
                                            program.                                                 biomass under an EPA-approved                         description of process and equipment
                                               EPA’s previous biogas guidance                        pathway. These producers demonstrate                  used to compress RNG into renewable
                                            explains that biogas injected onto the                   that they are capable of making                       CNG/LNG at registration and a list of
                                            commercial pipeline should meet the                      qualifying biointermediates and                       initial dispensing locations.
                                            specific pipeline specifications required                renewable fuels by having an                            We are also finalizing as proposed
                                            by the commercial pipeline in order to                   independent third-party engineer                      that biogas producers and RNG
                                            qualify as transportation fuel for RIN                   conduct a site visit and prepare a report             producers associate with one another as
                                            generation.275 Commenters noted that                     confirming the accuracy of the                        part of their registrations. An
                                            our proposed definition excluded RNG                     producer’s registration submission.                   association is a process where two
                                            that required addition of non-renewable                  These RFS registration requirements                   parties establish that they are related for
                                            components. Based on these comments,                     serve as an important step to ensure that             purposes of complying with regulatory
                                            we are modifying our proposed                            only biointermediates and renewable                   requirements under the RFS program.
                                            definition of RNG to specify that RNG                    fuels that can be demonstrated to meet                Such associations are needed to track
                                            must not require removal of components                   the Clean Air Act requirements for                    the relationships between the parties
                                            to be placed into a commercial pipeline.                 producing qualifying renewable fuels                  and to allow RIN generators the ability
                                            This definition would not disqualify gas                 are allowed into the program. We also                 to generate RINs in EMTS. For example,
                                            that requires addition of non-renewable                  require parties that transact RINs to                 under the RFS QAP, RIN generators
                                            components in order to meet pipeline                     register in order for them to gain access             must associate with QAP auditors in
                                            specifications. Since the definition of                  to EPA systems where RIN transactions                 order to generate Q–RINs in EMTS.
                                            RNG is based on pipeline specifications,                 are recorded and to submit required                   Similarly, biointermediate producers
                                            registration submissions for RNG must                    periodic reports, which are necessary to              and renewable fuel producers must
                                            include these pipeline specifications to                 ensure that we can track and verify the               associate with one another in order for
                                            demonstrate that the definition of RNG                   validity of RINs.                                     the renewable fuel producer to generate
                                            will be met.                                                To that end, biogas producers, RNG                 RINs for renewable fuels produced from
                                               Treated biogas results from processing                producers, and RNG RIN separators                     biointermediates. These associations
                                            biogas similar to RNG, but, unlike RNG,                  must register with EPA prior to                       must be submitted via registration
                                            it is not intended to be placed on a                     participation in the RFS program. Under               because our registration system is
                                            commercial pipeline. We have created                     these registration requirements, biogas               currently set up to track these kinds of
                                            different regulatory provisions for                      producers, RNG producers, and RNG                     relationships. Similarly, when biogas is
                                            treated biogas and RNG because we                        RIN separators must submit information                used to produce a biogas-derived
                                            have different concerns regarding how                    that demonstrates that the facilities are             renewable fuel or as a biointermediate
                                            to verify that they are used as                          capable of producing biogas, RNG, or                  in a biogas closed distribution system,
                                            transportation fuel. Treated biogas is a                 renewable CNG/LNG from renewable                      biogas producers and RIN generators
                                            separate term from RNG to distinguish                    biomass under an EPA-approved                         must also associate with one another at
                                            the different regulatory provisions.                     pathway. For biogas producers and RNG                 registration.
                                               We have incorporated the use of these                 producers, this information must                        It is important to note that under
                                            new definitions in both 40 CFR part 80,                  include the feedstocks that the producer              existing fuel quality regulations at 40
                                            subpart E and 40 CFR part 80, subpart                    intends to use, the process through                   CFR part 1090 and RFS regulations at 40
                                            M where applicable.                                      which the feedstock is converted into                 CFR part 80, new registrants who
                                                                                                     biogas or RNG, and any other                          require an annual attest engagement (see
                                            H. Registration, Reporting, Product                      information necessary for EPA to                      Section IX.K.2) must identify a third-
                                            Transfer Documents, and                                  determine whether the biogas or RNG,                  party auditor and associate with that
                                            Recordkeeping                                            was produced in a manner consistent                   party via registration. To submit
                                              We are finalizing with modifications                   with Clean Air Act and EPA’s regulatory               materials on behalf of the regulated
                                            the proposed compliance provisions                       requirements. Such information is                     party, any third-party auditor who is not
                                            necessary to ensure that the production,                 necessary to ensure that biogas-derived               already registered must register in
                                            distribution, and use of biogas, RNG,                    renewable fuels are produced only from                accordance with existing requirements
                                            and biogas-derived renewable fuels are                   qualifying biogas. Biogas producers and               under 40 CFR parts 1090 and 80 using
                                            consistent with Clean Air Act                            RNG producers must also establish a                   forms and procedures specified by EPA.
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                                                                                                     baseline volume for their respective                  For parties required to complete an
                                              275 See ‘‘Guidance on Biogas Quality and RIN           facilities at registration. This baseline             annual attest engagement under biogas
                                            Generation when Biogas is Injected into a                volume is intended to represent the                   regulatory reform, the registration and
                                            Commercial Pipeline for use in Producing
                                            Renewable CNG or LNG under the Renewable Fuel
                                                                                                     production capacity of the facility and               association of third-party auditors will
                                            Standard Program.’’ September 2016. EPA–420–B–           serve as a check for EPA and third
                                            16–075.                                                  parties on the volumes reported by a                    276 See 40 CFR 80.1450(b)(2).




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                                            function the same because we did not                     (e.g., RNG producer).277 The associated               EMTS. We believe this will greatly
                                            propose and are not modifying the                        pathway information includes how the                  simplify the quarterly reporting
                                            existing requirement that all parties do                 biogas will be used (i.e., whether the                requirements related to RNG when
                                            so. We only highlight this provision to                  biogas would be used to make                          compared to the prior biogas to
                                            aide affected stakeholder’s                              renewable CNG/LNG via a closed,                       renewable CNG/LNG regulatory
                                            understanding of how the biogas                          private pipeline system; RNG; or used as              provisions.
                                            regulatory reform will work and discuss                  a biointermediate). This information is                  Similar to the reporting procedure for
                                            related attest engagement requirements                   necessary for EPA to ensure that the                  biogas producers, RNG producers will
                                            in more detail in Section IX.K.2.                        amount of biogas produced corresponds                 generate RNG RINs in EMTS and
                                               We received several comments                          to the biogas producer’s registration                 transact them to parties that use the
                                            opposed to the requirement that biogas                   information and serves as the basis for               RNG as a feedstock, for process heat, or
                                            producers directly register. Commenters                  RIN generation for biogas-derived                     to produce renewable CNG/LNG. RNG
                                            discussed how this might subject small                   renewable fuels. This information is                  producers would match the
                                            parties to liability and regulatory                      also important for the verification of                corresponding batch of biogas to the
                                            burdens and suggested that the QAP                       RINs under the RFS QAP and for annual                 batch of RNG through transactions in
                                            process effectively oversees the process.                attest audits.                                        EMTS like how RINs are currently
                                            However, it is important for parties that                   We intend to have biogas producers                 transacted. This allows a batch of RNG
                                            choose to produce biogas under the RFS                   complete the monthly reporting                        to be directly connected to a
                                            program to be held responsible for                       requirement by entering batch reports                 corresponding amount of biogas batches
                                            complying with the regulations, because                  directly into EMTS and then                           within the RNG producer’s EMTS
                                            the biogas producer is the party best                    transferring each batch also in EMTS to               holdings. This process ensures the batch
                                            able to demonstrate that the biogas was                  a party that uses such biogas to produce              information has been properly reported
                                            produced from renewable biomass                          a biogas-derived renewable fuel, RNG,                 and transferred between parties. The
                                            under an EPA-approved pathway. This                      or a biointermediate. Tracking the                    reports will also serve as the basis for
                                            is critical for EPA’s oversight and                      movement of biogas batches in EMTS                    third-party verification and EPA audits
                                            enforcement capabilities, and to ensure                  between the biogas producer and the                   to help ensure the validity of RNG RINs.
                                            that fuels that are used to satisfy the                  parties that use such biogas to produce                  We are requiring that RNG RIN
                                            statutory volume requirements are                        biogas-derived renewable fuels, RNG, or               separators submit periodic reports
                                            actually qualifying renewable fuel. The                  as a biointermediate will improve the                 related to their RNG RIN separation
                                            RFS QAP mainly provides oversight for                    quality of information, enable better                 activities. For RNG to renewable CNG/
                                            the facilities registered under the RFS                  information sharing between parties,                  LNG, these reports must denote which
                                            and is not a substitute for holding biogas               including third-party auditors, and                   facilities/dispensers converted RNG to
                                            producers that do not comply with the                    define a structured reporting process.                renewable CNG/LNG, where the
                                                                                                        For RNG producers, we are requiring                renewable CNG/LNG was dispensed,
                                            regulatory requirements liable. As
                                                                                                     quarterly reports to support verification             and the amount of RNG that was
                                            discussed in Section IX.C, we believe
                                                                                                     of the amount of RNG produced from                    converted to renewable CNG/LNG and
                                            that third parties will continue to help
                                                                                                     qualifying biogas and injected into the               dispensed. This information is
                                            smaller entities participate in the RFS
                                                                                                     natural gas commercial pipeline system.               necessary to help demonstrate that the
                                            program as they currently do for other
                                                                                                     RNG producers must report the amount                  RNG was converted to renewable CNG/
                                            renewable fuels.
                                                                                                     and energy content of biogas used to                  LNG and used as transportation fuel.
                                            2. Reporting                                             produce RNG and the quantity of RNG                   These periodic reports also serve as the
                                               Under the RFS program, we generally                   that was produced and placed onto the                 basis for attest auditors and EPA to
                                            require reports from regulated parties                   natural gas commercial pipeline system                verify RNG RIN separation activities.
                                            for the following reasons: (1) To monitor                by verification status and associated                    RNG RIN separators must also submit
                                            compliance with the applicable RFS                       pathway. Similar to the biogas reports,               additional information related to the
                                            requirements; (2) To support the                         these reporting requirements are                      separation transaction in EMTS. Under
                                            generation, transaction, and use of RINs                 necessary to demonstrate the amount of                the previous regulations, we established
                                            via EMTS; (3) To have accurate                           RNG produced from qualifying biogas                   a series of codes to identify the reason
                                            information to inform EPA decisions;                     and to describe the amount of RNG                     that a RIN is separated, consistent with
                                            and (4) To promote public transparency.                  placed on the natural gas commercial                  the regulatory requirements that allow
                                            We already have reporting requirements                   pipeline system, and to help track the                for RIN separation.279 To implement the
                                            for renewable fuels, including for                       associated pathways and D-codes of the                requirements for biogas regulatory
                                            renewable CNG/LNG, in 40 CFR                             produced RNG. We note that these                      reform, we are requiring that RNG RIN
                                            80.1451. We are establishing similar                     reports are intended to replace the                   separators identify in EMTS the reason
                                            reporting requirements for biogas                        previous reporting requirements for                   they were separating an assigned RIN
                                            producers, RNG producers, and RNG                        renewable CNG/LNG RIN generators.278                  from RNG via new separation codes; i.e.,
                                            RIN separators.                                          Under biogas regulatory reform, we will               whether the RIN was separated from the
                                               For biogas producers, we are requiring                no longer require that the contracts or               RNG for conversion to renewable CNG/
                                            monthly batch reports that include the                   affidavits were obtained from parties in              LNG. These parties may only separate
                                            amount of raw biogas produced as well                    the biogas distribution/generation chain,             the RIN from RNG after they have the
                                            as the biomethane content and energy                     since this tracking will be done via                  documentation needed to demonstrate
                                            for the biogas produced at each biogas                                                                         that the RNG was used as transportation
                                                                                                       277 Multiple commenters noted a difference in the
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                                            production facility. In these reports,                                                                         fuel in the form of renewable CNG/
                                                                                                     preamble to the NPRM and the proposed
                                            biogas producers must also break down                    regulations regarding whether separate batches        LNG.280 These changes to EMTS will
                                            each batch by its verification status, by                should be generated by digester or by facility. We
                                            its associated pathway information (e.g.,                are finalizing that batches should be generated by      279 See 40 CFR 80.1429.

                                                                                                     facility, as discussed in RTC Section 10.5.             280 Note, RIN separation transactions are reported
                                            D code, feedstock, and designated use),                    278 RFS0601: Renewable Fuel Producer                in EMTS. RNG RIN separators must report RIN
                                            and by the party receiving the batch                     Supplemental report.                                                                             Continued




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                                            help track the use of RNG under the RFS                  under the current RFS program in                      Since EPA will be tracking the
                                            program, which we believe will improve                   80.1453.                                              movement of assigned RNG RINs in
                                            program oversight.                                                                                             EMTS, we no longer require that the
                                                                                                     4. Recordkeeping
                                                                                                                                                           RIN generator (i.e., RNG producer under
                                            3. Product Transfer Documents (PTDs)                        We are finalizing as proposed                      biogas regulatory reform) maintain
                                               We are requiring product transfer                     recordkeeping requirements for biogas                 records related to the contractual
                                            documents (PTDs) for transfers of title                  producers, RNG producers, and RNG                     arrangements for the sale and transfer of
                                            for biogas and RNG. We have                              RIN separators. The purpose of                        RNG to parties that distribute the RNG
                                            historically used PTDs to create a record                recordkeeping requirements under the                  to the end user. These records will no
                                            trail that demonstrates the movement of                  RFS program is to allow verification that             longer be needed since EMTS will
                                            product and information between                          the renewable fuels were produced from                memorialize the necessary information
                                            various parties, as a mechanism to                       qualifying renewable biomass, under an                pertaining to the transfer of the assigned
                                            designate and certify regulated products                 EPA-approved pathway, and that the                    RINs.
                                            as meeting EPA’s regulatory                              renewable fuel was used as                               We are also requiring that RNG RIN
                                            requirements, and to convey specific                     transportation fuel, heating oil, or jet              separators maintain records related to
                                            information to parties that take custody                 fuel. These records serve as the basis for            their RNG RIN separation activities. For
                                            or title to the product.281 PTDs are                     information submitted to EPA as part of               RNG to renewable CNG/LNG, this
                                            important for biogas regulatory reform                   registration and reporting, as well as for            includes information related to the
                                            as they are necessary to document that                   the basis of audits conducted by                      location where the RNG was converted
                                            qualifying biogas was transferred                        independent third parties and EPA.                    into renewable CNG/LNG, as well as the
                                            between biogas producers and RNG                            For biogas producers, we are requiring             date, location, and amount of dispensed
                                            producers. EPA and third parties also                    records that are already required under               CNG/LNG. The recordkeeping
                                            review PTDs to help verify the RINs are                  the RFS for the production of renewable               requirements related to demonstrating
                                            validly generated.                                       CNG/LNG from biogas. These records                    that RNG was used as transportation
                                               For biogas title transfers, we are                    include information needed to show                    fuel were previously maintained by the
                                            requiring that PTDs include information                  that biogas came from qualifying                      RIN generator but now must be
                                            related to the transferer and transferee,                renewable biomass, copies of all                      maintained by the RNG RIN separator.
                                            the intended use of the biogas, the                      registration information including                    These records are necessary to ensure
                                            amount of biogas being transferred, and                  information related to third-party                    that RNG is used as transportation fuel,
                                            the date that title of the biogas was                    engineering reviews, copies of all                    and we believe that it is most
                                            transferred. For RNG title transfers, we                 reports, and copies of any required                   appropriate to require that the party best
                                            are requiring that PTDs include the                      testing and measurement under the RFS                 positioned to demonstrate that the RNG
                                            names and addresses of the transferor                                                                          is used as transportation fuel maintain
                                                                                                     program.
                                            and transferee, the transferor’s and                                                                           the records.
                                                                                                        For RNG producers, we are including
                                            transferee’s EPA company registration
                                                                                                     recordkeeping requirements consistent                 I. Testing and Measurement
                                            numbers, the amount of RNG being
                                                                                                     with other parties that produce                       Requirements
                                            transferred, and the date of the transfer.
                                                                                                     renewable fuels under the RFS program.
                                            Additionally, we are requiring that RNG                                                                           We are finalizing specific testing and
                                                                                                     Relevant to RNG production, RNG
                                            producers clearly designate on the PTDs                                                                        measurement procedures for biogas and
                                                                                                     producers must maintain records
                                            that the RNG must be used as                                                                                   RNG. Due to the value of RINs and the
                                                                                                     indicating how much biogas was
                                            transportation fuel. We note that the                                                                          contribution that that value can make to
                                                                                                     received at their facility from a
                                            RIN PTD requirements at 40 CFR                                                                                 company revenue, parties have clear
                                            80.1453(a) also apply to transfers of title              registered biogas producer, records                   incentives to manipulate testing and
                                            for the RINs assigned to the RNG. For                    demonstrating how much biogas was                     measurement results to appear to have
                                            cases when RNG is transferred prior to                   converted to RNG, and records showing                 produced more biogas, RNG, and biogas-
                                            injection into the natural gas                           the amount of non-renewable content                   derived renewable fuels than they
                                            commercial pipeline system (i.e.,                        added to ensure that applicable pipeline              actually did. By establishing clear and
                                            between the RNG production facility                      specifications are met. For RNG                       consistent testing and measurement
                                            and the injection point), we are also                    injection, RNG producers are required to              requirements, we can ensure the
                                            requiring PTDs for transfer of RNG                       maintain records showing the date of                  validity of RINs and a level playing field
                                            custody that indicate that the RNG must                  injection and the volume and energy                   for RIN generators.
                                            be used for qualifying purpose. The                      content of the RNG injected into the                     For the measurement of biogas and
                                            purpose of requiring PTDs for custody                    natural gas commercial pipeline                       RNG, we are finalizing the incorporation
                                            transfers prior to injection into the                    system.282 For RNG RIN generation,                    of relevant portions of the previously
                                            natural gas commercial pipeline system                   RNG producers must maintain records                   published guidance into the
                                            is to create a paper trail so that third                 related to the generation of RINs in                  regulations.283 Under the guidance, we
                                            parties and EPA can audit whether the                    accordance with 40 CFR 80.1454(b).                    allowed for parties to submit as part of
                                            RNG claimed as injected into the                         These recordkeeping requirements are                  their registrations whether they were
                                            pipeline was in fact injected into the                   necessary to ensure that the RNG was                  using in-line gas chromatography (GC)
                                            natural gas commercial pipeline system.                  produced and injected in a manner                     meters or an alternative sampling
                                            These elements of the PTDs largely                       consistent with CAA requirements and                  protocol for measurement of biogas. In
                                            mirror the elements included on the                      applicable regulatory requirements, and               this action, we are also allowing an
                                            current PTD requirements for transfers                   that the appropriate number of RINs was               alternative to continuous measurement,
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                                            of renewable fuels and biointermediates                  generated for the RNG injected into the
                                                                                                     natural gas commercial pipeline system.                 283 ‘‘Guidance on Biogas Quality and RIN

                                            separations consistent with the regulatory                                                                     Generation when Biogas is Injected into a
                                            requirements specified in 40 CFR 80.140(d) and             282 For specific cases where RNG that is trucked    Commercial Pipeline for use in Producing
                                            80.1452.                                                 to an interconnect, we are proposing the RNG          Renewable CNG or LNG under the Renewable Fuel
                                               281 The PTD requirements for RFS are described        producer measure when loading and unloading           Standard Program’’ See document ID: EPA–420–B–
                                            at 40 CFR 80.1453.                                       each truck.                                           16–075.



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                                            specifying a specific standard for GC                    renewable fuel.285 To balance the need                heating value, relative density,
                                            meters, and requiring measurement for                    for timely registration with our need to              moisture, and any other available data
                                            both biogas and RNG.                                     ensure product quality and to inform                  related to the gas components),
                                               Multiple commenters raised concerns                   future regulations, we are finalizing the             hydrocarbon analysis, and trace gas
                                            about the proposed measurement                           requirement that RNG producers need to                components (e.g., hydrogen sulfide,
                                            devices. They requested that EPA allow                   submit certificates of analysis from an               total sulfur, total organic silicon/
                                            other types of measurement devices and                   independent laboratory in its three-year              siloxanes, moisture, etc.), plus any
                                            allow use of the manufacturers’                          engineering reviews, but not at initial               additional parameters and related
                                            operating procedures in lieu of EPA’s                    registration.                                         specifications for the pipeline being
                                            proposed standardized measurement                          To summarize the requirements we                    used. We are also specifying methods
                                            techniques. However, federal                             are finalizing, in all engineering reviews            that must be used when measuring
                                            regulations based on the National                        for facilities upgrading biogas to RNG,               biogas properties. These standards are
                                            Technology Transfer and Advancement                      an RNG producer must supply                           based on methods used for these
                                            Act (NTTAA) state that agencies should                   specifications for the natural gas                    measurements which have been
                                            give preference to standardized                          commercial pipeline system into which                 submitted to us in the past and which
                                            measurement techniques.284 Given that                    the RNG will be injected. The pipeline                we believe provide sufficient accuracy.
                                            there are standards for measurement                      specifications must contain information               The standards we are codifying for
                                            techniques that can be used in the                       on all parameters regulated by the                    biogas and RNG measurement for three-
                                            measurement of methane concentration                     pipeline (e.g., hydrogen sulfide, total               year engineering review update analysis
                                            and flow of biogas and RNG, we do not                    sulfur, carbon dioxide, oxygen, nitrogen,             are the following:
                                            believe it is appropriate to allow for the
                                                                                                     heating content, moisture, and any other                 • ASTM D3588: This method
                                                                                                     available data related to the gas                     describes how to calculate heating value
                                            use of manufacturers’ operating
                                                                                                     components). Additionally, in all three-              and relative density.
                                            procedures or to allow parties to
                                            provide documentation to EPA when
                                                                                                     year engineering review updates for                      • ASTM D4888: This method
                                                                                                     facilities upgrading biogas to RNG, an                describes how to measure moisture
                                            standards for such measurement exist.
                                                                                                     RNG producer must supply the                          content.
                                            The appropriateness of using other
                                                                                                     following:                                               • ASTM D5504: This method
                                            techniques mentioned by the
                                                                                                       • A certificate of analysis (COA) for a             describes how to measure hydrogen
                                            commenters depends on whether a
                                                                                                     representative sample of the biogas                   sulfide and other sulfur compounds.
                                            standard meets the requirements.
                                                                                                     produced at the digester or landfill.                    • ASTM D6866: This method
                                            Commenters did not provide standards                       • A COA for a representative sample                 measures biogenic carbon.
                                            for the alternative measurement devices                  of the RNG prior to the addition of any                  • ASTM D8230: This method
                                            that they recommended EPA allow,                         non-renewable components.                             describes how to measure siloxanes.
                                            although EPA did find one standard that                    • A COA for a representative sample                    • EPA Method 3C: This method
                                            is sufficient which is for thermal mass                  of the RNG after blending with non-                   describes how to measure methane,
                                            flow measurement devices and is                          renewable components (if the RNG is                   carbon dioxide, nitrogen, and oxygen.
                                            therefore allowing those devices under                   blended with non-renewable                               • API MPMS 14.1: This method
                                            the program. The standards for                           components prior to injection into a                  describes how to obtain representative
                                            measurement that we are finalizing are                   pipeline).                                            samples.
                                            as follows:                                                • Summary table with the results of                    We also note in the guidance that
                                               • API MPMS 14.3.1, API MPMS                           the three COAs and the pipeline                       parties must keep the COAs, pipeline
                                            14.3.2, API MPMS 14.3.3, and API                         specifications (converted to the same                 specifications, and any measurement-
                                            MPMS 14.3.4: These standards describe                    units).                                               related RIN generation components
                                            the measurement of gaseous flow by                         We had proposed that facilities                     under the recordkeeping requirements
                                            orifice meters for use in biogas                         supply documentation of any waiver                    of 40 CFR 80.1454. As part of the RFS
                                            production and RNG production                            provided by the commercial distribution               program’s third-party oversight
                                            facilities.                                              pipeline for any parameter of the RNG                 provisions, the guidance recommends
                                               • API MPMS 14.12: This standard                       that does not meet the pipeline                       that third-party engineers review
                                            describes measurement of gaseous flow                    specifications, if applicable. Based on               conformance with applicable
                                            by vortex meter for use in biogas                        comments, we are no longer requiring                  recordkeeping requirements as part of
                                            production and RNG production                            that such waivers be supplied at                      their engineering reviews while third-
                                            facilities.                                              registration. Instead, we are requiring               party auditors review conformance with
                                               • ASTM D7164: This standard                           parties to keep records of such waivers               these recordkeeping requirements
                                            describes measurement of methane                         so that EPA can determine whether RNG                 pursuant to the RFS QAP. We are
                                            concentration by gas chromatogram for                    producers brought RNG up to pipeline                  finalizing as proposed that RNG
                                            use in biogas production and RNG                         specifications consistent with EPA’s                  producers must keep testing and
                                            production facilities.                                   regulatory requirements.                              measurement records of biogas and RNG
                                                                                                       We are finalizing as proposed that the              and that third-party auditors must verify
                                               • EN 17526: This standard describes                   RNG producers must include on the                     this information as part of QAP, if
                                            how to measure gaseous flow by thermal                   COAs submitted as part of a three-year                applicable, as mentioned in the
                                            mass flow meter for use in biogas and                    engineering review update major and                   guidance.286
                                            RNG production facilities.                               minor gas components (e.g., methane,                     We are also finalizing as proposed
                                               Similarly, we are also incorporating                  carbon dioxide, nitrogen, oxygen,                     additional measurement requirements
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                                            into the regulations part of the guidance
                                            related to analytical testing for the                      285 ‘‘Guidance on Biogas Quality and RIN              286 ‘‘Guidance on Biogas Quality and RIN

                                            registration of biogas and RNG for use                   Generation when Biogas is Injected into a             Generation when Biogas is Injected into a
                                            in the production of a biogas-derived                    Commercial Pipeline for use in Producing              Commercial Pipeline for use in Producing
                                                                                                     Renewable CNG or LNG under the Renewable Fuel         Renewable CNG or LNG under the Renewable Fuel
                                                                                                     Standard Program’’ See document ID: EPA–420–B–        Standard Program’’ See document ID: EPA–420–B–
                                              284 15 CFR 287.4(f).                                   16–075.                                               16–075.



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                                            for RNG that is trucked to a gas pipeline                need to be included as part of the RFS                  would require additional oversight to
                                            interconnect. In this situation, RNG                     QAP. This approach is consistent with                   ensure that biogas/RNG was not double-
                                            producers must measure RNG flow and                      the current regulatory treatment of RINs                counted and generating invalid RINs.
                                            energy content of biomethane both on                     generated for ethanol and biodiesel, and                QAP cannot effectively oversee this
                                            loading into and unloading from the                      we are not modifying how the RFS QAP                    situation because individual auditors
                                            truck. We find that this requirement is                  considers RIN separations in this action.               would only verify a small portion of the
                                            necessary to ensure that RINs are only                   We note that, as described in Section                   production/distribution system as part
                                            generated from renewable biomass.                        IX.K.2, we are requiring that RNG RIN                   of their verification. Only through
                                                                                                     separators undergo annual attest                        creating effective, systemwide tracking
                                            J. RFS QAP Under Biogas Regulatory                       engagements, which we believe should                    can such verification occur. Our biogas
                                            Reform                                                   provide sufficient third-party oversight                regulatory reform provisions will use
                                               Consistent with how QAP was treated                   to ensure that RNG RINs are separated                   EMTS to track the movement of biogas
                                            under the previous biogas provisions,                    consistent with the biogas regulatory                   and RNG from production until ultimate
                                            we are not requiring that biogas                         reform provisions.                                      use. QAP auditors and EPA can then use
                                            producers and RNG producers                                 Several commenters suggested that                    this tracking information to verify that
                                            participate in the RFS QAP. We believe                   instead of finalizing the proposed biogas               double-counting did not occur.
                                            these biogas regulatory reforms will                     regulatory reform provisions, EPA
                                                                                                     should require QAP participation for                    K. Compliance and Enforcement
                                            address the issues of double counting as
                                                                                                     parties that generate RINs for biogas to                Provisions and Attest Engagements
                                            discussed in Section IX.A.4.b, such that
                                            a requirement that biogas producers and                  CNG/LNG. While we believe that QAP                        We are finalizing as proposed
                                            RNG producers participate in the RFS                     participation can provide added                         compliance and enforcement provisions
                                            QAP is not necessary.                                    assurance for parties that transact RINs                for biogas-derived renewable fuels
                                               While we are not requiring RFS QAP                    generated for biogas to CNG/LNG, the                    similar to the existing compliance and
                                            participation, for parties that choose to                QAP is not a substitute for the biogas                  enforcement provisions under the RFS
                                            participate in QAP under the updated                     regulatory reform provisions. EPA                       program. Under the RFS program, these
                                            biogas program, both the biogas                          cannot implement through QAP the                        provisions serve to deter fraud and
                                            producer and the RNG producer must be                    modified measurement, reporting, and                    ensure that EPA can effectively enforce
                                            audited by the same independent third-                   recordkeeping requirements that are                     when noncompliance occurs, and the
                                            party auditor in order to generate a Q–                  necessary to ensure that qualifying                     compliance and enforcement provisions
                                            RIN for RNG. In the NPRM we proposed                     biogas is used to produce biogas-derived                for biogas-derived renewable fuels will
                                            additional elements that a QAP auditor                   renewable fuels or address our double-                  serve the same purposes. We discuss the
                                            would have to verify under biogas                        counting concerns in a situation where                  specific provisions below.
                                            regulatory reform consistent with the                    biogas may be used for multiple
                                                                                                                                                             1. Prohibited Actions, Liability, and
                                            proposed regulatory requirements.287                     purposes under the RFS program. These
                                                                                                                                                             Invalid RINs
                                            These new QAP elements for RNG                           requirements must be imposed on the
                                            producers included requirements that                     parties that produce, distribute, and use                  In order to deter noncompliance, the
                                            the QAP auditor must: 288                                biogas, RNG, and biogas-derived                         regulations must make clear what acts
                                               • Verify that the sampling, testing,                  renewable fuels because those parties                   are prohibited, who is liable for
                                            and measurement of RNG is consistent                     are best positioned to demonstrate                      violations, and what happens when
                                            with the new regulatory requirements.                    compliance with the applicable                          biogas-derived RINs are found to be
                                               • Verify that RINs were assigned                      statutory and regulatory requirements.                  invalid. To this end, we are finalizing as
                                            correctly.                                               The QAP auditor’s role is to verify that                proposed provisions that establish: (1)
                                               • Verify that RINs were separated and                 the applicable regulatory requirements                  Prohibited actions relating to the
                                            retired correctly.                                       are met, not serve as a substitute for the              generation of RINs from biogas-derived
                                               • Verify that the RNG was injected                    compliance and enforcement provisions                   renewable fuels; (2) How biogas
                                            into a natural gas commercial pipeline                   that compose biogas regulatory reform                   producers, RNG producers, and RIN
                                            system.                                                  designed to ensure that qualifying                      generators for RNG will be held liable
                                               • Verify that RINs were not generated                 biogas is produced and used to generate                 when RINs from biogas-derived
                                            on non-renewable components added to                     valid RINs. As we articulated in Section                renewable fuels are determined to be
                                            RNG prior to injection into a natural gas                IX.A, we are modifying the compliance                   invalid; (3) How biogas producers and
                                            commercial pipeline system.                              and enforcement mechanisms under the                    RNG producers may establish
                                               These new QAP elements are                            previous biogas provisions to address                   affirmative defenses; and (4) Provisions
                                            necessary for QAP auditors to ensure                     concerns with double counting to                        related to the treatment of invalid RINs
                                            that RNG and RNG RINs are produced                       ensure that RINs generated from biogas                  from biogas-derived renewable fuels.
                                            and generated, respectively, consistent                  meet Clean Air Act and EPA regulatory                   Many of these provisions are similar to
                                            with the biogas regulatory reform                        requirements.                                           provisions under the existing RFS
                                            provisions and, in addition to the                          Commenters also failed to explain                    program and EPA’s fuel quality
                                            generally applicable QAP elements at 40                  how QAP participation would                             programs in 40 CFR part 1090.
                                            CFR 80.1469, will provide a robust                       effectively address any of EPA’s
                                                                                                     concerns with oversight after we have                   a. Prohibited Actions
                                            verification scheme to help ensure that
                                            RINs generated for RNG are valid.                        allowed biogas and RNG to be used for                      The RFS program regulations
                                            Therefore, we are finalizing them as                     multiple uses under the RFS program.                    enumerate specific prohibited acts
                                            proposed.                                                As noted in the NPRM,289 we believe                     under the RFS program. In our recent
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                                               We note that, under this action, the                  the previous biogas provisions were ill-                Fuels Regulatory Streamlining Rule, we
                                            parties that transact the assigned RNG                   suited for situations where biogas/RNG                  consolidated the multiple prohibited
                                            RIN and the RNG RIN separator do not                     could have multiple uses and that the                   acts statements in the various fuel
                                                                                                     increased flexibility in the program                    quality provisions sections of 40 CFR
                                              287 See 87 FR 80737–80738 (December 30, 2022).                                                                 part 80 into a single prohibition against
                                              288 See 40 CFR 80.180(c).                                   289 87 FR 80693.                                   causing, or causing someone else to,


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                                            violate any requirement of the part.290                  distributed, or carried the fuel. If                  previously under that QAP plan would
                                            For biogas regulatory reform, we are                     upstream parties, such as RNG                         not be able to generate verified RINs for
                                            adopting a prohibited act that mirrors                   producers, are concerned about                        that fuel. We note that these
                                            the consolidated prohibited acts                         downstream non-compliance, they can                   administrative actions would be in
                                            provision from the Fuels Regulatory                      take advantage of the affirmative                     addition to any civil penalties. We
                                            Streamlining Rule, and specify that any                  defense provisions if all of the criteria             believe that in combination with the
                                            person who violates, or causes another                   are met.                                              prohibited actions, liabilities, and
                                            person to violate, any requirement in                       We note that the current RFS                       provisions for dealing with invalid RINs
                                            the subpart for biogas-derived                           regulations include provisions for EPA                from biogas-derived renewable fuel
                                            renewable fuels, i.e., 40 CFR part 80,                   to take certain administrative actions in             being finalized in this rule, regulated
                                            subpart E, is liable for the violation.                  cases where a regulated party has been                parties in the biogas disposition/
                                            Consolidation of the prohibited actions                  found to engage in a prohibited practice              generation chain would have a strong
                                            is not meant to alter the scope of                       under the RFS regulations. First, under               incentive to comply with the biogas
                                            prohibited actions, but instead provides                 40 CFR 80.1450(h) EPA may deactivate                  regulatory reform provisions.
                                            more clarity to the regulated community                  a company registration in cases where a
                                            regarding what actions are prohibited.                   party has failed to comply with                       c. Affirmative Defenses
                                                                                                     applicable regulatory requirements. The                  We are finalizing as proposed that
                                            b. Liability Provisions for Biogas, RNG,                 regulations provide that EPA will notify              biogas producers and RNG producers
                                            Biogas-Derived Renewable Fuels, and                      the party of the compliance issue, and                may establish affirmative defenses to
                                            RINs generated for RNG and Biogas-                       the party has 30 days from the date of                certain violations if the biogas producer
                                            Derived Renewable Fuels                                  the notification to correct the issue                 or RNG producer meets all elements
                                               We are finalizing as proposed liability               before EPA may deactivate the party’s                 specified to establish an affirmative
                                            provisions similar to the liability                      registration. However, in cases where                 defense. We allow for affirmative
                                            provisions in other EPA fuels programs,                  the party’s actions compromise public                 defenses in the RFS program and in our
                                            including the existing RFS program and                   health, public interest, or public safety,            fuel quality program under 40 CFR part
                                            the recently finalized biointermediates                  EPA may deactivate the registration of                1090 in cases where a party did not
                                            rule. Specifically, we are requiring that                the party without prior notice to the                 cause or contribute to the violation or
                                            when biogas, RNG, biogas-derived                         party. This would likely apply in cases               financially benefit from the violation.
                                            renewable fuels, or RINs from RNG or a                   where a party is found to be generating               We are allowing biogas producers to
                                            biogas-derived renewable fuel are found                  invalid or fraudulent RINs. Second, EPA               establish an affirmative defense so long
                                            to be in violation of regulatory                         may administratively revoke an RFS                    as all the following are met:
                                            requirements, the biogas producer, the                   QAP plan for cause. The existing                         • The biogas producer or any of the
                                            RNG producer, the biogas-derived                         regulation at 40 CFR 80.1469(e)(4)                    biogas producer’s employees or agents,
                                            renewable fuel producer, and the person                  specifies that EPA may revoke a QAP                   did not cause the violation.
                                            that generated RINs from RNG or a                        plan ‘‘for cause, including, but not                     • The biogas producer did not know
                                            biogas-derived renewable fuel will all be                limited to, an EPA determination that                 or have reason to know that the biogas,
                                            liable for the violation. Consequently,                  the approved QAP has proven to be                     RNG, or RINs were in violation of a
                                            RIN generators for biogas-derived                        inadequate in practice.’’ Furthermore,                prohibition or regulatory requirement.
                                            renewable fuels are ultimately                           the regulation at 40 CFR 80.1469(e)(5)                   • The biogas producer has no
                                            responsible for ensuring that any biogas                 specifies that ‘‘EPA may void ab initio               financial interest in the company that
                                            or RNG used to produce the fuel                          its approval of a QAP upon the EPA’s                  caused the violation.
                                            complies with the regulations. The                       determination that the approval was                      • If the biogas producer self-
                                            description of feedstocks and processes                  based on false information, misleading                identified the violation, the biogas
                                            in registration materials accepted by                    information, or incomplete information,               producer notified EPA within five
                                            EPA does not constitute a determination                  or if there was a failure to fulfill, or              business days of discovering the
                                            by EPA that the subsequent feedstocks                    cause to be fulfilled, any of the                     violation.
                                            and processes used subsequent to the                     requirements of the QAP.’’                               • The biogas producer submits a
                                            registration are consistent with the RFS                    Under biogas regulatory reform, these              written report to EPA within 30 days of
                                            regulations. Rather it merely represents                 existing provisions for administrative                discovering the violation, which
                                            that the information provided at                         action will apply like they do currently              includes all pertinent supporting
                                            registration would allow for proper RIN                  under the RFS program. We would                       documentation describing the violation
                                            generation. The responsibility of                        intend to deactivate registrations in                 and demonstrating that the applicable
                                            ensuring compliance with applicable                      cases where parties in the biogas                     elements of this section were met.
                                            requirements on a continuing basis for                   disposition/generation chain have failed                 • The biogas producer conducted or
                                            biogas, RNG, and RINs generated from                     to meet their regulatory requirements or              arranged to be conducted a quality
                                            RNG and biogas-derived renewable fuel                    when it is identified that the party has              assurance program that includes, at a
                                            rests with all parties in the biogas                     willfully generated invalid or fraudulent             minimum, a periodic sampling and
                                            disposition/generation chain.                            RINs. The consequences of deactivation                testing program adequately designed to
                                               As noted above, this approach to                      of a party in the biogas disposition/                 ensure its biogas meets the applicable
                                            liability has been used extensively in                   generation chain (i.e., a biogas producer,            requirements to produce the biogas.
                                            other EPA fuels programs (e.g., the RFS                  RNG producer, or RNG RIN separator)                      • The biogas producer had all
                                            program, gasoline, and diesel programs)                  would result in the prohibition of the                affected biogas verified by a third-party
                                            where it is presumed that violations that                generation of RINs from any affected                  auditor under an approved QAP plan.
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                                            occur at downstream locations (e.g., a                   biogas, RNG, or biogas-derived                           • The PTDs for the biogas indicate
                                            retail station selling gasoline) were                    renewable fuel from the party whose                   that the biogas was in compliance with
                                            caused by all parties that produced,                     registration was deactivated. Similarly,              the applicable requirements while in the
                                                                                                     if EPA has approved a QAP plan for a                  biogas producer’s control.
                                              290 See 85 FR 29034, 29075 (May 14, 2020); 40          biogas-derived renewable fuel and EPA                    For RNG producers, we are finalizing
                                            CFR 1090.1700.                                           revokes the QAP plan, the RIN generator               as proposed analogous requirements to


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                                            establish an affirmative defense except                  multiple downstream parties. These                    of RNG reported by RNG producers in
                                            that, instead of relating to biogas                      provisions are necessary to help prevent              quarterly reports. Attest auditors must
                                            producers, the elements relate to RNG                    the generation of invalid RINs by                     also confirm that the correct number of
                                            producers. We believe these elements to                  ensuring that parties in the biogas                   RINs were generated in EMTS as
                                            establish an affirmative defense will                    disposition/generation chain are                      compared to the underlying records.
                                            allow RNG producers to avoid liability                   informing all affected parties of issues              The purpose of these new attest
                                            only in cases where they could not                       when they arise.                                      engagement procedures for RNG
                                            reasonably be expected to know that a                                                                          producers is to help ensure that RNG
                                                                                                     2. Attest Engagements
                                            violation took place; for example, if an                                                                       RINs are validly generated consistent
                                            RNG RIN separator separated RINs                            We are finalizing as proposed attest               with EPA’s regulatory requirements for
                                            improperly.                                              engagement provisions similar to the                  RNG.
                                               We are also finalizing as proposed                    attest engagement provisions in other                    We are also requiring specific annual
                                            that RNG producers and biogas-derived                    EPA fuels programs, including the                     attest engagement procedures to verify
                                            RIN generators may not establish an                      existing RFS program and the recently                 RNG RIN separation. These annual
                                            affirmative defense against violations                   finalized biointermediates rule. These                attest engagement procedures are in
                                            when the RNG or biogas-derived                           provisions are designed to ensure                     addition to those currently required for
                                            renewable fuel, respectively, is found to                compliance with the regulatory                        RINs separated under 40 CFR 80.1464.
                                            be in violation. Under the RFS program,                  requirements, and this action simply                  Specifically, an independent attest
                                            the RIN generator is always responsible                  extends those requirements to the newly               auditor must obtain the underlying
                                            for the validity of the RIN. As such,                    regulated parties under biogas                        records for reported information
                                            biogas-derived renewable fuel RIN                        regulatory reform. Specifically, we are               regarding an RNG RIN separator’s
                                            generators will not have the ability to                  finalizing as proposed that biogas                    operations and ensure that the RNG RIN
                                            establish an affirmative defense for                     producers, RNG producers, and RNG                     separator has only separated RNG RINs
                                            biogas-derived renewable fuels and                       RIN separators separately undergo an                  in a manner consistent with their ability
                                            RINs generated for such fuels. We                        annual attest engagement. Annual attest               to demonstrate that RNG was used as
                                            expect these parties, like all RIN                       engagements are annual audits of                      transportation fuel. Similar to other
                                            generators under the RFS program, to                     registration information, reports, and                annual attest engagement procedures
                                            diligently ensure that other parties that                records to ensure compliance with                     under EPA’s fuels program, issues
                                            are part of the biogas distribution/                     regulatory requirements. Under our fuel               identified by the independent attest
                                            generation chain are meeting their                       quality and RFS programs, we require                  auditor are required to be flagged in the
                                            regulatory requirements. Similarly,                      that attest engagements be performed by               annual attest engagement report. These
                                            when the RNG producer produces RNG                       an independent third-party certified                  annual attest engagement provisions are
                                            and generates a RIN for such RNG, the                    professional accountant that notifies                 necessary to ensure that RNG RINs are
                                            RNG producer will not be able to                         EPA of any discrepancies they identify                only separated when consistent with
                                            establish an affirmative defense for the                 in their prepared report. The audited                 applicable regulations.
                                            RNG or RNG RINs.                                         parties typically correct areas identified               The attest engagements for all parties
                                                                                                     by the attest auditor, and we review the              under biogas regulatory reform follow
                                            d. Invalid RINs                                          reports for areas of concern that need to             the same general requirements for other
                                               We are finalizing as proposed                         be addressed in future actions. We have               attest engagements under EPA’s other
                                            provisions similar to the existing RFS                   a long history of successfully employing              fuel programs.291 In their registration
                                            regulations to address the treatment of                  annual attest engagements to help                     information, parties must identify their
                                            invalid RINs generated for RNG and                       ensure integrity of our fuel quality and              independent attest auditors, and their
                                            biogas-derived renewable fuels. Under                    RFS programs, and we believe that attest              independent attest auditors must
                                            biogas regulatory reform, if a RIN                       engagements are an important                          electronically submit annual attest
                                            generated for RNG or a biogas-derived                    component of third-party oversight of                 engagement reports directly to EPA
                                            renewable fuel is identified as                          biogas-derived renewable fuels.                       using forms and procedures prescribed
                                            potentially invalid by any party (e.g.,                     Attest engagements for biogas                      by EPA. In addition, an independent
                                            the RIN generator, an independent                        producers involve an audit of                         auditor (i.e., a CPA without any interest
                                            third-party auditor, or EPA), certain                    underlying records (including                         in the audited party) must conduct the
                                            notifications and remedial actions will                  measurement records and PTDs),                        audit on a representative sample of
                                            be required to address the potentially                   reports, and registration information                 information, prepare the annual attest
                                            invalid RIN. These provisions are                        (including the third-party engineering                engagement report detailing any
                                            necessary to ensure that RINs represent                  review report) for batches of biogas.                 discrepancies or findings from the audit,
                                            biogas-derived renewable fuels that                      These attest engagement procedures for                and submit the report to EPA by the
                                            were produced from renewable biomass                     biogas producers help ensure that biogas              annual June 1st deadline. Attest
                                            under an EPA-approved pathway and                        is generated from qualifying feedstocks               engagements are appropriate for parties
                                            used as transportation fuel.                             and consistent with EPA’s regulatory                  involved in the generation of RINs for
                                               We are also finalizing as proposed                    requirements.                                         biogas-derived renewable fuels as they
                                            provisions that require biogas and RNG                      Attest audits for RNG producers                    serve to maintain consistency across the
                                            producers to notify the next party in the                involve additional procedures that are                three regulated parties and serve as
                                            biogas disposition/generation chain if                   specific to the production and injection              valuable third-party oversight.
                                            they become aware that inaccurate                        of RNG into the natural gas commercial
                                            amounts of biogas or RNG were                            pipeline system. These provisions                     L. RNG Used as a Feedstock
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                                            transferred to that party. In addition,                  involve verifying that records of the                    We are finalizing as proposed
                                            any person must notify EPA within five                   measurement of RNG injection are                      provisions to address situations in
                                            business days of discovery if they                       consistent with the measurement                       which RNG is used as a feedstock to
                                            become aware of any biogas or RNG                        requirements for RNG described in                     make biogas-derived renewable fuel
                                            producers taking credit for the sale of                  Section IX.I and verifying that pipeline
                                            the same volumes of biogas/RNG to                        injection statements match the amount                   291 See 40 CFR 80.1464 and 1090.1800.




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                                            other than renewable CNG/LNG.                            M. RNG Imports and Exports                            EPA’s acceptance of a biogas or RNG
                                            Specifically, renewable fuel producers                      For imported RNG, we are                           producer’s registration submission. We
                                            must retire the RINs assigned to a given                 maintaining, as proposed, the existing                proposed that biogas or RNG may be
                                            volume of RNG prior to using that                        regulatory structure of the RFS whereby               stored on site (i.e., at a storage facility
                                            volume to produce biogas-derived                         either the RNG importer or the producer               co-located at the biogas or RNG
                                            renewable fuels. When RNG is used as                     of the foreign RNG may generate RINs.                 production facility 292) prior to EPA’s
                                            a feedstock to produce a biogas-derived                  Under the previous biogas provisions,                 acceptance of a registration submission,
                                            renewable fuel, the applicable RIN                       approximately 10 percent of D3 RINs are               provided that certain conditions are
                                            generation procedures would vary                         generated from imported Canadian                      met. In order to ensure equal treatment
                                            depending on what fuel is made from                      RNG. Under this action, we are                        of all parties, we also proposed that
                                            the RNG. For example, if a renewable                     maintaining the flexibility of allowing               these storage provisions also apply to all
                                            fuel producer were to use RNG as a                       either the foreign renewable fuel                     other biointermediates and renewable
                                            feedstock to produce hydrogen, the                       producer (in this case, the foreign RNG               fuels under the RFS program.
                                            renewable fuel producer would retire                     producer) or an importer of foreign RNG                  We received multiple comments on
                                            any RINs assigned to the volume of RNG                   may generate RINs. A difference                       these proposed provisions. Several
                                            and then generate new RINs for the                       between the new regulations and the                   commenters stated that not allowing
                                            hydrogen so long as the hydrogen met                     previous biogas provisions is that                    RINs to be generated for RNG stored off-
                                            all other applicable regulatory                          instead of any foreign party in the                   site prior to EPA’s acceptance of a
                                            requirements to qualify as a renewable                   biogas distribution/generation chain                  registration would impose a burden on
                                            fuel.                                                    being allowed to generate RINs, only a                stakeholders due to, among other things,
                                                                                                     foreign RNG producer or RNG importer                  the long amount of time it takes EPA to
                                               We believe this approach allows for
                                                                                                     may generate the RIN. We do not believe               process and accept registration requests
                                            multiple uses of RNG without imposing                    these approach changes will
                                            strict limits on the parties that produce                                                                      In the NPRM, we explained that we
                                                                                                     significantly affect which parties                    believed the streamlined registration
                                            or distribute RNG. By assigning RINs to                  currently generate RINs for Canadian
                                            the RNG injected into the natural gas                                                                          requirements for RNG producers should
                                                                                                     RNG because to date only the RNG                      greatly decrease the time necessary to
                                            commercial pipeline system and using                     importer has generated RINs.                          process registrations and thus eliminate
                                            EMTS to track the transfer of the                           We note that consistent with the                   the need for offsite storage prior to EPA
                                            assigned RINs between parties that                       treatment of any foreign party that                   acceptance of registration. After
                                            produced the RNG and those that use                      generates RINs under the RFS program,                 reviewing the comments, we continue to
                                            the RNG, we believe we can provide                       where a foreign RNG producer generates                believe this to be the case, as discussed
                                            flexibility in the use of RNG while                      a RIN, that foreign producer must satisfy             more fully in the RTC document.
                                            maintaining adequate oversight. We                       the additional regulatory requirements                Consequently, we are finalizing as
                                            believe requiring the RNG RINs to be                     at 40 CFR 80.1466, which include                      proposed that any biogas or RNG which
                                            retired sufficiently mitigates concerns                  submitting to U.S. jurisdiction,                      is produced and stored prior to EPA’s
                                            with possible double counting of the                     complying with inspection                             acceptance of a biogas or RNG
                                            RNG, i.e., a party could not generate an                 requirements, and posting a bond. We                  producer’s registration submission must
                                            additional RIN or allotment for the RNG                  also note that any foreign party that                 be stored on-site to participate in RFS.
                                            unless any assigned RINs were first                      owns RNG RINs must also meet the                      What follows is background and detail
                                            retired.                                                 additional regulatory requirements for                about what we are finalizing.
                                               We received a significant number of                   foreign RIN owners at 40 CFR 80.1467.
                                                                                                        We are treating exports of RNG                        Under the RFS1 program, we issued
                                            public comments that supported                                                                                 guidance 293 stating that parties may
                                            allowing RNG to be used as a feedstock                   similarly to exports of renewable fuel
                                                                                                     under the RFS program because like                    assign RINs for renewable fuels that had
                                            to produce biogas-derived renewable                                                                            left the renewable fuel production
                                                                                                     when a renewable fuel that was
                                            fuels other than renewable CNG/LNG.                                                                            facility prior to EPA acceptance of
                                                                                                     exported, exported RNG would no
                                            However, some of these commenters                                                                              registration because the RFS1
                                                                                                     longer be eligible for use as
                                            also suggested that the proposed biogas                                                                        regulations required that RINs be
                                                                                                     transportation fuel in the covered
                                            regulatory reform provisions were not                                                                          assigned to renewable fuels at the point
                                                                                                     location thereby invalidating any RINs
                                            needed to allow this activity. For                                                                             of production but did not specifically
                                                                                                     generated for the RNG. We have become
                                            reasons more thoroughly discussed in                     increasingly aware that, due to demands               define what ‘‘point of production’’
                                            Section IX.A.4 and in the RTC                            abroad for pipeline quality natural gas               meant. We took this approach under
                                            document, the biogas regulatory reform                   and RNG, some parties may wish to                     RFS1 because the program did not
                                            provisions are necessary to ensure that                  export RNG. Under this action, since a                require that the renewable fuel be
                                            RINs generated for biogas-derived                        RIN is generated for RNG at the point of              produced under an EPA-approved
                                            renewable fuels are valid and to allow                   injection into a natural gas commercial               pathway (i.e., the renewable fuel
                                            biogas and RNG to be used as a                           pipeline system, any party that exports               qualified by virtue of meeting the
                                            biointermediate or as a feedstock,                       the RNG outside of the covered location
                                            respectively, under the RFS program.                     incurs an exporter RVO under 40 CFR                     292 ‘‘Facility’’ is defined at 40 CFR 80.1401 to

                                            Without the biogas regulatory reform                     80.1430 and is required to satisfy that               mean ‘‘all of the activities and equipment
                                            provisions, we could not adequately                                                                            associated with the production of renewable fuel
                                                                                                     RVO by retiring the appropriate number                starting from the point of delivery of feedstock
                                            oversee the program, and without clear                   and type(s) of RINs.                                  material to the point of final storage of the end
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                                            regulatory requirements and compliance                                                                         product, which are located on one property, and are
                                            mechanisms to appropriately account                      N. Biogas/RNG Storage Prior to                        under the control of the same person (or persons
                                            for the production, distribution, and use                Registration                                          under common control).’’
                                                                                                                                                             293 Questions and Answers on the Renewable
                                            of biogas and RNG, there would be                          We are finalizing as proposed                       Fuel Standard Program. Page 7. https://
                                            increased opportunities to double-count                  provisions that address biogas or RNG                 nepis.epa.gov/Exe/ZyPDF.cgi?Dockey=
                                            biogas/RNG.                                              that is produced and stored prior to                  P1001T9Z.pdf.



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                                            definition of ‘‘renewable fuel’’ under the               transfer, and use of each discrete                    RNG, biointermediate, or renewable fuel
                                            RFS1 program).                                           volume of biogas/RNG since the                        until EPA accepts the biogas or RNG
                                               Under the RFS2 program, in general,                   beginning of the program, i.e., 2014. By              producer’s registration.
                                            EPA does not allow parties that produce                  disallowing storage prior to registration,               These conditions are necessary for
                                            renewable fuels to generate RINs for                     we can fully utilize the RIN assigned to              biogas/RNG to be stored onsite prior to
                                            renewable fuel that has left the control                 RNG volumes to track the production                   registration to ensure that RINs are not
                                            of the renewable fuel producer prior to                  and use of RNG and eliminate the risk                 generated for fuels that fail to meet the
                                            EPA acceptance of the renewable fuel                     of noncompliant, stored RNG generating                applicable Clean Air Act and regulatory
                                            producer’s registration. We have not                     RINs.                                                 requirements for the production of
                                            allowed this because of the possibility                     As explained in Section X.H.4, as part             renewable fuels. We believe that so long
                                            that EPA may determine that the fuel                     of biogas regulatory reform we are no                 as the biogas or RNG producer has had
                                            was not produced consistently with                       longer requiring that biogas and RNG                  a third-party engineer confirm that the
                                            EPA’s regulatory requirements and,                       producers demonstrate that there are                  facility could produce products
                                            therefore, may not be eligible for RIN                   contracts between each party in the                   consistent with the applicable RFS
                                            generation. In contrast, however, we had                 biogas distribution/generation chain in               regulatory requirements and so long as
                                            allowed parties to generate RINs for                     order to demonstrate transportation use.              the producer does not modify their
                                            biogas and RNG that was produced prior                   This will streamline registration of                  facility, the biogas and RNG produced at
                                                                                                     facilities, so we believe it is no longer             these facilities should be eligible to
                                            to EPA acceptance of the RIN
                                                                                                     appropriate to allow for RINs to be                   generate RINs. These products have to
                                            generator’s registration and was stored
                                                                                                     generated for biogas/RNG produced and                 be produced in accordance with the
                                            offsite, provided several conditions
                                                                                                     stored offsite of the biogas/RNG                      applicable regulatory requirements. We
                                            were met. First, the biogas/RNG must
                                                                                                     production facility prior to EPA                      are requiring that the biogas or RNG
                                            have been produced after the third-party
                                                                                                     acceptance of the biogas and RNG                      producer maintain custody of the
                                            engineer conducted the site visit as
                                                                                                     producer’s registrations. Also, as                    product because once the product has
                                            described in 40 CFR 80.1450(b)(2).
                                                                                                     discussed in Section IX.I, we are further             left its facility, the producer would be
                                            Second, the biogas/RNG must have been
                                                                                                     streamlining the registration                         less able to remedy issues with the
                                            produced consistent with the
                                                                                                     requirements by no longer requiring                   product; this could also result in other
                                            requirements of an EPA-approved                                                                                parties downstream becoming liable for
                                                                                                     RNG producers to supply COAs for
                                            pathway. Third, the RIN generator must                                                                         the product should it not meet
                                                                                                     biogas and RNG at initial registration.
                                            not have changed the facility after the                                                                        applicable regulatory requirements.
                                                                                                     The removal of this COA requirement at
                                            site visit by the third-party engineer. We                                                                     After EPA has accepted the biogas or
                                                                                                     initial registration will likely further
                                            had allowed this greater flexibility to                                                                        RNG producer’s registration, the stored
                                                                                                     reduce the amount of time it will take
                                            allow biogas/RNG to be stored offsite                                                                          products could then be used under the
                                                                                                     RNG producers to be registered.
                                            prior to registration for pathways                          We are, however, continuing to allow               RFS program.
                                            converting biogas to renewable CNG/                      for the storage onsite of biogas/RNG,
                                            LNG in large part due to the length of                                                                         O. Single Use for Biogas Production
                                                                                                     consistent with other renewable fuels
                                            time it has taken EPA to review and                                                                            Facilities
                                                                                                     and biointermediates, produced prior to
                                            accept registrations as a result of the                  EPA acceptance of a registration                         To minimize program complexity and
                                            previous registration requirements.                      submission if certain conditions are                  avoid the double-counting of biogas, we
                                            However, this flexibility has hindered                   met. Specifically, we are allowing for                are also finalizing as proposed
                                            our ability to verify the validity of RIN                storage onsite when all of the following              provisions to govern the use of biogas
                                            generation for stored biogas/RNG. From                   conditions are met:                                   from a biogas production facility. Under
                                            our experience implementing biogas                          • The stored biogas, RNG,                          these provisions, biogas producers are
                                            pathways, allowing RNG to be stored                      biointermediate, or renewable fuel was                limited to supplying biogas or treated
                                            offsite has posed challenges when                        produced after an independent third-                  biogas for a single use (e.g., RNG,
                                            overseeing the production of RNG, since                  party engineer has conducted an                       renewable CNG/LNG, or to produce a
                                            the production of RNG from the facility                  engineering review for the renewable                  biointermediate). We understand that in
                                            would often not match the number of                      fuel production or biointermediate                    real-world applications there may often
                                            RINs generated. The information used to                  production facility.                                  not be a perfect match between biogas
                                            generate the RINs was often different                       • The stored biogas, RNG,                          production capacity and the quantity of
                                            from the information used to                             biointermediate, or renewable fuel was                biogas for a particular use. However,
                                            demonstrate RNG production for the                       produced in accordance with all                       limiting biogas from each biogas
                                            month. The main reason this                              applicable regulatory requirements                    production facility to a single use serves
                                            information did not align under the                      under the RFS program.                                the goals of minimizing program
                                            previous biogas provisions was likely                       • The biogas producer, RNG                         complexity and safeguarding against
                                            because RNG is typically stored for an                   producer, biointermediate producer, or                double counting by eliminating the
                                            undisclosed period of time. Because of                   renewable fuel producer made no                       opportunity for double counting in the
                                            how difficult it is to track discrete                    change to the facility after the                      first place.
                                            volumes of RNG that are claimed for                      independent third-party engineer                         We received comments asking that
                                            RIN generation, production and use                       completed the engineering review.                     EPA not finalize this proposed
                                            information rarely matched up, and the                      • The stored biogas, RNG,                          condition. Commenters stated that
                                            only way to compare RNG production                       biointermediate, or renewable fuel was                imposing such a condition would
                                            information with RNG use information                     stored at the facility that produced the              preclude significant volumes of biogas
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                                            was to review all of the underlying                      biogas, RNG, biointermediate, or                      from being used at biogas production
                                            records for every party in the entire                    renewable fuel.                                       facilities that had projects that could
                                            distribution system over the entire                         • The biogas producer, RNG                         supply biogas for multiple uses under
                                            period, which could involve the                          producer, biointermediate producer, or                the RFS program, especially if EPA
                                            collection and evaluation of hundreds of                 renewable fuel producer maintains                     finalized the eRINs proposal.
                                            thousands of records for the production,                 custody and title to the stored biogas,               Furthermore, some commenters


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                                            suggested that EPA’s condition related                   for parties that own and transact RNG                   not finalized. We re-proposed (i.e.,
                                            to a single biogas use precluded the use                 RINs; we are simply highlighting how                    proposed anew) some, but not all of
                                            of biogas for purposes outside of the                    parties that solely own and transact                    those changes in conjunction with this
                                            RFS program.                                             RNG RINs will operate in the context of                 rulemaking and are now finalizing a
                                               While we appreciate commenters’                       the biogas regulatory reform provisions.                modified version of those proposed
                                            perspectives, we have concluded that                                                                             changes in this action.
                                            retaining the proposed condition on                      X. Other Changes to Regulations                            As we explained in the 2016 REGS
                                            single use is necessary given the                          This section describes the other                      proposal, EPA has taken a number of
                                            expansion of the biogas program we are                   regulatory changes beyond those already                 enforcement actions against renewable
                                            also finalizing in this rule. Allowing                   discussed that we are finalizing for the                fuel producers that generated invalid
                                            only a single use of biogas under the                    fuel quality and RFS programs. We                       RINs, and the extent of the unlawful and
                                            RFS program will significantly reduce                    address comments related to these                       fraudulent activities associated with the
                                            the ability for parties to double count                  regulatory changes in RTC Section 11.                   RFS program, as demonstrated by these
                                            biogas for purposes of RIN generation                                                                            cases, is troubling given the roles that
                                                                                                     A. RFS Third-Party Oversight
                                            under the RFS program. Were we to                                                                                independent third parties play in the
                                                                                                     Enhancement
                                            allow for multiple uses from a single                                                                            RFS program. Because we are concerned
                                            facility, we would need more enhanced                       Independent third-party auditors and                 that independent third-party auditors
                                            compliance and enforcement                               engineers play critical roles in ensuring               and engineers may not be sufficiently
                                            mechanisms than were proposed in                         the integrity of the RFS program.294 The                mitigating unlawful and fraudulent
                                            order to adequately oversee the                          independent third-party engineer                        activities in the RFS program to the
                                            additional complexity. We intend to                      ensures that a renewable fuel producer’s                extent needed for a successful program,
                                            monitor the effects of the single use                    facility can actually produce renewable                 we are strengthening requirements that
                                            limitation on biogas production                          fuel in accordance with the RFS                         apply to these entities. Consequently,
                                            facilities and may consider ways to                      regulations and thus generate valid                     we are modifying the requirements for
                                            permit multiple uses of biogas at a                      RINs. The independent third-party                       independent third-party auditors that
                                            single facility under the RFS program                    auditor, when hired by a renewable fuel                 use approved QAPs to audit renewable
                                            after we have more experience                            producer, verifies that the renewable                   fuel production to verify that RINs are
                                            implementing the new, expanded biogas                    fuel produced adheres to its registered                 validly generated by the producer. The
                                            program.                                                 and approved feedstocks and processes,                  purpose of these modifications is to
                                               In response to commenters concerns                    and therefore verifies the RINs                         protect against conflicts of interest of
                                            that we are limiting the ability for biogas              generated under the RFS QAP.295 Given                   QAP providers by strengthening the
                                            producers to supply biogas for purposes                  EPA’s recent promulgation of a program                  independence requirements for them.
                                            outside of the RFS, we are clarifying                    allowing renewable fuel to be produced                  We are also making several changes to
                                            that parties may use biogas for purposes                 from biointermediates,296 we expect                     the requirements for the professional
                                            outside of the RFS program; i.e., the                    there will be an expansion in the scope                 engineer serving as an independent
                                            condition on the single use of biogas at                 and number of regulated entities under                  third party conducting an engineering
                                            a biogas facility only applies to a single               the RFS program in the future, making                   review for a renewable fuel producer as
                                            use under the RFS program. We discuss                    third-party verifications even more                     part of their RFS duties in connection to
                                            related public comments and respond                      critical.                                               a renewable fuel producer’s initial
                                            more thoroughly in RTC Section 10.                         We proposed changes to third-party                    registration and subsequent registration
                                            P. Requirements for Parties That Own                     verifications and submissions in the                    updates.
                                                                                                     2016 Renewables Enhancement Growth                         The changes to the regulations that we
                                            and Transact RNG RINs
                                                                                                     and Support (REGS) proposed rule; 297                   are making fall into six areas. First, we
                                               We are finalizing as proposed the                     however, those proposed changes were                    are strengthening the independence
                                            requirement that parties that solely                                                                             requirements for third-party engineers
                                            transact assigned RNG RINs (i.e., parties                  294 We note that independent third parties serve      by requiring those engineers to comply
                                            that transact RNG RINs but that do not                   a different function than the third parties discussed   with similar requirements to those that
                                            generate or separate the RNG RINs) must                  in Section IX.C. In this case, the independent third    apply to independent third-party
                                                                                                     party must meet regulatorily specified requirements
                                            comply with all current regulatory                       that ensure that the independent third party will       auditors.
                                            requirements for owning and transacting                  objectively conduct verification activities under the      Second, we are requiring that the
                                            RINs under the RFS program. The sole                     RFS program. Third parties that informally assist       third-party engineer sign an electronic
                                            difference is that only a party that is a                compliance by regulated parties are not subject to      certification when submitting
                                                                                                     those same independence requirements.
                                            registered RNG RIN separator and has                       295 Independent third-party engineers and
                                                                                                                                                             engineering reviews to EPA to ensure
                                            demonstrated that the RNG has been                       auditors are referred to separately based on their      that the third-party engineer has
                                            used as renewable CNG/LNG will be                        roles in the RFS program. In order to participate in    personally reviewed the required
                                            allowed to separate the RNG RIN. In                      the RFS program, renewable fuel producers must          facility documentation, including site
                                            other words, parties that simply transact                have a third-party engineering review of their          visit requirements, and that the third-
                                                                                                     facility prior to generating RINs, and every three
                                            assigned RNG RINs are not allowed to                     years thereafter. References to third-party             party engineer meets the applicable
                                            separate RINs, and we intend to design                   professional engineers in this preamble refer to the    independence requirements. Previously,
                                            EMTS to prevent them from doing so.                      third parties that conduct those engineering            the third-party engineer signed a
                                            As described in more detail in Section                   reviews. Third-party auditors verify that the           certification statement within the
                                                                                                     renewable fuel produced by renewable fuel
                                            IX.H.4, this provision is necessary to                   producers adheres to their registered and approved      engineering review documents. We
                                            ensure that RNG is used as                               feedstocks and processes to generated QAPed RINs.       believe that an electronic certification at
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                                            transportation fuel consistent with the                  These auditors may be professional engineers as         the time of submission will help to
                                            CAA and applicable regulatory                            well, but references to third-party auditors in this    ensure that the third-party engineer
                                                                                                     preamble refer to third parties (engineers and other
                                            requirements.                                            types of professionals) that perform that QAP-          conducts their duties with impartiality
                                               Except for the limitation on RNG RIN                  related function.                                       and independence.
                                            separation, we note that we are not                        296 87 FR 39600 (July 1, 2022).                          Third, we are requiring that third-
                                            otherwise modifying the requirements                       297 81 FR 80828 (November 16, 2016).                  party engineers provide documents and


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                                            more detailed engineering review write-                  reviews are being correctly conducted,                involved in the design or construction
                                            ups that demonstrate the professional                    provide greater accountability, and                   of the audited facility. This achieves the
                                            engineer performed the required site                     ensure that third-party auditors and                  goal of the proposed provision without
                                            visit and independently verified the                     engineers maintain a proper level of                  unnecessarily limiting the pool of third
                                            information through the site visit and                   independence from the renewable fuel                  parties who can qualify as third-party
                                            independent calculations.                                producer.                                             auditors.
                                               Fourth, we are requiring that three-                    Taken together, we believe these six
                                            year engineering review updates be                       requirements will help avoid RIN fraud      2. Third-Party Engineers
                                            conducted by a third-party engineer                      by strengthening third-party verification      Engineering reviews from
                                            while the facility being reviewed is                     of renewable fuel producers’ registration   independent third-party engineers are
                                            producing renewable fuel. We believe                     information. Additional information on      integral to the successful
                                            that the efficacy of a third-party                       third-party auditors and engineers is       implementation of the RFS program.
                                            engineer’s review is greatly enhanced                    provided below.                             Not only do they ensure that RINs are
                                            when the facility is operating under                                                                 properly categorized, but they also
                                                                                                     1. Third-Party Auditors                     provide a check against fraudulent RIN
                                            normal conditions and not in a shut
                                            down or maintenance posture.                                Third-party independence is critical     generation. As we have designed our
                                            Conducting the engineering review                        to the success of any third-party           registration system to accommodate the
                                            while the facility is operational will                   compliance program. We believe that         association between third-party auditors
                                            allow the third-party engineer to                        the independence requirements               and renewable fuel producers to
                                            accurately and completely verify the                     applicable to third-party auditors in the implement the RFS QAP, we have
                                            elements of the engineering review                       RFS program should be clarified and         realized that both the way engineering
                                            necessary to certify to EPA that the                     strengthened to further minimize (and       reviews are conducted and the nature of
                                            facility is in compliance with its                       hopefully eliminate) any conflicts of       the relationships among the third-party
                                            registration materials.                                  interest between auditors and renewable engineers, affiliates, and renewable fuel
                                               Fifth, we are specifying that third-                  fuel producers that might lead to           producers are analogous to third-party
                                            party auditors must ensure that                          improper RIN validation. We are             auditors and renewable fuel producers.
                                            personnel involved in third-party audits                 clarifying the prohibition against an       As a result, we are strengthening the
                                            (including verification activities) are not              appearance of a conflict of interest to     independence requirements for third-
                                            negotiating for future employment with                   include:                                    party engineers by requiring those
                                            the owner or operator of the audited                        • Acting impartially when performing engineers to comply with requirements
                                            party. In the NPRM, we proposed to                       all auditing activities.                    similar to those that apply to
                                            disallow a person employed by an                            • Prohibiting independent third-party independent third-party auditors.
                                            independent third-party auditor who is                   auditors that were involved in the             We are also improving the RFS
                                            involved in a specific activity by the                   design or construction of a facility from   registration requirements for three-year
                                            auditor from accepting future                            auditing that facility.                     engineering review updates by requiring
                                            employment with the owner or operator                       • Prohibiting a person employed by       site visits to take place when the facility
                                            of the audited party for a period of at                  an independent third-party auditor who is producing renewable fuel. This will
                                            least 12 months. Several commentors                      is negotiating for future employment        provide the regulated community and
                                            opposed this prohibition and claimed                     with the owner or operator of the           EPA with greater confidence in the
                                            that it may deter candidates from                        audited party from participating in that    production capabilities of the renewable
                                            working for an auditor due to future job                 audit.                                      fuel facility. Since the adoption of the
                                            restrictions or constitute an unlawful                      These provisions are intended to         RFS2 requirements in 2010, most
                                            workplace restriction in jurisdictions                   prevent, among other things, third-party engineering reviews have been
                                            that have adopted ‘‘right to work’’ laws.                auditors that were involved in the          conducted by a handful of third-party
                                            We agree that the proposed prohibition                   design of a facility or who are             engineers. Some of these engineers are
                                            can be more narrowly tailored to                         negotiating for employment with the         using templates that make it difficult for
                                            address our primary concern, which is                    audited party from conducting QAP           EPA to determine whether registration
                                            auditors negotiating for future                          verification activities. In both instances, information was verified.
                                            employment while conducting auditing                     we believe that third-party auditors           We are concerned that, in some
                                            activities. We believe that third-party                  could be unduly influenced in their         instances, the third-party engineers are
                                            auditors could be unduly influenced in                   QAP verification activities as a result.    relying too heavily on information
                                            their QAP verification activities if they                   In the 2023–2025 NPRM, we proposed provided by the renewable fuel
                                            are negotiating for future employment                    to prohibit third parties that offered      producers, and not conducting a truly
                                            while providing auditing services, and                   QAP services from offering other            independent verification. In order to
                                            are finalizing a narrower prohibition                    business services to audited parties for    provide greater confidence in third-
                                            that only applies to auditors that are                   a period of at least one year. One          party engineering reviews, we are
                                            negotiating for future employment with                   commentor stated that this prohibition      requiring that the engineering review
                                            the audited party. This ensures the                      was overreaching and would stifle the       submission include evidence of a site
                                            impartiality needed in third-party                       ability of large firms to provide QAP       visit while the facility is producing the
                                            auditors without restricting individuals’                services because large firms often          renewable fuel that it is registered to
                                            ability to obtain future employment.                     provide other services not associated       produce. We are also incorporating
                                               Sixth, we are specifying prohibited                   with the design of the facility or the RFS EPA’s current interpretation and
                                            acts and liability provisions applicable                 program (e.g., tax services), which         guidance into the regulations regarding
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                                            to third-party engineers to reduce the                   would discourage large firms from           actions that third-party engineers must
                                            potential of a conflict of interest with                 providing QAP services. As discussed in take to verify information in the
                                            the renewable fuel producer. These                       RTC Section 11.1, we appreciate the         renewable fuel producer’s registration
                                            requirements will help EPA and                           commenter’s concern and, therefore, are application. The amendments explain
                                            obligated parties better ensure that                     finalizing a narrower prohibition that      that in order to verify the applicable
                                            third-party audits and engineering                       only applies to third parties that were     registration information, the third-party


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                                            auditor must independently evaluate                      engineering reviews will begin on                     visited may have undergone significant
                                            and confirm the information and cannot                   February 1, 2024. A February 1, 2024,                 alteration between the time of the site
                                            rely on representations made by the                      implementation date will ensure that                  visit and the time that the third-party
                                            renewable fuel producer. We are also                     three-year engineering reviews                        engineering review report is due. To
                                            requiring that the third-party engineer                  conducted to meet the January 31, 2024,               address our concern, we are requiring
                                            electronically certifies that the third-                 deadline are not impacted by the new                  that the site visit occur no sooner than
                                            party meets the independence                             regulatory requirements avoiding                      July 1 of the preceding calendar year.
                                            requirements whenever the third-party                    duplicative effort on the part of                     We believe that this amount of time will
                                            submits engineering reviews or                           independent third-party engineers.                    provide third-party engineers enough
                                            engineering review updates to EPA.                                                                             time (seven months) to conduct site
                                                                                                     B. Deadline for Third-Party Engineering
                                            Previously, the third-party engineer                                                                           visits and prepare and submit
                                                                                                     Reviews for Three-Year Updates
                                            signed a certification statement within                                                                        engineering review reports to EPA
                                            the engineering review documents.                           We are finalizing with modification                without the site visit becoming out-of-
                                            Requiring the certification to be signed                 our proposal that third-party engineers               date. We believe this additional time is
                                            at the time of submission will remind                    conduct engineering review site visits                reasonable as the number of facilities
                                            the third-party engineer of the                          no sooner than July 1 of the calendar                 that require three-year updates has
                                            independence requirements prior to                       year prior to the January 31 deadline for             increased.
                                            submitting the engineering reviews.                      three-year registration updates. In                      We are also specifying which batches
                                               We believe these amendments will                      response to public comments, we are                   of RINs should be included in the VRIN
                                            help provide greater assurance that                      also finalizing additional flexibility that           calculation portion of the three-year
                                            third-party engineering reviews are                      will allow parties to reset their three-              registration update. Under this
                                            based upon independent verification of                   year update due date if they comply                   provision, third-party engineers must
                                            the required registration information in                 with the three-year update requirement                select from batches of renewable fuel
                                            40 CFR 80.1450, helping to provide                       before it was due. We believe this                    produced through at least the second
                                            enhanced assurance of the integrity of                   flexibility will allow parties to                     quarter of the calendar year prior to the
                                            the registration materials submitted by                  simultaneously comply with the RFS                    applicable January 31 deadline for VRIN
                                            the facility, as well as the renewable                   program and CARB’s LCFS verification                  calculations. We believe this is
                                            fuel they produce.                                       requirements. Finally, in response to                 necessary because some third-party
                                               Finally, we are specifying prohibited                 public comments requesting more time                  engineers conduct VRIN calculations for
                                            activities for third-party engineers                     to comply with the new requirements,                  facilities’ RIN generation materials that
                                            failing to properly conduct an                           we are finalizing that the new deadline               only cover two years. Furthermore, we
                                            engineering review, or failing to disclose               for engineering review site visits will               have noticed that the period from which
                                            to EPA any financial, professional,                      begin after the 2023 three-year                       batches are selected for VRIN
                                            business, or other interest with parties                 registration update deadline (i.e., after             calculations can vary significantly
                                            for whom the third-party engineer                        January 31, 2024) to minimize the                     across third-party engineers and we
                                            provides services for under the RFS                      impact on those parties that may have                 want to ensure that this portion of the
                                            registration requirements. Based on its                  already arranged for engineering review               engineering review update is conducted
                                            review of RFS registrations, EPA has                     site visits under the previous regulatory             consistently.
                                            concerns that third-party engineers may                  requirements.                                           We received comments suggesting
                                            not be appropriately conducting                             Previously, renewable fuel producers               that we should accept engineering
                                            engineering reviews consistent with                      were required to have a third-party                   reviews with site visits that occurred
                                            EPA’s intent because they may not meet                   engineer conduct an updated                           within 12 months of the deadline, in
                                            the requirements for independence to                     engineering review three years after                  part to align with California’s
                                            qualify as a third party. We believe that                initial registration. The regulations                 verification requirements under their
                                            making third-party engineers more                        stated that the three-year engineering                LCFS program. While we appreciate
                                            accountable for properly conducting                      review reports were due by January 31                 commenters’ concerns that there may be
                                            engineering reviews under the                            three years after the first year of                   overlapping verification requirements
                                            regulations and requiring that they                      registration. However, the regulations                for the RFS program and California’s
                                            interact more directly with EPA will                     did not specify when the third-party                  LCFS, we note that most renewable fuel
                                            help us to identify potential conflicts of               engineer must conduct the site visit. We              producers under the RFS program do
                                            interest and to bring enforcement                        received several inquiries from                       not participate in California’s program.
                                            actions should an issue arise.                           renewable fuel producers and third-                   However, in order to allow parties to
                                               During discussions with stakeholders                  party engineers concerning when the                   utilize a single site visit for both
                                            after publication of the NPRM, some                      third-party engineer must conduct the                 programs, the final rule allows parties to
                                            parties suggested that EPA delay the                     site visit ahead of the January 31                    reset their three-year updates, as long as
                                            implementation date for the                              deadline. We originally published                     they have complied with the regulatory
                                            enhancements to third-party oversight                    guidance that stated that the site visits             requirements before the three-year
                                            because third-party engineers will have                  for three-year updates should occur no                update is due. This would have the
                                            already conducted three-year                             later than 120 days prior to the January              added benefit of allowing a party that
                                            engineering site visits for facilities prior             31 deadline. Due to extenuating                       needed to undergo a new engineering
                                            to the effective date of the rule that are               circumstances, we have on a case-by-                  review as required under 40 CFR
                                            due January 31, 2024, and it was unclear                 case basis allowed for site visits to occur           80.1450(d)(1) to use that new
                                            how these new changes would affect                       up to a full calendar year prior to the               engineering review to fulfil their three-
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                                            previously conducted site visits by                      deadline.                                             year engineering review update
                                            independent third-party engineers that                      However, we continue to have                       (assuming all applicable requirements
                                            are due January 31, 2024. To address                     concerns that third-party engineers are               for the three-year update are met).
                                            these concerns, we are specifying that                   conducting site visits well ahead of the                Several commenters suggested that we
                                            the new requirements for independent                     January 31 deadline and that the                      postpone the implementation date for
                                            third-party engineers and for                            renewable fuel production facilities they             these provisions to avoid parties having


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                                            to redo their three-year updates and                     vary widely between batches, making it                 feedstock’s biogas production when
                                            engineering reviews because the                          very difficult for renewable fuel                      mixed with non-cellulosic feedstocks.
                                            regulatory requirements changed in the                   producers to determine the cellulosic                     In this action we are finalizing as
                                            middle of a three-year update cycle. We                  content of the feedstock with any degree               proposed specific equations to
                                            agree with commenters’ concerns and                      of accuracy.                                           determine feedstock energy for when
                                            note that it was not our intent to require                  Since the Pathways II rule was                      predominantly cellulosic and non-
                                            parties to comply with two sets of                       finalized, stakeholders have inquired                  predominantly cellulosic feedstocks are
                                            regulatory requirements for the same                     how to apportion RINs in the specific                  simultaneously converted in anaerobic
                                            three-year update. Therefore, to address                 case wherein feedstocks that are not                   digesters. We have made slight technical
                                            commenters’ concerns and clarify our                     predominantly cellulosic—specifically,                 adjustments to these equations and
                                            intent, we are requiring that the new                    separated food waste—are                               changed their location relative to what
                                            deadline for three-year update site visits               simultaneously converted with                          was proposed to address commenter
                                            and VRIN requirements begins after the                   predominantly cellulosic feedstocks                    concerns. The cellulosic feedstock
                                            conclusion of the compliance year 2023                   into biogas in a digester.301 EPA’s                    energy equation is similar to the
                                            three-year update deadline (i.e.,                        previous registration and RIN                          existing, broader equations, with a few
                                            February 1, 2024). We believe this                       apportionment equations were designed                  modifications. The new equation uses a
                                            implementation date will minimize the                    assuming that the converted fractions of               volatile solids measurement since non-
                                            effects of these changes on parties that                 the cellulosic and non-cellulosic                      volatile solids do not generally produce
                                            have already started complying with                      feedstocks could be accurately                         biogas, increasing the accuracy over the
                                            previous three-year update requirements                  determined through chemical testing.                   existing equation. For calculating total
                                            and will allow for a smooth transition.                  However, apportioning RINs for biogas                  solids and volatile solids, we are
                                                                                                     produced from co-processed feedstocks                  requiring the use of American Public
                                            C. RIN Apportionment in Anaerobic                        is distinct from apportioning RINs for                 Health Association method number
                                            Digesters                                                other co-processed cellulosic and non-                 2540, which is already used by the
                                              In the Pathways II rule, we created a                  cellulosic feedstocks (e.g., corn kernel               wastewater treatment industry in their
                                            pathway to allow D3 RINs to be                           fiber co-processed with corn starch). In               operations of anaerobic digesters. The
                                            generated for renewable CNG/LNG                          the NPRM, we explained that some of                    non-predominantly cellulosic biogas is
                                            produced from biogas from digester                       the existing requirements are                          the difference between total biogas
                                            types that process only predominately                    unnecessary or otherwise inappropriate                 produced and cellulosic biogas as
                                            cellulosic 298 feedstocks (i.e., municipal               for these circumstances and that there                 calculated by the cellulosic feedstock
                                            wastewater treatment facility digesters,                 are features of co-processing in a                     apportionment equation. We believe
                                            agricultural digesters, and separated                    digester that make it reasonable to                    these equations will ensure that
                                            MSW digesters), as well as from the                      consider a different regulatory approach               cellulosic RINs are only generated for
                                            cellulosic components of biomass                         to RIN apportionment. The feedstocks in                predominately cellulosic feedstocks
                                            processed in other waste digesters.299                   question are generated as physically                   because they make a conservative
                                            We also created a renewable CNG/LNG                      separate streams such that the mass,                   assumption of the cellulosic biogas
                                            pathway to allow for D5 RINs to be                       moisture content, and methane                          production and ensure that the biogas
                                            generated for biogas produced from                       production potential of each feedstock                 produced from non-predominantly
                                            other waste digesters.300 If a party                     can be determined before mixing, a                     cellulosic feedstocks generates entirely
                                            simultaneously converts a                                possibility that was not contemplated by               non-cellulosic RINs. Along with this
                                            predominately cellulosic feedstock and                   the previous apportionment equations.                  updated equation, we are requiring
                                            a non-predominantly cellulosic                           Further, we understand that parties                    biogas producers to keep records of
                                            feedstock in a waste digester, it must                   interested in co-processing                            feedstocks necessary to verify
                                            apportion the resulting RINs under the                   predominantly cellulosic feedstocks                    apportionment calculations.
                                            appropriate D3 and D5 pathways                           with separated food waste are not                         To support this apportionment, we
                                            accordingly. To support this calculation,                planning on claiming any credit for the                are finalizing that at registration biogas
                                            we required parties to calculate the                     cellulosic components of the food waste                producers provide the converted
                                            cellulosic converted fraction (i.e., the                 due to challenges accurately measuring                 fraction of the predominantly cellulosic
                                            portion of a cellulosic feedstock that is                cellulosic content of the variable food                feedstock used in an anerobic digester
                                            converted into renewable fuel) based on                  waste feedstock, which means that                      when it is simultaneously converted
                                            measurements of cellulose obtained                       chemical analysis of the cellulosic                    with a non-predominantly cellulosic
                                            using a method that produces                             content of the food waste feedstock and                feedstock as well as relevant supporting
                                            reasonably accurate results. For a                       digestate is not required. Another factor              data. Instead of chemical data
                                            heterogeneous feedstock such as                          that reduces the risk of D3 RINs being                 supporting a cellulosic converted
                                            separated food waste—which may be                        generated from non-cellulosic feedstock                fraction as required under the existing
                                            simultaneously converted with                            is that mixing of non-cellulosic food                  regulations, which will continue to
                                            cellulosic feedstocks in waste                           waste in anaerobic digestion does not                  apply for situations other than anaerobic
                                            digesters—the cellulosic content can                     lead to a decrease in biogas production                digesters, we are requiring that, at
                                                                                                     relative to when the feedstocks are                    registration, a facility producing biogas
                                               298 A predominately cellulosic feedstock is a
                                                                                                     processed separately,302 so the biogas                 from anaerobic digestion either choose a
                                            feedstock with an adjusted cellulosic content of         production from the cellulosic feedstock               predetermined, conservative value for
                                            greater than 75 percent.
                                               299 See row Q in Table 1 to 40 CRF 80.1426; 79        processed alone provides an accurate or                converted fraction (explained in more
                                            FR 42168 (July 18, 2014). D3 RINs may also be            conservative estimate of the same                      detail below) or provide the following:
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                                            generated for renewable CNG/LNG produced from                                                                      • Operational data showing the
                                            biogas from landfills—the landfill biogas pathway          301 See Byron Bunker (EPA), ‘‘Reply to American      biogas yield from digesters which
                                            is not implicated by these changes.                      Biogas Council on the Treatment of Agricultural        process solely the cellulosic feedstock(s)
                                               300 See row T in Table 1 to 40 CFR 80.1426; 79        Digesters under the Renewable Fuel Standard (RFS)
                                            FR 42168 (July 18, 2014). This pathway must be           Program,’’ March 15, 2017.                             and which operate under similar
                                            used if the feedstock being processed in a digester        302 Karki et al. Bioresource Technology 330 (2021)   conditions as the digesters addressed in
                                            is not predominantly cellulosic.                         125001. DOI: 10.1016/j.biortech.2021.125001.           the registration.


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                                               • A description including any                         results in a higher converted fraction                  predominantly cellulosic feedstocks is
                                            calculations demonstrating how the data                  than when the same feedstock is                         also eligible to be used as renewable
                                            were used to determine the cellulosic                    processed in industrial scale digesters.                CNG/LNG; a biointermediate; or other
                                            converted fraction.                                      One study that looked at two digesters                  renewable fuel. We are requiring that
                                               • The cellulosic converted fraction                   over the course of less than a year                     the different D-codes be tracked through
                                            that will be used in the RIN                             identified sustained periods where full                 PTDs from biogas producers and RNG
                                            apportionment.                                           scale digesters produced over 30 percent                producers, as well as reporting of D-
                                               Operational data used to determine                    less methane than predicted by BMP                      code information into EMTS. Under this
                                            the cellulosic converted fraction will                   and recommended that designers of                       approach, biogas producers will specify
                                            necessarily be obtained at a particular                  digestion systems should assume 10–20                   the proportion of biogas by D-code on
                                            range of temperatures, pressures,                        percent lower methane production in                     their PTDs. The parties using the biogas
                                            residence times, feedstock composition,                  full scale digesters than from BMP.304                  to generate RINs for RNG (as discussed
                                            and other process variables. Since                       Given the limited types of feedstocks,                  in Section IX) will use this proportion
                                            biogas production can change based on                    the limited number of digesters                         to calculate the appropriate number of
                                            processing conditions, we are requiring                  evaluated in this study, and the                        D3 and D5 RINs.
                                            a registrant to identify the conditions in               different goals behind the
                                            its registration under which the facility                recommendations,305 we chose a more                     D. BBD Conversion Factor for
                                            will need to operate to properly                         conservative estimate of 50 percent                     Percentage Standard
                                            apportion RINs. In specifying those                      lower methane production and added
                                            processing conditions, we are requiring                  specific processing requirements to                        In the 2020–2022 proposed rule, we
                                            parties to place limitations on a                        ensure that D3 RINs generated meet the                  proposed a change to the conversion
                                            combination of temperature, amount of                    statutory goal.306 In the NPRM, we                      factor used in the calculation of
                                            each cellulosic feedstock source, solids                 requested comments for other default                    applicable percentage standards for
                                            retention time, hydraulic retention time,                values of converted fractions. We                       BBD.307 We did not finalize that
                                            or other processing conditions                           received multiple comments suggesting                   proposed change in the 2020–2022 final
                                            established at registration which may                    that EPA use a conservative default                     rule. We are now finalizing that change
                                            impact the conversion of the                             value for cellulosic converted fraction                 to be implemented for compliance years
                                            predominantly cellulosic feedstock.                      that is 80% of the biomethane potential                 2023 and beyond, and we are including
                                            These limitations must be based on the                   instead of 50% of the biomethane                        data from 2022 in the determination of
                                            data used to derive the cellulosic                       potential which we proposed. However,                   the appropriate revised conversion
                                            converted fraction so that when it is                    as discussed in more detail in the RTC                  factor.
                                            simultaneously converting multiple                       document, the commenters did not                           In the 2010 RFS2 rule, we determined
                                            feedstocks, the facility is operating                    provide necessary detail or                             that because the BBD standard was a
                                            under conditions essentially the same as                 representative data to justify a higher                 ‘‘diesel’’ standard, its volume must be
                                            those for the digesters from which the                   value, nor did they explain why the                     met on a biodiesel-equivalent energy
                                            cellulosic converted fraction was                        higher value was necessary given the                    basis.308 In contrast, the other three
                                            derived. For example, a registrant that                  ability to submit operational data at                   standards (cellulosic biofuel, advanced
                                            calculates a cellulosic converted                        registration to establish a higher value.               biofuel, and total renewable fuel) must
                                            fraction from historical data of a given                 Given these factors, we are finalizing as               be met on an ethanol-equivalent energy
                                            digester processing a single type of                     proposed that the conservative estimates                basis. At that time, biodiesel was the
                                            cellulosic feedstock could use that                      are 50 percent of the biomethane                        only advanced renewable fuel that
                                            historical operational data to identify                  potential. Additionally, one commenter                  could be blended into diesel fuel,
                                            the limitations on temperature,                          identified a discrepancy between higher                 qualified as an advanced biofuel, and
                                            residence times, and other operational                   heating and lower heating values, and                   was available at greater than de minimis
                                            variables such that the converted                        we have corrected the default cellulosic                quantities.
                                            fraction remains valid.                                  converted fraction to use higher heating
                                               As an alternative to specifying                                                                                  When we established the formula for
                                                                                                     values, consistent with the equations in                calculating the applicable percentage
                                            operational data, we are allowing                        which the value is used.
                                            registrants to select a standard                                                                                 standards for BBD in 2010, the formula
                                                                                                        As with other biogas, biogas produced
                                            converted fraction value specified in the                                                                        needed to accommodate the fact that the
                                                                                                     from simultaneously converting
                                            regulations for the specific cellulosic                                                                          volume requirement for BBD would be
                                                                                                     predominantly cellulosic and non-
                                            feedstock which they are                                                                                         based on biodiesel equivalence while
                                            simultaneously converting with a non-                                                                            the other three volume requirements
                                                                                                     Biotechnology 171, p. 117–127. DOI: 10.1007/
                                            predominantly cellulosic feedstock in                    s12010–013–0335–7. Municipal sludge data comes          would be based on ethanol equivalence.
                                            anaerobic digesters. We are providing                    from Holliger et al. (2017) Frontiers in Energy         Given the nested nature of the
                                            specific standard values for four                        Research, 5, 12. DOI: 10.3389/fenrg.2017.00012.         standards, however, RINs representing
                                                                                                     Values were converted using the ideal gas law at the    BBD would also need to be valid for
                                            cellulosic feedstocks (bovine manure,                    stated or inferred conditions and 21,496 Btu lower
                                            chicken manure, swine manure, and                        heating value methane per lb methane.                   complying with the advanced biofuel
                                            WWTP sludge), which are 50 percent of                       304 Holliger et al. (2017) Frontiers in Energy       and total renewable fuel standards. To
                                            the measured biochemical methane                         Research, 5, 12. DOI: 10.3389/fenrg.2017.00012.         this end, we designed the formula for
                                            potential (BMP) obtained from
                                                                                                        305 When designing a gas treatment system, one
                                                                                                                                                             calculating the percentage standard for
                                                                                                     may use a slight overestimate of biogas production      BBD to include a factor that would
                                            published literature.303 BMP typically                   to maximize RNG production. Overestimating is
                                                                                                     less of a problem in designing a gas treatment          convert biodiesel volumes into their
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                                               303 Dairy manure value comes from Labatut et al.      system than it is in the RFS program, since             ethanol equivalent. This factor was the
                                            (2011) Bioresource Technology, 102, p. 2255–2264.        overestimating production of biogas will lead to        same as the Equivalence Value (EqV) for
                                            DOI: 10.1016/j.biortech.2010.10.035. Swine manure        invalidly generated RINs.                               biodiesel, 1.5, as discussed in the 2007
                                            data comes from Vedrenne et al. (2008) Bioresource          306 See memo ‘‘Final calculation of cellulosic

                                            Technology, 99, p. 146–155. DOI: 10.1016/                converted fraction values from biochemical
                                                                                                                                                              307 86 FR 72474 (December 21, 2021).
                                            j.biortech.2006.11.043. Chicken manure data comes        methane potential,’’ available in the docket for this
                                            from Li et al. (2013) Applied Biochemistry               action.                                                  308 See 75 FR 14670, 14682 (March 26, 2010).




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                                            RFS1 final rule.309 The resulting                        modification to the definitions of GEi
                                            formula 310 (incorporating the recent                    and DEi) 311 is shown below:




                                            Where:                                                       in the 48 contiguous states and Hawaii,               in year i, if the state or territory opts-in,
                                            StdBBD,i = The biomass-based diesel standard                 in year i, in gallons.                                in gallons.
                                                 for year i, in percent.                             GSi = Amount of gasoline projected to be              GEi = The total amount of gasoline projected
                                            RFVBBD,i = Annual volume of biomass-based                    used in Alaska or a U.S. territory, in year           to be exempt in year i, in gallons, per
                                                 diesel required by 42 U.S.C.                            i, if the state or territory has opted-in or          §§ 80.1441 and 80.1442.
                                                 7545(o)(2)(B) for year i, in gallons.                   opts-in, in gallons.                              DEi = The total amount of diesel projected to
                                            Gi = Amount of gasoline projected to be used             RGSi = Amount of renewable fuel blended                   be exempt in year i, in gallons, per
                                                 in the 48 contiguous states and Hawaii,                 into gasoline that is projected to be                 §§ 80.1441 and 80.1442.
                                                 in year i, in gallons.                                  consumed in Alaska or a U.S. territory,
                                            Di = Amount of diesel projected to be used                   in year i, if the state or territory opts-in,       In the years following 2010 when the
                                                 in the 48 contiguous states and Hawaii,                 in gallons.                                       percentage standard formula for BBD
                                                 in year i, in gallons.                              DSi = Amount of diesel projected to be used
                                                                                                                                                           was first promulgated, advanced
                                            RGi = Amount of renewable fuel blended into                  in Alaska or a U.S. territory, in year i, if
                                                 gasoline that is projected to be consumed               the state or territory has opted-in or opts-
                                                                                                                                                           renewable diesel production has grown.
                                                 in the 48 contiguous states and Hawaii,                 in, in gallons.                                   Most renewable diesel has an EqV of
                                                 in year i, in gallons.                              RDSi = Amount of renewable fuel blended               1.7, and its growing presence in the BBD
                                            RDi = Amount of renewable fuel blended into                  into diesel that is projected to be               pool means that the average EqV of BBD
                                                 diesel that is projected to be consumed                 consumed in Alaska or a U.S. territory,           has also grown.312




                                              Because the formula currently                          has not impacted the supply of BBD                      The average EqV of BBD appears to
                                            specified in the regulations for                         since it is the higher advanced biofuel               have grown over time without
                                            calculation of the BBD percentage                        standard—rather than the BBD                          stabilizing. This trend has continued
                                            standard assumes that all BBD used to                    standard—that has driven the demand                   and is consistent with the growth in
                                            satisfy the BBD standard is biodiesel, it                for BBD. Nevertheless, we believe that it             facilities producing renewable diesel.313
                                            biases the resulting percentage standard                 is appropriate to modify the factor used              We proposed to replace the factor of 1.5
                                            low, given that in reality there is some                 in the formula to more accurately reflect             in the percentage standard formula for
                                            renewable diesel in BBD. The bias is                     the amount of renewable diesel in the                 BBD with a factor of 1.57 based on the
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                                            small, on the order of two percent, and                  BBD pool.                                             average EqV for BBD in 2021, while also
                                                                                                                                                                                                               ER12JY23.005</GPH>




                                              309 See 72 FR 23900, 23921 at Table III.B.4–1            312 Under 40 CFR 80.1415(b)(4), renewable diesel    123,500 BTU/gallon and is therefore assigned an
                                            (May 1, 2007).                                           with a lower heating value of at least 123,500 Btu/   EqV of 1.5 or 1.6 based on applications submitted
                                              310 See 40 CFR 80.1405(c).                             gallon is assigned an EqV of 1.7. A minority of       under 40 CFR 80.1415(c)(2).
                                                                                                                                                                                                               ER12JY23.004</GPH>




                                              311 See 85 FR 7016 (February 6, 2020).                 renewable diesel has a lower heating value below        313 See RIA Chapter 5.2.




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                                            noting that ‘‘we believe that the factor                 the renewable fuel producer has not met                  which we are moving and consolidating
                                            used in the formula for calculating the                  all other applicable requirements,                       the formulas in these tables.
                                            percentage standard for BBD should be                    including registration, reporting, and                   Specifically, we are moving and
                                            at least 1.57.’’ 314 Commenters were                     recordkeeping requirements.317 EPA’s                     consolidating the five formulas
                                            generally supportive of this change,                     longstanding interpretation of these                     previously in Table 3 into 40 CFR
                                            with some suggesting the factor should                   regulatory requirements is that                          80.1426(f)(3)(v), and moving and
                                            be higher than proposed, and others                      renewable fuel producers that do not                     consolidating the five formulas
                                            suggesting we should be open to                          want to generate RINs can choose to not                  previously in Table 4 into 40 CFR
                                            revisiting this factor again in the future               register, keep records, or report to EPA.                80.1426(f)(3)(vi)(A). The formulas
                                            as renewable diesel production                           In light of this approach, we have                       themselves remain unchanged and since
                                            increases. Based on the updated data for                 determined that a more straightforward                   there are no other references to these
                                            2022 shown in Figure X.D–1 showing an                    approach will be to revise the                           tables outside of the paragraphs in
                                            average EqV for BBD of 1.59 in 2022, we                  regulations to allow, rather than require,               which they were located, no additional
                                            now believe that the factor used in the                  RINs to be generated for qualifying                      revisions are necessary to implement
                                            formula for calculating the percentage                   renewable fuel. Thus, we are revising 40                 this change.
                                            standard for BBD should be at least 1.59.                CFR 80.1426(a)(1), (a)(2) and (b) to state
                                            However, we also believe that                            that RINs ‘‘may only’’ be generated if                   G. Prohibition on RIN Generation for
                                            maintaining consistency with the                         certain requirements are met. We are                     Fuels Not Used in the Covered Location
                                            rounding protocol adopted for EqVs in                    also removing the provisions for small                      We are revising 40 CFR 80.1426(c)
                                            2007 is important. As described in the                   volume renewable fuel producers at 40                    and 40 CFR 80.1431 to reiterate that
                                            RFS1 rule, all EqVs are rounded to the                   CFR 80.1426(c)(2), (c)(3), and 40 CFR                    parties (e.g., foreign RIN-generating
                                            first decimal place.315 Applying that                    80.1455 because those provisions are no                  renewable fuel producers and
                                            rounding protocol here results in factor                 longer necessary. If any renewable fuel                  importers) cannot generate RINs for
                                            of 1.6. This is slightly higher than the                 producer, regardless of size, has the                    renewable fuel unless it was produced
                                            proposed value of 1.57, but is more                      ability to choose to generate RINs, then                 for use in the covered location. The
                                            consistent with the additional data for                  there is no longer a need to provide                     CAA and RFS regulations already limit
                                            2022 and application of the                              flexibility for small producers because                  RIN generation to renewable fuel
                                            aforementioned rounding protocol. We                     they will only choose to generate RINs                   produced for use in the United States,
                                            are therefore replacing the factor of 1.5                if it were economically beneficial to do                 and these amendments are intended to
                                            in the percentage standard formula for                   so.                                                      address any potential confusion on the
                                            BBD with a factor of 1.6.316 Note that we                                                                         part of stakeholders. The amendments
                                                                                                     F. Changes to Tables in 40 CFR 80.1426
                                            are not changing any other aspect of the                                                                          specify that RINs cannot be generated
                                            percentage standard formula for BBD.                        We are making changes to Tables 1
                                                                                                     through 4 to 40 CFR 80.1426 in order to                  for renewable fuel that is not produced
                                            E. Flexibility for RIN Generation                        conform with current guidelines from                     for use in in the covered location and
                                               We are revising 40 CFR 80.1426 to                     the Office of Federal Register (OFR).318                 make such RINs invalid. We note that it
                                            simplify and clarify the requirement                     These tables were designated to 40 CFR                   is a prohibited activity under 40 CFR
                                            that renewable fuel producers and                        80.1426 and we refer to them as ‘‘Table                  80.1460(b)(2) to generate or transfer
                                            importers may only generate RINs if                      1 to 40 CFR 80.1426,’’ ‘‘Table 2 to 40                   invalid RINs, and this revision
                                            they meet all applicable requirements                    CFR 80.1426,’’ etc. Under OFR’s                          reinforces that generating RINs for fuel
                                            under the RFS program for the                            guidelines, this way of referring to the                 not produced for use in the covered
                                            generation of RINs. The regulations EPA                  tables meant that they should be located                 location is a prohibited activity.
                                            promulgated in the 2010 RFS2 final rule                  at the very end of 40 CFR 80.1426.                       H. Separated Food Waste
                                            at 40 CFR 80.1426(a)(1), (a)(2), and (b)                 However, Tables 1 and 2 were located                     Recordkeeping Requirements
                                            state, in part, that renewable fuel                      after 40 CFR 80.1426(f)(1)(vi), Table 3
                                            producers ‘‘must’’ generate RINs if they                 was located in 40 CFR 80.1426(f)(3)(v),                     Under the CAA, qualifying renewable
                                            meet certain requirements, and 40 CFR                    and Table 4 was located in 40 CFR                        fuel must be produced from renewable
                                            80.1426(c), in turn, prohibits the                       80.1426(f)(3)(vi)(A).                                    biomass.319 To ensure that RIN-
                                            generation of RINs if a renewable fuel                      In order to conform with OFR’s                        generating renewable fuels satisfy this
                                            producer cannot demonstrate that they                    guidelines, we are moving Tables 1 and                   requirement, RFS regulations contain,
                                            meet the requirements in 40 CFR                          2 to the end of 40 CFR 80.1426,                          among other things, recordkeeping
                                            80.1426(a)(1), (a)(2), and (b). That rule                consistent with their current                            provisions that require renewable fuel
                                            retained the word ‘‘must’’ from the                      designation. Since we are not changing                   producers to ‘‘keep documents
                                            RFS1 regulations but also made it clear                  the designations or contents of these                    associated with feedstock purchases and
                                            that parties cannot generate RINs for                    tables as part of this move, all of the                  transfers that identify where the
                                            biofuel if the feedstock used to produce                 existing references to these tables                      feedstocks were produced and are
                                            that biofuel does not satisfy the                        throughout 40 CFR part 80, subpart M,                    sufficient to verify that feedstocks used
                                            renewable biomass requirements or if                     as well as all references in existing EPA                are renewable biomass if RINs are
                                                                                                     actions and documents (including                         generated.’’ 320 In addition to the
                                              314 87 FR 80582, 80686 (December 30, 2022).            Federal Register notices, guidance                       generally applicable requirements, the
                                              315 72 FR 23921, May 1, 2007.
                                                                                                     documents, and adjudications) will                       RFS regulations also contain provisions
                                              316 While we are revising the factor of 1.5 in the
                                                                                                     remain accurate and valid. In contrast,                  for specific types of feedstocks where
                                            percentage standard formula for BBD, we have             for Tables 3 and 4, we are creating new                  necessary to ensure that their use is
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                                            included all four of the percentage standard
                                            formulas in our amendatory text for 40 CFR               provisions within the regulations into                   consistent with the statutory and
                                            80.1405(c). This is due to the manner in which the                                                                regulatory definitions of renewable
                                            original formulas were published in the CFR, which            317 40 CFR 80.1426(a)(1)(iii).
                                                                                                                                                              biomass.
                                            does not allow for revisions to a single formula           318 Office of the Federal Register, National

                                            without republishing all of the formulas. We are not     Archives and Records Administration, ‘‘Document
                                                                                                                                                                319 CAA section 211(o)(1)(J).
                                            modifying any aspect of these formulas beyond the        Drafting Handbook,’’ August 2018 Edition (Revision
                                            change to the factor of 1.5 in the BBD formula.          1.4), January 7, 2022.                                     320 40 CFR 80.1454(d).




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                                               One such set of feedstock-specific                    demonstrating the location of any                      records on the feedstock source and
                                            requirements exists for separated food                   establishment from which separated                     amount as specified under 40 CFR
                                            waste used to produce renewable fuel.                    food waste is collected is arbitrary and               80.1454(j), as further explained below,
                                            In 2010, EPA promulgated a                               capricious and that renewable fuel                     we are providing an option to allow
                                            requirement that renewable fuel                          producers ‘‘had no opportunity to                      independent auditors to verify records
                                            producers using separated food waste                     comment because EPA failed to mention                  held by the feedstock aggregator by
                                            submit, at the time of their registration                this new recordkeeping requirement in                  leveraging the biointermediates
                                            with EPA to generate RINs: (1) The                       the proposed rule.’’ 325                               provisions of the RFS program. While
                                            location of any facility from which the                     In the proposal for this action, we                 most interest in this provision centers
                                            waste stream consisting solely of                        emphasized that 40 CFR 80.1454(d),                     around used cooking oil collection, we
                                            separated food waste is collected; and                   which was introduced in 2010, requires                 believe this option can also be useful to
                                            (2) A separated food waste plan.321                      renewable fuel producers to keep                       third-party collectors of separated yard
                                            However, an unintended effect of                         records associated with feedstock                      waste, separated food waste, and
                                            requiring renewable fuel producers to                    purchases and transfers that identify                  separated municipal solid waste.
                                            submit the locations of the facilities                   where the feedstocks were produced                        Under the new option, instead of the
                                            from which separated food waste was                      and are sufficient to verify that                      renewable fuel producers holding
                                            collected as part of their facility                      feedstocks used are renewable biomass.                 records demonstrating that the feedstock
                                            registration was that producers were                     However, recognizing that affected                     used to produce renewable fuel is
                                            required to update their information                     stakeholders may have had suggestions                  renewable biomass, feedstock
                                            with EPA every time their feedstock                      for how to better apply this requirement               aggregators may hold them provided
                                            suppliers changed. EPA recognized this                   specifically to separated food waste                   that alternative regulatory requirements
                                            could be burdensome for producers and,                   feedstocks, we sought comment on the                   for the renewable fuel producer and
                                            in 2016, proposed to revise the                          separated food waste-specific                          feedstock aggregator are met. The
                                            regulations to remove this provision as                  recordkeeping requirement in 40 CFR                    alternative requirements needed to be
                                            a registration requirement and to simply                 80.1454(j)(1)(ii).326 In particular, we                met are summarized as follows:
                                            rely on the corresponding recordkeeping                  sought comment on how renewable fuel                      • The feedstock aggregator will need
                                            requirement.322 At that time, we noted                   producers using separated food waste as                to register with EPA and must keep all
                                            that renewable fuel producers were also                  feedstocks could best implement, in a                  applicable records of feedstock
                                            required to retain this information                      manner consistent with standard                        collection.
                                            under the recordkeeping requirements                                                                               • The renewable fuel producer will
                                                                                                     business practices within the industry,
                                            under 40 CFR 80.1454.323                                                                                        need to participate in the QAP program.
                                                                                                     the requirement to keep records                           • PTDs will need to be supplied to
                                               In 2020, we finalized the removal of                  demonstrating where their feedstocks
                                            this registration requirement and also                                                                          the transferee for feedstocks after
                                                                                                     were produced and that the records                     leaving the feedstock aggregator that
                                            reiterated that, pursuant to the existing                would be sufficient to verify that the                 include the volume, date, location at
                                            recordkeeping provisions at 40 CFR                       feedstocks meet the definition of                      time of transfer, and transferor and
                                            80.1454(d), renewable fuel producers                     renewable biomass. Based on previous                   transferee information.
                                            were still required to ‘‘keep documents                  discussions with third party feedstock                    The feedstock aggregator and the
                                            associated with feedstock purchases and                  suppliers, independent auditors, and                   renewable fuel producer that processes
                                            transfers that identify where the                        renewable fuel producers we did not                    those feedstocks will also be subject to
                                            feedstocks were produced; these                          propose to modify the provisions of 40                 the same liability provisions that apply
                                            documents must be sufficient to verify                   CFR 80.1454. After review and                          to biointermediate producers and
                                            that the feedstocks meet the definition                  consideration of the comments received                 renewable fuel producers that process
                                            of renewable biomass.’’ 324 To                           on this action, we are not finalizing any              biointermediates. We note that under
                                            emphasize that this requirement                          of the modifications to the language                   the RFS program, other than the limited
                                            remained in the regulations in light of                  from those comments. However, we are                   alternative that we are finalizing in this
                                            removing the corresponding registration                  finalizing the alternative approach that               action, renewable fuel producers must
                                            requirement, we also promulgated a                       we did propose with modifications                      keep records to demonstrate that their
                                            provision at 40 CFR 80.1454(j)(1)(ii)                    based on the comments we received as                   renewable fuels are produced from
                                            requiring renewable fuel producers to                    described below.                                       renewable biomass as specified under
                                            keep documents demonstrating the                            We understand there is a desire for                 40 CFR 80.1454, as applicable. We are
                                            location of any establishment from                       independent auditors to play a role in                 finalizing the alternative approach to
                                            which the separated food waste stream                    satisfying the requirement that                        address the specific circumstance where
                                            is collected.                                            renewable fuel producers keep records                  it is impractical for renewable fuel
                                               The Clean Fuels Alliance America                      demonstrating the location of any                      producers to provide the records
                                            challenged EPA’s promulgation of the                     establishment from which separate food                 specified under the recordkeeping
                                            separated food waste recordkeeping                       waste is collected. Specifically,                      requirements. We also note that if the
                                            provision at 40 CFR 80.1454(j)(1)(ii).                   stakeholders have requested that, rather               records do not demonstrate the
                                            Petitioners alleged the requirement that                 than renewable fuel producers holding                  feedstock is renewable biomass, then
                                            renewable fuel producers keep records                    the records themselves, independent                    the recordkeeping requirement is not
                                                                                                     auditors be allowed to verify the records              met regardless of who is holding the
                                              321 40 CFR 80.1450(b)(1)(vii)(B).
                                              322 81 FR 80828, 80902–03 (November 16, 2016).
                                                                                                     directly from the feedstock aggregator.                records.
                                              323 Id. (‘‘The recordkeeping section of the
                                                                                                     While the regulations require the                         We received comments that having
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                                            regulations requires renewable fuel producers to         renewable fuel producer to keep the                    both the renewable fuel producer and
                                            keep documents associated with feedstock                                                                        feedstock aggregator be subject to QAP
                                            purchases and transfers that identify where the            325 RFS Power Coalition v. U.S. EPA, No. 20–1046
                                                                                                                                                            would be overly burdensome. We did
                                            feedstocks were produced and are sufficient to           (D.C. Cir.), Doc. # 1882940 at 38–39, filed Jan. 29,
                                            verify that the feedstocks meet the definition of        2021.                                                  not intend to have the feedstock
                                            renewable biomass.’’).                                     326 We are not reopening the requirement at 40       aggregator directly participate in the
                                              324 85 FR 7016, 7062 (February 6, 2020).               CFR 80.1454(d).                                        QAP program like a biointermediate


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                                            producer as proposed in the NRPM, and                    requirements for QAP auditors or attest                    The term ‘‘ocean-going vessels’’
                                            we recognize that imposing direct                        auditors, so they cannot audit the                         referenced in sub-prong (3), however,
                                            participation of the feedstock aggregator                company in these roles. With the                           was not further defined in the
                                            could significantly increase the burden                  important conditions described here, we                    regulations.
                                            associated with the proposed option on                   believe EPA’s acceptance of contractors                       In the RFS2 final rule, we stated that
                                            feedstock aggregators. Based on these                    to conduct work on behalf of regulated                     EISA specifies that ‘‘transportation
                                            comments, we are requiring that only                     parties addresses the commenters                           fuels’’ do not include fuels for use in
                                            the renewable fuel producer needs to                     request to describe more clearly the                       ocean-going vessels and that we were
                                            participate in the QAP program (instead                  circumstances when a contractor may                        interpreting that ‘‘fuels for use in ocean-
                                            of the proposed requirement to have the                  hold the required feedstock records on                     going vessels’’ means residual or
                                            aggregator also participate). To ensure                  behalf of a renewable fuel producer.                       distillate fuels other than motor vehicle,
                                            adequate oversight, we are also                            Since the feedstock aggregators are                      nonroad, locomotive, or marine diesel
                                            requiring that the QAP plan include a                    not substantially altering the feedstock                   fuel (MVNRLM) intended to be used to
                                            description of how the third-party                       before transferring the feedstock, we                      power large ocean-going vessels (e.g.,
                                            auditor will audit each feedstock                        believe fewer requirements are                             those vessels that are powered by
                                            aggregator.                                              necessary than for biointermediates to                     Category 3 (C3), and some Category 2
                                               We also received comments asking for                  provide sufficient oversight of the                        (C2), marine engines and that operate
                                            clarity regarding which obligations                      feedstock and renewable fuel                               internationally).332 This statement made
                                            apply to feedstock suppliers versus                      production process. Specifically, we are                   clear that vessels powered by C3 marine
                                            feedstock aggregators. We intended the                   not requiring that the feedstock                           engines are ocean-going vessels and that
                                            regulations to cover feedstock                           aggregator supply an engineering                           fuel supplied to those vessels does not
                                            aggregators, not feedstock suppliers. We                 review, separated food waste plan,                         need to be included in obligated parties’
                                            have clarified this in the regulations by                separated yard waste plan, or separated                    RVO calculations.
                                            updating the language and adding new                     MSW plan as a part of registration.                           We further explained the reference to
                                            definitions for feedstock aggregator and                 However, the renewable fuel producer                       ‘‘and some Category (C2) marine
                                            feedstock supplier.                                      will still need to supply these                            engines’’ in the RFS2 RTC document, in
                                               Some commenters inquired about                        documents as part of their registration.                   which we noted that while Category 1
                                            third parties holding records on behalf                  In addition, the feedstock is not                          (C1) and C2 engines are generally
                                            of the feedstock renewable fuel                          considered a biointermediate, so the                       required to use MVNLRM diesel fuel
                                            producer.327 Under EPA’s fuels                           feedstock aggregator can sell feedstock                    (i.e., transportation fuel), we had, at the
                                            programs, which includes the RFS                         to a biointermediate producer, which                       time, recently established new
                                            program, we do not specify how parties                   could then sell a biointermediate to a                     standards for C3 marine engines that
                                            must employ persons to fulfill their                     renewable fuel facility.                                   allowed C1 and C2 auxiliary engines
                                            regulatory burdens so long as the                                                                                   equipped on vessels powered by C3
                                                                                                     I. Definition of Ocean-Going Vessels
                                            specified party meets all applicable                                                                                marine engines to utilize fuels other
                                            regulatory requirements. We believe that                    We are revising the definition of ‘‘fuel                than MVNRLM diesel fuel.333 We noted
                                            a party may arrange for a contractor to                  used in ocean-going vessels’’ as                           further that this could result in a vessel
                                            perform actions that meet regulatory                     proposed with slight modification to                       carrying three fuels: MVNRLM, ECA
                                            requirements (e.g., taking samples,                      ensure that obligated parties include                      marine fuel, and residual fuels, and the
                                            analyzing samples, and reporting results                 diesel fuel in their RVOs in a consistent                  latter two would not be considered
                                            to EPA) so long as that contractor                       manner and as required by the CAA and                      transportation fuel under the program.
                                            adheres to the regulatory requirements,                  so that renewable fuel producers know                      In other words, the reference to ‘‘and
                                            is acting on behalf of the regulated                     which fuels used in marine applications                    some Category (C2) marine engines’’ in
                                            party, and the party understands that                    are eligible for RIN generation.                           the RFS2 final rule refers to auxiliary
                                            they will remain liable for ensuring the                    Fuel used in ocean-going vessels is                     engines equipped on vessels that are
                                            applicable regulatory requirements have                  explicitly excluded from the CAA’s                         primarily powered by C3 marine
                                            been met. We believe this same                           definition of ‘‘transportation fuel,’’ 328                 engines.
                                            arrangement is allowed for the separated                 and does not need to be included in                           Since the RFS2 regulations were
                                            food waste recordkeeping requirements.                   RVO calculations.329 Relatedly,                            promulgated, we have received several
                                            We want to reiterate, however, that the                  renewable fuel producers cannot                            questions from the regulated community
                                            regulated party is liable for meeting the                generate RINs on renewable fuel used in                    on the subject of what constitutes an
                                            CAA and regulatory requirements and                      ocean-going vessel because such fuel is                    ocean-going vessel, and what fuel must
                                            for any action of any party working on                   not considered transportation fuel.330                     be included in obligated parties’ RVO
                                            their behalf, whether it is a contractor,                The RFS regulations defined the term                       calculations. To address this, we
                                            subcontractor, or other entity. The                      ‘‘[f]uel for use in an ocean-going vessel’’                proposed to define ocean-going vessels
                                            renewable fuel producer must make or                     to mean: ‘‘(1) any marine residual fuel                    as ‘‘vessels that are primarily (i.e., ≥75
                                            arrange for the records to be made                       (whether burned in ocean waters, Great                     percent) propelled by engines meeting
                                            available to EPA upon request                            Lakes, or other internal waters); (2)                      the definition of ‘Category 3’ in 40 CFR
                                            consistent with the regulatory                           Emission Control Area (ECA) marine                         1042.901.’’ In other words, if a vessel is
                                            requirements at 40 CFR 80.1454(t).                       fuel, pursuant to § 80.2 and 40 CFR                        primarily propelled by C3 marine
                                            Since the parties that are completing                    1090.80 (whether burned in ocean                           engines, it is an ocean-going vessel.
                                            work on behalf of the regulated party are                waters, Great Lakes, or other internal                     Further, fuel used in Category 1 (C1)
                                                                                                     waters); and (3) Any other fuel intended
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                                            not independent of the company, they                                                                                and Category 2 (C2) auxiliary engines
                                            do not meet the independence                             for use only in ocean-going vessels.’’ 331                 installed on ocean-going vessels—which
                                                                                                          328 CAA section 211(o)(1)(L).                           332 75 FR 14670, 14721 (March 26, 2010).
                                              327 Commenters recommended this in part
                                                                                                          329 40 CFR 80.1407(f)(8).
                                            because they would like to use third-party tracking                                                                   333 U.S. EPA, Renewable Fuel Standards Program
                                                                                                          330 40 CFR 80.1426(a)(1)(iv).
                                            software to manage the collection and disclosure of                                                                 (RFS2) Summary and Analysis of Comments, at 3–
                                            data.                                                         331 40 CFR 80.1401.                                   198–3–200. (February 2010).



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                                            are often used for purposes other than                   designation provisions in 40 CFR part                 producers or foreign RIN owners. For
                                            propulsion—do not need to be included                    1090.336                                              these reasons, we are raising the bond
                                            in obligated parties’ RVO calculations                      The previous definitions for                       requirement to more accurately reflect
                                            because the inquiry turns on the type of                 MVNRLM diesel fuel and ECA marine                     the current value of RINs, so that bonds
                                            engine that primarily propels the vessel,                fuel excluded fuel that conforms to the               can serve their intended purposes.
                                            not the actual engines that use the fuel.                requirements of MVNRLM diesel fuel                    While we had proposed raising the bond
                                            On the other hand, if a vessel is                        from the definition of ECA marine fuel,               requirement to $0.30 per RIN—which
                                            primarily propelled by C1 or C2 marine                   without regard to its actual use. Under               was 10 percent of the price of a D3 RIN
                                                                                                     this language, obligated parties who
                                            engines, they are not ocean-going                                                                              at the time of the proposal—after
                                                                                                     produced 15 ppm diesel fuel had to
                                            vessels regardless of whether those                                                                            considering the comments received, we
                                                                                                     include the designated MVNRLM diesel
                                            vessels operate on international waters,                 fuel in their RVO calculations even if                have re-calculated the amount to $0.22
                                            and fuel supplied to these vessels must                  the fuel was designated and used as                   per RIN, which is 10 percent of the
                                            be included in obligated parties’ RVO                    ECA marine fuel. In the 2020 annual                   average price of a D3 RIN for the most
                                            calculations.                                            rule, we intended that obligated parties              recent, full five-year period (2018–
                                               We received one comment on the                        could use the certified NTDF provisions               2022).339 This approach accounts for
                                            proposed definition of ‘‘ocean-going                     to exclude ECA marine fuel used in                    recent fluctuations in price over a longer
                                            vessel.’’ The commentor stated that is                   ocean-going vessels but did not revise                and representative time period.
                                            unclear from the proposed definition                     the definitions of MVNRLM diesel fuel                    Second, we are removing the option
                                            how an obligated party supplying                         and ECA marine fuel consistent with                   to make a direct payment to the U.S.
                                            marine fuel would have knowledge                         our intent. In this action, we are                    Treasury under 40 CFR 80.1466(h) and
                                            about the percentage of propulsion                       amending the definitions of MVNRLM                    are adopting the surety bond as the sole
                                            provided by a vessel’s various Category                  diesel fuel and ECA marine fuel to                    method to fulfill the foreign bond
                                                                                                     clarify that 15 ppm distillate fuel that is
                                            1, 2, or 3 engines. As explained in the                                                                        requirement. We have considered a
                                                                                                     properly designated as certified NTDF
                                            NPRM, auxiliary engines equipped on                                                                            variety of options used by other EPA
                                                                                                     may also be designated as ECA marine
                                            large ocean-going vessels are typically                  fuel and excluded from a producer or                  programs and by other Federal agencies,
                                            used for purposes other than propulsion                  importer’s RVO calculations.                          including examining the financial
                                            (e.g., electricity generation). Auxiliary                                                                      assurance methods used by EPA for the
                                            engines, however, can be used for                        J. Bond Requirement for Foreign RIN-                  Resource Conservation and Recovery
                                            propulsion in emergencies, which is                      Generating Renewable Fuel Producers                   Act (RCRA) and for the Transition
                                            why the proposed definition was based                    and Foreign RIN Owners                                Program for Equipment Manufacturers
                                            on the primary type of engine used to                       We are finalizing two changes to the               (TPEM) program. We also considered
                                            propel a vessel. However, if a vessel is                 bonding requirements for foreign RIN-                 approaches used by other federal
                                            equipped with a Category 3 engine it                     generating renewable fuel producers                   agencies, such as the Alcohol and
                                            can be assumed that the vessel will                      and foreign RIN owners. First, we are                 Tobacco Trade Board (TTB) brewer’s
                                            primarily use that engine for propulsion                 increasing the amount of the foreign                  bonds, including surety and collateral
                                            because it would not be practical or                     bond amount from $0.01 to $0.22 per                   (‘‘cash’’) bonds. Our inquiry led us to
                                            economical to propel that vessel                         RIN. The bond requirement previously                  conclude that alternative approaches
                                            primarily with smaller engines.                          applicable to foreign RIN-generating                  either do not work with the RFS
                                                                                                     renewable fuel producers and foreign                  program or are too burdensome to
                                            Therefore, we are finalizing a modified
                                                                                                     RIN owners was developed in the RFS1
                                            definition of ocean-going vessel that is                                                                       implement, and that the surety bond
                                                                                                     rule to deter noncompliance and to
                                            consistent with the intent of the                        assist with the collection of any                     approach is the most appropriate and
                                            proposed definition that turns                           judgments that result from a foreign                  workable for the RFS program.
                                            exclusively on whether the vessel is                     RIN-generating renewable fuel                            The effective date for the new
                                            equipped with a Category 3 engine.                       producer’s noncompliance with the RFS                 bonding provisions will be April 1,
                                            Specifically, we are defining ocean-                     regulations.337 In that rulemaking, the               2024. We are giving a later effective date
                                            going vessels as ‘‘vessels that are                      bond was set to $0.01 per RIN, when the               because we appreciate that parties may
                                            equipped with engines meeting the                        expected value of RINs was much lower.                need this additional time to come into
                                            definition of ‘Category 3’ in 40 CFR                     Since 2013, RIN prices have hovered                   compliance with these new bonding
                                            1042.901.’’                                              significantly above $0.01, and recently,              requirements.
                                               We are also revising the definitions of               RINs in all categories have consistently
                                            MVNRLM diesel fuel and ECA marine                        sold above $1.00 per RIN.338 As                          339 We selected average D3 RIN prices over the

                                            fuel to be consistent with the                           explained in the 2023–2025 NPRM, the                  previous five years to smooth out fluctuations in
                                            flexibilities that allow for the exclusion               increased value of RINs makes a bond                  RIN prices over time. We did not base our bond
                                                                                                     requirement of $0.01 per RIN neither                  amount on projected RIN prices because estimating
                                            of certified NTDF from refiners’                                                                               future RIN prices involves a lot of uncertainty and
                                                                                                     sufficient to deter potential
                                            RVOs 334 and the flexibilities to certify                                                                      would not necessarily provide a more appropriate
                                                                                                     noncompliance nor likely to yield bonds
                                            diesel fuel for multiple purposes as                                                                           bond price. We pegged our bond prices to D3 RINs
                                                                                                     of sufficient size to satisfy judicial or             because D3 RINs have historically been the most
                                            allowed under EPA’s fuel quality                         administrative judgments against                      valuable, and the purpose of the change is to ensure
                                            regulations.335 Specifically, we are                     foreign RIN-generating renewable fuel                 that bond prices serve as a sufficient deterrent to
                                            removing the restriction that fuel that                                                                        non-compliance by foreign parties. Pegging the
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                                            meets the requirements of MVNRLM                            336 We note that we are not changing the           price to a less valuable RIN would erode the
                                            diesel fuel cannot be ECA marine fuel,                   treatment of certified NTDF under the RFS program     efficacy of the deterrent. We chose 10 percent
                                            as this exclusion conflicts with the                     in this action.                                       because we believed a higher percentage may be too
                                                                                                        337 72 FR 24007 (May 1, 2007).                     costly for foreign RIN generators/owners to
                                                                                                        338 See RFS pricing data available at: https://    participate in the program. Percentages lower than
                                              334 40 CFR 80.1407(f)(11).
                                                                                                     www.epa.gov/fuels-registration-reporting-and-         10 percent would have resulted in an insufficient
                                              335 40 CFR 1090.1015(a).                               compliance-help/rin-trades-and-price-information.     deterrent against non-compliance.



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                                            K. Definition of Produced From                                               again based on the energy content                     aspect of the renewable fuel definition.
                                            Renewable Biomass                                                            approach that was in the 2020–2022                    Clarifying what it means for a fuel to be
                                                                                                                         NPRM. We also sought comment on                       produced from renewable biomass will
                                               We are not finalizing at this time a                                      alternative definitions and ways that                 reduce confusion on this issue and
                                            definition of produced from renewable                                        renewable fuel producers could                        avoid a situation where a party expends
                                            biomass or the related amendments to                                         demonstrate that the fuel they produce                resources on researching or developing
                                            the regulatory provisions related to co-                                     meets this statutory requirement. These               a new fuel technology with the hopes of
                                            processed fuels. CAA section                                                 included both a ‘‘mass-based’’ definition             generating RINs only to later discover
                                            211(o)(1)(J) defines renewable fuel as                                       where the mass in the finished fuel                   that the fuel does not qualify as having
                                            ‘‘fuel that is produced from renewable                                       comes from the renewable biomass, as                  been produced from renewable biomass.
                                            biomass and that is used to replace or                                       well as a ‘‘broad’’ approach whereby                     Given that we are not finalizing this
                                            reduce the quantity of fossil fuel present                                   either the energy or the mass could                   definition in this action, we are also not
                                            in a transportation fuel.’’ 340 However,                                     come from the renewable biomass.                      finalizing the proposed changes to
                                            neither the CAA nor EPA regulations                                             We received near universal support                 corresponding regulations in
                                            define what it means for a fuel to be                                        from stakeholders in comment on the                   80.1426(f)(4) nor are we finalizing the
                                            produced from renewable biomass. In                                          proposal for the broad approach. In                   proposed changes to the definition of
                                            the 2020–2022 NPRM, we proposed to                                           order to allow us more time to fully                  co-processed fuel or co-processed
                                            define in 40 CFR 80.1401 that                                                consider the comments received, as well               intermediate.
                                            ‘‘produced from renewable biomass’’                                          as to determine what would be needed
                                            means the energy in the finished fuel                                                                                              L. Technical Amendments
                                                                                                                         to implement such a broad approach,
                                            comes from renewable biomass. After                                          we are not finalizing a definition of                   We are making numerous technical
                                            reviewing comments on that proposal,                                         ‘‘produced from renewable biomass’’ in                amendments to the RFS and fuel quality
                                            we decided not to finalize a definition                                      this action. Nevertheless, we still                   regulations. These amendments are
                                            for ‘‘produced from renewable biomass’’                                      believe a definition of ‘‘produced from               being made to correct minor
                                            in that action. In the 2023–2025 NPRM,                                       renewable biomass’’ would be useful                   inaccuracies and clarify the current
                                            we re-proposed the definition of                                             because we have received multiple                     regulations. These changes are
                                            ‘‘produced from renewable biomass’’                                          questions from stakeholders on this                   described in Table X.L–1.

                                                        TABLE X.L–1—MISCELLANEOUS TECHNICAL CORRECTIONS AND CLARIFICATIONS TO RFS AND FUEL QUALITY
                                                                                              REGULATIONS
                                                            Part and section of Title 40                                                                           Description of revision

                                            80.2 .....................................................................    Adding definition of business days consistent with the definition at 40 CFR 1090.80.
                                            80.2 .....................................................................    Clarifying the definition of renewable fuel to specify that fuel must be used in the covered loca-
                                                                                                                            tion.
                                            80.4; 80.7; 80,11; 80.1415; 80.1416; 80.1426;                                 Removing all references to ‘‘the Administrator’’ and replacing them with ‘‘EPA.’’
                                              80.1431; 80.1441; 80.1443; 80.1449 through
                                              80.1454;    80.1456;    80.1466;        80.1467;
                                              80.1469; 80.1474; and 80.1478.
                                            80.2, 80.1408, and 1090.1015 ...........................                      Amending the definition of certified non-transportation distillate fuel (NTDF) at 40 CFR 80.2
                                                                                                                            and the diesel fuel designation requirements under 40 CFR 1090.1015 to clarify that the cer-
                                                                                                                            tified NTDF provisions at 40 CFR 80.1408 may be used for NTDF other than heating oil or
                                                                                                                            ECA marine fuel.
                                            80.2 and 80.1453(a)(12) .....................................                 Clarifying that renewable naphtha may be blended to make E85.
                                            80.1450(b)(1)(viii)(E) ...........................................            Clarifying that independent third-party engineers must visit material recovery facilities as part
                                                                                                                            of the engineering review for facilities that produce renewable fuels from separated MSW.
                                            80.1469(c)(6) ......................................................          Clarifying that independent third-party auditors must review all relevant documentation required
                                                                                                                            under the RFS program when verifying elements under the QAP program.
                                            1090.55(c) ...........................................................        Amending to correct cross-reference from 40 CFR part 32 to 2 CFR part 1532.
                                            1090.80 ...............................................................       Amending to correct the list of states that are part of PADD II.
                                            1090.805(a)(1)(iv) ...............................................            Clarifying that RCOs may add a delegate, as allowed under 1090.800(d).
                                            1090.1830(a)(3) ..................................................            Amending to add a missing word.



                                            XI. Statutory and Executive Order                                            A. Executive Order 12866: Regulatory                  recommendations received as part of the
                                            Reviews                                                                      Planning and Review and Executive                     Executive Order 12866 review process
                                                                                                                         Order 13563: Improving Regulation and                 have been documented in the docket.
                                              Additional information about these                                         Regulatory Review                                     EPA prepared an analysis of potential
                                            statutes and Executive Orders can be                                                                                               costs and benefits associated with this
                                            found at https://www.epa.gov/laws-                                             Under section 3(f)(1) of Executive                  action. This analysis is presented in the
                                            regulations/laws-and-executive-orders.                                       Order 12866, as amended by Executive                  RIA, available in the docket for this
                                                                                                                         Order 14094, this action is a significant             action.
                                                                                                                         regulatory action that was submitted to
                                                                                                                                                                               B. Paperwork Reduction Act (PRA)
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                                                                                                                         the Office of Management and Budget
                                                                                                                         (OMB) for review. Any changes made in                   The information collection activities
                                                                                                                         response to suggestions or                            in this rule have been submitted for
                                               340 CAA section 211(o)(2)(A)(i) adds the                                  percent less than baseline lifecycle [GHG]            grandfather provision as implemented in 40 CFR
                                            requirement that renewable fuel must have                                    emissions’’ (unless exempted under the statutory      80.1403).
                                            ‘‘lifecycle [GHG] emissions that are at least 20



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                                            approval to the Office of Management                     OMB approves this ICR, EPA will                          available to small entities. These
                                            and Budget (OMB) under the PRA. The                      announce that approval in the Federal                    flexibilities include being able to
                                            Information Collection Request (ICR)                     Register and publish a technical                         comply through RIN trading rather than
                                            document that EPA prepared has been                      amendment to 40 CFR part 9 to display                    renewable fuel blending, 20 percent RIN
                                            assigned EPA ICR number 2722.02. You                     the OMB control number for the                           rollover allowance (up to 20 percent of
                                            can find a copy of the ICR in the docket                 approved information collection                          an obligated party’s RVO can be met
                                            for this rule, and it is briefly                         activities contained in this final rule.                 using previous-year RINs), and deficit
                                            summarized here. The information                                                                                  carry-forward (the ability to carry over
                                                                                                     C. Regulatory Flexibility Act (RFA)
                                            collection requirements are not                                                                                   a deficit from a given year into the
                                            enforceable until OMB approves them.                        I certify that this action will not have              following year, provided that the deficit
                                               We are finalizing compliance                          a significant economic impact on a                       is satisfied together with the next year’s
                                            provisions necessary to ensure that the                  substantial number of small entities                     RVO). In the 2010 RFS2 final rule, we
                                            production, distribution, and use of                     under the RFA.                                           discussed other potential small entity
                                            biogas, RNG, and RINs are consistent                        For the biogas regulatory reform                      flexibilities that had been suggested by
                                            with Clean Air Act requirements under                    provisions, we are modifying the                         the Small Business Regulatory
                                            the RFS program. These compliance                        previous biogas provisions to make                       Enforcement Fairness Act (SBREFA)
                                            provisions include registration,                         compliance less burdensome for                           panel or through comments, but we did
                                            reporting, product transfer documents                    regulated parties. With respect to the                   not adopt them, in part because we had
                                            (PTDs), and recordkeeping                                other amendments to the RFS and fuel                     serious concerns regarding our authority
                                            requirements. The information                            quality regulations, this action makes                   to do so.343
                                            requirements are under 40 CFR part 80,                   minor corrections and modifications to                      In sum, this rule will not change the
                                            subparts E and M, and 40 CFR part                        those regulations. As such, we do not                    compliance flexibilities currently
                                            1090. Interested parties may wish to                     anticipate that there will be any                        offered to small entities under the RFS
                                            review the following related ICRs: Fuels                 significant adverse economic impact on                   program and available information
                                            Regulatory Streamlining (Final Rule),                    directly regulated small entities as a                   shows that the impact on small entities
                                            OMB Control Number 2060–0731,                            result of these revisions.                               from implementation of this rule will
                                            expires January 31, 2024; Renewable                         The small entities directly regulated
                                                                                                                                                              not be significant.
                                            Fuel Standard (RFS) Program: RFS Final                   by the annual percentage standards
                                            Rules, OMB Control No. 2060–0740,                        associated with the RFS volumes are                      D. Unfunded Mandates Reform Act
                                            expires October 31, 2025; and                            small refiners that produce gasoline or                  (UMRA)
                                            Renewable Fuel Standard (RFS)                            diesel fuel, which are defined by the                       This action does not contain an
                                            Program (Renewal), OMB Control                           Small Business Administration (SBA) at                   unfunded mandate of $100 million or
                                            Number 2060–0725, expires November                       13 CFR 121.201. To evaluate the                          more as described in UMRA, 2 U.S.C.
                                            30, 2025.                                                impacts of the 2023–2025 volume                          1531–1538, for state, local, or tribal
                                               Respondents/affected entities: Biogas                 requirements on small entities, we have                  governments. This action imposes no
                                            producers; RNG producers; RNG                            conducted a screening analysis 341 to                    enforceable duty on any state, local or
                                            importers; biogas closed-distribution                    assess whether we should make a                          tribal governments. This action contains
                                            RIN generators; QAP providers; RIN                       finding that this action will not have a                 a federal mandate under UMRA that
                                            separators; parties including renewable                  significant economic impact on a                         may result in expenditures of $100
                                            fuel producers, biointermediate                          substantial number of small entities.                    million or more for the private sector in
                                            producers, or feedstock aggregators who                  Currently available information shows                    any one year. Accordingly, the costs
                                            use alternative recordkeeping under                      that the impact on small entities from                   associated with this rule are discussed
                                            80.1479; producers of renewable fuel                     implementation of this rule will not be                  in Section IV and in the RIA.
                                            from biogas used as a biointermediate or                 significant. We have reviewed and                           This action is not subject to the
                                            RNG used as a feedstock; and third                       assessed the available information,                      requirements of section 203 of UMRA
                                            parties, including third-party engineers                 which shows that obligated parties,                      because it contains no regulatory
                                            and attest auditors.                                     including small entities, are able to                    requirements that might significantly or
                                               Respondent’s obligation to respond:                   recover the cost of acquiring the RINs                   uniquely affect small governments.
                                            Mandatory, under 40 CFR parts 80 and                     necessary for compliance with the RFS
                                                                                                     standards through higher sales prices of                 E. Executive Order 13132: Federalism
                                            1090.
                                               Estimated number of respondents:                      the petroleum products they sell than                      This action does not have federalism
                                            7,835.                                                   would be expected in the absence of the                  implications. It will not have substantial
                                               Frequency of response: On occasion,                   RFS program.342 This is true whether                     direct effects on the states, on the
                                            monthly, quarterly, or annually.                         they acquire RINs by purchasing                          relationship between the National
                                               Total estimated burden: 82,441 hours                  renewable fuels with attached RINs or                    Government and the states, or on the
                                            (per year). Burden is defined at 5 CFR                   purchasing separated RINs. The costs of                  distribution of power and
                                            1320.3(b).                                               the RFS program are thus being passed                    responsibilities among the various
                                               Total estimated cost: $5,684,472 (per                 on to consumers in a highly competitive                  levels of government.
                                            year), of which $5,659,472 is purchased                  marketplace.
                                            services, and which includes $25,000                        While the rule will not have a                        F. Executive Order 13175: Consultation
                                            annualized capital or operation &                        significant economic impact on a                         and Coordination With Indian Tribal
                                            maintenance costs.                                       substantial number of small entities,                    Governments
                                               An agency may not conduct or                          there are existing compliance                               This action does not have tribal
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                                            sponsor, and a person is not required to                 flexibilities in the program that are                    implications as specified in Executive
                                            respond to, a collection of information                                                                           Order 13175. This action will be
                                                                                                          341 See RIA Chapter 11.
                                            unless it displays a currently valid OMB                   342 For a further discussion of the ability of
                                                                                                                                                              implemented at the Federal level and
                                            control number. The OMB control                          obligated parties—including small refiners—to
                                                                                                                                                              affects transportation fuel refiners,
                                            numbers for EPA’s regulations in 40                      recover the cost of RINs, see April 2022 SRE Denial
                                            CFR are listed in 40 CFR part 9. When                    Action and June 2022 SRE Denial Action.                    343 75 FR 14858–62 (March 26, 2010).




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                                            blenders, marketers, distributors,                          The biofuel volumes associated with                at (202) 682–8000. API standards
                                            importers, exporters, and renewable fuel                 this rulemaking may reduce GHGs,                      referenced in this rule are also available
                                            producers and importers. Tribal                          potentially mitigating the impacts of                 for public review in read-only format in
                                            governments will be affected only to the                 climate change on children. Because                   the API IBR Reading Room at
                                            extent they produce, purchase, or use                    children have greater susceptibility to               publications.api.org.
                                            regulated fuels. Thus, Executive Order                   the impacts of a changing climate, as
                                                                                                                                                              For APHA standards, copies of these
                                            13175 does not apply to this action.                     referenced in RIA Chapter 9.6, these
                                                                                                                                                           materials may be obtained from the
                                                                                                     standards could have particular benefits
                                            G. Executive Order 13045: Protection of                  for children’s health.346 As discussed in             standard methods website
                                            Children From Environmental Health                       RIA Chapter 4, the biofuel volumes                    (www.standardmethods.org) or by
                                            Risks and Safety Risks                                   associated with the rulemaking may also               calling APHA at (202) 777–2742.
                                               This action is subject to Executive                   impact other air pollutant emissions                     For ASTM standards, copies of these
                                            Order 13045 because it is a significant                  both positively and negatively. Because               materials may be obtained from the
                                            regulatory action under section 3(f)(1) of               of their greater susceptibility to air                ASTM website (www.astm.org) or by
                                            Executive Order 12866, and EPA                           pollution and their increased time spent              calling ASTM at (877) 909–2786. ASTM
                                            believes that the environmental health                   outdoors these standards could also                   standards referenced in this rule are also
                                            or safety risks of the pollutants                        have more pronounced impacts on                       available for public review in read-only
                                            impacted by this action may have a                       children’s health.                                    format in the ASTM Reading Room at
                                            disproportionate effect on children. The                                                                       www.astm.org/epa.htm.
                                                                                                     H. Executive Order 13211: Actions
                                            2021 Policy on Children’s Health also
                                                                                                     Concerning Regulations That                              For CEN standards, copies of these
                                            applies to this action.344
                                                                                                     Significantly Affect Energy Supply,                   materials may be obtained from the CEN
                                               Children make up a substantial
                                                                                                     Distribution, or Use                                  website (www.cencenelec.eu) or by
                                            fraction of the U.S. population, and
                                                                                                        This action is not a ‘‘significant                 calling CEN at + 32 2 550 08 11.
                                            often have unique factors that contribute
                                            to their increased risk of experiencing a                energy action’’ because it is not likely to              To meet the Office of the Federal
                                            health effect from exposures to ambient                  have a significant adverse effect on the              Register requirements for incorporation
                                            air pollutants because of their                          supply, distribution, or use of energy.               by reference structure and formatting
                                            continuous growth and development.                       This action establishes the required                  requirements, EPA is moving the
                                            Children are more susceptible than                       renewable fuel content of the                         centralized IBR section (§ 80.1468,
                                            adults to many air pollutants because                    transportation fuel supply for 2023,                  which applies to all of part 80) out of
                                            they have: (1) A developing respiratory                  2024, and 2025 pursuant to the CAA.                   subpart M and into subpart A (which
                                            system; (2) Increased ventilation rates                  The RFS program and this rule are                     also applies to all of part 80). EPA is
                                            relative to body mass compared with                      designed to achieve positive effects on               also adding standards that were
                                            adults; (3) An increased proportion of                   the nation’s transportation fuel supply               approved for § 80.8 but never
                                            oral breathing, particularly in boys,                    by increasing energy independence and                 consolidated in the original centralized
                                            relative to adults; and (4) Behaviors that               security.                                             IBR section into the new centralized
                                            increase chances for exposure. Even                      I. National Technology Transfer and                   section at § 80.12.
                                            before birth, the developing fetus may                   Advancement Act (NTTAA) and 1 CFR                        In addition to the standards and test
                                            be exposed to air pollutants through the                 Part 51                                               methods listed below, ASTM D1250,
                                            mother that affect development and                                                                             ASTM D4442, ASTM D4444, ASTM
                                            permanently harm the individual when                        This action involves technical
                                                                                                     standards. In accordance with the                     D6866, and ASTM E870 are also
                                            the mother is exposed. Certain motor
                                                                                                     requirements of 1 CFR 51.5, we are                    referenced in the regulatory text of this
                                            vehicle emissions present greater risks
                                                                                                     incorporating by reference the use of                 final rule. They were approved for IBR
                                            to children as well. Early life stages
                                                                                                     test methods and standards from the                   for the sections referenced as of July 1,
                                            (e.g., children) are thought to be more
                                                                                                     American Petroleum Institute (API),                   2022, and no changes are being made
                                            susceptible to tumor development than
                                                                                                     American Public Health Association                    aside from those described to the
                                            adults when exposed to carcinogenic
                                            chemicals that act through a mutagenic                   (APHA), ASTM International (ASTM),                    centralized IBR section. ASTM D4057,
                                            mode of action.345 Exposure at a young                   and European Committee for                            ASTM D4177, ASTM D5842, and ASTM
                                            age to these carcinogens could lead to a                 Standardization (CEN). A detailed                     D5854 are also referenced in the
                                            higher risk of developing cancer later in                discussion of these test methods and                  regulatory text of this final rule. They
                                            life.                                                    standards can be found in Sections IX.I               were approved for IBR for the sections
                                                                                                     and X.C. The standards and test                       referenced as of April 28, 2014, and no
                                               344 U.S. Environmental Protection Agency (2021).      methods referenced in this action may                 changes are being made aside from
                                            2021 Policy on Children’s Health. Washington, DC.        be obtained through the following                     those described to the centralized IBR
                                            https://www.epa.gov/system/files/documents/2021-         avenues:                                              section. ASTM E711 is also referenced
                                            10/2021-policy-on-childrens-health.pdf.                     For API standards, copies of these
                                               345 U.S. Environmental Protection Agency. (2005).
                                                                                                                                                           in the regulatory text of this final rule.
                                                                                                     materials may be obtained from the API                It was approved for IBR for the section
                                            Supplemental guidance for assessing susceptibility
                                            from early-life exposure to carcinogens.                 website (www.api.org) or by calling API               referenced as of July 1, 2010, and no
                                            Washington, DC: Risk Assessment Forum. EPA/630/                                                                changes are being made aside from
                                            R–03/003F. https://www.epa.gov/sites/default/files/        346 The Impacts of Climate Change on Human

                                            2013-09/documents/childrens_supplement_                  Health in the United States: A Scientific
                                                                                                                                                           those described to the centralized IBR
                                            final.pdf.                                               Assessment, USGCRP 2016.                              section.
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                                                                   TABLE XI.I–1—STANDARDS AND TEST METHODS TO BE INCORPORATED BY REFERENCE
                                                             Organization and standard or test method                                                              Description

                                            API MPMS 14.1–2016, Manual of Petroleum Measurement Standards                        Standard describing how to collect, handle, and transfer gas samples
                                             Chapter 14—Natural Gas Fluids Measurement Section 1—Collecting                        for chemical analysis.
                                             and Handling of Natural Gas Samples for Custody Transfer, 7th Edi-
                                             tion, May 2016.
                                            API MPMS 14.3.1–2012, Manual of Petroleum Measurement Standards                      Standard describing engineering equations, installation requirements,
                                             Chapter 14.3.1—Orifice Metering of Natural Gas and Other Related                      and uncertainty estimations of square-edged orifice meters in meas-
                                             Hydrocarbon Fluids—Concentric, Square-edged Orifice Meters Part                       uring the flow of natural gas and similar fluids.
                                             1: General Equations and Uncertainty Guidelines, 4th Edition, includ-
                                             ing Errata July 2013, Reaffirmed, July 2022.
                                            API MPMS 14.3.2–2016, Manual of Petroleum Measurement Standards                      Standard describing design and installation of square-edged orifice me-
                                             Chapter 14.3.2—Orifice Metering of Natural Gas and Other Related                      ters for measuring flow of natural gas and similar fluids.
                                             Hydrocarbon Fluids—Concentric, Square-edged Orifice Meters Part
                                             2: Specification and Installation Requirements, 5th Edition, March
                                             2016.
                                            API MPMS 14.3.3–2013, Manual of Petroleum Measurement Standards                      Standard describing applications using square-edged orifice meters for
                                             Chapter 14.3.3—Orifice Metering of Natural Gas and Other Related                      measuring flow of natural gas and similar fluids.
                                             Hydrocarbon Fluids—Concentric, Square-edged Orifice Meters Part
                                             3: Natural Gas Applications, 4th Edition, Reaffirmed, June 2021.
                                            API MPMS 14.3.4–2019, Manual of Petroleum Measurement Standards                      Standard describing the development of equations for coefficient of dis-
                                             Chapter 14.3.4—Orifice Metering of Natural Gas and Other Related                      charge, including a calculation procedure, for square-edged orifice
                                             Hydrocarbon Fluids—Concentric, Square-edged Orifice Meters Part                       meters measuring flow of natural gas and similar fluids.
                                             4—Background, Development, Implementation Procedure, and Ex-
                                             ample Calculations, 4th Edition, October 2019.
                                            API MPMS 14.12–2017, Manual of Petroleum Measurement Standards                       Standard describing the calculation of flow using gas vortex meters for
                                             Chapter 14—Natural Gas Fluid Measurement Section 12—Measure-                          measuring the flow of natural gas and similar fluids.
                                             ment of Gas by Vortex Meters, 1st Edition, March 2017.
                                            APHA SM 2540, Solids, revised June 10, 2020 ......................................   Standard describing how to measure the total solids, volatile solids,
                                                                                                                                   and other solid properties of wastewater sludge and similar sub-
                                                                                                                                   stances.
                                            ASTM D975–21, Standard Specification for Diesel Fuel, approved Au-                   Diesel fuel specifications that must be met to qualify for RINs for re-
                                             gust 1, 2021.                                                                         newable fuels.
                                            ASTM D3588–98(R2017)e1, Standard Practice for Calculating Heat                       Calculation protocol for aggregate properties of gaseous fuels from
                                             Value, Compressibility Factor, and Relative Density of Gaseous                        compositional measurements.
                                             Fuels, approved April 1, 2017.
                                            ASTM D4888–20, Standard Test Method for Water Vapor in Natural                       Standard specifying how to measure water vapor concentration in gas-
                                             Gas Using Length-of-Stain Detector Tubes, approved December 15,                       eous fuel samples
                                             2020.
                                            ASTM D5504–20, Standard Test Method for Determination of Sulfur                      Standard specifying how to measure sulfur-containing compounds in a
                                             Compounds in Natural Gas and Gaseous Fuels by Gas Chroma-                             gaseous fuel sample.
                                             tography and Chemiluminescence, approved November 1, 2020.
                                            ASTM D6751–20a, Standard Specification for Biodiesel Fuel Blend                      Biodiesel fuel specifications that must be met to qualify for RINs for re-
                                             Stock (B100) for Middle Distillate Fuels, approved August 1, 2020.                    newable fuels.
                                            ASTM D6866–22, Standard Test Methods for Determining the                             Radiocarbon dating test method to determine the renewable content of
                                             Biobased Content of Solid, Liquid, and Gaseous Samples Using Ra-                      biogas and RNG.
                                             diocarbon Analysis, approved March 15, 2022.
                                            ASTM D7164–21, Standard Practice for On-line/At-line Heating Value                   Standard specifying how to use and maintain an on-line gas chromato-
                                             Determination of Gaseous Fuels by Gas Chromatography, approved                        gram for determining heating value of a gaseous fuel.
                                             April 1, 2021.
                                            ASTM D8230–19, Standard Test Method for Measurement of Volatile                      Standard specifying how to measure silicon-containing compounds in a
                                             Silicon-Containing Compounds in a Gaseous Fuel Sample Using                           gaseous fuel sample.
                                             Gas Chromatography with Spectroscopic Detection, approved June
                                             1, 2019.
                                            EN 17526:2021(E), Gas meter—Thermal-mass flow-meter based gas                        Standard specifying the measurement of flow using a thermal mass
                                             meter, approved July 11, 2021.                                                        flow meter.



                                            J. Executive Orders 12898 (Federal                       and adverse human health or                           analysis (including a discussion of this
                                            Actions To Address Environmental                         environmental effects of their programs,              action’s potential impacts on GHGs, air
                                            Justice in Minority Populations, and                     policies, and activities on communities               quality, water quality, and fuel and food
                                            Low-Income Populations) and 14096                        with environmental justice concerns.                  prices) can be found in RIA Chapter 9.
                                            (Revitalizing Our Nation’s Commitment                       EPA believes that the human health                   EPA believes that this action may
                                            to Environmental Justice for All)                        and environmental conditions that exist               result in some new disproportionate and
                                              Executive Order 12898 (59 FR 7629,                     prior to this action result in                        adverse effects on communities with
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                                            February 16, 1994) directs federal                       disproportionate and adverse effects on               environmental justice concerns, while
                                            agencies, to the greatest extent                         communities with environmental justice                also mitigating some effects on these
                                            practicable and permitted by law, to                     concerns. A summary of our approach                   populations. Some of these effects are
                                            make environmental justice part of their                 for considering potential EJ concerns as              not practicable to assess. This rule will
                                            mission by identifying and addressing,                   a result of this action can be found in               reduce GHG emissions, which will
                                            as appropriate, disproportionately high                  Sections I.B and IV.E, and our EJ                     benefit communities with


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                                            environmental justice concerns. The                      additives, Gasoline, Imports, Oil                     animal manure, crop residues, or
                                            manner in which the market responds to                   imports, Petroleum, Renewable fuel.                   separated yard waste with an adjusted
                                            the provisions in this rule could also                                                                         cellulosic content of at least 75%. Each
                                                                                                     Michael S. Regan,
                                            have non-GHG impacts. Replacing                                                                                and every material processed in an
                                                                                                     Administrator.                                        agricultural digester must have an
                                            petroleum fuels with renewable fuels
                                            can also have localized impacts on                         For the reasons set forth in the                    adjusted cellulosic content of at least
                                            water and air exposure for communities                   preamble, EPA amends 40 CFR parts 80                  75%.
                                            living near facilities that produce                      and 1090 as follows:                                     Algae grown photosynthetically are
                                            renewable fuel, gasoline, or diesel fuel.                                                                      algae that are grown such that their
                                                                                                     PART 80—REGULATION OF FUELS                           energy and carbon are predominantly
                                            Replacing petroleum fuels with                           AND FUEL ADDITIVES
                                            renewable fuels is projected to have                                                                           derived from photosynthesis.
                                            marginal impacts on food and fuel                                                                                 Annual cover crop means an annual
                                                                                                     ■ 1. The authority citation for part 80
                                                                                                                                                           crop, planted as a rotation between
                                            prices. These price impacts may have                     continues to read as follows:                         primary planted crops, or between trees
                                            disproportionate impacts on low-                           Authority: 42 U.S.C. 7414, 7521, 7542,              and vines in orchards and vineyards,
                                            income populations who spend a larger                    7545, and 7601(a).                                    typically to protect soil from erosion
                                            proportion of their income on food and                                                                         and to improve the soil between periods
                                            fuel. EPA received public comment                        Subpart A—General Provisions                          of regular crops. An annual cover crop
                                            from several groups concerned about the                                                                        has no existing market to which it can
                                            use of biogas in the RFS, particularly                   ■ 2. Revise § 80.2 to read as follows:
                                                                                                                                                           be sold except for its use as feedstock
                                            from landfills and concentrated animal                   § 80.2   Definitions.                                 for the production of renewable fuel.
                                            feeding operations. EPA solicited                           The definitions of this section apply                 Approved pathway means a pathway
                                            further discussion from these groups                     in this part unless otherwise specified.              listed in table 1 to § 80.1426 or in a
                                            when considering the environmental                       Note that many terms defined here are                 petition approved under § 80.1416 that
                                            justice impacts of this rule. The majority               common terms that have specific                       is eligible to generate RINs of a
                                            of the comments and feedback received                    meanings under this part.                             particular D code.
                                            was focused on potential impacts of the                     Actual peak capacity means 105% of                    Areas at risk of wildfire are those
                                            proposed renewable electricity                           the maximum annual volume of                          areas in the ‘‘wildland-urban interface’’,
                                            provisions, which we have decided not                    renewable fuels produced from a                       where humans and their development
                                            to finalize with this action. However,                   specific renewable fuel production                    meet or intermix with wildland fuel.
                                            EPA will continue to engage with                         facility on a calendar year basis.                    Note that, for guidance, the SILVIS
                                            stakeholders on impacts of the RFS                          (1) For facilities that commenced                  laboratory at the University of
                                            program related to biogas use and                        construction prior to December 19,                    Wisconsin maintains a website that
                                            expansion.                                               2007, the actual peak capacity is based               provides a detailed map of areas
                                                                                                     on the last five calendar years prior to              meeting this criteria at:
                                            K. Congressional Review Act (CRA)                        2008, unless no such production exists,               www.silvis.forest.wisc.edu/projects/US_
                                                                                                     in which case actual peak capacity is                 WUI_2000.asp. The SILVIS laboratory is
                                              This action is subject to the CRA, and
                                                                                                     based on any calendar year after startup              located at 1630 Linden Drive, Madison,
                                            EPA will submit a rule report to each                                                                          Wisconsin 53706 and can be contacted
                                                                                                     during the first three years of operation.
                                            House of the Congress and to the                                                                               at (608) 263–4349.
                                                                                                        (2) For facilities that commenced
                                            Comptroller General of the United                                                                                 A–RIN means a RIN verified during
                                                                                                     construction after December 19, 2007
                                            States. This action is a ‘‘major rule’’ as               and before January 1, 2010, that are fired            the interim period by a registered
                                            defined by 5 U.S.C. 804(2).                              with natural gas, biomass, or a                       independent third-party auditor using a
                                            XII. Statutory Authority                                 combination thereof, the actual peak                  QAP that has been approved under
                                                                                                     capacity is based on any calendar year                § 80.1469(a) following the audit process
                                              Statutory authority for this action                    after startup during the first three years            specified in § 80.1472.
                                            comes from sections 114, 203–05, 208,                    of operation.                                            Assigned RIN means a RIN assigned to
                                            211, and 301 of the Clean Air Act, 42                       (3) For all other facilities not included          a volume of renewable fuel or RNG
                                            U.S.C. 7414, 7522–24, 7542, 7545, and                    above, the actual peak capacity is based              pursuant to § 80.1426(e) or § 80.125(c),
                                            7601.                                                    on the last five calendar years prior to              respectively, with a K code of 1.
                                                                                                     the year in which the owner or operator                  Audited facility means any facility
                                            List of Subjects                                         registers the facility under the                      audited under an approved quality
                                            40 CFR Part 80                                           provisions of § 80.1450, unless no such               assurance plan under this part.
                                                                                                     production exists, in which case actual                  Audited party means a party that pays
                                              Environmental protection,                              peak capacity is based on any calendar                for or receives services from an
                                            Administrative practice and procedure,                   year after startup during the first three             independent third party under this part.
                                            Air pollution control, Diesel fuel, Fuel                 years of operation.                                      Baseline lifecycle greenhouse gas
                                            additives, Gasoline, Imports,                               Adjusted cellulosic content means the              emissions means the average lifecycle
                                            Incorporation by reference, Oil imports,                 percent of organic material that is                   greenhouse gas emissions for gasoline or
                                            Petroleum, Renewable fuel.                               cellulose, hemicellulose, and lignin.                 diesel (whichever is being replaced by
                                                                                                        Advanced biofuel means renewable                   the renewable fuel) sold or distributed
                                            40 CFR Part 1090                                         fuel, other than ethanol derived from                 as transportation fuel in 2005.
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                                                                                                     cornstarch, that has lifecycle greenhouse                Baseline volume means the permitted
                                              Environmental protection,
                                                                                                     gas emissions that are at least 50 percent            capacity or, if permitted capacity cannot
                                            Administrative practice and procedure,
                                                                                                     less than baseline lifecycle greenhouse               be determined, the actual peak capacity
                                            Air pollution control, Diesel fuel, Fuel
                                                                                                     gas emissions.                                        or nameplate capacity as applicable
                                                                                                        Agricultural digester means an                     pursuant to § 80.1450(b)(1)(v)(A)
                                                                                                     anaerobic digester that processes only                through (C), of a specific renewable fuel


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                                            production facility on a calendar year                      Biogas used as a biointermediate                   greenhouse gas emissions that are at
                                            basis.                                                   means biogas or treated biogas that a                 least 50 percent less than baseline
                                               Batch pathway means each                              renewable fuel producer uses to                       lifecycle greenhouse gas emissions and
                                            combination of approved pathway,                         produce renewable fuel other than                     meets all of the requirements of
                                            equivalence value as determined under                    renewable CNG/LNG at a separate                       paragraph (1) of this definition:
                                            § 80.1415, and verification status for                   facility from where the biogas is                        (1)(i) Is a transportation fuel,
                                            which a facility is registered.                          produced.                                             transportation fuel additive, heating oil,
                                               Biocrude means a liquid                                  Biointermediate means any feedstock                or jet fuel.
                                            biointermediate that meets all the                       material that is intended for use to                     (ii) Meets the definition of either
                                            following requirements:                                  produce renewable fuel and meets all                  biodiesel or non-ester renewable diesel.
                                               (1) It is produced at a biointermediate               the following requirements:                              (iii) Is registered as a motor vehicle
                                            production facility using one or more of                    (1) It is produced from renewable                  fuel or fuel additive under 40 CFR part
                                            the following processes:                                 biomass.                                              79, if the fuel or fuel additive is
                                               (i) A process identified in row M                        (2) It has not previously had RINs                 intended for use in a motor vehicle.
                                            under table 1 to § 80.1426.                              generated for it.                                        (2) Renewable fuel produced from
                                               (ii) A process identified in a pathway                   (3) It is produced at a facility                   renewable biomass that is co-processed
                                            listed in a petition approved under                      registered with EPA that is different                 with petroleum is not biomass-based
                                            § 80.1416 for the production of                          than the facility at which it is used as              diesel.
                                            renewable fuel produced from biocrude.                   feedstock material to produce renewable                  Biomass-based sugars means sugars
                                               (2) It is to be used to produce                       fuel.                                                 (e.g., dextrose, sucrose, etc.) extracted
                                            renewable fuel at a refinery as defined                     (4) It is produced from the feedstock              from renewable biomass under an
                                            in 40 CFR 1090.80.                                       material identified in an approved                    approved pathway, other than through a
                                               Biodiesel means a mono-alkyl ester                    pathway, will be used to produce the                  form change specified in § 80.1460(k)(2).
                                            that meets ASTM D6751 (incorporated                      renewable fuel listed in that approved                   Biomethane means methane produced
                                            by reference, see § 80.12).                              pathway, and is produced and                          from renewable biomass.
                                               Biodiesel distillation bottoms means                  processed in accordance with the                         B–RIN means a RIN verified during
                                            the heavier product from distillation at                 process(es) listed in that approved                   the interim period by a registered
                                            a biodiesel production facility that does                pathway.                                              independent third-party auditor using a
                                            not meet the definition of biodiesel.                       (5) Is one of the following types of               QAP that has been approved under
                                               Biogas means a mixture of                             biointermediate:                                      § 80.1469(b) following the audit process
                                            biomethane, inert gases, and impurities                     (i) Biocrude.                                      specified in § 80.1472.
                                            that meets all the following                                (ii) Biodiesel distillate bottoms.                    Business day has the meaning given
                                            requirements:                                               (iii) Biomass-based sugars.                        in 40 CFR 1090.80.
                                               (1) It is produced through the                           (iv) Digestate.                                       Canola/Rapeseed oil means either of
                                            anaerobic digestion of renewable                            (v) Free fatty acid (FFA) feedstock.               the following:
                                            biomass under an approved pathway.                          (vi) Glycerin.                                        (1) Canola oil is oil from the plants
                                               (2) Non-renewable components have                        (vii) Soapstock.                                   Brassica napus, Brassica rapa, Brassica
                                            not been added.                                             (viii) Undenatured ethanol.                        juncea, Sinapis alba, or Sinapis
                                               (3) It requires removal of additional                    (ix) Biogas used to make a renewable               arvensis, and which typically contains
                                            components to be suitable for its                        fuel other than renewable CNG/LNG.                    less than 2 percent erucic acid in the
                                            designated use (e.g., as a                                  (6) It is not a feedstock material                 component fatty acids obtained.
                                            biointermediate, to produce RNG, or to                   identified in an approved pathway that                   (2) Rapeseed oil is the oil obtained
                                            produce biogas-derived renewable fuel).                  is used to produce the renewable fuel                 from the plants Brassica napus, Brassica
                                               Biogas closed distribution system                     specified in that approved pathway.                   rapa, or Brassica juncea.
                                            means the infrastructure contained                          Biointermediate import facility means                 Carrier means any distributor who
                                            between when biogas is produced and                      any facility as defined in 40 CFR                     transports or stores or causes the
                                            when biogas or treated biogas is used to                 1090.80 where a biointermediate is                    transportation or storage of gasoline or
                                            produce biogas-derived renewable fuel                    imported from outside the covered                     diesel fuel without taking title to or
                                            within a discrete location or series of                  location into the covered location.                   otherwise having any ownership of the
                                            locations that does not include                             Biointermediate importer means any                 gasoline or diesel fuel, and without
                                            placement of biogas, treated biogas, or                  person who owns, leases, operates,                    altering either the quality or quantity of
                                            RNG on a natural gas commercial                          controls, or supervises a biointermediate             the gasoline or diesel fuel.
                                            pipeline system.                                         import facility.                                         Category 3 (C3) marine vessels, for the
                                               Biogas closed distribution system RIN                    Biointermediate producer means any                 purposes of this part 80, are vessels that
                                            generator means any party that                           person who owns, leases, operates,                    are propelled by engines meeting the
                                            generates RINs for renewable CNG/LNG                     controls, or supervises a biointermediate             definition of ‘‘Category 3’’ in 40 CFR
                                            in a biogas closed distribution system.                  production facility.                                  1042.901.
                                               Biogas-derived renewable fuel means                      Biointermediate production facility                   CBOB means gasoline blendstock that
                                            renewable CNG/LNG or any other                           means all of the activities and                       could become conventional gasoline
                                            renewable fuel that is produced from                     equipment associated with the                         solely upon the addition of oxygenate.
                                            biogas or RNG, including from biogas                     production of a biointermediate starting                 Cellulosic biofuel means renewable
                                            used as a biointermediate.                               from the point of delivery of feedstock               fuel derived from any cellulose, hemi-
                                               Biogas producer means any person                      material to the point of final storage of             cellulose, or lignin that has lifecycle
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                                            who owns, leases, operates, controls, or                 the end biointermediate product, which                greenhouse gas emissions that are at
                                            supervises a biogas production facility.                 are located on one property, and are                  least 60 percent less than the baseline
                                               Biogas production facility means any                  under the control of the same person (or              lifecycle greenhouse gas emissions.
                                            facility where biogas is produced from                   persons under common control).                           Cellulosic biogas feedstock means an
                                            renewable biomass under an approved                         Biomass-based diesel means a                       individual feedstock used to produce
                                            pathway.                                                 renewable fuel that has lifecycle                     biogas that contains at least 75%


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                                            average adjusted cellulosic content and                  under the oxygenated gasoline program                 approval from EPA to opt-in to the RFS
                                            whose batch pathway has been assigned                    may be sold or dispensed, with                        program under § 80.1443.
                                            a D code of 3 or 7.                                      boundaries determined by Clean Air Act                   Crop residue means biomass left over
                                               Cellulosic diesel is any renewable fuel               section 211(m) (42 U.S.C. 7545(m)).                   from the harvesting or processing of
                                            which meets both the definitions of                         Control period means the period                    planted crops from existing agricultural
                                            cellulosic biofuel and biomass-based                     during which oxygenated gasoline must                 land and any biomass removed from
                                            diesel. Cellulosic diesel includes                       be sold or dispensed in any control area,             existing agricultural land that facilitates
                                            heating oil and jet fuel produced from                   pursuant to Clean Air Act section                     crop management (including biomass
                                            cellulosic feedstocks.                                   211(m)(2) (42 U.S.C. 7545(m)(2)).                     removed from such lands in relation to
                                               Certified non-transportation 15 ppm                      Conventional gasoline (CG) means                   invasive species control or fire
                                            distillate fuel or certified NTDF means                  any gasoline that has been certified                  management), whether or not the
                                            distillate fuel that meets all the                       under 40 CFR 1090.1000(b) and is not                  biomass includes any portion of a crop
                                            following:                                               RFG.                                                  or crop plant. Biomass is considered
                                               (1) The fuel has been certified under                    Co-processed means that renewable                  crop residue only if the use of that
                                            40 CFR 1090.1000 as meeting the ULSD                     biomass or a biointermediate was                      biomass for the production of renewable
                                            standards in 40 CFR 1090.305.                            simultaneously processed with fossil                  fuel has no significant impact on
                                               (2) The fuel has been designated                      fuels or other non-renewable feedstock                demand for the feedstock crop, products
                                            under 40 CFR 1090.1015 as certified                      in the same unit or units to produce a                produced from that feedstock crop, and
                                            NTDF.                                                    fuel that is partially derived from                   all substitutes for the crop and its
                                               (3) The fuel has also been designated                 renewable biomass or a biointermediate.               products, nor any other impact that
                                            under 40 CFR 1090.1015 as 15 ppm                            Co-processed cellulosic diesel is any              would result in a significant increase in
                                            heating oil, 15 ppm ECA marine fuel, or                  renewable fuel that meets the definition              direct or indirect GHG emissions.
                                            other non-transportation fuel (e.g., jet                 of cellulosic biofuel and meets all the                  Cropland is land used for production
                                            fuel, kerosene, or distillate global                     requirements of paragraph (1) of this                 of crops for harvest and includes
                                            marine fuel).                                            definition:                                           cultivated cropland, such as for row
                                               (4) The fuel has not been designated                     (1)(i) Is a transportation fuel,                   crops or close-grown crops, and non-
                                            under 40 CFR 1090.1015 as ULSD or 15                     transportation fuel additive, heating oil,            cultivated cropland, such as for
                                            ppm MVNRLM diesel fuel.                                  or jet fuel.
                                               (5) The PTD for the fuel meets the                                                                          horticultural or aquatic crops.
                                                                                                        (ii) Meets the definition of either                   Diesel fuel means any of the
                                            requirements in § 80.1453(e).
                                               Combined heat and power (CHP), also                   biodiesel or non-ester renewable diesel.              following:
                                                                                                        (iii) Is registered as a motor vehicle                (1) Any fuel sold in any State or
                                            known as cogeneration, refers to
                                                                                                     fuel or fuel additive under 40 CFR part               Territory of the United States and
                                            industrial processes in which waste heat
                                                                                                     79, if the fuel or fuel additive is                   suitable for use in diesel engines, and
                                            from the production of electricity is
                                                                                                     intended for use in a motor vehicle.                  that is one of the following:
                                            used for process energy in a
                                                                                                        (2) Co-processed cellulosic diesel                    (i) A distillate fuel commonly or
                                            biointermediate or renewable fuel
                                                                                                     includes all the following:                           commercially known or sold as No. 1
                                            production facility.
                                                                                                        (i) Heating oil and jet fuel produced              diesel fuel or No. 2 diesel fuel.
                                               Continuous measurement means the
                                            automated measurement of specified                       from cellulosic feedstocks.                              (ii) A non-distillate fuel other than
                                                                                                        (ii) Cellulosic biofuel produced from              residual fuel with comparable physical
                                            parameters of biogas, treated biogas, or
                                                                                                     cellulosic feedstocks co-processed with               and chemical properties (e.g., biodiesel
                                            natural gas as follows:
                                               (1) For in-line GC meters, automated                  petroleum.                                            fuel).
                                            measurement must occur and be                               Corn oil extraction means the                         (iii) A mixture of fuels meeting the
                                            recorded no less frequent than once                      recovery of corn oil from the thin                    criteria of paragraphs (1)(i) and (ii) of
                                            every 15 minutes.                                        stillage and/or the distillers grains and             this definition.
                                               (2) For flow meters, automated                        solubles produced by a dry mill corn                     (2) For purposes of subpart M of this
                                            measurement must occur no less                           ethanol plant, most often by mechanical               part, any and all of the products
                                            frequent than once every 6 seconds, and                  separation.                                           specified at § 80.1407(e).
                                            weighted totals of such measurement                         Corn oil fractionation means a process               Digestate means the material that
                                            must be recorded at no more than 1                       whereby seeds are divided in various                  remains following the anaerobic
                                            minute intervals.                                        components and oils are removed prior                 digestion of renewable biomass in an
                                               (3) For all other meters, automated                   to fermentation for the production of                 anaerobic digester. Digestate must only
                                            measurement and recording must occur                     ethanol.                                              contain the leftovers that were unable to
                                            at a frequency specified at registration.                   Corporate affiliate means one of the               be completely converted to biogas in an
                                               Contractual affiliate means one of the                following:                                            anaerobic digestor that is part of an
                                            following:                                                  (1) Two RIN-holding parties are                    EPA-accepted registration under
                                               (1) Two parties are contractual                       corporate affiliates if one owns or                   § 80.1450.
                                            affiliates if they have an explicit or                   controls ownership of more than 20                      Distillate fuel means diesel fuel and
                                            implicit agreement in place for one to                   percent of the other.                                 other petroleum fuels that can be used
                                            purchase or hold RINs on behalf of the                      (2) Two RIN-holding parties are                    in engines that are designed for diesel
                                            other or to deliver RINs to the other.                   corporate affiliates if one parent                    fuel. For example, jet fuel, heating oil,
                                            This other party may or may not be                       company owns or controls ownership of                 kerosene, No. 4 fuel, DMX, DMA, DMB,
                                            registered under the RFS program.                        more than 20 percent of both.                         and DMC are distillate fuels; and natural
                                               (2) Two parties are contractual                          Corporate affiliate group means a                  gas, LPG, gasoline, and residual fuel are
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                                            affiliates if one RIN-owning party                       group of parties in which each party is               not distillate fuels. Blends containing
                                            purchases or holds RINs on behalf of the                 a corporate affiliate to at least one other           residual fuel may be distillate fuels.
                                            other. This other party may or may not                   party in the group.                                     Distillers corn oil means corn oil
                                            be registered under the RFS program.                        Covered location means the                         recovered at any point downstream of
                                               Control area means a geographic area                  contiguous 48 states, Hawaii, and any                 when a dry mill ethanol or butanol
                                            in which only oxygenated gasoline                        state or territory that has received an               plant grinds the corn, provided that the


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                                            corn starch is converted to ethanol or                   imperiled, imperiled or rare pursuant to                 (iv) Documented management in
                                            butanol, the recovered oil is unfit for                  a State Natural Heritage Program. For                 accordance with a certification program
                                            human food use without further                           examples of such ecological                           for agricultural products.
                                            refining, and the distillers grains                      communities, see ‘‘Listing of Forest                     Exporter of renewable fuel means all
                                            remaining after the dry mill and oil                     Ecological Communities Pursuant to 40                 buyers, sellers, and owners of the
                                            recovery processes are marketable as                     CFR 80.1401; S1–S3 communities,’’                     renewable fuel in any transaction that
                                            animal feed.                                             which is number EPA–HQ–OAR–2005–                      results in renewable fuel being
                                               Distillers sorghum oil means grain                    0161–1034.1 in the public docket, and                 transferred from a covered location to a
                                            sorghum oil recovered at any point                       ‘‘Listing of Forest Ecological                        destination outside of the covered
                                            downstream of when a dry mill ethanol                    Communities Pursuant to 40 CFR                        locations.
                                            or butanol plant grinds the grain                        80.1401; G1–G2 communities,’’ which is                   Facility means all of the activities and
                                            sorghum, provided that the grain                         number EPA–HQ–OAR–2005–0161–                          equipment associated with the
                                            sorghum is converted to ethanol or                       2906.1 in the public docket. This                     production of renewable fuel, biogas,
                                            butanol, the recovered oil is unfit for                  material is available for inspection at               treated biogas, RNG, or a
                                            human food use without further                           the EPA Docket Center, EPA/DC, EPA                    biointermediate—starting from the point
                                            refining, and the distillers grains                      West, Room 3334, 1301 Constitution                    of delivery of feedstock material to the
                                            remaining after the dry mill and oil                     Ave. NW, Washington, DC. The                          point of final storage of the end
                                            recovery processes are marketable as                     telephone number for the Air Docket is                product—that are located on one
                                            animal feed.                                             (202) 566–1742.                                       property and are under the control of
                                               Distributor means any person who                         (2) Old growth or late successional,               the same person (or persons under
                                            transports or stores or causes the                       characterized by trees at least 200 years             common control).
                                            transportation or storage of gasoline or                 in age.                                                  Fallow means cropland, pastureland,
                                            diesel fuel at any point between any                                                                           or land enrolled in the Conservation
                                                                                                        End of day means 7 a.m. Coordinated
                                            gasoline or diesel fuel refinery or                                                                            Reserve Program (administered by the
                                                                                                     Universal Time (UTC).
                                            importer’s facility and any retail outlet                                                                      U.S. Department of Agriculture’s Farm
                                                                                                        Energy cane means a complex hybrid                 Service Agency) that is intentionally left
                                            or wholesale purchaser-consumer’s
                                                                                                     in the Saccharum genus that has been                  idle to regenerate for future agricultural
                                            facility.
                                                                                                     bred to maximize cellulosic rather than               purposes with no seeding or planting,
                                               DX RIN means a RIN with a D code
                                                                                                     sugar content. For the purposes of this               harvesting, mowing, or treatment during
                                            of X, where X is the D code of the
                                                                                                     part:                                                 the fallow period.
                                            renewable fuel as identified under
                                            § 80.1425(g), generated under § 80.1426,                    (1) Energy cane excludes the species                  Feedstock aggregator means any
                                            and submitted under § 80.1452. For                       Saccharum spontaneum, but may                         person who collects feedstock from
                                            example, a D6 RIN is a RIN with a D                      include hybrids derived from S.                       feedstock suppliers or other feedstock
                                            code of 6.                                               spontaneum that have been developed                   aggregators and distributes such
                                               ECA marine fuel is diesel, distillate,                and publicly released by USDA; and                    feedstock to a renewable fuel producer,
                                            or residual fuel that meets the criteria of                 (2) Energy cane only includes                      biointermediate producer, or other
                                            paragraph (1) of this definition, but not                cultivars that have, on average, at least             feedstock aggregator.
                                            the criteria of paragraph (2) of this                    75% adjusted cellulosic content on a                     Feedstock supplier means any person
                                            definition.                                              dry mass basis.                                       who generates and supplies feedstock to
                                               (1) All diesel, distillate, or residual                  EPA Moderated Transaction System                   a feedstock aggregator, renewable fuel
                                            fuel used, intended for use, or made                     (EMTS) means a closed, EPA moderated                  producer, biogas producer, or
                                            available for use in Category 3 marine                   system that provides a mechanism for                  biointermediate producer.
                                            vessels while the vessels are operating                  screening and tracking RINs under                        Foreign biogas producer means any
                                            within an Emission Control Area (ECA),                   § 80.1452.                                            person who owns, leases, operates,
                                            or an ECA associated area, is ECA                           Existing agricultural land is cropland,            controls, or supervises a biogas
                                            marine fuel, unless it meets the criteria                pastureland, and land enrolled in the                 production facility outside of the United
                                            of paragraph (2) of this definition.                     Conservation Reserve Program                          States.
                                               (2) ECA marine fuel does not include                  (administered by the U.S. Department of                  Foreign ethanol producer means a
                                            any of the following fuel:                               Agriculture’s Farm Service Agency) that               foreign renewable fuel producer who
                                               (i) Fuel used by exempted or excluded                 was cleared or cultivated prior to                    produces ethanol for use in
                                            vessels (such as exempted steamships),                   December 19, 2007, and that, on                       transportation fuel, heating oil, or jet
                                            or fuel used by vessels allowed by the                   December 19, 2007, was:                               fuel but who does not add ethanol
                                            U.S. government pursuant to MARPOL                          (1) Nonforested; and                               denaturant to their product as specified
                                            Annex VI Regulation 3 or Regulation 4                                                                          in paragraph (2) of the definition of
                                                                                                        (2) Actively managed as agricultural
                                            to exceed the fuel sulfur limits while                                                                         ‘‘renewable fuel’’ in this section.
                                                                                                     land or fallow, as evidenced by records                  Foreign renewable fuel producer
                                            operating in an ECA or an ECA                            which must be traceable to the land in
                                            associated area (see 33 U.S.C. 1903).                                                                          means a person from a foreign country
                                                                                                     question, which must include one of the               or from an area outside the covered
                                               (ii) Fuel that conforms fully to the
                                                                                                     following:                                            location who produces renewable fuel
                                            requirements of this part for MVNRLM
                                            diesel fuel (including being designated                     (i) Records of sales of planted crops,             for use in transportation fuel, heating
                                            as MVNRLM).                                              crop residue, or livestock, or records of             oil, or jet fuel for export to the covered
                                               (iii) Fuel used, or made available for                purchases for land treatments such as                 location. Foreign ethanol producers are
                                            use, in any diesel engines not installed                 fertilizer, weed control, or seeding.                 considered foreign renewable fuel
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                                            on a Category 3 marine vessel.                              (ii) A written management plan for                 producers.
                                               Ecologically sensitive forestland                     agricultural purposes.                                   Foreign RNG producer means any
                                            means forestland that meets either of the                   (iii) Documented participation in an               person who owns, leases, operates,
                                            following criteria:                                      agricultural management program                       controls, or supervises an RNG
                                               (1) An ecological community with a                    administered by a Federal, state, or local            production facility outside of the United
                                            global or state ranking of critically                    government agency.                                    States.


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                                               Forestland is generally undeveloped                   liquid at STP and contain no more than                distillation test method specified in 40
                                            land covering a minimum area of 1 acre                   2.5% mass solids.                                     CFR 1065.1010 to determine the T90 of
                                            upon which the primary vegetative                           Importer means any person who                      the fuel.
                                            species are trees, including land that                   imports transportation fuel or renewable                 (1) Any diesel fuel that is sold for use
                                            formerly had such tree cover and that                    fuel into the covered location from an                in stationary engines that are required to
                                            will be regenerated and tree plantations.                area outside of the covered location.                 meet the requirements of 40 CFR
                                            Tree-covered areas in intensive                             Independent third-party auditor                    1090.300, when such provisions are
                                            agricultural crop production settings,                   means a party meeting the requirements                applicable to nonroad engines, is
                                            such as fruit orchards, or tree-covered                  of § 80.1471(b) that conducts QAP                     considered MVNRLM diesel fuel.
                                            areas in urban settings, such as city                    audits and verifies RINs,                                (2) [Reserved]
                                            parks, are not considered forestland.                    biointermediates, or biogas.                             Nameplate capacity means the peak
                                               Free fatty acid (FFA) feedstock means                    Interim period means the period                    design capacity of a facility for the
                                            a biointermediate that is composed of at                 between February 21, 2013, and                        purposes of registration of a facility
                                            least 50 percent free fatty acids. FFA                   December 31, 2014.                                    under this part.
                                            feedstock must not include any free                         Jet fuel means any distillate fuel used,              Naphtha means a blendstock or fuel
                                            fatty acids from the refining of crude                   intended for use, or made available for               blending component falling within the
                                            palm oil.                                                use in aircraft.                                      boiling range of gasoline, which is
                                               Fuel for use in an ocean-going vessel                    Kerosene means any No.1 distillate                 composed of only hydrocarbons, is
                                            means, for this part only:                               fuel commonly or commercially sold as                 commonly or commercially known as
                                               (1) Any marine residual fuel (whether                 kerosene.                                             naphtha, and is used to produce
                                            burned in ocean waters, Great Lakes, or                     Liquefied petroleum gas (LPG) means                gasoline or E85 (as defined in 40 CFR
                                            other internal waters);                                  a liquid hydrocarbon fuel that is stored              1090.80) through blending.
                                               (2) Emission Control Area (ECA)                       under pressure and is composed                           Natural gas means a fuel whose
                                            marine fuel, pursuant to § 80.2 and 40                   primarily of species that are gases at                primary constituent is methane. Natural
                                            CFR 1090.80 (whether burned in ocean                     atmospheric conditions (temperature =                 gas includes RNG.
                                            waters, Great Lakes, or other internal                   25 °C and pressure = 1 atm), excluding                   Natural gas commercial pipeline
                                            waters); and                                             natural gas.                                          system means one or more connected
                                               (3) Any other fuel intended for use                      Locomotive engine means an engine                  pipelines that transport natural gas that
                                            only in ocean-going vessels.                             used in a locomotive as defined under                 meets all the following:
                                               Gasoline means any of the following:                  40 CFR 92.2.                                             (1) The natural gas originates from
                                               (1) Any fuel sold in the United States                   Marine engine has the meaning given                multiple parties.
                                            for use in motor vehicles and motor                      in 40 CFR 1042.901.                                      (2) The natural gas meets
                                            vehicle engines, and commonly or                            Membrane separation means the                      specifications set by the pipeline owner
                                            commercially known or sold as                            process of dehydrating ethanol to fuel                or operator.
                                            gasoline.                                                grade (>99.5% purity) using a                            (3) The natural gas is delivered to
                                               (2) For purposes of subpart M of this                 hydrophilic membrane.                                 multiple parties in the covered location.
                                            part, any and all of the products                           Mixed digester means an anaerobic                     Neat renewable fuel is a renewable
                                            specified at § 80.1407(c).                               digester that has received feedstocks                 fuel to which 1% or less of gasoline (as
                                               Gasoline blendstock or component                      under both an approved pathway with                   defined in this section) or diesel fuel
                                            means any liquid compound that is                        D code 3 or 7 and an approved pathway                 has been added.
                                            blended with other liquid compounds to                   with D code 5 during the current                         Non-ester renewable diesel or
                                            produce gasoline.                                        calendar month or the previous two                    renewable diesel means renewable fuel
                                               Gasoline blendstock for oxygenate                     calendar months.                                      that is not a mono-alkyl ester and that
                                            blending (BOB) has the meaning given                        Motor vehicle has the meaning given                is either:
                                            in 40 CFR 1090.80.                                       in Section 216(2) of the Clean Air Act                   (1) A fuel or fuel additive that meets
                                               Gasoline treated as blendstock                        (42 U.S.C. 7550(2)).                                  the Grade No. 1–D or No. 2–D
                                            (GTAB) means imported gasoline that is                      Municipal wastewater treatment                     specification in ASTM D975
                                            excluded from an import facility’s                       facility digester means an anaerobic                  (incorporated by reference, see § 80.12)
                                            compliance calculations, but is treated                  digester that processes only municipal                and can be used in an engine designed
                                            as blendstock in a related refinery that                 wastewater treatment plant sludge with                to operate on conventional diesel fuel;
                                            includes the GTAB in its refinery                        an adjusted cellulosic content of at least            or
                                            compliance calculations.                                 75%.                                                     (2) A fuel or fuel additive that is
                                               Glycerin means a coproduct from the                      MVNRLM diesel fuel means any diesel                registered under 40 CFR part 79 and can
                                            production of biodiesel that primarily                   fuel or other distillate fuel that is used,           be used in an engine designed to operate
                                            contains glycerol.                                       intended for use, or made available for               using conventional diesel fuel.
                                               Heating oil means any of the                          use in motor vehicles or motor vehicle                   Nonforested land means land that is
                                            following:                                               engines, or as a fuel in any nonroad                  not forestland.
                                               (1) Any No. 1, No. 2, or non-                         diesel engines, including locomotive                     Non-petroleum diesel means a diesel
                                            petroleum diesel blend that is sold for                  and marine diesel engines, except the                 fuel that contains at least 80 percent
                                            use in furnaces, boilers, and similar                    following: Distillate fuel with a T90 at              mono-alkyl esters of long chain fatty
                                            applications and which is commonly or                    or above 700 °F that is used only in                  acids derived from vegetable oils or
                                            commercially known or sold as heating                    Category 2 and 3 marine engines is not                animal fats.
                                            oil, fuel oil, and similar trade names,                  MVNRLM diesel fuel, and ECA marine                       Non-qualifying fuel use means a use
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                                            and that is not jet fuel, kerosene, or                   fuel is not MVNRLM diesel fuel (note                  of renewable fuel in an application
                                            MVNRLM diesel fuel.                                      that fuel that conforms to the                        other than transportation fuel, heating
                                               (2) Any fuel oil that is used to heat or              requirements of MVNRLM diesel fuel is                 oil, or jet fuel.
                                            cool interior spaces of homes or                         excluded from the definition of ‘‘ECA                    Non-renewable component means any
                                            buildings to control ambient climate for                 marine fuel’’ in this section without                 material (or any portion thereof)
                                            human comfort. The fuel oil must be                      regard to its actual use). Use the                    blended into biogas or RNG that does


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                                            not meet the definition of renewable                     on an hourly basis, then annual volume                approved under § 80.1469(c) following
                                            biomass.                                                 output is determined by multiplying the               the audit process specified in § 80.1472.
                                               Non-renewable feedstock means a                       hourly output by 8,322 hours per year.                   Quality assurance audit means an
                                            feedstock (or any portion thereof) that                     (1) For facilities that commenced                  audit of a renewable fuel production
                                            does not meet the definition of                          construction prior to December 19,                    facility or biointermediate production
                                            renewable biomass or biointermediate.                    2007, the permitted capacity is based on              facility conducted by an independent
                                               Non-RIN-generating foreign producer                   permits issued or revised no later than               third-party auditor in accordance with a
                                            means a foreign renewable fuel                           December 19, 2007.                                    QAP that meets the requirements of
                                            producer that has been registered by                        (2) For facilities that commenced                  §§ 80.1469, 80.1472, and 80.1477.
                                            EPA to produce renewable fuel for                        construction after December 19, 2007                     Quality assurance plan (QAP) means
                                            which RINs have not been generated.                      and before January 1, 2010 that are fired             the list of elements that an independent
                                               Nonroad diesel engine means an                        with natural gas, biomass, or a                       third-party auditor will check to verify
                                            engine that is designed to operate with                  combination thereof, the permitted                    that the RINs generated by a renewable
                                            diesel fuel that meets the definition of                 capacity is based on permits issued or                fuel producer or importer are valid or to
                                            nonroad engine in 40 CFR 1068.30,                        revised no later than December 31,                    verify the appropriate production of a
                                            including locomotive and marine diesel                   2009.                                                 biointermediate. A QAP includes both
                                            engines.                                                    (3) For facilities other than those                general and pathway specific elements.
                                               Nonroad vehicle has the meaning                       specified in paragraphs (1) and (2) of                   Raw starch hydrolysis means the
                                            given in Section 216(11) of the Clean                    this definition, permitted capacity is                process of hydrolyzing corn starch into
                                            Air Act (42 U.S.C. 7550(11)).                            based on the most recent applicable                   simple sugars at low temperatures,
                                               Obligated party means any refiner
                                                                                                     permits.                                              generally not exceeding 100 °F (38 °C),
                                            that produces gasoline or diesel fuel                                                                          using enzymes designed to be effective
                                                                                                        Pipeline interconnect means the
                                            within the covered location, or any                                                                            under these conditions.
                                                                                                     physical injection or withdrawal point
                                            importer that imports gasoline or diesel                                                                          Refiner means any person who owns,
                                                                                                     where RNG is injected or withdrawn
                                            fuel into the covered location, during a                                                                       leases, operates, controls, or supervises
                                                                                                     into or from the natural gas commercial
                                            compliance period. A party that simply                                                                         a refinery.
                                                                                                     pipeline system.
                                            blends renewable fuel into gasoline or                                                                            Refinery means any facility, including
                                                                                                        Planted crops are all annual or
                                            diesel fuel, as specified in § 80.1407(c)                                                                      but not limited to, a plant, tanker truck,
                                                                                                     perennial agricultural crops from
                                            or (e), is not an obligated party.                                                                             or vessel where gasoline or diesel fuel
                                               Ocean-going vessel means vessels that                 existing agricultural land that may be
                                                                                                                                                           is produced, including any facility at
                                            are equipped with engines meeting the                    used as feedstocks for renewable fuel,
                                                                                                                                                           which blendstocks are combined to
                                            definition of ‘‘Category 3’’ in 40 CFR                   such as grains, oilseeds, sugarcane,
                                                                                                                                                           produce gasoline or diesel fuel, or at
                                            1042.901.                                                switchgrass, prairie grass, duckweed,
                                                                                                                                                           which blendstock is added to gasoline
                                               Oxygenate means any substance                         and other species (but not including
                                                                                                                                                           or diesel fuel.
                                            which, when added to gasoline,                           algae species or planted trees),                         Reformulated gasoline (RFG) means
                                            increases the oxygen content of that                     providing that they were intentionally                any gasoline whose formulation has
                                            gasoline. Lawful use of any of the                       applied by humans to the ground, a                    been certified under 40 CFR
                                            substances or any combination of these                   growth medium, a pond or tank, either                 1090.1000(b), and which meets each of
                                            substances requires that they be                         by direct application as seed or plant, or            the standards and requirements
                                            ‘‘substantially similar’’ under section                  through intentional natural seeding or                prescribed under 40 CFR 1090.220.
                                            211(f)(1) of the Clean Air Act (42 U.S.C.                vegetative propagation by mature plants                  Reformulated gasoline blendstock for
                                            7545(f)(1)), or be permitted under a                     introduced or left undisturbed for that               oxygenate blending (RBOB) means a
                                            waiver granted by EPA under the                          purpose.                                              petroleum product that, when blended
                                            authority of section 211(f)(4) of the                       Planted trees are trees harvested from             with a specified type and percentage of
                                            Clean Air Act (42 U.S.C. 7545(f)(4)).                    a tree plantation.                                    oxygenate, meets the definition of
                                               Oxygenated gasoline means gasoline                       Pre-commercial thinnings are trees,                reformulated gasoline, and to which the
                                            which contains a measurable amount of                    including unhealthy or diseased trees,                specified type and percentage of
                                            oxygenate.                                               removed to reduce stocking to                         oxygenate is added other than by the
                                               Pastureland is land managed for the                   concentrate growth on more desirable,                 refiner or importer of the RBOB at the
                                            production of select indigenous or                       healthy trees, or other vegetative                    refinery or import facility where the
                                            introduced forage plants for livestock                   material that is removed to promote tree              RBOB is produced or imported.
                                            grazing or hay production, and to                        growth.                                                  Renewable biomass means each of the
                                            prevent succession to other plant types.                    Professional liability insurance means             following (including any incidental, de
                                               Permitted capacity means 105% of                      insurance coverage for liability arising              minimis contaminants that are
                                            the maximum permissible volume                           out of the performance of professional                impractical to remove and are related to
                                            output of renewable fuel that is allowed                 or business duties related to a specific              customary feedstock production and
                                            under operating conditions specified in                  occupation, with coverage being tailored              transport):
                                            the most restrictive of all applicable                   to the needs of the specific occupation.                 (1) Planted crops and crop residue
                                            preconstruction, construction and                        Examples include abstracters,                         harvested from existing agricultural
                                            operating permits issued by regulatory                   accountants, insurance adjusters,                     land cleared or cultivated prior to
                                            authorities (including local, regional,                  architects, engineers, insurance agents               December 19, 2007 and that was
                                            state or a foreign equivalent of a state,                and brokers, lawyers, real estate agents,             nonforested and either actively managed
                                            and federal permits, or permits issued                   stockbrokers, and veterinarians. For                  or fallow on December 19, 2007.
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                                            by foreign governmental agencies) that                   purposes of this definition, professional                (2) Planted trees and tree residue from
                                            govern the construction and/or                           liability insurance does not include                  a tree plantation located on non-federal
                                            operation of the renewable fuel facility,                directors and officers liability insurance.           land (including land belonging to an
                                            based on an annual volume output on                         Q–RIN means a RIN verified by a                    Indian tribe or an Indian individual that
                                            a calendar year basis. If the permit                     registered independent third-party                    is held in trust by the U.S. or subject to
                                            specifies maximum rated volume output                    auditor using a QAP that has been                     a restriction against alienation imposed


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                                            by the U.S.) that was cleared at any time                definition of gasoline blendstock in                     RNG production facility means a
                                            prior to December 19, 2007 and actively                  § 80.2.                                               facility where biogas is upgraded to
                                            managed on December 19, 2007.                               Renewable Identification Number                    RNG under an approved pathway.
                                               (3) Animal waste material and animal                  (RIN) is a unique number generated to                    RNG RIN separator means any person
                                            byproducts.                                              represent a volume of renewable fuel                  registered to separate RINs for RNG
                                               (4) Slash and pre-commercial                          pursuant to §§ 80.1425 and 80.1426.                   under § 80.125(d).
                                            thinnings from non-federal forestland                       (1) Gallon-RIN is a RIN that represents               RNG used as a feedstock or RNG as
                                            (including forestland belonging to an                    an individual gallon of renewable fuel                a feedstock means any RNG used to
                                            Indian tribe or an Indian individual,                    used for compliance purposes pursuant                 produce renewable fuel under § 80.125.
                                            that are held in trust by the United                     to § 80.1427 to satisfy a renewable                      Separated food waste means a
                                            States or subject to a restriction against               volume obligation.                                    feedstock stream consisting of food
                                            alienation imposed by the United                            (2) Batch-RIN is a RIN that represents             waste kept separate since generation
                                            States) that is not ecologically sensitive               multiple gallon-RINs.                                 from other waste materials, and which
                                            forestland.                                                 Renewable liquefied natural gas or                 includes food and beverage production
                                               (5) Biomass (organic matter that is                   renewable LNG means biogas, treated                   waste and post-consumer food and
                                            available on a renewable or recurring                    biogas, or RNG that is liquified (i.e., it            beverage waste.
                                            basis) obtained from within 200 feet of                  is cooled below its boiling point) for use               Separated municipal solid waste or
                                            buildings and other areas regularly                      as transportation fuel and meets the                  separated MSW means material
                                            occupied by people, or of public                         definition of renewable fuel.                         remaining after separation actions have
                                            infrastructure, in an area at risk of                       Renewable natural gas (RNG) means a                been taken to remove recyclable paper,
                                            wildfire.                                                product that meets all the following                  cardboard, plastics, rubber, textiles,
                                               (6) Algae.                                            requirements:                                         metals, and glass from municipal solid
                                               (7) Separated yard waste or food                         (1) It is produced from biogas.                    waste, and which is composed of both
                                            waste, including recycled cooking and                       (2) It does not require removal of                 cellulosic and non-cellulosic materials.
                                            trap grease.                                             additional components to be suitable for                 Separated RIN means a RIN with a K
                                               Renewable compressed natural gas or                                                                         code of 2 that has been separated from
                                                                                                     injection into the natural gas
                                            renewable CNG means biogas, treated                                                                            a volume of renewable fuel or RNG
                                                                                                     commercial pipeline system.
                                            biogas, or RNG that is compressed for                                                                          pursuant to § 80.1429.
                                                                                                        (3) It is used to produce renewable
                                            use as transportation fuel and meets the                                                                          Separated yard waste means a
                                                                                                     fuel.
                                            definition of renewable fuel.                                                                                  feedstock stream consisting of yard
                                                                                                        Residual fuel means a petroleum fuel
                                               Renewable electricity means                                                                                 waste kept separate since generation
                                                                                                     that can only be used in diesel engines
                                            electricity that meets the definition of                                                                       from other waste materials.
                                                                                                     if it is preheated before injection. For
                                            renewable fuel.                                                                                                   Slash is the residue, including
                                               Renewable fuel means a fuel that                      example, No. 5 fuels, No. 6 fuels, and
                                                                                                                                                           treetops, branches, and bark, left on the
                                            meets all the following requirements:                    RM grade marine fuels are residual
                                                                                                                                                           ground after logging or accumulating as
                                               (1)(i) Fuel that is produced either                   fuels. Note: Residual fuels do not
                                                                                                                                                           a result of a storm, fire, delimbing, or
                                            from renewable biomass or from a                         necessarily require heating for storage or
                                                                                                                                                           other similar disturbance.
                                            biointermediate produced from                            pumping.                                                 Small refinery means a refinery for
                                            renewable biomass.                                          Responsible corporate officer (RCO)                which the average aggregate daily crude
                                               (ii) Fuel that is used in the covered                 has the meaning given in 40 CFR                       oil throughput (as determined by
                                            location to replace or reduce the                        1090.80.                                              dividing the aggregate throughput for
                                            quantity of fossil fuel present in a                        Retail outlet means any establishment              the calendar year by the number of days
                                            transportation fuel, heating oil, or jet                 at which gasoline, diesel fuel, natural               in the calendar year) does not exceed
                                            fuel.                                                    gas or liquefied petroleum gas is sold or             75,000 barrels.
                                               (iii) Has lifecycle greenhouse gas                    offered for sale for use in motor vehicles               Soapstock means an emulsion, or the
                                            emissions that are at least 20 percent                   or nonroad engines, including                         oil obtained from separation of that
                                            less than baseline lifecycle greenhouse                  locomotive or marine engines.                         emulsion, produced by washing oils
                                            gas emissions, unless the fuel is exempt                    Retailer means any person who owns,                listed as a feedstock in an approved
                                            from this requirement pursuant to                        leases, operates, controls, or supervises             pathway with water.
                                            § 80.1403.                                               a retail outlet.                                         Standard temperature and pressure
                                               (2) Ethanol covered by this definition                   RIN-generating foreign producer                    (STP) means 60 degrees Fahrenheit and
                                            must be denatured using an ethanol                       means a foreign renewable fuel                        1 atmosphere of pressure.
                                            denaturant as required in 27 CFR parts                   producer that has been registered by                     Transportation fuel means fuel for use
                                            19 through 21. Any volume of ethanol                     EPA to generate RINs for renewable fuel               in motor vehicles, motor vehicle
                                            denaturant added to the undenatured                      it produces.                                          engines, nonroad vehicles, or nonroad
                                            ethanol by a producer or importer in                        RIN generator means any party                      engines (except fuel for use in ocean-
                                            excess of 2 volume percent must not be                   allowed to generate RINs under this                   going vessels).
                                            included in the volume of ethanol for                    part.                                                    Treated biogas means a product that
                                            purposes of determining compliance                          RIN-less RNG means RNG produced                    meets all the following requirements:
                                            with the requirements of this part.                      by a foreign RNG producer and for                        (1) It is produced from biogas.
                                               Renewable gasoline means renewable                    which RINs were not generated by the                     (2) It does not require removal of
                                            fuel produced from renewable biomass                     foreign RNG producer.                                 additional components to be suitable for
                                            that is composed of only hydrocarbons                       RNG importer means any person who                  its designated use (e.g., as a
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                                            and that meets the definition of                         imports RNG into the covered location                 biointermediate or to produce biogas-
                                            gasoline.                                                and generates RINs for the RNG as                     derived renewable fuel).
                                               Renewable gasoline blendstock means                   specified in § 80.125.                                   (3) It is used in a biogas closed
                                            a blendstock produced from renewable                        RNG producer means any person who                  distribution system as a biointermediate
                                            biomass that is composed of only                         owns, leases, operates, controls, or                  or to produce biogas-derived renewable
                                            hydrocarbons and which meets the                         supervises an RNG production facility.                fuel.


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                                               Tree plantation is a stand of no less                 independent third-party auditor, and
                                            than 1 acre composed primarily of trees                  determined by the independent third-
                                            established by hand- or machine-                         party auditor to be valid. Verified RINs                 NARA ............      National Archives and
                                            planting of a seed or sapling, or by                     includes A–RINs, B–RINs, and Q–RINs.                                              Records Administration.
                                            coppice growth from the stump or root                       Wholesale purchaser-consumer                          NTDF ............      Non-transportation 15 ppm
                                            of a tree that was hand- or machine-                     means any person that is an ultimate                                              distillate fuel.
                                                                                                     consumer of gasoline, diesel fuel,                       PIR ................   Potentially invalid RIN.
                                            planted. Tree plantations must have                                                                               PM10 ..............    Particulate matter generally
                                            been cleared prior to December 19, 2007                  natural gas, or liquefied petroleum gas                                           10 micrometers or smaller.
                                            and must have been actively managed                      and which purchases or obtains                           PM2.5 .............    Particulate matter generally
                                            on December 19, 2007, as evidenced by                    gasoline, diesel fuel, natural gas or                                             2.5 micrometers or smaller.
                                            records which must be traceable to the                   liquefied petroleum gas from a supplier                  PTD ...............    Product transfer document.
                                            land in question, which must include:                    for use in motor vehicles or nonroad                     QAP ..............     Quality assurance plan.
                                               (1) Sales records for planted trees or                engines, including locomotive or marine                  RBOB ............      Reformulated gasoline before
                                            tree residue together with other written                 engines and, in the case of gasoline,                                             oxygenate blending.
                                            documentation connecting the land in                     diesel fuel, or liquefied petroleum gas,                 RCO ..............     Responsible corporate offi-
                                                                                                     receives delivery of that product into a                                          cer.
                                            question to these purchases;
                                                                                                                                                              RF .................   Renewable fuel.
                                               (2) Purchasing records for seeds,                     storage tank of at least 550-gallon                      RFS ...............    Renewable Fuel Standard.
                                            seedlings, or other nursery stock                        capacity substantially under the control                 RFS–FRRF ...           RFS foreign refiner renew-
                                            together with other written                              of that person.                                                                   able fuel.
                                            documentation connecting the land in                     ■ 3. Add § 80.3 to read as follows:                      RIN ................   Renewable identification
                                            question to these purchases;                                                                                                               number.
                                               (3) A written management plan for                     § 80.3     Acronyms and abbreviations.                   RNG ..............     Renewable natural gas.
                                            silvicultural purposes;                                                                                           RVO ..............     Renewable volume obliga-
                                               (4) Documentation of participation in                                                                                                   tion.
                                            a silvicultural program sponsored by a                                                                            STP ...............    Standard temperature and
                                                                                                     AB .................    Advanced biofuel.                                         pressure.
                                            Federal, state, or local government                      APHA ............       American Public Health As-       U.S. ...............   United States.
                                            agency;                                                                            sociation.                     ULSD ............      Ultra-low-sulfur diesel fuel.
                                               (5) Documentation of land                             API ................    American Petroleum Institute.    USDA ............      United States Department of
                                            management in accordance with an                         ASTM ............       ASTM International.                                       Agriculture.
                                            agricultural or silvicultural product                    BBD ...............     Biomass-based diesel.            UTC ...............    Coordinated Universal Time.
                                            certification program;                                   BMP ..............      Best management practices.       VCSB ............      Voluntary consensus stand-
                                               (6) An agreement for land                             BOB ..............      Gasoline before oxygenate                                 ards body.
                                            management consultation with a                                                     blending.
                                            professional forester that identifies the                CAA ...............     Clean Air Act.
                                                                                                     CB .................    Cellulosic biofuel.              § 80.4    [Amended]
                                            land in question; or                                     CBOB ............       Conventional gasoline before     ■ 4. Amend § 80.4 by removing the text
                                               (7) Evidence of the existence and                                               oxygenate blending.
                                            ongoing maintenance of a road system                                                                              ‘‘The Administrator or his authorized
                                                                                                     CF .................    Converted fraction.
                                            or other physical infrastructure                                                                                  representative’’ and adding in its place
                                                                                                     CG .................    Conventional gasoline.
                                            designed and maintained for logging                      CHP ..............      Combined heat and power.         the text ‘‘EPA’’.
                                            use, together with one of the above-                     CNG ..............      Compressed natural gas.          ■ 5. Amend § 80.7 by:
                                            mentioned documents.                                     CPI–U ...........       Consumer Price Index for All     ■ a. Revising paragraph (a) introductory
                                               Tree residue is slash and any woody                                             Urban Consumers.               text;
                                            residue generated during the processing                  ECA ...............     Emission Control Area.           ■ b. In paragraph (b), removing the text
                                                                                                     EDRR ............       Early detection and rapid re-    ‘‘the Administrator, the Regional
                                            of planted trees from tree plantations for                                         sponse.
                                            use in lumber, paper, furniture, or other                                                                         Administrator, or their delegates’’ and
                                                                                                     EIA ................    Energy Information Adminis-
                                            applications, provided that such woody                                             tration.
                                                                                                                                                              adding in its place the text ‘‘EPA’’; and
                                            residue is not mixed with similar                                                                                 ■ c. Revising the first sentence of
                                                                                                     EMTS ............       EPA Moderated Transaction
                                            residue from trees that do not originate                                           System.                        paragraph (c).
                                            in tree plantations.                                     EPA ...............     Environmental Protection            The revisions read as follows:
                                               Undenatured ethanol means a liquid                                              Agency.
                                                                                                     EqV ...............     Equivalence value.               § 80.7    Requests for information.
                                            that meets one of the definitions in
                                                                                                     ERVO ............       Exporter renewable volume           (a) When EPA has reason to believe
                                            paragraph (1) of this definition:
                                               (1)(i) Ethanol that has not been                                                obligation.                    that a violation of section 211(c) or
                                            denatured as required in 27 CFR parts
                                                                                                     FE .................    Feedstock energy.                section 211(n) of the Clean Air Act and
                                                                                                     FFA ...............     Free-fatty acid.                 the regulations thereunder has occurred,
                                            19 through 21.                                           GC .................    Gas chromatography.
                                               (ii) Specially denatured alcohol as                                                                            EPA may require any refiner,
                                                                                                     GHG ..............      Greenhouse gas.
                                            defined in 27 CFR 21.11.                                                                                          distributor, wholesale purchaser-
                                                                                                     GTAB ............       Gasoline treated as
                                               (2) Undenatured ethanol is not                                                  blendstock.                    consumer, or retailer to report the
                                            renewable fuel.                                          HACCP .........         Hazard Analysis Critical Con-    following information regarding receipt,
                                               United States has the meaning given                                             trol Point.                    transfer, delivery, or sale of gasoline
                                            in 40 CFR 1090.80.                                       HHV ..............      Higher heating value.            represented to be unleaded gasoline and
                                               Verification status means a                           IBR ................    Incorporation by reference.      to allow the reproduction of such
                                            description of whether biogas, treated                   ID ..................   Identification.                  information at all reasonable times.
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                                                                                                     kWh ...............     Kilowatt-hour.
                                            biogas, RNG, or a RIN has been verified                                                                           *      *    *     *     *
                                                                                                     LE ..................   Limited exemption.
                                            under an EPA-approved quality                            LHV ...............     Lower heating value.
                                                                                                                                                                 (c) Any refiner, distributor, wholesale
                                            assurance plan.                                          LNG ...............     Liquified natural gas.           purchaser-consumer, retailer, or
                                               Verified RIN means a RIN generated                    MSW .............       Municipal solid waste.           importer must provide such other
                                            by a renewable fuel producer that was                    MVNRLM ......           Motor vehicle, nonroad, loco-    information as EPA may reasonably
                                            subject to a QAP audit executed by an                                              motive, or marine.             require to enable the Agency to


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                                            determine whether such refiner,                          on the availability of this material at               as AGA Report 3, Parts 1, 2, 3, and 4,
                                            distributor, wholesale purchaser-                        NARA, visit: www.archives.gov/federal-                respectively.
                                            consumer, retailer, or importer has acted                register/cfr/ibr-locations.html or email                 (b) American Public Health
                                            or is acting in compliance with sections                 fr.inspection@nara.gov. The material                  Association (APHA), 1015 15th Street
                                            211(c) and 211(n) of the Clean Air Act                   may be obtained from the following                    NW, Washington, DC 20005; (202) 777–
                                            and the regulations thereunder and                       sources:                                              2742; www.standardmethods.org.
                                            must, upon request of EPA, produce and                      (a) American Petroleum Institute                      (1) SM 2540, revised June 10, 2020;
                                            allow reproduction of any relevant                       (API), 200 Massachusetts Avenue NW,                   IBR approved for § 80.155(c).
                                            records at all reasonable times. * * *                   Suite 1100, Washington, DC 20001–                        (2) [Reserved]
                                            *      *    *     *     *                                5571; (202) 682–8000; www.api.org.                       (c) ASTM International (ASTM), 100
                                            ■ 6. Revise § 80.8 to read as follows:                      (1) API MPMS 14.1–2016, Manual of                  Barr Harbor Dr., P.O. Box C700, West
                                                                                                     Petroleum Measurement Standards                       Conshohocken, PA 19428–2959; (877)
                                            § 80.8 Sampling methods for gasoline,                    Chapter 14—Natural Gas Fluids                         909–2786; www.astm.org.
                                            diesel fuel, fuel additives, and renewable               Measurement Section 1—Collecting and                     (1) ASTM D975–21, Standard
                                            fuels.                                                   Handling of Natural Gas Samples for                   Specification for Diesel Fuel, approved
                                               (a) Manual sampling. Manual                           Custody Transfer, 7th Edition, May 2016               August 1, 2021 (‘‘ASTM D975’’); IBR
                                            sampling of tanks and pipelines shall be                 (‘‘API MPMS 14.1’’); IBR approved for                 approved for §§ 80.2; 80.1426(f);
                                            performed according to the applicable                    § 80.155(b).                                          80.1450(b); 80.1451(b); 80.1454(l).
                                            procedures specified in ASTM D4057                          (2) API MPMS 14.3.1–2012, Manual of                   (2) ASTM D1250–19e1, Standard
                                            (incorporated by reference, see § 80.12).                Petroleum Measurement Standards                       Guide for the Use of the Joint API and
                                               (b) Automatic sampling. Automatic                     Chapter 14.3.1—Orifice Metering of                    ASTM Adjunct for Temperature and
                                            sampling of petroleum products in                        Natural Gas and Other Related                         Pressure Volume Correction Factors for
                                            pipelines shall be performed according                   Hydrocarbon Fluids—Concentric,                        Generalized Crude Oils, Refined
                                            to the applicable procedures specified                   Square-edged Orifice Meters Part 1:                   Products, and Lubricating Oils: API
                                            in ASTM D4177 (incorporated by                           General Equations and Uncertainty                     MPMS Chapter 11.1, approved May 1,
                                            reference, see § 80.12).                                 Guidelines, 4th Edition, including                    2019 (‘‘ASTM D1250’’); IBR approved
                                               (c) Sampling and sample handling for                  Errata July 2013, Reaffirmed, July 2022               for § 80.1426(f).
                                            volatility measurement. Samples to be                    (‘‘API MPMS 14.3.1’’); IBR approved for                  (3) ASTM D3588–98 (Reapproved
                                            analyzed for Reid Vapor Pressure (RVP)                   § 80.155(a).                                          2017)e1, Standard Practice for
                                            shall be collected and handled                              (3) API MPMS 14.3.2–2016, Manual of                Calculating Heat Value, Compressibility
                                            according to the applicable procedures                   Petroleum Measurement Standards                       Factor, and Relative Density of Gaseous
                                            specified in ASTM D5842 (incorporated                    Chapter 14.3.2—Orifice Metering of                    Fuels, approved April 1, 2017 (‘‘ASTM
                                            by reference, see § 80.12).                              Natural Gas and Other Related
                                               (d) Sample compositing. Composite                                                                           D3588’’); IBR approved for § 80.155(b)
                                                                                                     Hydrocarbon Fluids—Concentric,                        and (f).
                                            samples shall be prepared using the                      Square-edged Orifice Meters Part 2:
                                            applicable procedures specified in                                                                                (4) ASTM D4057–12, Standard
                                                                                                     Specification and Installation                        Practice for Manual Sampling of
                                            ASTM D5854 (incorporated by                              Requirements, 5th Edition, March 2016
                                            reference, see § 80.12).                                                                                       Petroleum and Petroleum Products,
                                                                                                     (‘‘API MPMS 14.3.2’’); IBR approved for               approved December 1, 2012 (‘‘ASTM
                                            ■ 7. Revise § 80.9 to read as follows:                   § 80.155(a).                                          D4057’’); IBR approved for § 80.8(a).
                                            § 80.9    Rounding.                                         (4) API MPMS 14.3.3–2013, Manual of                   (5) ASTM D4177–95 (Reapproved
                                                                                                     Petroleum Measurement Standards                       2010), Standard Practice for Automatic
                                              (a) Test results and calculated values
                                                                                                     Chapter 14.3.3—Orifice Metering of                    Sampling of Petroleum and Petroleum
                                            reported to EPA under this part must be
                                                                                                     Natural Gas and Other Related                         Products, approved May 1, 2010
                                            rounded according to 40 CFR 1090.50(a)
                                                                                                     Hydrocarbon Fluids—Concentric,                        (‘‘ASTM D4177’’); IBR approved for
                                            through (d).
                                              (b) Calculated values under this part                  Square-edged Orifice Meters Part 3:                   § 80.8(b).
                                            may only be rounded when reported to                     Natural Gas Applications, 4th Edition,                   (6) ASTM D4442–20, Standard Test
                                            EPA.                                                     Reaffirmed, June 2021 (‘‘API MPMS                     Methods for Direct Moisture Content
                                              (c) Reported values under this part                    14.3.3’’); IBR approved for § 80.155(a).              Measurement of Wood and Wood-Based
                                            must be submitted using forms and                           (5) API MPMS 14.3.4–2019, Manual of                Materials, approved March 1, 2020
                                            procedures specified by EPA.                             Petroleum Measurement Standards                       (‘‘ASTM D4442’’); IBR approved for
                                                                                                     Chapter 14.3.4—Orifice Metering of                    § 80.1426(f).
                                            ■ 8. Add § 80.12 to subpart A to read as
                                                                                                     Natural Gas and Other Related                            (7) ASTM D4444–13 (Reapproved
                                            follows:
                                                                                                     Hydrocarbon Fluids—Concentric,                        2018), Standard Test Method for
                                            § 80.12    Incorporation by reference.                   Square-edged Orifice Meters Part 4—                   Laboratory Standardization and
                                              Certain material is incorporated by                    Background, Development,                              Calibration of Hand-Held Moisture
                                            reference into this part with the                        Implementation Procedure, and                         Meters, reapproved July 1, 2018
                                            approval of the Director of the Federal                  Example Calculations, 4th Edition,                    (‘‘ASTM D4444’’); IBR approved for
                                            Register under 5 U.S.C. 552(a) and 1                     October 2019 (‘‘API MPMS 14.3.4’’); IBR               § 80.1426(f).
                                            CFR part 51. All approved incorporation                  approved for § 80.155(a).                                (8) ASTM D4888–20, Standard Test
                                            by reference (IBR) material is available                    (6) API MPMS 14.12–2017, Manual of                 Method for Water Vapor in Natural Gas
                                            for inspection at U.S. EPA and at the                    Petroleum Measurement Standards                       Using Length-of-Stain Detector Tubes,
                                            National Archives and Records                            Chapter 14—Natural Gas Fluid                          approved December 15, 2020 (‘‘ASTM
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                                            Administration (NARA). Contact U.S.                      Measurement Section 12—Measurement                    D4888’’); IBR approved for § 80.155(b).
                                            EPA at: U.S. EPA, Air and Radiation                      of Gas by Vortex Meters, 1st Edition,                    (9) ASTM D5504–20, Standard Test
                                            Docket and Information Center, WJC                       March 2017 (‘‘API MPMS 14.12’’); IBR                  Method for Determination of Sulfur
                                            West Building, Room 3334, 1301                           approved for § 80.155(a).                             Compounds in Natural Gas and Gaseous
                                            Constitution Ave. NW, Washington, DC                       Note 1 to paragraph (a): API MPMS 14.3.1,           Fuels by Gas Chromatography and
                                            20460; (202) 566–1742. For information                   14.3.2, 14.3.3, and 141.3.4, are co-published         Chemiluminescence, approved


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                                            November 1, 2020 (‘‘ASTM D5504’’);                       80.115 RNG RIN separators.                               (ii) Parties registered to generate RINs
                                            IBR approved for § 80.155(b).                            80.120 Parties that use biogas as a                   under § 80.1426(f)(10)(ii) or (11)(ii) must
                                               (10) ASTM D5842–14, Standard                              biointermediate or RNG as a feedstock or          submit updated registration information
                                            Practice for Sampling and Handling of                        as process heat or energy.                        under § 80.135 no later than October 1,
                                                                                                     80.125 RINs for RNG.
                                            Fuels for Volatility Measurement,                                                                              2024.
                                                                                                     80.130 RINs for renewable CNG/LNG from
                                            approved January 15, 2014 (‘‘ASTM                            a biogas closed distribution system.                 (iii) Independent third-party
                                            D5842’’); IBR approved for § 80.8(c).                    80.135 Registration.                                  engineers may conduct engineering
                                               (11) ASTM D5854–96 (Reapproved                        80.140 Reporting.                                     reviews for parties required to register
                                            2010), Standard Practice for Mixing and                  80.145 Recordkeeping.                                 under § 80.135 prior to July 1, 2024, as
                                            Handling of Liquid Samples of                            80.150 Product transfer documents.                    long as the engineering review satisfies
                                            Petroleum and Petroleum Products,                        80.155 Sampling, testing, and                         all applicable requirements under
                                            approved May 1, 2010 (‘‘ASTM                                 measurement.                                      §§ 80.135 and 80.1450.
                                            D5854’’); IBR approved for § 80.8(d).                    80.160 RNG importers, foreign biogas
                                                                                                         producers, and foreign RNG producers.
                                                                                                                                                              (3) Generation of RINs for RNG. RNG
                                               (12) ASTM D6751–20a, Standard                                                                               producers may only generate RINs for
                                            Specification for Biodiesel Fuel Blend                   80.165 Attest engagements.
                                                                                                     80.170 Quality assurance plan.                        RNG produced on or after July 1, 2024,
                                            Stock (B100) for Middle Distillate Fuels,                80.175 Prohibited acts and liability                  as specified in § 80.125.
                                            approved August 1, 2020 (‘‘ASTM                              provisions.                                          (4) Generation of RINs for renewable
                                            D6751’’); IBR approved for § 80.2.                       80.180 Affirmative defense provisions.                CNG/LNG for previously registered
                                               (13) ASTM D6866–22, Standard Test                     80.185 Potentially invalid RINs.                      facilities. (i)(A) Prior to January 1, 2025,
                                            Methods for Determining the Biobased                                                                           RIN generators may generate RINs as
                                            Content of Solid, Liquid, and Gaseous                    § 80.100   Scope and application.
                                                                                                                                                           specified in § 80.1426(f)(10)(ii) or
                                            Samples Using Radiocarbon Analysis,                        (a) Applicability.
                                                                                                                                                           (11)(ii) for renewable CNG/LNG
                                            approved March 15, 2022 (‘‘ASTM                            (1) The provisions of this subpart E
                                                                                                                                                           produced from a facility covered by a
                                            D6866’’); IBR approved for §§ 80.155(b);                 apply to all the following:
                                                                                                                                                           registration accepted by EPA under
                                            80.1426(f); 80.1430(e).                                    (i) Biogas.
                                                                                                       (ii) Treated biogas.                                § 80.1450(b) prior to July 1, 2024.
                                               (14) ASTM D7164–21, Standard
                                            Practice for On-line/At-line Heating                       (iii) Biogas-derived renewable fuel.                   (B) Biogas or RNG produced under a
                                            Value Determination of Gaseous Fuels                       (iv) RNG used to produce a biogas-                  registration accepted by EPA under
                                            by Gas Chromatography, approved April                    derived renewable fuel.                               § 80.1450(b) for the generation of RINs
                                            1, 2021 (‘‘ASTM D7164’’); IBR approved                     (v) RINs generated for RNG or a                     as specified in § 80.1426(f)(10)(ii) or
                                            for § 80.155(a).                                         biogas-derived renewable fuel.                        (11)(ii) prior to July 1, 2024, may only
                                               (15) ASTM D8230–19, Standard Test                       (2) This subpart also specifies                     be used to generate RINs for renewable
                                            Method for Measurement of Volatile                       requirements for specified parties that               CNG/LNG.
                                            Silicon-Containing Compounds in a                        engage in activities associated with the                 (ii) For biogas produced on or after
                                            Gaseous Fuel Sample Using Gas                            production, distribution, transfer, or use            January 1, 2025, biogas closed
                                            Chromatography with Spectroscopic                        of biogas, treated biogas, biogas-derived             distribution system RIN generators must
                                            Detection, approved June 1, 2019                         renewable fuel, RNG used to produce a                 generate RINs for renewable CNG/LNG
                                            (‘‘ASTM D8230’’); IBR approved for                       biogas-derived renewable fuel, and RINs               as specified in § 80.130.
                                            § 80.155(b).                                             generated for a biogas-derived                           (5) Generation of RINs for renewable
                                               (16) ASTM E711–87 (Reapproved                         renewable fuel under the RFS program.                 fuel produced from biogas used as a
                                            2004), Standard Test Method for Gross                      (b) Relationship to other fuels                     biointermediate. Renewable fuel
                                            Calorific Value of Refuse-Derived Fuel                   regulations. (1) The provisions of                    producers must only generate RINs for
                                            by the Bomb Calorimeter, reapproved                      subpart M of this part also apply to the              renewable fuel produced from biogas
                                            2004 (‘‘ASTM E711’’); IBR approved for                   parties and products regulated under                  used as a biointermediate produced on
                                            § 80.1426(f).                                            this subpart E.                                       or after July 1, 2024.
                                               (17) ASTM E870–82 (Reapproved                           (2) The provisions of 40 CFR part
                                                                                                                                                           § 80.105    Biogas producers.
                                            2019), Standard Test Methods for                         1090 include provisions that may apply
                                            Analysis of Wood Fuels, reapproved                       to the parties and products regulated                   (a) General requirements. (1) Any
                                            April 1, 2019 (‘‘ASTM E870’’); IBR                       under this subpart E.                                 biogas producer that produces biogas for
                                            approved for § 80.1426(f).                                 (3) Parties and products subject to this            use to produce RNG or a biogas-derived
                                               (d) European Committee for                            subpart E may need to register a fuel or              renewable fuel, or that produces biogas
                                            Standardization (CEN), Rue de la                         fuel additive under 40 CFR part 79.                   used as a biointermediate, must comply
                                            Science 23, B–1040 Brussels, Belgium; +                    (c) Geographic scope. RINs must only                with the requirements of this section.
                                            32 2 550 08 11; www.cencenelec.eu.                       be generated for biogas-derived                         (2) The biogas producer must also
                                               (1) EN 17526:2021(E), Gas meter—                      renewable fuel used in the covered                    comply with all other applicable
                                            Thermal-mass flow-meter based gas                        location.                                             requirements of this part and 40 CFR
                                            meter, approved July 11, 2021 (‘‘EN                        (d) Implementation dates. (1) General.              part 1090.
                                            17526’’); IBR approved for § 80.155(a).                  The provisions of this subpart E apply                  (3) If the biogas producer meets the
                                               (2) [Reserved]                                        beginning July 1, 2024, unless otherwise              definition of more than one type of
                                            ■ 9. Add subpart E, consisting of                        specified.                                            regulated party under this part or 40
                                            §§ 80.100 through 80.185, to read as                       (2) Registration. (i) Parties not                   CFR part 1090, the biogas producer
                                            follows:                                                 registered to generate RINs under                     must comply with the requirements
                                                                                                     § 80.1426(f)(10)(ii) or (11)(ii) prior to             applicable to each of those types of
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                                            Subpart E—Biogas-Derived Renewable Fuel
                                                                                                     July 1, 2024, must register with EPA                  regulated parties.
                                            Sec.
                                                                                                     under § 80.135. EPA will not accept                     (4) The biogas producer must comply
                                            80.100 Scope and application.
                                            80.105 Biogas producers.                                 registration submissions for the                      with all applicable requirements of this
                                            80.110 RNG producers, RNG importers, and                 generation of RINs under                              part, regardless of whether the
                                                 biogas closed distribution system RIN               § 80.1426(f)(10)(ii) and (11)(ii) on or               requirements are identified in this
                                                 generators.                                         after July 1, 2024.                                   section.


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                                               (b) Registration. The biogas producer                    (i) QAP. Prior to the generation of Q–                  volatile solids per pound total solids, for
                                            must register with EPA under §§ 80.135,                  RINs for a biogas-derived renewable                        the sample obtained on day j, per
                                            80.1450, and 40 CFR part 1090, subpart                   fuel, the biogas producer must meet all                    paragraph (f)(2)(iii)(C) of this section. If
                                                                                                                                                                sample results are not available, then
                                            I, as applicable.                                        applicable requirements specified in                       VSi,j equals 0.
                                               (c) Reporting. The biogas producer                    § 80.170.                                             CFi,j = Converted fraction in annual average
                                            must submit reports to EPA under                            (j) Batches. (1) Except for biogas                      Btu HHV/lb, representing the portion of
                                            §§ 80.140 and 80.1451, as applicable.                    produced from a mixed digester, the                        cellulosic biogas feedstock i that is
                                               (d) Recordkeeping. The biogas                         batch volume of biogas is the volume of                    converted to biomethane by the producer
                                            producer must create and maintain                        biogas measured under paragraph (f) of                     on day j, per paragraph (j)(2)(iv) of this
                                            records under §§ 80.145 and 80.1454.                     this section for a single batch pathway                    section. If data for digester operating
                                               (e) PTDs. On each occasion when the                   at a single facility for a calendar month,                 conditions required under paragraph
                                            biogas producer transfers title of any                                                                              (f)(2)(iii)(D) of this section are outside
                                                                                                     in Btu HHV.
                                            biogas, the transferor must provide to                                                                              the range of operating conditions
                                                                                                        (2) For biogas produced from a mixed                    specified in paragraph (j)(2)(v) of this
                                            the transferee PTDs under § 80.150.                      digester, the batch volume of biogas                       section or such data to determine the
                                               (f) Sampling, testing, and                            must be calculated as follows:                             operating conditions does not meet the
                                            measurement.                                                (i) The batch volume of biogas                          requirements in § 80.155(d), then CFi,j
                                               (1) All sampling, testing, and                        produced under an approved pathway                         equals 0.
                                            measurements must be done in                             with a D code of 5 must be calculated
                                            accordance with § 80.155.                                                                                         (iv) Biogas producers must use one of
                                                                                                     as follows:                                           the following cellulosic conversion
                                               (2)(i) A biogas producer must measure
                                                                                                     VBG,D5 = VBG¥VBG,D3/7                                 factors, as applicable:
                                            the volume of biogas, in Btu HHV, prior
                                            to converting biogas to any of the                       Where:                                                   (A) Swine manure: 1,936 Btu HHV/lb.
                                            following:                                                  VBG,D5 = The batch volume of biogas for an            (B) Bovine manure: 2,077 Btu HHV/lb.
                                               (A) RNG.                                              approved pathway with a D code of 5 for the              (C) Chicken manure: 3,001 Btu HHV/
                                               (B) Treated biogas.                                   calendar month, in Btu HHV. If the result of          lb.
                                               (C) Biointermediate.                                  this equation is negative, then VBG,D5,p equals          (D) Municipal wastewater treatment
                                               (D) Biogas-derived renewable fuel.                    0.                                                    sludge: 3,479 Btu HHV/lb.
                                               (E) Process heat or energy under                      VBG = The total volume of biogas produced                (E) A cellulosic conversion factor
                                                                                                          by the mixed digester for the calendar           accepted at registration under
                                            § 80.1426(f)(12) or (13).
                                                                                                          month, in Btu HHV, as measured under             § 80.135(c)(10)(vi).
                                               (ii) Except for biogas produced from a                     paragraph (f)(2)(iii)(A) of this section.
                                            mixed digester, a biogas producer must                                                                            (v) Applicable operating conditions
                                                                                                     VBG,D3/7 = The total batch volume of biogas
                                            measure the volume of biogas, in Btu                          produced under approved pathways                 for the cellulosic converted fractions
                                            HHV, for each batch pathway prior to                          with a D code of 3 or 7 for the calendar         specified in paragraph (j)(2)(iv) of this
                                            mixing with biogas produced under a                           month, in Btu HHV, per paragraph                 section are the following:
                                            different batch pathway or with non-                          (j)(2)(ii) of this section.                         (A) For the cellulosic converted
                                            qualifying gas.                                            (ii) The batch volume of biogas                     fraction values specified in paragraphs
                                               (iii) For biogas produced from a                      produced under an approved pathway                    (j)(2)(iv)(A) through (D) of this section,
                                            mixed digester, a biogas producer must                   with a D code of 3 or 7 must be                       the mixed digester must continuously
                                            do all the following for each mixed                      calculated as follows:                                operate above 95 degrees Fahrenheit
                                            digester:                                                                                                      with hydraulic and solids mean
                                               (A) Measure the volume of biogas, in                  VBG,D3/7,p = BED3/7,i                                 residence times greater than 20 days.
                                                                                                     VBG,D3/7,p = The batch volume of biogas for              (B) For the cellulosic converted
                                            Btu HHV, prior to mixing with any other                      batch pathway p with a D code of 3 or
                                            gas.                                                         7 for the calendar month, in Btu HHV.
                                                                                                                                                           fraction value specified in paragraph
                                               (B) Measure the daily mass of the                     BED3/7,i = The total energy from cellulosic           (j)(2)(iv)(E) of this section, the mixed
                                            cellulosic biogas feedstock, in pounds,                      biogas feedstock i that forms energy in           digester must operate according to the
                                            added to the mixed digester.                                 the biogas and whose batch pathway has            conditions accepted at registration
                                               (C) Collect a daily representative                        been assigned a D code of 3 or 7 for the          under § 80.135(c)(10)(vi)(A)(4).
                                            sample of each cellulosic biogas                             calendar month, in Btu HHV, per                      (3) The biogas producer must assign a
                                            feedstock and test for total solids and                      paragraph (j)(2)(iii) of this section.            number (the ‘‘batch number’’) to each
                                            volatile solids as specified in                            (iii) The biogas energy value for each              batch of biogas consisting of their EPA-
                                            § 80.155(c).                                             cellulosic biogas feedstock must be                   issued company registration number,
                                               (D) Measure and calculate the digester                calculated as follows:                                the EPA-issued facility registration
                                            operating conditions as specified in                     BED3/7,i,j = Mi,j * TSi,j * VSi,j * CFi,j             number, the last two digits of the
                                            § 80.155(d).                                                                                                   calendar year in which the batch was
                                                                                                     Where:
                                               (iv) A biogas producer must measure                                                                         produced, and a unique number for the
                                            each volume of gas containing biogas, in                 BED3/7,i,j = The amount of energy from
                                                                                                          cellulosic biogas feedstock i that forms
                                                                                                                                                           batch, beginning with the number one
                                            Btu HHV, that leaves the facility.                            energy in the biogas and whose batch             for the first batch produced each
                                               (g) Foreign biogas producer                                pathway has been assigned a D code of            calendar year and each subsequent
                                            requirements. A foreign biogas producer                       3 or 7 on day j, in Btu HHV.                     batch during the calendar year being
                                            must meet all the requirements that                      Mi,j = Mass of cellulosic biogas feedstock i,         assigned the next sequential number
                                            apply to a biogas producer under this                         in pounds, measured on day j, per                (e.g., 4321–54321–23–000001, 4321–
                                            part, as well as the additional                               paragraph (f)(2)(iii)(B) of this section.        54321–23–000002, etc.).
                                            requirements for foreign biogas                          TSi,j = Total solids of cellulosic biogas                (k) Limitations. (1) For each biogas
                                            producers specified in § 80.160.                              feedstock i, as a mass fraction, in pounds       production facility, the biogas producer
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                                               (h) Attest engagements. The biogas                         total solids per pound feedstock, for the
                                                                                                          sample obtained on day j, per paragraph          must only supply biogas for only one of
                                            producer must submit annual attest                            (f)(2)(iii)(C) of this section. If sample        the following uses:
                                            engagement reports to EPA under                               results are not available, then TSi,j equals        (i) Production of renewable CNG/LNG
                                            §§ 80.165 and 80.1464 using procedures                        0.                                               via a biogas closed distribution system.
                                            specified in 40 CFR 1090.1800 and                        VSi,j = Volatile solids of cellulosic biogas             (ii) As a biointermediate via a biogas
                                            1090.1805.                                                    feedstock i, as a mass fraction, in pounds       closed distribution system.


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                                              (iii) Production of RNG.                               closed distribution system RIN                        meet all the requirements that apply to
                                              (2) For each biogas production facility                generator transfers RNG, renewable fuel,              a biogas closed distribution system RIN
                                            producing biogas for use as a                            or RINs to another party, the transferor              generator under this part, as well as the
                                            biointermediate in a biogas closed                       must provide to the transferee PTDs                   additional requirements for foreign
                                            distribution system, the biogas producer                 under §§ 80.150 and 80.1453, as                       biogas closed distribution system RIN
                                            must only supply biogas or treated                       applicable.                                           generators specified in § 80.160 and for
                                            biogas to a single renewable fuel                           (f) Sampling, testing, and                         RIN-generating foreign renewable fuel
                                            production facility.                                     measurement. (1) All sampling, testing,               producers specified in § 80.1466.
                                              (3) If the biogas producer operates a                  and measurements must be done in                         (h) Attest engagements. The RNG
                                            municipal wastewater treatment facility                  accordance with § 80.155.                             producer, RNG importer, or biogas
                                            digester, the biogas producer must not                      (2)(i) An RNG producer must measure                closed distribution system RIN
                                            introduce any feedstocks into that                       the volume of RNG, in Btu LHV, prior                  generator must submit annual attest
                                            digester that do not contain at least 75%                to injection of RNG from the RNG                      engagement reports to EPA under
                                            average adjusted cellulosic content.                     production facility into a natural gas                §§ 80.165 and 80.1464 using procedures
                                              (4) The transfer and batch segregation                 commercial pipeline system.                           specified in 40 CFR 1090.1800 and
                                            limits specified in § 80.1476(g) do not                     (ii) An RNG producer that trucks RNG               1090.1805.
                                            apply.                                                   from the RNG production facility to a                    (i) QAP. Prior to the generation of a
                                                                                                     pipeline interconnect must measure the                Q–RIN for RNG or biogas-derived
                                            § 80.110 RNG producers, RNG importers,                   volume of RNG, in Btu LHV, upon                       renewable fuel, the RNG producer, RNG
                                            and biogas closed distribution system RIN                loading and unloading of each truck.
                                            generators.
                                                                                                                                                           importer, or biogas closed distribution
                                                                                                        (iii) An RNG producer that injects                 system RIN generator must meet all
                                               (a) General requirements. (1) Any                     RNG from an RNG production facility                   applicable requirements specified in
                                            RNG producer, RNG importer, or biogas                    into a natural gas commercial pipeline                § 80.170.
                                            closed distribution system RIN                           system must sample and test a                            (j) Batches. (1) A batch of RNG is the
                                            generator that generates RINs must                       representative sample of all the                      total volume of RNG produced at an
                                            comply with the requirements of this                     following at least once per calendar                  RNG production facility under a single
                                            section.                                                 year, as applicable:                                  batch pathway for the calendar month,
                                               (2) The RNG producer, RNG importer,                      (A) Biogas used to produce RNG.                    in Btu LHV, as determined under
                                            or biogas closed distribution system RIN                    (B) RNG before blending with non-
                                                                                                                                                           paragraph (j)(4) of this section.
                                            generator must also comply with all                      renewable components.                                    (2) A batch of biogas-derived
                                            other applicable requirements of this                       (C) RNG after blending with non-
                                                                                                                                                           renewable fuel must comply with the
                                            part and 40 CFR part 1090.                               renewable components.
                                                                                                        (iv) A party that upgrades biogas to               requirements specified in § 80.1426(d).
                                               (3) If the RNG producer, RNG                                                                                   (3) The RNG producer, RNG importer,
                                            importer, or biogas closed distribution                  treated biogas must separately measure
                                                                                                     all the following, as applicable:                     or biogas closed distribution system RIN
                                            system RIN generator meets the                                                                                 generator must assign a number (the
                                            definition of more than one type of                         (A) The volume of biogas, in Btu
                                                                                                     HHV, used to produce treated biogas, a                ‘‘batch number’’) to each batch of RNG
                                            regulated party under this part or 40                                                                          or biogas-derived renewable fuel
                                            CFR 1090, the RNG producer, RNG                          biogas-derived renewable fuel, or as a
                                                                                                     biointermediate.                                      consisting of their EPA-issued company
                                            importer, or biogas closed distribution                                                                        registration number, the EPA-issued
                                                                                                        (B) The volume of treated biogas, in
                                            system RIN generator must comply with                                                                          facility registration number, the last two
                                                                                                     Btu HHV, prior to addition of any non-
                                            the requirements applicable to each of                                                                         digits of the calendar year in which the
                                                                                                     renewable components.
                                            those types of regulated parties.                           (C) The volume of biointermediate or               batch was produced, and a unique
                                               (4) The RNG producer, RNG importer,                   biogas-derived renewable fuel produced                number for the batch, beginning with
                                            or biogas closed distribution system RIN                 from the biogas or treated biogas. If the             the number one for the first batch
                                            generator must comply with all                           biogas-derived renewable fuel is                      produced each calendar year and each
                                            applicable requirements of this part,                    renewable CNG/LNG, then this volume                   subsequent batch during the calendar
                                            regardless of whether the requirements                   must be measured in both Btu HHV and                  year being assigned the next sequential
                                            are identified in this section.                          Btu LHV.                                              number (e.g., 4321–54321–23–000001,
                                               (5) The transfer and batch segregation                   (3) A biogas closed distribution RIN               4321–54321–23–000002, etc.).
                                            limits specified in § 80.1476(g) do not                  generator must measure renewable                         (4) The batch volume of RNG must be
                                            apply.                                                   CNG/LNG in Btu LHV.                                   calculated as follows:
                                               (b) Registration. The RNG producer,                      (g) Foreign RNG producer, RNG
                                            RNG importer, or biogas closed                           importer, and foreign biogas closed
                                            distribution system RIN generator must                   distribution system RIN generator
                                            register with EPA under §§ 80.135,                       requirements. (1)(i) A foreign RNG
                                            80.1450, and 40 CFR part 1090, subpart                   producer must meet all the                            Where:
                                            I, as applicable.                                        requirements that apply to an RNG                     VRNG,p = The batch volume of RNG for batch
                                               (c) Reporting. The RNG producer,                      producer under this part, as well as the                  pathway p, in Btu LHV.
                                            RNG importer, or biogas closed                           additional requirements for foreign RNG               VNG = The total volume of natural gas
                                            distribution system RIN generator must                   producers specified in § 80.160.                          produced at the RNG production facility
                                            submit reports to EPA under §§ 80.140,                      (ii) A foreign RNG producer must                       for the calendar month, in Btu LHV, as
                                            80.1451, and 80.1452, as applicable.                     either generate RINs under § 80.125 or                    measured under § 80.155.
                                               (d) Recordkeeping. The RNG                                                                                  VBG,p = The total volume of biogas used to
                                                                                                     enter into a contract with an RNG
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                                                                                                                                                               produce RNG under batch pathway p for
                                            producer, RNG importer, or biogas                        importer as specified in § 80.160(e).                     the calendar month, in Btu HHV, per
                                            closed distribution system RIN                              (2) An RNG importer must meet all                      § 80.105(j).
                                            generator must create and maintain                       the requirements specified in                         VBG,total = The total volume of biogas used to
                                            records under §§ 80.145 and 80.1454.                     § 80.160(h).                                              produce RNG under all batch pathways
                                               (e) PTDs. On each occasion when the                      (3) A foreign biogas closed                            for the calendar month, in Btu HHV, per
                                            RNG producer, RNG importer, or biogas                    distribution system RIN generator must
                                                                                                                                                                                                            ER12JY23.006</GPH>




                                                                                                                                                               § 80.105(j).



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                                            R = The renewable fraction of the natural gas            under § 80.1426(f)(12) or (13) must                   injected into a natural gas commercial
                                                produced at the RNG production facility              comply with the requirements of this                  pipeline system.
                                                for the calendar month. For natural gas              section.                                                (2) RNG producers must generate
                                                produced only from renewable                           (2) The renewable fuel producer must                RINs for only the biomethane content of
                                                feedstocks, R is equal to 1. For natural             also comply with all other applicable                 biogas supplied by a biogas producer
                                                gas produced from both renewable and
                                                non-renewable feedstocks, R must be
                                                                                                     requirements of this part and 40 CFR                  registered under § 80.135.
                                                measured by a carbon-14 dating test                  part 1090.                                              (3) RNG producers must generate
                                                method, per § 80.1426(f)(9).                           (3) If the renewable fuel producer                  RINs using the applicable requirements
                                                                                                     meets the definition of more than one                 for RIN generation in § 80.1426.
                                            § 80.115   RNG RIN separators.                           type of regulated party under this part                 (4) If non-renewable components are
                                               (a) General requirements. (1) Any                     or 40 CFR 1090, the renewable fuel                    blended into RNG, the RNG producer
                                            RNG RIN separator must comply with                       producer must comply with the                         must generate RINs for only the
                                            the requirements of this section.                        requirements applicable to each of those              biomethane content of the RNG prior to
                                               (2) The RNG RIN separator must also                   types of regulated parties.                           blending.
                                            comply with all other applicable                           (4) The renewable fuel producer must                  (5) RNG producers must use the
                                            requirements of this part and 40 CFR                     comply with all applicable requirements               measurement procedures specified in
                                            part 1090.                                               of this part, regardless of whether they              § 80.155 to determine the heating value
                                               (3) If the RNG RIN separator meets the                are identified in this section.                       of RNG for the generation of RINs.
                                            definition of more than one type of                        (5) The transfer and batch segregation                (6) The number of RINs generated for
                                            regulated party under this part or 40                    limits specified in § 80.1476(g) do not               a batch volume of RNG under each
                                            CFR 1090, the RNG RIN separator must                     apply.                                                batch pathway must be calculated as
                                            comply with the requirements                               (b) Registration. The renewable fuel                follows:
                                            applicable to each of those types of                     producer must register with EPA under
                                            regulated parties.                                       §§ 80.135, 80.1450, and 40 CFR part
                                               (4) The RNG RIN separator must                        1090, subpart I, as applicable.
                                                                                                       (c) Reporting. The renewable fuel
                                            comply with all applicable requirements                                                                        Where:
                                                                                                     producer must submit reports to EPA
                                            of this part, regardless of whether the                                                                        RINRNG,p = The number of RINs generated for
                                                                                                     under §§ 80.140, 80.1451, and 80.1452,
                                            requirements are identified in this                                                                               a batch of RNG under batch pathway p,
                                                                                                     as applicable.
                                            section.                                                   (d) Recordkeeping. The renewable                       in gallon-RINs.
                                               (b) Registration. (1) The RNG RIN                     fuel producer must create and maintain                VRNG,p = The batch volume of RNG for batch
                                            separator must register with EPA under                   records under §§ 80.145 and 80.1454.
                                                                                                                                                              pathway p, in Btu LHV, per
                                            §§ 80.135, 80.1450, and 40 CFR part                                                                               § 80.110(j)(4).
                                                                                                       (e) PTDs. On each occasion when the                 EqVRNG = The equivalence value for RNG, in
                                            1090, subpart I, as applicable.                          renewable fuel producer transfers title
                                               (2) A dispensing location may only be                                                                          Btu LHV per RIN, per § 80.1415(b)(5).
                                                                                                     of biogas-derived renewable fuel and
                                            included in one RNG RIN separator’s                      RINs to another party, the transferor                   (7) When RNG is injected from
                                            registration at a time.                                  must provide to the transferee PTDs                   multiple RNG production facilities at a
                                               (c) Reporting. The RNG RIN separator                  under §§ 80.150 and 80.1453.                          pipeline interconnect, the total number
                                            must submit reports to EPA under                           (f) Measurement. (1) All                            of RINs generated must not be greater
                                            §§ 80.140, 80.1451, and 80.1452, as                      measurements must be done in                          than the total number of RINs eligible to
                                            applicable.                                              accordance with § 80.155.                             be generated under § 80.1415(b)(5) for
                                               (d) Recordkeeping. The RNG RIN                          (2) A renewable fuel producer must                  the total volume of RNG injected by all
                                            separator must create and maintain                       measure the volume of natural gas, in                 RNG production facilities at that
                                            records under §§ 80.145 and 80.1454.                     Btu LHV, withdrawn from the natural                   pipeline interconnect.
                                               (e) PTDs. On each occasion when the                   gas commercial pipeline system.                         (8) For RNG that is trucked prior to
                                            RNG RIN separator transfers title of                       (g) Attest engagements. The                         injection into a natural gas commercial
                                            renewable fuel and RINs to another                       renewable fuel producer must submit                   pipeline system, the total volume of
                                            party, the transferor must provide to the                annual attest engagement reports to EPA               RNG injected for the calendar month, in
                                            transferee PTDs under § 80.1453.                         under §§ 80.165 and 80.1464 using                     Btu LHV, must not be greater than the
                                               (f) Measurement. (1) All                              procedures specified in 40 CFR                        lesser of the total loading or unloading
                                            measurements must be done in                             1090.1800 and 1090.1805.                              volume measurement for the month, in
                                            accordance with § 80.155.                                  (h) QAP. Prior to the generation of a               Btu LHV, as required under
                                               (2) An RNG RIN separator must                         Q–RIN for biogas-derived renewable                    § 80.110(f)(2)(ii).
                                            measure the volume of natural gas, in                    fuel produced from biogas used as a                     (9) Renewable fuel producers that
                                            Btu LHV, withdrawn from the natural                      biointermediate or RNG used as a                      retire RINs for RNG used as a feedstock
                                            gas commercial pipeline system.                          feedstock, the renewable fuel producer                under paragraph (e) of this section may
                                               (g) Attest engagements. The RNG RIN                   must meet all applicable requirements                 only generate RINs for the renewable
                                            separator must submit annual attest                      specified in § 80.170.                                fuel produced from RNG if all
                                            engagement reports to EPA under                                                                                applicable requirements under this part
                                            §§ 80.165 and 80.1464 using procedures                   § 80.125   RINs for RNG.                              are met.
                                            specified in 40 CFR 1090.1800 and                          (a) General requirements. (1) Any                     (c) RIN assignment and transfer. (1)
                                            1090.1805.                                               party that generates, assigns, transfers,             RNG producers must assign the RINs
                                                                                                     receives, separates, or retires RINs for              generated for a batch of RNG to the
                                            § 80.120 Parties that use biogas as a                    RNG must comply with the                              specific volume of RNG injected into the
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                                            biointermediate or RNG as a feedstock or                 requirements of this section.                         natural gas commercial pipeline system.
                                            as process heat or energy.                                 (2) Any party that transacts RINs for                  (2) Except as specified in paragraph
                                              (a) General requirements. (1) Any                      RNG under this section must transact                  (c)(1) of this section, no party may
                                            renewable fuel producer that uses                        the RINs as specified in § 80.1452.                   assign a RIN to a volume of RNG.
                                            biogas as a biointermediate or RNG as a                    (b) RIN generation. (1) Only RNG                       (3) Each party that transfers title of a
                                            feedstock or as process heat or energy                   producers may generate RINs for RNG                   volume of RNG to another party must
                                                                                                                                                                                                         ER12JY23.007</GPH>




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                                            transfer title of any assigned RINs for                  § 80.1429(b)(1) unless the obligated                  has obtained affidavits from all parties
                                            the volume of RNG to the transferee.                     party meets the requirements in                       selling or using the renewable CNG/
                                               (d) RIN separation. (1) Only the                      paragraph (d)(1) of this section.                     LNG certifying that the renewable CNG/
                                            following parties may separate a RIN                       (4) A party must only separate a                    LNG was used as transportation fuel.
                                            from RNG:                                                number of RINs equal to the total                        (iii) The renewable CNG/LNG is used
                                               (i) The party that withdrew the RNG                   volume of RNG (where the Btu LHV are                  as transportation fuel and for no other
                                            from the natural gas commercial                          converted to gallon-RINs using the                    purpose.
                                            pipeline system.                                         conversion specified in § 80.1415(b)(5))                 (c) RIN separation. A biogas closed
                                               (ii) The party that produced or                       that the party demonstrates is used as                distribution system RIN generator must
                                            oversaw the production of the                            renewable CNG/LNG under paragraph                     separate RINs generated for renewable
                                            renewable CNG/LNG from the RNG.                          (d)(2) of this section.                               CNG/LNG under § 80.1429(b)(5)(ii).
                                               (iii) The party that used or dispensed                  (e) RIN retirement. (1) A party must                   (d) RIN retirement. A party must retire
                                            for use the renewable CNG/LNG as                         retire RINs generated for RNG if any of               RINs generated for renewable CNG/LNG
                                            transportation fuel.                                     the conditions specified in § 80.1434(a)              from a biogas closed distribution if any
                                               (2) An RNG RIN separator must only                    apply and must comply with                            of the conditions specified in
                                            separate a RIN from RNG if all the                       § 80.1434(b).                                         § 80.1434(a) apply and must comply
                                            following requirements are met:                            (2)(i) A party must retire all assigned             with § 80.1434(b).
                                               (i) The RNG used to produce the                       RINs for a volume of RNG if the RINs                  § 80.135    Registration.
                                            renewable CNG/LNG was measured                           are not separated under paragraph (d) of
                                            using the procedures specified in                                                                                (a) Applicability. The following
                                                                                                     this section by the date the assigned
                                            § 80.155.                                                                                                      parties must register using the
                                                                                                     RINs expire under § 80.1428(c).
                                               (ii) The RNG RIN separator has the                                                                          procedures specified in this section,
                                                                                                       (ii) A party must retire any expired
                                            following documentation demonstrating                                                                          § 80.1450 and 40 CFR 1090.800:
                                                                                                     RINs under paragraph (e)(2)(i) of this                  (1) Biogas producers.
                                            that the volume of renewable CNG/LNG                     section by March 31 of the subsequent                   (2) RNG producers.
                                            was used as transportation fuel:                         year. For example, if an RNG producer                   (3) RNG importers.
                                               (A) If the RNG RIN separator sold or                  assigns RINs for RNG in 2025, the RINs                  (4) Biogas closed distribution system
                                            used the renewable CNG/LNG, records                      expire if they are not separated under                RIN generators.
                                            demonstrating the date, location, and                    paragraph (d) of this section by                        (5) RNG RIN separators.
                                            volume of renewable CNG/LNG sold or                      December 31, 2026, and must be retired                  (6) Renewable fuel producers using
                                            used as transportation fuel.                             by March 31, 2027.                                    biogas as a biointermediate or RNG as a
                                               (B) If the RNG RIN separator is relying                 (3) A party that uses RNG for a                     feedstock.
                                            on documentation from another party,                     purpose other than to produce                           (b) General registration requirements.
                                            all the following as applicable:                         renewable CNG/LNG (e.g., as a                         Parties must submit applicable
                                               (1) A written contract with the other                 feedstock, as process heat under                      information for companies and facilities
                                            party for the sale or use of the renewable               § 80.1426(f)(12), or as process energy                as specified in 40 CFR 1090.805.
                                            CNG/LNG as transportation fuel.                          under § 80.1426(f)(13)) must retire any                 (1) New registrants. (i) Parties
                                               (2) Records from the other party                      assigned RINs for the volume of RNG                   required to register under this subpart
                                            demonstrating the date, location, and                    within 5 business days of such use of                 must have an EPA-accepted registration
                                            volume of renewable CNG/LNG sold or                      the RNG.                                              prior to engaging in regulated activities
                                            used as transportation fuel.                                                                                   under this subpart.
                                               (3) An affidavit from each other party                § 80.130 RINs for renewable CNG/LNG                     (ii) Registration information must be
                                            confirming all the following:                            from a biogas closed distribution system.             submitted at least 60 days prior to
                                               (i) That the volume of renewable                         (a) General requirements. (1) Any                  engaging in regulated activities under
                                            CNG/LNG was used as transportation                       party that generates, assigns, separates,             this subpart.
                                            fuel and for no other purpose.                           or retires RINs for renewable CNG/LNG                   (iii) Parties may engage in regulated
                                               (ii) That the party will not separate                 from a biogas closed distribution system              activities under this subpart once EPA
                                            RINs for this volume of RNG.                             must comply with the requirements of                  has accepted their registration and they
                                               (iii) That the party has not provided                 this section.                                         have met all other applicable
                                            affidavits to any other party for the                       (2) Parties must report all RIN                    requirements under this subpart.
                                            purpose of complying with the                            transactions to EMTS as specified in                    (2) Existing renewable CNG/LNG
                                            requirements of this paragraph (d)(2)(ii).               § 80.1452.                                            registrations. (i) Parties listed in
                                               (iii) The volume of RNG was only                         (b) RIN generation. (1) Biogas closed              paragraph (a) of this section must
                                            used to produce renewable CNG/LNG                        distribution system RIN generators must               submit updated registration information
                                            that is used as transportation fuel and                  generate RINs using the applicable                    that complies with the applicable
                                            for no other purpose.                                    requirements for RIN generation in                    requirements of this section for any
                                               (iv) No other party used the                          under this part.                                      company or facility covered by a
                                            measurement information under                               (2) RINs for renewable CNG/LNG from                registration accepted under § 80.1450(b)
                                            paragraph (d)(2)(i) of this section or the               a biogas closed distribution system may               for the generation of RINs under
                                            information required under paragraph                     be generated if all the following                     § 80.1426(f)(10)(ii) or (11)(ii) no later
                                            (d)(2)(ii) of this section to separate RINs              requirements are met:                                 than October 1, 2024.
                                            for the RNG.                                                (i) The renewable CNG/LNG is                         (ii) A biogas closed distribution
                                               (v) No other party has separated RINs                 produced from renewable biomass and                   system RIN generator or biogas producer
                                            for the RNG using the same dispensing                    qualifies to generate RINs under an                   does not need to submit an updated
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                                            location during the calendar month.                      approved pathway.                                     engineering review for any facility in
                                               (vi) The RNG RIN separator follows                       (ii) The biogas closed distribution                the biogas closed distribution system as
                                            the applicable provisions under                          system RIN generator has entered into a               specified in § 80.1450(d)(1) before the
                                            § 80.1429(a), (b)(10), and (c) through (e).              written contract for the sale or use of a             next three-year engineering review
                                               (3) An obligated party must not                       specific quantity of renewable CNG/                   update is due as specified in
                                            separate RINs for RNG under                              LNG for use as transportation fuel, and               § 80.1450(d)(3).


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                                               (3) Engineering reviews. (i) Any party                agency that governs the biogas                        compressors, and dispensing
                                            required to register a facility under this               production facility, if available.                    infrastructure).
                                            section must undergo all the following:                     (ii) Documents demonstrating the                      (I) Any other process-related
                                               (A) A third-party engineering review                  biogas production facility’s nameplate                information as requested by EPA.
                                            as specified in § 80.1450(b)(2).                         capacity.                                                (ii) A description of losses of heating
                                               (B) Three-year engineering review                        (iii) Information describing the biogas            content going from biogas to renewable
                                            updates as specified in § 80.1450(d)(3).                 production facility’s biogas production               CNG/LNG and an explanation of how
                                               (ii) Third-party engineering reviews                  for each of the last three calendar years             such losses would be accounted for.
                                            and three-year engineering review                        prior to the registration submission, if                 (iii) A description of the physical
                                            updates required under paragraph                         available.                                            process from biogas production to
                                            (b)(3)(i) of this section must evaluate all                 (2) Whether the biogas will be used to             dispensing of renewable CNG/LNG as
                                            applicable registration information                      produce RNG, renewable CNG/LNG, or                    transportation fuel, including the biogas
                                            submitted under this section as well as                  biointermediate and information                       closed distribution system.
                                            all applicable requirements in                           identifying the facility that will be                    (iv) A description of the vehicle fleet
                                            § 80.1450(b).                                            supplied.                                             and dispensing stations that are
                                               (iii) A party may arrange for an                         (3) The following information related              expected to use and distribute the
                                            independent third-party engineer to                      to biogas measurement:                                renewable CNG/LNG as transportation
                                            conduct a single site visit and submit a                    (i) A description of how biogas will be            fuel.
                                            single engineering review report for a                   measured under § 80.155(a), including                    (5) For biogas used as a
                                            facility that performs multiple activities               the specific standards under which the                biointermediate, all the information
                                            (e.g., a facility that both produces biogas              meters are operated.                                  specified in § 80.1450(b)(1)(ii)(B).
                                            and upgrades it to RNG) under this                          (ii) A description of the biogas                      (6) For biogas used to produce RNG,
                                            subpart as long as the site visit and                    production process, including a process               all the following additional information:
                                            engineering review report includes all                   flow diagram that includes metering                      (i) The RNG producer that will
                                            the requirements for each activity                       type(s) and location(s).                              upgrade the biogas.
                                            performed.                                                  (iii) For an alternative measurement                  (ii) A process flow diagram of the
                                               (4) Registration updates. (i) Parties                 protocol under § 80.155(a)(3), all the                physical process from biogas production
                                            registered under this section must                       following:                                            to entering the RNG production facility,
                                            submit updated registration information                     (A) A description of why the biogas                including major equipment (e.g., tanks,
                                            to EPA within 30 days when any of the                    producer is unable to use meters that                 pipelines, flares, separation equipment).
                                            following occur:                                         comply with the requirements specified                   (iii) A description of the physical
                                               (A) The registration information                      in § 80.155(a)(1) and (2), as applicable.             process from biogas production to
                                            previously supplied becomes                                 (B) A description of how                           entering the RNG production facility,
                                            incomplete or inaccurate.                                measurement is conducted.                             including an explanation of how the
                                               (B) Facility information is updated                      (C) Any standards or specifications                biogas reaches the RNG production
                                            under § 80.1450(d)(1), as applicable.                    that apply.                                           facility.
                                               (C) A change of ownership is                             (D) A description of all routine                      (7) For biogas produced in an
                                            submitted under 40 CFR 1090.820.                         maintenance and the frequency that                    agricultural digester, all the following
                                               (ii) Parties registered under this                    such maintenance will be conducted.                   information:
                                            section must submit updated                                 (E) A description of the frequency of                 (i) A separated yard waste plan
                                            registration information to EPA within 7                 all measurements and how often such                   specified in § 80.1450(b)(1)(vii)(A), as
                                            days when any facility information is                    measurements will be recorded under                   applicable.
                                            updated under § 80.1450(d)(2).                           the alternative measurement protocol.                    (ii) Crop residue information specified
                                               (iii) Parties that register a facility                   (F) A comparison between the
                                                                                                                                                           in § 80.1450(b)(1)(xv), as applicable.
                                            under this section must update their                     accuracy, precision, and reliability of                  (iii) A process flow diagram of the
                                            registration information and undergo a                   the alternative measurement protocol                  physical process from feedstock entry to
                                            three-year engineering review update as                  and the requirements specified in                     biogas production, including major
                                            specified in § 80.1450(d)(3).                            § 80.155(a)(1) and (2), as applicable,                equipment (e.g., feedstock preprocessing
                                               (5) Registration deactivations. EPA                   including any supporting data.                        equipment, tanks, digesters, pipelines,
                                                                                                        (4) For biogas used to produce
                                            may deactivate the registration of a                                                                           flares).
                                                                                                     renewable CNG/LNG in a biogas closed
                                            party registered under this section as                                                                            (8) For biogas produced in a
                                                                                                     distribution system, all the following
                                            specified in § 80.1450(h), 40 CFR                                                                              municipal wastewater treatment facility
                                                                                                     additional information:
                                            1090.810, or 40 CFR 1090.815, as                                                                               digester, a process flow diagram of the
                                                                                                        (i) A process flow diagram of each
                                            applicable.                                                                                                    physical process from feedstock entry to
                                                                                                     step of the physical process from
                                               (c) Biogas producer. In addition to the                                                                     biogas production, including major
                                                                                                     feedstock entry to the point where the
                                            information required under paragraph                                                                           equipment (e.g., feedstock preprocessing
                                                                                                     renewable CNG/LNG is dispensed as
                                            (b) of this section, a biogas producer                                                                         equipment, tanks, digesters, pipelines,
                                                                                                     transportation fuel. This includes all the
                                            must submit all the following                                                                                  flares).
                                                                                                     following:
                                            information for each biogas production                      (A) Feedstock processing.                             (9) For biogas produced in a separated
                                            facility:                                                   (B) Biogas production.                             MSW digester, all the following
                                               (1) Information describing the biogas                    (C) Biogas processing.                             information:
                                            production capacity for the biogas                          (D) Renewable CNG/LNG production.                     (i) Separated MSW plan specified in
                                            production facility, in Btu HHV,                            (E) Points where non-renewable                     § 80.1450(b)(1)(viii).
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                                            including the following:                                 natural gas may be added.                                (ii) A process flow diagram of the
                                               (i) Information regarding the                            (F) Dispensing stations.                           physical process from feedstock entry to
                                            permitted capacity in the most recent                       (G) Measurement locations and                      biogas production, including major
                                            applicable air permits issued by EPA, a                  equipment.                                            equipment (e.g., feedstock preprocessing
                                            state, a local air pollution control                        (H) Major equipment (e.g., tanks,                  equipment, tanks, digesters, pipelines,
                                            agency, or a foreign governmental                        pipelines, flares, separation equipment,              flares).


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                                               (10) For biogas produced in other                     feedstocks could be used to generate                     (iii) For an alternative measurement
                                            waste digesters, all the following                       RINs for a batch of renewable fuel with               protocol under § 80.155(a)(3), all the
                                            information, as applicable:                              a D code of 3 or 7. EPA may reject this               following:
                                               (i) A separated MSW plan specified in                 demonstration if it is not sufficiently                  (A) A description of why the RNG
                                            § 80.1450(b)(1)(viii).                                   protective.                                           producer is unable to use meters that
                                               (ii) A separated yard waste plan                         (B) A description of the meters used               comply with the requirements specified
                                            specified in § 80.1450(b)(1)(vii)(A).                    to determine the mass of cellulosic                   in § 80.155(a)(1) and (2), as applicable.
                                               (iii) Crop residues information                       biogas feedstock.                                        (B) A description of how
                                            specified in § 80.1450(b)(1)(xv).                           (C) The location of feedstock                      measurement is conducted.
                                               (iv) A separated food waste plan or                   sampling, additive (e.g., water) addition,               (C) Any standards or specifications
                                            biogenic waste oils/fats/greases plan                    and mass measurement for use in                       that apply.
                                            specified in § 80.1450(b)(1)(vii)(B).                    § 80.105(j)(2)(iii) included in the process              (D) A description of all routine
                                               (v) A process flow diagram of each                    flow diagram required under paragraph                 maintenance and the frequency that
                                            step of the physical process from                        (c)(10)(v) of this section.                           such maintenance will be conducted.
                                            feedstock entry to the point where the                      (D) For facilities using composite                    (E) A description of the frequency of
                                            biogas either leaves the facility or is                  sampling under § 80.155(c)(3), a                      all measurements and how often such
                                            used to produce RNG, biointermediate,                    composite sampling plan, including all                measurements will be recorded under
                                            or biogas-derived renewable fuel. This                   the following:                                        the alternative measurement protocol.
                                            includes all the following:                                                                                       (F) A comparison between the
                                                                                                        (1) A description of when and where
                                               (A) Feedstock processing.                                                                                   accuracy, precision, and reliability of
                                                                                                     the samples will be collected.
                                               (B) Biogas production.                                                                                      the alternative measurement protocol
                                                                                                        (2) A description of how the samples
                                               (C) Biogas processing.                                                                                      and the requirements specified in
                                                                                                     will be stored prior to testing.
                                               (D) Major equipment (e.g., feedstock                                                                        § 80.155(a)(1) and (2), as applicable,
                                                                                                        (3) A description of how daily
                                            preprocessing equipment, tanks,                                                                                including any supporting data.
                                                                                                     representative samples will be mixed,
                                            digesters, pipelines, flares).                                                                                    (4) The natural gas commercial
                                               (E) Measurement locations and                         including how the ratio of each sample
                                                                                                                                                           pipeline system name and pipeline
                                            equipment.                                               will be determined.
                                                                                                                                                           interconnect location into which the
                                               (F) Any other process-related                            (4) A description of how often testing
                                                                                                                                                           RNG will be injected.
                                            information as requested by EPA.                         will occur.                                              (5) A description of the natural gas
                                               (vi) For biogas produced in a mixed                      (5) A description of how the plan                  specifications for the natural gas
                                            digester, all the following:                             complies with § 80.155(c)(2).                         commercial pipeline system into which
                                               (A) For biogas producers using a value                   (d) RNG producer. In addition to the               the RNG will be injected, including
                                            under § 80.105(j)(2)(iv)(E), all the                     information required under paragraph                  information on all parameters regulated
                                            following:                                               (b) of this section, an RNG producer                  by the pipeline (e.g., hydrogen sulfide,
                                               (1) The cellulosic converted fraction                 must submit all the following                         total sulfur, carbon dioxide, oxygen,
                                            (CF) for each cellulosic biogas feedstock                information for each RNG production                   nitrogen, heating content, moisture,
                                            that will be used in § 80.105(j)(2)(iii), in             facility:                                             siloxanes, and any other available data
                                            Btu HHV/lb feedstock, rounded to the                        (1) All applicable information in                  related to the gas components).
                                            nearest whole number.                                    § 80.1450(b)(1)(ii).                                     (6) For three-year registration updates,
                                               (2) Data supporting the cellulosic CF                    (2) Information to establish the RNG               information related to RNG quality,
                                            from each cellulosic biogas feedstock.                   production capacity for the RNG                       including all the following:
                                            Data must be derived from processing of                  production facility, in Btu LHV,                         (i) A certificate of analysis—including
                                            cellulosic biogas feedstock(s) in                        including all the following, as                       the major and minor gas components—
                                            anaerobic digesters without                              applicable:                                           from an independent laboratory for a
                                            simultaneous conversion under similar                       (i) Information regarding the                      representative sample of the biogas
                                            conditions as will be run in the                         permitted capacity in the most recent                 produced at the biogas production
                                            simultaneously converted process. Data                   applicable air permits issued by EPA, a               facility as specified in § 80.155(b).
                                            must be either from the facility when it                 state, a local air pollution control                     (ii) A certificate of analysis—
                                            was processing solely the feedstock that                 agency, or a foreign governmental                     including the major and minor gas
                                            does have a minimum 75% adjusted                         agency that governs the RNG production                components—from an independent
                                            cellulosic content or from a                             facility, if available.                               laboratory for a representative sample of
                                            representative sample of other                              (ii) Documents demonstrating the                   the RNG prior to addition of non-
                                            representative facilities processing the                 RNG production facility’s nameplate                   renewable components as specified in
                                            feedstock that does have a minimum                       capacity.                                             § 80.155(b).
                                            75% adjusted cellulosic content.                            (iii) Information describing the RNG                  (iii) If the RNG is blended with non-
                                               (3) A description of how the cellulosic               production facility’s RNG production                  renewable components prior to injection
                                            CF was determined, including any                         for each of the last three calendar years             into a natural gas commercial pipeline
                                            calculations demonstrating how the data                  prior to the registration submission, if              system, a certificate of analysis from an
                                            were used.                                               available.                                            independent laboratory for a
                                               (4) A list of ranges of processing                       (3) The following information related              representative sample of the RNG after
                                            conditions, including temperature,                       to RNG measurement:                                   blending with non-renewable
                                            solids mean residence time, and                             (i) A description of how RNG will be               components as specified in § 80.155(b).
                                            hydraulic mean residence time, for                       measured under § 80.155(a), including                    (iv) A summary table with the results
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                                            which the cellulosic CF is accurate and                  the specific standards under which the                of the certificates of analysis required
                                            a description of how such processing                     meters are operated.                                  under paragraphs (d)(6)(i) through (iii)
                                            conditions will be measured by the                          (ii) A description of the RNG                      of this section and the natural gas
                                            facility.                                                production process, including a process               specifications required under paragraph
                                               (5) A demonstration that no biogas                    flow diagram that includes metering                   (d)(5) of this section converted to the
                                            generated from non-cellulosic biogas                     type(s) and location(s).                              same units.


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                                               (v) EPA may approve an RNG                            renewable fuel producer using biogas as                  (3) Verification status of the batch.
                                            producer’s request of an alternative                     a biointermediate must submit all the                    (4) The batch volume of biogas
                                            analysis in lieu of the certificates of                  following:                                            supplied to the downstream party, in
                                            analysis and summary table required                        (1) All applicable information in                   Btu HHV and scf, as measured under
                                            under paragraphs (d)(6)(i) through (iv)                  § 80.1450(b).                                         § 80.155.
                                            of this section if the RNG producer                        (2) Documentation demonstrating a                      (5) The associated pathway
                                            demonstrates that the alternative                        direct connection between the biogas                  information, including D code,
                                            analysis provides information that is                    production facility and the renewable                 designated use of the biogas (e.g.,
                                            equivalent to that provided in the                       fuel production facility.                             biointermediate, renewable CNG/LNG,
                                            certificates of analysis and that the RNG                                                                      or RNG), and feedstock information.
                                                                                                     § 80.140   Reporting.                                    (6) The EPA-issued company and
                                            will meet all natural gas specifications
                                                                                                        (a) General provisions—(1)                         facility IDs for the RNG producer, biogas
                                            required under paragraph (d)(5) of this
                                                                                                     Applicability. Parties must submit                    closed distribution system RIN
                                            section.
                                                                                                     reports to EPA according to the                       generator, or renewable fuel producer
                                               (7) A RIN generation protocol that
                                                                                                     schedule and containing all applicable                that received the batch of the biogas.
                                            includes all the following information:
                                               (i) The procedure for allocating RNG                  information specified in this section.                   (c) RNG producers. (1) An RNG
                                                                                                        (2) Forms and procedures for report                producer must submit quarterly reports
                                            injected into the natural gas commercial
                                                                                                     submission. All reports required under                to EPA containing all the following
                                            pipeline system to each RNG production
                                                                                                     this section must be submitted using                  information:
                                            facility and each biogas production
                                                                                                     forms and procedures specified by EPA.                   (i) The total volume of RNG, in Btu
                                            facility, including how discrepancies in                    (3) Additional reporting elements. In
                                            meter values will be handled.                                                                                  LHV and scf, produced and injected into
                                                                                                     addition to any applicable reporting                  the natural gas commercial pipeline
                                               (ii) A diagram showing the locations                  requirement under this section, parties
                                            of flow meters, gas analyzers, and in-                                                                         system as measured under § 80.155.
                                                                                                     must submit any additional information                   (ii) The total volume of non-
                                            line GC meters used in the allocation                    EPA requires to administer the reporting              renewable components, in Btu LHV,
                                            procedure.                                               requirements of this section.
                                               (iii) A description of when RINs will                                                                       added to RNG prior to injection into the
                                                                                                        (4) English language reports. All                  natural gas commercial pipeline system.
                                            be generated (e.g., receipt of monthly                   reported information submitted to EPA                    (2) A non-RIN generating foreign RNG
                                            pipeline statement, etc).                                under this section must be submitted in               producer must submit monthly reports
                                               (8) For an RNG production facility                    English, or must include an English                   to EPA containing all the following
                                            that injects RNG at a pipeline                           translation.                                          information for each batch of RNG:
                                            interconnect that also has RNG injected                     (5) Signature of reports. Reports                     (i) Batch number.
                                            from other sources, a description of how                 required under this section must be                      (ii) Production date (end date of the
                                            the RNG producers will allocate RINs to                  signed and certified as meeting all the               calendar month).
                                            ensure that all facilities comply with the               applicable requirements of this subpart                  (iii) Verification status of the batch.
                                            requirements specified in § 80.125(b)(7).                by the RCO or their delegate identified                  (iv) The associated pathway
                                               (9) For a foreign RNG producer, all the               in the company registration under 40                  information, including D code,
                                            following additional information:                        CFR 1090.805(a)(1)(iv).                               production process, and feedstock
                                               (i) The applicable information                           (6) Report submission deadlines.                   information.
                                            specified in § 80.160.                                   Reports required under this section                      (v) The EPA-issued company and
                                               (ii) Whether the foreign RNG producer                 must be submitted by the following                    facility IDs for the RNG importer that
                                            will generate RINs for their RNG.                        deadlines:                                            will generate RINs for the batch.
                                               (iii) For non-RIN generating foreign                     (i) Monthly reports must be submitted                 (d) Biogas closed distribution system
                                            RNG producers, the name and EPA-                         by the applicable monthly deadline in                 RIN generators. A biogas closed
                                            issued company and facility IDs of the                   § 80.1451(f)(4).                                      distribution system RIN generator must
                                            contracted importer under § 80.160(e).                      (ii) Quarterly reports must be                     submit monthly reports to EPA
                                               (e) RNG importer. In addition to the                  submitted by the applicable quarterly                 containing all the following
                                            information required under paragraph                     deadline in § 80.1451(f)(2).                          information:
                                            (b) of this section, an RNG importer                        (iii) Annual reports must be submitted                (1)(i) For fuels that are gaseous at STP,
                                            must submit all the following                            by the applicable annual deadline in                  the type and volume of biogas-derived
                                            information:                                             § 80.1451(f)(1).                                      renewable fuel, in Btu LHV.
                                               (1) The name and EPA-issued                              (8) Volume standardization. (i) All                   (ii) For all other fuels, the type and
                                            company and facility IDs of the                          volumes reported to EPA in scf under                  volume of biogas-derived renewable
                                            contracted non-RIN generating foreign                    this section must be standardized to                  fuel, in gallons.
                                            RNG producer under § 80.160(e).                          STP.                                                     (2) Each of the following, as
                                               (2) The name and contact information                     (ii) All volumes reported to EPA in                applicable, as measured under § 80.155:
                                            for the independent third party                          Btu under this section must be                           (i) The volume of biogas, in Btu HHV,
                                            specified in § 80.160(h).                                converted according to § 80.155(f), if                used to produce the treated biogas that
                                               (f) RNG RIN separator. In addition to                 applicable.                                           is used to produce the biogas-derived
                                            the information required under                              (iii) All other volumes reported to                renewable fuel.
                                            paragraph (b) of this section, an RNG                    EPA under this section must be                           (ii) The volume of biogas, in Btu HHV,
                                            RIN separator must submit a list of                      standardized according to                             used to produce the biogas-derived
                                            locations of any dispensing stations                     § 80.1426(f)(8).                                      renewable fuel.
                                            where the RNG RIN separator supplies                        (b) Biogas producers. A biogas                        (iii) The volume of treated biogas, in
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                                            or intends to supply renewable CNG/                      producer must submit monthly reports                  Btu HHV, used to produce the biogas-
                                            LNG for use as transportation fuel.                      to EPA containing all the following                   derived renewable fuel.
                                               (g) Renewable fuel producer using                     information for each batch of biogas:                    (3) The name(s) and location(s) of
                                            biogas as a biointermediate. In addition                    (1) Batch number.                                  where the biogas-derived renewable fuel
                                            to the information required under                           (2) Production date (end date of the               is used or sold for use as transportation
                                            paragraph (b) of this section, a                         calendar month).                                      fuel.


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                                               (4)(i) For fuels that are gaseous at STP,               (5) The number of RINs for RNG                      subpart must be kept for five years from
                                            the volume of biogas-derived renewable                   retired during the reporting period by D              the date they were created, except that
                                            fuel, in Btu LHV, used at each location                  code and verification status.                         records related to transactions involving
                                            where the biogas-derived renewable fuel                                                                        RINs must be kept for five years from
                                            is used or sold for use as transportation                § 80.145   Recordkeeping.                             the date of the RIN transaction.
                                            fuel.                                                      (a) General requirements—(1) Records                   (3) Make records available to EPA.
                                               (ii) For all other fuels, the volume of               to be kept. All parties subject to the                Any party required to keep records
                                            biogas-derived renewable fuel, in                        requirements of this subpart must keep                under this section must make records
                                            gallons, used at each location where the                 the following records:                                available to EPA upon request by EPA.
                                            biogas-derived renewable fuel is used or                   (i) Compliance report records.                      For records that are electronically
                                            sold for use as transportation fuel.                     Records related to compliance reports                 generated or maintained, the party must
                                               (5) All applicable information in                     submitted to EPA under this part as                   make available any equipment and
                                            § 80.1451(b).                                            follows:                                              software necessary to read the records
                                               (e) RNG RIN separators. (1) An RNG                      (A) Copies of all reports submitted to              or, upon approval by EPA, convert the
                                            RIN separator must submit quarterly                      EPA.                                                  electronic records to paper documents.
                                            reports to EPA containing all the                          (B) Copies of any confirmation                         (4) English language records. Any
                                            following information:                                   received from the submission of such                  record requested by EPA under this
                                               (i) Name and location of each point                   reports to EPA.                                       section must be submitted in English, or
                                                                                                       (C) Copies of all underlying                        include an English translation.
                                            where RNG was withdrawn from the
                                                                                                     information and documentation used to                    (b) Biogas producers. In addition to
                                            natural gas commercial pipeline system.
                                                                                                     prepare and submit the reports.                       the records required under paragraph (a)
                                               (ii) Volume of RNG, in Btu LHV,
                                                                                                       (D) Copies of all calculations required             of this section, a biogas producer must
                                            withdrawn from the natural gas
                                                                                                     under this subpart.                                   keep all the following records:
                                            commercial pipeline system during the                      (ii) Registration records. Records
                                            reporting period by withdrawal                                                                                    (1) Copies of all contracts, PTDs,
                                                                                                     related to registration under this part               affidavits required under this part, and
                                            location.                                                and 40 CFR part 1090, subpart I, as
                                               (iii) Volume of renewable CNG/LNG,                                                                          all other commercial documents with
                                                                                                     follows:                                              any RNG producer, biointermediate
                                            in Btu LHV, dispensed during the                           (A) Copies of all registration
                                            reporting period by withdrawal                                                                                 producer, or renewable fuel producer.
                                                                                                     information and documentation                            (2) Documents supporting the volume
                                            location.                                                submitted to EPA.
                                               (2) An RNG RIN separator must                                                                               of biogas, in Btu HHV and scf, produced
                                                                                                       (B) Copies of all underlying                        for each batch.
                                            submit monthly reports to EPA                            information and documentation used to                    (3) Documents supporting the
                                            containing all the following information                 prepare and submit the registration                   composition and cleanup of biogas
                                            for each batch of biogas:                                request.                                              produced for each batch (e.g., meter
                                               (i) The location where renewable                        (iii) PTD records. Copies of all PTDs               readings of composition, records of
                                            CNG/LNG was dispensed as                                 required under this part.                             adsorbent replacement, records showing
                                            transportation fuel.                                       (iv) Subpart M records. Any                         equipment operation including
                                               (ii) The volume of renewable CNG/                     applicable record required under 40                   maintenance and energy usage, and
                                            LNG, in Btu LHV, dispensed as                            CFR part 80, subpart M.                               records of component streams separated
                                            transportation fuel at the location.                       (v) QAP records. Information and                    from the biomethane-enriched stream).
                                               (f) Retirement of RINs for RNG used                   documentation related to participation                   (4) Information and documentation
                                            as a feedstock or process heat. A party                  in any QAP program, including                         related to participation in any QAP
                                            that retires RINs for RNG used as a                      contracts between the entity and the                  program, including contracts between
                                            feedstock or as process heat or energy                   QAP provider, records related to                      the biogas producer and the QAP
                                            under § 80.1426(f)(12) or (13) must                      verification activities under the QAP,                provider, records related to verification
                                            submit quarterly reports to EPA                          and copies of any QAP-related                         activities under the QAP, and copies of
                                            containing all the following                             submissions.                                          any QAP-related submissions.
                                            information:                                               (vi) Sampling, testing, and                            (5) Records related to measurement,
                                               (1) The name(s) and location(s) of the                measurement records. Documents                        including types of equipment used,
                                            natural gas commercial pipeline where                    supporting the sampling, storage,                     metering process, maintenance and
                                            the RNG was withdrawn.                                   testing, and measurement results relied               calibration records, documents
                                               (2) Volume of RNG, in Btu LHV,                        upon under § 80.155, including all                    supporting adjustments related to error
                                            withdrawn from the natural gas                           results, maintenance records, and                     correction, and measurement data.
                                            commercial pipeline during the                           calibration records.                                     (6) Documents supporting the use of
                                            reporting period by location.                              (vii) Other records. Any other records              each process heat source and supporting
                                               (3) The EPA-issued company and                        relied upon by the party to demonstrate               the amount of each source used in the
                                            facility IDs for the facility that used the              compliance with this subpart.                         production process for each batch.
                                            withdrawn RNG as a feedstock or as                         (viii) Potentially invalid RINs. Any                   (7) All the applicable recordkeeping
                                            process heat.                                            records and copies of notifications                   requirements for digester feedstocks
                                               (4) For each facility, the following                  related to potentially inaccurate or non-             under § 80.1454.
                                            information, as applicable:                              qualifying biogas volumes or potentially                 (8) The following information and
                                               (i) For fuels that are gaseous at STP,                invalid RINs under § 80.185.                          documents showing that the biogas
                                            the volume of biogas-derived renewable                     (ix) RNG importers and foreign                      came from renewable biomass:
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                                            fuel, in Btu LHV, produced using the                     parties. Any records related to RNG                      (i) For all anaerobic digesters,
                                            withdrawn RNG.                                           importers and foreign parties under                   documentation showing the mass of
                                               (ii) For all other fuels, the volume of               §§ 80.160, 80.1466, and 80.1467, as                   each feedstock type input into the
                                            biogas-derived renewable fuel, in                        applicable.                                           digester for each batch of biogas.
                                            gallons, produced using the withdrawn                      (2) Length of time records must be                     (ii) For agricultural digesters, a
                                            RNG.                                                     kept. The records required under this                 quarterly affidavit signed by the RCO or


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                                            their delegate that only animal manure,                     (vii) Pipeline injection statements                   (d) Biogas closed distribution system
                                            crop residue, or separated yard waste                    describing the energy and volume of                   RIN generators. In addition to the
                                            that had an adjusted cellulosic content                  natural gas for each pipeline                         records required under paragraph (a) of
                                            of at least 75% were used to produce                     interconnect.                                         this section, a biogas closed distribution
                                            biogas during the quarter.                                  (2) Records related to each RIN                    system RIN generator must keep all the
                                               (iii) For municipal wastewater                        transaction, separately for each                      following records:
                                            treatment facility digesters and                         transaction, including all the following                 (1) Documentation demonstrating that
                                            separated MSW digesters, a quarterly                     information:                                          the renewable CNG/LNG was produced
                                            affidavit signed by the RCO or their                        (i) A list of the RINs generated,                  from renewable biomass and qualifies to
                                            delegate that only feedstocks that had an                owned, purchased, sold, separated,                    generate RINs under an approved
                                            adjusted cellulosic content of at least                  retired, or reinstated.                               pathway.
                                            75% were used to produce biogas                             (ii) The parties involved in each                     (2) Copies of any written contract for
                                            during the quarter.                                      transaction including the transferor,                 the sale or use of renewable CNG/LNG
                                               (iv) For biogas produced from                         transferee, and any broker or agent.                  as transportation fuel, and copies of any
                                            separated yard waste, separated food                        (iii) The date of the transfer of the              affidavit from a party that sold or used
                                            waste, or biogenic waste oils/fats/                      RINs.                                                 the renewable CNG/LNG as
                                            greases, documents required under                           (iv) Additional information related to             transportation fuel.
                                            § 80.1454(j)(1).                                         details of the transaction and its terms.                (e) RNG RIN separators. In addition to
                                               (v) For biogas produced from                                                                                the records required under paragraph (a)
                                                                                                        (3) Documentation recording the
                                            separated MSW, documents required                                                                              of this section, an RNG RIN separator
                                                                                                     transfer and sale of RNG, from the point
                                            under § 80.1454(j)(2).
                                                                                                     of biogas production to the facility that             must keep all the following records:
                                               (9) For biogas produced in a mixed
                                            digester, all the following:                             sells or uses the fuel for transportation                (1) Documentation indicating the
                                               (i) Documents for each delivery of                    purposes.                                             volume of RNG, in Btu LHV, withdrawn
                                            feedstock to the biogas production                          (4) A copy of the RNG producer’s                   from each interconnect of the natural
                                            facility, demonstrating all the following                Compliance Certification required under               gas commercial pipeline system.
                                            for each unique combination of                           Title V of the Clean Air Act.                            (2) Documentation demonstrating the
                                            feedstock supplier and type of                              (5) Results of any laboratory analysis             volume of RNG, in Btu LHV, withdrawn
                                            feedstock:                                               of chemical composition or physical                   from the natural gas commercial
                                               (A) The name of the feedstock                         properties.                                           pipeline system that was used to
                                            supplier.                                                   (6) Documents supporting the                       produce renewable CNG/LNG.
                                               (B) The type of feedstock.                            composition of biogas and RNG and                        (3) Documentation indicating the
                                               (C) The mass of that feedstock                        cleanup of biogas for each batch (e.g.,               volume of renewable CNG/LNG, in Btu
                                            delivered from that supplier.                            meter readings of composition, records                LHV, dispensed as transportation fuel
                                               (ii) Data, documents, and calculations                of adsorbent replacement, records                     from each dispensing location.
                                            related to digester operating conditions                 showing equipment operation including                    (4) Copies of all documentation
                                            required under § 80.105(f)(2)(iii)(D).                   maintenance and energy usage, and                     required under § 80.125(d)(2)(ii), as
                                               (iii) Documents for each batch                        records of component streams separated                applicable.
                                            showing how measurement data for                         from the biomethane-enriched stream).                    (5) Documentation showing how the
                                            volatile solids, total solids, and mass                     (7) Documents supporting the use of                number of RINs separated was
                                            were used to calculate batch volume                      each process heat source and supporting               determined using the information
                                            under § 80.105(j)(2).                                    the amount of each source used in the                 specified in paragraphs (e)(1) through
                                               (iv) Documents showing the amounts                    production process for each batch.                    (4) of this section and the applicable
                                            of additives (e.g., water), timing of                       (8) Records related to measurement,                RIN separation reports.
                                            additive addition, and location of                       including types of equipment used,                       (f) Renewable fuel producers that use
                                            additive addition for all additives added                metering process, maintenance and                     biogas as a biointermediate or RNG as
                                            to the feedstock.                                        calibration records, documents                        a feedstock. In addition to the records
                                               (v) For samples tested for volatile                   supporting adjustments related to error               required under paragraph (a) of this
                                            solids and total solids, documents                       correction, and measurement data.                     section, a renewable fuel producer that
                                            showing the time and location that each                     (9) Information and documentation                  uses biogas as a biointermediate or RNG
                                            sample was obtained and tested.                          related to participation in any QAP                   as a feedstock must keep all the
                                               (c) RNG producers. In addition to the                 program, including contracts between                  following records:
                                            records required under paragraph (a) of                  the RNG producer and the QAP                             (1) Documentation supporting the
                                            this section, an RNG producer must                       provider, records related to verification             volume of renewable fuel produced
                                            keep all the following records:                          activities under the QAP, and copies of               from biogas used as a biointermediate or
                                               (1) Records related to the generation
                                                                                                     any QAP-related submissions.                          RNG that was used as a feedstock.
                                            and assignment of RINs, including all
                                                                                                        (10) For an RNG production facility                   (2) For biogas, all the following
                                            the following information:
                                                                                                     that injects RNG at a pipeline                        additional information:
                                               (i) Batch volume.
                                               (ii) Batch number.                                    interconnect that also has RNG injected                  (i) For each facility, documentation
                                               (iii) Production date when RINs were                  from other sources, documents showing                 supporting the volume of biogas, in Btu
                                            assigned to RNG.                                         that RINs generated for the facility                  HHV and scf, that was used as a
                                               (iv) Injection point into the natural                 comply with the requirements specified                biointermediate.
                                            gas commercial pipeline system.                          in § 80.125(b)(7).                                       (ii) Copies of all applicable contracts
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                                               (v) Volume of biogas, in Btu HHV and                     (11) Documentation of any waiver                   over the past 5 years with each
                                            scf, respectively, received at each RNG                  provided by the natural gas commercial                biointermediate producer.
                                            production facility.                                     pipeline system for any parameter of the                 (3) For RNG, all the following
                                               (vi) Volume of RNG, in Btu LHV, Btu                   RNG that does not meet the natural gas                additional information:
                                            HHV, and scf, produced at each RNG                       specifications submitted under                           (i) Documentation supporting the
                                            production facility.                                     § 80.135(d)(5).                                       volume of RNG, in Btu LHV, withdrawn


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                                            from the natural gas commercial                          interconnect (e.g., via truck), the                      (ii) The party demonstrates that the
                                            pipeline system.                                         transferor must provide the transferee                alternative measurement protocol is at
                                               (ii) Documentation supporting the                     PTDs that include all the following                   least as accurate and precise as the
                                            retirement of RINs for RNG used as a                     information:                                          methods specified in paragraphs (a)(1)
                                            feedstock (e.g., contracts, purchase                        (1) The applicable information listed              and (2) of this section, as applicable.
                                            orders, invoices).                                       in paragraph (a) of this section.                        (b) Biogas and RNG sampling and
                                                                                                        (2) The following statement, ‘‘This                testing. Any party required to sample
                                            § 80.150   Product transfer documents.                   volume of RNG is designated and                       and test biogas or RNG under this
                                               (a) General requirements—(1) PTD                      intended for transportation use and may               subpart must do so as follows:
                                            contents. On each occasion when any                      not be used for any other purpose.’’                     (1) Collect representative samples of
                                            person transfers title of any biogas or                     (d) PTD requirements for imported                  biogas or RNG using API MPMS 14.1
                                            imported RNG without assigned RINs,                      RIN-less RNG. On each occasion when                   (incorporated by reference, see § 80.12).
                                            the transferor must provide the                          title of RIN-less RNG is transferred and                 (2) Perform all the following
                                            transferee PTDs that include all the                     ultimately imported into the covered                  measurements on each representative
                                            following information:                                   location, the transferor must provide the             sample:
                                               (i) The name, EPA-issued company                      transferee PTDs that include all the                     (i) Methane, carbon dioxide, nitrogen,
                                            and facility IDs, and address of the                     following information:                                and oxygen using EPA Method 3C (see
                                            transferor.                                                 (1) The applicable information listed              Appendix A–2 to 40 CFR part 60).
                                               (ii) The name, EPA-issued company                     in paragraph (a) of this section.                        (ii) Hydrogen sulfide and total sulfur
                                            and facility IDs, and address of the                        (2) The following statement, ‘‘This                using ASTM D5504 (incorporated by
                                            transferee.                                              volume of RNG is designated and                       reference, see § 80.12).
                                               (iii) The volume (in Btu HHV for                      intended for transportation use in the                   (iii) Siloxanes using ASTM D8230
                                            biogas or Btu LHV for RNG) of the                        contiguous United States and may not                  (incorporated by reference, see § 80.12).
                                            product being transferred by D code and                  be used for any other purpose.’’                         (iv) Moisture using ASTM D4888
                                            verification status.                                        (3) The name, EPA-issued company                   (incorporated by reference, see § 80.12).
                                               (iv) The location of the product at the               and facility IDs, and address of the                     (v) Hydrocarbon analysis using EPA
                                            time of the transfer.                                    contracted RNG importer under                         Method 18 (see Appendix A–6 to 40
                                               (v) The date of the transfer.                         § 80.160(e).                                          CFR part 60).
                                               (vi) Period of production.                               (4) The name, EPA-issued company                      (vi) Heating value and relative density
                                               (2) Other PTD requirements. A party                   and facility IDs, and address of the                  using ASTM D3588 (incorporated by
                                            must also include any applicable PTD                     transferee.                                           reference, see § 80.12).
                                            information required under § 80.1453 or                                                                           (vii) Additional components specified
                                            40 CFR part 1090, subpart L.                             § 80.155 Sampling, testing, and                       in the natural gas specifications
                                               (b) Additional PTD requirements for                   measurement.                                          submitted under § 80.135(d)(5) or
                                            transfers of biogas. In addition to the                     (a) Biogas and RNG continuous                      specified by EPA as a condition of
                                            information required in paragraph (a) of                 measurement. Any party required to                    registration under this part.
                                            this section, on each occasion when any                  measure the volume of biogas, RNG, or                    (viii) Carbon-14 analysis using ASTM
                                            person transfers title of biogas, the                    renewable CNG/LNG under this subpart                  D6866 (incorporated by reference, see
                                            transferor must provide the transferee                   must continuously measure using                       § 80.12).
                                            PTDs that include all the following                      meters that comply with the                              (c) Digester feedstock. Any party
                                            information:                                             requirements in paragraphs (a)(1) and                 required to test for total solids and
                                               (1) An accurate and clear statement of                (2) of this section, or have an accepted              volatile solids of a digester feedstock
                                            the applicable designation of the biogas.                alternative measurement protocol as                   under this subpart must do so as
                                               (2) If the biogas is designated as a                  specified in paragraph (a)(3) of this                 follows:
                                            biointermediate, any applicable                          section:                                                 (1) Samples must be tested in
                                            requirement specified in § 80.1453(f).                      (1) In-line GC meters compliant with               accordance with Part G of SM 2540
                                               (3) One of the following statements, as               ASTM D7164 (incorporated by                           (incorporated by reference, see § 80.12).
                                            applicable:                                              reference, see § 80.12), including                       (2) Samples must be obtained, stored,
                                               (i) For biogas designated for use to                  sections 9.2, 9.3, 9.4, 9.5, 9.7, 9.8, and            and tested in accordance with Part A of
                                            produce renewable CNG/LNG, ‘‘This                        9.11 of ASTM D7164.                                   SM 2540, including Sections 2, 3, and
                                            volume of biogas is designated and                          (2) Flow meters compliant with one of              5 (Sources of Error and Variability,
                                            intended for use to produce renewable                    the following:                                        Sample Handling and Preservation, and
                                            CNG/LNG.’’                                                  (i) API MPMS 14.3.1, API MPMS                      Quality Control).
                                               (ii) For biogas designated for use to                 14.3.2, API MPMS 14.3.3, and API                         (3) Parties must test each daily
                                            produce RNG, ‘‘This volume of biogas is                  MPMS 14.3.4 (incorporated by                          representative sample under paragraphs
                                            designated and intended for use to                       reference, see § 80.12).                              (c)(1) and (2) of this section unless the
                                            produce renewable natural gas.’’                            (ii) API MPMS 14.12 (incorporated by               party has a composite sampling plan
                                               (iii) For biogas designated for use as                reference, see § 80.12).                              submitted to EPA under
                                            a biointermediate, the language found at                    (iii) EN 17526 (incorporated by                    § 80.135(c)(10)(vi)(D). Parties with a
                                            § 80.1453(f)(1)(vi).                                     reference, see § 80.12) compatible with               composite sampling plan must either
                                               (iv) For biogas designated for use as                 gas type H.                                           test each daily representative sample or
                                            process heat or energy under                                (3) EPA may accept an alternative                  test samples in accordance with Part A
                                            § 80.1426(f)(12) or (13), ‘‘This volume of               measurement protocol if all the                       of SM 2540 and as specified in the
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                                            biogas is designated and intended for                    following conditions are met:                         facility’s composite sampling plan.
                                            use as process heat or energy.’’                            (i) The party demonstrates that they                  (d) Digester operations. Any biogas
                                               (c) PTD requirements for custodial                    are unable to continuously measure                    producer required to measure or
                                            transfers of RNG. On each occasion                       using meters that comply with the                     calculate digester operating conditions
                                            when custody of RNG is transferred                       requirements in paragraphs (a)(1) and                 under this subpart must determine
                                            prior to injection into a pipeline                       (2) of this section, as applicable.                   digester operating conditions for each


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                                            mixed digester that meet all the                            (B) Access will be provided to any                 including the EPA administrative forum
                                            following requirements:                                  location where:                                       where allowed under the Clean Air Act.
                                               (1) Digester temperature readings                        (1) Biogas, RNG, biointermediate, or                  (iv) United States substantive and
                                            must be recorded no less frequent than                   biogas-derived renewable fuel is                      procedural laws apply to any civil or
                                            every 30 minutes and represent the                       produced.                                             criminal enforcement action against the
                                            average temperature in the tank.                            (2) Documents related to the foreign               foreign party or any employee of the
                                               (2) Digester hydraulic and solids                     party operations are kept.                            foreign party related to the provisions of
                                            mean residence times must be                                (3) Any product subject to this                    this subpart.
                                            calculated no less frequent than once a                  subpart (e.g., biogas, RNG,                              (v) Applying to be an approved
                                            day using measurements of inflows,                       biointermediates, or biogas-derived                   foreign party under this subpart, or
                                            outflows, and tank levels, as applicable.                renewable fuel) that is stored or                     producing or exporting any product
                                               (3) Other parameters must be                          transported outside the United States                 subject to this subpart under such
                                            measured and calculated as specified in                  between the foreign party’s facility and              approval, and all other actions to
                                            the facility’s registration under                        the point of importation into the United              comply with the requirements of this
                                            § 80.135(c)(10)(vi)(A)(4).                               States, including storage tanks, vessels,             subpart relating to such approval
                                               (e) Third parties. Samples required to                and pipelines.                                        constitute actions or activities covered
                                            be obtained under this subpart may be                       (C) EPA inspectors and auditors may                by and within the meaning of the
                                            collected and analyzed by third parties.                 be EPA employees or contractors to                    provisions of 28 U.S.C. 1605(a)(2), but
                                               (f) Unit conversions. A party                         EPA.                                                  solely with respect to actions instituted
                                            converting between Btu HHV and Btu                          (D) Any documents requested that are               against the foreign party, its agents and
                                            LHV for biogas, treated biogas, natural                  related to matters covered by                         employees in any court or other tribunal
                                            gas, or CNG/LNG must use the ratio of                    inspections and audits must be                        in the United States for conduct that
                                            HHV and LHV of methane as specified                      provided to an EPA inspector or auditor               violates the requirements applicable to
                                            in ASTM D3588 (incorporated by                           on request.                                           the foreign party under this subpart,
                                            reference, see § 80.12).                                    (E) Inspections and audits may                     including conduct that violates the
                                               (g) Liquid measurement and                            include review and copying of any                     False Statements Accountability Act of
                                            standardization. Any substance that is                   documents related to the following:                   1996 (18 U.S.C. 1001) and section
                                            liquid at STP must be measured in                           (1) The volume or properties of any                113(c)(2) of the Clean Air Act (42 U.S.C.
                                            gallons and standardized according to                    product subject to this subpart produced              7413).
                                            § 80.1426(f)(8).                                         or delivered to a renewable fuel                         (vi) The foreign party, or its agents or
                                                                                                     production facility.                                  employees, will not seek to detain or to
                                            § 80.160 RNG importers, foreign biogas                      (2) Transfers of title or custody to the           impose civil or criminal remedies
                                            producers, and foreign RNG producers.                    any product subject to this subpart.                  against EPA inspectors or auditors for
                                              (a) Applicability. The provisions of                      (3) Work performed and reports                     actions performed within the scope of
                                            this section apply to any RNG importer                   prepared by independent third parties                 EPA employment or contract related to
                                            or any foreign party subject to                          and by independent auditors under the                 the provisions of this subpart.
                                            requirements of this subpart outside the                 requirements of this subpart, including                  (vii) In any case where a product
                                            United States.                                           work papers.                                          produced at a foreign facility is stored
                                              (b) General requirements. Any foreign                     (4) Records required under § 80.145.               or transported by another company
                                            party must meet all the following                           (5) Any records related to claims                  between the foreign facility and the
                                            requirements:                                            made during registration.                             point of importation to the United
                                              (1) Letter from RCO. The foreign party                    (F) Inspections and audits by EPA                  States, the foreign party must obtain
                                            must provide a letter signed by the RCO                  may include interviewing employees.                   from each such other company a
                                            that commits the foreign party to the                       (G) Any employee of the foreign party              commitment that meets the
                                            applicable provisions specified in                       must be made available for interview by               requirements specified in paragraphs
                                            paragraphs (b)(4) and (c) of this section                the EPA inspector or auditor, on                      (b)(4)(i) through (vi) of this section
                                            as part of their registration under                      request, within a reasonable time                     before the product is transported to the
                                            § 80.135.                                                period.                                               United States, and these commitments
                                              (2) Bond posting. A foreign party that                    (H) English language translations of               must be included in the foreign party’s
                                            generates RINs must meet the bond                        any documents must be provided to an                  application to be a registered foreign
                                            requirements of § 80.1466(h).                            EPA inspector or auditor, on request,                 party under this subpart.
                                               (3) Foreign RIN owners. A foreign                     within 10 business days.                                 (c) Sovereign immunity. By
                                            party that owns RINs must meet the                          (I) English language interpreters must             submitting an application to be a
                                            requirements of § 80.1467, including                     be provided to accompany EPA                          registered foreign party under this
                                            any foreign party that separates or                      inspectors and auditors, on request.                  subpart, or by producing or exporting
                                            retires RINs under § 80.125.                                (ii) An agent for service of process               any product subject to this subpart to
                                               (4) Foreign party commitments. Any                    located in the District of Columbia will              the United States under such
                                            foreign party must commit to the                         be named, and service on this agent                   registration, the foreign party, and its
                                            following provisions as a condition of                   constitutes service on the foreign party              agents and employees, without
                                            being registered as a foreign party under                or any employee of the party for any                  exception, become subject to the full
                                            this subpart:                                            action by EPA or otherwise by the                     operation of the administrative and
                                               (i) Any EPA inspector or auditor must                 United States related to the                          judicial enforcement powers and
                                            be given full, complete, and immediate                   requirements of this subpart.                         provisions of the United States without
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                                            access to conduct inspections and                           (iii) The forum for any civil or                   limitation based on sovereign immunity,
                                            audits of all facilities subject to this                 criminal enforcement action related to                with respect to actions instituted against
                                            subpart.                                                 the provisions of this subpart for                    the party, its agents and employees in
                                               (A) Inspections and audits may be                     violations of the Clean Air Act or                    any court or other tribunal in the United
                                            either announced in advance by EPA, or                   regulations promulgated thereunder are                States for conduct that violates the
                                            unannounced.                                             governed by the Clean Air Act,                        requirements applicable to the foreign


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                                            party under this subpart, including                      part 80, subparts E and M, including 40               subpart must meet the requirements in
                                            conduct that violates the False                          CFR 80.160, 80.1466, and 80.1467 apply                40 CFR 1090.1800(b).
                                            Statements Accountability Act of 1996                    to [NAME OF FOREIGN PARTY].                              (3) The auditor must perform
                                            (18 U.S.C. 1001) and section 113(c)(2) of                Pursuant to Clean Air Act section 113(c)              attestation engagements separately for
                                            the Clean Air Act (42 U.S.C. 7413).                      and 18 U.S.C. 1001, the penalty for                   each biogas production facility, RNG
                                               (d) English language reports. Any                     furnishing false, incomplete, or                      production facility, and renewable fuel
                                            document submitted to EPA by a foreign                   misleading information in this                        production facility, as applicable.
                                            party must be in English, or must                        certification or submission is a fine of                 (4) Except as otherwise specified in
                                            include an English language translation.                 up to $10,000 U.S., and/or                            this section, attest auditors may use the
                                               (e) Foreign RNG producer contractual                  imprisonment for up to five years.’’                  representative sampling procedures
                                            relationship. A non-RIN generating                          (h) Requirements for RNG importers.                specified in 40 CFR 1090.1805.
                                            foreign RNG producer must establish a                    An RNG importer must meet all the                        (5) Except as otherwise specified in
                                            contractual relationship with an RNG                     following requirements:                               this section, attest auditors must prepare
                                            importer, prior to the sale of RIN-less                     (1) For each imported batch of RNG,                and submit the annual attestation
                                            RNG.                                                     the RNG importer must have an                         engagement following the procedures
                                               (f) Withdrawal or suspension of                       independent third party that meets the                specified in 40 CFR 1090.1800(d).
                                            registration. EPA may withdraw or                        requirements of § 80.1450(b)(2)(i) and                   (b) General procedures for biogas
                                            suspend a foreign party’s registration                   (ii) do all the following:                            producers. An attest auditor must
                                            where any of the following occur:                           (i) Determine the volume of RNG, in                conduct annual attestation audits for
                                               (1) The foreign party fails to meet any               Btu LHV, injected into the natural gas                biogas producers using the following
                                            requirement of this subpart.                             commercial pipeline system as specified               procedures:
                                               (2) The foreign government fails to                   in § 80.155.                                             (1) Registration and EPA reports. The
                                            allow EPA inspections or audits as                          (ii) Determine the name and EPA-                   auditor must review registration and
                                            provided in paragraph (b)(4)(i) of this                  assigned company and facility                         EPA reports as follows:
                                            section.                                                 identification numbers of the foreign                    (i) Obtain copies of all the following:
                                               (3) The foreign party asserts a claim                 non-RIN generating RNG producer that                     (A) The biogas producer’s registration
                                            of, or a right to claim, sovereign                       produced the RNG.                                     information submitted under §§ 80.135
                                            immunity in an action to enforce the                        (2) The independent third party must               and 80.1450.
                                            requirements in this subpart.                            submit reports to the foreign non-RIN                    (B) All reports submitted under
                                               (4) The foreign party fails to pay a                  generating RNG producer and the RNG                   §§ 80.140 and 80.1451.
                                            civil or criminal penalty that is not                    importer within 30 days following the                    (ii) For each biogas production
                                            satisfied using the bond required under                  date the RNG was injected into a natural              facility, confirm that the facility’s
                                            paragraph (b)(2) of this section.                        gas commercial pipeline system for                    registration is accurate based on the
                                               (g) Additional requirements for                       import into the United States containing              activities reported during the
                                            applications, reports, and certificates.                 all the following:                                    compliance period and confirm any
                                            Any application for registration as a                       (i) The statements specified in                    related updates were completed prior to
                                            foreign party, or any report,                            paragraph (g) of this section.                        conducting regulated activities at the
                                            certification, or other submission                          (ii) The name of the foreign non-RIN               facility and report as a finding any
                                            required under this subpart by the                       generating RNG producer, containing                   exceptions.
                                            foreign party, must be:                                  the information specified in paragraph                   (iii)(A) Report the date of the last
                                               (1) Submitted using formats and                       (g) of this section, and including the                engineering review conducted under
                                            procedures specified by EPA.                             identification of the natural gas                     §§ 80.135(b)(3) and 80.1450(b), as
                                               (2) Signed by the RCO of the foreign                  commercial pipeline system terminal at                applicable.
                                            party’s company.                                         which the product was offloaded.                         (B) Report as a finding if the last
                                               (3) Contain the following declarations:                  (iii) PTDs showing the volume of                   engineering review is outside of the
                                               (i) Certification.                                    RNG, in Btu LHV, transferred from the                 schedule specified in § 80.1450(d)(3)(ii).
                                               ‘‘I hereby certify:                                   foreign non-RIN generating RNG                           (iv) Confirm that the biogas producer
                                               That I have actual authority to sign on               producer to the RNG importer.                         submitted all reports required under
                                            behalf of and to bind [NAME OF                              (3) The RNG importer and the                       §§ 80.140 and 80.1451 for activities
                                            FOREIGN PARTY] with regard to all                        independent third party must keep                     performed during the compliance
                                            statements contained herein.                             records of the audits and reports                     period and report as a finding any
                                               That I am aware that the information                  required under paragraphs (h)(1) and (2)              exceptions.
                                            contained herein is being Certified, or                  of this section for five years from the                  (2) Measurement method review. The
                                            submitted to the United States                           date of creation.                                     auditor must review measurement
                                            Environmental Protection Agency,                         § 80.165   Attest engagements.                        methods for each meter as follows:
                                            under the requirements of 40 CFR part                      (a) General provisions. (1) The                        (i) Obtain records related to
                                            80, subparts E and M, and that the                       following parties must arrange for                    measurement under § 80.145(a)(1)(vi).
                                            information is material for determining                  annual attestation engagement using                      (ii)(A) Identify and report the name of
                                            compliance under these regulations.                      agreed-upon procedures:                               the method(s) used for measuring the
                                               That I have read and understand the                     (i) Biogas producers.                               volume of biogas, in Btu HHV and scf.
                                            information being Certified or                             (ii) RNG producers.                                    (B) Report as a finding any method
                                            submitted, and this information is true,                   (iii) RNG importers.                                that is not specified in § 80.155 or the
                                            complete, and correct to the best of my                    (iv) Biogas closed distribution system              biogas producer’s registration.
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                                            knowledge and belief after I have taken                  RIN generators.                                          (iii)(A) Identify whether maintenance
                                            reasonable and appropriate steps to                        (v) RNG RIN separators.                             and calibration records were kept for
                                            verify the accuracy thereof.’’                             (vi) Renewable fuel producers that use              each meter and report the last date of
                                               (ii) Affirmation.                                     RNG as a feedstock.                                   calibration.
                                               ‘‘I affirm that I have read and                         (2) The auditor performing attestation                 (B) Report as a finding if no records
                                            understand the provisions of 40 CFR                      engagements required under this                       were obtained.


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                                               (3) Listing of batches. The auditor                   HHV and scf, and the volume of RNG                    report and report as a finding any
                                            must review listings of batches as                       produced, in Btu HHV and scf.                         exceptions.
                                            follows:                                                    (C) Records showing whether non-                      (iii)(A) Compare the number of RINs
                                               (i) Obtain the batch reports submitted                renewable components were blended                     generated multiplied by 77,000 Btu to
                                            under § 80.140.                                          into RNG.                                             the amount of RNG injected into the
                                               (ii) Compare the reported volume for                     (ii) Report the number of parties the              natural gas commercial pipeline system.
                                            each batch to the measured volume and                    RNG producer received biogas from and                    (B) Report as a finding if the volume
                                            report as a finding any exceptions.                      the total volume received separately                  of RNG injected is less than the number
                                               (4) Testing of biogas transfers. The                  from each party.                                      of RINs generated multiplied by 77,000
                                            auditor must review biogas transfers as                     (iii)(A) Report the total volume of                Btu.
                                            follows:                                                 biogas used to produce RNG, in Btu                       (d) General procedures for biogas
                                               (i) Obtain the associated PTD for each                HHV and scf, and the total volume of                  closed distribution system RIN
                                            batch of biogas produced during the                      RNG produced, in Btu HHV and scf.                     generators. An attest auditor must
                                            compliance period.                                          (B) Report as a finding if the volume              conduct annual attestation audits for
                                               (ii) Using the batch number, confirm                  of RNG produced is greater than the                   biogas closed distribution system RIN
                                            that the correct PTD is obtained for each                volume of biogas used to produce RNG,                 generators using the following
                                            batch and compare the volume, in Btu                     in Btu HHV.                                           procedures:
                                            HHV and scf, on each batch report to the                    (iv) Report as a finding if any RINs                  (1) Registration and EPA reports. The
                                            associated PTD and report as a finding                   were generated for the non-renewable                  auditor must review registration and
                                            any exceptions.                                          components of the blended batch.                      EPA reports as follows:
                                               (iii) Confirm that the PTD associated                    (3) Measurement method review. The                    (i) Obtain copies of all the following:
                                            with each batch contains all applicable                  auditor must review measurement                          (A) The biogas closed distribution
                                            language requirements under § 80.150                     methods for each meter as follows:                    system RIN generator’s registration
                                            and report as a finding any exceptions.                     (i) Obtain records related to                      information submitted under § 80.135.
                                               (c) General procedures for RNG                        measurement under § 80.145(a)(1)(vi).                   (B) All reports submitted under
                                            producers and importers. An attest                          (ii)(A) Identify and report the name of            § 80.140.
                                            auditor must conduct annual attestation                  the method(s) used for measuring the                    (ii) Confirm that the biogas closed
                                            audits for RNG producers and importers                   volume of RNG, in Btu and in scf.                     distribution system RIN generator’s
                                                                                                        (B) Report as a finding any method                 registration is accurate based on the
                                            using the following procedures, as
                                                                                                     that is not specified in § 80.155 or the              activities reported during the
                                            applicable:
                                                                                                     RNG producer’s registration.                          compliance period and that any
                                               (1) Registration and EPA reports. The                    (iii) Identify whether maintenance
                                            auditor must review registration and                                                                           required updates were completed prior
                                                                                                     and calibration records were kept and
                                            EPA reports as follows:                                                                                        to conducting regulated activities and
                                                                                                     report as a finding if no records were
                                               (i) Obtain copies of all the following:                                                                     report as a finding any exceptions.
                                                                                                     obtained.
                                               (A) The RNG producer or importer’s                       (4) Listing of batches. The auditor                  (iii) Confirm that the biogas closed
                                            registration information submitted                       must review listings of batches as                    distribution system RIN generator
                                            under §§ 80.135 and 80.1450.                             follows:                                              submitted all reports required under
                                               (B) All reports submitted under                          (i) Obtain the batch reports submitted             §§ 80.140 and 80.1451 for activities
                                            §§ 80.140 and 80.1451.                                   under § 80.140.                                       performed during the compliance
                                               (ii) For each RNG production facility,                   (ii) Compare the reported volume for               period and report as a finding any
                                            confirm that the facility’s registration is              each batch to the measured volume and                 exceptions.
                                            accurate based on the activities reported                report as a finding any exceptions.                     (2) RIN generation. The auditor must
                                            during the compliance period and                            (iii) Report as a finding any batches              complete all applicable requirements
                                            confirm any related updates were                         with reported values that did not meet                specified in § 80.1464.
                                            completed prior to conducting regulated                  the natural gas specifications submitted                (e) General procedures for RNG RIN
                                            activities at the facility and report as a               under § 80.135(d)(5).                                 separators. An attest auditor must
                                            finding any exceptions.                                     (5) Testing of RNG transfers. The                  conduct annual attestation audits for
                                               (iii)(A) Report the date of the last                  auditor must review RNG transfers as                  RNG RIN separators using the following
                                            engineering review conducted under                       follows:                                              procedures:
                                            §§ 80.135(b)(3) and 80.1450(b), as                          (i) Obtain the associated PTD for each               (1) Registration and EPA reports. The
                                            applicable.                                              batch of RNG produced or imported                     auditor must review registration and
                                               (B) Report as a finding if the last                   during the compliance period.                         EPA reports as follows:
                                            engineering review is outside of the                        (ii) Using the batch number, confirm                  (i) Obtain copies of all the following:
                                            schedule specified in § 80.1450(d)(3)(ii).               that the correct PTD is obtained for each                (A) The RNG RIN separator’s
                                               (iv) Confirm that the RNG producer or                 batch and compare the volume, in Btu                  registration information submitted
                                            importer submitted all reports required                  and scf, on each batch report to the                  under §§ 80.135 and 80.1450.
                                            under §§ 80.140 and 80.1451 for                          associated PTD and report as a finding                   (B) All reports submitted under
                                            activities performed during the                          any exceptions.                                       §§ 80.140 and 80.1451.
                                            compliance period and report as a                           (iii) Confirm that the PTD associated                 (ii) Confirm that the RNG RIN
                                            finding any exceptions.                                  with each batch contains all applicable               separator’s registration is accurate based
                                               (2) Feedstock received. The auditor                   language requirements under § 80.150                  on the activities reported during the
                                            must perform an inventory of biogas                      and report as a finding any exceptions.               compliance period and that any
                                            received as follows:                                        (6) RNG RIN generation. The auditor                required updates were completed prior
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                                               (i) Obtain copies of all the following:               must perform the following procedures                 to conducting regulated activities and
                                               (A) Records documenting the source                    for monthly RIN generation:                           report as a finding any exceptions.
                                            and volume of biogas, in Btu and scf,                       (i) Obtain the RIN generation reports                 (iii) Confirm that the RNG RIN
                                            received by the RNG producer.                            submitted under § 80.1451.                            separator submitted all reports required
                                               (B) Records showing the volume of                        (ii) Compare the number of RINs                    under §§ 80.140 and 80.1451 for
                                            biogas used to produce RNG, in Btu                       generated for each batch to the batch                 activities performed during the


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                                            compliance period and report as a                          (iii) Report as a finding if the                    transportation fuel, heating oil, or jet
                                            finding any exceptions.                                  measured volume of RNG used as a                      fuel as specified in § 80.1472.
                                               (2) RIN separation events. The auditor                feedstock does not match the number of                   (5) Independent third-party auditors
                                            must review records supporting RIN                       RINs retired for RNG.                                 must ensure that mass and energy
                                            separation events as follows:                                                                                  balances performed under
                                               (i) Obtain copies of all the following:               § 80.170   Quality assurance plan.                    § 80.1469(c)(2) are consistent between
                                               (A) RIN separation reports submitted                     (a) General requirements. This section             facilities that are audited as part of the
                                            under §§ 80.140(e) and 80.1452.                          specifies the requirements for QAPs                   same chain.
                                               (B) RNG withdrawal records required                   related to the verification of RINs                      (b) Requirements for biogas
                                            under § 80.145(e).                                       generated for RNG and biogas-derived                  production facilities. In addition to the
                                               (ii)(A) Compare the volume of RNG,                    renewable fuel.                                       applicable elements verified under
                                            in Btu LHV, withdrawn from the natural                      (1) For the generation of Q–RINs for               § 80.1469, the independent third-party
                                            gas commercial pipeline system to the                    RNG or biogas-derived renewable fuel,                 auditor must do all the following for
                                            reported number of separated RINs                        the same independent third-party                      each biogas production facility:
                                            multiplied by 77,000 Btu used to                         auditor must verify each party as                        (1) Verify that the biogas was
                                            produce the renewable CNG/LNG.                           follows:                                              measured as required under § 80.155.
                                               (B) Report as a finding if the volume                    (i) For RNG, all the RNG production                   (2) Verify that the PTDs for biogas
                                            of RNG, in Btu LHV, is less than the                     facilities that inject into the same                  transfers meet the applicable PTD
                                            number of separated RINs multiplied by                   pipeline interconnect and all the biogas              requirements in §§ 80.150 and 80.1453.
                                            77,000 Btu.                                              production facilities that provide                       (c) Requirements for RNG production
                                               (iii)(A) Compare the volume of                        feedstock to those RNG production                     facilities. In addition to the applicable
                                            renewable CNG/LNG, in Btu LHV, to the                    facilities.                                           elements verified under § 80.1469, the
                                            reported number of separated RINs                           (ii) For renewable CNG/LNG                         independent third-party auditor must
                                            multiplied by 77,000 Btu.                                produced from RNG, the biogas                         do all the following for each RNG
                                               (B) Report as a finding if the volume                 producer and the RNG producer.                        production facility:
                                            of renewable CNG/LNG, in Btu LHV, is                        (iii) For renewable CNG/LNG                           (1) Verify that the RNG was sampled,
                                            less than the number of separated RINs                   produced from biogas in a biogas closed               tested, and measured as required under
                                            multiplied by 77,000 Btu.                                distribution system, the biogas                       § 80.155.
                                               (3) RIN owner. The auditor must                       producer, the biogas closed distribution                 (2) Verify that RINs were assigned,
                                            complete all the requirements specified                  system RIN generator, and any party                   separated, and retired as required under
                                            in § 80.1464(c).                                         deemed necessary by EPA to ensure that                § 80.125(c), (d), and (e), respectively.
                                               (f) General procedures for renewable                  the renewable CNG/LNG was used as                        (3) Verify that the RNG was injected
                                            fuel producers that use RNG as a                         transportation fuel.                                  into a natural gas commercial pipeline
                                            feedstock. An attest auditor must                           (iv) For biogas-derived renewable fuel             system.
                                            conduct annual attestation audits for                    produced from biogas used as a                           (4) Verify that RINs were not
                                            renewable fuel producers that use RNG                    biointermediate, the biogas producer,                 generated on non-renewable
                                            as a feedstock using the following                       the producer of the biogas-derived                    components added to RNG prior to
                                            procedures:                                                                                                    injection into a natural gas commercial
                                                                                                     renewable fuel, and any other party
                                               (1) Registration and EPA reports. The                                                                       pipeline system.
                                                                                                     deemed necessary by EPA to ensure that
                                            auditor must review registration and                                                                              (d) Requirements for renewable fuel
                                                                                                     the biogas-derived renewable fuel was                 production facilities using biogas as a
                                            EPA reports as follows:                                  produced under an approved pathway
                                               (i) Obtain copies of all the following:                                                                     biointermediate. The independent third-
                                               (A) The renewable fuel producer’s                     and used as transportation fuel.                      party auditor must meet all the
                                            registration information submitted                          (v) For biogas-derived renewable fuel
                                                                                                                                                           requirements specified in paragraph (b)
                                            under § 80.135.                                          produced from RNG used as a feedstock,
                                                                                                                                                           of this section and § 80.1477 for each
                                               (B) All reports submitted under                       the producer of the biogas-derived                    renewable fuel production facility using
                                            § 80.140.                                                renewable fuel and any other party                    biogas as a biointermediate.
                                               (ii) Confirm that the renewable fuel                  deemed necessary by EPA to ensure that                   (e) Responsibility for replacement of
                                            producer’s registration is accurate based                the biogas-derived renewable fuel was                 invalid verified RINs. The generator of
                                            on the activities reported during the                    produced under an approved pathway                    RINs for RNG or a biogas-derived
                                            compliance period and that any                           and used as transportation fuel.                      renewable fuel, and the obligated party
                                            required updates were completed prior                       (2) Independent third-party auditors               that owns the Q–RINs, are required to
                                            to conducting regulated activities and                   that verify RINs generated under this                 replace invalidly generated Q–RINs
                                            report as a finding any exceptions.                      subpart must meet the requirements in                 with valid RINs as specified in
                                               (iii) Confirm that the renewable fuel                 § 80.1471(a) through (c), (g), and (h).               § 80.1431(b).
                                            producers submitted all reports required                    (3)(i) QAPs approved by EPA to verify
                                            under §§ 80.140 and 80.1451 for                          RINs generated under this subpart must                § 80.175 Prohibited acts and liability
                                            activities performed during the                          meet the applicable requirements in                   provisions.
                                            compliance period and report as a                        § 80.1469.                                               (a) Prohibited acts. (1) It is a
                                            finding any exceptions.                                     (ii) EPA may revoke or void a QAP as               prohibited act for any person to act in
                                               (2) RIN retirements. The attest auditor               specified in § 80.1469(e)(4) or (5).                  violation of this subpart or fail to meet
                                            must review RIN retirements as follows:                     (4) Independent third-party auditors               a requirement that applies to that person
                                               (i) Obtain copies of all the following:               must conduct quality assurance audits                 under this subpart.
                                               (A) RIN retirement reports submitted                  at biogas production facilities, RNG                     (2) No person may cause another
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                                            under §§ 80.140(f) and 80.1452.                          production facilities, renewable fuel                 person to commit an act in violation of
                                               (B) Records related to measurement                    production facilities, and any facility or            this subpart.
                                            under § 80.145(a)(1)(vi).                                location deemed necessary by EPA to                      (b) Liability provisions—(1) General.
                                               (ii) Compare the measured volume of                   ensure that the biogas-derived                        (i) Any person who commits any
                                            RNG used as a feedstock to the reported                  renewable fuel was produced under an                  prohibited act or requirement in this
                                            number of RINs retired for RNG.                          approved pathway and used as                          subpart is liable for the violation.


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                                               (ii) Any person who causes another                       (v) Any person that generated a RIN                producer must also meet all the
                                            person to commit a prohibited act under                  from a biogas-derived renewable fuel                  following requirements to establish an
                                            this subpart is liable for that violation.               produced from the RNG or                              affirmative defense:
                                               (iii) Any parent corporation is liable                biointermediate produced from the                        (1) The biogas producer conducted or
                                            for any violation committed by any of                    RNG.                                                  arranged to be conducted a quality
                                            its wholly-owned subsidiaries.                              (4) Third-party liability. Any party               assurance program that includes, at a
                                               (iv) Each partner to a joint venture, or              allowed under this subpart to act on                  minimum, a periodic sampling, testing,
                                            each owner of a facility owned by two                    behalf of a regulated party and does so               and measurement program adequately
                                            or more owners, is jointly and severally                 to demonstrate compliance with the                    designed to ensure their biogas meets
                                            liable for any violation of this subpart                 requirements of this subpart must meet                the applicable requirements to produce
                                            that occurs at the joint venture facility                those requirements in the same way that               biogas under this part.
                                            or facility owned by the joint owners, or                the regulated party must meet those                      (2) The biogas producer had all
                                            any violation of this subpart that is                    requirements. The regulated party and                 affected biogas verified by a third-party
                                            committed by the joint venture                           the third party are both liable for any               auditor under an approved QAP under
                                            operation or any of the joint owners of                  violations arising from the third party’s             §§ 80.170 and 80.1469.
                                            the facility.                                            failure to meet the requirements of this                 (3) The PTDs for the biogas indicate
                                               (v) Any person listed in paragraphs                   subpart.                                              that the biogas was in compliance with
                                            (b)(2) through (4) of this section is liable
                                                                                                                                                           the applicable requirements while in the
                                            for any violation of a prohibition                       § 80.180   Affirmative defense provisions.
                                                                                                                                                           biogas producer’s control.
                                            specified in paragraph (a) of this section                  (a) Applicability. A person may
                                            or failure to meet a requirement of any                                                                           (d) RNG producer elements. In
                                                                                                     establish an affirmative defense to a
                                            provision of this subpart regardless of                                                                        addition to the elements specified in
                                                                                                     violation that person is liable for under
                                            whether the person violated or caused                                                                          paragraph (b) of this section, an RNG
                                                                                                     § 80.175(b) if that person satisfies all
                                            the violation unless the person                                                                                producer must also meet all the
                                                                                                     applicable elements of an affirmative
                                            establishes an affirmative defense under                                                                       following requirements to establish an
                                                                                                     defense in this section.
                                            § 80.180.                                                                                                      affirmative defense:
                                                                                                        (1) No person that generates a RIN for
                                               (vi) The liability provisions of                                                                               (1) The RNG producer conducted or
                                                                                                     biogas-derived renewable fuel may
                                            § 80.1461 also apply to any person                                                                             arranged to be conducted a quality
                                                                                                     establish an affirmative defense under
                                            subject to the provisions of this subpart.                                                                     assurance program that includes, at a
                                                                                                     this section.
                                               (2) Biogas liability. When biogas is                     (2) A person that is a biogas producer             minimum, a periodic sampling, testing,
                                            found in violation of a prohibition                      may not establish an affirmative defense              and measurement program adequately
                                            specified in paragraph (a) of this section               under this section for a violation that               designed to ensure that the biogas used
                                            or § 80.1460, the following persons are                  the biogas producer is liable for under               to produce their RNG meets the
                                            deemed in violation:                                     § 80.175(b)(1) and (2).                               applicable requirements to produce
                                               (i) The biogas producer that produced                    (3) A person that is an RNG producer               biogas under this part and that their
                                            the biogas.                                              may not establish an affirmative defense              RNG meets the applicable requirements
                                               (ii) Any RNG producer that used the                   under this section for a violation that               to produce RNG under this part.
                                            biogas to produce RNG.                                   the RNG producer is liable for under                     (2) The RNG producer had all affected
                                               (iii) Any biointermediate producer                                                                          biogas and RNG verified by a third-party
                                                                                                     § 80.175(b)(1) and (3).
                                            that used the biogas to produce a                                                                              auditor under an approved QAP under
                                                                                                        (b) General elements. A person may
                                            biointermediate.                                                                                               §§ 80.170 and 80.1469.
                                                                                                     only establish an affirmative defense
                                               (iv) Any person that used the biogas,                                                                          (3) The PTDs for the biogas used to
                                            RNG produced from the biogas, or                         under this section if the person meets
                                                                                                     all the following requirements:                       produce their RNG and for their RNG
                                            biointermediate produced from the                                                                              indicate that the biogas and RNG were
                                                                                                        (1) The person, or any of the person’s
                                            biogas to produce a biogas-derived                                                                             in compliance with the applicable
                                                                                                     employees or agents, did not cause the
                                            renewable fuel.                                                                                                requirements while in the RNG
                                               (v) Any person that generated a RIN                   violation.
                                                                                                        (2) The person did not know or have                producer’s control.
                                            from a biogas-derived renewable fuel
                                            produced from the biogas, RNG                            reason to know that the biogas, treated
                                                                                                                                                           § 80.185    Potentially invalid RINs.
                                            produced from the biogas, or                             biogas, RNG, biogas-derived renewable
                                                                                                     fuel, or RIN was in violation of a                       (a) Identification and treatment of
                                            biointermediate produced from the                                                                              potentially invalid RINs (PIRs). (1) Any
                                            biogas.                                                  prohibition or requirement under this
                                                                                                     subpart.                                              RIN can be identified as a PIR by the
                                               (vi) Any person that used the biogas                                                                        biogas producer, the RIN generator, the
                                            or RNG produced from the biogas as                          (3) The person must have had no
                                                                                                     financial interest in the company that                independent third-party auditor that
                                            process heat or energy under                                                                                   verified the RIN, or EPA.
                                            § 80.1426(f)(12) or (13).                                caused the violation.
                                               (3) RNG liability. When RNG is found                     (4) If the person self-identified the                 (2) Any party listed in paragraph
                                            in violation of a prohibition specified in               violation, the person notified EPA                    (a)(1) of this section must use the
                                            paragraph (a) of this section or                         within five business days of discovering              procedures specified in § 80.1474(b) for
                                            § 80.1460, the following persons are                     the violation.                                        identification and treatment of PIRs and
                                            deemed in violation:                                        (5) The person must submit a written               retire any PIRs under § 80.1434(a).
                                               (i) The biogas producer that produced                 report to the EPA including all pertinent                (b) Potentially inaccurate or non-
                                            the biogas used to produce the RNG.                      supporting documentation,                             qualifying volumes of biogas-derived
                                               (ii) The RNG producer that produced                   demonstrating that the applicable                     renewable fuel. (1) Any party that
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                                            the RNG.                                                 elements of this section were met within              becomes aware of a volume of biogas-
                                               (iii) Any person that used the RNG as                 30 days of the person discovering the                 derived renewable fuel that does not
                                            a feedstock.                                             invalidity.                                           meet the applicable requirements for
                                               (iv) Any person that used the RNG as                     (c) Biogas producer elements. In                   such fuel under this part must notify the
                                            process heat or energy under                             addition to the elements specified in                 next party in the production chain
                                            § 80.1426(f)(12) or (13).                                paragraph (b) of this section, a biogas               within 5 business days.


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                                               (i) Biointermediate producers must                                      that same volume of biogas-derived                       United States to exercise any other
                                            notify the renewable fuel producer                                         renewable fuel or RNG.                                   authority to bring an enforcement action
                                            receiving the biointermediate within 5                                        (E) A party taking credit for biogas,                 under section 211 of the Clean Air Act,
                                            business days.                                                             treated biogas, or RNG used outside the                  the fuels regulations under this part, 40
                                               (ii) If the volume of biogas-derived                                    covered location and also generating                     CFR part 1090, or any other applicable
                                            renewable fuel was audited under                                           RINs for renewable fuel produced from                    law.
                                            § 80.170, the party must notify the                                        that same volume of biogas, treated                        (e) Replacing PIRs or invalid RINs.
                                            independent third-party auditor within                                     biogas, or RNG.                                          The following specifications apply
                                            5 business days.                                                              (F) A party taking credit for biogas-                 when retiring valid RINs to replace PIRs
                                               (iii) Non-RIN generating foreign RNG                                    derived renewable fuel or RNG used                       or invalid RINs:
                                            producers must comply with the                                             outside the covered location and also                      (1) When a RIN is retired to replace
                                            requirements of this section and notify                                    generating RINs for that same volume of                  a PIR or invalid RIN, the D code of the
                                            the importer generating RINs and other                                     biogas-derived renewable fuel or RNG.                    retired RIN must be eligible to be used
                                            parties in the production chain, as                                           (ii) When any party becomes aware of                  towards meeting all the renewable
                                            applicable.                                                                another party separating or retiring a                   volume obligations as the PIR or invalid
                                               (iv) Each notified party must notify                                    RIN from the same volume of RNG, they                    RIN it is replacing, as specified in
                                            EPA within 5 business days.                                                must notify EPA and the RIN generator,                   § 80.1427(a)(2).
                                               (2) Any party that is notified of a                                     if known, within 5 business days of                        (2) The number of RINs retired must
                                            volume of biogas-derived renewable fuel                                    initial discovery.                                       be equal to the number of PIRs or
                                            that does not meet the applicable                                             (2) EPA will notify the RIN generator                 invalid RINs being replaced.
                                            requirements for such fuel under this                                      of the potential double counting if the                    (f) Forms and procedures. (1) All
                                            part must correct affected volumes of                                      party that identified the potential                      parties that retire RINs under this
                                            biogas-derived renewable fuel under                                        double counting does not know the                        section must use forms and procedures
                                            paragraph (a)(2) of this section, as                                       party that generated the potentially                     specified by EPA.
                                            applicable.                                                                affected RINs.                                             (2) All parties that must notify EPA
                                               (c) Potential double counting. (1)(i)                                      (3) Upon notification, the RIN
                                                                                                                                                                                under this section must submit those
                                            When any party becomes aware of any                                        generator must then calculate any
                                                                                                                                                                                notifications to EPA as specified in 40
                                            of the following, they must notify EPA                                     impacts to the number of RINs
                                                                                                                                                                                CFR 1090.10.
                                            and the RIN generator, if known, within                                    generated for the volume of impacted
                                            5 business days of initial discovery:                                      RNG or renewable fuel. The RIN                           Subpart M—Renewable Fuel Standard
                                               (A) More than one RIN being                                             generator must then notify EPA and the
                                            generated for renewable fuel produced                                      independent third-party auditor, if any,                 ■ 10. Revise § 80.1401 to read as
                                            from the same volume of biogas, treated                                    of the impacted RINs within 5 business                   follows:
                                            biogas, or RNG.                                                            days of initial notification.
                                               (B) More than one RIN being                                                (4) For any number of RINs over-                      § 80.1401    Definitions.
                                            generated for the same volume of                                           generated due to the double counting of                    The definitions of § 80.2 apply for the
                                            biogas-derived renewable fuel or RNG.                                      volumes of biogas or RNG, the RIN                        purposes of this subpart M.
                                               (C) A party taking credit for biogas,                                   generator must follow the applicable
                                                                                                                                                                                § 80.1402    [Amended]
                                            treated biogas, or RNG under a non-                                        procedures for invalid RINs specified in
                                            transportation program (e.g., a                                            § 80.1431.                                               ■ 11. Amend § 80.1402 by, in paragraph
                                            stationary-source renewable electricity                                       (d) Failure to take corrective action.                (f), removing the text ‘‘notwithstanding’’
                                            program) and also generating RINs for                                      Any person who fails to meet a                           and adding in its place the text
                                            renewable fuel produced from that same                                     requirement under paragraph (b) or (c)                   ‘‘regardless of’’.
                                            volume of biogas, treated biogas, or                                       of this section is liable for full                       ■ 12. Amend § 80.1405 by revising
                                            RNG.                                                                       performance of such requirement, and                     paragraphs (a) and (c) to read as follows:
                                               (D) A party taking credit for biogas-                                   each day of non-compliance is deemed
                                            derived renewable fuel or RNG under a                                      a separate violation pursuant to                         § 80.1405 What are the Renewable Fuel
                                            non-transportation program (e.g., a                                        § 80.1460(f). The administrative process                 Standards?
                                            stationary-source renewable electricity                                    for replacement of invalid RINs does                       (a) The values of the renewable fuel
                                            program) and also generating RINs for                                      not, in any way, limit the ability of the                standards are as follows:

                                                                                           TABLE 1 TO PARAGRAPH (a)—ANNUAL RENEWABLE FUEL STANDARDS
                                                                                                                                                                                                                 Supplemental
                                                                                                                                         Cellulosic          Biomass-           Advanced          Renewable           total
                                                                                                                                          biofuel           based diesel         biofuel
                                                                                     Year                                                                                                        fuel standard     renewable
                                                                                                                                         standard             standard          standard              (%)        fuel standard
                                                                                                                                            (%)                  (%)               (%)                                 (%)

                                            2010 .....................................................................................         0.004                   1.10              0.61             8.25             n/a
                                            2011 .....................................................................................            n/a                  0.69              0.78             8.01             n/a
                                            2012 .....................................................................................            n/a                  0.91              1.21             9.23             n/a
                                            2013 .....................................................................................        0.0005                   1.13              1.62             9.74             n/a
                                            2014 .....................................................................................         0.019                   1.41              1.51             9.19             n/a
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                                            2015 .....................................................................................         0.069                   1.49              1.62             9.52             n/a
                                            2016 .....................................................................................         0.128                   1.59              2.01            10.10             n/a
                                            2017 .....................................................................................         0.173                   1.67              2.38            10.70             n/a
                                            2018 .....................................................................................         0.159                   1.74              2.37            10.67             n/a
                                            2019 .....................................................................................         0.230                   1.73              2.71            10.97             n/a
                                            2020 .....................................................................................          0.32                   2.30              2.93            10.82             n/a
                                            2021 .....................................................................................          0.33                   2.16              3.00            11.19             n/a



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                                                                               TABLE 1 TO PARAGRAPH (a)—ANNUAL RENEWABLE FUEL STANDARDS—Continued
                                                                                                                                                                                                                           Supplemental
                                                                                                                                             Cellulosic          Biomass-           Advanced                Renewable           total
                                                                                                                                              biofuel           based diesel         biofuel
                                                                                      Year                                                                                                                 fuel standard     renewable
                                                                                                                                             standard             standard          standard                    (%)        fuel standard
                                                                                                                                                (%)                  (%)               (%)                                       (%)

                                            2022 .....................................................................................                  0.35               2.33                 3.16               11.59            0.14
                                            2023 .....................................................................................                  0.48               2.58                 3.39               11.96            0.14
                                            2024 .....................................................................................                  0.63               2.82                 3.79               12.50             n/a
                                            2025 .....................................................................................                  0.81               3.15                 4.31               13.13             n/a



                                            *        *         *         *        *                                      (c) EPA will calculate the annual
                                                                                                                       renewable fuel percentage standards
                                                                                                                       using the following equations:




                                            Where:                                                                         in the covered location, in year i, in                   § 80.1406      Obligated party responsibilities.
                                            StdCB,i = The cellulosic biofuel standard for                                  gallons.                                                 *       *          *      *     *
                                                 year i, in percent.                                                   GSi = Amount of gasoline projected to be
                                            StdBBD,i = The biomass-based diesel standard                                   used in Alaska or a U.S. territory, in year              § 80.1407      [Amended]
                                                 for year i, in percent.                                                   i, if the state or territory has opted-in or
                                            StdAB,i = The advanced biofuel standard for                                    opts-in, in gallons.                                     ■ 14. Amend § 80.1407 by:
                                                 year i, in percent.                                                   RGSi = Amount of renewable fuel blended                      ■ a. In paragraphs (a)(1) through (4),
                                            StdRF,i = The renewable fuel standard for year                                 into gasoline that is projected to be                    removing the text ‘‘48 contiguous states
                                                 i, in percent.                                                            consumed in Alaska or a U.S. territory,                  or Hawaii’’ wherever it appears and
                                            RFVCB,i = Annual volume of cellulosic                                          in year i, if the state or territory opts-in,
                                                 biofuel required by 42 U.S.C.
                                                                                                                                                                                    adding in its place the text ‘‘covered
                                                                                                                           in gallons.
                                                 7545(o)(2)(B) for year i, or volume as                                DSi = Amount of diesel projected to be used
                                                                                                                                                                                    location’’;
                                                 adjusted pursuant to 42 U.S.C.                                            in Alaska or a U.S. territory, in year i, if             ■ b. In paragraphs (b) and (d), removing
                                                 7545(o)(7)(D), in gallons.                                                the state or territory has opted-in or opts-             the text ‘‘as defined in’’ and adding in
                                            RFVBBD,i = Annual volume of biomass-based                                      in, in gallons.                                          its place the text ‘‘per’’;
                                                 diesel required by 42 U.S.C. 7545                                     RDSi = Amount of renewable fuel blended
                                                 (o)(2)(B) for year i, in gallons.                                                                                                  ■ c. In paragraph (e), removing the text
                                                                                                                           into diesel that is projected to be
                                            RFVAB,i = Annual volume of advanced                                            consumed in Alaska or a U.S. territory,
                                                                                                                                                                                    ‘‘MVNRLM diesel fuel at § 80.2’’ and
                                                 biofuel required by 42 U.S.C.                                             in year i, if the state or territory opts-in,            adding in its place the text ‘‘MVNRLM                  ER12JY23.011</GPH>

                                                 7545(o)(2)(B) for year i, in gallons.                                     in gallons.                                              diesel fuel’’; and
                                            RFVRF,i = Annual volume of renewable fuel                                  GEi = The total amount of gasoline projected                 ■ d. In paragraph (f)(5), removing the
                                                 required by 42 U.S.C. 7545(o)(2)(B) for                                   to be exempt in year i, in gallons, per
                                                 year i, in gallons.
                                                                                                                                                                                    text ‘‘48 United States and Hawaii’’ and
                                                                                                                           §§ 80.1441 and 80.1442.                                  adding in its place the text ‘‘covered
                                            Gi = Amount of gasoline projected to be used                               DEi = The total amount of diesel fuel                        location’’.
                                                                                                                                                                                                                                           ER12JY23.009</GPH> ER12JY23.010</GPH>




                                                 in the covered location, in year i, in                                    projected to be exempt in year i, in
                                                 gallons.                                                                  gallons, per §§ 80.1441 and 80.1442.                     ■ 15. Amend § 80.1415 by:
                                            Di = Amount of diesel projected to be used
                                                 in the covered location, in year i, in                                *         *       *       *         *                        ■ a. In paragraph (b)(2), removing the
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                                                 gallons.                                                                                                                           text ‘‘(mono-alkyl ester)’’;
                                                                                                                       ■ 13. Amend § 80.1406 by:
                                            RGi = Amount of renewable fuel blended into                                                                                             ■ b. Revising paragraph (b)(5);
                                                 gasoline that is projected to be consumed                             ■ a. Revising the section heading; and
                                                                                                                                                                                    ■ c. In paragraph (b)(6), removing the
                                                 in the covered location, in year i, in                                ■ b. Removing and reserving paragraph
                                                 gallons.                                                                                                                           text ‘‘kW-hr’’ and adding in its place the
                                            RDi = Amount of renewable fuel blended into
                                                                                                                       (a).                                                         text ‘‘kWh’’;
                                                                                                                          The revision reads as follows:                            ■ d. Revising paragraph (b)(7);
                                                                                                                                                                                                                                           ER12JY23.008</GPH>




                                                 diesel that is projected to be consumed



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                                            ■ e. In paragraph (c)(1), removing the                   following paragraph (f)(1) to the end of              ■ dd. In paragraph (f)(10)(i)(A),
                                            text ‘‘EV’’ wherever it appears and                      the section;                                          removing the text ‘‘the Administrator’’
                                            adding in its place the text ‘‘EqV’’;                    ■ j. In paragraph (f)(2)(i), removing the             and adding in its place the text ‘‘EPA’’;
                                            ■ f. In paragraph (c)(2)(ii), removing the               text ‘‘EV’’ wherever it appears and                   ■ ee. Revising paragraph (f)(10)(ii);
                                            text ‘‘derived’’ and adding in its place                 adding in its place the text ‘‘EqV’’;                 ■ ff. In paragraph (f)(11)(i)(A), removing
                                            the text ‘‘produced’’; and                               ■ k. In paragraph (f)(2)(ii), removing the            the text ‘‘the Administrator’’ and adding
                                            ■ g. In paragraph (c)(5), removing the                   text ‘‘Table 1 to this section, or a D code           in its place the text ‘‘EPA’’;
                                            text ‘‘the Administrator’’ and adding in                 as approved by the Administrator,                     ■ gg. Revising paragraphs (f)(11)(ii),
                                            its place the text ‘‘EPA’’.                              which’’ and adding in its place the text              (f)(12), (f)(13) introductory text, and
                                               The revisions read as follows:                        ‘‘the approved pathway that’’;                        (f)(13)(iii) through (v);
                                                                                                     ■ l. In paragraph (f)(3)(i), removing the             ■ hh. Removing paragraph (f)(13)(vi);
                                            § 80.1415 How are equivalence values                                                                           ■ ii. Revising paragraphs (f)(15), (f)(17),
                                            assigned to renewable fuel?
                                                                                                     text ‘‘Table 1 to this section, or a D code
                                                                                                     as approved by the Administrator,                     and (g)(1)(i) introductory text;
                                            *      *     *     *    *                                which’’ and adding in its place the text              ■ jj. In paragraph (g)(1)(iii), removing
                                               (b) * * *                                             ‘‘the approved pathways that’’;                       the text ‘‘48 contiguous states plus
                                               (5) 77,000 Btu LHV of renewable                       ■ m. In paragraph (f)(3)(ii), removing the            Hawaii’’ wherever it appears and adding
                                            CNG/LNG or RNG shall represent one                       text ‘‘EV’’ wherever it appears and                   in its place the text ‘‘covered location’’;
                                            gallon of renewable fuel with an                         adding in its place the text ‘‘EqV’’;                 ■ kk. Revising paragraph (g)(2)
                                            equivalence value of 1.0.                                ■ n. In paragraph (f)(3)(iii), removing               introductory text; and
                                            *      *     *     *    *                                the text ‘‘EVi’’ wherever it appears and              ■ ll. In paragraphs (g)(3) introductory
                                               (7) For all other renewable fuels, a                  adding in its place the text ‘‘EqVi’’;                text, (g)(5)(i) introductory text, (g)(7)
                                            producer or importer must submit an                      ■ o. In paragraph (f)(3)(iv), removing the            introductory text, (g)(7)(i) introductory
                                            application to EPA for an equivalence                    text ‘‘EV’’ wherever it appears and                   text, and (g)(10) introductory text,
                                            value following the provisions of                        adding in its place the text ‘‘EqV’’;                 removing the text ‘‘48 contiguous states
                                            paragraph (c) of this section. A producer                ■ p. Revising paragraph (f)(3)(v);                    plus Hawaii’’ wherever it appears and
                                            or importer may also submit an                           ■ q. Removing table 3 to § 80.1426                    adding in its place the text ‘‘covered
                                            application for an alternative                           immediately following paragraph                       location’’.
                                            equivalence value pursuant to                            (f)(3)(v);                                               The revisions and additions read as
                                            paragraph (c) of this section if the                     ■ r. Revising paragraph (f)(3)(vi);                   follows:
                                            renewable fuel is listed in this                         ■ s. Removing table 4 to § 80.1426
                                            paragraph (b), but the producer or                                                                             § 80.1426 How are RINs generated and
                                                                                                     immediately following paragraph                       assigned to batches of renewable fuel?
                                            importer has reason to believe that a                    (f)(3)(vi)(A);
                                            different equivalence value than that                                                                             (a) * * *
                                                                                                     ■ t. In paragraphs (f)(4)(i)(A)(1) and
                                            listed in this paragraph (b) is warranted.                                                                        (1) Renewable fuel producers,
                                                                                                     (f)(4)(i)(B), removing the text ‘‘EV’’
                                            *      *     *     *    *                                                                                      importers of renewable fuel, and other
                                                                                                     wherever it appears and adding in its
                                                                                                                                                           parties allowed to generate RINs under
                                                                                                     place the text ‘‘EqV’’;
                                            § 80.1416   [Amended]                                                                                          this part may only generate RINs to
                                                                                                     ■ u. In paragraph (f)(4)(iv), removing the
                                            ■ 16. Amend § 80.1416 by:
                                                                                                                                                           represent renewable fuel if they meet
                                                                                                     text ‘‘80.1468’’ and adding in its place
                                            ■ a. In paragraphs (b)(1)(vii) and
                                                                                                                                                           the requirements of paragraphs (b) and
                                                                                                     the text ‘‘80.12’’;
                                            (b)(2)(vii), removing the text ‘‘The                                                                           (c) of this section and if all the following
                                                                                                     ■ v. In paragraphs (f)(5)(iv)(A) and (B),
                                            Administrator’’ and adding in its place                                                                        occur:
                                                                                                     and (f)(5)(v), removing the text ‘‘EV’’
                                            the text ‘‘EPA’’;                                        wherever it appears and adding in its                 *      *     *     *     *
                                            ■ b. In paragraph (c)(4), removing the                   place the text ‘‘EqV’’;                                  (b) * * *
                                            text ‘‘definitions in § 80.1401’’ and                    ■ w. In paragraph (f)(5)(v), removing the                (1) Except as provided in paragraph
                                            adding in its place the text ‘‘definition’’;             text ‘‘biogas-derived fuels’’ and adding              (c) of this section, a RIN may only be
                                            and                                                      in its place the text ‘‘biogas-derived                generated by a renewable fuel producer
                                            ■ c. In paragraph (d), removing the text                 renewable fuel’’;                                     or importer for a batch of renewable fuel
                                            ‘‘The Administrator’’ and adding in its                  ■ x. In paragraph (f)(5)(vi), removing the
                                                                                                                                                           that satisfies the requirements of
                                            place the text ‘‘EPA’’.                                  text ‘‘Table 1 to this section, or a D code           paragraph (a)(1) of this section if it is
                                            ■ 17. Amend § 80.1426 by:                                as approved by the Administrator,                     produced or imported for use as
                                            ■ a. Revising paragraph (a)(1)                           which’’ and adding in its place the text              transportation fuel, heating oil, or jet
                                            introductory text;                                       ‘‘the approved pathway that’’;                        fuel in the covered location.
                                            ■ b. In paragraph (a)(1)(iv), removing                   ■ y. Revising paragraph (f)(6)                        *      *     *     *     *
                                            the text ‘‘renewable’’;                                  introductory text;                                       (c) * * *
                                            ■ c. Revising paragraphs (b)(1) and (c)(1)               ■ z. In paragraph (f)(6)(i), removing the                (1) No person may generate RINs for
                                            and (2);                                                 text ‘‘EV’’ wherever it appears and                   fuel that does not satisfy the
                                            ■ d. Removing and reserving paragraph                    adding in its place the text ‘‘EqV’’;                 requirements of paragraph (a)(1) of this
                                            (c)(3);                                                  ■ aa. In paragraphs (f)(7)(v)(A) and (B),             section.
                                            ■ e. Revising paragraph (c)(6);                          removing the text ‘‘§ 80.1468’’ wherever                 (2) A party must not generate RINs for
                                            ■ f. In paragraph (c)(7), removing the                   it appears and adding in its place the                renewable fuel that is not produced for
                                            text ‘‘§ 80.1401’’ and adding in its place               text ‘‘§ 80.12’’;                                     use in the covered location.
                                            the text ‘‘§ 80.2’’;                                     ■ bb. In paragraph (f)(8)(ii) introductory            *      *     *     *     *
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                                            ■ g. Adding a sentence to the end of                     text, removing the text ‘‘(mono-alkyl                    (6) A party is prohibited from
                                            paragraph (d)(1) introductory text;                      esters)’’;                                            generating RINs for a volume of fuel that
                                            ■ h. Revising paragraphs (e)(1) and                      ■ cc. In paragraphs (f)(8)(ii)(B) and                 it produces if the fuel has been
                                            (f)(1)(i);                                               (f)(9)(ii), removing the text ‘‘§ 80.1468’’           produced by a process that uses a
                                            ■ i. Moving table 1 to § 80.1426 and                     wherever it appears and adding in its                 renewable fuel as a feedstock, and the
                                            table 2 to § 80.1426 immediately                         place the text ‘‘§ 80.12’’;                           renewable fuel that is used as a


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                                            feedstock was produced by another                        Where:                                                   (B) The RIN generator has entered into
                                            party, except that RINs may be                           VRIN,DX = RIN volume, in gallons, for use in          a written contract for the sale or use of
                                            generated for such fuel if allowed by the                     determining the number of gallon-RINs            a specific quantity of renewable CNG/
                                            EPA in response to a petition submitted                       that must be generated for a batch of            LNG for use as transportation fuel, or
                                            pursuant to § 80.1416 and the petition                        renewable fuel with a D code of X.               has obtained affidavits from all parties
                                            approval specifies a mechanism to                        EqV = Equivalence value for the renewable             selling or using the renewable CNG/
                                                                                                          fuel per § 80.1415.
                                            prevent double counting of RINs or                                                                             LNG as transportation fuel.
                                                                                                     VS = Standardized volume of the batch of
                                            where RINs are generated for RNG.                             renewable fuel at 60 °F, in gallons, per            (C) The renewable CNG/LNG was
                                            *      *      *     *    *                                    paragraph (f)(8) of this section.                used as transportation fuel and for no
                                               (d) * * *                                             FEDX = The total feedstock energy from all            other purpose.
                                               (1) * * * Biogas producers and RNG                         feedstocks whose pathways have been                 (D) The biogas was introduced into
                                            producers must use the definitions of                         assigned a D code of X, in Btu HHV, per          the closed, private, non-commercial
                                            batch for biogas and RNG in §§ 80.105(j)                      paragraphs (f)(3)(vi)(B) and (C) of this         system no later and the renewable CNG/
                                            and 80.110(j), respectively.                                  section.                                         LNG produced from the biogas was used
                                                                                                     FEtotal = The total feedstock energy from all         as transportation fuel no later than
                                            *      *      *     *    *                                    feedstocks, in Btu HHV, per paragraphs
                                               (e) * * *                                                  (f)(3)(vi)(B) and (C) of this section.
                                                                                                                                                           December 31, 2024.
                                               (1) Except as provided in paragraph                                                                            (E) RINs may only be generated on
                                            (g) of this section for delayed RINs, the                  (B) Except for biogas produced from                 biomethane content of the renewable
                                            producer or importer of renewable fuel                   anaerobic digestion, the feedstock                    CNG/LNG used as transportation fuel.
                                            must assign all RINs generated from a                    energy value of each feedstock must be                *       *    *     *      *
                                            specific batch of renewable fuel to that                 calculated as follows:                                   (11) * * *
                                            batch of renewable fuel.                                 FEDX,i = Mi * (1¥mi) * CFi                               (ii) RINs for renewable CNG/LNG
                                            *      *      *     *    *                               Where:                                                produced from RNG that is introduced
                                               (f) * * *                                                                                                   into a commercial distribution system
                                                                                                     FEDX,i = The amount of energy from
                                               (1) * * *                                                                                                   may only be generated if all the
                                                                                                         feedstock i that forms energy in the
                                               (i) D codes must be used in RINs                          renewable fuel and whose pathway has              following requirements are met:
                                            generated by producers or importers of                       been assigned a D code of X, in Btu HHV.             (A) The renewable CNG/LNG was
                                            renewable fuel according to approved                     Mi = Mass of feedstock i, in pounds,                  produced from renewable biomass and
                                            pathways or as specified in paragraph                        measured on a daily or per-batch basis.           qualifies for a D code in an approved
                                            (f)(6) of this section.                                  mi = Average moisture content of feedstock            pathway.
                                            *      *      *     *    *                                   i, as a mass fraction.
                                                                                                                                                              (B) The RIN generator has entered into
                                               (3) * * *                                             CFi = Converted fraction in annual average
                                                                                                         Btu HHV/lb, except as otherwise                   a written contract for the sale or use of
                                               (v) If a producer produces batches that                                                                     a specific quantity of RNG, taken from
                                            are comprised of a mixture of fuel types                     provided by § 80.1451(b)(1)(ii)(U),
                                                                                                         representing that portion of feedstock i          a commercial distribution system (e.g.,
                                            with different equivalence values and                                                                          physically connected pipeline, barge,
                                                                                                         that is converted to fuel by the producer.
                                            different applicable D codes, then                                                                             truck, rail), for use as transportation
                                            separate values for VRIN must be                            (C) For biogas produced from
                                                                                                                                                           fuel, or has obtained affidavits from all
                                            calculated for each category of                          anaerobic digestion, the volume of
                                                                                                                                                           parties selling or using the RNG taken
                                            renewable fuel according to the                          biogas must be measured under
                                                                                                                                                           from a commercial distribution system
                                            following formula. All batch-RINs thus                   § 80.105(f) and the feedstock energy
                                                                                                                                                           as transportation fuel.
                                            generated must be assigned to unique                     value of each feedstock must be
                                                                                                                                                              (C) The renewable CNG/LNG
                                            batch identifiers for each portion of the                calculated as specified in § 80.105(j) by
                                                                                                                                                           produced from the RNG was sold for use
                                            batch with a different D code.                           substituting ‘‘feedstock energy’’ for
                                                                                                                                                           as transportation fuel and for no other
                                            VRIN,DX = EqVDX * VS,DX                                  ‘‘batch volume of biogas’’ in all cases.
                                                                                                                                                           purpose.
                                            Where:                                                   *       *    *    *      *                               (D) The RNG was injected into and
                                            VRIN,DX = RIN volume, in gallons, for use in                (6) Renewable fuel not covered by an               withdrawn from the same commercial
                                                determining the number of gallon-RINs                approved pathway. If no approved                      distribution system.
                                                that must be generated for the portion of            pathway applies to a producer’s                          (E) The RNG was withdrawn from the
                                                the batch with a D code of X.                        operations, the party may generate RINs               commercial distribution system in a
                                            EqVDX = Equivalence value for the portion of             if the fuel from its facility is produced             manner and at a time consistent with
                                                the batch with a D code of X, per                    from renewable biomass and qualifies
                                                § 80.1415.                                                                                                 the transport of the RNG between the
                                                                                                     for an exemption under § 80.1403 from                 injection and withdrawal points.
                                            VS,DX = Standardized volume at 60 °F of the
                                                portion of the batch that must be
                                                                                                     the requirement that renewable fuel                      (F) The volume of RNG injected into
                                                assigned a D code of X, in gallons, per              achieve at least a 20 percent reduction               the commercial distribution system and
                                                paragraph (f)(8) of this section.                    in lifecycle greenhouse gas emissions                 the volume of RNG withdrawn are
                                                                                                     compared to baseline lifecycle                        measured by continuous metering.
                                              (vi)(A) If a producer produces a single
                                                                                                     greenhouse gas emissions.                                (G) The volume of renewable CNG/
                                            type of renewable fuel using two or
                                            more different feedstocks that are                       *       *    *    *      *                            LNG sold for use as transportation fuel
                                            processed simultaneously, and each                          (10) * * *                                         corresponds to the volume of RNG that
                                            batch is comprised of a single type of                      (ii) RIN generators may only generate              was injected into and withdrawn from
                                            fuel, then the number of gallon-RINs                     RINs for renewable CNG/LNG produced                   the commercial distribution system.
                                            that must be generated for a batch of                    from biogas that is distributed via a                    (H) No other party relied upon the
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                                            renewable fuel and assigned a particular                 closed, private, non-commercial system                volume of biogas, RNG, or renewable
                                            D code must be calculated as follows:                    if all the following requirements are                 CNG/LNG for the generation of RINs.
                                                                                                     met:                                                     (I) The RNG was introduced into the
                                                                                                        (A) The renewable CNG/LNG was                      commercial distribution system no later
                                                                                                     produced from renewable biomass                       than December 31, 2024, and the
                                                                                                     under an approved pathway.                            renewable CNG/LNG was used as
                                                                                                                                                                                                       ER12JY23.012</GPH>




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                                            transportation fuel no later than                        the volume of biogas or RNG for the                   than ethanol, biodiesel, renewable
                                            December 31, 2024.                                       generation of RINs.                                   gasoline, or renewable diesel that meets
                                               (J) RINs may only be generated on                        (iv) For RNG used as process heat on               the Grade No. 1–D or No. 2–D
                                            biomethane content of the biogas,                        or after July 1, 2024, the renewable fuel             specification in ASTM D975
                                            treated biogas, RNG, or renewable CNG/                   producer must retire RINs for RNG as                  (incorporated by reference, see § 80.12)
                                            LNG.                                                     specified in § 80.125(e).                             is considered renewable fuel and the
                                               (K)(1) On or after January 1, 2025,                      (13) In order for a renewable fuel                 producer or importer may generate RINs
                                            RINs may only be generated for RNG                       production facility to satisfy the                    for such fuel only if all the following
                                            injected into a natural gas commercial                   requirements of the advanced biofuel                  apply:
                                            pipeline system for use as transportation                grain sorghum pathway, all the                           (i) The fuel is produced from
                                            fuel as specified in subpart E of this                   following requirements must be met:                   renewable biomass and qualifies to
                                            part.                                                    *       *     *     *     *                           generate RINs under an approved
                                               (2) RINs may be generated for RNG as                     (iii) For biogas transported to the                pathway.
                                            specified in subpart E of this part prior                renewable fuel production facility via a                 (ii) The fuel producer or importer
                                            to January 1, 2025, if all applicable                    biogas closed distribution system and                 maintains records demonstrating that
                                            requirements under this part are met.                    used as process energy, the                           the fuel was produced for use as a
                                            *       *    *     *    *                                requirements in paragraph (f)(12)(i) of               transportation fuel, heating oil or jet fuel
                                               (12) Process heat produced from                       this section must be met.                             by any of the following:
                                            combustion of biogas or RNG at a                            (iv)(A) For RNG injected into a                       (A) Blending the renewable fuel into
                                            renewable fuel production facility is                    commercial distribution system prior to               gasoline or distillate fuel to produce a
                                            considered ‘‘derived from biomass’’                      July 1, 2024, and used as process                     transportation fuel, heating oil, or jet
                                            under an approved pathway if all the                     energy, the requirements in paragraph                 fuel that meets all applicable standards
                                            following requirements are met, as                       (f)(12)(ii) of this section must be met.              under this part and 40 CFR part 1090.
                                            applicable:                                                 (B) For RNG injected into a natural                   (B) Entering into a written contract for
                                               (i) For biogas transported to the                     gas commercial pipeline system on or                  the sale of the renewable fuel, which
                                            renewable fuel production facility via a                 after July 1, 2024, and used as process               specifies the purchasing party must
                                            biogas closed distribution system:                       energy, the renewable fuel producer                   blend the fuel into gasoline or distillate
                                               (A) The renewable fuel producer has                   must retire RINs for RNG as specified in              fuel to produce a transportation fuel,
                                            entered into a written contract for the                  § 80.125(e).                                          heating oil, or jet fuel that meets all
                                            procurement of a specific volume of                         (v) The biogas or RNG used as process              applicable standards under this part and
                                            biogas with a specific heat content.                     energy at the renewable fuel production               40 CFR part 1090.
                                               (B) The volume of biogas was sold to                  facility is not considered ‘‘produced                    (C) Entering into a written contract for
                                            the renewable fuel production facility,                  from renewable biomass’’ under an                     the sale of the renewable fuel, which
                                            and to no other facility.                                approved pathway if any other party                   specifies that the fuel must be used in
                                               (C) The volume of biogas injected into                relied upon the volume of biogas or                   its neat form as a transportation fuel,
                                            the biogas closed distribution system                    RNG for the generation of RINs.                       heating oil or jet fuel that meets all
                                            and the volume of biogas used as                         *       *     *     *     *                           applicable standards.
                                            process heat were measured under                            (15) Application of formulas in                       (ii) The fuel was sold for use in or as
                                            § 80.155.                                                paragraph (f)(3)(vi) of this section to               a transportation fuel, heating oil, or jet
                                               (ii) For RNG injected into a natural                  certain producers generating D3 or D7                 fuel, and for no other purpose.
                                            gas commercial pipeline system prior to                  RINs. If a producer seeking to generate                  (g) * * *
                                            July 1, 2024:                                            D code 3 or 7 RINs produces a single                     (1) * * *
                                               (A) The producer has entered into a                   type of renewable fuel using two or                      (i) The renewable fuel volumes can be
                                            written contract for the procurement of                  more feedstocks or biointermediates                   described by a new approved pathway
                                            a specific volume of RNG with a specific                 converted simultaneously, and at least                that was added after July 1, 2010.
                                            heat content.                                            one of the feedstocks or                              *       *    *     *     *
                                               (B) The volume of RNG was sold to                     biointermediates does not have a                         (2) When a new approved pathway is
                                            the renewable fuel production facility,                  minimum 75% average adjusted                          added, EPA will specify in its approval
                                            and to no other facility.                                cellulosic content, one of the following              action the effective date on which the
                                               (C) The volume of RNG was                             additional requirements apply:                        new pathway becomes valid for the
                                            withdrawn from the natural gas                              (i) If the producer is using a                     generation of RINs and whether the fuel
                                            commercial pipeline system in a                          thermochemical process to convert                     in question meets the requirements of
                                            manner and at a time consistent with                     cellulosic biomass into cellulosic                    paragraph (g)(1)(ii) of this section.
                                            the transport of RNG between the                         biofuel, the producer is subject to                   *       *    *     *     *
                                            injection and withdrawal points.                         additional registration requirements
                                               (D) The volume of RNG injected into                   under § 80.1450(b)(1)(xiii)(A).                       § 80.1427    [Amended]
                                            the natural gas commercial pipeline                         (ii) If the producer is using any                  ■ 18. In § 80.1427 amend paragraph
                                            system and the volume of RNG                             process other than a thermochemical                   (a)(1) introductory text by removing the
                                            withdrawn were measured under                            process, or is using a combination of                 text ‘‘under § 80.1406’’.
                                            § 80.155.                                                processes, the producer is subject to
                                                                                                                                                           ■ 19. Amend § 80.1428 by revising
                                               (E) The natural gas commercial                        additional registration requirements
                                                                                                                                                           paragraphs (a) and (b) to read as follows:
                                            pipeline system into which the RNG                       under § 80.1450(b)(1)(xiii)(B) or (C), and
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                                            was injected ultimately serves the                       reporting requirements under                          § 80.1428 General requirements for RIN
                                            renewable fuel production facility.                      § 80.1451(b)(1)(ii)(U), as applicable.                distribution.
                                               (iii) Process heat produced from                      *       *     *     *     *                             (a) RINs assigned to volumes of
                                            combustion of biogas or RNG is not                          (17) Qualifying use demonstration for              renewable fuel or RNG. (1) Except as
                                            considered produced from renewable                       certain renewable fuels. For purposes of              provided in §§ 80.1429 and 80.125(d),
                                            biomass if any other party relied upon                   this section, any renewable fuel other                no person can separate a RIN that has


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                                            been assigned to a volume of renewable                   ■ e. Adding paragraph (b)(5)(ii);                         (1) * * *
                                            fuel or RNG pursuant to § 80.1426(e).                    ■ f. In paragraph (b)(6) introductory                     (vi) Does not represent renewable fuel
                                               (2) An assigned RIN cannot be                         text, removing the text ‘‘(mono-alkyl                  or RNG.
                                            transferred to another person without                    ester)’’ wherever it appears;                          *      *     *     *    *
                                            simultaneously transferring a volume of                  ■ g. Revising paragraph (b)(10); and                      (viii) Was generated for fuel that was
                                            renewable fuel or RNG to that same                       ■ h. In paragraphs (c), (d), and (e),                  not used in the covered location.
                                            person.                                                  removing the text ‘‘renewable fuel’’ and               *      *     *     *    *
                                               (3) Assigned gallon-RINs with a K                     adding in its place the text ‘‘renewable                  (x) Was inappropriately separated
                                            code of 1 can be transferred to another                  fuel or RNG’’.                                         under § 80.125(d).
                                            person based on the following:                             The revisions and addition read as
                                               (i) Except for RNG, no more than 2.5                                                                         *      *     *     *    *
                                                                                                     follows:
                                            assigned gallon-RINs with a K code of                                                                              (4) If any RIN generated for a batch of
                                            1 can be transferred to another person                   § 80.1429 Requirements for separating                  renewable fuel that had RINs
                                            with every gallon of renewable fuel                      RINs from volumes of renewable fuel or                 apportioned through § 80.1426(f)(3) is
                                                                                                     RNG.                                                   invalid, then all RINs generated for that
                                            transferred to that same person.
                                               (ii) For RNG, the transferor of                       *       *   *      *     *                             batch of renewable fuel are deemed
                                            assigned RINs for RNG must transfer                         (b) * * *                                           invalid, unless EPA in its sole discretion
                                            RINs under § 80.125(c).                                     (1) Except as provided in paragraphs                determines that some portion of those
                                               (4)(i) Except for RNG, on each of the                 (b)(7) and (9) of this section and                     RINs are valid.
                                            dates listed in paragraph (a)(4)(ii) of this             § 80.125(d)(3), an obligated party must                   (b) Except as provided in paragraph
                                            section in any calendar year, the                        separate any RINs that have been                       (c) of this section and § 80.1473, the
                                            following equation must be satisfied for                 assigned to a volume of renewable fuel                 following provisions apply in the case
                                            assigned RINs and volumes of                             if that party owns that volume.                        of RINs that are invalid:
                                            renewable fuel owned by a person:                        *       *   *      *     *                             *      *     *     *    *
                                            RINd ≤ Vd * 2.5                                             (5) * * *                                              (c) Improperly generated RINs may be
                                                                                                        (ii)(A) Any biogas closed distribution              used for compliance provided that all
                                            Where:
                                                                                                     system RIN generator that generates                    the following conditions and
                                            RINd = Total number of assigned gallon-RINs                                                                     requirements are satisfied and the RIN
                                                                                                     RINs for a batch of renewable CNG/LNG
                                                with a K code of 1 that are owned on
                                                                                                     under § 80.130(b) may only separate                    generator demonstrates that the
                                                date d.
                                            Vd = Standardized total volume of renewable              RINs that have been assigned to that                   conditions and requirements are
                                                fuel owned on date d, in gallons, per                batch after the party demonstrates that                satisfied through the reporting and
                                                § 80.1426(f)(8).                                     the renewable CNG/LNG was used as                      recordkeeping requirements set forth
                                                                                                     transportation fuel.                                   below, that:
                                               (ii) The applicable dates are March 31,
                                            June 30, September 30, and December                         (B) Only an RNG RIN separator may                   *      *     *     *    *
                                            31.                                                      only separate the RINs that have been                  ■ 23. Amend § 80.1434 by:
                                               (5) Any transfer of ownership of                      assigned to a volume of RNG after                      ■ a. Revising paragraphs (a)(1) and (5);
                                            assigned RINs must be documented on                      meeting all applicable requirements in                 and
                                            product transfer documents generated                     § 80.125(d)(2).                                        ■ b. Redesignating paragraph (a)(11) as
                                            pursuant to § 80.1453.                                   *       *   *      *     *                             paragraph (a)(13) and adding new
                                               (i) The RIN must be recorded on the                      (10) Any party that produces a                      paragraphs (a)(11) and (12).
                                            product transfer document used to                        volume of renewable fuel or RNG may                       The revisions and additions read as
                                            transfer ownership of the volume of                      separate any RINs that have been                       follows:
                                            renewable fuel or RNG to another                         generated to represent that volume of
                                                                                                     renewable fuel or RNG if that party                    § 80.1434    RIN retirement.
                                            person; or
                                               (ii) The RIN must be recorded on a                    retires the separated RINs to replace                    (a) * * *
                                            separate product transfer document                       invalid RINs according to § 80.1474.                     (1) Demonstrate annual compliance.
                                            transferred to the same person on the                    *       *   *      *     *                             Except as specified in paragraph (b) of
                                            same day as the product transfer                                                                                this section or § 80.1456, an obligated
                                            document used to transfer ownership of                   § 80.1430     [Amended]                                party required to meet the RVO under
                                            the volume of renewable fuel or RNG.                     ■ 21. Amend § 80.1430 by, in paragraph
                                                                                                                                                            § 80.1407 must retire a sufficient
                                               (b) RINs separated from volumes of                    (e)(2), removing the text ‘‘§ 80.1468’’                number of RINs to demonstrate
                                            renewable fuel or RNG.                                   and adding in its place the text                       compliance with an applicable RVO.
                                               (1) Unless otherwise specified, any                   ‘‘§ 80.12’’.                                           *     *     *     *     *
                                            person that has registered pursuant to                   ■ 22. Amend § 80.1431 by:
                                                                                                                                                              (5) Spillage, leakage, or disposal of
                                            § 80.1450 can own a separated RIN.                       ■ a. Revising paragraph (a)(1)(vi);
                                                                                                                                                            renewable fuels. Except as provided in
                                               (2) Separated RINs can be transferred                 ■ b. Adding paragraphs (a)(1)(viii),
                                                                                                                                                            § 80.1432(c), in the event that a reported
                                            any number of times.                                     (a)(1)(x), and (a)(4);                                 spillage, leakage, or disposal of any
                                            *       *    *    *     *                                ■ c. Revising paragraphs (b)
                                                                                                                                                            volume of renewable fuel, the owner of
                                            ■ 20. Amend § 80.1429 by:                                introductory text and (c) introductory                 the renewable fuel must notify any
                                            ■ a. Revising the section heading;                       text; and                                              holder or holders of the attached RINs
                                            ■ b. In paragraphs (a)(1), (a)(2) and (b)                ■ d. In paragraph (c)(7)(ii)(P), removing
                                                                                                                                                            and retire a number of gallon-RINs
                                            introductory text, removing the text                     the text ‘‘the Administrator’’ and adding              corresponding to the volume of spilled
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                                            ‘‘renewable fuel’’ wherever it appears                   in its place the text ‘‘that EPA’’.                    or disposed of renewable fuel
                                            and adding in its place the text                            The revisions and additions read as                 multiplied by its equivalence value in
                                            ‘‘renewable fuel or RNG’’;                               follows:                                               accordance with § 80.1432(b).
                                            ■ c. Revising paragraph (b)(1);                                                                                 *     *     *     *     *
                                            ■ d. Redesignating paragraph (b)(5) as                   § 80.1431     Treatment of invalid RINs.                 (11) Used to produce other renewable
                                            paragraph (b)(5)(i);                                          (a) * * *                                         fuel. Any party that uses renewable fuel


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                                            or RNG to produce other renewable fuel                   (b)(1) of this section is exempt from                 registration under 40 CFR 1090.805, if
                                            must retire any assigned RINs for the                    January 1, 2010, through December 31,                 such information has not already been
                                            volume of the renewable fuel or RNG.                     2010, from the renewable fuel standards               provided under the provisions of this
                                              (12) Expired RINs for RNG. Any party                   of § 80.1405 and the requirements that                part. * * *
                                            owning RINs assigned to RNG as                           apply to obligated parties under this                    (b) * * *
                                            specified in § 80.125(e) must retire the                 subpart if the refiner meets all the                     (1) A description of the types of
                                            assigned RIN.                                            criteria of paragraph (a)(1) of this                  renewable fuels, RNG, ethanol, or
                                            *     *    *     *     *                                 section.                                              biointermediates that the producer
                                                                                                     *     *      *     *     *                            intends to produce at the facility and
                                            § 80.1435   [Amended]                                                                                          that the facility is capable of producing
                                            ■ 24. Amend § 80.1435 by:
                                                                                                     § 80.1443    [Amended]                                without significant modifications to the
                                            ■ a. In paragraphs (b)(1)(i) and (ii) and                ■ 27. Amend § 80.1443 by:                             existing facility. For each type of
                                            (b)(2)(i) through (iv), removing the text                ■ a. In paragraphs (a), (b), and (e)                  renewable fuel, RNG, ethanol, or
                                            ‘‘RIN-gallons’’ wherever it appears and                  introductory text, removing the text ‘‘the            biointermediate the renewable fuel
                                            adding in its place the text ‘‘gallon-                   Administrator’’ and adding in its place               producer or foreign ethanol producer
                                            RINs’’; and                                              the text ‘‘EPA’’; and                                 must also provide all the following:
                                            ■ b. In paragraph (b)(2)(iii), removing                  ■ b. In paragraph (e)(2), removing the                *       *    *     *     *
                                            the text ‘‘48 contiguous states or                       text ‘‘as defined in § 80.1406’’.                        (ii) A description of the facility’s
                                            Hawaii’’ wherever it appears and adding                                                                        renewable fuel, RNG, ethanol, or
                                                                                                     § 80.1449    [Amended]
                                            in its place the text ‘‘covered location’’.                                                                    biointermediate production processes,
                                            ■ 25. Amend § 80.1441 by:                                ■ 28. Amend § 80.1449 by, in paragraph                including:
                                            ■ a. Revising paragraph (a)(1);                          (e), removing the text ‘‘the                          *       *    *     *     *
                                            ■ b. Removing and reserving paragraph                    Administrator’’ and adding in its place                  (v) * * *
                                            (a)(3);                                                  the text ‘‘EPA’’.
                                                                                                                                                              (E)(1) For parties registered to
                                            ■ c. Removing paragraph (b)(3);                          ■ 29. Amend § 80.1450 by:                             generate RINs for renewable CNG/LNG
                                            ■ d. In paragraph (e)(1) and (2)                         ■ a. Revising the first sentence of                   prior to July 1, 2024, the registration
                                            introductory text, removing the text ‘‘the               paragraph (a);                                        requirements under paragraph
                                            Administrator’’ and adding in its place                  ■ b. Revising paragraphs (b)(1)
                                                                                                                                                           (b)(1)(v)(D) under this section apply
                                            the text ‘‘EPA’’;                                        introductory text and (b)(1)(ii);                     until December 31, 2024.
                                            ■ e. In paragraph (e)(2)(ii), removing the               ■ c. In paragraph (b)(1)(v) introductory
                                                                                                                                                              (2) For biogas producers, RNG
                                            text ‘‘The Administrator’’ and adding in                 text, removing the text ‘‘as defined in               producers, and biogas closed
                                            its place the text ‘‘EPA’’.                              § 80.1401’’;                                          distribution system RIN generators not
                                            ■ f. In paragraph (e)(2)(iii), removing the              ■ d. Revising paragraph (b)(1)(v)(E);
                                                                                                                                                           registered prior to July 1, 2024, the
                                            text ‘‘§ 80.1401’’ wherever it appears                   ■ e. Adding paragraph (b)(1)(v)(F);
                                                                                                     ■ f. In paragraph (b)(1)(vi), removing the
                                                                                                                                                           registration requirements under § 80.135
                                            and adding in its place the text ‘‘§ 80.2’’;                                                                   apply.
                                            and                                                      text ‘‘defined’ and adding in its place
                                                                                                     the text ‘‘specified’’;                                  (F) Any other records as requested by
                                            ■ g. In paragraph (g), removing the text                                                                       EPA.
                                                                                                     ■ g. Adding paragraph (b)(1)(viii)(E);
                                            ‘‘defined under’’ and adding in its place                                                                      *       *    *     *     *
                                                                                                     ■ h. In paragraphs (b)(1)(xi)
                                            the text ‘‘specified in’’.
                                                                                                     introductory text, (b)(1)(xi)(A), and (B),               (viii) * * *
                                               The revision reads as follows:
                                                                                                     removing the text ‘‘§ 80.1401’’ and                      (E) The independent third-party
                                            § 80.1441   Small refinery exemption.                    adding in its place the text ‘‘§ 80.2’’;              engineer must visit all material recovery
                                               (a)(1) Transportation fuel produced at                ■ i. In paragraph (b)(1)(xii) introductory            facilities as part of the engineering
                                            a refinery by a refiner is exempt from                   text, removing the text ‘‘§ 80.1468’’ and             review site visit under § 80.1450(b)(2)
                                            January 1, 2010, through December 31,                    adding in its place the text ‘‘§ 80.12’’;             and (d)(3), as applicable.
                                            2010, from the renewable fuel standards                  ■ j. Revising paragraph (b)(1)(xiii)(B)               *       *    *     *     *
                                            of § 80.1405, and the owner or operator                  introductory text;                                       (xiii) * * *
                                            of the refinery is exempt from the                       ■ k. Adding paragraph (b)(1)(xiii)(C);                   (B) A renewable fuel producer seeking
                                                                                                     ■ l. Revising paragraph (b)(1)(xv)(B);                to generate D code 3 or D code 7 RINs,
                                            requirements that apply to obligated
                                                                                                     ■ m. Revising the first sentence of                   a foreign ethanol producer seeking to
                                            parties under this subpart M for fuel
                                            produced at the refinery if the refinery                 paragraph (b)(2) introductory text;                   have its product sold as cellulosic
                                                                                                     ■ n. In paragraph (b)(2)(iii), removing               biofuel after it is denatured, or a
                                            meets the definition of ‘‘small refinery’’
                                            in § 80.2 for calendar year 2006.                        the text ‘‘the Administrator’’ and adding             biointermediate producer seeking to
                                                                                                     in its place the text ‘‘EPA’’;                        have its biointermediate made into
                                            *      *     *    *     *                                ■ o. Adding paragraph (b)(2)(vii);
                                                                                                                                                           cellulosic biofuel, who intends to
                                            ■ 26. Amend § 80.1442 by:                                ■ p. Revising paragraphs (d)(3) and
                                                                                                                                                           produce a single type of fuel using two
                                            ■ a. Removing and reserving paragraph                    (g)(10)(ii); and                                      or more feedstocks converted
                                            (a)(2);                                                  ■ q. In paragraphs (g)(11)(i), (ii), (iii),
                                                                                                                                                           simultaneously, where at least one of
                                            ■ b. Removing paragraphs (b)(4) and (5);                 and (i)(1), removing the text ‘‘The                   the feedstocks does not have a
                                            and                                                      Administrator’’ and adding in its place               minimum 75% adjusted cellulosic
                                            ■ c. Revising paragraph (c)(1).                          the text ‘‘EPA’’.                                     content, and who uses a process other
                                               The revision reads as follows                            The revisions and additions read as
                                                                                                                                                           than a thermochemical process,
                                                                                                     follows:
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                                            § 80.1442 What are the provisions for                                                                          excluding anerobic digestion, or a
                                            small refiners under the RFS program?                    § 80.1450 What are the registration                   combination of processes to convert
                                            *     *    *     *    *                                  requirements under the RFS program?                   feedstock into renewable fuel or
                                              (c) * * *                                                (a) * * * Any obligated party or any                biointermediate, must provide all the
                                              (1) Transportation fuel produced by a                  exporter of renewable fuel must provide               following:
                                            small refiner pursuant to paragraph                      EPA with the information specified for                *       *    *     *     *


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                                               (C) A renewable fuel producer seeking                 review must be submitted by January                   review prior to the next applicable
                                            to generate D code 3 or D code 7 RINs                    31, 2027.                                             January 31 deadline, and the registration
                                            or a biointermediate producer seeking to                    (iii) For all renewable fuel producers,            information and independent third-
                                            have its biointermediate made into                       the updated independent third-party                   party engineering review meet all
                                            cellulosic biofuel, who intends to                       engineering review must include all the               applicable requirements under
                                            produce biogas using two or more                         following:                                            paragraphs (b)(2) and (d)(3)(iii) of this
                                            feedstocks converted simultaneously in                      (A) The engineering review and                     section, the next required registration
                                            an anaerobic digester, where at least one                written report and verification required              information and independent third-
                                            of the feedstocks does not have a                        by paragraph (b)(2) of this section.                  party engineering review update is due
                                            minimum 75% adjusted cellulosic                             (B) A detailed review of the renewable             by January 31 of every third calendar
                                            content, must supply the information                     fuel producer’s calculations and                      year after the date of the updated
                                            specified in § 80.135(c)(10).                            assumptions used to determine VRIN of                 independent third-party engineering
                                                                                                     a representative sample of batches of                 review site visit.
                                            *       *    *     *    *
                                                                                                     each type of renewable fuel produced
                                               (xv) * * *                                                                                                  *      *    *      *    *
                                                                                                     since the last registration. This
                                               (B) A written justification which                                                                             (g) * * *
                                                                                                     representative sampling must adhere to
                                            explains why each feedstock a producer                                                                           (10) * * *
                                                                                                     all the following, as applicable:                       (ii) The independent third-party
                                            lists according to paragraph (b)(1)(xv)(A)                  (1) The representative sample must be
                                            of this section meets the definition of                                                                        auditor submits an affidavit affirming
                                                                                                     selected in accordance with the sample
                                            crop residue.                                                                                                  that they have only verified RINs and
                                                                                                     size guidelines set forth at 40 CFR
                                            *       *    *     *    *                                                                                      biointermediates using a QAP approved
                                                                                                     1090.1805.
                                               (2) An independent third-party                           (2) For updated independent third-                 under § 80.1469 and notified all
                                            engineering review and written report                    party engineering reviews submitted                   appropriate parties of all potentially
                                            and verification of the information                      after January 31, 2024, the                           invalid RINs as described in
                                            provided pursuant to paragraph (b)(1) of                 representative sample must be selected                § 80.1471(d).
                                            this section and § 80.135, as applicable.                from batches of renewable fuel                        *      *    *      *    *
                                            * * *                                                    produced through at least the second                  ■ 30. Effective February 1, 2024, amend
                                            *       *    *     *    *                                quarter of the calendar year prior to the             § 80.1450 by revising paragraph (b)(2)(ii)
                                               (vii) Reports required under this                     applicable January 31 deadline.                       and adding paragraphs (b)(2)(viii)
                                            paragraph (b)(2) must be electronically                     (iv) For biointermediate producers, in             through (x) to read as follows:
                                            submitted directly to EPA by an                          addition to conducting the engineering
                                                                                                     review and written report and                         § 80.1450 What are the registration
                                            independent third-party engineer using                                                                         requirements under the RFS program?
                                            forms and procedures established by                      verification required by paragraph (b)(2)
                                                                                                     of this section, the updated independent              *       *    *      *    *
                                            EPA.                                                                                                              (b) * * *
                                                                                                     third-party engineering review must
                                            *       *    *     *    *                                include a detailed review of the                         (2) * * *
                                               (d) * * *                                             biointermediate producer’s calculations                  (ii) The independent third-party
                                               (3) All renewable fuel producers,                     used to determine the renewable                       engineer and its contractors and
                                            foreign ethanol producers, and                           biomass and cellulosic renewable                      subcontractors must meet the
                                            biointermediate producers must update                    biomass proportions, as required to be                independence requirements specified in
                                            registration information and submit an                   reported to EPA under § 80.1451(j), of a              § 80.1471(b)(1), (2), (4), (5), and (7)
                                            updated independent third-party                          representative sample of batches of each              through (12).
                                            engineering review as follows:                           type of biointermediate produced since                *       *    *      *    *
                                               (i) For all renewable fuel producers                  the last registration. The representative                (viii) The independent third-party
                                            and foreign ethanol producers registered                 sample must be selected in accordance                 engineer must conduct engineering
                                            in calendar year 2010, the updated                       with the sample size guidelines set forth             reviews as follows:
                                            registration information and                             at 40 CFR 1090.1805.                                     (A)(1) To verify the accuracy of the
                                            independent third-party engineering                         (v) For updated independent third-                 information provided in paragraph
                                            review must be submitted to EPA by                       party engineering reviews submitted                   (b)(1)(ii) of this section, the independent
                                            January 31, 2013, and by January 31 of                   after January 31, 2024, independent                   third-party engineer must conduct
                                            no less frequent than every third                        third-party engineers must conduct site               independent calculations of the
                                            calendar year thereafter.                                visits required under this paragraph (d)              throughput rate-limiting step in the
                                               (ii) For all renewable fuel producers,                no sooner than July 1 of the calendar                 production process, take digital
                                            foreign ethanol producers, and                           year prior to the applicable January 31               photographs of all process units
                                            biointermediate producers registered in                  deadline.                                             depicted in the process flow diagram
                                            any calendar year after 2010, the                           (vi) For updated independent third-                during the site visit, and certify that all
                                            updated registration information and                     party engineering reviews submitted                   process unit connections are in place
                                            independent third-party engineering                      after January 31, 2024, the site visits               and functioning based on the site visit.
                                            review must be submitted to EPA by                       required under this paragraph (d) must                   (2) Digital photographs of a process
                                            January 31 of no less frequent than                      occur when the renewable fuel                         unit are not required if the third-party
                                            every third calendar year after the date                 production facility is producing                      engineer submits documentation
                                            of the first independent third-party                     renewable fuel or when the                            demonstrating why they were unable to
                                            engineering review site visit conducted                  biointermediate production facility is                access certain locations due to access
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                                            under paragraph (b)(2) of this section.                  producing biointermediates.                           issues or safety concerns. EPA may not
                                            For example, if a renewable fuel                            (vii) If a renewable fuel producer,                accept a registration if EPA is unable to
                                            producer arranged for a third-party                      foreign ethanol producer, or                          determine whether the facility is
                                            engineer to conduct the first site visit on              biointermediate producer updates their                capable of producing the requested
                                            December 15, 2023, the three-year                        registration information and                          renewable fuel, biointermediate, biogas,
                                            independent third-party engineer                         independent third-party engineering                   or RNG, as applicable, due to the lack


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                                            of sufficient digital photographs of                     the possibility of fines and                              (iii) Whether the refiner is complying
                                            process units for the facility.                          imprisonment for knowing violations.’’                 on a corporate (aggregate) or facility-by-
                                               (B) To verify the accuracy of the                     *      *     *      *     *                            facility basis.
                                            information in paragraph (b)(1)(iii) of                                                                         *       *    *      *     *
                                                                                                     ■ 31. Amend § 80.1451 by:
                                            this section, the independent third-party                ■ a. In paragraph (a) introductory text,                  (viii) The total current-year RINs by
                                            engineer must obtain independent                         removing the text ‘‘described in                       category of renewable fuel (i.e.,
                                            documentation from parties in contracts                                                                         cellulosic biofuel, biomass-based diesel,
                                                                                                     § 80.1406’’ and ‘‘described in
                                            with the producer for any co-product                                                                            advanced biofuel, renewable fuel, and
                                                                                                     § 80.1430’’;
                                            sales or disposals. The independent                      ■ b. Revising paragraph (a)(1)(iii);                   cellulosic diesel), retired for
                                            third-party engineer may use                             ■ c. In paragraph (a)(1)(vi), removing the             compliance.
                                            representative sampling as specified in                  text ‘‘defined’’ and adding in its place                  (ix) The total prior-year RINs by
                                            40 CFR 1090.1805 to verify co-product                    the text ‘‘specified’’;                                renewable fuel category retired for
                                            sales or disposals.                                      ■ d. Revising paragraphs (a)(1)(viii) and              compliance.
                                               (C) To verify the accuracy of the                                                                            *       *    *      *     *
                                                                                                     (ix);
                                            information provided in paragraph                        ■ e. In paragraph (a)(1)(xiii), removing                  (xvi) The total current-year RINs by
                                            (b)(1)(iv) of this section, the                                                                                 category of renewable fuel (i.e.,
                                                                                                     the text ‘‘the Administrator’’ and adding
                                            independent third-party engineer must                                                                           cellulosic biofuel, biomass-based diesel,
                                                                                                     in its place the text ‘‘EPA’’;
                                            obtain independent documentation from                    ■ f. Revising paragraphs (a)(1)(xvi),                  advanced biofuel, renewable fuel, and
                                            all process heat fuel suppliers of the                   (xvii), and (xviii);                                   cellulosic diesel), retired for compliance
                                            process heat fuel supplied to the                        ■ g. In paragraph (b)(1)(ii)(O), removing              that are invalid as specified in
                                            facility. The independent third-party                    the text ‘‘as defined in § 80.1401’’;                  § 80.1431(a).
                                            engineer may use representative                          ■ h. In paragraph (b)(1)(ii)(T), removing                 (xvii) The total prior-year RINs by
                                            sampling as specified in 40 CFR                          the text ‘‘§ 80.1468’’ and adding in its               renewable fuel category retired for
                                            1090.1805 to verify fuel suppliers.                      place the text ‘‘§ 80.12’’;                            compliance that are invalid as specified
                                               (D) To verify the accuracy of the                                                                            in § 80.1431(a).
                                                                                                     ■ i. Revising paragraph (b)(1)(ii)(U)
                                            information provided in paragraph                                                                                  (xviii) A list of all RINs that were
                                                                                                     introductory text;
                                            (b)(1)(v) of this section, the independent               ■ j. In paragraph (b)(1)(ii)(W), removing              retired for compliance in the reporting
                                            third-party engineer must conduct                        the text ‘‘the Administrator’’ and adding              period and are invalid as specified in
                                            independent calculations of the                                                                                 § 80.1431(a).
                                                                                                     in its place the text ‘‘that EPA’’;
                                            Converted Fraction that will be used to                  ■ k. In paragraph (c)(1)(iii)(K), removing
                                            generate RINs.                                                                                                  *       *    *      *     *
                                                                                                     the text ‘‘the Administrator’’ and adding                 (b) * * *
                                               (ix) The independent third-party
                                                                                                     in its place the text ‘‘EPA’’;                            (1) * * *
                                            engineer must provide to EPA                                                                                       (ii) * * *
                                                                                                     ■ l. In paragraphs (c)(2)(i)(J) and (L),
                                            documentation demonstrating that a site                                                                            (U) Producers generating D code 3 or
                                                                                                     removing the text ‘‘as defined in’’ and
                                            visit, as specified in paragraph (b)(2) of                                                                      7 RINs for cellulosic biofuel other than
                                                                                                     adding in its place the text ‘‘under’’;
                                            this section, occurred. Such                                                                                    RNG or biogas-derived renewable fuel,
                                                                                                     ■ m. In paragraph (c)(2)(i)(R), removing
                                            documentation must include digital                                                                              and that was produced from two or
                                                                                                     the text ‘‘the Administrator’’ and adding
                                            photographs with date and geographic                                                                            more feedstocks converted
                                                                                                     in its place the text ‘‘EPA’’;
                                            coordinates taken during the site visit                                                                         simultaneously, at least one of which
                                                                                                     ■ n. In paragraphs (c)(2)(ii)(D)(8) and
                                            and a description of what is depicted in                                                                        has less than 75% average adjusted
                                                                                                     (10), removing the text ‘‘as defined in’’
                                            the photographs.                                                                                                cellulosic content, and using a
                                               (x) The independent third-party                       and adding in its place the text ‘‘under’’;
                                                                                                     ■ o. In paragraph (c)(2)(ii)(I), removing              combination of processes or a process
                                            engineer must sign, date, and submit to
                                                                                                     the text ‘‘the Administrator’’ and adding              other than a thermochemical process or
                                            EPA with the written report the
                                                                                                     in its place the text ‘‘EPA’’;                         a combination of processes, must report
                                            following conflict of interest statement:
                                                                                                     ■ p. In paragraph (e) introductory text,               all the following:
                                               ‘‘I certify that the engineering review
                                            and written report required and                          removing the text ‘‘as defined in                      *       *    *      *     *
                                            submitted under 40 CFR 80.1450(b)(2)                     § 80.1401 who’’ and adding in its place                   (f) * * *
                                            was conducted and prepared by me, or                     the text ‘‘that’’;                                        (4) Monthly reporting schedule. Any
                                                                                                     ■ q. Adding paragraph (f)(4);                          party required to submit information or
                                            under my direction or supervision, in
                                                                                                     ■ r. Revising paragraphs (g) introductory              reports on a monthly basis must submit
                                            accordance with a system designed to
                                                                                                     text, (g)(1), (g)(2) introductory text, and            such information or reports by the end
                                            assure that qualified personnel properly
                                                                                                     (g)(2)(vii) through (xi);                              of the subsequent calendar month.
                                            gather and evaluate the information
                                                                                                     ■ s. Adding paragraph (g)(2)(xii);                        (g) Independent third-party auditors.
                                            upon which the engineering review was
                                                                                                     ■ t. In paragraph (h)(2), removing the                 Any independent third-party auditor
                                            conducted and the written report is
                                                                                                     text ‘‘the Administrator’’ and adding in               must submit quarterly reports as
                                            based. I further certify that the
                                                                                                     its place the text ‘‘EPA’’;                            follows:
                                            engineering review was conducted and                     ■ u. In paragraph (j)(1)(xvi), removing                   (1) The following information for each
                                            this written report was prepared                         the text ‘‘the Administrator’’ and adding              verified batch, as applicable:
                                            pursuant to the requirements of 40 CFR                   in its place the text ‘‘that EPA’’; and                   (i) The audited party’s name.
                                            part 80 and all other applicable                         ■ v. In paragraph (k), removing the text                  (ii) The audited party’s EPA company
                                            auditing, competency, independence,                      ‘‘the Administrator’’ and adding in its                registration number.
                                            impartiality, and conflict of interest                   place the text ‘‘EPA’’.                                   (iii) The audited party’s EPA facility
                                            standards and protocols. Based on my                        The revisions and additions read as                 registration number.
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                                            personal knowledge and experience,                       follows:                                                  (iv)(A) The renewable fuel importer’s
                                            and inquiry of personnel involved, the                                                                          EPA facility registration number and
                                            information submitted herein is true,                    § 80.1451 What are the reporting                       foreign renewable fuel producer’s
                                            accurate, and complete. I am aware that                  requirements under the RFS program?                    company registration number.
                                            there are significant penalties for                           (a) * * *                                            (B) The RNG importer’s EPA facility
                                            submitting false information, including                       (1) * * *                                         registration number and foreign RNG


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                                            producer’s company registration                          ■ a. In paragraph (b)(14), removing the                  (vii) For biogas designated for use as
                                            number.                                                  text ‘‘as defined in § 80.1401’’;                     a biointermediate, any applicable PTD
                                              (v) The applicable reporting period.                   ■ b. In paragraph (b)(18), removing the               requirements under § 80.150.
                                              (vi) The quantity of RINs generated for                text ‘‘the Administrator’’ and adding in              *      *       *    *     *
                                            each verified batch according to                         its place the text ‘‘that EPA’’; and                  ■ 34. Amend § 80.1454 by:
                                            §§ 80.125, 80.130, and 80.1426.                          ■ c. In paragraphs (c)(14) and (d),                   ■ a. In paragraph (a) introductory text,
                                              (vii) The production date of each                      removing the text ‘‘the Administrator’’               removing the text ‘‘(as described at
                                            verified batch.                                          and adding in its place the text ‘‘EPA’’.             § 80.1406)’’ and ‘‘(as described at
                                              (viii) The D-code of each verified                     ■ 33. Amend § 80.1453 by:                             § 80.1430)’’;
                                            batch.                                                   ■ a. Revising paragraphs (a)                          ■ b. In paragraph (b) introductory text,
                                              (ix) The volume of ethanol denaturant                                                                        removing the text ‘‘as defined in
                                                                                                     introductory text, (a)(12) introductory
                                            and applicable equivalence value of                                                                            § 80.1401’’;
                                                                                                     text, and (a)(12)(v);
                                            each verified batch.                                                                                           ■ c. Revising paragraphs (b)(3)(ix) and
                                                                                                     ■ b. Adding paragraph (a)(12)(viii);
                                              (x) The volume of each verified batch                                                                        (xii);
                                                                                                     ■ c. In paragraphs (d) and (f)(1)(vi),
                                            produced.                                                                                                      ■ d. In paragraph (b)(8), removing the
                                              (xi) The volume and type of each                       removing the text ‘‘§ 80.1401’’ and
                                                                                                     adding in its place the text ‘‘§ 80.2’’; and          text ‘‘§ 80.1401’’ and adding in its place
                                            feedstock and biointermediate used to                                                                          the text ‘‘§ 80.2’’;
                                                                                                     ■ d. Adding paragraph (f)(1)(vii).
                                            produce the verified batch.                                                                                    ■ e. In paragraph (c)(1) introductory
                                              (xii) Whether the feedstocks and                          The revisions and additions read as
                                                                                                     follows:                                              text, removing the text ‘‘(as defined in
                                            biointermediates used to produce each                                                                          § 80.1401)’’;
                                            verified batch met the definition of                     § 80.1453 What are the product transfer               ■ f. In paragraph (c)(1)(iii), removing the
                                            renewable biomass.                                       document (PTD) requirements for the RFS               text ‘‘as defined in § 80.1401’’;
                                              (xiii) Whether appropriate RIN                         program?                                              ■ g. In paragraph (c)(2) introductory
                                            generation and verified batch volume                        (a) On each occasion when any party                text, removing the text ‘‘(as defined in
                                            calculations under this part were                        transfers ownership of neat or blended                § 80.1401)’’;
                                            followed for each verified batch.                        renewable fuels or RNG, except when                   ■ h. Adding paragraphs (c)(2)(vii) and
                                              (xiv) The quantity and type of co-                     such fuel is dispensed into motor                     (c)(3);
                                            products produced.                                       vehicles or nonroad vehicles, engines,                ■ i. Removing paragraph (d)
                                              (xv) Invoice document identification                   or equipment, or separated RINs subject               introductory text;
                                            numbers associated with each verified                    to this subpart, the transferor must                  ■ j. Redesignating paragraphs (d)(1)
                                            batch.                                                   provide to the transferee documents that              through (4) as paragraphs (d)(2) through
                                              (xvi) Laboratory sample identification                 include all the following information, as             (5), respectively, and adding a new
                                            numbers for each verified batch                          applicable:                                           paragraph (d)(1);
                                            associated with the generation of any                                                                          ■ k. In newly redesignated paragraph
                                                                                                     *      *     *     *    *
                                            certificates of analysis used to verify                                                                        (d)(2)(ii), removing the text ‘‘(d)(1)(i)’’
                                            fuel type and quality.                                      (12) For the transfer of renewable fuel
                                                                                                     or RNG for which RINs were generated,                 and adding in its place the text
                                              (xvii) Any additional information that                                                                       ‘‘(d)(2)(i)’’;
                                            EPA may require.                                         an accurate and clear statement on the
                                                                                                     product transfer document of the fuel                 ■ l. In newly redesignated paragraph
                                              (2) The following aggregate                                                                                  (d)(4)(ii)(B), removing the text
                                            verification information, as applicable:                 type from the approved pathway, and
                                                                                                     designation of the fuel use(s) intended               ‘‘(d)(3)(ii)(A)’’ and adding in its place
                                            *      *     *     *     *                               by the transferor, as follows:                        the text ‘‘(d)(4)(ii)(A)’’;
                                              (vii) A list of all audited facilities,                                                                      ■ m. Revising newly redesignated
                                            including the EPA’s company and                          *      *     *     *    *
                                                                                                        (v) Naphtha. ‘‘This volume of neat or              paragraph (d)(5);
                                            facility registration numbers, along with                                                                      ■ n. Adding paragraph (d)(6);
                                            the date the independent third-party                     blended naphtha is designated and
                                                                                                                                                           ■ o. In paragraphs (h)(3)(iv) and (v),
                                            auditor conducted the on-site visit and                  intended for use as transportation fuel
                                                                                                     or jet fuel in the 48 U.S. contiguous                 removing the text ‘‘as defined in
                                            audit.                                                                                                         § 80.1401’’;
                                              (viii) Mass and energy balances                        states and Hawaii. This naphtha may
                                                                                                                                                           ■ p. Removing paragraphs (h)(6)(vi) and
                                            calculated for each audited facility.                    only be used as a gasoline blendstock,
                                                                                                     E85 blendstock, or jet fuel. Any person               (vii);
                                              (ix) A list of all RINs that were                                                                            ■ q. Revising paragraph (j) introductory
                                            identified as Potentially Invalid RINs                   exporting this fuel is subject to the
                                                                                                                                                           text;
                                            (PIRs) pursuant to §§ 80.185 and                         requirements of 40 CFR 80.1430.’’.
                                                                                                                                                           ■ r. In paragraphs (j)(1)(iii), (j)(2)(iv),
                                            80.1474, along with a narrative                          *      *     *     *    *                             and (k)(1)(vii), removing the text ‘‘the
                                            description of why the RINs were not                        (viii) RNG. ‘‘This volume of RNG is                Administrator’’ and adding in its place
                                            verified or were identified as PIRs.                     designated and intended for                           the text ‘‘EPA’’;
                                              (x) A list of all biointermediates that                transportation use in the 48 U.S.                     ■ s. Revising paragraphs (k)(2) and (l)
                                            were identified as potentially                           contiguous states and Hawaii or as a                  introductory text;
                                            improperly produced biointermediates                     feedstock to produce a renewable fuel                 ■ t. In paragraphs (l)(4) and (m)(11),
                                            under § 80.1477(d).                                      and may not be used for any other                     removing the text ‘‘the Administrator’’
                                              (xi) A list of all biogas that was                     purpose. Any person exporting this fuel               and adding in its place the text ‘‘EPA’’;
                                            identified as potentially inaccurate or                  is subject to the requirements of 40 CFR              ■ u. In paragraph (t), removing the text
                                            non-qualifying under § 80.185(b).                        80.1430. Assigned RINs to this volume                 ‘‘the Administrator or the
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                                              (xii) Any additional information that                  of RNG must not be separated unless the               Administrator’s authorized
                                            EPA may require.                                         RNG is used as transportation fuel in the             representative’’ and adding in its place
                                            *      *     *     *     *                               48 U.S. contiguous states and Hawaii.’’               the text ‘‘EPA’’; and
                                                                                                     *      *     *     *    *                             ■ v. In paragraph (v), removing the text
                                            § 80.1452   [Amended]                                       (f) * * *                                          ‘‘the Administrator’’ and adding in its
                                            ■ 32. Amend § 80.1452 by:                                   (1) * * *                                          place the text ‘‘EPA’’.


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                                              The revisions and additions read as                    certifying that the feedstock qualifies as            renewable electricity. A renewable fuel
                                            follows:                                                 renewable biomass, describing the                     producer that generates RINs for any
                                                                                                     feedstock.                                            renewable fuel other than ethanol,
                                            § 80.1454 What are the recordkeeping                        (6) Producers of renewable fuel or                 biodiesel, renewable gasoline,
                                            requirements under the RFS program?
                                                                                                     biointermediate produced from                         renewable diesel that meets the Grade
                                            *      *     *      *    *                               separated yard and food waste, biogenic               No. 1–D or No. 2–D specification in
                                               (b) * * *                                             oils/fats/greases, or separated MSW                   ASTM D975 (incorporated by reference,
                                               (3) * * *                                             must comply with either the                           see § 80.12), biogas-derived renewable
                                               (ix) All facility-determined values                   recordkeeping requirements in                         fuel or renewable electricity must keep
                                            used in the calculations under                           paragraph (j) of this section or the                  all the following additional records:
                                            § 80.1426(f)(4) and the data used to                     alternative recordkeeping requirements                *     *      *    *    *
                                            obtain those values.                                     in § 80.1479.
                                            *      *     *      *    *                               *       *     *    *     *                            § 80.1455    [Removed and Reserved]
                                               (xii) For RINs generated for ethanol                     (j) Additional requirements for                    ■ 35. Remove and reserve § 80.1455.
                                            produced from corn starch at a facility                  producers that use separated yard
                                            using an approved pathway that                           waste, separate food waste, separated                 § 80.1457    [Amended]
                                            requires the use of one or more of the                   MSW, or biogenic waste oils/fats/                     ■ 36. Amend § 80.1457 by, in paragraph
                                            advanced technologies listed in Table 2                  greases. Except for parties complying                 (b)(8), removing the text ‘‘the
                                            to § 80.1426, documentation to                           with the alternative recordkeeping                    Administrator’’ and adding in its place
                                            demonstrate that employment of the                       requirements in § 80.1479, a renewable                the text ‘‘that EPA’’.
                                            required advanced technology or                          fuel or biointermediate producer that                   37. Add § 80.1458 to read as follows:
                                            technologies was conducted in                            produces fuel or biointermediate from
                                            accordance with the specifications in                    separated yard waste, separated food                  § 80.1458 Storage of renewable fuel, RNG,
                                            the approved pathway and Table 2 to                      waste, separated MSW, or biogenic                     or biointermediate prior to registration.
                                            § 80.1426, including any requirement                     waste oils/fats/greases must keep all the                (a) Applicability. (1) A renewable fuel
                                            for application to 90% of the production                 following additional records:                         producer may store renewable fuel for
                                            on a calendar year basis.                                                                                      the generation of RINs prior to EPA
                                                                                                     *       *     *    *     *
                                            *      *     *      *    *                                  (k) * * *                                          acceptance of their registration under
                                               (c) * * *                                                (2) Biogas and electricity in pathways             § 80.1450(b) if all the requirements of
                                               (2) * * *                                             involving grain sorghum as feedstock. A               this section are met.
                                               (vii) For renewable fuel or                           renewable fuel producer that produces                    (2) An RNG producer may store RNG
                                            biointermediate produced from a type of                  fuel pursuant to a pathway that uses                  prior to EPA acceptance of their
                                            renewable biomass not specified in                       grain sorghum as a feedstock must keep                registration under § 80.135 if all the
                                            paragraphs (c)(1)(i) through (vi) of this                all the following additional records, as              requirements of this section are met.
                                            section, documents from their feedstock                  appropriate:                                             (3) A biointermediate producer may
                                            suppliers and feedstock aggregators, as                     (i) Contracts and documents                        store biointermediate (including biogas
                                            applicable, certifying that the feedstock                memorializing the purchase and sale of                used to produce a biogas-derived
                                            qualifies as renewable biomass,                          biogas and the transfer of biogas from                renewable fuel) prior to EPA acceptance
                                            describing the feedstock.                                the point of generation to the ethanol                of their registration under § 80.1450(b) if
                                               (3) Producers of renewable fuel or                    production facility.                                  all the requirements of this section are
                                            biointermediate produced from                               (ii) If the advanced biofuel pathway is            met.
                                            separated yard and food waste, biogenic                  used, documents demonstrating the                        (b) Storage requirements. In order for
                                            oils/fats/greases, or separated MSW                      total kilowatt-hours (kWh) of electricity             a renewable fuel, RNG, or
                                            must comply with either the                              used from the grid, and the total kWh                 biointermediate producer to store
                                            recordkeeping requirements in                            of grid electricity used on a per gallon              renewable fuel, RNG, or biointermediate
                                            paragraph (j) of this section or the                     of ethanol basis, pursuant to                         under this section, the producer must
                                            alternative recordkeeping requirements                   § 80.1426(f)(13).                                     do the following:
                                            in § 80.1479.                                               (iii) Affidavits from the biogas                      (1) Produce the stored renewable fuel,
                                               (d) Additional requirements for                       producer used at the facility, and all                RNG, or biointermediate after an
                                            domestic producers of renewable fuel.                    parties that held title to the biogas,                independent third-party engineer has
                                            (1) Except as provided in paragraphs (g)                 confirming that title and environmental               conducted an engineering review for the
                                            and (h) of this section, any domestic                    attributes of the biogas relied upon                  renewable fuel, RNG, or biointermediate
                                            producer of renewable fuel that                          under § 80.1426(f)(13) were used for                  production facility under
                                            generates RINs for such fuel must keep                   producing ethanol at the renewable fuel               § 80.1450(b)(2).
                                            documents associated with feedstock                      production facility and for no other                     (2) Produce the stored renewable fuel,
                                            purchases and transfers that identify                    purpose. The renewable fuel producer                  RNG, or biointermediate in accordance
                                            where the feedstocks were produced                       must obtain these affidavits for each                 with all applicable requirements under
                                            and are sufficient to verify that                        quarter.                                              this part.
                                            feedstocks used are renewable biomass                       (iv) The biogas producer’s                            (3) Make no change to the facility after
                                            if RINs are generated.                                   Compliance Certification required under               the independent third-party engineer
                                            *      *     *      *    *                               Title V of the Clean Air Act.                         completed the engineering review.
                                               (5) Domestic producers of renewable                      (v) Such other records as may be                      (4) Store the renewable fuel, RNG, or
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                                            fuel or biointermediates produced from                   requested by EPA.                                     biointermediate at the facility that
                                            a type of renewable biomass not                             (l) Additional requirements for                    produced the renewable fuel, RNG, or
                                            specified in paragraphs (d)(2) through                   producers or importers of any renewable               biointermediate.
                                            (4) of this section must have documents                  fuel other than ethanol, biodiesel,                      (5) Maintain custody and title to the
                                            from their feedstock suppliers and                       renewable gasoline, renewable diesel,                 stored renewable fuel, RNG, or
                                            feedstock aggregators, as applicable,                    biogas-derived renewable fuel, or                     biointermediate until EPA accepts the


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                                            producer’s registration under                            sampling and testing on behalf of a                           during a single calendar year among the
                                            § 80.1450(b).                                            regulated party and does so to                                five preceding calendar years; or (2) The
                                               (c) RIN generation. (1) A RIN                         demonstrate compliance with the                               largest volume of renewable fuel that the
                                            generator may only generate RINs for                     requirements of this subpart must meet                        RIN-generating foreign producers expects
                                            stored renewable fuel, stored RNG, or                                                                                  to export to the United States during any
                                                                                                     those requirements in the same way that                       calendar year identified in the
                                            renewable fuel produced from stored                      the regulated party must meet those                           Production Outlook Report required by
                                            biointermediate if the RIN generator                     requirements. The regulated party and                         § 80.1449. If the volume of renewable
                                            generates the RINs under §§ 80.125,                      the third party are both liable for any                       fuel exported to the United States
                                            80.1426, and 80.1452, as applicable,                     violations arising from the third party’s                     increases above the largest volume
                                            after EPA accepts their registration                     failure to meet the requirements of this                      identified in the Production Outlook
                                            under § 80.1450(b) and meets all other                   subpart.                                                      Report during any calendar year, the
                                            applicable requirements under this part                                                                                RIN-generating foreign producer must
                                            for RIN generation.                                      § 80.1464    [Amended]                                        increase the bond to cover the shortfall
                                               (2) The RIN year of any RINs                                                                                        within 90 days.
                                                                                                     ■ 40. Amend § 80.1464 by:
                                            generated for stored renewable fuel,                                                                              (2) Bonds must be obtained in the
                                                                                                     ■ a. In the introductory text, removing
                                            stored RNG, or renewable fuel produced                                                                         proper amount from a third-party surety
                                                                                                     the reference ‘‘§§ 80.1465 and 80.1466’’
                                            from stored biointermediate is the year                                                                        agent that is payable to satisfy United
                                                                                                     and adding in its place the reference
                                            that the renewable fuel or RNG was                                                                             States administrative or judicial
                                                                                                     ‘‘§ 80.1466’’;
                                            produced.                                                ■ b. In paragraph (a) introductory text,
                                                                                                                                                           judgments against the foreign producer,
                                               (d) Limitations. RNG injected into a                  removing the text ‘‘(as described at                  provided EPA agrees in advance as to
                                            natural gas commercial pipeline system                   § 80.1406(a))’’ and ‘‘(as described at                the third party and the nature of the
                                            prior to EPA acceptance of a renewable                   § 80.1430)’’;                                         surety agreement.
                                            fuel producer’s registration under                       ■ c. In paragraph (b)(1)(iii), removing               *      *    *     *     *
                                            § 80.135 does not meet the requirements                  the text ‘‘a pathway in Table 1 to                    ■ 42. Effective April 1, 2024, amend
                                            of this section and may not be stored.                   § 80.1426’’ and adding in its place the               § 80.1467 by:
                                            ■ 38. Amend § 80.1460 by:                                text ‘‘an approved pathway’’;                         ■ a. In paragraph (c)(1)(viii), removing
                                            ■ a. In paragraph (a), removing the text                 ■ d. In paragraph (b)(1)(v)(B), removing              the text ‘‘working’’ and adding in its
                                            ‘‘Except as provided in § 80.1455, no’’                  the text ‘‘in § 80.1401’’; and                        place the text ‘‘business’’;
                                            and adding in its place the text ‘‘No’’;                 ■ e. In paragraphs (i)(1) and (2),                    ■ b. Revising paragraphs (e)(1) and (2);
                                            ■ b. In paragraphs (c)(2) and (3),                       removing the text ‘‘RIN and                           and
                                            removing the text ‘‘(as defined in                       biointermediate’’.                                    ■ c. In paragraph (j)(1), removing the
                                            § 80.1401)’’;                                            ■ 41. Effective April 1, 2024, amend                  text ‘‘the Administrator’’ wherever it
                                            ■ c. In paragraph (d), removing the text                                                                       appears and adding in its place the text
                                                                                                     § 80.1466 by:
                                            ‘‘§ 80.1428(a)(5)’’ and adding in its place              ■ a. In paragraph (d)(2)(ii), removing the            ‘‘EPA’’.
                                            the text ‘‘§ 80.1428(a)(4)’’                             text ‘‘The Administrator’’ and adding in                 The revisions read as follows:
                                            ■ d. In paragraph (g), removing the text
                                                                                                     its place the text ‘‘EPA’’;                           § 80.1467 What are the additional
                                            ‘‘§ 80.1401’’ and adding in its place the                ■ b. In paragraph (f)(1)(viii), removing
                                            text ‘‘§ 80.2’’; and                                                                                           requirements under this subpart for a
                                                                                                     the text ‘‘working’’ and adding in its                foreign RIN owner?
                                            ■ e. Adding paragraph (l).
                                               The addition reads as follows:                        place the text ‘‘business’’;                          *     *    *     *     *
                                                                                                     ■ c. Revising paragraphs (h)(1) and (2);                (e) * * *
                                            § 80.1460 What acts are prohibited under                 ■ d. In paragraph (k)(4)(i), removing the               (1) The foreign entity must post a
                                            the RFS program?                                         text ‘‘The Administrator’’ and adding in              bond of the amount calculated using the
                                            *       *    *     *     *                               its place the text ‘‘EPA’’;                           following equation:
                                               (l) Independent third-party engineer                  ■ e. In paragraph (o)(1), removing the
                                                                                                                                                           Bond = G * $ 0.22
                                            violations. No person shall do any of the                text ‘‘the Administrator’’ wherever it
                                            following:                                               appears and adding in its place the text              Where:
                                               (1) Fail to identify any incorrect                    ‘‘EPA’’; and                                          Bond = Amount of the bond in U.S. dollars.
                                            information submitted by any party as                    ■ f. In paragraph (o)(2)(ii), removing the            G = The total of the number of gallon-RINs
                                            specified in § 80.1450(b)(2).                            text ‘‘40 CFR 80.1465’’ and adding in its                 the foreign entity expects to obtain, sell,
                                               (2) Fail to meet any requirement                      place the text ‘‘40 CFR 80.1466’’.                        transfer, or hold during the first calendar
                                                                                                                                                               year that the foreign entity is a RIN
                                            related to engineering reviews as                           The revisions read as follows:
                                                                                                                                                               owner, plus the number of gallon-RINs
                                            specified in § 80.1450(b)(2).                                                                                      the foreign entity expects to obtain, sell,
                                               (3) Fail to disclose to EPA any                       § 80.1466 What are the additional
                                                                                                     requirements under this subpart for foreign               transfer, or hold during the next four
                                            financial, professional, business, or                    renewable fuel producers and importers of                 calendar years. After the first calendar
                                            other interests with parties for whom                    renewable fuels?                                          year, the bond amount must be based on
                                            the independent third-party engineer                                                                               the actual number of gallon-RINs
                                                                                                     *     *    *    *    *                                    obtained, sold, or transferred so far
                                            provides services under § 80.1450.
                                               (4) Fail to meet any requirement                        (h) * * *                                               during the current calendar year plus the
                                                                                                       (1) The RIN-generating foreign                          number of gallon-RINs obtained, sold, or
                                            related to the independent third-party
                                                                                                     producer must post a bond of the                          transferred during the four calendar
                                            engineering review requirements in
                                                                                                     amount calculated using the following                     years immediately preceding the current
                                            § 80.1450(b)(2) or (d)(1).
                                                                                                     equation.                                                 calendar year. For any year for which
                                            ■ 39. Amend § 80.1461 by adding                                                                                    there were fewer than four preceding
                                            paragraph (f) to read as follows:                        Bond = G * $0.22
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                                                                                                                                                               years in which the foreign entity
                                                                                                     Where:                                                    obtained, sold, or transferred RINs, the
                                            § 80.1461 Who is liable for violations                   Bond = Amount of the bond in U.S. dollars.                bond must be based on the total of the
                                            under the RFS program?                                   G = The greater of: (1) The largest volume of             number of gallon-RINs sold or
                                            *      *     *    *      *                                   renewable fuel produced by the RIN-                   transferred so far during the current
                                               (f) Third-party liability. Any party                      generating foreign producer and                       calendar year plus the number of gallon-
                                            allowed under this subpart to conduct                        exported to the United States, in gallons,            RINs obtained, sold, or transferred



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                                                 during any immediately preceding                    relevant registration information under               subcontractors must be free from any
                                                 calendar years in which the foreign                 § 80.1450, reporting information under                interest in the audited party’s business
                                                 entity owned RINs, plus the number of               § 80.1451, and recordkeeping                          and receive no financial benefit from the
                                                 gallon-RINs the foreign entity expects to
                                                                                                     information under § 80.1454, as well as               outcome of auditing service, apart from
                                                 obtain, sell or transfer during subsequent
                                                 calendar years, the total number of years           any other relevant information and                    payment for the auditing services.
                                                 not to exceed four calendar years in                documentation required under this part,                  (10) The independent third-party
                                                 addition to the current calendar year.              to verify elements in a QAP approved by               auditor and its contractors and
                                                                                                     EPA under this section.                               subcontractors must not have been
                                              (2) Bonds must be obtained in the
                                                                                                        (d) In addition to a general QAP                   involved in the design or construction
                                            proper amount from a third-party surety
                                                                                                     encompassing elements common to all                   of the audited facility.
                                            agent that is payable to satisfy United                                                                           (11) The independent third-party
                                                                                                     pathways, for each QAP there must be
                                            States administrative or judicial                                                                              auditor and its contractors and
                                                                                                     at least one pathway-specific plan for an
                                            judgments against the foreign RIN                                                                              subcontractors must ensure that all
                                                                                                     approved pathway, which must contain
                                            owner, provided EPA agrees in advance                                                                          personnel involved in the third-party
                                                                                                     elements specific to particular
                                            as to the third party and the nature of                                                                        audit (including the verification
                                                                                                     feedstocks, production processes, and
                                            the surety agreement.                                                                                          activities) under this section are not
                                                                                                     fuel types, as applicable.
                                            *     *     *     *     *                                                                                      negotiating for future employment with
                                                                                                     *      *     *    *      *
                                            § 80.1468   [Removed and Reserved]                                                                             the owner or operator of the audited
                                                                                                     ■ 45. Amend § 80.1471 by:
                                                                                                                                                           party. At a minimum, prior to
                                            ■ 43. Remove and reserve § 80.1468.                      ■ a. Revising paragraphs (b)
                                                                                                                                                           conducting the audit, the independent
                                            ■ 44. Amend § 80.1469 by:
                                                                                                     introductory text and (b)(1);
                                                                                                     ■ b. In paragraph (b)(2), removing the
                                                                                                                                                           third-party auditor must obtain an
                                            ■ a. In paragraph (a)(1)(i)(A), removing                                                                       attestation (or similar document) from
                                            the text ‘‘as defined in § 80.1401’’;                    text ‘‘as defined in § 80.1406’’;
                                                                                                     ■ c. Revising paragraphs (b)(4) through
                                                                                                                                                           each person involved in the audit
                                            ■ b. In paragraphs (a)(1)(i)(F) and                                                                            stating that they are not negotiating for
                                            (a)(2)(i)(B), removing the text ‘‘as                     (6); and
                                                                                                     ■ d. Adding paragraphs (b)(8) through
                                                                                                                                                           future employment with the owner or
                                            permitted under Table 1 to § 80.1426 or                                                                        operator of the audited party.
                                            a petition approved through § 80.1416’’                  (12).
                                                                                                        The revisions and additions read as                   (12) The independent third-party
                                            and adding in its place the text ‘‘from                                                                        auditor and its contractors and
                                            the approved pathway’’;                                  follows:
                                                                                                                                                           subcontractors must have written
                                            ■ c. In paragraph (a)(3)(i)(F), removing                                                                       policies and procedures to ensure that
                                                                                                     § 80.1471    Requirements for QAP auditors.
                                            the text ‘‘EV’’ and adding in its place the                                                                    the independent third-party auditor and
                                            text ‘‘EqV’’;                                            *      *    *     *      *
                                                                                                        (b) To be considered an independent                all personnel under the independent
                                            ■ d. In paragraph (b)(1)(i), removing the
                                                                                                     third-party auditor under paragraph (a)               third-party auditor’s direction or
                                            text ‘‘as defined in § 80.1401’’;                                                                              supervision comply with the
                                            ■ e. In paragraphs (b)(1)(vi) and                        of this section, all the following
                                                                                                     conditions must be met:                               competency, independence, and
                                            (b)(2)(ii), removing the text ‘‘as
                                                                                                        (1) The independent third-party                    impartiality requirements of this
                                            permitted under Table 1 to § 80.1426 or
                                                                                                     auditor and its contractors and                       section.
                                            a petition approved through § 80.1416’’
                                            and adding in its place the text ‘‘from                  subcontractors must not be owned or                   *     *     *     *     *
                                            the approved pathway’’;                                  operated by the audited party or any
                                                                                                     subsidiary or employee of the audited                 § 80.1473    [Amended]
                                            ■ f. In paragraph (b)(3)(v), removing the
                                            text ‘‘EV’’ and adding in its place the                  party.                                                ■ 46. Amend § 80.1473 by, in
                                            text ‘‘EqV’’;                                            *      *    *     *      *                            paragraphs (c)(1), (d)(1), and (e)(1),
                                            ■ g. In paragraph (c)(1)(i), removing the                   (4) The independent third-party                    removing the text ‘‘defined’’ and adding
                                            text ‘‘as defined in § 80.1401’’;                        auditor and its contractors and                       in its place the text ‘‘specified’’.
                                            ■ h. In paragraph (c)(3)(v), removing the                subcontractors must be free from any                  § 80.1474    [Amended]
                                            text ‘‘EV’’ and adding in its place the                  interest or the appearance of any
                                            text ‘‘EqV’’;                                            interest in the audited party’s business.             ■ 47. Amend § 80.1474 by, in paragraph
                                            ■ i. Revising paragraph (c)(4) paragraph                    (5) The audited party must be free                 (g), removing the text ‘‘the
                                            heading;                                                 from any interest or the appearance of                Administrator’’ and adding in its place
                                            ■ j. In paragraph (c)(4)(i), removing the                any interest in the third-party auditor’s             the text ‘‘EPA’’.
                                            text ‘‘§ 80.1429(b)(4)’’ and adding in its               business and the businesses of third-                 § 80.1478    [Amended]
                                            place the text ‘‘§ 80.1429(b)’’;                         party auditor’s contractors and
                                            ■ k. Adding paragraph (c)(6);                                                                                  ■ 48. Amend § 80.1478 by, in paragraph
                                                                                                     subcontractors.
                                            ■ l. Revising paragraph (d); and                            (6) The independent third-party                    (g)(1), removing the text ‘‘the
                                            ■ m. In paragraph (e)(1), removing the                                                                         Administrator’’ wherever it appears and
                                                                                                     auditor and its contractors and
                                            text ‘‘the Administrator’’ and adding in                 subcontractors must not have performed                adding in its place the text ‘‘EPA’’.
                                            its place the text ‘‘EPA’’.                              an attest engagement under § 80.1464(b)               ■ 49. Add § 80.1479 to read as follows:
                                               The revisions and addition read as
                                                                                                     for the audited party for the same                    § 80.1479 Alternative recordkeeping
                                            follows:
                                                                                                     compliance period as a QAP audit                      requirements for separated yard waste,
                                            § 80.1469 Requirements for Quality                       conducted pursuant to § 80.1472.                      separated food waste, separated MSW, and
                                            Assurance Plans.                                         *      *    *     *      *                            biogenic waste oils/fats/greases.
                                            *     *    *     *    *                                     (8) The independent third-party                      (a) Alternative recordkeeping. In lieu
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                                              (c) * * *                                              auditor and its contractors and                       of complying with the recordkeeping
                                              (4) Other RIN-related components.                      subcontractors must act impartially                   requirements in § 80.1454(j), a
                                            * * *                                                    when performing all activities under                  renewable fuel producer or
                                            *     *    *     *    *                                  this section.                                         biointermediate producer that produces
                                              (6) Documentation. Independent                            (9) The independent third-party                    renewable fuel or biointermediate from
                                            third-party auditors must review all                     auditor and its contractors and                       separated yard waste, separated food


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                                            waste, separated MSW, or biogenic                                           (d) PTDs. PTDs must accompany                                  Authority: 42 U.S.C. 7414, 7521, 7522–
                                            waste oils/fats/greases and uses a                                       transfers of separated yard waste,                              7525, 7541, 7542, 7543, 7545, 7547, 7550,
                                            feedstock aggregator to supply these                                     separated food waste, separated MSW,                            and 7601.
                                            feedstocks may comply with the                                           and biogenic waste oils/fats/greases                            Subpart A—General Provisions
                                            alternative recordkeeping requirements                                   from the point where the feedstock
                                            of this section.                                                         leaves the feedstock aggregator’s                               ■ 51. Amend § 1090.55 by revising
                                               (b) Registration of the feedstock                                     establishment to the point the feedstock                        paragraph (c) to read as follows:
                                            aggregator. The feedstock aggregator                                     is delivered to the renewable fuel
                                                                                                                     production facility, as specified in                            § 1090.55    Requirements for independent
                                            must register under 40 CFR 1090.805.                                                                                                     parties.
                                                                                                                     § 80.1453(f)(1)(i) through (v).
                                               (c) QAP participation. (1) The                                                                                                        *      *     *     *      *
                                            renewable fuel or biointermediate                                           (e) Recordkeeping. The feedstock
                                                                                                                                                                                        (c) Suspension and disbarment. Any
                                            producer must have their RINs or                                         aggregator must keep all applicable
                                                                                                                                                                                     person suspended or disbarred under 2
                                            biointermediate, as applicable, verified                                 records for the collection of separated
                                                                                                                                                                                     CFR part 1532 or 48 CFR part 9, subpart
                                            by an independent third-party auditor                                    yard waste, separated food waste,                               9.4, is not qualified to perform review
                                            under an approved QAP that includes a                                    separated MSW, and biogenic waste                               functions under this part.
                                            description of how the independent                                       oils/fats/greases as specified in
                                                                                                                                                                                     ■ 52. Amend § 1090.80 by:
                                            third-party auditor will audit each                                      § 80.1454(j).
                                                                                                                                                                                     ■ a. In the definition for ‘‘PADD’’,
                                            feedstock aggregator.                                                       (f) Liability. The feedstock aggregator                      revising entry ‘‘II’’ in the table; and
                                               (2) The independent third-party                                       and renewable fuel producer are liable                          ■ b. In the definition of ‘‘Ultra low-
                                            auditor must conduct a site visit of each                                for violations as specified in                                  sulfur diesel (ULSD)’’, removing the text
                                            feedstock aggregator’s establishment as                                  § 80.1461(e).                                                   ‘‘Ultra low-sulfur diesel (ULSD)’’ and
                                            specified in § 80.1471(f). Instead of                                                                                                    adding in its place the text ‘‘Ultra-low-
                                            verifying RINs with a site visit of the                                  PART 1090—REGULATION OF FUELS,                                  sulfur diesel (ULSD)’’.
                                            feedstock aggregator’s establishment                                     FUEL ADDITIVES, AND REGULATED                                      The revision reads as follows:
                                            every 200 days as specified in                                           BLENDSTOCKS
                                            § 80.1471(f)(1)(ii), the independent                                                                                                     § 1090.80    Definitions.
                                            third-party auditor may verify RINs with                                 ■ 50. The authority citation for part                           *     *    *   *            *
                                            a site visit every 380 days.                                             1090 continues to read as follows:                                  PADD * * *

                                                       PADD                                   Regional description                                                                  State or territory


                                                           *                         *                                *                               *                  *                   *                  *
                                            II .............................   Midwest ..................................................    Illinois, Indiana, Iowa, Kansas, Kentucky, Michigan, Minnesota, Missouri, Ne-
                                                                                                                                                 braska, North Dakota, Ohio, Oklahoma, South Dakota, Tennessee, Wisconsin

                                                          *                               *                             *                              *                        *                        *                 *



                                            *        *         *          *        *                                 § 1090.805         Contents of registration.                    Subpart S—Attestation Engagements
                                                                                                                       (a) * * *
                                            Subpart I—Registration                                                     (1) * * *                                                     § 1090.1830      [Amended]
                                                                                                                       (iv) Name(s), title(s), telephone                             ■ 54. Amend § 1090.1830 by, in
                                            ■ 53. Amend § 1090.805 by revising                                       number(s), and email address(es) of an                          paragraph (a)(3), adding the text ‘‘all’’
                                            paragraph (a)(1)(iv) to read as follows:                                 RCO and their delegate, if applicable.                          after the text ‘‘submitted’’.
                                                                                                                     *     *    *     *      *                                       [FR Doc. 2023–13462 Filed 7–11–23; 8:45 am]
                                                                                                                                                                                     BILLING CODE 6560–50–P
lotter on DSK11XQN23PROD with RULES2




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